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ATTORNEYS FOR PLAINTIFFS



                            UNITED STATES DISTRICT COURT

                                  DISTRICT OF OREGON

                                    EUGENE DIVISION


 WYATT B. and NOAH F. by their next             CASE NO. 6:19-cv-00556-AA
 friend Michelle McAllister; KYLIE R. and
 ALEC R. by their next friend Kathleen
 Megill Strek; UNIQUE L. by her next friend
 Annette Smith; SIMON S. by his next friend     DECLARATION OF STEVEN RIZZO IN
 Paul Aubry; RUTH T. by her next friend         SUPPORT OF MOTION TO EXCLUDE
 Michelle Bartov; BERNARD C. by his next        STACEY L. MOSS
 friend Ksen Murry; NAOMI B. by her next
 friend Kathleen Megill Strek; and NORMAN
 N. by his next friend Tracy Gregg,
 individually and on behalf of all others
 similarly situated,

                  Plaintiffs,
 v.

 TINA KOTEK, Governor of Oregon in her
 official capacity; FARIBORZ
 PAKSERESHT, Director, Oregon
 Department of Human Services in his official
 capacity; APRILLE FLINT-GERNER,
 Director, Child Welfare in her official
 capacity; and OREGON DEPARTMENT OF
 HUMAN SERVICES,

                 Defendants.



1 – DECLARATION OF STEVEN RIZZO IN SUPPORT OF PLAINTIFFS’ MOTION TO
EXCLUDE STACEY L. MOSS
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     I, Mr. Steven Rizzo, declare as follows:

     1. On behalf of Plaintiffs in the above-captioned matter, I have personal knowledge and

        make this Declaration in support of Plaintiffs’ Motion to Exclude Stacey L. Moss

     2. Attached as Exhibit 1 is a true and accurate copy of relevant pages from the March 18,

        2024 deposition of Stacey L. Moss.

     3. Attached as Exhibit 2 is a true and accurate copy of the Public Knowledge LLC home

        webpage.

     4. Attached as Exhibit 3 is a true and accurate copy of Public Knowledge LLC Programs

        webpage.

     5. Attached as Exhibit 4 is a true and accurate copy of the September 13, 2016 Oregon

        Department of Human Services Child Safety in Substitute Care Independent Review.

     6. Attached as Exhibit 5 is a true and accurate copy of the Expert Witness Contract

        between Public Knowledge, Markowitz Herbold PC, and the Oregon Department of

        Administrative Services.

     7. Attached as Exhibit 6 is a true and accurate copy of a Markowitz Herbold PC Legal

        Standards Memo, which is undated and unsubscribed.

     8. Attached as Exhibit 7 is a true and accurate copy of the September 17, 2021

        correspondence sent by Public Knowledge LLC Program Manager Allison Olson to

        Mr. Vivek Kothari and attached Assessment Methodology / Protocols for Markowitz

        Herbold PC.

     9. Attached as Exhibit 8 is a true and accurate copy of the December 15, 2023 Oregon

        Child Welfare Draft Assessment Findings Report to Markowitz Herbold PC.

     10. Attached as Exhibit 9 is a true and accurate copy of Stacey Moss’s curriculum vitae.

     11. Attached as Exhibit 10 is a true and accurate copy of the National Association of

        Counsel for Children Standards for Child Welfare Law Attorney Specialty

        Certification.
2 – DECLARATION OF STEVEN RIZZO IN SUPPORT OF PLAINTIFFS’ MOTION TO
EXCLUDE STACEY L. MOSS
       Case 6:19-cv-00556-AA          Document 361        Filed 04/09/24     Page 3 of 702




       12. Attached as Exhibit 11 is a true and accurate copy of the cover page of the This is Me

           podcast webpage prepared by Stacey Moss.

       13. Attached as Exhibit 12 is a true and accurate copy of the January 8, 2020 GLI Group’s

           announcement acquiring Public Knowledge LLC.

       14. Attached as exhibit 13 is a true and accurate copy of Public Knowledge LLC’s March

           1, 2024 Supplemental Assessment of Services for Youth Aging out of Foster Care for

           Markowitz Herbold.

I declare under penalty of perjury that the foregoing is true and correct.

DATED: April 9, 2024

                                                      RIZZO BOSWORTH ERAUT PC

                                                      By: /s/ Steven Rizzo




3 – DECLARATION OF STEVEN RIZZO IN SUPPORT OF PLAINTIFFS’ MOTION TO
EXCLUDE STACEY L. MOSS
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1
2                    UNITED STATES DISTRICT COURT
3                         DISTRICT OF OREGON
4                          EUGENE DIVISION
5     WYATT B. and NOAH F. by their     )
      next friend Michelle McAllister; )
6     KYLIE R. and ALEC R. by their     )
      next friend Kathleen Megill       )
7     Strek; UNIQUE L. by her next      )
      friend Annette Smith; SIMON S. by )
8     his next friend Paul Aubry;       )
      RUTH T. by her next friend        )
9     Michelle Bartov; BERNARD C. by    )
      his next friend Ksen Murry; NAOMI )
10    B. by her next friend Kathleen    )
      Megill Strek; and NORMAN N. by    )
11    his next friend Tracy Gregg,      )
      individually and on behalf of all )
12    others similarly situated,        )
                        Plaintiffs,     )
13           vs.                        ) No. 6:19-cv-00556-AA
      TINA KOTEK, Governor of Oregon in )
14    her official capacity; FARIBORZ   )
      PAKSERESHT, Director, Oregon      )
15    Department of Human Services in   )
      his official capacity; APRILLE    )
16    FLINT-GERNER, Director, Child     )
      Welfare in her official capacity; )
17    and OREGON DEPARTMENT OF HUMAN    )
      SERVICES,                         )
18                     Defendants.      )
19
20                       VIDEO-RECORDED DEPOSITION
21                                    OF
22                              STACEY L. MOSS
23    DATE TAKEN:     March 18, 2024
      TIME:           9:00 a.m.
24    PLACE:          1455 S.W. Broadway, Suite 1900
                      Portland, Oregon
25
         COURT REPORTER:       Teresa L. Rider, CRR, RPR, CCR, CSR

                                                                        Page 1

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1             A.   Zachary Kastelic.

2             Q.   How do you spell the last name?

3             A.   I don't actually know the spelling.         I can look

4     it up, but I don't know it off the top of my head.                It's

5     with a K.                                                                 09:27:22

6             Q.   Okay.     And in Cheyenne or --

7             A.   No.     Actually, he's in Kansas City, Missouri.

8             Q.   With what firm, do you know?

9             A.   He's inside general counsel for GLI Capital

10    Group, which is the investment holding company that owns                  09:27:35

11    PublicKnowledge.

12            Q.   Gaming Labs, International?

13            A.   No.     It's GLI Capital Group.     Gaming Labs is

14    one company that they own.

15            Q.   So GLI is the holding company?                               09:27:47

16            A.   Uh-huh.

17            Q.   We'll talk about that in a bit.

18                 Have you ever had your deposition taken before?

19            A.   Not in a very long time, no.

20            Q.   When were you deposed previously?                            09:27:59

21            A.   In a couple of family law cases early on in my

22    career when I was practicing and representing kids and

23    doing family law.

24            Q.   And why were you deposed as in what type of

25    case?                                                                     09:28:16

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1             A.   It was in a divorce case based on my work as a

2     guardian ad litem in an underlying abuse and neglect

3     case.

4             Q.   Have you ever testified as an expert witness?

5             A.   I have not.                                                  09:28:28

6             Q.   So you've never testified as an expert witness

7     in a court of law; is that right?

8             A.   Correct.

9             Q.   And same thing, you've never testified or been

10    sworn as a witness in front of a legislative body?                        09:28:41

11            A.   We have reported to legislature but not sworn

12    in, no.

13            Q.   Same thing with a municipal or other public

14    body?

15            A.   Correct.                                                     09:28:54

16            Q.   And I want to just ask you some background

17    questions.

18                 Are you married?

19            A.   No, I am not.

20            Q.   Are you divorced?                                            09:29:02

21            A.   Yes.

22            Q.   And what was your husband's name?

23            A.   Matthew Obrecht.

24            Q.   O-b-r-e-c-h-t?

25            A.   Correct.                                                     09:29:14

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1             Q.   Is he a lawyer?

2             A.   He is.

3             Q.   And where does he practice?

4             A.   He runs the legislative service office for the

5     State of Wyoming.                                                         09:29:25

6             Q.   So anyone from Wyoming, I always ask, do you

7     know Jerry Spence?

8             A.   I do.

9             Q.   Did your husband have an internship or a

10    clerkship with his firm at any time?                                      09:29:35

11            A.   With Jerry Spence's firm?

12            Q.   Uh-huh.

13            A.   No.

14            Q.   Too bad.

15                 So how do you know Jerry Spence or how did you               09:29:41

16    know?

17                 MR. KOTHARI:     Object, relevance.

18                 THE WITNESS:     He's well known, and I actually

19    worked for the Trial Lawyer's Group.            I interned with the

20    Trial Lawyer's Group that he ran.                                         09:29:56

21    BY MR. RIZZO:

22            Q.   I see from your CV in the report you have kids.

23    What are their ages?

24            A.   I have three kids:      a daughter who's five; a

25    son who's 13; and my oldest son who is 16.                                09:30:09

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1          Q.    Have you had any experience with your family

2     vis-à-vis the foster care system?

3          A.    No.

4          Q.    Have you ever fostered any children?

5          A.    No.                                                        09:30:24

6          Q.    And where did you go to school to get your

7     undergraduate?

8          A.    I graduated from the University of Northern

9     Colorado in Greeley, Colorado.

10         Q.    And what was your area of focus?                           09:30:37

11         A.    Bachelor of Arts in sociology with a minor in

12    legal studies.

13         Q.    Did you take any classes or have coursework in

14    child psychology?

15         A.    No.                                                        09:30:50

16         Q.    How about in any type of a science, science

17    methods?

18         A.    Statistical courses.

19         Q.    Tell me about those.     What statistical courses?

20         A.    I don't recall, unfortunately, it's been a                 09:31:02

21    while.

22         Q.    I had, for example, Intro to Statistics.

23               Did you go beyond that?

24         A.    Yes.   I had multiple statistics courses, but I

25    don't recall.                                                         09:31:14

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1             Q.   In your work at PublicKnowledge, do you

2     regularly deal with or compute statistical information?

3             A.   I definitely work with our data team.         I have a

4     data team, but I do work with them and help provide

5     leadership to them in data, especially around childcare.                  09:31:33

6             Q.   I'm talking about applying statistical methods

7     to a study.

8                  Do you do that?

9             A.   Yes, with our team.

10            Q.   Tell me about that.                                          09:31:45

11            A.   Yeah.   So we do assessment work in lots of

12    different states, and so -- and we use data for that

13    work.

14            Q.   Okay.   Well, for example, do you compute

15    confidence intervals with respect to the state that                       09:31:59

16    you're talking about?

17            A.   No, that's other people.

18            Q.   Other people at PublicKnowledge?

19            A.   Correct.

20            Q.   Who is in charge of that at PublicKnowledge?                 09:32:07

21            A.   We have a team that does that.        We're a pretty

22    flat organization so there's no kind of middle management

23    between me and that team.

24            Q.   Who is the leader of that?

25            A.   It's a group of people.                                      09:32:21

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1          Q.   Who's, like, the most responsible person?

2          A.   The one applicable to this work is Susan Smith.

3     She assisted and has been involved recently.

4          Q.   And what is Susan Smith's background?

5          A.   She's a researcher.     She is a doctorate               09:32:36

6     researcher, spent 16-plus years at Casey doing data work

7     and running the data time.

8          Q.   What is Casey?

9          A.   Casey Family.

10         Q.   C-a-s-e-y?                                               09:32:54

11         A.   Yes.

12         Q.   Did you take any courses in social work?

13         A.   Sociology and related, but, no, not that I can

14    recall.

15         Q.   And you don't have a degree in statistics or             09:33:08

16    statistical analysis, right?

17         A.   I do not.

18         Q.   How about did you take any classes in survey

19    research methods?

20         A.   I do not recall.                                         09:33:20

21         Q.   And when did you graduate from University of

22    Northern Colorado?

23         A.   2002.

24         Q.   And then you went to law school when?

25         A.   I started in 2003 and graduated in 2006.                 09:33:31

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1          Q.   And did you have a particular area of focus?

2          A.   No.   I was focused on family law, public

3     defense, child welfare, but it was a general law degree.

4          Q.   I got a little low on ink here.

5               (Last answer read.)                                     09:34:10

6     BY MR. RIZZO:

7          Q.   What courses did you take in law school dealing

8     with family law and child welfare?

9          A.   We had a family law course that I took.        There

10    was one on domestic violence and there was also one on            09:34:34

11    children and the law.    And then I also ran our clinic

12    that focused on domestic violence, child welfare and

13    family law.

14         Q.   And then did you go into private practice

15    following graduation?                                             09:34:56

16         A.   I did.

17         Q.   And where did you go to work?

18         A.   In Laramie, Wyoming, for Corthell & King.

19    Corthell, which starts with a C, and King.

20         Q.   And what was that firm's practice, mainly?              09:35:06

21         A.   Very general law.     Mine focused on family law

22    and child welfare, but I did some other work, as well.

23         Q.   What work in child welfare -- I looked back

24    through some of your biographical materials -- what work

25    did you do in child welfare in the Corthell firm?                 09:35:25

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1          A.     There I represented both parents and children

2     in juvenile court.

3          Q.     Cases?

4          A.     Both abuse and negligent and juvenile.

5          Q.     We call that dependency here in Oregon.                   09:35:38

6                 So you had both criminal or quasi-criminal with

7     respect to delinquency?

8          A.     Yes, quasi.     It was in our juvenile court

9     still.

10         Q.     How long did you do that type of work while you           09:35:50

11    were at that firm?

12         A.     I'm relying on memory here, but I think I was

13    there for less than a year before I went to the Attorney

14    General's office.

15         Q.     For the state of Wyoming?                                 09:36:01

16         A.     Correct.

17         Q.     I did a little background.       It looks like you

18    were associated with three appeals in the state of

19    Wyoming.

20         A.     Uh-huh.     I think more than that.     But at the        09:36:10

21    time, I was at the Attorney General's office, yes.

22         Q.     I just got through that through Lexus Nexus.

23    One of them was KH v Wyoming Department of Family

24    Services.

25                Do you recall that?                                       09:36:24

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1             A.   I do not.

2             Q.   All I know at the moment it was a TPR involving

3     mother in 2007.

4             A.   Uh-huh.

5             Q.   That's termination of parental rights?                    09:36:32

6             A.   Correct.

7             Q.   You were representing the State to terminate

8     mother's rights?

9             A.   Correct.     I was on the team that did TPR work

10    for the State.                                                         09:36:43

11            Q.   And do you remember anything about that case,

12    like, the impact on the family or the child?

13            A.   I do not.

14            Q.   Then I see you were involved with JA v State,

15    otherwise known as In Re: DSB, in 2008, do you remember                09:36:57

16    that?

17            A.   No.

18            Q.   It looked like it was an adjudicatory hearing

19    regarding the timeliness of the filing of a neglect

20    petition.                                                              09:37:08

21                 Bring anything back?

22            A.   It does not.

23            Q.   Do you remember what side you were on at that

24    time?

25            A.   When I was there, I was representing the                  09:37:12

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1     there sometimes will be a delay or I may not hear about

2     it.

3            Q.   So in other words, there would be times where

4     there was abuse or neglect, but you were not informed.

5            A.   Correct.     And maybe not timely, either.                     09:40:53

6            Q.   And did that impact, at least from time to

7     time, your ability to represent the stated interests of

8     the children?

9            A.   It would depend probably on the client.          Most

10    of the time, I was in conversations with those clients,                    09:41:06

11    so I was getting information from them, as well.

12           Q.   Was that type of information, for example,

13    whether a child's abused or neglected in care, was that

14    important for you to know what the necessary services and

15    treatment plan would be?                                                   09:41:31

16           A.   Definitely part of understanding my client,

17    yes.

18           Q.   I see that you had a -- I'll move through this

19    in chrono.     I just want to park for a minute.

20                I see what you have is a child welfare law                     09:41:48

21    expert credential.        Can you explain to me what that is?

22           A.   It's from the National Association of Counsel

23    for Children, NACC, and it's an extra certification.                You

24    go through training.        You show evidence of actually

25    practicing in child welfare law and then you take an                       09:42:06

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1     exam.        And if you pass it, you get that certification.

2     And then it's recertified, I believe, every four or five

3     years.        I don't remember the exact timing.

4             Q.     And do you continue to renew your

5     certification?                                                        09:42:23

6             A.     I do.

7             Q.     And each time you renew, do you have to take

8     the test again?

9             A.     No.

10            Q.     So once you qualify, you're able to renew.             09:42:29

11            A.     You have to show training, work in child

12    welfare, substantive work in child welfare in order to

13    continue to keep that certification.

14            Q.     So what would be your substantive work in child

15    welfare law?                                                          09:42:45

16            A.     The work that I'm doing at PublicKnowledge over

17    the last 11 years.        That's been what it is for the last

18    11 years.

19            Q.     So you can work for a management consulting

20    firm that deals with child welfare issues and still                   09:42:56

21    maintain your certification?

22            A.     You can show policy work that -- policy,

23    training, right, work in the field.          It's not necessarily

24    direct representation that does qualify.

25            Q.     And if I understood it, for purposes of that           09:43:13

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1             Q.   In connection with one of these reports you had

2     written for the court?

3             A.   Correct.

4             Q.   Beyond that, beyond the issuance of those

5     opinions that were required, I presume by Wyoming                      09:44:56

6     procedure, have you ever given an opinion in a court of

7     law on a legal standard?

8             A.   No.

9             Q.   Have you ever appeared a federal civil rights

10    case?                                                                  09:45:13

11            A.   I have not.

12            Q.   Have you ever appeared in federal court?

13            A.   No.

14            Q.   Are you a member of any federal bar

15    association, like, for the District of Wyoming, for                    09:45:24

16    example?

17            A.   I am not.

18            Q.   Are you a member of any federal legal society?

19            A.   No.

20            Q.   And I take it then, based on what I just asked            09:45:33

21    you, you never litigated a substantive due process claim

22    under the 14th Amendment, right?

23            A.   No.

24            Q.   So therefore, I take it you're not claiming to

25    be an expert on 14th Amendment substantive due process.                09:45:48

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1             A.   I am not.

2             Q.   Have you ever litigated an American With

3     Disabilities Act case or claim?

4             A.   Not that I can recall.

5             Q.   Have you ever litigated a claim under the Child           09:46:06

6     Welfare Act?

7             A.   In --

8             Q.   Federal?

9             A.   No.

10            Q.   You were about to say state.                              09:46:17

11            A.   In state or federal, yes.

12            Q.   So under the Wyoming Child Welfare Law, did

13    that adopt or was it substantially similar to the federal

14    law?

15            A.   It's similar to the ACS.                                  09:46:29

16            Q.   And in what ways?

17            A.   I could not recall at the moment.

18            Q.   Have you ever litigated under -- a claim under

19    the Adoption and Safe Families Act?

20            A.   No.                                                       09:46:45

21            Q.   Do you claim to be a legal expert in that, in

22    ASFA?

23            A.   I understand ASFA and have trained on ASFA

24    multiple times, but not in a court context.             I've not

25    litigated in a court context in ASFA.                                  09:46:58

                                                                             Page 23

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1             Q.     So in this case, are you claiming to be an

2     expert in this area?

3                    MR. KOTHARI:    Objection, calls for a legal

4     conclusion.

5     BY MR. RIZZO:                                                          09:47:07

6             Q.     You can answer.

7             A.     Yeah.   Again, it's a law that I know well and

8     train on.        That's about all I can say.

9             Q.     I'm going to have to ask you if you can just

10    try to give me a yes or no.                                            09:47:16

11                   MR. KOTHARI:    Objection, I don't think that

12    that is required.         The witness is allowed however she

13    wants.

14    BY MR. RIZZO:

15            Q.     That's fine, but my question stands.                    09:47:24

16                   Are you claiming to be a legal expert in this

17    case for purposes of the Child Welfare Act?

18                   MR. KOTHARI:    The same objections.

19                   THE WITNESS:    I thought you were asking about

20    ASFA.        I'm confused now on your question.                        09:47:37

21    BY MR. RIZZO:

22            Q.     Let's go to ASFA.    Are you claiming to be a

23    legal expert to give opinions with respect to the

24    application of that law for purposes of this case?

25            A.     No.                                                     09:47:48

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1             Q.   Have you ever been employed as a public policy

2     analyst?

3             A.   No.

4             Q.   Have you ever worked for a child welfare

5     agency?                                                                09:48:01

6             A.   I've represented them.       I was their attorney in

7     Wyoming when I worked for the Attorney General's office.

8             Q.   Have you ever been a caseworker?

9             A.   No.   I've represented them, but I have not done

10    that.                                                                  09:48:20

11            Q.   And you've never been a certifier of homes,

12    correct?

13            A.   Correct.

14            Q.   And you've never been a CPS, Child Protective

15    Services, type investigator?                                           09:48:29

16            A.   Represented them, but I have not done their

17    job.

18            Q.   Have you ever written any child welfare

19    policies?

20            A.   I have.                                                   09:48:37

21            Q.   Well, tell me about that.       What's your

22    experience?

23            A.   I've written them both in Wyoming at the

24    Attorney General's office.          Part of my representation of

25    the Department of Family Services was helping them write               09:48:47

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1     their policy and review their policy every time that they

2     changed it as well as input into any legislation we

3     reviewed and gave our opinions on any legislative

4     policies.

5                  And then also at PublicKnowledge over the last           09:49:01

6     11 years, we've helped multiple states and I've helped

7     multiple states write and review and revise policies.

8             Q.   Did the DHS ask you to write or review any of

9     its policies and procedures?

10                 MR. KOTHARI:    Objection, vague.                        09:49:18

11                 THE WITNESS:    Which?

12    BY MR. RIZZO:

13            Q.   This DHS, the department.

14            A.   Oregon?

15            Q.   Right.                                                   09:49:23

16            A.   No.   I did review them as part of the 2016

17    independent assessment.

18            Q.   But, I mean, in connection with this lawsuit,

19    you weren't asked to review or revise any of the DHS's

20    policies, right?                                                      09:49:37

21            A.   We reviewed them.     I was not asked to revise

22    them.

23            Q.   Are you a member of any federal or state board

24    or commission regarding child welfare?

25            A.   No.                                                      09:49:52

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1           Q.   And I take it you've never done any lobbying

2     with respect to PublicKnowledge.

3           A.   Not with PublicKnowledge, no.

4           Q.   With other organizations?

5           A.   I wouldn't call it lobbying.        When I was at the      09:50:05

6     GAL program, I worked often with the legislature to try

7     to affect our laws around our agency.

8           Q.   I saw, too, that you have a certification in

9     PMP, which I understand to be Project Management

10    Professional.                                                         09:50:23

11          A.   Correct.

12          Q.   Can you give me some explanation of what that

13    is.

14          A.   Yeah.   That's from the Project Management

15    Institute, and similar to the child welfare law                       09:50:31

16    specialist, you have to show training in project

17    management, actual practice in project management and

18    then you study and take an exam in order to receive it.

19          Q.   And when's the last time you took that exam?

20          A.   The year that I got the certification, which               09:50:48

21    would have been somewhere around 2013, '14.           And then you

22    have to be recertified every, I believe, every three

23    years.

24          Q.   And under that certification, what does a

25    Project Management Professional do?         In other words, what      09:51:09

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1     are your certified to do?

2          A.     You're certified to actually act as a project

3     manager, which is watching scope, budget and timelines

4     for projects.        You're looking at project management,

5     people management, risk management, data, schedules, some             09:51:28

6     examples.

7          Q.     It sounds like a general contractor in a way.

8          A.     I wouldn't -- I wouldn't phrase it that way,

9     but you're actually just executing on a plan,

10    essentially, and setting that plan, as well.                          09:51:45

11         Q.     So you're basically managing a group of people

12    who are committed to one common purpose.

13         A.     To achieve a project, yeah.

14         Q.     And outcome, right, in your world?

15         A.     Yeah.                                                     09:51:58

16         Q.     And how many projects have you managed?

17         A.     Over 50.     I don't know the exact number off the

18    top of my head.

19         Q.     All with PublicKnowledge?

20         A.     No.     I managed projects before PublicKnowledge,        09:52:12

21    as well.

22         Q.     Where?

23         A.     At the Attorney General's office and at the GAL

24    program.

25         Q.     You also have, I'm going to call it a                     09:52:21

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1    1          Q.   What have you trained on with respect to CQI?

2    2          A.   I do our training internally around CQI and

3    3   implementation science, and then I've also done it -- I

4    4   did it for approximately five years for the Capacity

5    5   Building Center for Courts, and then trained on it for

     09:55:15

6    6   new workers and agency staff when I was at the Attorney

7    7   General's office, as well.

8    8          Q.   Do you read or subscribe to any professional

9    9   journals or publications?

10   0          A.   I read lots.    Not off the top of my head.    But,

     09:55:34

11   1   yes, I read lots around the areas that I practice in.

12   2          Q.   Can you name any of the publications?

13   3          A.   Yeah.   I'm looking at things that are coming

14   4   from the Capacity Building Centers, the Child Welfare

15   5   League of America and things that I'm seeing, you know,

     09:55:53

16   6   online.

17   7          Q.   Can you give me, for example, like a

18   8   professional journal that you subscribe to?

19   9          A.   No.

20   0          Q.   Do you recognize the Child Maltreatment Journal, have

     09:56:02

21   1   you heard of that?

22   2          A.   I have not.

23   3          Q.   How about the Journal of Child Abuse and

24   4   Neglect, do you recognize that as authoritative

25   5   publication?                                                          09:56:19

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1             A.   Not off the top of my head.

2             Q.   I saw in, looks like, 2006, you wrote the High

3     Times Law Review article.

4             A.   Yes.

5             Q.   Have you published any other articles since            09:56:30

6     then?

7             A.   There are others listed in there, as well, yes,

8     a lot of articles in my CV around other topics.

9             Q.   And what are those?

10            A.   I cannot remember off the top of my head.              09:56:45

11            Q.   What were the topics, how about that?

12            A.   There's one that I wrote with Donna Playton,

13    actually maybe two with Donna Playton, around family law

14    or domestic violence, yeah.        And then the other ones were

15    likely about GAL work in Wyoming.                                   09:57:01

16            Q.   And do you know how recent your last

17    publication was in that regard?

18            A.   Probably 2010 to 2013, yeah, but I don't

19    recall.

20            Q.   If they were there in the document we were             09:57:21

21    provided, I missed them so that's why I'm asking you if

22    you had any others.

23                 So in connection with this deposition, what

24    materials have you reviewed?        Let's say you got here on

25    Thursday.      What have you reviewed in terms of getting           09:57:39

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1             A.   No, just a part of getting to know the firm.          I

2     was out here as a different project and had met him while

3     I was here.

4             Q.   And what about in 2016, what did that deal

5     with?                                                                   10:01:17

6             A.   I met him at the beginning of our work as we

7     began the assessment for our 2016 work with the

8     legislature.

9             Q.   And what do you recall about that meeting?

10            A.   I don't remember much, other than meeting him,             10:01:28

11    yeah.

12                 MR. RIZZO:     I'm striking a note with pens

13    today.

14                 (Last answer read.)

15    BY MR. RIZZO:                                                           10:01:59

16            Q.   Do you remember anything that he said at the

17    time?

18            A.   I don't.

19            Q.   Do you know whether any of the allegations in

20    the complaint pertain to the Adoption and Safe Families                 10:02:20

21    Act of 1997?

22            A.   I don't.

23            Q.   You said you have -- you're very familiar with

24    that area of law.

25                 Does that law, if you know, pertain to the                 10:02:35

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1     child's right to have placement in the least restrictive,

2     most family-like home?

3             A.   Yes.

4             Q.   And also that the child has a right, a federal

5     right, to all reasonable efforts to achieve permanency?              10:02:50

6             A.   Yes.   ASFA talks about reasonable efforts.

7             Q.   So as you sit here today, you don't recall any

8     specific allegations in the complaint.

9             A.   It was part of what we used to, you know,

10    figure out what our research areas and research topics               10:03:16

11    were, and we did that work back in 2019, so it's not

12    fresh in my head right now.

13            Q.   Who, in terms of performing the work or setting

14    out to perform the work that you just mentioned, who was

15    most responsible at PublicKnowledge for understanding the            10:03:38

16    law that was applicable to the claims alleged in the

17    case?

18            A.   We were actually focused on our assessment

19    methodology and conducting the assessment, not on the

20    laws in the complaint.                                               10:03:55

21                 We looked at the complaint to understand what

22    was of concern and get to those research topics.

23            Q.   All right.   So you were not -- you were not

24    focused on, for example, whether or not proof of the

25    allegations constitutes deliberate indifference, right?              10:04:10

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1          A.    Again, we're looking at our assessment

2     methodology and completing the assessment, not the

3     lawsuit.

4          Q.    So whether there was deliberate indifference or

5     whether there is deliberate indifference, or whether it's            10:04:27

6     far from deliberate indifference, you formed no opinion

7     on that?

8          A.    I used that language, actually, in my executive

9     summary because that language was in the complaint

10    multiple times and was far from what we found when we                10:04:39

11    concluded the assessment.

12         Q.    Okay.     So despite what we talked about, you

13    said you were not an expert in 14th Amendment substantive

14    due process, are you now giving an opinion on deliberate

15    indifference?                                                        10:04:57

16               MR. KOTHARI:     Objection, misstates testimony.

17    BY MR. RIZZO:

18         Q.    You can answer.

19         A.    Yeah.     I am relying on that my understanding of

20    that common language of deliberate indifference, not on              10:05:05

21    the legal standard or due process laws.

22         Q.    So when you say far from being deliberately

23    indifferent, that was penned in the executive summary --

24         A.    It was.

25         Q.    You were using deliberate indifference in some            10:05:20

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1     type of common, ordinary usage, but not in the specific

2     legal context of this case?

3             A.     Correct.

4             Q.     Well, with respect to that common, in your mind

5     about the common usage, what did you think deliberate                     10:05:37

6     indifference meant?

7             A.     Believing that there's, you know, something

8     there and then ignoring and not acting, right?                  So the

9     common language, English language of those words.

10            Q.     So we've marked as Exhibit 2 you'll see in that            10:06:08

11    top book.        There should be two tabs.        Tab 2 --

12                   MR. KOTHARI:     Steve, one point of clarification

13    here.        At the bottom of what you are referring to as

14    Exhibit 2, it says Exhibit 1.

15                   MR. RIZZO:     Yeah.   There's two tabs.      You've       10:06:36

16    just got to keep reading.

17                   MR. KOTHARI:     On that tab 2, it says Exhibit 1,

18    at least on my copy.

19                   MR. RIZZO:     Can we take a little break?

20                   THE VIDEOGRAPHER:      We are now off the record at        10:06:50

21    10:06 a.m.

22                   (Off the record.)

23                   THE VIDEOGRAPHER:      We are back on the record at

24    10:11 a.m.

25    BY MR. RIZZO:                                                             10:12:04

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1             Q.   So I'm showing you what's been marked as

2     Exhibit 2, and I think you recognized that as the

3     PublicKnowledge 2016 report and the cover letter.

4             A.   I do.

5             Q.   So if I understand this, this letter is written            10:12:19

6     to Governor Brown on September 13 of 2016.

7             A.   It is.

8             Q.   And it concerns PublicKnowledge's work that was

9     conducted between approximately February and September of

10    2016.                                                                   10:12:42

11            A.   Correct.

12            Q.   And that coincides with one of your meetings

13    with Fariborz, you called it.

14            A.   Correct.

15            Q.   Okay.    And that letter, Exhibit 2, page 1 of --          10:12:51

16    could you read in the third paragraph?

17            A.   The one that starts, over the past?

18            Q.   Correct.

19            A.   Yes.

20                 Over the past decade a number of reports and               10:13:11

21    reviews have revealed problems in Oregon's Child

22    Substitute Care System and suggested remedies.                Little

23    has been done to address the problems or implement the

24    proposed solutions.         The time to act is now.      All

25    participants in this independent review expressed a                     10:13:28

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1     genuine desire to remedy the situation.         There is broad

2     awareness of the problems and momentum in the State to

3     fix this system.

4          Q.   And that letter was written by Melissa Davis?

5          A.   Correct.                                                  10:13:43

6          Q.   And she was the project manager?

7          A.   She was.

8          Q.   Okay.    And she did the things, I take it, that

9     you described for me a few moments ago about what a

10    Project Management Professional does?                               10:13:52

11         A.   Yes, in 2016.

12         Q.   Would you call her, then, the leader of the

13    project at that time?

14         A.   She was the project manager on the team, yes.

15         Q.   The paragraph above that indicates that:                  10:14:02

16    PublicKnowledge was honored to have been selected to

17    conduct an independent review of child and youth safety

18    in Oregon's Child Substitute Care System; is that right?

19         A.   Correct.

20         Q.   And that was copied to Mr. Clyde Saiki,                   10:14:30

21    S-a-i-k-i?

22         A.   Yes.

23         Q.   He was is the director at that time?

24         A.   It looks that way, yes.

25         Q.   Did you meet him?                                         10:14:48

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1     the four findings in that area, yes.

2             Q.     Okay.   And that table is entitled Oregon Child

3     Safety and Substitute Care Independent Review Findings,

4     right?

5             A.     Yes.                                                      10:16:12

6             Q.     And above that, it says:       At the request of

7     Governor Brown, PK -- that's how PublicKnowledge is

8     abbreviated?

9             A.     Yes.

10            Q.     And I may use that from time to time, which is            10:16:24

11    why I'm saying that.

12            A.     Yes.

13            Q.     It says:     PK conducted an independent review of

14    Oregon's Child Substitute Care System over those eight

15    months that I mentioned.                                                 10:16:35

16            A.     Correct.

17            Q.     It says that:     Throughout this review, we

18    focused on viewing the system from the perspective of

19    children and youth living in substitute care, right?

20            A.     Correct.                                                  10:16:48

21            Q.     And it reads that:      Although many aspects of

22    the system merit deep examination, we focused on two

23    areas closest to the experience of children and youth in

24    care:        Where they live, placements, and what happens when

25    they experience abuse in care, response to abuse; is that                10:17:05

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1     right?

2          A.   Correct.

3          Q.   And in terms of the findings, the independent

4     review findings, the first one read that:         Space

5     availability drives placement decisions, rather than the            10:17:22

6     needs of children and youth.       Right?

7          A.   Correct.

8          Q.   Finding two was that:       Oregon's placement

9     capacity for children with high needs is shrinking.

10         A.   Correct.                                                  10:17:34

11         Q.   Three was:     Substitute care providers are not

12    adequately trained or supported to safely care for

13    children and youth with high needs placed with them.

14    Right?

15         A.   Correct.                                                  10:17:44

16         Q.   Four was:     The urgency to find placements

17    compromises certification and licensing standards.

18         A.   Correct.

19         Q.   And then relatedly there is a set of findings

20    pertaining to safe and swift response to abuse in care.             10:17:57

21              Do you see that?

22         A.   I do.

23         Q.   And to move this along, the finding Roman

24    Numeral VII indicates that:       The current process of abuse

25    in care is rated untrustworthy by youth and other                   10:18:17

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1     reporters.      Right?

2             A.   Abuse in care reporting is rated, but, yes.

3             Q.   Correct.     I'm sorry.    Abuse in care reporting

4     is rated untrustworthy by youth and other reporters.

5                  Finding 8 is:     There is little or no follow up         10:18:34

6     on abuse and care investigations.

7             A.   Correct.

8             Q.   No. 9 was that:      Information that could

9     mitigate safety concerns is not effectively shared

10    between entities.                                                      10:18:46

11            A.   Efficiently, yes.

12            Q.   And you would agree that each one of those

13    findings is a substantial risk of harm to a child in

14    care?

15                 MR. KOTHARI:     Objection, calls for a legal             10:18:56

16    conclusion.

17                 THE WITNESS:     Those are findings from the

18    assessment.      We were not connecting them to any of the

19    language that you just said.

20    BY MR. RIZZO:                                                          10:19:07

21            Q.   But I'm asking you as a child welfare law

22    specialist, these findings create a substantial risk of

23    harm for children in care, right?

24                 MR. KOTHARI:     Objection, calls for a legal

25    conclusion.                                                            10:19:20

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1     BY MR. RIZZO:

2          Q.    I'm not asking you for a legal conclusion, I'm

3     just asking for your answer.

4                MR. KOTHARI:     Same objection.

5                THE WITNESS:     The team, myself included, had           10:19:27

6     concerns about the findings and what harm that the

7     children could be at risk of, yes.

8     BY MR. RIZZO:

9          Q.    So these findings suggest or indicate risk of

10    harm to kids, right, in care?                                        10:19:39

11         A.    Risk of harm, yes.

12               MR. KOTHARI:     Same objection, calls for a legal

13    conclusion.

14    BY MR. RIZZO:

15         Q.    At the very bottom of that page, page 4, there            10:19:55

16    is reference that:       The State needs to have a transparent

17    process for responding to abuse in care that puts the

18    child first and is based on standardized protocols for

19    screening and response; is that right?

20         A.    Correct.                                                  10:20:11

21         Q.    And you believe that, correct?

22         A.    Correct.

23         Q.    You believed all of these findings, I take it,

24    correct?

25         A.    Yes.                                                      10:20:19

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1     review phase; is that right?

2          A.   Correct.

3          Q.   Is that the normal process for PublicKnowledge

4     in conducting one of these --

5          A.   It's a way.     That is a way of getting us to our        10:23:04

6     initial questions, the top of our process.          There's

7     multiple ways for getting there, but that is a way that

8     we use routinely.

9          Q.   And then based on that, the team developed a

10    set of criteria for selecting the set of focus areas.               10:23:20

11         A.   Correct.

12         Q.   And then if you go to page 76 under

13    contributors and sources.

14              Do you see that?

15         A.   Yes.                                                      10:23:55

16         Q.   So that reads that:      The child safety and

17    substitute care independent review drew on the knowledge,

18    experiences and perceptions of hundreds of Oregonians

19    around the state.

20              Do you see that?                                          10:24:09

21         A.   I do.

22         Q.   And as we work our way down, you can see that

23    there was the external advisory committee --

24         A.   Yes.

25         Q.   -- right?     And that included stakeholders from         10:24:20

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1     Confederated Tribes of Warm Springs, the Oregon State

2     legislators, right?

3          A.     Yes.

4          Q.     Foster Care Alumni through the Oregon Foster

5     Care Youth Connection?                                                10:24:39

6          A.     Yes.

7          Q.     And included a member of the Child Welfare

8     League of America?

9          A.     Correct.

10         Q.     And it also included Mr. Eldon Rosenthal,                 10:24:46

11    attorney?

12         A.     Yes.

13         Q.     Do you recognize that name?

14         A.     I recognize the name, yes, as being part of

15    that external committee.                                              10:24:57

16         Q.     Do you remember whether he was a renowned civil

17    rights lawyer for children?

18         A.     I don't remember the context of -- no.           We

19    didn't choose who was part of that external advisory

20    committee.                                                            10:25:10

21         Q.     You worked with that committee, however.

22         A.     Correct, that was part of our contract was

23    working with them.

24         Q.     And then you worked with the DHS internal

25    resource committee, correct?                                          10:25:21

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1          A.     Correct.

2          Q.     And then on page 78, there were key informant

3     interviews with respect to the initial assessment, Phase

4     2, correct?

5          A.     Correct.                                                  10:25:40

6          Q.     And that included, for example, attorneys, the

7     Governor's office, judges, foster parents, CASA, and as

8     we mentioned, the Foster Youth and Alumni, right?

9          A.     I'm looking, give me a second.        I don't

10    remember.     Yes, that looks correct.                                10:26:01

11         Q.     And then on page 79, there's a list of other

12    contributors; is that right?

13         A.     Correct.

14         Q.     And that included, for example, the Oregon

15    Alliance of Children's Programs, Children's First For                 10:26:25

16    Oregon, and Morrison Child and Family Services.

17                Do you see that?

18         A.     Yes.

19         Q.     So would you agree that all of these people had

20    lived experience with the child welfare system?                       10:26:43

21                MR. KOTHARI:     Objection, vague as to all these

22    people.

23    BY MR. RIZZO:

24         Q.     The people we just spent a few minutes

25    covering, did they have lived experience?                             10:26:54

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1            A.   No.

2            Q.   She had a master's in public affairs, right?

3            A.   I believe so.

4            Q.   She's no longer with PublicKnowledge.

5            A.   She is not.                                              10:31:36

6            Q.   Why did she leave?

7            A.   She had another job opportunity with a family

8     business.

9            Q.   So this may be easier for Thomas or for you,

10    but if you go to Exhibit 4, it should be on page 142,                10:31:53

11    Binder 1.

12           A.   Tell me again which one.

13           Q.   Page 142.

14                And then before I ask you a question on that,

15    did you understand that connection with the 2016 work                10:32:46

16    that PublicKnowledge received that assignment through a

17    competitive bidding process with the State of Oregon?

18           A.   We did.     I was part of the competitive bid,

19    yes.

20           Q.   So if I'm lucky, page 142 should be the expert           10:33:03

21    witness contract.

22           A.   Yes.

23           Q.   Now, it looks like you signed that document, is

24    that right, on June 25th of 2020?

25           A.   Sorry.    I'm trying to find it.                         10:33:45

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1     she was 145?

2          A.   Yes.

3          Q.   And I see Ms. Breedlove was also involved

4     there.

5          A.   Correct.                                                  10:38:50

6          Q.   I want you to turn to page 166.

7          A.   Yes.

8          Q.   That's a document on a Markowitz Herbold paper

9     and it's entitled Legal Standards.

10         A.   Correct.                                                  10:39:23

11         Q.   Have you ever seen this, it's undated, but have

12    you ever seen this document?

13         A.   I have.

14         Q.   When did you review it?

15         A.   I don't remember the exact time frame, but it's           10:39:33

16    been a few years since I've reviewed it.

17         Q.   And do you know which of the Markowitz

18    attorneys prepared it?

19         A.   I do not.

20         Q.   The header on page 2 reads, Legal Standards for           10:39:48

21    PublicKnowledge.

22              Was that your understanding of what the law was

23    based on this two-and-a-quarter-page document?

24              MR. KOTHARI:     Objection, misstates testimony.

25              THE WITNESS:     Yeah.   Again, this was a document       10:40:11

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1             A.   Yes.

2             Q.   And obviously, you're here as the expert

3     witness.      Is it your opinion that the PublicKnowledge

4     2023 report is a thorough independent review as is stated

5     here?                                                                      10:55:49

6             A.   Yes.

7             Q.   You wouldn't do anything differently?

8             A.   No.

9             Q.   I want you to go to page 2558, page 60 of the

10    document.                                                                  10:56:46

11            A.   Yes.

12            Q.   So there there's a series of -- called them the

13    Definitions for Terms Used.

14            A.   I'm sorry.     I'm trying to find the beginning.

15            Q.   I should have done that for you.        I think               10:57:15

16    that's on page -- Appendix A, that starts on page 2540.

17            A.   This is P, terms, this is the beginning of the

18    list that ended up in our final report, as well.

19            Q.   It says:     These definitions clarify the meaning

20    of operative terms included in the research questions,                     10:57:35

21    inquiry questions and throughout the methodology.                Right?

22            A.   Yes.

23            Q.   And then PublicKnowledge defined the word, I'm

24    going to spell it first, and then I will enunciate it in

25    two ways, P-R-O-G-R-E-S-S.          Okay?                                  10:57:57

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1          A.    Uh-huh.

2          Q.    So he's the conundrum.      In terms of

3     pronunciation, did it mean progress, like progress from

4     the journey from day to night or progress?

5          A.    I am not sure what you're asking me.        I            10:58:17

6     apologize.

7          Q.    The word progress appears.      If you think about

8     it, there's at least two ways to go, to progress; i.e. a

9     journey.

10         A.    Uh-huh.                                                  10:58:30

11         Q.    Or progress, something you can measure or

12    account for.

13         A.    I think it's actually both.       We're looking at

14    progress over time toward something, yeah.

15         Q.    So PublicKnowledge defines the word, and I'll            10:58:46

16    use the pronunciation of progress, as the actions child

17    welfare has made to implement recommendations or address

18    concerns through identifiable and credible strategies and

19    processes, right?

20         A.    Yes.                                                     10:59:04

21         Q.    Why doesn't or didn't PublicKnowledge use the

22    Merriam Webster's Third International Dictionary?

23         A.    Progress has a lot of meanings in child welfare

24    around implementation science, CQI, and so this was part

25    of a definition that we were applying to this assessment            10:59:22

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1     with the knowledge and background of what it means in

2     child welfare.

3          Q.    So in the world of contracts, it's a term of

4     art, is that how you're describing this word, the use of

5     this word?                                                         10:59:40

6          A.    I wouldn't use that language, no.

7          Q.    Well, how does a reader like myself or the

8     Governor or the Court, Judge Aiken, how is she to

9     understand specifically what the genesis or the standard

10    that was used to define this word?                                 11:00:00

11         A.    That's why we give a definition there, so that

12    it's clear what we mean when we say progress in the

13    report.    That's the definition of that key term.

14         Q.    So PublicKnowledge defines progress for itself.

15         A.    We define progress based on the Child Welfare           11:00:16

16    System and how it's used generally, yes.

17         Q.    And the definition is not based on a recognized

18    or an applicable standard.

19               MR. KOTHARI:     Objection, misstates testimony.

20    BY MR. RIZZO:                                                      11:00:30

21         Q.    Is that right?

22         A.    Yeah, it is based on both the general

23    understanding of the word plus its application in child

24    welfare.

25         Q.    What standard am I to measure it against or is          11:00:39

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1     has said multiple times that she does not answer that

2     specific question that you're asking.

3                 THE WITNESS:     Same answer.

4     BY MR. RIZZO:

5          Q.     You can't?                                                11:01:46

6          A.     Again, we're relying on how progress is

7     measured by the federal, by the federal government and

8     states and implementation science and CQI in child

9     welfare.

10         Q.     What federal, state, CQI or other standard did            11:01:59

11    you use in part or in whole to define this word?

12         A.     It's just how it's used in child welfare,

13    right?     So, for example, in the CFSR and the PIP states

14    have to show progress towards a goal.           They set a goal

15    and then they have a PIP that shows progress towards it.              11:02:20

16         Q.     So two parameters, then:        One a goal, and then

17    movement toward the goal.         So there's a way to measure

18    it, right?

19         A.     In the CFSR, yes.

20         Q.     But here there's no reference to goal or                  11:02:41

21    outcome or a metric, correct?

22         A.     Correct.     That's the definition that we have of

23    progress.

24         Q.     And then PublicKnowledge self-defines the word

25    improve and I think that's on 2554, second word down.                 11:03:04

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1               (Last question read.)

2               MR. KOTHARI:    Same objection.

3               THE WITNESS:    Same answer, too.    It's based in

4     child welfare and what we measure in child welfare.

5     BY MR. RIZZO:

6          Q.   The point is when these are self-defined terms,

7     it is always PublicKnowledge that makes the conclusion or

8     comes to an opinion one way or the other whether an act

9     or event or an action is progress or is improvement,

10    right?                                                            11:06:55

11              MR. KOTHARI:    Objection, this is Ms. Moss'

12    report, same objection to that question.

13              THE WITNESS:    I'm making those conclusions,

14    again, based on identifiable criteria and data in the

15    field.                                                            11:07:11

16    BY MR. RIZZO:

17         Q.   Has PublicKnowledge ever submitted this

18    methodology, this usage of several defined terms for peer

19    review by any of your peers, other national and

20    international management consulting firms?                        11:07:33

21         A.   I would not agree with the self-identified

22    language that you said.

23              But I'll answer the question, no, it's not been

24    submitted for any journals.

25         Q.   By self-defined, I mean it's not based on a             11:07:44

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1     dictionary definition.

2          A.   It's based on it, yeah, but it is, again, it's

3     usage in child welfare.

4          Q.   With respect to the word progress, again, back

5     on page 2558 --                                                   11:08:10

6          A.   Yes.

7          Q.   -- can you identify -- or can you cite me to

8     any identifiable and credible strategy or process as used

9     in that definition?

10         A.   Those are actually pointing to the things that          11:08:31

11    we're using to track that, so those would be in the

12    report.   Anything that is identifiable and credible

13    strategies and processes, those are what we're looking

14    for when we're measuring progress.

15         Q.   So these are not PublicKnowledge's identifiable         11:08:51

16    and credible strategies and processes.       These are the

17    client's credible strategies and processes.

18         A.   No, our methodology within the report.

19         Q.   So can you tell me -- for example, can you give

20    me an example of one of the credible strategies that              11:09:13

21    PublicKnowledge applied in this report?

22              MR. KOTHARI:    Objection, again, this is Ms.

23    Moss' report.

24              THE WITNESS:    Yeah.   Within the report, we

25    walked through all the strategies, and also in that               11:09:26

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1          Q.    So I want to give you some examples.       If you go

2     to Exhibit 1, page 1.

3          A.    Is it in this binder.

4          Q.    No, it's Exhibit 1.     It should be this one

5     (indicating), the easier one.                                      11:46:01

6          A.    Okay.   What page?

7          Q.    It's page 8.    It's under the executive summary.

8          A.    Yes.

9          Q.    Did you write the executive summary?

10         A.    I did write the executive summary.                      11:46:18

11         Q.    So you have there toward the bottom, you say in

12    the 11:    Research areas PK found that child welfare has

13    made significant progress in four.

14         A.    Yes.

15         Q.    So the significant progress, that's entirely            11:46:33

16    your opinion; is that right?

17         A.    We worked on it as a team and came up with that

18    as a team, but, yes, this is my report.

19         Q.    And it's your opinion?

20         A.    Based on everything that's in the report,               11:46:46

21    correct.

22         Q.    And then on page 9, for example, under the

23    data-driven decision-making and quality of services

24    offered row, you say that:       Since 2016, Oregon has made

25    consistent progress to improve data-driven                         11:47:05

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1     management consulting field would include Deloitte, is

2     that right, D-e-l-o-i-t-t-e?

3             A.     That is one.

4                    MR. KOTHARI:    Object to form.

5     BY MR. RIZZO:                                                           11:57:32

6             Q.     Would McKenzie & Company also be one of your

7     competitors?

8             A.     Those are larger firms, but, yes.

9                    MR. KOTHARI:    Same objection.

10    BY MR. RIZZO:                                                           11:57:41

11            Q.     I want you to go back to Exhibit 4 at page 242.

12    Okay?        With any luck, it should be the same.

13                   So as I understand Exhibit 4, 242, that's a

14    document from your web page, the PublicKnowledge web

15    page.                                                                   11:58:07

16            A.     Yes.

17            Q.     And that says that essentially PublicKnowledge

18    is a national management consulting firm; is that right?

19            A.     Yes.   I believe now it says it's a

20    multi-national, because we operate in Canada, as well.                  11:58:20

21            Q.     I saw that.    There's reference to

22    international.         That's what it is, it's basically Canada?

23            A.     Yes, multi-national, U.S. and Canada.

24            Q.     The other part of page 242, it says:       We

25    expertly blend the science of systems, programs and                     11:59:05

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1     people to achieve continued improvements long after our

2     engagements end; is that right?

3          A.   Yes.

4          Q.   If you go to page 246, that's another

5     PublicKnowledge-generated document?                                    11:59:32

6          A.   Yes.

7          Q.   On page 249, there's a reference to

8     implementation planning and science.

9               Do you see that?

10         A.   Yes.                                                         12:00:19

11         Q.   And I think the final sentence, it says:         We

12    help our clients plan for implementation and execute

13    these plans using the best available evidence in

14    implementation science.

15              Do you see that?                                             12:00:33

16         A.   Yes.

17         Q.   What is implementation science?

18         A.   It's the way that research has based how you

19    correctly implement.   It's a process that's followed,

20    very similar to and in the same field as change                        12:00:46

21    management and CQI.

22         Q.   So let me see if you agree with a related

23    definition from the National Institute of Health.          Would

24    you say that implementation science is, for example:            The

25    scientific study of methods to promote the systematic                  12:01:03

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1     period --

2          A.     Anything older than six months.

3          Q.     Is gone?

4          A.     Yes.

5          Q.     Where are your notes and memoranda that you               13:44:38

6     compiled in preparation and in connection with writing

7     the report?

8          A.     I don't have notes outside of the report.

9          Q.     So you made no notes or memoranda in connection

10    with any of your work in regard to the preparation and                13:45:01

11    finalization of the 2023 report; is that right?

12         A.     Correct.

13         Q.     Is that your normal practice to take no notes

14    or create no memoranda in your normal and ordinary

15    duties?                                                               13:45:16

16         A.     Yeah.   This wasn't different, so, no.

17         Q.     Were you ever instructed to save emails in

18    connection with the 2023 report?

19         A.     No.

20         Q.     Did you directly supervise any of the work                13:45:39

21    performed by each of the team members?

22         A.     Yes.

23         Q.     Who did you directly supervise in that work?

24         A.     Allison Ward directly, week-to-week, but I'm

25    supervising everyone on the team.                                     13:46:04

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1          A.     That would have been working on the final

2     report.

3          Q.     In working through the hours, and these are

4     merely approximations, it looked like in 2020, you had 20

5     hours roughly split, about 19 in assessment methodology              13:52:37

6     and one to project management --

7          A.     Yes.

8          Q.     -- does that square?

9                 And then Ms. Olson Ward had 204 hours and Julie

10    Breedlove 132 plus or minus hours.                                   13:52:54

11         A.     That looks correct.

12         Q.     And then in 2021, you had approximately three

13    and a half hours for project management.

14         A.     Of billed time, yes.

15         Q.     Right.    So what happened in 2021 to where you          13:53:11

16    weren't particularly involved in this project?

17         A.     I wouldn't agree with that, that I wasn't

18    involved.

19         Q.     Well, explain to me why you only had three and

20    a half hours or so?                                                  13:53:27

21         A.     Yeah.    So beginning of 2020, I took over in the

22    role I'm in now as the president of the company, which

23    meant I'm no longer a billable employee, so my time is

24    tracked differently.       And I don't actually bill all my

25    time on projects, especially if it's in a supervisory                13:53:42

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1     reality.

2          Q.    And I understand that was a conclusion.

3                But did you examine that, beyond labeling it as

4     there's often confusion or whatever, did you examine it?

5          A.    Examine it in what way?                                 14:34:58

6          Q.    Try to find out why there was a disconnect.

7     For example, did you go back and ask workers?

8          A.    We did not talk to workers directly.

9          Q.    Did you conduct another survey?

10         A.    No.                                                     14:35:12

11         Q.    You just understood there was a disconnect and

12    the disconnect was because that's the way implementation

13    works.

14               MR. KOTHARI:     Objection.

15    BY MR. RIZZO:                                                      14:35:22

16         Q.    Is that right?

17               MR. KOTHARI:     Objection, misstates testimony.

18    BY MR. RIZZO:

19         Q.    You can answer.

20         A.    There's a disconnect often between perception           14:35:27

21    and data, especially where they are in the implementation

22    process.

23         Q.    Are you claiming that the 2023 report was an

24    implementation study that purported to measure changes or

25    outcomes in response to planned interventions in DHS?              14:35:56

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1            A.   No.    We were looking at progress over time

2     between 2016 and now and whether or not it had an impact

3     on children in the system.

4            Q.   2016 and December 2023, you mean, right?

5            A.   Yes.                                                     14:36:17

6                 THE VIDEOGRAPHER:     Going off the record at 2:36

7     p.m.

8                 (Off the record.)

9                 THE VIDEOGRAPHER:     Back on the record at 2:54

10    p.m.                                                                 14:54:13

11                MR. RIZZO:    So for the record, we're going to

12    ask that PublicKnowledge place a litigation hold on any

13    communications and suspend your records retention policy

14    for the pendency of this case until we take up these

15    issues with the court.                                               14:54:38

16                We're making the same request, although I think

17    it goes without saying, for the Markowitz firm, because

18    that firm is now in possession of the remaining facts

19    that were communicated in one or more of the email

20    exchanges between the parties.                                       14:54:51

21    BY MR. RIZZO:

22           Q.   The public knowledge report Exhibit 1, are you

23    in Exhibit 1 again?

24           A.   Yes.

25           Q.   In the Executive Summary provision at page 12,           14:55:17

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1     the final paragraph, there's a reference which says:

2     This assessment was conducted with the lens of

3     implementation science which shows that progress and

4     improvement should be slow and plan-full.

5                And you wrote that, right?                                14:55:58

6          A.    Yes.

7          Q.    But this report is not an implementation

8     science study, correct?

9          A.    Correct.

10         Q.    Why did you write that then?                              14:56:13

11         A.    Because we are using that to understand the

12    timing of when things will start to show in outcome data.

13         Q.    But you didn't define any outcomes, correct?

14         A.    No.    We have data throughout that's part of the

15    outcomes throughout the report.                                      14:56:30

16         Q.    But you don't have any specific outcome or goal

17    and the time it's going to take to reach that goal and

18    how that progress will be measured along the way,

19    correct?

20               MR. KOTHARI:     Objection, compound.                     14:56:45

21    BY MR. RIZZO:

22         Q.    Am I correct?

23         A.    I'm confused by the question.

24               (Last question read.)

25               MR. KOTHARI:     Same objection.                          14:57:04

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1                THE WITNESS:     Yeah.   That's part of what we're

2     looking at, whether or not child welfare is doing that.

3     BY MR. RIZZO:

4          Q.    Can you answer my question.

5                MR. KOTHARI:     Objection, asked and answered.          14:57:13

6                THE WITNESS:     Yeah, same.

7     BY MR. RIZZO:

8          Q.    We're clear you did not define a specific

9     outcome for any measure, correct, in the report?

10         A.    I'm sorry.     I'm not sure what you're asking.          14:57:27

11         Q.    You did not define a specific date or a target

12    date by which any measure would be reached or achieved,

13    right?

14         A.    No.

15         Q.    And you didn't define how long it was going to           14:57:40

16    take DHS to reach or achieve any specific goal or

17    outcome, correct?

18         A.    We were looking at their time frame and seeing

19    whether it was reasonable with the lens of implementation

20    science.                                                            14:57:56

21         Q.    You did not define that or project -- you

22    didn't have a project chart to reach a defined outcome or

23    goal, correct?

24         A.    What do you mean by progress chart?

25         Q.    An experiment that tells me when it begins,              14:58:07

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1                                    CERTIFICATE

2     STATE OF OREGON          )

3                              ) ss

4     COUNTY OF MULTNOMAH )

5

6                I, Teresa L. Rider, CRR, RPR, CCR, CSR, hereby

7     certify that said witness personally appeared before me

8     at the time and place set forth in the caption hereof;

9     that at said time and place I reported in stenotype all

10    testimony adduced and other oral proceedings had in the

11    forgoing matter; that thereafter my notes were

12    transcribed through computer-aided transcription, under

13    my direction; and that the foregoing pages constitute a

14    full, true and accurate record of all such testimony

15    adduced and oral proceedings had, and the whole thereof.

16               I further certify review of the transcript was

17    requested.

18               Witness my hand at Portland, Oregon, this 26th

19    day of March 2024.

20

21

22                                 <%11029,Signature%>

23                                    Teresa L. Rider

24                                    Oregon CSR No. 12-0421

25                                    Expires 3-31-26

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  resources needed to achieve your objectives. Our proprietary approach consists of a facilitated process
  that builds consensus, improves buy-in, and results in clear recommendations. The goal is to obtain a
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  design begins. These defects often result from omitted requirements or user misunderstanding. Our
  consultants combine extensive requirements research, facilitation experience, and documentation
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  We develop the business case or funding request documentation you need for state and federal funding
  approval. Our consultants understand the program areas and approval requirements in state budgets.
  We can also assist in drafting grant applications for project or program funding.



  Requests for Proposals or Requests for Quotes
  You have decided to go outside of your agency to acquire a vendor for an outsourced system, service, or
  project. This can be an exciting time, but also risky. We write requests for proposals or requests for
  quotes to meet your needs and ensure bidders understand those needs. We help with vendor
  identification and communication to generate attention and competition so that you acquire the
  product that best meets your needs and budget.



  Evaluation and Evaluation Strategy
  You released a procurement and have all the responses. How do you choose the right vendor? The risks
  during evaluation and selection can quickly undo even the best procurement plans. We help you avoid
  the gaming and protests that can result from inadequate evaluation and cost scoring. We have a
  proven approach that begins with a proposal evaluation plan and includes the development of custom
  scoring sheets for submitted proposals and oral presentations.




  Innovate

  Capacity Building

  Organizations are increasingly asked to do more with less. We help organizations deal with staffing
  shortages and decreasing resources by developing and strengthening the skills, instincts, abilities,
  processes, and resources you have so you can thrive in complex environments. This could include the
  development of new service models, a reduction in low-value activities, or a return to core mission
  work.


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  Implementation Planning and Science
  The implementation process itself is critical to ensuring that improvement initiatives are executed with
  fidelity, that the groundwork and planning to support the initiative are in place, and that the process of
  implementation occurs at a pace that allows for monitoring and adjustments along the way. We help
  our clients plan for implementation and execute these plans using the best available evidence in
  implementation science.



  Applicable Training
  Training is an iterative process that begins with a needs assessment and development of learning
  objectives, leading to content delivery and evaluation of the learning transfer. Developing the
  workforce should go beyond traditional classroom training to focus on the practical application of new
  information, receipt of feedback, and opportunities to practice new learning until confidence and
  mastery are sustained. Whether it is an individual tool, a full learning program, or a coaching
  initiative, Public Knowledge emphasizes these principles to promote learning and skill development.
  This approach includes the latest research on adult learning, distance learning, and building
  competency in staff.



  Business Process Redesign
  Whether you need to improve core business processes or support the implementation of a new system,
  we help you identify, plan, and implement process improvements and changes. We use a collaborative
  approach to map your current (as-is) processes, identify an ideal future state for the program’s delivery
  of products or services (to-be), and complete a gap analysis between the two. A business process
  redesign effort will reveal the changes needed for the integration of people, processes, systems, or
  structures, leading to more efficient product or service delivery.



  Policy and Regulation Drafting and Analysis

  Policy and regulation drafting requires careful research, review, and analysis of federal, state, or
  agency rules against a research question or new initiative. Our approach to drafting rules, policies, and
  procedures saves your staff time and helps streamline and clarify existing regulations. We can also
  train your staff on state and federal requirements or how to draft their own regulations.



  Communication

  Effective communication underlies everything you do. We have seen projects and initiatives succeed or
  fail based on the agency’s or program’s communication strategy. We understand how messages flow in


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  public sector organizations, including opportunities and limitations. We develop practical, useful
  communication plans and help you implement them, whether it be for a short-term project, a system
  transformation, a program redesign, or a large-scale organizational change.



  Learning Services
  Education drives progress and growth. PK Learning Services creates custom learning tailored to your
  organization’s needs to help your team thrive. Our consultive approach to developing training ensures
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1911 SW Campus Drive #457
Federal Way, WA 98023


September 13, 2016

Governor Kate Brown
Office of the Governor
900 Court Street NE, 160
Salem, OR 97301


Child Safety in Substitute Care Independent Review


Dear Governor Brown,

I am pleased to submit to you the Final Assessment & Review Report for the Child Safety in
Substitute Care Independent Review.

Public Knowledge, LLC (PK) is honored to have been selected to conduct an independent
review of child and youth safety in Oregon’s child substitute care system. We conducted our
review between February and September of 2016.

Over the past decade, a number of reports and reviews have revealed problems in Oregon’s
child substitute care system and suggested remedies. Little has been done to address the
problems or implement the proposed solutions. The time to act is now. All participants in this
independent review expressed a genuine desire to remedy the situation. There is broad
awareness of the problems, and momentum in the state to fix the System.

We commend you for initiating this independent review and hope our findings and
recommendations help move the state toward lasting solutions for Oregon children and youth.
If you have any questions or require clarification, please contact me at (541) 206-4341.

Sincerely,

Melissa Davis
Project Manager



Cc:   Clyde Saiki, Director
      Oregon Department of Human Services
      500 Summer Street NE
      Salem, OR 9730



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Oregon Department of Human Services
    Child Safety in Substitute Care
         Independent Review

           Deliverable 3.4
 Final Assessment & Review Report

                    September 13, 2016




                                                  1911 SW Campus Drive, #457
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                                                           Contact: Melissa Davis
                                                           mdavis@pubknow.com
                                                                  (541) 206-4341
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                                                                                                          Executive Summary


                               Executive Summary
At the request of Governor Kate Brown, Public Knowledge, LLC (PK) conducted an
independent review of Oregon’s child substitute care system (System) over eight months
(between February and September of 2016). Throughout this review, we focused on viewing
the System from the perspective of children and youth living in substitute care. Although many
aspects of the System merit deep examination, we focused on the two areas closest to the
experience of children and youth in care: where they live (placements) and what happens when
they experience abuse in care (response to abuse).

F INDINGS

The graphic below summarizes the nine major findings from this review.


           Oregon Child Safety in Substitute Care Independent Review Findings


              Safe and Appropriate Placements                  Safe and Swift Response to Abuse in Care

        More appropriate placements could prevent abuse        A coordinated response to abuse in care could
        of children and youth in subs6tute care.               lead to earlier interven6on and preven6on of
                                                               future abuse.

        • FINDING I - Space availability drives placement      • FINDING V - Oregon’s response to allega6ons of
          decisions, rather than the needs of children and       abuse in care is confusing and involves too many
          youth.                                                 uncoordinated elements.
        • FINDING II - Oregon’s placement capacity for         • FINDING VI - The CPS abuse in care repor6ng,
          children with high needs is shrinking.                 screening, and inves6ga6on process is localized and
        • FINDING III - Subs6tute care providers are not         may result in inconsistent responses to harm in care.
          adequately trained or supported to safely care for   • FINDING VII - The current process of abuse in care
          children and youth with high needs placed with         repor6ng is rated untrustworthy by youth and other
          them.                                                  reporters.
        • FINDING IV - The urgency to ﬁnd placements           • FINDING VIII - There is liNle to no follow-up on abuse
          compromises cer6ﬁca6on and licensing standards.        in care inves6ga6ons.
                                                               • FINDING IX - Informa6on that could mi6gate safety
                                                                 concerns is not eﬃciently shared between en66es.


The quantitative and qualitative data collected and analyzed during this review show that the
state’s most acute problem is not having enough of the appropriate substitute care providers
available at the moment when a child or youth needs to be placed in out of home care. Having
the right provider for the right child or youth at the right time could reduce the risk of harm in
care. Nonetheless, national data and standards tell us that even if Oregon were to invest in
significantly increasing the number of high quality substitute care providers, there will always
be a risk that something bad will happen in a placement. The state needs to have a transparent
process for responding to abuse in care that puts the child first and is based on standardized
protocols for screening and response.



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                                                                                                Executive Summary

Underlying both of these areas however, is the less tangible but even more critical reality that
the culture of DHS and Oregon’s substitute care system needs to change. Over the past
decade, a number of reports and reviews have revealed problems and suggested remedies.
Yet little has been done to address the problems or implement those remedies.

T HE P ATH F ORWARD

This review found little that has not already been discussed. We do not offer a “silver bullet”
that will fix the problems in the System. What can make this review different from its
predecessors is how the state, as a whole, responds to the recommendations suggested in the
report.

The graphic below shows how implementation of our recommendations will lead to a future
state that prioritizes child and youth safety in care: more appropriate placements could prevent
abuse of children and youth in care, and a coordinated response to abuse in care could lead to
earlier intervention and prevention of future abuse. In order to make needed changes, the
culture of the System, including DHS, the legislature, the provider community, and advocates
must prioritize the safety of children and youth who have been removed from their families and
placed in the care of the state.


  Oregon Child Safety in Substitute Care Independent
             Review Recommendations                                                   Foundational
                                                                                   Recommendations to
      Safe and Appropriate                Safe and Swift Response to                 Address Barriers
          Placements                            Abuse in Care

 More appropriate placements could       A coordinated response to abuse in     These recommenda6ons are
 prevent abuse of children and youth     care could lead to earlier             founda6onal to the system and any
 in subs6tute care.                      interven6on and preven6on of           change eﬀorts. If these areas are not
                                         future abuse.                          addressed, the other
                                                                                recommenda6ons will have liKle to
 • Increase provider rates for all       • Redesign the Process of Responding   no trac6on.
   provider types                          to Allega6ons of Abuse in
 • Adopt an assessment tool to             Subs6tute Care                       • Change the Culture of Oregon DHS
   determine level of care and need,     • Centralize hotline opera6ons         • Focus the Whole DHS Agency and
   for use before placement decisions    • Standardize screening protocols         Child Welfare Workforce on Safety
 • Develop Oregon’s Con6nuum of          • Adopt a standard protocol for        • Adopt Data Driven Decision Making
   Care and Availability                   “closed at screening”                   Processes
 • Build out alterna6ves to congregate                                          • Increase Staﬃng Resources for CPS
   care for children and youth with                                                and Other DHS En66es
   high needs




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                                                                                        Introduction


1. Introduction
Oregon’s children and youth experience more maltreatment in care than the national average
(National AFCARS Data, 2013). Recent high profile lawsuits involving abuse of children and
youth in substitute care have sparked multiple responses including new legislation. The state
has paid out over $31 million in settlements and awards in lawsuits where children and youth
were abused by caregivers in foster homes and residential facilities in the last five years
(excluding low dollar awards and sealed cases). The frontline caregivers - from caseworkers to
foster parents and institutional staff - are suffering from overwork and turnover, inadequate
training and support, and low morale; yet they are expected to shoulder much of the
responsibility for ensuring children and youth are safe in care. Policymakers and leadership do
not have good data on what is happening in the system, so solutions have been informed by
single incidents and crisis response. From the perspective of children and youth in care, policy
makers, legislators, the media, caregivers, DHS, and the public, the child substitute care system
(System) is failing.

Over the past decade, a number of reports and reviews have revealed problems in the System
and suggested remedies. Little has been done to address the problems or implement those
remedies. Responses have been mostly focused on reframing the problem to deflect blame,
comply with regulation, engage in required federal planning, or preserve the existing System.

Public Knowledge, LLC (PK) conducted an independent review of Oregon’s child substitute
care system over eight months (between February and September of 2016). Throughout this
independent review, we viewed the System from the perspective of children and youth in care.
Actions taken in response to this review, future breakdowns in the System, or directives from
policymakers need to do the same: put the children and youth in care first and implement
solutions focusing on their safety.

This independent review found little that has not already been discussed. We do not offer a
“silver bullet” that will fix the problems in the System. What can make this review different from
its predecessors is how the state, as a whole, responds to the report. The media, legislators,
and department leaders need to focus on the work of changing the culture of the System and
DHS. The culture must prioritize the safety of children and youth who have been removed from
their families and placed in the care of the state.

The time to act is now. There is gathering realization in the state that the problems children
and youth face in substitute care are systemic and need more than a quick fix. All participants
in this independent review expressed a genuine desire to remedy the situation, and there is
momentum in the state. Most importantly, the longer the state waits to implement impactful,



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                                                                                                             Introduction

systemic change, the greater the likelihood that abuse of children and youth in care will
continue.

This report documents findings, conclusions, and recommendations from our independent
review of the System.

1.1. Scope of the Independent Review
An independent review is an assessment of a policy, program, or system by an independent
third party. In response to recent breakdowns in the System that led to abuses of children and
youth in foster care, Governor Brown directed DHS to secure an independent, third-party
contractor to provide DHS with recommendations to facilitate and support improvements
necessary to ensure the care and safety of children served in the out of home care system.1 PK
was selected through a competitive procurement process to conduct the Child Safety in
Substitute Care Independent Review.

The purpose of the independent review was to assess the operations, management practices,
communication patterns, and accountability mechanisms related to providing 24/7 out-of-
home care for children and youth who are under the custody of Oregon DHS (“substitute
care”).

The methodology for the Child Safety in Substitute Care Independent Review was designed to
continually narrow the scope as the review progressed through three phases: Project Initiation,
Initial Assessment, and Comprehensive Review. By Phase III, we focused our inquiry on those
areas of the System closest to the direct experience of children and youth living in substitute
care: where they live and what happens when they experience abuse in care. Figure 1 shows
the review’s focus areas.




1
 Oregon Department of Administrative Services. Opportunity Notice #DASPS-2534-15 for Department of Human Services Child
Foster Care Service System. December 2015.



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                                                                                                                   Introduction

                                                       Figure 1: Phase III Scope


                                CHILD SAFETY IN SUBSTITUTE CARE
                                                          Child, Youth, and Young Adult


                          Training &                                                               Training &
                                                                Resources &
                         Support for                                                              Support for
                                                                  Staﬃng
                         Field Staﬀ                                                                Providers




                            INDEPENDENT REVIEW INQUIRY AREAS - PHASE III


                                                                                                  Safe and
             Safe and Appropriate
                                                                                                Swift Response
                 Placements
                                                                                                  to Abuse




                Recruit & Retain                          All Involved in                   Consistent Application of
                   Providers                             Safety Decisions                     Regulations & Policy


                 FOUNDATION OF SYSTEM                                           ▪    Cultural Competence & Equity
          Foundational areas identified during the Initial Assessment           ▪    DHS Culture & Leadership
          that DHS is committed to improving across the entities involved
                                                                                ▪    Data & Performance Measurement
          in the Child Substitute Care System:




Each element of the System surrounding the child, youth, or young adult is integral to
supporting their experience in substitute care. Those areas within the green shaded box were
the areas of focus for PK during Phase III of this review. Areas outside the box are potential
areas for future inquiry, and DHS and other stakeholders are currently addressing many of
them. That work is captured in a separate work plan managed by DHS.

The independent review focused narrowly on the experience of children and youth currently in
substitute care settings. Maintaining the boundaries of this scope has been a challenge
throughout the project because substitute care is only one small part of a spectrum of child
welfare services whose primary goal is to keep children and youth safe at home with their
families2 or move them to permanency quickly.



2
    Oregon Safety Model; Strengthening, Preserving, and Reunifying Families; and Oregon’s Differential Response model.



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To be included in the scope of the independent review, an area of review had to meet all of
the following criteria:

1. Impact on child and youth safety in care. Safety is considered from the child and youth
    perspective and through an equity lens to eliminate disproportionality and disparate
    treatment. Though permanency and well being are two other elements of the child welfare
    model, this review focused on child and youth safety in care.

2. Children and youth who are already in substitute care. Initial placement decisions, such
    as the original order taking the child or youth into state custody, were not included.

    Figure 2 below shows the breakdown of children and youth by substitute care placement
    type over five years.

Figure 2: Count of Children in Foster Care (Total Served during Period) by Placement Type 2011-2015 (Public ROM)

 8,000
                                                                                        Most children and
 7,000                                                                                  youth in substitute
                                                                                        care in Oregon are in
 6,000                                                                                  non-relative or relative
                                                                                        foster homes.
 5,000

 4,000

 3,000

 2,000

 1,000

     0
         Foster Family Home Foster Family Home       Group Home           Institution            Supervised
              (Relative)      (Non-Relative)                                                 Independent Living,
                                                                                                Pre-Adoptive,
                                                                                               Runaway, Trial
                                      2011    2012    2013    2014    2015                      Home, Other



3. Children and youth who are in the custody of the Child Welfare Services Division of
    DHS. This includes children and youth involved in the Developmentally Disabled system or
    the Juvenile Justice system, only if they are also under the custody of Child Welfare.




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4. Substitute care settings associated with substantiated harm in care. We included all
    care settings for children and youth where harm in care has been substantiated in the last
    five years.3

1.2. Rates of Harm in Care by Placement Type
This section describes what DHS data shows about the placement types where abuse in care is
occurring. Oregon currently has a disjointed data enterprise for tracking information about
abuse of children and youth in substitute care. The data depends on multiple programs and
systems that do not interface. While OR-KIDS, the DHS data system, has reporting capabilities,
it does not have advanced reports set up on the data requested for this review. We could not
verify the reliability of the data shown in this section, but include it here as part of the overall
context regarding the placement types where children and youth may experience higher risks
of abuse in care.

The number of individual children and youth in care with substantiated reports or allegations of
abuse has been relatively stable, between 93 and 106 for the last four years. See Figure 3.

Figure 3: Count of Unique Children by Calendar Year with Substantiated Allegations of Abuse in Substitute Care (PK
                                         Data Request from DHS, 2016)

                         300                                                       The number of children and
                                                                                   youth with substantiated reports
                         250                                                       of abuse in care has stayed
                                                                                   steady around 100 for the past
                         200                                                       four years.
         # of children




                         150

                         100
                               105             106                                      98
                                                                    93
                          50

                           0
                               2012            2013                2014                2015


According to data from DHS, substantiated allegations of abuse in care occur more often in
non-relative foster homes than other types of placements. Figure 4 shows the substantiated
cases of abuse per year and by provider type.




3
 Five years is the length of time since the 2011 Child and Family Services Review and corresponding Program Improvement Plan
was implemented.



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         Figure 4: Substantiations by Calendar Year and by Provider Type (PK Data Request from DHS, 2016)

                                   100
                                                                                          Substantiated abuse in
                                                                                          care occurs more often
                                    80                                                    in non-relative foster
                                                                                          homes than other
            # of Substantiations



                                                                                          placement types, and
                                    60                                                    has stayed stable for the
                                                                                          last four years.

                                    40


                                    20


                                     0
                                         Foster Family    Foster Family    Group Home      Institution
                                         Home (Non-      Home (Relative)
                                           Relative)

                                                             2012   2013   2014    2015



The independent review team reviewed all lawsuits filed against DHS in the last five years that
ended in an award or settlement of $50,000 or more. The findings of this review corroborate
the data obtained from DHS. Of these 23 cases, two involved biological families, two involved
a Child Caring Agency (CCA), and the remaining 19 involved DHS certified foster homes.

Several key informants who contributed to the Initial Assessment phase of the review reported
that children and youth are abused in the CCA residential facilities (“institutions” 4) more often
than the foster homes certified by DHS (both institutional and proctor foster homes contracting
with CCAs). This led to much of the focus and conversations with the review team to be on the
topic of licensing and oversight of CCAs. Although abuse is occurring in these placement types
at a higher rate compared to the total population of children and youth in the placement type,
the data in Figure 4 above shows a significantly lower number of children or youth
experiencing substantiated abuse in CCAs than in DHS foster homes. Additionally, data
obtained from DHS shows that more children and youth in care are abused in a DHS certified
foster home than a proctor foster home overseen by a CCA. Figure 5 shows the difference by
substantiated reports of abuse. (Note that Figure 5 shows substantiated abuse by report, while
Figure 4 shows substantiated abuse by child in care.)




4
  The DHS data sets we analyzed use the term “institutions” to refer to residential treatment facilities run by CCAs. We use the term
“institution” in this section as it relates to the data, but use “residential facility” throughout the report.



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 Figure 5: Substantiated Reports of Abuse in Foster Home Care by Certification Type (PK Data Request from DHS,
                                                      2016)

                                  50                                                                There are more
                                                                                          50        substantiated reports of
                                        46                                                          abuse occurring in DHS
                                  40
                                                                                                    certified foster homes
    # of Substantiated Reports




                                                      38                                            than in CCA certified
                                                                         36
                                  30                                                                proctor foster homes.

                                  20


                                  10
                                             9              7                 5                5
                                   0
                                         2012            2013             2014             2015

                                                 DHS Certified     CCA Certified


Qualitative data collected for this review shows that both DHS certified and CCA proctor foster
parents need more skills and ongoing support to serve the children and youth with high needs
in their care.

1.3. Methodology Overview
The methodology guiding this independent review was designed to obtain a broad view of the
gaps and opportunities within the child substitute care system, and then narrow the focus to
the most critical problems for deeper examination. The review progressed through three
phases: Project Initiation, Initial Assessment, and Comprehensive Review. Figure 6 shows the
high level approach model for this review.




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                                          Figure 6: Overall Approach Model



                              ASSESSMENT PROCESS
                                   Activities                      Outputs
                                Phase 1: Project Initiation (Feb-March 16)
                        ▪   Resource Identification
                        ▪   Roles & Responsibilities
                            Defined                      ▪   Purpose
                        ▪   Scope Defined                ▪   Vision
                        ▪   Vision Defined               ▪   Scope
                        ▪   Advice from External
                            Advisory Committee

                               Phase 2: Initial Assessment (March-April 16)

                        ▪   Regulatory Inventory
                                                         ▪   Regulatory System Maps
                        ▪   Key Informant Interviews
                                                         ▪   Initial Assessment
                        ▪   Collect and Review
                                                             Materials
                            Background Information
                                                         ▪   Inquiry Protocol for Phase
                        ▪   Identify Inquiry Focus
                                                             III
                            Areas

                        Phase 3: Comprehensive Assessment (April-August 16)

                        ▪   Focus Groups
                        ▪   Survey Distribution          ▪   Final Review &
                        ▪   Data Analysis                    Assessment Report with
                        ▪   Develop Key Findings             Findings, Best Practices,
                        ▪   Best Practices Research          and Recommendations
                        ▪   Analysis of Full Inquiry




A detailed description of the methodology can be found in Section 5 Review Methodology.

1.4. Key Terms Used in this Report

     Term                                                      Definition

 Behavioral       “Behavioral Rehabilitation Services (BRS) is a program that provides services and placement
 Rehabilitation   related activities to the BRS client to address their debilitating psychosocial, emotional, and
 Services (BRS)   behavioral disorders in a community placement utilizing either a residential care model or
                  therapeutic foster care model” (OAR 410-170-0020).
                  Note: Child Caring Agencies (CCAs) can also be licensed to provide BRS services and many
                  are, but they are not synonymous.

 Child Caring     Any licensed agency, private school, or private organization (including institutions and group
 Agency (CCA)     homes) providing day treatment for children with emotional disturbances; adoption placement
                  services; residential care, including foster care or residential treatment for children; residential
                  care in combination with academic education and therapeutic care, including but not limited to
                  treatment for emotional, behavioral, or mental health disturbances; outdoor youth programs;
                  and other similar services for children. A child caring agency does not include residential
                  facilities or foster care homes certified or licensed by the DHS for children receiving
                  developmental disability services (ORS 418.205). Child Caring Agencies are licensed by the



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         Term                                                            Definition
                         Department of Human Services, Office of Licensing and Regulatory Oversight, and some
                         contract with proctor foster homes (also known as professional foster homes).
                         See Figure 7 for a graphical depiction of the contractual relationship of CCAs to DHS and other
                         licensed or certified substitute care providers.

    Critical             CCAs are required to notify a DHS licensing coordinator if a critical event occurs: “A significant
    Incident             event occurring in the operation of a child-caring agency that is considered likely to cause
                         complaints, generate concerns, or come to the attention of the media, law enforcement
                         agencies, first responders, Child Protective Services, or other regulatory agencies” (OAR 413-
                         215-0091).
                         DHS Certified Foster Homes are required to notify the certifier or certifier’s supervisor if a
                         critical event occurs, including: Any circumstance “that could reasonably affect the safety,
                         health, or well being of a child or young adult in the home of the certified family…any change in
                         the physical health, mental health, or medication of a member of the household…any suicidal
                         ideation, significant behavior change, or significant injury or illness to a child or young adult”
                         among other events that could affect the safety of a child or youth in care (OAR 413-200-0383).

    DHS Certified        A foster family home or relative foster home certified directly by DHS. A foster home maintained
    Foster Home          by a “certified family” caring for a child under the age of 21 years unattended by the child’s
                         parent or guardian, providing the child with care, food, and lodging (ORS 418.625(1)(3), OAR
                         413-200-0260(8)).
                         See Figure 7 for a graphical depiction of the relationship of certified foster homes to DHS and
                         other licensed or certified substitute care providers.

    Foster Care          A temporary living arrangement for children who need a safe place to live when their parents
                         or guardians cannot safely take care of them. Types of foster care include relative foster care,
                         in which a child is placed with a relative; child-specific foster care in which an individual or
                         family becomes certified to care for a specific child, usually known to them in their community;
                         and general foster care in which children are placed in with non-relatives. Foster care includes
                         placement in a certified relative or foster family home or other child caring institution or facility
                         (http://www.oregon.gov/DHS/Children/fostercare/Pages/index.aspx).

    High Needs           High needs is defined as: children and youth with behavioral or physical health issues. In the
                         context of this report, children and youth with high needs require “intensive” authorized levels of
                         care, which dictates the amount of payments for care; challenging diagnoses, behaviors, and
                         other characteristics where placements break down frequently and require new placements
                                     5
                         frequently.

    Institution          A licensed child care facility operated by a public or private agency and providing 24-hour care
                         and/or treatment for children who require separation from their own homes and group living
                         experience. The data included in this report uses “institution”, which refers both to the Oregon
                         CCA definition, plus hospital-like settings and Psychiatric Residential Treatment Facilities (from
                         federal definition and ROM). When the term residential is used in the data, it refers to just the
                         DHS licensed residential programs through CCAs. See “Child Caring Agency.”

    Proctor Foster       A foster home certified by a CCA (SB1515 Section 1(8)). A proctor foster home must meet
    Home                 minimum standards as established by rules adopted by DHS or the Oregon Youth Authority
                         (OYA) (OAR 413-215-0313). Proctor foster homes also receive a pass through certification

5
    There is no universal definition of “high needs” pertaining to child welfare. This definition was adapted from: The Stephen Group.
“Meeting the Needs of High Needs Children in the Texas Child Welfare System”. November 2015, p.11.
www.dfps.state.tx.us/About_DFPS/Reports_and_Presentations/CPS/documents/2015/2015-12-
03_Stephen_Group_High_Needs_Assessment.pdf.




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     Term                                                        Definition
                  from DHS. These are also referred to as “professional foster homes” in the data and literature.
                  See Figure 7 for a graphical depiction of the relationship of proctor foster homes to DHS and
                  other licensed or certified substitute care providers.

 Residential      See definition for Institution above.
 Facility
                  Throughout this report we use the term “residential facility” or “residential program” unless we
                  are referring to the data obtained from DHS, which primarily uses the term “institution.”

 Substantiated    A substantiated allegation means there is reasonable cause to believe that child abuse
 Allegation of    occurred (OAR 413-015-0115 (51)). Substantiated or “founded” allegations of abuse trigger
 Abuse            notifications to identified parties certification review by the Department.

 Substitute       The out-of-home placement of a child or young adult who is supervised by DHS or other
 Care             agency, including placement in a certified relative or foster family home or other child caring
                  institution or facility (ORS 419A.004).


Figure 7 below shows DHS’s licensing and certification responsibilities for substitute care
providers. This graphic is provided as a reference because these terms are often confused. We
use the terms in the graphic below throughout the report. The entities shown in Figure 7 are
described in more detail in section 1.5 below.

                        Figure 7: DHS Licensed and Certified Substitute Care Providers

Foster Family Homes
                                   Certifies                            Licenses
 • Non-relative                                                                         Child Caring Agencies
 • Relative                                                DHS




                                                                                                         Oversees & Runs
                                                                                           Certifies

                                                                        Ce
                                                                             rti
                                               Certifies




                                                                                 fies


                                       Crisis Shelters
                                                                                         Proctor       Residential
                                      & Group Homes
                                                                                         Foster         Facilities
                                                                                         Homes



• DHS certifies foster family homes, both relative and non-relative. Certifiers housed in DHS
  district offices perform this function.

• DHS certifies crisis shelters and group homes.

• DHS, through the Office of Licensing and Regulatory Oversight (OLRO), licenses Child Caring
  Agencies (CCAs).




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• Licensed CCAs oversee and run residential programs for children and youth with needs that
  cannot be met by general foster homes. CCAs also certify and oversee proctor foster homes.
     DHS provides a pass through certification for those proctor foster homes certified by CCAs.

1.5. Entities Referenced in this Report

          Entity                                                 Description6

    Child Welfare      Child Welfare is a continuum of services designed to ensure that children are safe at home and
                       that families have the necessary support to care for their children successfully. In Oregon, Child
                       Welfare includes Adoption services, Child Protective Services, Foster Care, and the
                       Independent Living Program.

    CPS                Child Protective Services. CPS responds to child abuse reports. CPS-trained caseworkers
                       across the state listen to reports of abuse, assess the situations, and prepare safety plans to
                       assist children and families.

    CPS Hotlines       Child Protective Services Hotlines. There is a phone number anyone can call to report abuse of
                       any child or adult to DHS. The hotlines are mostly decentralized, staffed by district offices.

    DHS                Department of Human Services. DHS is Oregon’s principal agency for helping Oregonians
                       achieve wellbeing and independence through opportunities that protect, empower, respect
                       choice, and preserve dignity, especially for those who are least able to help themselves.
                       Divisions include: Assistance, Children & Youth, Seniors & People with Disabilities, and other
                       services.

    OHA                Oregon Health Authority. OHA is the agency that oversees and administers Medicaid and other
                       public health programs in Oregon such as the Oregon Health Plan, Healthy Kids, the Oregon
                       State Hospital, and other programs.

    OAAPI              Office of Adult Abuse Prevention and Investigations. OAAPI is part of DHS and is responsible
                       for coordinating and conducting abuse investigations and providing protective services
                       statewide to reports of neglect and abuse of vulnerable adults including: adults over the age of
                       65; adults with physical disabilities; adults with developmental disabilities; adults with mental
                       illness; and children receiving residential treatment services.

    OLRO               Office of Licensing and Regulatory Oversight. OLRO is part of DHS and is responsible for
                       licensing or registering regulatory and corrective action functions for long term care facilities
                       and agencies including children’s residential care agencies, foster care agencies, adoption
                       agencies, assisted living facilities, and other such facilities and agencies.




6
    These descriptions were taken from the DHS and OHA websites on September 04, 2016.



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                                                                                    Findings and Conclusions



2. Findings and Conclusions
The report findings are categorized by the two areas of focus for the review: safe and
appropriate placements and safe and swift response to abuse in care. Findings are summarized
in Figure 8 below.

                                          Figure 8: Findings Summary


    Oregon Child Safety in Substitute Care Independent Review Findings


      Safe and Appropriate Placements                    Safe and Swift Response to Abuse in Care

More appropriate placements could prevent abuse         A coordinated response to abuse in care could
of children and youth in foster care.                   lead to earlier intervenEon and prevenEon of
                                                        future abuse.

• FINDING I - Space availability drives placement       • FINDING V - Oregon’s response to allegaEons of
  decisions, rather than the needs of children and        abuse in care is confusing and involves too many
  youth.                                                  uncoordinated elements.
• FINDING II - Oregon’s placement capacity for          • FINDING VI - The CPS abuse in care reporEng,
  children with high needs is shrinking.                  screening, and invesEgaEon process is localized and
• FINDING III - SubsEtute care providers are not          may result in inconsistent responses to harm in care.
  adequately trained or supported to safely care for    • FINDING VII - The current process of abuse in care
  children and youth with high needs placed with          reporEng is rated untrustworthy by youth and other
  them.                                                   reporters.
• FINDING IV - The urgency to ﬁnd placements            • FINDING VIII - There is liNle to no follow-up on abuse
  compromises cerEﬁcaEon and licensing standards.         in care invesEgaEons.
                                                        • FINDING IX - InformaEon that could miEgate safety
                                                          concerns is not eﬃciently shared between enEEes.




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                                                                                       Findings and Conclusions

2.1. Safe and Appropriate Placements: More Appropriate Placements
Could Prevent Abuse of Children and Youth in Substitute Care
Abuse in care often stems from placing                        “The Department at times struggles with
children and youth with caregivers who are                    appropriate placement matching due to the
over capacity, not qualified to meet their                    complexities of children’s needs and the
                                                              limited number of providers. Although there
needs, or not supported. Data collected for                   may be certified homes, there are times
this review shows that inappropriate                          when homes are not available for children
                                                              with complex behavioral or health care
placements may result from a scarcity of
                                                              needs”
placement options, fewer placement options                         - Oregon Child and Family Services Plan,
for high needs youth, and inadequate                                                            2015, p. 50
training or support for foster parents caring for foster children and youth with high needs.

2.1.1. Finding I - Space availability drives placement decisions, rather than the
needs of children and youth.

Appropriate placements for children and youth in substitute care are not consistently available,
sometimes forcing DHS staff to place them with providers who cannot meet their needs. A
CFSR Statewide Assessment identified lack of resources as a driving factor in placement
decisions, stating that, “Waiting lists for needed services often result in children getting served
by the first available resource rather than the most appropriate resource” (CFSR Statewide
Assessment, 2007, p. 128).

D IFFICULTY F INDING P LACEMENTS

                                                                            Focus group and survey results
 Figure 9: Word Cloud from open-ended responses, Question: What
                                                                            highlight the difficulty caseworkers
happens if there is no available foster home with proper training to take
  in a high needs child or youth? (Caseworker & Supervisor Survey           have finding appropriate
                                Results)
                                                                            placements for children and
                                                                            youth. Figure 9 shows the most
                                                                            frequently used words used in
                                                                            response to the open ended
                                                                            question “what happens when
                                                                            there is no available foster home
                                                                            with proper training to take in a
                                                                            high needs child or youth?”
                                                                            During the timeframe of this
                                                                            review, news articles reported
                                                                            issues of space availability: “DHS



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officials told FOX 12 that on average, six foster children a week state-wide spend at least one
night in a hotel or child welfare office” (“Crisis' in Oregon Foster Care System,” August 8,
2016). DHS staff told reviewers that although the media is currently highlighting this problem,
caseworkers have been spending nights in DHS offices with unplaced children and youth,
lodging them in hotel rooms, and begging providers to take them for years. A 2011 Sensitive
Review Committee Report found that, “Planful foster care placements to ensure stability often
does not occur, primarily because of limited capacity and limited access to specialized training
for foster parents and relative caregivers” (Sensitive Review Committee Report, 2011, p. 5).

A SSESSMENT T OOLS

Appropriate placements are dependent on a complete assessment of a child and family’s
needs and strengths, as well as timely family finding for appropriate relative placement
options. Oregon does not use an assessment tool prior to placement to determine the needs
of children and youth, and therefore cannot proactively match children or youth to the
qualifications of caregivers. Nor does the state use an assessment tool to identify the level of
care provided by the pool of caregivers. Therefore, no data is available to show need and
availability for each placement level or type.

The Department recognizes the importance and role of assessment as evidenced throughout
Oregon’s child welfare rules and regulations,7 the DHS Child Welfare Manual, and articulated in
the 2007 Children’s Wrap Around Initiative, but the consistent application of policies and
procedures is not evident. It appears that due to the scarcity of placements, DHS is not able to
adequately put this policy into practice.

Oregon uses the Child and Adolescent Needs
                                                                     “Level of care is not used to help find the
and Strengths (CANS) Assessment once a child                         right placement. Only after the child is placed
or youth is placed in substitute care, but only to                   is the personal care assessment done. And
                                                                     usually this is about a month after being
determine payment rates and service plans.                           placed.”
There is no level of care assessment conducted                                  - Foster Parent Survey Respondent
prior to placement.

DHS foster home certifiers reported in a focus group that DHS is not currently capable of
matching children’s needs with qualified foster home placements to meet those needs, due to
limited availability of qualified foster home placements. According to review participants, this
can lead to higher risk of abuse in care.




7
    See Oregon Administrative Rules (OAR) 413-070-0600 and 413-070-0625.



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• 67% of foster parents surveyed said the needs of foster children and youth are not matched
  to providers’ qualifications.

• Over 60% of attorneys and judges surveyed note that abuse in foster care is sometimes or
  very often related to a child or youth being placed in the wrong level of care for their needs.
  See Figure 10.

 Figure 10: When abuse occurs in foster care, how often is the abuse related to a child or youth being placed in the
                wrong level of care for their needs? (Attorney and Juvenile Judge Survey Results)

                           100%
                                                                               64% of respondents said
                                                                               abuse in care is
                           80%
                                                                               sometimes or very often
        % of Respondents




                                                                               related to a child placed
                           60%                                                 in the wrong level of care.

                           40%

                           20%

                            0%
                                  Very often   Sometimes       Rarely      I am not sure



2.1.2. Finding II - Oregon’s placement capacity for children and youth with high
needs is shrinking.

High needs is defined as: children and youth with behavioral or physical health issues. In the
context of this report, children and youth with high needs require “intensive” authorized levels
of care, which dictates the amount of payments for care; challenging diagnoses, behaviors, and
other characteristics where placements break down frequently and require new placements
frequently.

According to the 2016 CFSR Statewide Assessment Instrument, “While there is no way to
capture the number of children in regular foster care who should be in a higher level of
treatment care, stakeholder reports indicate that across the state children who meet criteria for
BRS placement are living within the regular foster care system” (CFSR Statewide Assessment
Instrument, 2016, p. 23).

P LACEMENT C APACITY

Oregon’s placement capacity, especially for children and youth with high needs is inadequate
to meet the demand. Multiple recent reports and reviews have found this to be the case:




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• “[DHS] Child Welfare may not be adequately assessing the capacity of programs to provide
  services for high-needs children and the appropriateness of those services” (CIRT Review
     2012-2014, p. 2).

• “Children with multiple handicapping conditions are difficult to place and provide with
  comprehensive services” (CFSR Statewide Assessment, 2007, p. 128).

Residential bed capacity for children and youth with high needs appears to be steadily
declining, decreasing 12% just over the past year (PK Data Request from DHS, 2016).8 There
are limited step down placement options for those high needs youth who truly need intensive
out of home care. It appears that Oregon has not historically focused on building out intensive
therapeutic foster care (TFC) services for those children and youth in need of residential
services. Instead, these children and youth are put in foster homes not trained or equipped to
handle their needs.

88% of attorneys and judges surveyed see placements that exceed providers’ capacity, and
65% have seen caregivers not having sufficient training to care for the needs of foster children
and youth in their care.

The need for intensive placement settings (e.g., residential treatment or therapeutic foster
care) remains higher than Oregon can meet with in-state resources. While the number of
children and youth in BRS placements is decreasing, the number placed in an out-of-state
psychiatric residential treatment facility is increasing. In 2015, 3.6% of children served in BRS
placements were placed out of state, up from 0.3% in 2012, and none in the years before that.
See Figure 11. Sending children and youth out of state for services removes them from their
community and support system and is expensive for the state.




8
    Some review participants believe that this decrease may be a positive sign that problem providers are leaving the System.



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 Figure 11: Number of Children in BRS Placements and Number of Children Placed Out of State (PK Data Request
                                              from DHS, 2016)
                                                                                                             Number of children in
          1,600                                                                                                                   200
                                                                                                             BRS is decreasing, but
                            1,435
                                         1,343
                                                                                                             number of children placed
                                                                                                                                  180
          1,400                                                                                              out of state has increased
                                                        1,164          1,162                                 from 0 to 29.        160
          1,200
                                                                                    1,023                                                              140
                                                                                                  930
          1,000                                                                                                888                                     120
                                                                                                                                      808
     # of Children




                     800                                                                                                                               100

                                                                                                                                                       80
                     600
                                                                                                                                                       60
                     400
                                                                                                                                      29               40
                     200                                                                                         8
                                                                          4            5                                                               20
                               0            0              0                                        2
                      -      Count        Count          Count          Count        Count        Count        Count                 Count
                                                                                                                                                       0
                           FY 2008-09   FY 2009-10     FY 2010-11     FY 2011-12   FY 2012-13   FY 2013-14   FY 2014-15               7/1/
                                                                                                                                2015-6/27/2016*

                                                                                                                          * The count included for FY
                                                  Unique Children Served in BRS                   Out of State            2015-16 is not for a full year.




While survey respondents and focus group participants reported “high” or “very high”
demand for all levels of substitute care in Oregon, they rated the need for BRS placements the
highest (this includes foster parents, DHS caseworkers and supervisors, staff of CCAs, Citizen
Review Board (CRB) staff, CASAs, and OLRO licensing coordinators). Participants CRB focus
group reported that many TFC and group homes in Oregon have closed in recent years,
leaving children and youth with significant needs without options because, “they can’t be
placed in normal homes …there isn’t a place for them” (CRB Focus Group Results).

More than half of the foster parents surveyed reported that they care for children and youth
with high needs all the time or often. See Figure 12.




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     Figure 12: “How frequently do you care for high needs children or youth? (Foster Parents Survey Results)

                               100%
                                                                                   More than half responded
                                                                                   that they care for high
                               80%
            % of Respondents
                                                                                   needs children all the time
                                                                                   or often.
                               60%

                               40%

                               20%

                                0%
                                      All the time   Often    Sometimes       Rarely       Never

Scarcity of placements for children and youth with high needs can force inappropriate
placements leading to negative outcomes, including safety issues. Participants in a CRB focus
group reported that when a child or youth with severe behavioral issues who should be placed
in a residential facility is placed with an untrained family, it puts everyone at risk. Problems also
arise when children or youth with complex needs are placed in institutional settings that cannot
meet their therapeutic needs. According to a recent report from a Juvenile Justice Mental
Health Task Force: “A lack of psychiatric services, residential beds, and crisis placements has
led to youth being held in less than ideal settings, such as detention or in hospitals. These
settings are ill equipped to help youth with significant needs, many of whom have suffered
abuse, neglect, and trauma. These settings can exacerbate underlying trauma, are expensive,
and are not conducive to producing positive outcomes” (Juvenile Justice Mental Health Task
Force Report and Recommendations, 2016, p. 1).

2.1.3. Finding III - Substitute care providers are not adequately trained or
supported to safely care for children and youth with high needs placed with them.

DHS is placing children and youth with high needs with caregivers who do not have the skills or
training to care for them. Both DHS certified foster parents and representatives of licensed
CCAs report in surveys being asked to care for children and youth whom they do not have the
right skills or training to serve. See Figure 13.




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 Figure 13: How often has DHS requested you take in children or youth with needs you are not certified to care for?
                                   (Foster Parents & CCA Survey Results)

                             100%
                                                                                More than half responded they
                                                                                take in children and youth with
                             80%                                                needs they aren’t certified to
          % of Respondents



                                                                                care for sometimes or very
                             60%                                                often.

                             40%

                             20%

                              0%
                                    Always    Very often     Sometimes         Rarely      Never

                                         Foster Parents      Child Caring Agencies



Foster parent focus group participants indicated almost unanimously that they do not have the
training to safely care for the needs of children and youth being placed in their homes. Foster
parents who work with CCA’s reported more and better training than the DHS foster parents in
focus groups. Survey results from of both CCAs and DHS certified foster parents mirror the
focus group results:

• 50% of child caring agencies surveyed report the children and youth placed in their care
  need a higher level of care than they are able to provide.

• Over 50% of foster parents surveyed report frequently caring for children or youth with high
  needs. In addition, over 50% of respondents report receiving no specialized training to care
  for children and youth with high needs. Based on survey comments, the delivery of
  specialized training also appears to be inconsistent across the state. Some respondents
  indicated that they must self-educate, and others indicated that their county offices provide
  regular opportunities for training. See Figure 14.




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  Figure 14: Did you receive specialized training to care for high needs children or youth placed with you? (Foster
                                               Parents Survey Results)

                           100%
                                                                          More than half responded they
                                                                          received no specialized training
        % of Respondents


                           80%
                                                                          to care for high needs children
                           60%                                            or youth placed with them.

                           40%

                           20%

                            0%
                                  None   1-2 hours    3-4 hours    5-8 hours   More than 8
                                                                                 hours



Participants in the review reported that foster parents typically get the support, information,
and training they need to care for high needs kids from places outside of DHS. Some examples
include Casey Family Programs, local mental health agencies, or the Internet.

The most recent CFSR Self Assessment corroborates the data collected from this review in its
findings for why foster children and youth experience multiple moves within the System: “foster
parents who are not equipped to meet the special needs of the child, may lack available child
care, may be filled beyond capacity, or may lack local resources to meet the level of support
needed for the child” (CFSR Statewide Assessment Instrument, 2016, p. 23).

T RAUMA I NFORMED C ARE

Review participants and substitute care system stakeholders agree that the state needs to
infuse trauma informed care throughout the System. Focus group participants noted
deficiencies in the trauma informed training and support provided to foster parents, staff of
licensed CCAs, and the DHS staff who support them:

• Foster parents report that there is not enough trauma informed training, transitional therapy,
  or preparation for issues around separation and loss – on both the part of the children and
  youth they serve, and themselves.

• Foster parents say that when they call a caseworker for support for a child or youth with high
  needs, the caseworker does not have the right training to offer solutions.

• Foster parents, residential staff, and caseworkers need support, not just training. The work
  they are doing is difficult and can trigger trauma responses.




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P ROVIDER B URNOUT

Focus group participants described the implications of not preparing caregivers to serve
children and youth with high needs: when children and youth with high needs are in settings
that do not have the skills to safely address their needs, there is more turnover within the
System because those children and youth typically end up in multiple placements.

Inadequate training and lack of respite options for DHS certified foster parents also leads to
poor decision making, burnout, and foster homes leaving the System. Focus group participants
report that when foster parents don’t receive the support they need to care for children and
youth with high needs, they leave, placing increased burden and stress on those who stay.

2.1.4. Finding IV - The urgency to find placements compromises certification and
licensing standards.

DHS caseworkers ask substitute care providers (both licensed CCA providers and DHS certified
foster homes) to take in children and youth in excess of the foster home’s certified or licensed
capacity, with some regularity. Over 90% of caseworker and supervisor survey respondents
reported that in their work they had observed “the placement exceeding the provider’s
capacity.” Almost 90% of attorneys and judges surveyed for this review reported that they see
placements exceeding the provider’s capacity occurring in their practice. See Figure 15.

Figure 15: From your experience, which of the following foster care placement situations do you see occurring in your
                             practice? (Attorney and Juvenile Judges Survey Results)

                      100%


                      80%
   % of Respondents




                      60%


                      40%


                      20%


                       0%
                               The placement          The placement          The placement         The placement             The placement
                               exceeding the       provider not meeting provider being distant provider not having        provider not having
                             provider's capacity    the child's cultural     from the child's    sufficient training to   sufficient resources
                                                          needs          advocacy team (family, care for the needs of      (financial, human,
                                                                         school, lawyer, CASA,          the child         physical) to care for
                                                                            caseworker, etc)                                     the child




Over half of the DHS certified foster homes and CCAs surveyed report being asked to take in
more children or youth than they are certified to care for. See Figure 16. According to foster



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parents focus group participants, this issue is exacerbated in rural areas where there are fewer
foster homes.

Figure 16: How often has DHS requested you take in more children or youth than you are certified or licensed to care
                          for? (Foster Parents and Child Caring Agencies Survey Results

                               100%
                                                                             More than half responded that
                                                                             they are asked to take in more
                               80%
            % of Respondents




                                                                             children or youth than they are
                                                                             certified or licensed to care for.
                               60%

                               40%

                               20%

                                0%
                                      Always    Very often   Sometimes       Rarely        Never

                                           Foster Parents    Child Caring Agencies



According to focus groups, placing children and youth in substitute care placements that
exceed the licensing and certification capacity or qualifications compromises the caregivers’
ability to safely oversee all the children and youth in their care. Focus group participants
reported that a compromised ability to safely supervise the youth in their care could lead to
abuse, often between children or youth in the placement. And, exceeding capacity can lead to
higher stress and increase the risk of caregivers making poor decisions, which could lead to
abuse or allegations of abuse.

F OSTER H OME C ERTIFICATION , E XCEPTION P ROCESS

Focus group respondents reported that DHS foster home certifiers are being pushed to certify
more homes more quickly. Desire to increase the availability of placements of all types may be
resulting in DHS certifying foster homes that otherwise would not meet certification
requirements.

Our review of high settlement or award lawsuits against DHS revealed that a number of
exceptions occurred during the certification of the DHS certified foster homes (which
constituted 19 of the 23 lawsuits we reviewed), including: placing an exceedingly high number
of children in one home, placing high needs children in homes not qualified to care for those
needs, not taking into account past criminal history of foster parents that could affect their
suitability for certification, and not adequately considering prior incidences of neglect by foster
parents.



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Certifiers in a focus group cited weakness in DHS policy and procedure leading to the
certification of foster homes that do not meet the technical threshold for denial, but should be
denied. Certifiers report that the criteria for review of foster homes do not provide enough
reasons for denial, even when a certifier believes there is enough evidence to deny. They
report that oftentimes these are the foster homes that become problematic down the road.

Review participants are mixed on whether certifiers have enough or too much discretion when
certifying foster homes. Certifiers report they cannot use discretion when they believe they
should deny an applicant. Other participants say there is too much local discretion and
inadequate standardization of the certification process.

Certifiers estimate that exceptions to certification requirements are used in a majority of new
homes opened, mostly for relatives providing emergency foster care. Some focus group
participants reported the perception that in rural areas of the state, relative caregivers are
“given more leeway” because there are fewer available foster homes.

While emergency certifications and the use of the exception process introduces some risk,
certifiers and other review participants also cite the exception process in Oregon as a strength
of the System. The exception process enables more relative caregivers to be certified, which is
often in the best interest of the child or youth being removed from their home, a preferred
placement option to non-relative care.

According to the 2015 CFSR Statewide Assessment Instrument, 46% of children entering care
during the 2014 federal fiscal year were eventually placed with a relative, and children were
either placed with a relative or there was concerted effort to place them with a relative in 90%
of cases (p. 34). In 2011, Casey Family Programs reported that 21% of Oregon’s children and
youth were in relative foster care placements (Data Snapshot on Foster Placement, 2011, p.3).

C ONCLUSIONS FOR C HILD AND Y OUTH S AFETY IN C ARE

Review participants indicated that the risks of abuse and other safety issues are elevated if
children or youth are placed with a substitute care provider unable to meet their needs.

We heard from almost all assessment participants that demand for all placement types is high
and the availability of them is low. Because Oregon does not use an assessment tool prior to
placement, nor does the state assess providers for what they can provide, it is not possible to
fully understand the gap between need and capacity. This puts all foster children and youth at
risk of being placed inappropriately, which can lead to safety concerns.




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If a substitute care provider is caring for more children or youth than certified, licensed, or
qualified for, safety risks increase for all residents in the placement setting, including other
youth and the caregivers.

Children and youth with high needs face even higher safety risks related to inappropriate
placements. A child or youth with high needs, combined with a caregiver with limited skills to
safely meet his or her needs, may increase the likelihood that abuse will occur in that
placement setting. Due to the limited and decreasing number of qualified appropriate
placements for children and youth with high needs (such as residential placements), typical
foster care homes are increasingly being asked to take them in, but with limited skills and
support to do so safely.




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2.2. Safe and Swift Response to Abuse: A coordinated response to
abuse in care could lead to earlier intervention and prevention of future
abuse.
2 . 2 . 1 . Finding V – Oregon’s response to allegations of abuse in care is confusing
and involves too many uncoordinated elements.

There are a number of DHS entities, people, statutes, rules, policies, and processes involved in
interpreting and applying abuse in care definitions, associated investigation procedures, and
rules for critical incident reporting. This has created a confusing and uncoordinated system of
response to allegations of abuse in care. See Figure 17.

                   Figure 17: As-Is Map of Current Response to Reports of Abuse in Substitute Care

                                                                         Disjointed Response
                                                            Report                                                                      DOJ for DHS
                                                         screened out,                                                                 Certified Foster
                                                          not logged                                                                       Homes
                                                                                                                                        (Revocation)

                                    REPORT                               INVESTIGATION                 ABUSE DEFINITION                RESOLUTION
                              Report Screened &
UN-CENTRALIZED
                                 Supervisor
HOTLINES & SCREENERS             Consulted
(or LAW ENFORCEMENT)              419B.005
                                                                          By CPS if DHS
                                                                                                         419B.005 for DHS               DHS for DHS
CHILD PROTECTIVE                                                         Certified Foster
                                                                                                          Certified Foster             Certified Foster
SERVICES                                                                      Home
                                                                                                              Homes                        Homes
                                                                         413.015.0205(h)

                                                             By OAAPI if Child     By OAAPI & CCA if    413.015.0625(1) for
OFFICE OF ADULT ABUSE
                                                              Caring Agency          CCA Certified         CCAs & CCA
PREVENTION & INVESTIGATIONS                                  413.015.0205(b)          Foster Home         Foster Homes

                                                                                                        410.170.0030 12(b)
OFFICE OF LICENSING &            IR Screened                              By OLRO (and
                                                                                                            for Incident               OLRO for CCAs
REGULATORY OVERSIGHT          410.170.0030 12(b)                             others)
                                                                                                             Reporting


                              Sometimes both are sent
                         There are diﬀerent and many                                                                                    CCAs for CCA
                         notification requirements for                                                                                  Certified Foster
                            each type of provider.                                                                                          Homes




Several administrative bodies have responsibility and authority when a potential instance of
abuse in care is reported: Child Protective Services (CPS) hotlines in each DHS district or Office
of Adult Abuse Prevention and Investigations (OAAPI) determine whether an allegation meets
the criteria for CPS assessment/investigation, then the CPS or OAAPI worker determines
whether it is founded; the Office of Licensing and Regulatory Oversight (OLRO) or CPS
enforces licensing or provider support implications; DHS district caseworkers follow up on the
child’s needs, including placement changes, notification of the child’s advocacy circle (e.g.,
CASA, attorney, therapist, etc.), and updates the case plan as needed.

The review team was unable to find a single individual within this system who understands the
entire process of responding to allegations of abuse in care for all provider types. This means



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that when a child or youth is abused in substitute care, no single individual has a handle on
what should be done, by whom, and by when.

T WO D EFINITIONS OF A BUSE FOR F OSTER H OMES

Oregon defines abuse in a foster home differently based on the entity that certifies the home
(DHS certified foster home or a CCA proctor foster home). The rules and statutes that define
abuse in a CCA are defined in greater detail because of the unique vulnerabilities of children
served and the nature of a residential setting. Yet, this definition also applies to the CCA
proctor foster homes, but not to the DHS certified foster homes (DHS Foster Homes: ORS
419B.005, CCA Foster Homes: ORS 418.205).

I NVESTIGATIONS OF A BUSE IN C ARE

When allegations of abuse in care are reported to the CPS hotline, the screener notes whether
the alleged abuse occurred in a DHS certified foster home, or a CCA proctor foster home, and
sends the latter reports to OAAPI for screening and investigation (OAR 407-045-0870). The
variance in investigation processes between residential facilities and foster home settings may
be appropriate due to key differences between the settings (for example residential facilities
employ paid clinical and line staff, and the setting by nature is not a home-like setting).
However, the same rules that govern OAAPI investigations of CCA residential facilities also
apply to investigations of abuse allegations that occur in CCA proctor foster homes. A child or
youth could experience the same abuse in a CCA proctor foster home and a DHS certified
foster home, but the definition of abuse is different, the agency investigating that abuse would
be different, and therefore the subsequent response would vary.

Our review of OAAPI investigator training materials revealed that they receive child-specific
training, but their primary charge is adult abuse. A review participant noted that the OAAPI
investigators are unable to attend the introductory training for caseworkers to understand the
child welfare system and court system within which they are navigating.

Related concerns expressed by focus group and survey participants include:

• There is a perception among some review participants that the heightened focus on abuse in
  care, stemming from recent media coverage and legislative attention, has increased the
  amount and intensity of investigations of allegations of abuse done by OAAPI. This impacts
  both CCA residential facilities and CCA proctor foster homes, but not DHS certified foster
  homes.




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• There is a perception among some review participants that SB 1515, which went into effect
  on July 1, 2016, has increased expectations for OAAPI investigators and OLRO staff. Some
  focus group and survey respondents report that OAAPI investigators and OLRO staff are not
  adequately trained, resourced, and supported to fairly and competently implement the new
  expectations.

I NCIDENT R EPORTING VS . A BUSE A LLEGATIONS

Incident reporting is sometimes confused with abuse reporting and often is reported both
ways, leading to confusion, redundancy, and potential under or over reporting of actual abuse.
This creates a situation that overwhelms DHS, OLRO, OAAPI, and providers. The approach to
responding to a critical incident vs. an allegation of abuse is often the same. The criteria for
what constitutes a critical incident vs. abuse or neglect is not clear (outside of the definition of
abuse and neglect contained in policy language), or is not followed.

Foster parents in focus groups reported that there is no operational definition of “critical
incidents” (the current definition is vague and contained in OAR 413-200-0383) and all the
foster parents we spoke to use different procedures for handling them. For example:

• Some foster parents document everything in an
  email or phone call to a certifier or caseworker, (i.e.,     Foster parents indicated that they
                                                               can lose their certification if they
  baby’s fingernail scratched her own cheek).                  report incidents the "wrong way,”
                                                               but there is no clear information
• Others reported taking pictures of scratches or              about what is “the right way.”
                                                                      - Foster Parent Focus Group
  bruises and emailing them to a certifier with an
                                                                                          Participants
  explanation.

• One foster parent uses a smartphone app to track every incident of physical concern that the
  foster child experiences.

• Another foster parent had never reported anything because she was not aware of what
  constituted a critical incident or the procedures for making a report.

• According to DHS foster parents, foster parent training materials say to report an incident if it
  is “something a mom would want to know about.” This leaves the decision about what to
  report up to individual discretion.

• Foster parents noted that every certifier and caseworker has different expectations of what
  should be reported to the hotline versus what should be documented and who should be




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  notified. One foster parent in a focus group said that there is no middle ground for incident
  or abuse reports. DHS either does nothing, or opens a lengthy investigation.

There is a definition in rule and policy for critical incident reporting that applies to CCAs (OAR
413-215-0091(12)). However, CCA staff noted that, in order to protect themselves, they report
every unusual incident in an incident report and to the abuse hotline, often beyond what the
rule requires. CCA staff further report that in the current reporting environment too many (and
sometimes all) of these reported incidents are being investigated as abuse or neglect. This has
overburdened the staff of the provider agencies and governmental agencies.

As a result of this lack of clarity, it appears abuse in care by both CCAs and foster homes is
both under and over reported. See Figure 18.

    Figure 18: How likely are you to OVER- and UNDER- report critical incidents due to uncertainty about which
       circumstances constitute a critical incident? (Foster Parent and Child Caring Agency Survey Results)

                        100%                                                    All responded a high likelihood
                                                                                of over-reporting critical
                         80%                                                    incidents, but only foster
     % of Respondents




                                                                                parents reported some
                         60%                                                    likelihood of under-reporting.

                         40%

                         20%

                         0%
                                    OVER-Report                      UNDER-Report

                                    Foster Parents    Child Caring Agencies


Over reporting of critical incidents as abuse in care could be a contributing factor to the high
number of calls received by the child abuse hotline that are closed at screening. A high volume
of unnecessary reports overburdens staff that must consider and dismiss a number of
insignificant incidents. Individual workers’ judgment about true allegations of abuse and
neglect may be affected. It is clear that the system does not consistently or accurately discern
which reports should be investigated. Our review of the large settlement or award lawsuits
revealed that at least six involved multiple reports of abuse that were closed at screening or
never fully investigated.




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2.2.2. Finding VI - The CPS abuse in care reporting, screening, and investigation
process is localized and may result in inconsistent responses to harm in care.

Because the child abuse hotline is decentralized and standardized protocols are not used
across districts, response to allegations of abuse may vary depending on where the report was
made. Oregon has a single statewide number for reporting abuse (the child abuse hotline), but
there is no standard screening protocol that supports consistent decisions across similar cases.
Local variation in screening and assessment protocols makes it difficult to eliminate bias and
ensure consistent safety decisions are made statewide. According to a recent review, Oregon’s
practice of “localizing” policies, procedures, and interventions results in inconsistent
application of a statewide safety intervention model (OR Safety Model, 2013, p. 1-2). In the
words of one focus group participant: the application of DHS screening policies is “as varied as
the people” doing the work.

Of the 16 DHS Districts, four provided written protocols to the review team.

• Two outline the Department Rules and two supplement the Department Rules.

• District 2, which covers Multnomah County and District 4 which covers Lincoln, Benton, and
  Linn counties have supplemental protocols for CPS screening and assessment that provide
  additional detail on information sharing and coordination between and among DHS staff.

• Additionally, the District 2 protocol specifically requires the caseworker to follow up with the
  child if a report of abuse or neglect concerning that child was closed at screening, although it
  does not require the caseworker to do so within a certain timeframe.

Citizen Review Board (CRB), biological parents, and CASA focus group participants expressed
discomfort and a lack of confidence with hotline screeners’ ability to adequately assess calls to
the hotline. Based on their experience making reports about abuse in care to the hotline, they
do not believe that screeners receive sufficient training to make consistent and accurate
determinations about alleged abuse in care. Fourteen years ago, a PK study found that CPS
branches appear to be inconsistent in the abuse screening and assessment criteria that they
apply. This appears to still be true today (PK Review, 2002, p. ix).

L OCAL R ESPONSE

Focus group participants described situations where caseworkers may intervene at the field
level to allegations of abuse and neglect rather than reporting to the hotline, thus reducing the
possibility of a formal investigation being launched or consequences for certification or
licensing. This practice could be a strength to build upon, if it is an attempt to handle minor



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situations with minimal disruption to the child or youth in care. However, because standards for
responding to such “minor” situations are not clear, there is no assurance that consistent safety
decisions are being made. In focus groups, youth told reviewers stories about caseworkers’
varied responses to reports of abuse, indicating that responses depend on whether they had a
good relationship with a caseworker or how long the caseworker had been at DHS.

In some districts it appears that caseworkers are closely involved with investigations. Some
focus group participants fear that because those caseworkers are intimately involved with the
case, they are not able to objectively assess the situation for abuse or neglect in care.

Foster parents reported taking pictures of scratches and bruises and emailing them to the
child’s caseworker, but there does not appear to be a clear protocol for what the caseworker
does with that information.

As noted in finding V, CPS and OAAPI have different rules, policies, and procedures regarding
investigations and follow-up for allegations of abuse in care, further contributing to the
inconsistencies.

H OTLINE S TAFF T URNOVER

Survey data from this review corroborates the perception that CPS hotline screeners have a
high turnover rate, which may exacerbate the challenges to ensuring consistency. Another
consequence of high turnover rates is that historical knowledge about past allegations may be
incomplete or lost altogether.

• 22% of screeners surveyed for this review were a CPS hotline screener for less than a year

• 74% have been in their role for three years or less

Multiple participants in this review reported that poor performers at DHS are often re-assigned
to hotline positions. Our review team did not assess personnel files to verify the truth of this
assertion, however it is significant that a number of individuals inside and outside of DHS hold
this belief. Regardless of whether this is or is not common practice, the perception itself speaks
to serious issues within the DHS culture as well as external perceptions of the agency.

2.2.3. Finding VII - The current process of abuse in care reporting is rated
untrustworthy by youth and other reporters.

Youth and other reporters of abuse in foster care
                                                         “Overall I did not trust that I could report
expressed many reasons for not trusting the              to anyone. What I could trust in was
process for reporting abuse in care. Reasons             keeping my head low so I didn’t get
                                                         abused often.”
                                                                        – Youth Survey Respondent
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include fear of retaliation, lack of confidentiality, and lack of clarity about what happens after a
report of abuse or neglect is made.

Youth in focus groups reported9 feeling more comfortable and getting better results when
reporting instances of abuse or neglect or discussing safety concerns with a trusted adult
outside of DHS, including to a CASA, attorney, law enforcement, or teacher.

Surveys showed that almost 70% of youth report being comfortable reporting abuse to their
caseworker. Over 60% are comfortable reporting to another adult authority figure outside DHS.
Only about a quarter of them reported being comfortable using the hotline, which is the
current official process for reporting abuse in care in Oregon. See Figure 19.

    Figure 19: What methods of reporting instances of abuse in care do you feel comfortable using? (Youth Survey
                                                      Results)
                                                                                      Only a quarter of the youth
                          100%
                                                                                      respondents were comfortable
       % of Respondents




                          80%                                                         using the hotline to report
                                                                                      instances of abuse in care.
                          60%

                          40%

                          20%

                           0%
                                 Child Abuse Report to    Report to    Report to I don't feel      Other
                                                                                                    Other
                                   Hotline  caseworker    person in    biological comfortable     (please
                                                          authority     parents using any of      specify)
                                                           (police,                  these
                                                          teacher,                methods of
                                                         doctor, etc.)             reporting

Youth participants in our review (from initial key informant interviews through focus groups and
the youth survey) expressed confidence that the Foster Care Ombudsman listens and believes
their concerns. Other (non-youth) review participants reported concerns that the Ombudsman
is located within DHS, potentially creating a conflict of interest and not being truly independent
from DHS leadership influence.

The attorneys and juvenile court judges surveyed
                                                                                “As a judge I have not found reports to
for this review indicated that the most effective                               the hotline to be effective…DHS often
avenue for children or youth to raise concerns                                  codes the report as unfounded, even
                                                                                when a child is unsafe.”
about their placement is to report it to an authority                              – Juvenile Judges Survey Respondent

9
  Note there are conflicting reports from youth in this section about their comfort with reporting abuse in care to different entities. On
one hand some youth say no one at DHS is trustworthy, but on the other hand a majority of youth survey respondents indicated that
they are comfortable reporting abuse to their DHS caseworker. After listening to and reading about the experiences of over 100
current and former foster youth, we believe that there is value in evaluating all of this information. The seemingly conflicting reports
are indicative of the confusing experiences of many foster youth, particularly when they suffer abuse in care.



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figure other than a caseworker. See Figure 20. 64% of attorneys and judges report the hotline
is rarely or only sometimes a reliable way to have concerns heard and responded to.

     Figure 20: How effective are the following avenues for foster children or youth to raise concerns about their
  placements outside of making an allegation of abuse or neglect? (Attorneys and Juvenile Judge Survey Results)

                            100%
         % of Respondents




                            80%

                            60%

                            40%

                            20%

                             0%
                                    Report to      Report to biological Report to authority   DHS hotline
                                   caseworker            parent           figure (police,
                                                                         teacher, doctor,
                                                                          attorney, etc.)

                                                Very Effective   Somewhat Effective


C ULTURE OF D ISBELIEF

Youth in focus groups reported feeling that the System treats them as “bad” kids who did
something wrong to end up in substitute care and doesn’t trust them. A 2015 Critical Incident
Initial Response Team Report found a potential systemic issue in “the ability of children in
foster care to feel safe about expressing concerns, including concerns about a foster home”
(CIRT Initial Report A.M. & R.M., 2015, p. 6).

According to results from focus groups and key informant interviews, there is a “culture of
disbelief” toward children in the System and it is set up to discount the child or youth’s
experience. Review participants say that some workers determine the validity of a hotline call
before all the facts have been gathered. They add that many DHS workers don’t have the time
or training to look at a situation from a neutral perspective, and children and youth often don’t
feel comfortable talking to certifiers and caseworkers because of their close relationships with
foster parents.

Youth reported a lack of confidentiality about their safety concerns. When youth tell their
caseworker about abuse or other issues occurring at the foster home, they believe the
caseworker often shares the information with the foster parent. Resulting in an unsafe,
retaliatory, and uncomfortable environment for the youth.




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It may be for good reason that youth do not trust the hotline or DHS to respond adequately to
reports of abuse. Youth are not generally considered trusted reporters of abuse within the
system, according to survey respondents. The most common reason reported for not trusting
youth reports was if a child or youth had made false reports in the past.

2.2.4. Finding VIII - There is little to no follow up on abuse in care investigations.

When a person reports abuse or neglect of a child in a DHS certified foster home using the
hotline, DHS’s Administrative Rule does not require follow-up to the reporter regarding the
outcome of the Department’s assessment and whether the allegation was closed at screening
(ORS 409.185).

Follow-up is required to the person making the report when the child resides in a CCA
residential facility or a CCA proctor home. These are OAAPI-regulated placements (OAR 407-
045-0870(4)).

Department rules require OAAPI to notify the child or youth’s biological parents or legal
guardian, the caseworker, the tribe of an American Indian child, or the Oregon Youth Authority
(OYA), when a report of abuse concerning a child in a DHS certified home is made, unless
doing so would interfere with the investigation (OARs 407-045-0860(4) and 407-045-0870(1)).
However, these parties report not consistently receiving information about reports of abuse
and neglect.

Of the 16 DHS Districts, four provided written screening protocols to the review team, and of
those four, only one required the caseworker to follow up with the child after a “closed at
screening” allegation.

R EPORTERS ’ E XPERIENCE

Focus group and survey respondents report not receiving follow up after making reports of
abuse in care.

• 83% of youth in surveys say they have never received follow up. See Figure 21.

• CASAs in a focus group reported minimal follow up after making reports.

• Biological parents in a focus group reported not being consistently informed when they make
  reports of suspected abuse or neglect in care.

• 45% of attorney and judges survey respondents stated that the CPS hotline is not an effective
  avenue for foster children and youth to report concerns.



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  Figure 21: How have you been kept informed once a report of abuse against your foster home provider has been
                                         made? (Youth Survey Results)

                                 100%                                                       83% of youth respondents
                                                                                            reported no follow-up after a
              % of Respondents


                                 80%                                                        report of abuse was made.

                                 60%

                                 40%

                                 20%

                                  0%
                                        Phone call In-home visit   Email     No follow up


Follow up on abuse in care investigations appears to be occurring inconsistently, although the
policies are clear.

C ONSEQUENCES OF N O F OLLOW U P

No follow up is an issue because the reporter or                           “I’ve made a number of hotline calls, I
other members of the child’s or youth’s team do                            have no idea whether they’ve been
                                                                           investigated or whether the concerns
not know if DHS is taking any action, or if the                            have been responded to.”
child in question is in an unsafe situation.                                          – Attorney Survey Respondent

Youth reported instances of ongoing abuse when DHS failed to follow-up on reports of abuse.
One youth reported running away from an unsafe situation before DHS would take her
concerns seriously and conduct an investigation.

Foster parents reported receiving no communication during an investigation, other than that
they were under investigation. They are not told what the allegation is and receive no
communication from DHS during the investigation. Although there may be sound reasons for
this to protect the reporter or the child or youth in question, foster parents note that lack of
information and the response of moving the child to a new placement can also impact safety
and well being.

2.2.5. Finding IX - Information that could mitigate safety concerns is not
efficiently shared across the entities involved in keeping children and youth safe.

In 2015, a Critical Incidence Response Team reviewed the case of two children that were
severely abused while residing in a foster home. In review, the team noted that there is a




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systemic issue in DHS of poor communication within and between branches on co-managed
cases (CIRT Initial Report A.M. & R.M., 2015, p. 6).

DHS staff report in surveys that System-wide mechanisms do exist to share information about
safety concerns, although this was also an area rated high for opportunities for improvement.
Focus group participants reported that information sharing is inconsistent and there are many
opportunities for information to fall through the cracks.

• 83% of caseworkers and 67% of hotline staff report there are System-wide mechanisms in
  place to share information.

• 70% of caseworkers and supervisors reported that             One hotline screener reported using five
  improving “IT systems that store and share data” is          separate data systems to manage
  a top solution for increasing efficiency and                 information.
                                                                     - CPS Hotline Staff Survey Results
  coordination between the entities involved in
  keeping children and youth safe in care (i.e., Child Welfare, CPS, OAAPI, OLRO, and others).

D ATA S YSTEMS

Oregon currently has a disjointed data enterprise for tracking information about child and
youth maltreatment in substitute care. OR-KIDS, the DHS data system, has reporting
capabilities, but currently does not have advanced reports set up on the data requested for this
review and surrounding child and youth safety in care. This data also is not currently shared or
used for trend identification. In the absence of trustworthy data and observable trends, single
incident cases and anecdotal information are driving decision-making.

Several separate data systems that do not share information and are of varying maturity levels
are used across the System. There are unused fields in the OR-KIDS system that would allow a
richer data analysis regarding child safety.

We heard from review participants that the data systems are further limited by staff members
that do not input data accurately or in a timely manner. This might be due to training, workload
constraints, or other issues. The review team experienced this firsthand: when analyzing data
sets we noticed a number of “blank fields” or “unknown” data elements.

F OSTER P ARENTS
                                                            “The [Safety Team] found that the lack
Foster parents report in focus groups that they often       of communication among DHS staff
                                                            and/or foster parents contributed to the
receive little information on a child prior to
                                                            initial and long term abuse of children in
placement, including mental health history and              foster care.”
                                                             -Oregon Foster Care Safety Team Final
                                                                                         Report, p. 4

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emotional triggers. One example was the case of a newborn in which the foster parent did not
receive information on the infant’s birth weight, number of weeks she was born prematurely,
and that she was born drug-addicted – all of which would impact the care she should have
been receiving.

Foster parents report that DHS staff often does not listen to their concerns or
recommendations about a foster child or youth, even though the child is living with them and
the foster parent has day-to-day contact.

C ASEWORKERS

Caseworkers are required to have contact with children and youth in substitute care that are on
their caseloads once per month. According to focus group and interview participants,
caseworkers often fail to meet that requirement.10

Foster parent focus group participants indicated that caseworkers often give incomplete
information about children and youth placed in their homes. This could be because they don’t
know the child, or they may be highlighting their strengths and downplaying their challenges in
order to place them. While this may be well intentioned on the part of the caseworker, the
foster parent may not know the true needs of the child, increasing the challenge of safely
caring for these children or youth.

In focus groups, foster parents report little communication from caseworkers, unreturned
phone calls, and often adversarial relationships with them. They report receiving little support,
resources, or information from DHS workers to safely care for children and youth in their
homes. Most foster parents report turning to their certifiers for support, rather than the child’s
caseworker.

B IOLOGICAL P ARENTS

A focus group of biological parents of children and youth in substitute care report not being
believed or taken seriously by DHS. Biological parents feel they are discredited and perceived
as having poor parenting skills and not having the best interest of their children in mind, and
therefore, are not listened to when communicating safety concerns. They also report not being
consistently informed when their children are harmed in care.




10
     As reported in the Statewide Assessment, as of December 2015, 87.46% of contacts with children in substitute care occurred.



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2.2.6. CONCLUSIONS FOR CHILD AND YOUTH SAFETY IN CARE

Children and youth experience abuse or neglect the same, regardless of where they live, but
the response they experience may be different depending on their placement and caregiver.

Often the wrong allegations are investigated and the ones that should be investigated are
screened out. For example, according to Oregon’s most recent CFSR Statewide Assessment, in
some cases of maltreatment in substitute care there were previous calls [about the case] that
were closed at screening or assessed and had a disposition of “unable to determine” (CFSR
Statewide Assessment Tool, 2016, p. 16). At least six of the lawsuits we reviewed involved
multiple reports of abuse that were closed at screening or never fully investigated. This
resulted in abuse escalating undetected.

Findings of abuse are siloed. Isolated communication of crucial facts can lead to safety risks.
For example, many cases of abuse and neglect have occurred in provider homes that were
never thoroughly assessed and scrutinized prior to certification, according to focus groups and
our review of the large settlement or award lawsuits. Other cases of abuse and neglect
occurred in provider homes where reports were not accurately documented and spread over
several years.

The Department’s complex and disjointed system puts children and youth at risk by increasing
the likelihood that important facts about safety in care will be overlooked and critical decisions
to protect foster children and youth will not be made. In the current system, there is no
effective way to ensure that information about abused children or youth does not “fall through
the cracks.”




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                                                                                    Related Barriers


3. Related Barriers
This section provides ancillary findings and information about barriers to improving the child
substitute care system that arose during the review. Although technically out of scope for this
review, we amassed information about these topics during the data collection activities for the
review. These barriers, if not thoughtfully addressed and adequately resourced, will hinder
progress toward solving the major gaps in the System described in the findings in Section 2.
The three areas include data-driven decision making, unreasonable caseloads, and recruitment
and retention of substitute care providers. This section also includes observations about
disproportionality and minority groups within the system.

3.1. Data Driven Decision Making
A CCESSIBLE , ACCURATE , AND RELIABLE DATA COULD INFORM HOLISTIC SOLUTIONS THAT
ADDRESS THE ROOT CAUSES OF HARM IN CARE .


There are few, if any, current reports or protocols set up to share information and data about
the safety of placements and providers. The data may exist in the systems, but DHS staff from
Department leaders to caseworkers, are not consistently using it to identify trends and make
decisions. Limited data-driven decision making leads to reactionary responses based on single
incidents and crisis. In the words of one assessment participant, actors within DHS and the
System as a whole always feel like they are “putting out a fire.”

I MPLICATIONS FOR C HILD AND Y OUTH S AFETY IN C ARE

Legislators, DHS leadership, and staff across the System need access to reliable and current
data in order to make appropriate decisions that affect the health and safety of Oregon’s
children and youth in substitute care. Limited data results in management by single incident
cases.

S UPPORTING E VIDENCE

There are several separate data systems currently used by Child Welfare (ORKIDS), OLRO, and
OAAPI that do not interface with one another and that are at varying maturity levels.

Oregon is currently dealing with a disjointed and outdated data enterprise system. Producing
and evaluating a basic set of performance data is not a part of routine reporting and decision-
making. Single incident cases and crisis response are filling this data vacuum, which in turn is
driving regulatory and case decisions. These well-intended but partially informed decisions
may negatively impact child and youth safety.


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                                                                                                             Related Barriers

Data driven decision-making is instrumental to ensure children are kept safe in care, and, “the
absence of such information or presence of irrelevant, insufficient or voluminous and
disorganized information results in poor decisions” (OR Safety Model, 2013, p. 14).

The case of Give Us This Day (GUTD)11 is an example of how single incident cases may drive
responses when there is a breakdown in the system. As explained in the GUTD Audit, in 2005,
DHS made a formal recommendation to not renew GUTD licensing, to stop making referrals,
and to remove a majority of the youth residing there. DHS took formal steps to deny renewal
of their CCA license. However, DHS leadership at the time made the decision to continue
GUTD licensing under a temporary action plan (Audit Report, 2016, p. 2-3) Reasons for this are
many, and the state is currently engaged in lawsuits that may bring some of those reasons to
light. Contributors to this review believe that political pressure, the provider’s willingness to
take in “hard to place kids,” the state’s lack of placement resources, and the state’s fear of
appearing racist were primary factors in this case. These factors are not necessarily
representative of all the breakdowns in the System leading to children and youth being harmed
in care, however this case has instigated responses at multiple levels of the System.

3.2. Unreasonable Workload
R EASONABLE WORKLOADS FOR AGENCY STAFF ( INCLUDING CPS, OAAPI, OLRO AND
OTHERS ) COULD IMPROVE CHILD AND YOUTH SAFETY IN CARE .


The Child Welfare League of America recommends a caseworker have on average 12-15
children (not cases) at any time. Only 11% of child welfare agencies across the country are
meeting this standard (Workforce Issues in Child Welfare, 2009, p. 4). According to DHS staff,
Oregon does not track caseloads by DHS workers. Instead, Oregon uses an activity-based
workload model adopted by Oregon’s 78th Legislature. The
model tracks the percentage of work being completed by the                                 “Caseworkers do their
                                                                                           best, but there is just too
workforce in a certain timeframe and relies on self-reported                               much to do. They are very
time studies. According to DHS staff, the numbers from                                     overworked.”
February 2016 show DHS workers as completing only 83% of                                        – CASA Focus Group
                                                                                                             participant
needed work (Feb 2016 Workload Allocation Model).

I MPLICATIONS FOR C HILD AND Y OUTH S AFETY IN C ARE




11
  Give Us This Day (GUTD) is a former Portland CCA provider recently shut down due to abuse of youth in care and financial
scandal. See: http://www.oregonlive.com/politics/index.ssf/2016/01/foster_care_scandal_deepens.html



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                                                                                                          Related Barriers

Inadequate staffing and high workloads for agency staff negatively impact timeliness in case
resolution, regular face-to-face12 time with children and youth in substitute care, and quality
safety monitoring.

Focus groups and surveys universally indicated that unreasonably high caseloads and
inadequate staffing across agencies in the System are the reasons key safety information falls
through the cracks.

According to recent reports, high caseloads for Oregon DHS often prevent child welfare
workers from spending face-to-face time with families (CFSR Annual Progress Report, 2014, p.
102). However, there is no way to ensure safety of children in substitute care without seeing
them in those placements. Particularly because Oregon’s children and youth experience abuse
in care at higher than national rates, face-to-face contact with their caseworkers is even more
critical.

A 2002 report showed that CPS staff workloads are a critical factor affecting the quality,
accuracy, and timeliness of child safety decisions (PK Review, 2002, p. vii). According to review
participants, this is still true today.

S UPPORTING E VIDENCE

In the last five years, 23 lawsuits have been brought against DHS that revealed numerous
violations of policies and procedure. Our review of those cases revealed: failure to adequately
investigate repeated reports of abuse, failure to make contact with children to assess safety
and wellbeing, failure to document and investigate observed injuries, failure to inform foster
parents of foster children’s behavior and health history, and failure to maintain coordination
between caseworkers. All of these breakdowns could be partially attributed to high workloads
and understaffing.

As reported elsewhere in this report, the proportion of children and youth in the System with
high needs has increased, resulting in a workload increase across the System.

Foster parents and youth reported in focus groups and surveys that high turnover among
caseworkers and infrequent face-to-face contact makes it difficult                         “I have never had a
for children and youth to build trust with the caseworker. Children                        caseworker answer the
                                                                                           phone when I call.”
and youth who don’t trust their caseworker may be less likely to                           –Focus Group Participant
report safety issues.



12
  As of December 2015 87% of required face-to-face contacts with children occurred (CFSR Statewide Assessment Instrument,
2016, p. 42).



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                                                                                             Related Barriers

Focus group and survey participants across the board expressed the perception that caseloads
are high, preventing caseworkers from spending the required face-to-face time with children
and youth in substitute care. According to the Safety Intervention System Review, Oregon's
workload situation far exceeds the outdated national standard (Oregon Safety Model, 2013, p.
1).

3.3. Recruitment and Retention of Providers
C OORDINATED AND ENHANCED RECRUITMENT AND RETENTION ACTIVITIES FOR ALL
SUBSTITUTE CARE PROVIDER TYPES COULD REDUCE PRESSURE TO PLACE CHILDREN AND
YOUTH INAPPROPRIATELY .


Participants in the review, from key informant interviewees, to survey and focus group
participants, and to advisory committee members agree that the state is not doing enough to
recruit and retain substitute care providers.

I MPLICATIONS FOR C HILD AND Y OUTH S AFETY IN C ARE

DHS does not have a comprehensive statewide recruitment, retention, and support plan for
substitute care providers, which results in inconsistent and inadequate efforts to sustain and
grow placement options of all types.

In the short term, this results in children and youth being shuffled between homes, hotels, and
in some cases even sleeping at local DHS offices. See Finding I.

In the long term, this situation increases the likelihood of an inappropriate placement, low
quality care, exceptions to certify less-qualified foster homes, or abuse and neglect.

S UPPORTING E VIDENCE

Multiple focus group participants agree that lack of placements of all types is a serious
problem across the state, in both rural and urban areas alike.

Foster parent focus group participants reported multiple
                                                                     “The State does not have a statewide
factors contributing to foster parents leaving the system,           process in place to ensure the
including: caring for more children than they were                   diligent recruitment of foster homes,
                                                                     despite significant shortages of all
certified to care for, insufficient training, little support
                                                                     types of foster homes.”
from DHS, and lack of respite care when needed. In                      - CFSR Executive Summary, 2008,
surveys, foster parents added: lack of subsidized daycare                                              p. 16
(especially for relative providers), low provider payment rates, and the scheduling demands
placed on foster parents who need to work to meet certification standards.



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                                                                                     Related Barriers

DHS-certified foster parent focus group participants reported that that they were not
“recruited” by DHS, but rather had reached out directly to DHS, or were recruited through
friends. Others were recruited by Embrace Oregon, a faith-based partner of the foster care
system.

Some localized efforts and campaigns are underway to recruit foster families, but no statewide
strategy exists, nor is there a separate budget or resources dedicated to this work.

Almost a third of DHS staff surveyed indicated that there is no entity in charge of recruitment
and retention of foster homes. DHS certifiers in a focus group reported that “everyone is in
charge of recruitment and retention,” which effectively means no one is responsible.

The perceptions and the climate surrounding the reasons for and implementation of SB 1515
have resulted in increased tensions between DHS licensing staff and CCA staff. Focus group
participants report that the statute’s expectations, particularly around the financial oversight,
have changed the relationship from collaborative to authoritative. According to review
participants, this has implications for recruitment and retention of licensed CCA providers.

It is not clear from looking at the data from DHS whether the supply of foster homes is
decreasing or staying steady. According to the recent CFSR Self Assessment, there was a
decrease of 20% of general foster homes between 2013 and 2015 (CFSR Statewide
Assessment Tool, 2016, p. 118). Yet, the data we reviewed from the DHS system does not
corroborate this. According to the data from DHS it appears foster home numbers are staying
stable from year to year, but there is significant “churn” within Oregon’s pool of foster homes:
the data shows that Oregon is closing approximately 1,500 foster homes each year, and
opening close to 2,000 (PK Data Request from DHS, 2016).

3.4. Minority Groups and Disproportionality in the System
This section provides ancillary observations the independent review team made about the
System’s sensitivity to cultural and sexual minority groups within the population of children and
youth in care. These are not findings because the review team was unable to draw conclusions
about these areas from the data we collected. See Section 5.3 Constraints. These may be areas
the state should consider exploring further during the process of addressing gaps in the
System.




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                                                                                                               Related Barriers

3.4.1. Cultural competency issues within the System may have implications for
safety in care.

Few participants in focus groups or surveys identified issues of equity or cultural competency to
be significantly connected to safety in care. See Section 5.3 Constraints. However, youth,
providers, and other advocates who have experienced this disconnect firsthand spoke about
cultural competency and culturally sensitive placements for children and youth as factors
affecting safety in care.

C ULTURALLY COMPETENT PLACEMENTS

Cultural competency language is woven throughout the DHS child welfare policies and
procedures, but policy alone cannot address implicit biases that some staff and caregivers carry
with them.

Focus group participants stated that DHS does not consider race, culture, or sexual orientation
or identity in placement decisions. After analyzing data from focus groups, surveys,
documentation, and data systems, it appears this is true.13 Several factors may contribute to
this:

• Dearth of placement options across the board

• Gaps in data collection, training, and communications that impact the way race and culture
  inform policy and decision making within the System

DHS staff on the Internal Resource Committee reported that there is work being done to
address implicit bias across the system. According to DHS staff, the agency offers some
optional training including Undoing Racism and Lets Talk About Race. See Section 3
Recommendations for more on this type of training.

D ISPROPORTIONALITY

This review did not include in-depth analysis of the impact of disproportionality on child safety
in substitute care. However, data shows that there is disparity in the system, in terms of the
proportion of children of color. Approximately 20% of children and youth in foster care are of
color, while children of color make up only 11% of Oregon’s overall child population
(Governor’s Task Force on Disproportionality in Child Welfare Final Report, 2011, p. 5).




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  The notable exception to this is children placed under the Indian Child Welfare Act, or ICWA, which requires placement decisions
to consider federal recognition status of tribal membership.



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                                                                                   Related Barriers

The 2011 Governor’s Task Force on Disproportionality Report provides detailed information
about the disproportionality issues Oregon is currently facing. We suggest DHS use the results
of the Task Force on Disproportionality Report in its work to address system gaps in the areas
of safe and appropriate placements and safe and swift response to abuse in care. While most
of the recommendations in the report focus on broad, institutional changes, the report also
recommends specific steps to address workforce issues, such as prioritizing recruiting and
retaining a diverse workforce and requiring ongoing training for child welfare workers,
supervisors, and leaders focused on “implicit bias and structural racism, family engagement
and inclusion, and team decision making” (Governor’s Task Force on Disproportionality in
Child Welfare, p. 22). Specifically, the review team suggests Oregon focus on the following
recommendations to address safety in substitute care and the findings detailed in this report:

• DHS Workforce Development. Establish working relationships and partnerships, hiring and
  retention practices, and culturally responsive training.

• Policy and Practice. Develop an objective risk assessment tool, enhance existing foster and
  relative placement support, and expand the racially and culturally diverse pool of relative and
  non-relative foster home resources.

• Data-Driven Decision Making. Set targets, improve system effectiveness, and develop
  research-informed decision-making process (Governor’s Task Force on Disproportionality in
  Child Welfare, p. 32).

3.4.2. Awareness of and services for LGBTQ children and youth in substitute care
appear to be minimal.

Focus group participants, including youth, foster parents, and CASAs noted that placing
lesbian, gay, bisexual, transgender or queer (LGBTQ) children and youth with substitute
caregivers who understand and support them enhances their safety and overall experience in
care. They cited instances of LGBTQ youth in a non-supportive environment being threatened
by foster parents and other youth in the home, and experiencing isolation and depression
resulting in self-harm and behavioral problems. In addition, these focus group participants
discussed a lack of LGBTQ-related training for foster parents and DHS staff, making it difficult
for these children and youth to connect to necessary services. One foster parent stated:
“sexual minorities are invisible to DHS.”

We learned from a focus group with CCA foster parents, that some agencies actively recruit for
foster parents in the LGBTQ community. This could be considered as part of an overall
recruitment strategy.




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4. Recommendations
The following recommendations are provided to system stakeholders, including Oregon’s
Office of the Governor, Oregon DHS, and the Oregon Legislature. The recommendations are
possible solutions to transform Oregon’s substitute care system by leveraging strengths and
addressing gaps. Estimated cost level is included, as DHS will need funding and resources to
implement most, if not all, of the recommendations in this report. Figure 22 is a map showing
the recommendations. The theory of change is the independent review team’s estimation of
the outputs of implemented recommendations and the long term desired outcomes.

                                          Figure 22: System Change Logic Model


   Oregon Child Safety in Substitute Care Independent
              Review Recommendations                                                     Foundational
                                                                                      Recommendations to
       Safe and Appropriate                   Safe and Swift Response to                Address Barriers
           Placements                               Abuse in Care

  THEORY OF CHANGE: More                    THEORY OF CHANGE: A coordinated        THEORY OF CHANGE: The
  appropriate placements could              response to abuse in care could lead   recommendaBons are foundaBonal
  prevent abuse of children and youth       to earlier intervenBon and             to the system and any change
  in subsBtute care.                        prevenBon of future abuse.             eﬀorts. If these areas are not
                                                                                   addressed, the other
  • Increase provider rates for all         • Redesign the Process of Responding   recommendaBons will have liRle to
    provider types                            to AllegaBons of Abuse in            no tracBon.
  • Adopt an assessment tool to               SubsBtute Care
    determine level of care and need,       • Centralize hotline operaBons         • Change the Culture of Oregon DHS
    for use before placement decisions      • Standardize screening protocols      • Focus the Whole DHS Agency and
  • Develop Oregon’s ConBnuum of            • Adopt a standard protocol for           Child Welfare Workforce on Safety
    Care and Availability                     “closed at screening”                • Adopt Data Driven Decision Making
  • Build out alternaBves to congregate                                               Processes
    care for children and youth with                                               • Increase Staﬃng Resources for CPS
    high needs                                                                        and Other DHS EnBBes



4.1. Implementation Resources
T HE STATE NEEDS TO FUND RESOURCES REQUIRED TO FIX THE PROBLEMS WITH O REGON ’ S
CHILD SUBSTITUTE CARE SYSTEM .


DHS will need funding and resources to implement most, if not all, of the recommendations in
this report and others. There is momentum in the state to fix the problems with the System,
but change will not happen without people dedicated to implementing solutions.
Implementation of the recommendations in this report and other initiatives will be time and
labor intensive, and DHS staff do not have the capacity to add this work to their regular jobs.
Implementation resources will be needed to accomplish the following:


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• Resource planning. DHS, together with the Governor and the Legislature, should prioritize
  the recommendations in this report and others, and develop a resource plan to staff the
  efforts.

• Alternatives analysis. The review team provided examples in this section of tools and best
  practices we have seen work well in other states or that are recommended by national
  organizations, but Oregon will need to engage in alternatives analysis upfront to determine
  what will work best in the context of this state.

• Management of the change efforts. DHS will need an implementation management team,
  to operationalize many of the recommendations. An implementation manager or team will
  need to develop an implementation plan, mange the implementation of the plan, and
  measure success.

• Engagement of experts. The state will need access to outside expertise and resources to
  implement some of the recommendations in this section as well as other initiatives. This
  could range from working with the Capacity Building Center for States to access free
  technical assistance and capacity building, Chapin Hall to improve the use of child welfare
  data, engaging policy experts to redesign the process of responding to allegations of abuse
  in care, and working with implementation experts to ensure the efforts gain traction and
  create lasting change.

4.2. Safe and Appropriate Placements
Over the course of this review, the topic of quality providers and availability of providers of all
types came up over and over again. Although our team did not review quantitative data that
verifies a shortage of substitute care providers, review participants reported this perspective
almost universally. Key to Oregon’s success in reducing the number of children in substitute
care who experience abuse is changing the payment model for providers, appropriately
matching children and youth to the right level of care, developing a more robust continuum of
care, and building out alternatives to residential care for children and youth with high needs.

4.2.1. Priority Recommendations

Recommendation               Considerations, Activities, Resources, and Estimated Cost Level

Increase Provider      The state should review provider rates and make sure they are commensurate with the
Rates for All          services providers are being asked to provide. Multiple stakeholders pointed to provider
Provider Types         payment rates and methodology being a significant barrier to attracting and keeping
                       qualified providers. Oregon should look at directing more funds towards this at every level
                       of care. For comparison purposes, a 2012 survey outlined foster care payments across
                       the country in terms of rates, modifiers, and models (State Child Welfare Policy Database,
                       2016). This may help provide support and direction for increasing rates in Oregon. In this



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Recommendation                    Considerations, Activities, Resources, and Estimated Cost Level
                            report, Casey Family Programs found, “The basic foster care rates in the majority of
                            states fall below our estimate of the costs of caring for a child” (DeVooght & Blazey, 2012,
                            p.2).
                            In order to appropriately match children and youth to substitute care providers, Oregon
                            should also consider changing the foster care level modifiers for payment from purely
                            child or youth needs driven to provider skill driven as well. For instance, a child or youth
                            who needs level 3 foster care should be placed with a level 3 provider who has
                            specialized training and skills to handle those needs. This would also necessitate
                            completing a level of care assessment before placement decision as often as possible
                            (see next recommendation), while also not relying on a pre-placement that would cause
                            more placements overall.

                            Initial Resources:
                            Rate Fact Sheets: http://www.childwelfarepolicy.org/maps/reimbursement_fact_sheets
                            Payment Rate Report: http://www.childtrends.org/wp-content/uploads/2013/04/Foster-
                            Care-Payment-Rate-Report.pdf

                                                      14
                            Estimated Cost Level:
                                        þ Cost intensive        ☐ Low cost       ☐ Cost neutral

Adopt an                    Adopt and implement a front-end assessment tool to support decision making for
Assessment Tool to          appropriate placement. Such a tool will support caseworkers and teams to determine the
Determine Level of          intensity, duration, and restrictiveness of services before a placement is made, reducing
Care and Need, for          the risk of harm in care due to inappropriate placements. There are a variety of tools that
Use Before                  can be used (as well as states that have developed their own). The review team
Placement                   recommends Oregon adopt the use of CASII/ECSII for level of care determinations.
Decisions                   These tools assist most in the initial determination of need, but also assist states to
                            balance between individual clinical need and resources available across the state. The
                            tool has six levels that correspond to medical need and level of care, from basic needs to
                            24-hour secure medically managed services.
                            Note: “Levels of care (LOC) should be determined by the child’s needs and strengths and
                            be connected to level of funding. LOC should not determine type of placement. For
                            example, recent research on in-home services and treatment foster care indicate that
                            children with severe needs can be appropriately treated with effective supportive services”
                            (Stratton, 2005). For example, a child or youth with a high level from a CASII assessment
                            can still be maintained in a specialized foster home or relative care with the right in-home
                            services and supports in place.

                            Initial Resources:
                            Levels of Care: https://www.openminds.com/wp-
                            content/uploads/indres/010105levelsofcare.pdf
                            Payment Rate Report: http://www.childtrends.org/wp-content/uploads/2013/04/Foster-
                            Care-Payment-Rate-Report.pdf
                            CASII:
                            https://www.aacap.org/App_Themes/AACAP/docs/member_resources/practice_informatio
                            n/casii/CASII_infor_and_data.pdf

                            Estimated Cost Level:


14
  The estimated level of cost is a rough estimate based on the review team’s experience with or observations on similar
undertakings in other states.



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Recommendation                     Considerations, Activities, Resources, and Estimated Cost Level
                                         þ Cost intensive        ☐ Low cost        ☐ Cost neutral

Develop Oregon’s            Planfully consider the levels of care needed and provided in the state. The continuum of
Continuum of Care           care begins with in-home services so children and youth can stay safely at home, to
and Availability            relative foster care, to non-relative foster homes, to crisis care, to specialized or
                            professional foster care, to therapeutic foster care, residential, and psychiatric residential
                            treatment facilities. This should be done with a focus on continuing to keep congregate
                            care numbers low, and reducing the state’s out of state placements that have recently
                            increased (see Figure 11). Oregon must ensure adequate availability at all levels of care,
                            which is possible only if there is data about the level of care needs of the population and
                            the level of care skills and abilities of the providers (using an assessment discussed
                            above). “Simply reducing the use of congregate care without developing alternatives runs
                            the risk that many of these youth will be thrust into environments where their caretakers
                            may not have the skills, capacity, or training to meet their needs” (California Child
                            Advocates for Change, 2016, p.5). See more information on efforts like this in
                            Connecticut, Colorado, Tennessee, and Nevada.
                            Finally, the current placement services available for children and youth involved in
                            Oregon’s substitute care system are confusing. Finding a way to simplify this continuum
                            of care and focus on quality and quantity is critical. At this time, depending on which
                            service the child or youth needs, different agencies, processes, and oversight are brought
                            to bear. Some of this is necessary, but some seems to have been created by rule and
                            unnecessary bureaucracy around the services.

                            Initial Resources:
                            Continuum of Care:
                            https://www.childrennow.org/files/6514/6896/7658/Foster_Care_Policy_Brief_--
                            _Developing_a_Robust_Continuum_of_Care.pdf
                            Continuum of Care State Examples: https://www.childwelfare.gov/topics/outofhome/foster-
                            care/achieving-continuum/#sl_examples
                            Reducing Congregate Care: http://www.childrensrights.org/wp-
                            content/uploads/2011/07/2011-07-
                            25_what_works_reducing_reliance_on_congregate_care_in_tn_final-report.pdf

                            Estimated Cost Level:
                                         þ Cost intensive        ☐ Low cost        ☐ Cost neutral

Build Out                   Oregon has a relatively small population of children and youth in residential or congregate
Alternatives to             care (U.S. Department of Health and Human Services, 2015, p.14). While this is a
Congregate Care for         strength of the System, it has also caused some harm, as many children and youth with
Children and Youth          high needs are being placed in lower levels of care that are not able to adequately or
with High Needs             safely care for them. Oregon needs to build out a model of non-congregate care to serve
                            these children and youth with high needs. There are many models across the country
                            including some of the most successful: Therapeutic Foster Care (TFC) (including an
                            international organization specializing in developing TFC that is based out of Oregon),
                                                   15
                            Intensive Wraparound , and Care Management Entities. Oregon needs to choose which
                            one(s) to establish within the state. This is for likely a very small part of the substitute care
                            population, but they are among the neediest and most expensive to serve. Although
                            expensive to build out and implement, these services will save money in the long term as


15
  This was piloted in Oregon and some sites still use it, but it is not used statewide.
https://www.oregon.gov/oha/amh/data/scwi2013biennial-leg-report.pdf, page 4 - This Statewide Children’s Wraparound Initiative
report fulfills the requirement in ORS 418.985 (4). Statewide Children's Wraparound Initiative Biennial Legislative Report May 17,
2013, https://www.pdx.edu/ccf/sites/www.pdx.edu.ccf/files/Best%20Practice%20Guide%20Version%201.0.pdf



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Recommendation               Considerations, Activities, Resources, and Estimated Cost Level
                       they are less expensive to operate, produce better child outcomes than congregate care,
                       and will result in less harm in care because children and youth will be in the appropriate
                       placements.

                       Initial Resources:
                       Treatment Foster Care:
                       http://www.imis100us2.com/ffta/FFTA/Learn/What_Is_Treatment_Foster_Care_/New_FF
                       TA_Content/Learn/What_Is_Treatment_Foster_Care.aspx?hkey=b72589aa-0fa2-45ca-
                       8586-b25939566e3b
                       TFC Consultants: http://www.tfcoregon.com/
                       Statewide Wraparound Initiative: https://www.oregon.gov/oha/amh/data/scwi2013biennial-
                       leg-report.pdf
                       Best Practices in Wraparound:
                       https://www.pdx.edu/ccf/sites/www.pdx.edu.ccf/files/Best%20Practice%20Guide%20Versi
                       on%201.0.pdf
                       Care Management Entities: http://www.chcs.org/resource/care-management-entities-a-
                       primer/

                       Estimated Cost Level:
                                   þ Cost intensive    ☐ Low cost      ☐ Cost neutral



4.2.2. Other Recommendations to Consider

Outside of the four priority areas discussed in the above section, Oregon may choose to
consider other best practices and recommendations once the priority recommendations are
addressed. These include:

• Add more accountability into the foster home certification exceptions process. Both
  benefits and risks related to the exceptions process were reported during the review. The
  exceptions process should be used to ensure relative care when appropriate, but safety
  requirements for non-relative care should not be subject to the exceptions process often, if
  at all. The review team recommends that DHS add in another level of accountability to the
  exception process and related rules and policies. For example, the OAR governing
  certifications does not require documentation for all safety-related exceptions (OAR 413-
  200-0274). Documentation should be completed for any exception related to a safety
  requirement. DHS should tighten the requirements and process to ensure District Managers
  are approving waivers for all safety exceptions, while still balancing the need for flexibility in
  the exceptions process to support relative placements. We recommend that this function
  remain a decentralized activity, as local staff will still see first hand the homes they are
  considering for certification. However, Oregon should adopt a centralized quality assurance



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     function (such as regular audits completed by the central office) to ensure the appropriate
     decisions are being made at the local level.

     Initial Resources: N/A, PK recommendation

• Continue relative placements and use Family Finding. While relative placement in Oregon
     is considered a strength of the System, there is still room to grow this placement type.
     Focused efforts on finding relative placement resources early in the case and getting them
     approved to care for children and youth should continue and increase. This will involve
     streamlining the process to remove unnecessary barriers to certification of relative care
     providers, but without compromising safety standards. We were unable to determine
     whether Oregon consistently works with Family Finding 16 or other similar research services to
     search for relative placement resources. If these services are used sporadically or only in
     some areas of the state, DHS should consider adopting this as standard practice.

     Initial Resources:

     Family Finding and Engagement: http://www.childrensdefense.org/library/data/promising-
     approaches.pdf

     Relatives and Kin:
     https://www.childwelfare.gov/topics/outofhome/kinship/locating/searching/

     Family Finding Search Tools: http://www.familyfinding.org

• Train and infuse trauma informed care into the System. Review participants from across
     the System indicated a need and desire to infuse trauma informed care. "Providers and
     systems have the ability to help or potentially re-traumatize. A trauma-informed system
     aligns interactions among youth-serving agencies, such as the child protection systems,
     lawyers, juvenile judges, law enforcement, schools, and mental health providers so that they
     better understand how youth, families, and adults respond to trauma"(IWGYP, 2013, p.4). It
     is essential that the System caring for children and youth in substitute care have extensive
     knowledge and training in trauma and trauma informed care. Understanding and skills in this
     area will help to de-escalate tensions in the homes and placements and keep more children
     and youth safe.



16
  “The Family Finding model, developed by Kevin A. Campbell, offers methods and strategies to locate and engage relatives of
children currently living in out-of-home care. The goal of Family Finding is to connect each child with a family, so that every child
may benefit from the lifelong connections that only a family provides.”



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  Initial Resources:

  Trauma-Informed Systems: http://www.nctsn.org/resources/topics/creating-trauma-
  informed-systems

  Creating Trauma-Informed Systems: http://www.extension.umn.edu/family/cyfc/our-
  programs/ereview/docs/cmhereviewMar11.pdf

  Trauma-Informed Practice: http://calswec.berkeley.edu/toolkits/child-welfare-mental-health-
  learning-collaborative-katie/trauma-informed-practice-tools

  Child Trauma Academy: http://childtrauma.org/

• Ensure providers have access to respite. Respite care is a key factor in supporting and
  retaining foster parents, and ensuring that caregivers are able to safely care for the children
  and youth in their homes. Policies that allow foster parents to use their natural supports,
  such as neighbors, family members, and family friends, as baby-sitters and respite providers
  can be particularly helpful. There are many model respite care programs from Mockingbird
  Family Model (WA), or Circle of Support (VA), to public and private networks pooling funds
  and providing vouchers. It is critical that Oregon establish something to support these
  families when a break is needed to de-escalate.

  Initial Resources:

  Mockingbird Family Model: http://mockingbirdsociety.org/index.php/what-we-
  do/mockingbird-family-model,
  http://calswec.berkeley.edu/sites/default/files/uploads/effective_practices_in_foster_parent_
  recruitment_and_retention.pdf, page 13

  Circle of Support: http://www.nrcdr.org/_assets/files/NRCRRFAP/resources/taking-a-break-
  respite-guide.pdf, page 17

• Implement exit interviews with providers leaving the system. A relatively low cost way for
  DHS to get quick feedback on what works and what does not work for providers is to
  implement exit interviews or exit surveys to find out why a provider is ending their service.

  Initial Resource:

  Example survey: https://www.surveymonkey.com/r/fosterparentexitinterview




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• Focus on keeping more children and youth at home with supports in place. Although not
  the focus of this report, there is no doubt that preventative work with families to keep
  children and youth safely at home and out of substitute care will ease the demand in the
  System. As a few review participants put it, “there is no reason these children and youth
  shouldn’t be at home if we can’t keep them safe.” A focus on court and state intervention
  while the child or youth is still at home (in appropriate cases) with supports and services in
  place will help.

  Initial Resources: N/A, PK recommendation

4.3. Safe and Swift Response to Abuse in Care
The ability to swiftly respond to the correct abuse in care allegations and keep children and
youth safe will center around stakeholders’ ability to see this set of steps from the perspective
of a child or youth. The entire process has to become more standardized and less complicated
in order to keep critical safety information from “falling through the cracks.” This includes
redesigning the process of responding to allegations of abuse in care, hotline operations,
screening protocols, and closed at screening decisions.

4.3.1. Priority Recommendations

Recommendation            Considerations, Activities, Resources, and Estimated Cost Level

Redesign the          A number of DHS entities, people, statutes, rules, policies, and business processes
Process of            are involved in responding to abuse of children or youth in substitute care. The abuse
Responding to         in care definitions, associated investigation procedures, and rules for critical incident
Allegations of        reporting, create a confusing and uncoordinated response system. The independent
Abuse in Substitute   review team could not find a provider or DHS employee who could explain all of the
Care                  details of these processes for all provider types, which means that when a child or
                      youth is abused in care, no single individual has a handle on what should be done, by
                      whom, and by when. It appears that this convoluted system has led to safety
                      information “falling through the cracks,” allowing abuse in care to continue in some
                      cases. Fixing individual elements of this process, such as instituting one definition of
                      abuse for all substitute care settings or improving training for investigators, will not fix
                      the convoluted nature of the current system.
                      We recommend that Oregon redesign the process, beginning with the perspective of
                      the child or youth in care. We believe this is more than a business process redesign
                      project. It will require an effort to rebuild the process from start to finish, including
                      associated rules, policies, and statutes. In order to accomplish this, the current
                      processes should be documented, focusing on understanding the current
                      requirements, their origins, and the reasons behind the requirements so DHS knows
                      what needs to be kept and what should be updated or replaced. Because no one
                      person understands the system from beginning to end, skipping this step could mean
                      something important is missed. That said, the focus should be on redesigning this
                      process from start to finish and it should look completely different than it does today,
                      as the current process is not working and is not child or youth driven.
                      Elements for this effort should include:




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Recommendation            Considerations, Activities, Resources, and Estimated Cost Level
                          •    Document as-is processes, focusing on the current policies, rules, and
                               statutes. Use the PK Regulatory System Maps as a high level starting place
                               for this effort.
                          •    Develop to-be processes. Identify and develop policies and procedures that
                               support a future state driven by the child or youth experience.
                          •    Engage the appropriate legislative entities to assist with clarifying existing or
                               developing new statutory language.
                          •    Determine changes to staffing, organizational structures, training, cost
                               models, and data collection and reporting needed to support the new
                               processes.
                          •    Engage external technical assistance to advise and facilitate this effort.
                          •    Assign appropriate DHS staff to support the effort. We recommend including
                               a balance of DHS staff who have worked in the current system and also
                               individuals who will think disruptively and promote change.
                          •    Ensure representatives from all provider communities are consulted (CCA,
                               DHS certified foster homes, CCA certified foster homes, residential
                               programs, PRTFs, etc.).
                          •    Treat this as a project with established goals, timelines, and assignments.

                      Initial Resources: PK Deliverable 2.2 Authority Inventory and Regulatory System
                      Maps. The authority inventory captures many of the current statutes and rules related
                      to the child substitute care system. The two system maps summarize the process
                      from a regulatory standpoint for responding to allegations of abuse in DHS certified
                      foster homes and CCA substitute care settings.

                      Estimated Cost Level:
                                   þ Cost intensive     ☐ Low cost      ☐ Cost neutral

Centralize Hotline    The review team recommends centralizing the hotline operations and standardizing
Operations            training and response criteria to add consistency to screening and decision-making,
                      standardization of processes, ease, better oversight, and clarity on responsibilities so
                      less falls through the cracks. There are certainly pros and cons to decentralized and
                      centralized hotline models, but the review team believes that for Oregon, there are
                      more benefits to centralization than consequences.
                      Benefits to a centralized hotline include: more cases identified and more victims
                      confirmed, a higher percentage of referrals that are screened-in (compared to
                      decentralized models), a lower percentage of referrals screened-out (compared to
                      decentralized), brings consistency to the way abuse and neglect calls are managed,
                      improves the intake specialist’s ability to gather information from caller, expedites the
                      process of preparing reports and dissemination to local office for assessment, and
                      allows local offices to spend more time working with children and families because
                      they are no longer responsible for handling intake functions.
                      The review team identified model state policies and resources to help with this
                      change, listed in the Initial Resource row below. The state should conduct an
                      alternatives analysis to select the model most appropriate for Oregon’s specific
                      needs.

                      Initial Resources:
                      State policies that can be referenced as models: Florida, Colorado, Indiana, Michigan,




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Recommendation            Considerations, Activities, Resources, and Estimated Cost Level
                      Utah, Idaho, and more.
                      Answering the Call: How States Process Reports of Child Abuse and Neglect

                      Estimated Cost Level:
                                   ☐ Cost intensive    þ Low cost      ☐ Cost neutral

Standardize           The best practices in screening protocols include: When an abuse report is received
Screening             on a child in substitute care, “the intake process must distinguish between reports
Protocols             that: do not indicate maltreatment or concerns about standards of care, and require
                      no further services; do not indicate maltreatment or concerns about standards of care,
                      but do identify the need for further services; do not indicate maltreatment but do raise
                      concerns about standards of care and possible licensing violations; and warrant a
                      formal CPS investigation" (Child Welfare League of America, 2003, p.29 and p. 53).
                      There is not currently a consistent statewide protocol or approach to screening an
                      allegation of abuse in care. Oregon needs to adopt one.
                      At the outset, all reports should be presumed to be credible: "The fact that a child or
                      other reporter has made an erroneous report in the past should not hinder a full and
                      cautious screening of subsequent reports" (Children’s Bureau, 2013, p.30).
                      Standardizing screening protocols will be easier if the hotline is centralized. Some
                      potential tools from other states that Oregon could use as examples include:
                      • North Carolina: Safety Assessment
                      • Texas: Risk Assessment Tool
                      • Washington: Structured Decision Making-Intake Decision Tree Guide
                      • Utah: SDM Safety Assessment Tool

                      The most recent National AFCARS data shows that children and youth in substitute
                      care in all four of these states experience less maltreatment in care than the national
                      average, and half or less than the percentage of children and youth experiencing
                      maltreatment in care in Oregon (National AFCARS Data, 2013 and 2012).

                      Initial Resources:
                      CWLA Best Practice Guidelines:
                      http://www.hunter.cuny.edu/socwork/nrcfcpp/downloads/policy-issues/maltreatment-
                      guidelines.pdf
                      Screening Reports: https://www.childwelfare.gov/pubPDFs/repproc.pdf
                      Screening Tools: All of the state tools referenced above can be found at the National
                      Resource Center for Child Protective Services website: www.nrccps.org; Go to the
                      Decision Making Tools Library & click on the states listed above to find the actual tool
                      & (usually) a policy description for it.

                      Estimated Cost Level:
                                   ☐ Cost intensive    ☐ Low cost      þ Cost neutral

Adopt a Standard      A critical aspect of standardizing screening protocols (see above) is establishing
Protocol for          standard criteria for determining what circumstances must be met in order for an
“Closed at            allegation to be "closed at screening." An evidence based standard risk assessment
Screening”            framework such as Structured Decision Making would support more consistent
                      decisions and make the process less subjective.

                      Initial Resources:




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Recommendation            Considerations, Activities, Resources, and Estimated Cost Level
                      Structured Decision Making: http://www.nccdglobal.org/assessment/sdm-structured-
                      decision-making-systems/child-welfare
                      Safety Organized Practice: www.cssp.org

                      Estimated Cost Level:
                                   ☐ Cost intensive   ☐ Low cost    þ Cost neutral



4.3.2. Other Recommendations to Consider

Outside of the four priority areas discussed in the above section, Oregon may choose to
consider other best practices and recommendations once the priority recommendations are
addressed. These include:

• Ensure DHS has unlimited access to legal consultation representation for workers,
  investigators, and certifiers when making decisions regarding youth safety. This was a
  recommendation from the recent Task Force on Dependency Representation. “The Oregon
  State Legislature should allocate funding to the Department of Human Services (DHS) to
  leverage federal grant and reimbursement programs to enter into a block grant (or “flat
  fee”) agreement with the Department of Justice (DOJ) for comprehensive agency
  representation in dependency cases. Additionally, the Oregon State Legislature should
  grant position authority to DOJ for the additional attorneys and staff required to implement
  this model” (Oregon Task Force on Legal Representation, 2016, p.5).

  Initial Resource:

  Oregon Task Force on Legal Representation:
  https://www.oregon.gov/gov/policy/Pages/LRCD.aspx

• Ensure follow up after a report of abuse in care occurs timely and to the right
 individuals. Current policy does not require DHS to notify youth or others if the report of
 abuse was closed at screening. If the report was not closed at screening, according to
  statute, DHS should be notifying attorneys, biological parents, CASAs, caseworkers and
  supervisors, and the Citizen Review Boards (ORS 419B.035). CWLA recommends notifying
  the following entities and individuals: caseworkers, foster parents, certifiers, birth/adoptive
  parents, child and other children in the home, law enforcement (when necessary), tribal
  social service workers, and the mandatory reporter (who made the initial call) of the
  screening decision and investigation outcome in accordance with state statutes. Current



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  policy does not require notification to the child or other children in the home, which is
  recommended in order to increase awareness of and respect for the child or youth
  experience in substitute care. The DHS policy should be updated to include at least the
  child or youth, and ensure the policy is followed.

  Initial Resource:

  CWLA Best Practice Guidelines:
  http://www.hunter.cuny.edu/socwork/nrcfcpp/downloads/policy-issues/maltreatment-
  guidelines.pdf

• Adopt clear protocols to ensure the information on investigations is getting to the
  Citizen Review Boards (CRBs) according to statute. The review team recommends that
  DHS provide CPS assessment records to CRB, as required. We further recommend DHS
  update policy language to specifically note the requirement to inform CRBs of assessments.
  This simple change would increase the accountability of the investigators and DHS when
  abuse in care occurs.

  Initial Resources:

  Oregon Revised Statutes: http://www.oregonlaws.org/ors/419B.035 at para(d)

  DHS Foster Care Certification Rules:
  http://www.dhs.state.or.us/policy/childwelfare/manual_1/division_200.pdf,
  page 71 para (c) sub para(C) sub para(v) )

• Track and report on critical incident reports and abuse reports by provider type and
 provider so trends can be identified before a crisis. Reports should be built to show this
 data at an individual provider level and an aggregate level. For example, before a worker or
  team choose a provider (and before a certifier or licensor conducts an unannounced visit or
  investigates an allegation, or re-certifies a provider), they should consult a report showing
  data on the number of calls screened in and out, and number of reports founded and un-
  founded (and the details of those issues). Leadership at the state and branch level should
  have regular access to a report that shows all providers and numbers of screened out
  reports, screened in reports, unfounded investigations, and founded investigations by each
  provider. This practice would promote data driven decision making and tracking trends,
  rather than inconsistent responses to single incident cases.

  Initial Resources: N/A, PK recommendation




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4.4. Foundational Recommendations
The following recommendations are out of scope for this review, but foundational to any
change efforts to address gaps in Oregon’s substitute care system. If these areas are not
addressed, the other recommendations in this report will gain little or no traction. The lack of
focus to date on the areas described in this section may explain why Oregon has received a
number of reports and recommendations and launched various change efforts over the last
ten years, but has seen little improvement to the safety of children and youth in the substitute
care system.

The review team concludes that organizational culture change within DHS, using data to drive
decision making and policy throughout the System, ensuring adequate staffing and
reasonable caseloads for DHS staff, and focusing on recruitment and retention of quality
providers must be prioritized in order to ensure that the solutions presented above bring
about needed transformational change for the substitute care system.

4.4.1. Priority Recommendations

Recommendation          Considerations, Activities, Resources, and Estimated Cost Level

Change the Culture    The culture of Oregon DHS has for some time been focused on reframing
of Oregon DHS         problems with the child substitute care system to deflect blame, comply with
Through Strong        regulation, and preserve the existing System. DHS needs to refocus all of its
Leadership,           people on prioritizing the safety of children and youth who are in the care of the
Behavior Modeling,    state. Previous reviews, legislation, and internal change projects have all focused
and Organizational    on various aspects of the System. It is time for DHS to see the System from the
Change                experience of the children and youth in substitute care and act from that
Management            perspective.
                      Actions taken in response to this review, future breakdowns in the System, or
                      directives from policymakers need to put the children and youth in care first and
                      implement solutions focusing on their safety. (See next priority recommendation:
                      Focus the Whole DHS Agency and Child Welfare Workforce on Safety as the
                      Highest Priority and Encourage any Staff Member to Speak Up with Concerns.)
                      The change needed at DHS is more complex than project management alone
                      can achieve. None of the other recommendations to mend gaps in the System
                      will successfully transform the experience of children and youth in care if the
                      people who work at DHS do not change. DHS executives need to lead culture
                      change and anchor it in the organization through building strong leadership skills,
                      behavior modeling, and organizational change management.
                      Behavior modeling in the workplace is an element of social learning theory that
                      involves leading by example. People take cues from their managers, supervisors,
                      and executives. The actions and decisions of DHS leaders and managers can
                      have far reaching effects throughout the agency’s workforce, and can change the
                      culture of the agency. Behavior modeling can be instituted and enhanced through
                      leadership development activities.
                      Organizational culture change requires people to change their behaviors:
                      “organizations do not change, people do” (Prosci, 2016). In a large, bureaucratic
                      organization like DHS, this requires winning the hearts and minds of the people




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Recommendation          Considerations, Activities, Resources, and Estimated Cost Level
                       who work for the agency – and also setting up supportive processes and strict
                       accountability measures, and eliminating barriers to change. DHS needs move
                       from a culture of agency protectionism to one of self evaluation and continuous
                       improvement.
                       Adopting evidence-based Organizational Change Management (OCM) processes
                       and structures will help DHS implement the recommendations in this report and
                       make the changes stick. DHS needs to charge its leaders with establishing a
                       sense of urgency for culture change and assign OCM planning and
                       implementation to a single person or group. OCM models we have used
                       successfully in our work with public agencies are listed below.

                       Initial Resources:
                       Prosci: https://www.prosci.com/change-management
                       Kotter’s 8 Steps: https://www.mindtools.com/pages/article/newPPM_94.htm
                       Lewin’s Change Management Model:
                       https://www.mindtools.com/pages/article/newPPM_94.htm

                       Estimated Cost Level:
                                   ☐ Cost intensive     þ Low cost      ☐ Cost neutral

Focus the Whole        As part of an organizational culture change effort described above, DHS should
DHS Agency and         adopt a "safety culture" as a means to increase safety for children and youth in
Child Welfare          substitute care. A "safety culture" creates organizational and cultural attributes
Workforce on           focused on safety thus improving the psychological safety, stress recognition,
Safety as the          and employee support necessary to effectively conduct child welfare work. The
Highest Priority and   state of Tennessee has done extensive work in this area.
Encourage any
                       "Amidst the highly salient and vivid examples of failures of the child welfare
Staff Member to
                       system across the country, we find that leader actions to enable a safety culture
Speak Up with
                       that signify safety is a leadership priority (i.e., safety climate) and that it is
Concerns
                       psychologically safe for employees to speak up about challenging situations at
                       work can help employees cope with their extremely difficult and intensely
                       scrutinized work and experience lower levels of emotional exhaustion. However,
                       we also illustrate opportunities for improvement as our data reveal that many
                       aspects of safety culture are underdeveloped (e.g., stress recognition and safety
                       organizing). Thus, we provide provisional evidence supportive of recent calls
                       (Commission to Eliminate Child Abuse and Neglect Fatalities, Cull et al., 2013
                       and Rzepnicki et al., 2010) to strengthen safety culture within a state's child
                       welfare agencies."

                       Initial Resources:
                       Michael Cull, Ph.D. (TN) Improving Child Protection with Safety Science
                       Assessing Safety Culture in Child Welfare: Evidence from Tennessee:
                       http://www.sciencedirect.com/science/article/pii/S0190740916300949

                       Estimated Cost Level:
                                   ☐ Cost intensive     ☐ Low cost     þ Cost neutral

Adopt Data Driven      Nationally there are many examples of states using data to improve outcomes for
Decision Making        youth and families in child welfare. Oregon collects data on child maltreatment in
Processes at DHS,      care, but does not have a culture around using the data to drive decision-making
Focusing First on      and change. Without an increased focus and reliance upon data, the system will



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Recommendation          Considerations, Activities, Resources, and Estimated Cost Level
the Safety in Care    always be reactive instead of proactive.
Outcomes that
                      Oregon should take advantage of national expertise to assist with this effort,
Need to Change
                      including a relatively low cost program from Chapin Hall, which includes tracking
                      the state’s outcome measures and comparing to other member states. According
                      to Chapin Hall, “the Data Center provides child welfare agencies with the
                      precision tools they need to examine the extent to which they achieve their
                      intended outcomes, whether they receive the best return on their investments,
                      and how they might allocate future funds toward a more cost-effective system.
                      Our suite of analytic resources enables agencies to assess performance gaps
                      and the investments required to close them. The result is knowledge that enables
                      states to make informed decisions about future programming and investments,
                      sparking a cycle of continuous quality improvement based on evidence” (Chapin
                      Hall, 2016, https://www.childwelfare.gov/pubPDFs/case). There are currently 21
                      state members, including Oregon’s neighbor, Washington State. Chapin Hall also
                      provides related technical assistance.

                      Initial Resources:
                      Chapin Hall: https://www.childwelfare.gov/pubPDFs/case

                      Estimated Cost Level:
                                   ☐ Cost intensive   þ Low cost      ☐ Cost neutral

Increase Staffing     CWLA recommends a caseload of 12-15 children per worker for child welfare
Resources for CPS     caseworkers (Sudol, 2009). Oregon does not track caseloads like other states,
and Other DHS         but the activity-based workload allocation model shows DHS workers as being
Entities              able to complete only 83% of the needed work. Until the CPS workers, OLRO
                      licensers, CPS hotline screeners, and OAAPI investigators are adequately
                      staffed, the system will always struggle to keep on top of child and youth safety.
                      One example provided by review participants was that visits to facilities were only
                      required once every six months and even this is not currently being met due to
                      staffing issues. DHS cannot adequately do what they are required to do without
                      the staffing to comply.

                      Initial Resources:
                      Using Data to Improve Systems:
                      https://www.childwelfare.gov/topics/management/info-systems/using-data-to-
                      improve-outcomes-for-children-youth-and-families/
                      Center for State Child Welfare Data: https://www.childwelfare.gov/pubPDFs/case
                      CWLA Best Practice Guidelines:
                      http://www.hunter.cuny.edu/socwork/nrcfcpp/downloads/policy
                      Caseload and Work Management:
                      https://www.childwelfare.gov/pubPDFs/case_work_management.pdf

                       Estimated Cost Level:
                                   þ Cost intensive    ☐ Low cost     ☐ Cost neutral




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4.4.2. Other Foundational Recommendations to Consider

Outside of the four priority areas discussed in the above section, Oregon may choose to
consider other best practices and recommendations that will further stabilize DHS and the
child substitute care system. These include:

• DHS needs to enable a workforce culture shift and decrease staff turnover. DHS should
  review best practices for improving worker recruitment and retention and adopt a strategy
  to increase retention by addressing some of the common barriers and issues causing
  workers to leave their positions. Strategies may include: increasing the quality and capacity
  of supervisors to train, mentor, assist, and transition caseworkers; increasing salary,
  opportunities for professional development, flexible schedules, supporting workers through
  traumatic experiences, and others. Commonly cited reasons for turnover in human services
  organizations – such as salaries, high caseloads, unpredictable hours, insufficient services to
  serve children and youth, lack of support from the Department, quality and quantity of
  training, negative media attention – are all occurring in Oregon right now according to
  review participants, so to not focus on workforce issues will ensure failure of the efforts for
  change (GAO, date unknown, p.3).

  Initial Resources:

  The NCWWI Workforce Development Framework: http://ncwwi.org;
  http://ncwwi.org/files/Retention/1-page_summary_McFadden_et_al._2015.pdf

• DHS should focus on recruitment and retention of quality providers. Oregon needs to
  develop a statewide recruiting strategy, and assign a budget and resources to implement
  the strategy. There is little effort on this currently, except in rare pockets of the state, which
  is contributing to the scarcity of providers described in Finding I. Assessment participants
  recommended recruitment with both faith based and non-faith based organizations, and
  focusing recruitment efforts in the LGBTQ community and communities of color.




  Initial Resources:

  Recruitment and Retention:
  http://calswec.berkeley.edu/sites/default/files/uploads/effective_practices_in_foster_parent_
  recruitment_and_retention.pdf


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• DHS should help build support for providers at DHS, including peer support models.
  Oregon should review models of provider support programs to implement such as:
  Mockingbird Model, Kinship Support Services Program, Foster Parent Mentor Program, or
  Fostering Hope Program.

  Initial Resources:

  Foster Parent Support Resources:
  http://calswec.berkeley.edu/sites/default/files/uploads/effective_practices_in_foster_parent_
  recruitment_and_retention.pdf, http://ncwwi.org/files/Evidence_Based_and_Trauma-
  Informed_Practice/Best__Evidence-Based_Practices_that_Enhance_Safety.pdf

  Support Groups: http://www.fc2success.org/knowledge-center/groups-and-support/;
  http://www.nacac.org/adoptalk/parent2parentnetwork.pdf

  Mockingbird Model: http://mockingbirdsociety.org/index.php/what-we-do/mockingbird-
  family-model,
  http://calswec.berkeley.edu/sites/default/files/uploads/effective_practices_in_foster_parent_
  recruitment_and_retention.pdf, page 13

  Kinship Support Services Program: http://www.childsworld.ca.gov/PG2891.htm

  Foster Parent Mentor Program: http://www.fosterforward.net/resources/foster-parent-
  resources/new-foster-parent-mentor-program

  Fostering Hope Program: http://www.fosteringhopefoundation.org/

• Training for providers should be re-evaluated to ensure they are prepared. Assessment
  participants listed skills for caring for children and youth with high needs, training on cultural
  competency, serving children and youth who identify as LGBTQ, and parenting skills as most
  important, and either too light or missing in the current training offerings. Youth in focus
  groups suggested training for foster parents and youth on collaborative communication and
  problem solving, which may reduce abuse. There are many resources and best practices on
  provider training models to assist Oregon when the state is ready to look at this
  recommendation.

  Initial Resources:




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  Recruitment and Retention:
  http://calswec.berkeley.edu/sites/default/files/uploads/effective_practices_in_foster_parent_
  recruitment_and_retention.pdf




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                                                                                  Methodology


5. Methodology
5.1. Three Phased Approach
The Child Safety in Substitute Care Independent Review followed a three-phased approach.
Each phase is briefly described below.

Throughout the review process, the review team focused on the perspective of the children
and youth in substitute care. With each activity and each decision, we asked ourselves and the
stakeholders involved: “how does this relate to safety in care?”

P HASE I – P ROJECT I NITIATION

The review team worked with the Governor’s Office, DHS, and the External Advisory
Committee to establish project management and decision making processes. During this
phase, we developed a vision and defined the scope for the review. The review team also met
with Internal Resource Committee members at DHS to identify individuals, documentation,
system data, and other sources that would inform the review. We developed an inquiry
framework showing the major elements of the system, shown in Figure 23. The statements
introducing the three system domains describe the vision for child and youth safety in each
area.




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                                                                                                                                Methodology

                                                         Figure 23: Inquiry Framework

 CHILD SAFETY IN SUBSTITUTE CARE INDEPENDENT REVIEW INQUIRY FRAMEWORK

                                                             THREE SYSTEM DOMAINS
                                    The following system domains provide the inquiry framework for the independent review.



                                                                    Youth in out of home
THREE ASSESSMENT                     Youth in out of home                                         Youth in out of home care
                                                                    placement are in safe,
                                   placement are free from                                        receive a high standard of
DIMENSIONS                                                          quality, and ﬁnancially
                                      abuse and neglect                                              care from providers
The following dimensions (and                                        solvent placements
their definitions) are areas of   (Response to Allega@ons of                                       (Support and Training of
                                                                 (Licensing and Oversight of
focus within each of the three             Abuse)                                                        Providers)
                                                                          Providers)
system domains.



      Accountability &                  Regulations, law, procedures, oversight, suﬃciency of resources,
      Communication                           Foster Care Bill of Rights, youth-focused responses



                                         Turnover, caseworker changes, training, caseloads, placement
          Workforce
                                      decisions, support and supervision, leadership, organizational culture



         Cultural                       Addressing disparity, equity, awareness, Indian Child Welfare Act,
      Responsiveness                               culturally responsive placement services




 P HASE II – I NITIAL A SSESSMENT

 During this phase, the review team focused on gaining a broad understanding of the child
 substitute care system, and the major gaps and opportunities facing the System. We
 developed an authority inventory of the statutes, policies, and rules governing the System;
 using that inventory to develop regulatory system maps for each of the three system domains
 depicted in the inquiry framework. We reviewed over 100 reports, audits, emails, procedures,
 and legislation. We analyzed an initial set of System
                                                                                              Key Informant Interviews are
 data obtained from DHS. We conducted 15 key                                                  qualitative interviews with people
 informant interviews and two focus groups, guided by                                         who know what is going on within a
 the inquiry framework above. The result of this phase                                        system or community. The purpose
                                                                                              is to collect information from a wide
 was a set of 12 overall observations and 35 potential                                        range of people who have first
 system gaps. We reviewed these results with our                                              hand knowledge about the system
                                                                                              or community in which the system
 External Advisory Committee and the DHS Internal
                                                                                              operates. These experts, with their
 Resource Committee, and developed a set of criteria                                          particular knowledge and
 for selecting a set of focus areas for the                                                   understanding, can provide insight
                                                                                              into the nature of the system
 Comprehensive Review phase. While we considered a                                            problems or strengths.
 number of elements during this process, the single



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most important consideration for selecting focus areas for Phase III was areas of the System
that are closest to the direct experience of children and youth living in substitute care: where
they live and what happens when they experience abuse or neglect in care. Figure 24 shows
the focus areas for the Comprehensive Review. Once these areas were selected, the review
team completed an Inquiry Protocol, which detailed the research questions, data sources, and
participants for the Comprehensive Review.

                               Figure 24: Comprehensive Review Focus Areas


                     CHILD SAFETY IN SUBSTITUTE CARE
                                          Child, Youth, and Young Adult




                  INDEPENDENT REVIEW INQUIRY AREAS - PHASE III


                                                                                 Safe and
      Safe and Appropriate
                                                                               Swift Response
          Placements
                                                                                 to Abuse




P HASE III – C OMPREHENSIVE R EVIEW

During the Comprehensive Review phase, the review team used focus groups and surveys to
collect in-depth qualitative data on the two selected topics: Safe and Appropriate Placements,
and Safe and Swift Response to Abuse in Care. We also analyzed quantitative data obtained
from DHS, and reviewed documentation related to the topics.

The review team analyzed the data and developed nine findings. We also identified three
major related barriers to improving the child substitute care system. We conducted best
practice research and developed recommendations for each of our findings areas as well as a
set of foundational recommendations.

See Figures 25 through 30 for details related to each of our Phase III activities.




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                                                                                                                          Methodology

                                                     Figure 25: Focus Groups

          Focus Group         Survey Distribu.on     DHS Data Analysis         Report &          Regulatory Review      Best & Promising
          Facilita.on &           & Analysis                                 Documenta.on                              Prac.ces Research
            Analysis                                                            Review

        Ac.vi.es & Demographics:
                                                                            ▪ DHS Cer8ﬁers, 1 focus group held, 12 total par8cipants
        Facilitated 13 focus groups and analyzed the informa8on from        ▪ Child Care Agencies, 1 focus group held, 13 total
        the focus groups to pull overarching themes, similari8es              par8cipants
        between groups, and diﬀerences between groups.                      ▪ Ci8zen Review Board Staﬀ, 1 focus group held, 10 total
                                                                              par8cipants
         ▪ Youth, 2 focus groups held, 17 total par8cipants                 ▪ Court Appointed Special Advocates, 1 focus group held, 9
         ▪ Foster Parents, 3 focus groups held, 22 total par8cipants          total par8cipants
         ▪ OLRO Licensing Coordinators, 1 focus group held, 2 total         ▪ Birth Parent Mentors, 1 focus group held, 10 total
           par8cipants                                                        par8cipants

        Summary:
        13 Focus Groups Held, 106 Total Par.cipants


                                                          Figure 26: Surveys

           Focus Group         Survey Distribu.on       DHS Data Analysis       Report &          Regulatory Review      Best & Promising
           Facilita.on &           & Analysis                                 Documenta.on                              Prac.ces Research
             Analysis                                                            Review


         Ac.vi.es & Demographics:                                           ▪ CPS Hotline Staﬀ, 27% response rate (24 respondents)
         Distributed 7 surveys and analyzed the data from the surveys       ▪ Child Caring Agencies, snowball survey method (13
         to pull overarching themes, similari:es between groups, and          respondents)
         diﬀerences between groups.
                                                                            ✓ 63% of aHorney and judge respondents have been working
          ▪ Youth, snowball survey method (68 respondents)                    in child welfare law for 10+ years
          ▪ Foster Parents, snowball survey method (85 respondents)         ✓ Average number of years in care for youth respondents: 6.5
          ▪ AHorneys, snowball survey method (48 respondents)               ✓ 37% of youth respondents were in rural placements and
          ▪ Judges, snowball survey method (20 respondents)                   31% were in non-rela:ve foster care
          ▪ Caseworkers & Supervisors, 52% response rate (734               ✓ 33% of caseworker & supervisor respondents have been
            respondents)                                                      working in child welfare 10+ years
                                                                            ✓ 24% of foster parent respondents live in rural areas
         Summary:
         7 Surveys Distributed, 992 Total Par.cipants


                                                         Figure 27: DHS Data

           Focus Group         Survey Distribu.on       DHS Data Analysis       Report &          Regulatory Review      Best & Promising
           Facilita.on &           & Analysis                                 Documenta.on                              Prac.ces Research
             Analysis                                                            Review

         Ac.vi.es & Demographics:
         Requested and analyzed data from DHS on iden6ﬁed poten6al           ▪ Provider capacity
         gaps. Topics included:                                              ▪ Level of need
                                                                             ▪ Placement stability
          ▪ Demographics of youth in subs6tute care                          ▪ Abuse in care allega6ons
          ▪ Placement type for youth in subs6tute care                       ▪ Resolu6on of abuse in care allega6ons
          ▪ Time in care                                                     ▪ Caseworker caseloads
          ▪ Reports of allega6ons of abuse in care                           ▪ Net loss and gain of providers
          ▪ Demographics of youth subject to reports                         ▪ Allega6ons screened in and out

         Summary:
         Data analyzed, summarized, and included with ﬁndings




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                                                     Figure 28: Documentation

           Focus Group         Survey Distribu.on     DHS Data Analysis        Report &          Regulatory Review    Best & Promising
           Facilita.on &           & Analysis                                Documenta.on                            Prac.ces Research
             Analysis                                                           Review


         Ac.vi.es & Demographics:
         Researched, reviewed, and summarized applicable sec5ons of       ▪ Various applicable reports
         reports and documenta5on. This included:                         ▪ Child Welfare Data Book
                                                                          ▪ Audits
          ▪ Child and Family Services Review Documents                    ▪ IV-E Program Improvement Plan
          ▪ Task Force Reports                                            ▪ Cri5cal Incident Report
          ▪ Annual Progress Reports                                       ▪ Workgroup Reports
          ▪ CommiFee Reports                                              ▪ Procedure Manuals
          ▪ Major Li5ga5on - past 5 years, $50,000 + award/seFlement      ▪ Training Curriculum (applicable)
          ▪ Program Improvement Plans                                     ▪ Screening Protocols
          ▪ Recruitment & Reten5on Plans

         Summary:
         Researched, reviewed, and summarized applicable documenta.on and reports from 2002 - 2016


                                                     Figure 29: Policies & Rules

           Focus Group         Survey Distribu.on     DHS Data Analysis        Report &          Regulatory Review    Best & Promising
           Facilita.on &           & Analysis                                Documenta.on                            Prac.ces Research
             Analysis                                                           Review

         Ac.vi.es & Demographics:
         Researched, reviewed, and inventoried state and federal
         regula5ons applicable to the assessment scope. This               ✓ The maps were used to conﬁrm assessment team
         included:                                                           knowledge of regula5ons
                                                                           ✓ The maps were used with ini5al assessment par5cipants
          ▪ 7 high-level graphic system maps for the three domains of        to conﬁrm scope
            the Child Subs5tute Care System,                               ✓ In the comprehensive assessment (phase III) the
          ▪ one-page summaries for each system map                           regulatory inventory was used to conﬁrm knowledge of
          ▪ a full authority inventory (this table includes all the          processes and procedures, and document gaps
            authori5es used for the maps, and includes which domain
            it informs, the authority type, a quick summary, and the
            full cita5on)

         Summary:
         7 system maps, full regulatory inventory, and detailed gaps for areas in scope


                                       Figure 30: Best Practices & Recommendations

           Focus Group         Survey Distribu.on     DHS Data Analysis        Report &          Regulatory Review    Best & Promising
           Facilita.on &           & Analysis                                Documenta.on                            Prac.ces Research
             Analysis                                                           Review

         Ac.vi.es & Demographics:
         A"er iden)fying the assessment ﬁndings, the independent
         review team undertook an eﬀort to iden)fy recommenda)ons
         and research best and promising prac)ces from across the
         country.

          ▪ Iden)ﬁed ﬁndings
          ▪ Provided recommenda)ons
          ▪ Researched best and promising prac)ces
          ▪ Researched regula)ons in other states

         Summary:
         Research and recommenda.ons for all ﬁndings




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5.2. Guiding Principles
From the beginning of the project, the independent review team used the following guiding
principles to develop the findings presented in this document:

• U SE A CHILD AND YOUTH - DRIVEN PERSPECTIVE . Be guided first and foremost by the child
  and youth experience. The goal of this review is to improve outcomes for the children and
  youth the System serves. These children and youth, along with their permanent family
  system and community network of support, are the primary consumers of the System’s
  efforts to keep children and youth safe from harm and prepared for the future. To this end,
  all our actions, decisions, and solutions will be shaped by how well they promote Oregon’s
  interest in keeping children and youth safe, stable, and nurtured while in care.

• P RACTICE A STRENGTHS - BASED APPROACH . Every deficiency or gap in the System is an
  opportunity for improvement. Strengths or positives in the System may be footholds for
  solutions. We believe it important to not only investigate the System for weaknesses and
  flaws, but to understand what is working, and identify the strengths within the System that
  the state needs to protect and sustain.

• A PPLY SYSTEMS THINKING TO SEE THE WHOLE PICTURE . Multiple contributors have a part
  to play in improving Oregon’s substitute care system. The purpose of this review is to
  understand System strengths, as well as gaps in the System, including internal DHS functions
  and culture, collaboration with partners, and fiscal accountability for the cost of care.

• B ASE FINDINGS ON FACTS AND BE TRANSPARENT ABOUT OUR SOURCES . Start with facts
  and data where possible, and corroborate with qualitative data. Participants’ qualitative
  experience with or perceptions of the child substitute care system is as critical as what the
  quantitative data shows. We will communicate how we use information provided to us.

• B UILD BUY - IN ACROSS STAKEHOLDERS . Early involvement of System stakeholders in the
  design of the assessment helps build support for the decisions, resources, and interventions
  that are needed to better serve children and youth in substitute care. Ensuring our
  independence and following these guiding principles will also ensure a high level of trust in
  the process and final recommendations.

• U SE A POLICY - BASED DEFINITION OF CHILD AND YOUTH SAFETY . For the purposes of this
  review, child and youth safety is defined as follows:

        o   C HILD & Y OUTH S AFETY IS THE STATE OF BEING FREE FROM ABUSE AND
            NEGLECT . Abuse means any of the following: physical injury caused by other than
            accidental means; mental injury caused by cruelty including verbal harassment,


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            threats, and seclusion; sexual abuse or exploitation; and abandonment. Neglect is
            the failure to provide the care necessary to maintain physical and mental health.
            Abuse and neglect are defined by Oregon Statutes in the Juvenile Chapter
            (419B.005), and in Child Welfare Services Chapter (418.205, definition of abuse
            recently added by Senate Bill 1515).

5.3. Independent Review Constraints
Independent review sponsors and advisors have emphasized that this review is a first step in a
long process of mending Oregon’s substitute care system. The review was given a short
timeframe and charged with offering the state a few priority areas to focus on first. As
expected with a review of a system of this size and complexity, the review team encountered a
few challenges to our data collection activities. Those are summarized in the table below. We
recommend that future efforts to collect information about the child substitute care system
evaluate these constraints and identify ways to mitigate them.


  Constraint                                                 Description

Incomplete or       Oregon currently has a disjointed data enterprise for tracking information about child and
Unreliable          youth maltreatment in substitute care, as there are multiple agencies and programs and
System Data         systems involved. Several separate data systems that do not interface and are of varying
                    maturity levels are used across the System. There are also fields in the OR-KIDS system
                    that would allow a richer data analysis regarding child safety that are not currently in use.
                    Review participants report that the data systems are further limited by staff that do not input
                    data accurately or in a timely manner, whether due to training, workload constraints, or other
                    issues. We experienced this firsthand when analyzing data sets and noticing a number of
                    “blank fields” or “unknown” data elements. This is consistent with what we have seen in data
                    from other states’ SACWIS systems.
                    Participants in this review have varying degrees of trust in the reliability of the data obtained
                    from DHS. The review team analyzed data obtained from the ORKIDS, OLRO, and OAAPI
                    systems to support this review. In addition to this data we also considered qualitative
                    information gleaned from focus groups, surveys, and other means.
                    See Section 3 Related Barriers for more on this topic.

Limited             The review team, guided by our External Advisory Committee, made a concerted effort to
Participation       include the voices and experiences of culturally diverse stakeholders within the scope of the
from Culturally     review. During our Initial Assessment phase, we interviewed individuals who could help us
Diverse             understand gaps in the System from the perspective of communities that are
Communities         disproportionately represented in substitute care, including tribal and non-tribal Native
                    American groups and the urban African American community.
                    Due to the limited timeframe and resources allocated to this review, we were unable to focus
                    our qualitative data collection activities during our Comprehensive Review phase in these or
                    other minority communities. We did not tailor questions or methodologies to the specific
                    needs of cultural or racial minority groups, nor did we collect demographic data from focus
                    group or survey participants. Future in depth reviews of targeted areas of the system should
                    consider working with cultural liaisons to collect qualitative data in ways that work for
                    minority communities.
                    We believe that disproportionality and a lack of culturally relevant placements may affect



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  Constraint                                                 Description
                    safety in care, but due to the focused scope of this review, we do not make conclusions
                    about those topics (See Section 3.4 for overall observations regarding cultural competency).

Nonparticipation    Some stakeholder groups identified in PK’s Inquiry Protocol for the Comprehensive Review
by Some             phase or that were requested by members of the External Advisory Committee either chose
Stakeholder         not to, or were unable to participate in qualitative data collection activities. Those groups are
Groups              listed below, with the reason for nonparticipation:

                    • Oregon Department of Justice (DOJ) Attorneys – We included this stakeholder group
                      as a survey audience in our Inquiry Protocol. Due to concerns related to client-attorney
                      privilege, the DOJ attorneys declined to participate in the survey.

                    • Tort Attorneys – Tort attorneys that have been involved in large settlement cases
                      against DHS for abuses of children or youth in substitute care have unique insight into the
                      gaps and issues within the System. Because many of these attorneys are involved in
                      current litigation with the state, we were unable to conduct a focus group with this
                      stakeholder group. However, with assistance from our External Advisory Committee
                      members, several tort attorneys participated in a confidential survey, and their input is
                      included in this review.

                    • Rural Foster Youth – We invited youth living in rural Jackson and Josephine Counties to
                      participate in a focus group. However, due to summer schedules and other conflicts, we
                      had to cancel this group due to low participation. We conducted two well-attended focus
                      groups in the Portland and Salem areas. In lieu of an in-person focus group, the review
                      team increased efforts to distribute a survey to youth statewide. A total of 68 youth
                      responded to our survey. 18% reported living in a large city, 45% in a medium sized city,
                      and 37% reported living in a rural or small town.

Individual Case     The independent review team did not review individual case files for this project. To
Files Not           unequivocally understand the reasons for abuse in substitute care – or the reasons why in
Reviewed            many cases abuse has been allowed to continue - there could be some value in reviewing
                    files from those cases where abuse was substantiated. Due to the timeframe and resources
                    allocated for this review, combined with the priorities of the review’s External Advisory
                    Committee, our methodology focused instead on collecting qualitative information from
                    people involved in the System and analyzing quantitative data collected by DHS.

DHS Personnel       The DHS Director has recently initiated an effort to analyze data from personnel files to gain
Files Not           a better understanding of decisions and actions taken with line workers and supervisors
Reviewed            involved in the most serious cases of abuse in care. This information was not available
                    during the timeframe for the independent review.




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                                                                      Contributors and Sources


6. Contributors and Sources
6.1. Contributors to the Independent Review
The Child Safety in Substitute Care Independent Review drew on the knowledge, experiences,
and perceptions of hundreds of Oregonians around the state. This section lists many of those
contributors, but many will remain anonymous through their participation in focus groups and
surveys.

6.1.1. External Advisory Committee

• Caroline Cruz, Confederated Tribes Warm Springs

• Robin Donart, Maple Star Oregon

• Lene Garrett, CASA

• Senator Sara Gelser, Oregon State Legislator

• Josh Graves, Catholic Community Services

• Christine Hartmann, Oregon Foster Parent Association

• Mark McKechnie, Youth Rights & Justice

• Craig Opperman, Looking Glass

• Rep. Carla Piluso, Oregon State Legislator

• Katie Robertson, Foster Care Alumni , Oregon Foster Youth Connection

• Elden Rosenthal, Rosenthal Greene & Devlin, PC

• Clyde Saiki, DHS Director

• John Sciamanna, Child Welfare League of America

• Nicole Stapp, Foster Care Alumni and Advocate, Oregon Foster Youth Connection

• Rep. Duane Stark, Oregon State Legislator

• Kay Toran, Volunteers of America


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                                                                         Contributors and Sources

• Senator Jackie Winters, Oregon State Legislator

EAC Support

• Jeannine Beatrice, DHS Chief of Staff

• Addie Smith, Governor’s Office, Task Force on Dependency Representation

6.1.2. DHS Internal Resource Committee

• Abdulrahim Audi, Social Service Specialist 1 – District 2

• Stacey Ayers, Child Protective Services Program Manager –Child Welfare

• April Barrett, Human Resources Payroll Liaison – Director’s Office

• Anna Cox, Data Collection & Reporting Manager – Business Intelligence Unit

• Gene Evans, Public Affairs Director – Director’s Office

• Lora Edwards, Research Analyst – Office of Adult Abuse Prevention and Investigation

• Kevin George, Child Well Being Unit Co-Program Manager – Child Welfare

• Harry Gilmore, Children’s Care Licensing Unit – Office of Licensing and Regulatory Oversight

• AJ Goins, Federal Policy, Planning & Resources Co-Manager – Child Welfare

• Brooke Hall, Program and Training – Office of Adult Abuse Prevention and Investigation

• Wendy Hill, District 14 District Manager – Child Welfare

• Michelle Johnson, Classification & Recruitment Manager – Human Resources

• Nadja Jones, Tribal Affairs Director – Director’s Office

• Kim Keller, District 15 Program Manager – Child Welfare

• Debbi Kraus-Dorn, Children’s Residential Manager – Developmental Disabilities

• Sherril Kuhns, Federal Policy, Planning & Resources Co-Manager – Child Welfare

• Stacy Lake, Differential Response Manager – Child Welfare


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                                                                         Contributors and Sources

• Nicomi Levine, Social Service Specialist 1 - District 2

• Jason Mak, Diversity & Inclusion Manager – Director’s Office

• Laurie Price, Co-Program Manager – Child Well Being Unit

• Jodi Sherwood, Project Manager – Office of the Chief Operating Officer

• Barb Southard, Developmental Disabilities Licensing Manager – Office of Licensing and
  Regulatory Oversight

• Julie Spencer, District 5 Program Manager – Child Welfare

• Naomi Steenson, Administrator – Governor’s Advocacy Office (former)

• Kalisha Stout, PEMC, Supervisor – District 2

6.1.3. Key Informant Interviewees (Initial Assessment Phase II)

• John Devlin, Attorney – Rosenthal Greene & Devlin, P.C.

• Group Interview: Foster Youth and Alumni – Oregon Foster Youth Connection

• Group Interview: Substitute Care Providers (CCAs) – Oregon Alliance of Children’s Programs

• John Haroldson, District Attorney – Benton County District Attorneys Office

• Tom Heidt, DHS Licensing Coordinator – DHS Central, Licensing Unit

• Therese Hutchinson, Policy, Program, & Training Manager – DHS Central, Office of Adult
  Abuse Prevention & Investigation

• Darin Mancuso, Foster Care Ombudsman – Governor’s Office/DHS

• Renee Moseley, Deputy Director – Bridge Meadows (community housing provider with foster
  care focus)

• Hon. Lindsay Partridge, Judge – Marion County Juvenile Court

• Holly Preslar, Attorney – Holly A. Preslar, Attorney at Law

• Mike and Lonnie Ribiero, Foster Parents – Harney County, OR



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                                                                         Contributors and Sources

• Lisa Romano, Executive Director – Oregon CASA Network

• Tawna Sanchez, Interim Executive Director – NAYA Family Programs

• Kim Scott, President & CEO – Trillium Family Services

• Angela Sherbo, Supervising Attorney – Youth, Rights, & Justice

• Ruth Taylor and Parent advisor/mentor, Facilitator & Program Director – Foster Parent
  Advisory Committee & Morrison Child & Family Services

• Hon. Nan Waller, Presiding Judge – Multnomah County Circuit Court

6.1.4. Other Contributors

The individuals listed here provided assistance and information at the request of the
independent review team or the DHS Director’s Office.

• Janet Arenz, Executive Director, Oregon Alliance of Children’s Programs

• James Barta, Legislative Director, Children First for Oregon

• Patricia Chamberlain, Ph.D., Science Director, Oregon Social Learning Center

• Gene Evans, Public Affairs Director, DHS

• Veronica Garcia, Executive Specialist, Oregon Alliance of Children’s Programs

• Leah Hall, Program Supervisor, Morrison Child and Family Services

• Megan Hassen, Juvenile Law and Policy Counsel, Oregon Judicial Department

• Justin Hopkins, Contracts and Compliance Director, Oregon Health Authority

• Laramie Lesina, Independent Living Program Manager, Kairos

• Angela Long, Program Performance and Reporting Office Administrator, DHS

• Lisa McMahon, Program Director, Oregon Foster Youth Connection

• Amy Miller, Deputy General Counsel, Office of Public Defense Services

• Marilee Ortiz, Social Service Specialist, Child Protective Services, DHS


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                                                                       Contributors and Sources

• Dawn Phillips, Chief of Staff, State Representative Duane Stark

• Adam Rodakowski, Assistant Program Manager, DHS

• John Thompson, Deputy Director, Office of Adult Abuse Prevention & Investigations, DHS

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                               EXPERT WITNESS CONTRACT

This contract for expert witness services ("Contract") is between Markowitz Herbold PC (the
"Firm"), the Oregon Department of Administrative Services (the "Agency"), and Public
Knowledge, LLC, a Wyoming limited liability company ("Public Knowledge" or the
"Contractor"). The Oregon Department of Human Services ("OHS") is an intended third-party
beneficiary of this Contract. The Firm's Contract Administrator for this Contract is identified in
Section 20.

1.     Contract Term. This Contract is effective on June 22, 2020, and unless earlier
terminated, continues through December 31, 2021. Contract termination does not extinguish or
prejudice Agency's or the Firm's right to enforce this Contract with respect to any default by
Contractor that has not been cured.

2.       Statement of Work

         2.1. Statement of Work. Contractor shall provide the services and deliver all associated
         deliverables ("Work Product") described in Exhibit A, Statement of Work ("Services"),
         which is attached and incorporated into this Contract.

3.       Consideration.

         3.1. As payment in full for Services, Agency shall pay Contractor at the rates specified in
         Exhibit A.

         3.2. Agency will reimburse Contractor for reasonable and necessary travel and other
         expenses as provided in Exhibit A, and only to the extent pem1itted in the Oregon
         Accounting Manual, available from Statewide Accounting and Reporting Services of the
         Chief Financial Office, and viewable at:
         https://www.oregon.gov/<las/Financial/Acctng/Pages/Travel.as px

         3.3. The maximum amount payable to Contractor under this Contract, including all
         payments pursuant to Section 3.1 and any allowable expenses pursuant to section 3.2, is
         $605,000. Contractor shall not submit invoices for, and Agency is not obligated to pay,
         any compensation in excess of this amount. If this maximum amount is increased by
         Contract amendment, the amendment must be fully effective before Contractor performs
         any Services subject to the amendment.

         3.4. Agency is not obligated to pay Contractor for any Services unless such Services are
         complete, conform to the Contract specifications, and otherwise conform to the
         warranties and other terms of this Contract.

         3.5. Contractor shall submit monthly invoices to Contract Administrator for Services
         performed. Contractor shall describe in each invoice all Services performed, the dates of
         performance, and by whom such Services were performed, and shall itemize and explain
         all expenses for which Contractor claims reimbursement. Contractor shall mail or email



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         invoices to Contract Administrator at the address specified in section 20. After the
         Contract Administrator reviews the invoice and approves any undisputed amount for
         payment, the Contract Administrator will forward the invoice to Agency for payment.

4.       Contract Documents. This Contract consists of the following documents, which are
listed in descending order of precedence: this Contract less all exhibits, Exhibit A, Statement of
Work, and Exhibit B, Insurance Requirements. Exhibit A and Exhibit Bare attached and
incorporated into this Contract.

5.       Independent Contractor; Responsibility for Taxes and Withholding.

         5.1. Contractor shall perform all Services as an independent contractor. Contractor is not
         an "officer," "employee," or "agent" of the State, as those terms are used in ORS 30.265.
         Contractor is responsible for determining the appropriate means and manner of
         performing the Services.

         5.2. If a contract is currently performing work for the State or the federal government,
         then by signature to this Contract, Contractor represents and warrants to DHS and
         Agency that: Contractor's performance of Services under this Contract creates no
         potential or actual conflict of interest as defined by ORS 244, and no statutes, rules or
         regulations of the state or federal agency for which Contractor currently performs work
         would prohibit Contractor's performance of Services under this Contract.

         5.3. Contractor shall pay all federal and state taxes applicable to compensation or
         payments paid to Contractor under this Contract and, unless Contractor is subject to
         backup withholding, Agency will not withhold from such compensation or payments any
         amounts to cover Contractor's federal or state tax obligations. Contractor is not eligible
         for any social security, unemployment insurance or workers' compensation benefits from
         compensation or payments paid to Contractor under this Contract, except as a self-
         employed individual.

6.      Subcontracts, Successors, and Assignments. Contractor shall not enter into any
subcontracts for any of the Services required by this Contract without Fim1's prior written
consent. Firm's consent to any subcontract does not relieve Contractor of any of its duties or
obligations under this Contract. The provisions of this Contract shall be binding upon and inure
to the benefit of the parties, their respective successors, and permitted assigns, if any. Contractor
shall not assign, delegate or transfer any of its rights or obligations under this Contract without
Firm's prior written consent.

7.      No Third-Party Beneficiaries. Except for DHS in its capacity as third-party beneficiary
under this Contract, Firm, Agency, and Contractor are the only parties to this Contract and are
the only parties entitled to enforce the terms of this Contract. Nothing in this Contract gives, is
intended to give, or is construed to give or provide any benefit or right not held by or made
generally available to the public, whether directly, indirectly or otherwise, to third persons unless
such third persons are individually identified by name herein and expressly described as intended




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beneficiaries of the terms of this Contract. The parties agree that DHS is the only intended third-
party beneficiary under this Contract.

8.       Funds Available and Authorized; Payments. Contractor will not be compensated by
any other agency or department of the State for Services performed under this Contract. Agency
certifies that it has sufficient funds currently authorized for expenditure to finance the costs of
this Contract within Agency's current biennial appropriation or limitation. Contractor
understands and agrees that Agency's payment of amounts under this Contract are contingent on
Agency receiving appropriations, limitations, allotments or other expenditure authority sufficient
to allow Agency, in the exercise of its reasonable administrative discretion, to continue to make
payments under this Contract. If the Oregon Legislative Assembly fails to appropriate sufficient
appropriations, limitations, allotments, or other expenditure authority to Agency, Agency may
terminate this Contract without penalty or liability to Agency.

9.       Representations and Warranties.

         9.1. Contractor's Representations and Warranties. Contractor represents and
         warrants to Firm and Agency that:

            9.1.1. Contractor has the power and authority to enter into and perform this Contract;

            9.1.2. this Contract, when executed and delivered, is a valid and binding obligation
            of Contractor enforceable according to its terms;

            9.1.3. Contractor has the skill and knowledge possessed by well-informed members
            of its industry, trade or profession and Contractor will apply that skill and knowledge
            with care and diligence to perform the Services in a professional manner and
            according to standards prevalent in Contractor's industry, trade or profession; and,

            9.1.4. Contractor is and will be at all times during the term of this Contract, qualified,
            professionally competent, and duly licensed to perform the Services.

         9.2. \Varranties Cumulative. The warranties set forth in this section are in addition to,
         and not in lieu of, any other warranties provided.

10.      Ownership of Work Product; Confidentiality.

         10.1. Ownership of Work Product. All Work Product is the exclusive property of
         DHS. Contractor hereby irrevocably assigns to DHS all of its rights, title, and interest in
         and to any and all of such Work Product, whether arising from copyright, patent,
         trademark, trade secret, or any other state or federal intellectual property law or doctrine.
         Contractor forever waives any and all rights relating to such Work Product, including
         without limitation, any and all rights arising under 17 USC § 106A or any other rights of
         identification of authorship or rights of approval, restriction or limitation on use or
         subsequent modifications.




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        10.2. Confidentiality. Contractor will be creating Work Product and providing
        information to assist Agency attorneys to both prepare for and conduct litigation.
        Contractor acknowledges that Contractor and its employees or agents may, in the course
        of performing Services under this Contract, be exposed to or acquire communications
        that are confidential, privileged communications not intended to be disclosed to third
        parties.

        Contractor agrees that any Work Product created by Contractor and all information of
        any form obtained by Contractor or its employees or agents in the performance of this
        Contract is deemed "Confidential Information" ofDHS and Agency. Confidential
        Information does not include information which is or becomes (other than by disclosure
        by Contractor) publicly known.

        Contractor agrees to hold such Confidential Information in strict confidence and to not
        copy, reproduce, sell, transfer, or otherwise dispose of, give or disclose such information
        for any purposes whatsoever other than the provision of Services to DHS and Agency.
        Contractor agrees to advise each of its employees and agents of their obligations to keep
        such information confidential.

11.     Indemnity.

        11.1. INDEMNITY. CONTRACTOR SHALL DEFEND, SAVE, HOLD HARMLESS,
        AND INDEMNIFY FIRM, THE STATE OF OREGON, DHS, AGENCY, AND THEIR
        OFFICERS, EMPLOYEES AND AGENTS, FROM AND AGAINST ALL CLAIMS,
        SUITS, ACTIONS, LOSSES, DAMAGES, LIABILITIES, COSTS AND EXPENSES OF
        ANY NATURE WHATSOEVER, INCLUDING ATTORNEYS FEES, RESULTING
        FROM, ARISING OUT OF, OR RELATING TO THE ALLEGED NEGLIGENT OR
        WILLFUL ACTS, OMISSIONS, OR ANY BREACH OF THIS CONTRACT BY THE
        CONTRACTOR OR ITS OFFICERS, EMPLOYEES, SUBCONTRACTORS, OR
        AGENTS UNDER THIS CONTRACT.

        11.2. CONTROL OF DEFENSE AND SETTLEMENT. CONTRACTOR SHALL
        HAVE CONTROL OF THE DEFENSE AND SETTLEMENT OF ANY CLAIM THAT
        IS SUBJECT TO SECTION 11.1; HOWEVER, NEITHER CONTRACTOR NOR ANY
        ATTORNEY ENGAGED BY CONTRACTOR SHALL DEFEND THE CLAIM IN THE
        NAME OF THE STATE OF OREGON OR ANY AGENCY OF THE STATE OF
        OREGON, NOR PURPORT TO ACT AS LEGAL REPRESENTATIVE OF THE STATE
        OF OREGON OR ANY OF ITS AGENCIES, WITHOUT FIRST RECEIVING FROM
        THE OREGON ATTORNEY GENERAL, IN A FORM AND MANNER DETERMINED
        APPROPRIATE BY THE ATTORNEY GENERAL, AUTHORITY TO ACT AS LEGAL
        COUNSEL FOR THE STATE OF OREGON, NOR SHALL CONTRACTOR SETTLE
        ANY CLAIM ON BEHALF OF THE STATE OF OREGON WITHOUT THE
        APPROVAL OF THE ATTORNEY GENERAL. THE STATE OF OREGON MAY, AT
        ITS ELECTION AND EXPENSE, ASSUME ITS OWN DEFENSE AND SETTLEMENT
        IF THE STATE OF OREGON DETERMINES THAT CONTRACTOR IS PROHIBITED
        FROM DEFENDING THE STATE OF OREGON, OR IS NOT ADEQUATELY



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        DEFENDING THE STATE OF OREGON'S INTERESTS, OR THAT AN IMPORTANT
        GOVERNMENTAL PRINCIPLE IS AT ISSUE, AND THE STATE OF OREGON
        DESIRES TO ASSUME ITS OWN DEFENSE.

12.     Insurance. Contractor shall maintain the insurance coverage specified in Exhibit B,
        Insurance Requirements.

13.     Termination.

        13.1. Termination by Agency or Firm for Convenience. At its sole discretion,
        Agency or Firm may terminate this Contract for its convenience upon fifteen ( 15) days
        written notice to Contractor.

        13.2. Termination by Agency or Firm for Cause. In addition to any other rights and
        remedies Firm and Agency may have under this Contract, Firm and Agency may
        terminate this Contract, in whole or in part, immediately upon written notice to
        Contractor, or at such later date as Firm or Agency may establish in such notice, upon the
        occurrence of any of the following events:

              13.2.1. Funding from federal, state, or other sources is not obtained and continued
              at levels sufficient to pay for Contractor's Services;

              13.2.2. Federal or state laws, regulations, or guidelines are modified or interpreted
              in such a way that the performance of the Services under this Contract is prohibited,
              or Agency is prohibited from paying for such Services from the planned funding
              source;

              13.2.3. Contractor no longer holds a license or certificate that is required for it to
              perform the Services; or,

              13.2.4. Contractor commits any material breach or default of any covenant,
              warranty, obligation or certification under this Contract, fails to perfom1 the
              Services in conformance with the requirements and warranties provided herein, or
              so fails to pursue the Services as to endanger Contractor's performance under this
              Contract according to its terms, and such breach, default or failure is not cured
              within ten (10) business days after delivery of Firm's or Agency's notice or such
              longer period as Firm or Agency may specify in such notice.

        13.3. Termination by Contractor. Contractor may terminate this Contract if Agency
        fails to pay Contractor any amount pursuant to the terms of this Contract, and Agency
        fails to cure such failure within thirty (30) days after Contractor's notice of termination
        for nonpayment, or such longer period as Contractor may specify in such notice.

              13.3.1. Contract termination pursuant to this section 13 shall be without prejudice
              to any obligations or liabilities of either party already accrued prior to such
              termination. However, upon receiving a notice of termination under this section 13,



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              Contractor shall immediately cease all activities under this Contract, unless
              expressly directed otherwise by Firm or Agency in the notice of termination.
              Further, upon termination, Contractor shall deliver to Firm or Agency all
              documents, information, works-in-progress, Work Product, and other property that
              is or would be deliverables had this Contract been completed.

14.     Records Maintenance; Access. Contractor shall maintain all financial records relating
to this Contract according to generally accepted accounting principles. In addition, Contractor
shall maintain any other records pertinent to this Contract in such a manner as to clearly
document Contractor's performance. Contractor acknowledges and agrees that DHS, the Oregon
Secretary of State's Office, the federal government, and their duly authorized representatives
shall have access to such financial records and other books, documents, papers, plans, records of
shipments and payments and writings of Contractor that are pertinent to this Contract, whether in
paper, electronic or other form, to perform examinations and audits and make excerpts and
transcripts. Contractor shall retain and keep accessible all such financial records, books,
documents, papers, plans, records of shipments and payments and writings for a minimum of six
(6) years, or such longer period as may be required by applicable law, following final payment
and termination of this Contract, or until the conclusion of any audit, controversy or litigation
arising out of or related to this Contract, whichever date is later.

15.     Compliance with Applicable Law. Contractor shall comply with all federal, state and
local laws, regulations, executive orders and ordinances applicable to this Contract.

16.  Limitation of Liabilities. FIRM, AGENCY, AND CONTRACTOR ARE NOT
LIABLE FOR (i) ANY INDIRECT, INCIDENTAL, CONSEQUENTIAL, OR SPECIAL
DAMAGES UNDER THIS CONTRACT OR (ii) ANY DAMAGE OF ANY SORT ARISING
SOLELY FROM THE TERMINATION OF THIS CONTRACT IN ACCORDANCE WITH ITS
TERMS.

17.      Force Majeure. Agency, Firm, and Contractor are not liable for delay or default caused
by fire, riot, acts of God, terrorist acts, or other acts of political sabotage, or war where such
cause was beyond the reasonable control of the Agency, Firm, or Contractor, respectively.
Contractor shall, however, make all reasonable efforts to remove or eliminate such a cause of
delay or default and upon the cessation of the cause, diligently pursue performance of its
obligations under this Contract.

18.    Survival. All rights and obligations shall cease upon termination or expiration of this
Contract, except for the rights and obligations set forth in sections 1, 7, 8, 9, 10, 11, 13, 14, 18,
23, and 24.

19.     Time is of the Essence. Contractor agrees that time is of the essence under this Contract.

20.     Notice. Except as otherwise expressly provided in this Contract, any notices between the
parties that relate to this Contract must be given in writing, personal delivery, express courier, or
United States Postal Service, postage prepaid, to Contractor or the Contract Administrator at the
address set forth below, or to such other addresses as either party may hereafter indicate pursuant



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to this section. Any notice so addressed and mailed is effective five (5) days after the postmark
date. Any notice given by personal delivery is effective immediately if delivery is made to the
following individuals:

 CONTRACT ADMINISTRATOR:                             IF TO CONTRACTOR:

 Lauren Blaesing                                     Stacey Obrecht
 Markowitz Herbold PC                                Public Knowledge, LLC
 1455 SW Broadway, Ste. 1900                         1911 SW Campus Drive #457
 Portland, OR 97201                                  Federal Way, WA 98023
 Phone: 503-295-3085                                 Phone: 307-287-8941
 Lauren B laesing@markowitzherbold.com               sobrecht@pubknow.com


21.    Severability. The parties agree that if any term of this Contract is declared by a court of
competent jurisdiction to be illegal or in conflict with any law, the validity of the remaining
terms will not be affected, and the rights and obligations of the parties shall be construed and
enforced as if this Contract did not contain the particular term held to be invalid.

22.     Counterparts. This Contract may be executed in several counterparts, all of which when
taken together constitute one agreement binding on all parties, notwithstanding that all parties are
not signatories to the same counterpart. Each copy of this Contract so executed constitutes an
original.

23.     Choice of Law; Designation of Forum; Federal Forum.

        23.1. Choice of Law. The laws of the State of Oregon (without giving effect to its
        conflicts of law principles) govern all matters arising out of or relating to this Contract,
        including, without limitation, its validity, interpretation, construction, performance, and
        enforcement.

        23.2. Designation of Forum. Any claim, action, suit or proceeding (collectively,
        "Claim") between Agency (or any other agency or department of the State) and
        Contractor that arises from or relates to this Contract shall be brought and conducted
        solely and exclusively within the Circuit Court of the State of Oregon for Marion County.
        Contactor hereby consents to the exclusive jurisdiction of such court, waives any
        objection to venue, and waives any claim that such forum is an inconvenient forum.

        23.3. Federal Forum. Notwithstanding section 23.2, if a claim must be brought in a
        federal forum, then it must be brought and adjudicated solely and exclusively within the
        United States District Court for the District of Oregon. This section applies to a claim
        brought against the State of Oregon only to the extent Congress has appropriately
        abrogated the State of Oregon's sovereign immunity and is not a consent by the State of
        Oregon to be sued in federal court. This section is also not a waiver by the State of
        Oregon of any form of immunity, including but not limited to sovereign immunity and
        immunity based on the Eleventh Amendment to the Constitution of the United States.



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24.     Merger Clause; \Vaiver. This Contract and attached exhibits constitute the entire
agreement between the parties on the subject matter of this Contract. There are no
understandings, agreements, or representations, oral or written, regarding this Contract that are
not specified in this Contract. No waiver, consent, modification or change of terms of this
Contract binds all parties unless in writing and signed by both parties and all necessary State
approvals have been obtained. Such waiver, consent, modification or change, if made, is
effective only in the specific instance and for the specific purpose given. The failure of Firm or
Agency to enforce any provision of this Contract does not constitute a waiver by Firm or Agency
of that or any other provision.

25.    Consulting Expert. Contractor will serve as a consulting expert unless the Firm
designates, in writing, that the Contractor will serve as a testifying expert.

26.     Contractor Data and Certification.

        26.1. Contractor Tax Identification Information. Contractor shall provide
        Contractor's Social Security number or Contractor's federal tax ID number and the
        additional information set forth below. This information is requested pursuant to
        ORS 305.385. Social Security Numbers provided pursuant to this section will be used for
        the administration of state, federal and local tax laws.

                Name (tax filing):     Public Knowledge
                Address:               Public Knowledge, LLC
                                       1911 SW Campus Drive #457
                                       Federal Way, WA 98023
                 Citizenship, if applicable: Non-resident alien □ Yes □ No

                 Business Designation (check one):
                 D Corporation D Partnership D Limited Liability Partnership
                 D Limited Partnership D Sole Proprietorship ~ Limited Liability Company
                 D Other: - - - - - - - - - -

                 Federal Tax ID#:

                 Agency may report the information given above to the Internal Revenue Service
                 (IRS) under the name and social security number or taxpayer identification
                 number provided.

        26.2 Certification. The individual signing on behalf of Contractor certifies under
        penalty of perjury that: (a) the number shown above is Contractor's correct taxpayer
        identification and the other information provided is correct; (b) Contractor is not subject
        to backup withholding because (i) Contractor is exempt from backup withholding,
        (ii) Contractor has not been notified by the IRS that Contractor is subject to backup


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         withholding as a result of a failure to report all interest or dividends, or (iii) the IRS has
         notified Contractor that Contractor is no longer subject to backup withholding; (c) the
         individual is authorized to act on behalf of Contractor, has authority and knowledge
         regarding Contractor's payment of taxes, and to the best of the individual's knowledge,
         Contractor is not in violation of any Oregon Tax Laws. For purposes of this certification,
         "Oregon Tax Laws" means a state tax imposed by ORS 320.005 to 320.150 (Amusement
         Device Taxes), 403.200 to 403.250 (Tax for Emergency Communications), 118
         (Inheritance Tax), 314 (Income Tax), 316 (Personal Income Tax), 317 (Corporation
         Excise Tax), 318 (Corporation Income Tax), 321 (Timber and Forest Land Taxation) and
         323 (Cigarettes and Tobacco Products) and any local taxes administered by the
         Department of Revenue under ORS 305.620.

CONTRACTOR, BY EXECUTION OF THIS CONTRACT, HEREBY ACKNOWLEDGES
THAT CONTRACTOR HAS READ THIS CONTRACT, UNDERSTANDS IT, AND AGREES
TO BE BOUND BY ITS TERMS AND CONDITIONS.

 Public Knowledge                                            Markowitz Herbold PC
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                                                                 Lauren Blaesing


 Approved as to Sections 3, 7 and 8 by the                   Reviewed:
 State of Oregon Department of
 Admi • rative Services
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 By: .J1.--,',=,--""'f'----======1--.,-a,te: 6/26/2020 By; \'t'; Ji;:ltll'./, ' 1 rk '"tlr, .,Date: June 24, 2020
 Na                                                       . Stephanie A. Thompson
 Title: CAO                                                 Senior Assistant Attorney General




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                                       EXHIBIT A
                                  STATEMENT OF WORK
                               EXPERT WITNESS CONTRACT

Part I. Services.

A. Contractor shall consult with and assist Firm and Agency in providing professional assistance
and strategy advice regarding records analyses as part of trial preparation of: PVyatt, et al. v. Kate
Brown, et al., United States District Court, Eugene Division Case No. 6: 19-cv-00556-AA (the
"Matter"). Contractor shall take all steps reasonably necessary to provide the Services in a
professional manner.

B. Contractor shall set forth in writing and deliver to Firm all of its findings and opinions if
requested by Firm.

C. Contractor shall make expert personnel available to Firm, DHS, and Agency at reasonable
hours, upon sufficient notice, to consult with Firm, DHS, and Agency regarding the Matter.
Contractor understands and agrees that the commencement date of any trial or other court
proceeding in connection with the Matter may change, and that Contractor's performance of
Services is not excused by any date changes.

Part II. Payment.

Contractor's fees will be based upon Contractor's customary and reasonable billing rates which
must not exceed the following hourly billing rates:

                        Melissa Davis, M.P.Aff                        $200.00
                        Stacy Obrecht, JD, CWLS, PMP                  $280.00
                        Allison Olson, MS                             $145.00
                        Alli Anderson                                 $120.00
                        Will Hornsby, MSW                             $215.00
                        Bonnie Hammrich, MSSW                         $150.00
                        Eliza Byrne, MSW, MGA                         $140.00
                        Julie Breedlove                               $175.00
                        Jessica Dill                                  $120.00

To reduce fees, Contractor shall assign tasks among its staff commensurate with the level of
expertise required and shall use professional employees where appropriate. Agency will not pay
Contractor for secretarial or clerical services.

Part III. Travel and Other Expenses.

A. Agency will reimburse Contractor, within the not-to-exceed amount of this Contract, for
travel only when the travel is essential to the normal discharge of Agency's responsibilities.
Contractor shall conduct all travel in the most efficient and cost-effective manner resulting in the
best value to Agency. The travel must comply with all the requirements set forth in this section



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and must be for official Agency business only. Contractor shall provide Agency with receipts
for all travel expenses except meals. All Contractor representatives will fly "coach class," unless
Contractor pays the difference. All Contractor representatives will be limited to economy or
compact sized rental vehicles, unless Contractor pays the difference.

B. To be eligible for reimbursement, Agency must provide advance written approval of all travel
to and from the State of Oregon ("Out-of-State Travel"). In addition to reimbursement for
meals and lodging, Agency will reimburse Contractor for airfare expenses and rental vehicles
related to pre-approved Out-of-State Travel only if Contractor is acting within the course and
scope of its duties under this Contract and in furtherance of the Services.




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                                      EXHIBIT B
                               INSURANCE REQUIREMENTS

       During the term of this Contract, Contractor must maintain in force at its own expense,
each insurance noted below:
        (Agency must check boxes for #2, #3, & #4 as to whether insurance is required or not.)
1. ~ Required by Agency of contractors with one or more workers, as defined by
ORS 656.027.
Workers' Compensation: All employers, including Contractor, that employ subject workers, as
defined in ORS 656.027, shall comply with ORS 656.017 and shall provide workers'
compensation insurance coverage for those workers, unless they meet the requirement for an
exemption under ORS 656. 126(2). Contractor shall require and ensure that each of its
subcontractors comply with these requirements.

2. D Required by Agency D Not required by Agency.
Professional Liability insurance with a combined single limit, or the equivalent, of not less than
□ $200,000 □ $500,000 □ $1,000,000 □ $2,000,000 each claim, incident or occurrence.
This is to cover damages caused by error, omission or negligent acts related to the professional
Services to be provided under this Contract.

3. D Required by Agency D Not required by Agency.
General Liability insurance with a combined single limit, or the equivalent, of not less than
D$200,000 D$500,000 D$1,000,000 D$2,000,000 each occurrence for Bodily Injury and
Property Damage. It shall include contractual liability coverage for the indemnity provided
under this Contract. It shall provide that the State of Oregon, Department of Justice and their
divisions, officers and employees are Additional Insureds but only with respect to the
Contractor's Services to be provided under this Contract.

4. ~ Required by Agency □ Not required by Agency.
Automobile Liability insurance with a combined single limit, or the equivalent, of not less than
[gj Oregon Financial Responsibility Law (ORS 806.060) □ $200,000 □ $500,000
□ $1,000,000 each accident for Bodily Injury and Property Damage, including coverage for
owned, hired or non-owned vehicles, as applicable.

5. Notice of cancellation or change. There shall be no cancellation, material change, reduction
oflimits or intent not to renew the insurance coverage(s) without 30 days prior written notice
from the Contractor or its insurer(s) to Agency.

6. Certificates of insurance. As evidence of the insurance coverages required by this Contract,
the Contractor shall furnish acceptable insurance certificates to Agency prior to commencing the
work. The certificate will specify all of the parties who are Additional Insureds. Insuring
companies or entities are subject to State acceptance. If requested, complete copies of insurance
policies, trust agreements, etc. shall be provided to the State. The Contractor shall be financially
responsible for all pertinent deductibles, self-insured retentions or self-insurance.


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600 Airport Rd
Lakewood, NJ 08701-5995

September 17, 2021

Mr. Vivek Kothari
Markowitz Herbold
1455 SW Broadway, Suite 1900
Portland, OR 97201


Dear Mr. Kothari:

On behalf of the Public Knowledge team, I am pleased to submit the enclosed draft
deliverable: Assessment Methodology and Protocols for the Oregon Child Welfare Review
project. This document summarizes the information needed to conduct an independent review
of Oregon’s child welfare system, including the protocols for conducting interviews, focus
groups, and disseminating an online survey.

We have enjoyed collaborating with your team on this deliverable and trust it meets the needs
of the project. Please do not hesitate to reach out to me with any questions or comments.

Sincerely,




Allison Olson
Project Manager




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Assessment Methodology and Protocols



                                For:
          Oregon Child Welfare Review



                  Markowitz Herbold


                    September 17, 2021




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                                                                                        Introduction




1       Introduction
Oregon’s Governor Kate Brown and Oregon Department of Human Services’ (DHS) child
welfare system and its leaders had a federal class action lawsuit filed against them in April
2019. The Oregon Department of Justice (DOJ) and the law firm Markowitz Herbold (MH) are
representing the Governor and DHS. The state needs an independent reviewer to document
the progress, if any, that DHS Child Welfare (CW) has made in improving the child welfare
system since Public Knowledge completed the Child Safety in Substitute Care Final Report in
2016. The state asked Public Knowledge to collect information from its clients and assess that
information to assist MH in providing legal advice to its clients.

Public Knowledge will conduct a thorough independent assessment of the Governor’s Office
and DHS’ child welfare policies, procedures, leadership, and data, and document any progress
CW has made to implement recommendations or address concerns through identifiable and
credible strategies and processes. Our assessment team will collect and analyze primary and
secondary data on the system, using findings from our 2016 Child Safety in Substitute Care
Final Report as a baseline for many of the research questions that are derived from the legal
pleadings. For the research questions that were not based on findings of the 2016 review, the
baseline will be identified within the same time period. For example, Oregon completed
Round 3 of the Child and Family Services Review (CFSR) in September 2016, so data will be
included in this assessment that originated in the CFSR results.

1.1        Scope of the Independent Review
An independent review is an assessment of a policy, program, or system by an independent
third party. The subject of this review is Oregon’s Child Welfare system, led by the Oregon
DHS and the Oregon Governor’s Office.

The scope of this review includes all children under CW supervision, with particular focus on
children in substitute care and those included in the subclasses in the pleadings.

              Purpose
The purpose of the Assessment Methodology and Protocols is to ensure understanding of the
strategies, tools, and techniques that the Public Knowledge independent review team will
employ to conduct our independent review of Oregon’s child welfare system. The Assessment
Methodology and Protocols outlines the eleven research questions and accompanying inquiry
questions that provide the framework for the assessment. The methodology and protocols
include planned data sources, human participants, information sources, and methods of data
analysis.



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              Independent Review Constraints and Assumptions
CONSTRAINTS

Every independent review of a program or system faces constraints due to factors outside the
control of the review team. Below are our current known constraints. We anticipate we may
encounter additional constraints once we begin our review and those will be documented
appropriately.

COVID-19. The Public Knowledge review team faces limitations related to the global
pandemic. Those include:

•   Restrictions and precautions around in-person gathering mean that interviews,
    observations, and focus groups will likely be conducted online.
•   Availability of stakeholders may be impacted by changes to work environments, schedules,
    and stress levels. Additionally, the regular business of CW is adapting to new needs arising
    from the pandemic, possibly increasing workloads, and decreasing availability for
    participation.
•   Restrictions have been placed around aspects of the child welfare system during the
    pandemic, affecting timeliness of family meetings, court hearings, and family visitation.

Data gathered during this time period will be identified to acknowledge impacts to trends
occurring prior to the pandemic.

Unknown trial date. The expected trial date for this case is unknown and subject to change
due to myriad factors including restrictions related to COVID-19. Collecting data is a point-in-
time activity. An extended time between collecting the data and presenting the findings could
lead to less timely results.

ASSUMPTIONS

Every review project such as this one includes assumptions that define parameters for the
project to progress as timely and be as comprehensive as possible. Our review is guided by
the following assumptions:

Focus Area. The focus of our independent assessment is the Governor and CW, including its
child welfare policies, procedures, leadership, and data.

Follow-Up from 2016. Research questions initially assessed during our 2016 Child Safety in
Substitute Care review will be re-assessed to document any progress CW has made to
implement recommendations or address concerns through identifiable and credible strategies
and processes. Research questions not covered in our 2016 Child Safety in Substitute Care
review will be investigated to determine the extent to which key staff and leaders within CW



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are aware of the agency’s performance and capacity in critical areas and are making attempts
to address areas needing improvement through identifiable and credible strategies and
processes.

Data. Participants in this review will provide requested data, reports, and other information in a
timely manner.

Access. MH will help ensure the Public Knowledge team has access to the individuals or
documents needed to gather data and inform the assessment. Key staff and leaders from the
following organizations will make themselves available for interviews, focus groups, and survey
participation: CW, Governor’s Office, and DOJ. The MH project team and CW leadership will
assist with introductions and requests for participation as needed, and CW leadership will assist
with distribution lists for survey administration within the agency.

Data Collection and Analysis. Our team will have independence over the collection of primary
data. We will collect primary data from individuals and groups within Oregon’s child welfare
system, which may include providers, agency staff, partners, and others as identified.
Qualitative data collection and analysis will include both primary and secondary sources, and
any quantitative data collection and analysis will be from secondary sources. CW
representatives will assist in providing appropriate data.

Findings. Public Knowledge’s findings will be based on facts and our judgement regarding any
progress CW has made to implement recommendations or address concerns through
identifiable and credible strategies and processes. Recommendations for improvement or
advice are not included.

              Contact Information
Questions about this document should be directed to Allison Olson at (208) 510-5161 or
aolson@pubknow.com.

1.2        Guiding Principles
The independent review team will use the following guiding principles throughout the
assessment process:

•   Measure progress by incremental effort and improvement. Progress does not require
    achievement of a particular outcome or standard, but rather improvement from the
    baseline indicated at the outset of the identified timeframe.
•   Consider the implications for all children under CW supervision. The scope of the
    assessment includes all children under CW supervision, with particular focus on children in




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    substitute care. Specific consideration for each question will be given to members of each
    subclass referenced in the pleadings.
•   Use a child-driven perspective. Be guided first and foremost by the child experience. The
    goal of this review is to recognize systemic improvements that have been made to improve
    the experience of children in CW supervision and keep them safe throughout the duration
    of their case.
•   Measure improvements in agency culture by the increased prioritization of child safety.
    Leadership drives agency culture through development and implementation of its mission
    and vision. The agency culture will be considered through the lens of how well the agency
    implements its mission and vision through its commitment to prioritizing child safety in
    policies, rules, and procedures. Leadership messaging, communications, priorities
    identified in continuous quality improvement processes, and allocation of staff resources
    will also be evaluated. Organizational culture is a difficult concept to quantify, so progress
    in the agency culture will be considered through a lens of the commitment to prioritizing
    child safety in policies, rules, and laws.
•   Base findings on facts and be transparent about our sources. Throughout this review, we
    will begin with facts and data where possible and corroborate with qualitative data. We will
    also include the perceptions of stakeholders as a data source to share their experiences in
    the child welfare system and how those perceptions influence policy and systems change.
    We will communicate how we use information provided to us.
•   Apply systems thinking to see the whole picture. We have included a lengthy list of
    subtopics in this review to meaningfully research the overarching question of improving
    safety for children in foster care. We believe the topics covered by the research questions
    encompass the salient aspects of the child welfare system and will allow us to
    comprehensively assess system improvements and areas still needing attention.

1.3        Methodology Overview
This assessment will follow Public Knowledge’s standard methodology, which includes
establishing the assessment scope, establishing the inquiry protocol, collecting data,
establishing variables and assumptions, analyzing data, identifying themes, handling
unexpected or adverse events, and reporting of findings or conclusions. Working through this
methodology will ensure the high-quality review and assessment required. A full overview of
the methodology is found in Section 5 of this document and is summarized in the graphic
representation of the methodology, shown in the following figure.




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                                   Figure 1.1 Assessment Methodology




1.4        Key Terms
Key terms are used to define language that has specific meaning to the documentation
reviewed and completed as part of this assessment methodology. A complete list with source
references can be found in Appendix A.

1.5        Entities Referenced
Entities include all governmental or non-governmental groups or organizations specifically
referenced in the documentation reviewed and completed as part of this assessment
methodology. A complete list of entities referenced can be found in Appendix B.




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                                                                                                 Selection of Research Questions




2       Selection of Research Questions
To develop the research questions for this assessment, we began with the overarching topic of
keeping children safe while they are under the supervision of CW, whether they remain in their
homes or are placed in substitute care. Following a thorough review of the pleadings, the
Public Knowledge 2016 Child Safety in Substitute Care Independent Review Final Report, and
supporting documents, we identified a broad list of topic areas, represented by the top of the
hourglass in Figure 2.1 below. From these, we narrowed our focus on each aspect of the child
welfare system to build the eleven research questions, represented by the narrowest part of
the hourglass. We then expanded on these to develop a comprehensive set of inquiry
questions, represented by the bottom of the hourglass in Figure 2.1.

                          Figure 2.1 Approach to Developing Research Questions

                         Public Knowledge Approach to Developing
                                    Research Questions
                                                                                 Narrow to Broad
                                                                              The process narrows the
                                                                              scope then broadens the
                                                                              depth of inquiry after the
                                                                                 scope is defined.



                                                                 Funn
                                                                     eling




                                    Inquiry Question
                                  Narrowing the scope
                                  allows you to get to
                                   the actual question
                                     you are trying to
                                         answer.




                                                 Pyram
                                                         iding




The research questions, detailed in Section 4, will evaluate the following:

1.   Safety for children under CW supervision

2.   The organizational culture of CW

3.   Data-driven decision-making and quality of services offered

4.   Foster parent recruitment, retention, and support of substitute care providers

5.   Permanence for children in substitute care

6.   Permanency planning


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                                                                      Selection of Research Questions



7.   Individualized assessments for children and families

8.   Service provision based on assessed needs

9.   Case planning

10. Family connections for children in substitute care

11. CW staffing resources




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                                                                    Seven-Element Inquiry Protocol Overview




3       Seven-Element Inquiry Protocol Overview
The purpose of the Seven-Element Protocol is to ensure understanding of the strategies, tools,
and techniques the review team will employ to conduct a comprehensive assessment. The
seven elements of the protocol are included for each selected research question, below.

                                Figure 3.1 Seven-Element Inquiry Protocol




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                                                                           Research Questions and Protocols




4       Research Questions and Protocols
This section includes detailed protocols for each of the 11 research questions.

4.1        Question 1: Whether CW made progress during the
           identified timeframe to improve safety for children under
           CW supervision.
This question forms the basis for the review, as ensuring child safety is the primary function of
the child welfare system. A significant portion of the pleadings in this case are related to the
safety of children involved in child welfare, and this question illustrates the breadth and depth
of considerations for keeping children safe while under CW supervision.

                                  Table 4.1 Research Question 1 Protocol

 Whether CW made progress during the identified timeframe to improve safety for
 children under CW supervision.

                Protocol Element                         Detailed Description or List

                                         • Has CW responded to maltreatment reports within
                                           the required timeframe?
                                         • How soon does CW complete face-to-face contact
                                           with children following a maltreatment report?
                                         • Does CW adequately assess safety thresholds and
                                           safety concerns of children in their homes during
                                           intake, initial assessments, and safety assessments,
                                           and throughout the life of the case?
                                         • Does CW adequately address safety threats and
                                           safety concerns of children in their homes?
                                         • Does CW adequately assess safety threats and safety
             Inquiry Questions
                                           concerns of children in substitute care?
                                         • Does CW adequately address safety threats and
                                           safety concerns of children in substitute care?
                                         • Does CW meet federal requirements for caseworker
                                           contacts with children in substitute care?
                                         • Does CW meet state requirements for caseworker
                                           contacts with children in substitute care?
                                         • Does CW meet standards for quality caseworker
                                           contacts with children in substitute care?
                                         • Does CW meet state requirements for caseworker
                                           contacts with parents of children in substitute care?



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                                                                      Research Questions and Protocols



 Whether CW made progress during the identified timeframe to improve safety for
 children under CW supervision.

                                        • Does CW meet standards for quality caseworker
                                          contacts with parents of children in substitute care?
                                        • Does CW effectively manage caseloads to adequately
                                          meet the needs of children and families?
                                        • Does CW adequately address safety concerns of
                                          children in substitute care within required
                                          timeframes?
                                        • Has the rate of maltreatment for children in substitute
                                          care decreased?
                                        • Does CW adequately assess out-of-state facilities to
                                          determine the appropriateness of placing children?
                                        • Does CW appropriately supervise placements of
                                          children in out-of-state facilities?
                                        • Has CW centralized and standardized reporting,
                                          screening, and assessments statewide?
                                        • Does CW maintain the confidentiality of reports of
                                          abuse in care?
                                        • Did CW redesign the process of responding to
                                          allegations of abuse and neglect regarding children in
                                          substitute care?
                                        • Is the process of responding to allegations of abuse
                                          and neglect regarding children in substitute care
                                          transparent?
                                        • Does CW standardize the response to allegations of
                                          maltreatment for children in substitute care?
                                        • Does CW consistently share safety information across
                                          entities?
                                        • What is CW’s policy on protecting the confidentiality
                                          of children who identify as LGBTQIA+?
                                        • Does CW consistently distinguish between allegations
                                          of abuse and critical incidents?
                                        • Has CW standardized the protocol for "closed at
                                          screening"?
                                        • Does CW ensure that requirements are met when
                                          recruiting, certifying, and monitoring foster parents?
                                        • Does CW comply with federal background check
                                          requirements during certification and oversight of
                                          substitute care providers?




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 Whether CW made progress during the identified timeframe to improve safety for
 children under CW supervision.

                                        • Does CW address safety threats or safety concerns
                                          raised in a substitute care placement?
                                        • Does CW have policies and procedures in place to
                                          guide staff on safety practices?
                                        • Does CW provide training and coaching to staff
                                          about best practices in safety for children under CW
                                          supervision?
                                        • Does CW utilize a case review process to measure
                                          progress on improving safety for children under CW
                                          supervision?
                                        • Does CW have in place quality assurance processes
                                          for monitoring safety for children under CW
                                          supervision?
                                        • Does CW leadership advocate for safety for children
                                          under CW supervision?

                                        • Interviews
                                        • Focus Groups
             Methods of Inquiry         • Data Analysis
                                        • Document and Regulation Review
                                        • Surveys

                                        • Governor’s Office
                                        • Child Welfare (CW) Leadership
                                        • Central Office
                                        • District Managers
             Universal Participants     • Managers
                                        • Supervisors
                                        • Field Staff
                                        • Consultants
                                        • Data Representative

                                        • Interviews: representatives from the Governor’s office,
                                          and CW leadership and managers
                                        • Focus Groups: caseworkers, supervisors, and
             Representative Sample
                                          managers from all areas of Oregon, safety consultants
             of Participants
                                          and central office staff representatives
                                        • Survey: managers, supervisors, and field staff from all
                                          areas of Oregon




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                                                                     Research Questions and Protocols



 Whether CW made progress during the identified timeframe to improve safety for
 children under CW supervision.

                                        • Average number of hours between maltreatment
                                          report and face-to-face contact
                                        • % of cases meeting the required timeframes for safety
                                        • % of cases with completed risk and safety
                                          assessments in compliance with requirements
                                        • % of cases with recurrent maltreatment reports
                                        • % of cases with recurrent maltreatment reports in the
                                          same placement
                                        • Components of safety plans
                                        • % of cases that meet federal requirements on
                                          caseworker contact
                                        • % of cases meeting quality caseworker contact
                                          standards
                                        • Average number of cases per caseworker
             Data Elements
                                        • Type of cases per caseworker
                                        • Timeliness of hearings, determinations, reporting
                                          timelines
                                        • Rate of maltreatment for children in substitute care
                                        • Number of children placed in out-of-state facilities
                                        • Out-of-state facilities used by CW
                                        • Documentation of out-of-state placement supervision
                                          efforts, including children and facility
                                        • Reports from out-of-state facilities
                                        • Statewide regulations and policies
                                        • Centralized statewide process or system
                                        • Policy language around confidentiality of reports
                                        • Documentation of risk or safety concerns and safety
                                          plans

                                        • National Child Abuse and Neglect Data System
                                          (NCANDS)
                                        • Statewide Automated Child Welfare Information
                                          System (SACWIS)/Comprehensive Child Welfare
                                          Information System (CCWIS)/Results Oriented
             Preliminary Data
                                          Management (ROM)
             Sources
                                        • Adoption and Foster Care Analysis and Reporting
                                          System (AFCARS)
                                        • Child and Family Services Review (CFSR)
                                        • Child and Family Services Plan (CFSP)
                                        • Annual Progress and Service Report (APSR)


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                                                                      Research Questions and Protocols



 Whether CW made progress during the identified timeframe to improve safety for
 children under CW supervision.

                                         • National Electronic Interstate Compact Enterprise
                                           (NEICE)
                                         • Public Knowledge 2016 Child Safety in Substitute
                                           Care Independent Review Final Report
                                         • Oregon Quality Assurance Reports

                                         • Meeting Agendas and Minutes
                                         • Federal Reports
             Types of Regulation,
                                         • Oregon State Reports
             Documentation, and
                                         • Oregon Non-State Reports
             Information Sources
                                         • Policies and Procedures
                                         • Regulations




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4.2        Question 2: Whether CW made progress during the
           identified timeframe to improve the agency culture.
The organizational culture at CW impacts all aspects of the child welfare system, including
perspectives on the importance of child safety, staff longevity, and the ways in which agency
leadership models the values and mission of the agency. This question addresses concerns
outlined in the pleadings regarding the influence of agency culture on the safety of children
and the delivery of services to families.

                                  Table 4.2 Research Question 2 Protocol

 Whether CW made progress during the identified timeframe to improve the agency
 culture.

                Protocol Element                         Detailed Description or List

                                         • In what ways is safety prioritized in decision making
                                           for children in substitute care?
                                         • In what ways are CW staff encouraged to speak up
                                           with safety concerns regarding children in substitute
                                           care?
                                         • Do CW staff feel comfortable raising concerns?
                                         • Do CW staff know how to escalate concerns about
                                           safety issues?
                                         • Does CW respond according to policies and
                                           procedures to maltreatment reports from children in
                                           substitute care?
             Inquiry Questions
                                         • Does CW communicate the importance of child safety
                                           for children in substitute care?
                                         • In what ways does CW advocate for a safety culture
                                           among its workforce?
                                         • Does CW use Organizational Change Management
                                           processes and structures?
                                         • In what ways do CW executives model leadership
                                           skills and behaviors?
                                         • Do CW' nondiscrimination policies include
                                           considerations of sexual orientation, gender identity,
                                           and gender expression (SOGIE)?

                                         • Document and Regulation Review
             Methods of Inquiry          • Interviews
             and Data Analysis           • Observation
                                         • Focus Groups



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 Whether CW made progress during the identified timeframe to improve the agency
 culture.

                                         • Surveys


                                         • Governor’s Office
                                         • Child Welfare (CW) Leadership
                                         • Central Office
                                         • District Managers
             Universal Participants      • Managers
                                         • Supervisors
                                         • Field Staff
                                         • Consultants
                                         • Data Representative

                                         • Interviews: representatives from the Governor’s office,
                                           and CW leadership, managers, and data staff
                                         • Focus Groups: caseworkers, supervisors, and
             Representative Sample         managers from all areas of Oregon, safety and
             of Participants               adoption consultants, and central office staff
                                           representatives
                                         • Survey: managers, supervisors, and field staff from all
                                           areas of Oregon

                                         • Confirm safety culture language in communications,
             Data Elements                 policies, procedures, and CQI processes

                                         • SACWIS/CCWIS/ROM
                                         • Public Knowledge 2016 Child Safety in Substitute
             Preliminary Data              Care Independent Review Final Report
             Sources                     • CFSP
                                         • Program Improvement Plan (PIP)
                                         • Learning Management System (LMS)

                                         • Federal Reports
             Regulation,                 • Oregon State Reports
             Documentation, and          • Policies and Procedures
             Information Sources         • Meeting Agendas and Notes
                                         • Communications (Emails, Memos)




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4.3        Question 3: Whether CW made progress during the
           identified timeframe to improve data driven decision
           making and quality of services.
Recent trends in child welfare have emphasized the importance of using data to inform and
drive decision making for children and families. This question allows us to assess how CW is
collecting and using data to support and inform the planning for children and families,
including the use of a comprehensive continuous quality improvement process.

                                  Table 4.3 Research Question 3 Protocol

 Whether CW made progress during the identified timeframe to improve data-driven
 decision-making and quality of services.

                Protocol Element                         Detailed Description or List

                                         • Does CW enter data accurately into OR-Kids?
                                         • Does CW enter data timely into OR-Kids?
                                         • Is case information entered or tracked outside of OR-
                                           Kids?
                                         • How does CW identify and document children who
                                           identify as LGBTQIA+?
                                         • Does CW have a Data Quality Plan?
                                         • Does CW follow their Data Quality Plan?
                                         • Does CW use data to inform the development of new
                                           or revised practices, policies, and procedures?
                                         • Does CW have policies and procedures in place to
                                           guide staff on how to make decisions based on data?
                                         • Does CW have policies and procedures in place to
             Inquiry Questions
                                           guide staff on improving the quality of services?
                                         • Does CW have a continuous quality improvement
                                           process that includes leadership support, leadership
                                           modeling, staff and stakeholder engagement,
                                           communication, oversight, data collection, case
                                           record reviews, and use of the findings?
                                         • Does CW engage in continuous quality improvement
                                           processes at the state, district, and county levels?
                                         • What does the CQI process look like at each level?
                                         • Does CW conduct effective evaluations of the quality
                                           of services offered by external service providers?
                                         • Does CW use the evaluations of the quality of
                                           services to improve service delivery to families?



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 Whether CW made progress during the identified timeframe to improve data-driven
 decision-making and quality of services.

                                        • Does CW utilize performance-based contracting with
                                          its external service providers?
                                        • Does CW provide training and coaching for staff on
                                          how to use data to drive decisions and improve
                                          quality of services?
                                        • Does CW have a case review system in place to
                                          inform decision making and improve the quality of
                                          services?
                                        • Does CW collaborate with service providers to share
                                          feedback from case reviews?

                                        • Interviews
                                        • Focus Groups
             Methods of Inquiry
                                        • Surveys
             and Data Analysis
                                        • Data Analysis
                                        • Document and Regulation Review

                                        • Child Welfare (CW) Leadership
                                        • Central Office
                                        • District Managers
                                        • Managers
             Universal Participants
                                        • Supervisors
                                        • Field Staff
                                        • Consultants
                                        • Data Representative

                                        • Interviews: representatives from the Governor’s office,
                                          CW leadership, managers, and data staff
                                        • Focus Groups: caseworkers, supervisors, and
             Representative Sample
                                          managers from all areas of Oregon, and central office
             of Participants
                                          staff representatives
                                        • Survey: managers, supervisors, and field staff from all
                                          areas of Oregon

                                        • % decrease in data errors or missing data in OR-Kids
                                        • List of supplemental databases
             Data Elements              • Components of the Data Quality Plan
                                        • Documentation of CQI processes
                                        • Meeting minutes




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 Whether CW made progress during the identified timeframe to improve data-driven
 decision-making and quality of services.

                                         • CFSR
                                         • Oregon Quality Assurance Reports
             Preliminary Data            • SACWIS/CCWIS/ROM
             Sources                     • Oregon DHS CW Data Quality Plan
                                         • CFSP
                                         • APSR

                                         • Oregon State Reports
             Regulation,
                                         • Federal Reports
             Documentation, and
                                         • CW Policies and Procedures
             Information Sources
                                         • Meeting Agendas and Notes




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4.4        Question 4: Whether CW made progress during the
           identified timeframe to improve foster parent
           recruitment, retention, and the support of substitute care
           providers.
The pleadings highlight a need for improvements in the support of substitute care providers,
including both foster parents and congregate care providers, beginning with recruitment and
continuing with ongoing support. This question evaluates how CW continually and consistently
supports providers, including offering sufficient training, services, and ensuring appropriate
matching of children to their placement providers.

                                  Table 4.4 Research Question 4 Protocol

 Whether CW made progress during the identified timeframe to improve foster parent
 recruitment, retention, and the support of substitute care providers.

                Protocol Element                         Detailed Description or List

                                         • Does CW recruit and retain foster parents who are
                                           able to meet the identified needs of children in
                                           substitute care?
                                         • Does CW recruit and retain appropriate child-specific
                                           providers, including kith and kin, to care for the
                                           number of children who need such placements?
                                         • Does CW maintain an appropriate number of foster
                                           homes to house the number of children who need to
                                           be placed in substitute care?
                                         • Does CW provide initial training to substitute care
                                           providers to ensure they can meet the identified
                                           needs of children?
             Inquiry Questions
                                         • Does CW provide ongoing training to substitute care
                                           providers specific to the needs of the children for
                                           whom they are caring?
                                         • Does CW adequately assess the ability of substitute
                                           care providers to ensure the appropriate care and
                                           supervision of children?
                                         • Does CW provide appropriate services and support
                                           to substitute care providers to ensure children are
                                           adequately cared for and supervised?
                                         • Does CW diligently recruit substitute care providers
                                           who reflect the ethnicity and race of children in
                                           substitute care?


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 Whether CW made progress during the identified timeframe to improve foster parent
 recruitment, retention, and the support of substitute care providers.

                                        • Does CW recruit and retain substitute care providers
                                          who can care for children who identify as LGBTQIA+?
                                        • Does CW recruit and retain substitute care providers
                                          who can care for children who are living with high
                                          needs?
                                        • How does CW oversee the contracted placements for
                                          children living with high needs?
                                        • Does CW track, at the state and local levels, the
                                          current capacity for substitute care providers?
                                        • Does CW track the skills and capabilities of substitute
                                          care providers to ensure appropriate matching for
                                          children and their placement providers?
                                        • Has CW increased reimbursement rates for substitute
                                          care providers?
                                        • Does CW prioritize the use of the least restrictive
                                          placement?
                                        • Does CW have or oversee a statewide recruitment,
                                          retention, and support plan for substitute care
                                          providers?
                                        • Does CW use data to inform their statewide
                                          recruitment, retention, and support plan for substitute
                                          care providers?
                                        • Does CW have policies and procedures for staff
                                          regarding the recruitment, retention, and support of
                                          substitute care providers?
                                        • Does CW provide training and coaching for staff on
                                          best practices for the recruitment, retention, and the
                                          support of substitute care providers?
                                        • Does CW utilize a case review process to identify
                                          lessons learned in the recruitment, retention, and the
                                          support of substitute care providers?
                                        • Does CW leadership support the recruitment,
                                          retention, and support of substitute care providers?

                                        • Interviews
                                        • Focus Groups
             Methods of Inquiry
                                        • Data Analysis
             and Data Analysis
                                        • Document and Regulation Review
                                        • Surveys




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 Whether CW made progress during the identified timeframe to improve foster parent
 recruitment, retention, and the support of substitute care providers.

                                         • Child Welfare (CW) Leadership
                                         • Central Office
                                         • District Managers
                                         • Managers
             Universal Participants
                                         • Supervisors
                                         • Field Staff
                                         • Consultants
                                         • Data Representative

                                         • Interviews: CW leadership, managers, and data staff
                                         • Focus Groups: caseworkers, supervisors, and
             Representative Sample         managers from all areas of Oregon, adoption
             of Participants               consultants, and central office staff representatives
                                         • Survey: managers, supervisors, and field staff from all
                                           areas of Oregon

                                         • Matching of Levels of Care (LOC) and Level of Need
                                           (LON)
                                         • Population of children in substitute care
                                         • Current vacancies in substitute care placements
                                         • Matching of LOC and LON
             Data Elements
                                         • Demographics of children in substitute care and of
                                           substitute care providers
                                         • Reimbursement rates for all provider types
                                         • Proportion of children in substitute care to number of
                                           foster parents

                                         • SACWIS/CCWIS/ROM
                                         • CFSP
             Preliminary Data            • APSR
             Sources                     • Oregon Quality Assurance Reports
                                         • Learning Management System (LMS)
                                         • CFSR

                                         • Federal Reports
             Regulation,
                                         • Oregon State Reports
             Documentation, and
                                         • Policies and Procedures
             Information Sources
                                         • Regulations




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4.5        Question 5: Whether CW made progress during the
           identified timeframe to improve permanence for children
           in substitute care.
Permanence is one of the three pillars of child welfare, along with safety and well-being, and is
the goal for every child in substitute care. This question addresses whether CW consistently
strives for timely permanence for every child in substitute care.

                                  Table 4.5 Research Question 5 Protocol

 Whether CW made progress during the identified timeframe to improve permanence for
 children in substitute care.

                Protocol Element                         Detailed Description or List

                                         • Does CW conduct ongoing searches for relatives of
                                           children in substitute care?
                                         • Does CW frequently use temporary placements for
                                           children in substitute care?
                                         • Does CW prioritize the placement of children with
                                           relatives?
                                         • Does CW utilize guardianships?
                                         • Has placement stability in Oregon improved?
                                         • Has time to permanence improved?
                                         • Does CW pursue termination of parental rights as
                                           required by federal law?
                                         • Does CW adequately assess prospective adoptive
             Inquiry Questions             parents to determine an appropriate match?
                                         • Does CW collaborate with the courts to ensure timely
                                           permanency hearings?
                                         • Does CW hold timely permanency reviews?
                                         • In what ways does CW make concerted efforts to
                                           achieve permanence in a timely manner?
                                         • Does CW change permanency plan goals in a timely
                                           manner according to state requirements?
                                         • Has time to the termination of parental rights (TPR)
                                           improved?
                                         • Does CW recommend placement decisions based on
                                           the identified needs and permanency plan of the
                                           child?




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 Whether CW made progress during the identified timeframe to improve permanence for
 children in substitute care.

                                        • Does CW appropriately match children to substitute
                                          care placements based on the needs of the child and
                                          the capability of the providers?
                                        • Does CW meet state requirements for using the
                                          CANS to determine the Level of Need (LON) for
                                          children in care?
                                        • Does CW meet state requirements for using the
                                          CANS to establish reimbursement rates for providers?
                                        • Does CW follow federal requirements for placement
                                          preferences for Native American or Alaska Native
                                          children?
                                        • Does CW have policies and procedures in place to
                                          facilitate improving permanence for children in
                                          substitute care?
                                        • Does CW provide training and coaching to staff on
                                          best practices for improving permanence for children
                                          in substitute care?
                                        • Does CW utilize a case review process to understand
                                          and improve barriers and strengths regarding
                                          permanence for children in substitute care?
                                        • Does CW leadership encourage improving
                                          permanence for children in substitute care?

                                        • Interviews
                                        • Focus Groups
             Methods of Inquiry
                                        • Data Analysis
             and Data Analysis
                                        • Document and Regulation Review
                                        • Surveys

                                        • Child Welfare (CW) Leadership
                                        • Central Office
                                        • District Managers
                                        • Managers
             Universal Participants
                                        • Supervisors
                                        • Field Staff
                                        • Consultants
                                        • Data Representative

             Representative Sample      • Interviews: CW leadership, managers, and data staff
             of Participants



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 Whether CW made progress during the identified timeframe to improve permanence for
 children in substitute care.

                                        • Focus Groups: caseworkers, supervisors, and
                                          managers from all areas of Oregon, adoption
                                          consultants, and central office staff representatives
                                        • Survey: managers, supervisors, and field staff from all
                                          areas of Oregon

                                        • % decrease of children in temporary placements
                                        • % of children in relative placements
                                        • Placement stability rate
                                        • Timeliness of permanency
                                        • Timeliness of reunification
                                        • Use of Trial Home Visits
             Data Elements              • Timeliness of TPR filings
                                        • Timeliness of TPR hearings
                                        • Timelines from TPR filing to termination to adoption
                                        • Disrupted adoptions
                                        • Timeliness of permanency hearings and reviews
                                        • Timeliness of TPR finalization
                                        • LON & LOC data

                                        • SACWIS/CCWIS/ROM
                                        • AFCARS
             Preliminary Data
                                        • NCANDS
             Sources
                                        • APSR
                                        • Circuit Court Juvenile Dependency Statistics

                                        • Federal Reports
             Regulation,
                                        • Oregon State Reports
             Documentation, and
                                        • Policies and Procedures
             Information Sources
                                        • Regulations




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4.6        Question 6: Whether CW made progress during the
           identified timeframe to improve permanency planning.
Permanency planning is the mechanism by which CW achieves permanence for children in
substitute care, and this question builds upon the previous one regarding the prioritization of
permanence. Here we will evaluate the extent to which CW appropriately identifies
permanency goals and urgently pursues them throughout a child’s time in substitute care.

                                  Table 4.6 Research Question 6 Protocol

 Whether CW made progress during the identified timeframe to improve permanency
 planning.

                Protocol Element                         Detailed Description or List

                                         • Does CW identify permanency goals appropriate to
                                           the needs of the child?
                                         • Does CW create permanency plans based on the
                                           identified needs of the child?
                                         • Does CW meet requirements for reviewing and
                                           updating permanency plans?
                                         • Does CW recommend changes in placement based
                                           on the identified needs and permanency plan of the
                                           child?
                                         • Does CW collaborate with families and children to
                                           identify and improve barriers regarding permanency
             Inquiry Questions             planning?
                                         • Does CW collaborate with the courts to identify and
                                           eliminate barriers regarding permanency planning?
                                         • Does CW have policies and procedures in place to
                                           guide staff on permanency planning?
                                         • Does CW provide training and coaching to staff on
                                           how to plan for permanency for children and families?
                                         • Does CW utilize a case review process to understand
                                           and improve barriers and strengths in permanency
                                           planning?
                                         • Does CW leadership advocate for improving
                                           permanency planning?

                                         • Interviews
             Methods of Inquiry          • Focus Groups
             and Data Analysis           • Surveys
                                         • Document and Regulation Review



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 Whether CW made progress during the identified timeframe to improve permanency
 planning.

                                         • Data Analysis


                                         • Central Office
                                         • District Managers
             Universal Participants      • Managers
                                         • Supervisors
                                         • Field Staff

                                         • Interviews: CW managers
                                         • Focus Groups: caseworkers, supervisors, and
             Representative Sample         managers from all areas of Oregon, and central office
             of Participants               staff representatives
                                         • Survey: supervisors and field staff from all areas of
                                           Oregon

                                         • Policy language regarding review and updating of
             Data Elements                 permanency plans

                                         • SACWIS/CCWIS/ROM
             Preliminary Data            • CFSR
             Sources                     • APSR
                                         • CFSP

                                         • Oregon State Reports
             Regulation,                 • Federal Reports
             Documentation, and          • Policies and Procedures
             Information Sources         • Regulations
                                         • Meeting Agendas and Notes




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4.7        Question 7: Whether CW made progress during the
           identified timeframe to improve individualized
           assessments for children and families.
Comprehensive assessments are crucial to understand the needs and strengths of children and
their families, and the pleadings reference various instances where such assessments were not
conducted. This question will address whether these assessments are being offered and
completed consistently for all children and their families.

                                  Table 4.7 Research Question 7 Protocol

 Whether CW made progress during the identified timeframe to improve individualized
 assessments for children and families.

                Protocol Element                         Detailed Description or List

                                         • Does CW ensure completion of safety and
                                           comprehensive assessments for all children?
                                         • Does CW ensure completion of safety and
                                           comprehensive assessments for parents?
                                         • Does CW ensure completion of safety and
                                           comprehensive assessments for foster parents?
                                         • Does CW ensure completion of contracted
                                           assessments?
                                         • Does CW have a mechanism to evaluate the provision
                                           of assessments?
                                         • Does CW identify necessary services for children
                                           based on the assessment(s)?
                                         • Does CW identify necessary services for parents
             Inquiry Questions
                                           based on the assessment(s)?
                                         • Does CW identify necessary services for substitute
                                           care providers based on the assessment(s)?
                                         • Does CW have policies and procedures in place for
                                           conducting individualized assessments for children
                                           and families?
                                         • Does CW provide training and coaching to staff in
                                           assessing individuals, including children and families?
                                         • Does CW utilize a case review process to inform and
                                           improve individualized assessments for children and
                                           families?
                                         • Does CW leadership encourage individualized
                                           assessments for children and families?



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 Whether CW made progress during the identified timeframe to improve individualized
 assessments for children and families.

                                         • Interviews
             Methods of Inquiry          • Focus Groups
             and Data Analysis           • Data Analysis
                                         • Document and Regulation Review

                                         • Central Office
                                         • District Managers
                                         • Managers
             Universal Participants      • Supervisors
                                         • Field Staff
                                         • Consultants
                                         • Data Representative

                                         • Interviews: CW training manager and data staff
                                         • Focus Groups: caseworkers, supervisors, and
             Representative Sample         managers from all areas of Oregon, and central office
             of Participants               staff representatives
                                         • Survey: supervisors and field staff from all areas of
                                           Oregon

                                         • % of cases with completed assessments in
                                           compliance with requirements.
                                         • % of cases with identified needs and services
             Data Elements
                                           provided for each of those needs.
                                         • % of cases with physical health needs assessed.
                                         • % of cases with physical health needs identified.

             Preliminary Data            • CFSR
             Sources                     • SACWIS/CCWIS/ROM

             Regulation,                 • Oregon State Reports
             Documentation, and
             Information Sources




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4.8        Question 8: Whether CW made progress during the
           identified timeframe to improve service provision that
           meets the assessed needs of children and families.
CW has access to a variety of services that can meet the needs of children and families and
lead to improved outcomes. These services must be provided based on needs identified in the
assessments discussed in the previous question. This question is focused on whether CW
provides services to children and families based specifically on the needs described in those
assessments.

                                  Table 4.8 Research Question 8 Protocol

 Whether CW made progress during the identified timeframe to improve service
 provision that meets the assessed needs of children and families.

                Protocol Element                         Detailed Description or List

                                         • Does CW maintain a sufficient capacity of substitute
                                           care placements to serve children living with high
                                           needs?
                                         • Does CW provide appropriate services to meet
                                           children’s identified needs?
                                         • Does CW provide appropriate services to meet the
                                           identified needs of children who identify as
                                           LGBTQIA+?
                                         • Does CW maintain a statewide service array that
                                           ensures their ability to meet the identified needs of
                                           children and families?
                                         • Does CW provide services and supports to the family
             Inquiry Questions
                                           throughout the duration of the case to prepare for
                                           reunification?
                                         • Does CW provide in-home services to families post-
                                           reunification to prevent re-entry into substitute care?
                                         • Does CW address the underlying conditions for
                                           removal before returning children to their parents'
                                           care?
                                         • Does CW adequately assess independent living skills?
                                         • Does CW provide services based on the assessment
                                           of a youth's independent living skills and needs?
                                         • Does CW provide services necessary to parents so
                                           they can achieve case goals?




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 Whether CW made progress during the identified timeframe to improve service
 provision that meets the assessed needs of children and families.

                                        • Does CW provide services necessary to parents to
                                          support them meeting their conditions for return?
                                        • Does CW provide services to address all physical
                                          health needs of children?
                                        • Does CW provide services to address educational
                                          needs of children?
                                        • Does CW ensure that behavioral health services are
                                          being delivered to meet case plan goals?
                                        • Has CW developed a continuum of care options for
                                          children in substitute care?
                                        • In what ways does CW provide safe spaces for youth
                                          who identify as LGBTQIA+?
                                        • In what ways does CW provide services that address
                                          sexuality, gender-based needs, and the process of
                                          coming out for LGBTQIA+ youth?
                                        • Does CW partner with the Oregon Health Authority
                                          to identify and improve systemic barriers regarding
                                          access to services?
                                        • Does CW partner with Oregon Coordinated Care
                                          Organizations to identify and improve systemic
                                          barriers regarding access to services?
                                        • Does CW have policies and procedures in place to
                                          assist staff in providing services to meet the needs of
                                          children and families?
                                        • Does CW provide training and coaching to staff on
                                          how to work with providers in delivering services to
                                          meet the needs of children and families?
                                        • Does CW utilize a case review process to inform and
                                          improve the barriers and strengths in providing
                                          services to meet the needs of children and families?
                                        • Does CW leadership advocate for providing services
                                          to meet the needs of children and families?
                                        • Does CW have a mechanism to evaluate the services
                                          provided to children and families?

                                        • Data Analysis
             Methods of Inquiry         • Document and Regulation Review
             and Data Analysis          • Focus Groups
                                        • Surveys




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 Whether CW made progress during the identified timeframe to improve service
 provision that meets the assessed needs of children and families.

                                         • Governor’s Office
                                         • Child Welfare (CW) Leadership
                                         • Central Office
                                         • District Managers
             Universal Participants      • Managers
                                         • Supervisors
                                         • Field Staff
                                         • Consultants
                                         • Data Representative

                                         • Interviews: representatives from the Governor’s office,
                                           and CW leadership, managers, and data staff
                                         • Focus Groups: caseworkers, supervisors, and
             Representative Sample
                                           managers from all areas of Oregon, consultants, and
             of Participants
                                           central office staff representatives
                                         • Survey: managers, supervisors, and field staff from all
                                           areas of Oregon

                                         • % of cases with medical and dental services being
                                           provided
             Data Elements
                                         • % of cases with a completed independent living plan
                                         • Policy language

                                         • SACWIS/CCWIS/ROM
             Preliminary Data            • CFSR
             Sources                     • NCANDS
                                         • National Youth in Transition Database (NYTD)

             Regulation,                 • Federal Reports
             Documentation, and          • Oregon State Reports
             Information Sources         • Policies and Procedures




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4.9        Question 9: Whether CW made progress during the
           identified timeframe to improve case planning.
All children are entitled to a comprehensive case plan that guides the decision-making process
throughout the period for which they are under CW supervision. To be comprehensive, this
case plan must include input from the child and their family. This question examines whether
case plans are inclusive and appropriate.

                                  Table 4.9 Research Question 9 Protocol


 Whether CW made progress during the identified timeframe to improve case planning.

                Protocol Element                         Detailed Description or List

                                         • Does CW develop comprehensive case plans with
                                           adequate detail to meet the identified needs of the
                                           child and family?
                                         • Does CW ensure that services are provided as
                                           recommended in the case plan?
                                         • Does CW meet state requirements for creating case
                                           plans?
                                         • Does CW meet state requirements for updating case
                                           plans?
                                         • Does CW adequately involve families throughout the
                                           case planning process?
                                         • Does CW adequately involve tribes throughout the
                                           case planning process?
             Inquiry Questions           • Does CW meet state requirements for completing in-
                                           home safety plans?
                                         • Does CW meet state requirements for updating in-
                                           home safety plans?
                                         • Does CW have policies and procedures in place that
                                           guide staff on case planning?
                                         • Does CW provide training and coaching for staff on
                                           best practices in case planning?
                                         • Do CW supervisors provide feedback to caseworkers
                                           on case plans?
                                         • Does CW utilize case review processes for identifying
                                           and improving barriers to case planning?
                                         • Does CW leadership advocate for improving case
                                           planning?




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 Whether CW made progress during the identified timeframe to improve case planning.

                                         • Interviews
                                         • Focus Groups
             Methods of Inquiry
                                         • Data Analysis
             and Data Analysis
                                         • Surveys
                                         • Document and Regulation Review

                                         • Central Office
                                         • District Managers
             Universal Participants
                                         • Supervisors
                                         • Field Staff

                                         • Focus Groups: caseworkers, supervisors, and
                                           managers from all areas of Oregon, and central office
             Representative Sample
                                           staff representatives
             of Participants
                                         • Survey: supervisors and field staff from all areas of
                                           Oregon

                                         • Timeliness of completion and updates of the Child
             Data Elements                 Welfare Case Plan

                                         • SACWIS/CCWIS/ROM
             Preliminary Data
                                         • APSR
             Sources
                                         • CFSP

                                         • Oregon State Reports
             Regulation,
                                         • Policies and Procedures
             Documentation, and
                                         • Regulations
             Information Sources
                                         • Federal Reports




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                                                                            Research Questions and Protocols



4.10       Question 10: Whether CW made progress during the
           identified timeframe to preserve and improve
           connections between children in substitute care and their
           families and communities.
When children are removed from their families and placed into substitute care, they experience
the trauma of removal and the trauma of separation from their siblings and parent(s). CW has a
responsibility to maintain those connections as safely and appropriately as possible, and this
question examines the extent to which CW does this consistently.

                                 Table 4.10 Research Question 10 Protocol

 Whether CW made progress during the identified timeframe to improve connections
 between children in substitute care and their families.

                Protocol Element                         Detailed Description or List

                                         • Does CW allow for sufficient and quality family
                                           interactions between children and parents to preserve
                                           family connections?
                                         • Does CW facilitate sufficient family interaction to
                                           prepare parents and children for reunification?
                                         • Does CW maintain the child’s connections to their
                                           community, faith, extended family, tribe, and school?
                                         • Does CW facilitate contact between children and
                                           their siblings in accordance with the Family Support
                                           Services Case Plan?
                                         • Does CW prioritize placing siblings together when
                                           possible and appropriate?
             Inquiry Questions           • Does CW have policies and procedures in place for
                                           staff for facilitating connections between children in
                                           substitute care and their families?
                                         • Does CW have policies and procedures in place for
                                           facilitating connections to a child’s community, faith,
                                           extended family, tribe, and school?
                                         • Does CW have policies and procedures in place for
                                           placing sibling together or facilitating connections
                                           with siblings?
                                         • Does CW provide training and coaching for staff on
                                           best practices for maintaining connections with
                                           children, their families (including siblings), and their
                                           community, faith, extended family, tribe, and school?


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                                                                       Research Questions and Protocols



 Whether CW made progress during the identified timeframe to improve connections
 between children in substitute care and their families.

                                         • Does CW utilize a case review process that informs
                                           and improves connections with children, their families
                                           (including siblings), and their community, faith,
                                           extended family, tribe, and school?
                                         • Does CW leadership encourage improving
                                           connections between children in substitute care and
                                           their families?

                                         • Interviews
                                         • Focus Groups
             Methods of Inquiry
                                         • Surveys
             and Data Analysis
                                         • Data Analysis
                                         • Document and Regulation Review

                                         • Central Office
                                         • District Managers
             Universal Participants
                                         • Supervisors
                                         • Field Staff

                                         • Focus Groups: caseworkers, supervisors, and
                                           managers from all areas of Oregon, and central office
             Representative Sample
                                           staff representatives
             of Participants
                                         • Survey: supervisors and field staff from all areas of
                                           Oregon

                                         • % of cases with quality visits documented
                                         • % of cases with documented reunification visits,
                                           confirmation of policy requirements
             Data Elements               • % of cases with documented connections to child’s
                                           community of origin (community, faith, extended
                                           family, tribe, and school)
                                         • % of cases with regular visitation with siblings

             Preliminary Data            • SACWIS/CCWIS/ROM
             Sources                     • CFSR

             Regulation,                 • Oregon State Reports
             Documentation, and
             Information Sources




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4.11       Question 11: Whether CW made progress during the
           identified timeframe to improve staffing resources.
The pleadings identify a concern regarding the ability of CW to maintain a workforce that is
fully able to meet the needs of children and families under their supervision. This includes
retaining an adequate number of staff to work with children and families as well as ensuring
caseloads are manageable. This question addresses the concerns regarding resources for the
child welfare workforce.

                                 Table 4.11 Research Question 11 Protocol

 Whether CW made progress during the identified timeframe to improve
 staffing resources.

                Protocol Element                         Detailed Description or List

                                         • Does CW retain enough staff to adequately serve the
                                           children and families in CW custody?
                                         • Does CW provide support to its workforce to prevent
                                           staff turnover?
                                         • Does CW regulate caseloads for caseworkers to
                                           ensure they can meet the needs of children and
                                           families under their supervision?
                                         • Does CW meet state requirements in recruiting
             Inquiry Questions             qualified caseworkers?
                                         • Does CW adequately train caseworkers prior to their
                                           direct work with families?
                                         • Does CW adequately train caseworkers on an
                                           ongoing basis?
                                         • How does CW track training provided to
                                           caseworkers?
                                         • In what ways does CW provide adequate supervision
                                           to child welfare caseworkers and middle managers?

                                         • Interviews
                                         • Surveys
             Methods of Inquiry
                                         • Data Analysis
             and Data Analysis
                                         • Focus Groups
                                         • Document and Regulation Review

                                         • Governor’s Office
             Universal Participants      • Child Welfare (CW) Leadership
                                         • Central Office



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 Whether CW made progress during the identified timeframe to improve
 staffing resources.

                                         • District Managers
                                         • Supervisors
                                         • Field Staff
                                         • Consultants
                                         • Data Representative

                                         • Interviews: representatives from the Governor’s office,
                                           and CW leadership, managers, and data staff
                                         • Focus Groups: caseworkers, supervisors, and
             Representative Sample
                                           managers from all areas of Oregon, consultants, and
             of Participants
                                           central office staff representatives
                                         • Survey: supervisors and field staff from all areas of
                                           Oregon

                                         • Number of children in care
                                         • Number of caseworkers statewide
                                         • % of staff turnover
             Data Elements
                                         • Reasons for caseworker attrition
                                         • Caseworker caseload size
                                         • Training completion rates

             Preliminary Data            • SACWIS/CCWIS/ROM
             Sources                     • Learning Management System (LMS)

                                         • Oregon State Reports
             Regulation,
                                         • Communications (Emails, Memos)
             Documentation, and
                                         • Policies and Procedures
             Information Sources
                                         • Regulations




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5       Methodology
The methodology for this review includes establishing the assessment scope, establishing the
inquiry protocol, collecting data, establishing variables and assumptions, analyzing data,
identifying themes, handling unexpected or adverse events, and reporting of findings or
conclusions.

A summary of steps for conducting the assessment is shown in Figure 5.1 and described in the
following subsections.

                                   Figure 5.1 Assessment Methodology




5.1        Establish the Assessment Scope
The purpose of this assessment is to conduct a thorough independent review of the Oregon
Governor’s Office and CW policies, procedures, leadership, and data, and document any
progress CW has made to implement recommendations or address concerns through
identifiable and credible strategies and processes since the 2016 Child Safety in Substitute
Care Final Report. In addition to documenting progress, instances will be noted where efforts
have been made to improve but have not been successful enough to result in progress. This
could include implementation of new interventions or initiatives that have not been in place
long enough to gather substantive data regarding efficacy or success.

The scope of the review includes the child welfare system that serves all children under CW
supervision, with particular focus on children in substitute care and those included in the
subclasses identified in the pleadings.


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5.2        Establish the Inquiry Protocol
During this step the review team developed the research protocol and its components. We
followed our Seven Element Inquiry Protocol model, including drafting Research Questions and
Inquiry Questions, and identifying Methods of Inquiry, Universal Participants, Representative
Sample of Participants, Data Elements, Data Sources, and Regulation, Documentation, and
Information Sources. See Figure 3.1 in Section 3.

5.3        Collect Data
We will collect data through multiple methods and from various sources, listed below.

Qualitative Data

The assessment process will include gathering qualitative data from various sources, which may
include:

•   Interviews. The Public Knowledge team will conduct individual interviews with key
    participants to gather their perspectives on progress made since 2016. Two Public
    Knowledge team members will conduct interviews: one to conduct the interview according
    to the interview protocol and one to take notes.
•   Focus Groups. Two Public Knowledge team members will conduct focus groups: one to ask
    questions according to the focus group protocol and one to record responses. We will
    record notes, aggregate the data, and identify and analyze themes.
•   Surveys. The Public Knowledge team will administer online surveys to collect information
    from various stakeholder groups. The surveys will include both quantitative and qualitative
    data. We will share draft survey questions with our client to ensure that the survey
    methodology respects access to the survey tool, cultural sensitivity, and employs the most
    effective method of gathering information for each stakeholder group. The review team will
    use common industry standards and non-clinical human subject review guidelines for data
    collection activities.
•   Document Review. The Public Knowledge team will review relevant documents, such as
    policies, procedures, and regulations to research progress made regarding establishing
    expectations to improve various aspects of the child welfare system.

Quantitative Data

The assessment will include gathering quantitative data from various sources, which may
include:

•   Child and Family Services Review (CFSR) Results
•   Program Improvement Plan (PIP)


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•   OR-Kids, Oregon’s child welfare case management system
•   National Child Abuse and Neglect Data System (NCANDS)
•   Adoption and Foster Care Analysis and Reporting System (AFCARS)
•   National Electronic Interstate Compact Enterprise (NEICE)
•   National Youth in Transition Database (NYTD)
•   Annual Progress and Service Report (APSR)
•   Child and Family Services Plan (CFSP)
•   Statewide Automated Child Welfare Information System (SACWIS)
•   Comprehensive Child Welfare Information System (CCWIS)
•   Results Oriented Management (ROM) Project
•   Program Improvement Plan (PIP)
•   Learning Management System (LMS)

Data will be gathered and analyzed quarterly from quarter four of 2016 to present day.

5.4        Establish Variables and Assumptions
The process of data collection and analysis includes establishing variables and assumptions
that may impact the outcomes of the analyses. Variables include factors that may explain
discrepancy potential in data or research. For instance, data collected from federal sources is
only as accurate as the data received from states. There may also be variables within the data
reported from different areas of the state if differing data collection or entry methods exist. We
will also make assumptions about the data, including that the data is the most current and
accurate data available, and that participants will share information to inform the assessment as
accurately as possible.

5.5        Analyze Data
We will analyze data based on best and promising practices, as well as the Public Knowledge
team's child welfare experience. The data analyzed will all be directly connected to answering
the research questions, and the Public Knowledge team will ensure that confidentiality is
maintained, the data is presented as themes, and the data maintains cultural sensitivity.

Specifically, the analysis will combine qualitative and quantitative data to provide a
comprehensive view of the progress made since 2016.

Qualitative Data Analysis

Qualitative data analysis will adhere to non-clinical qualitative research standards and ethics:




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•   Data analysis will protect the confidentiality of all participants.
•   Data will be aggregated across participants and presented as themes.
•   Data collection and analysis will employ culturally competent methods and awareness,
    wherever possible.

Once qualitative data is collected from interviews, focus groups, surveys, and document
review, we will analyze the results. The purpose of the qualitative analysis is to identify progress
and improvements, uncover insights and understand the scope of the changes over the past
four years. If additional topics are identified, those will also be analyzed.

Quantitative Data Analysis

The Public Knowledge team will analyze relevant quantitative data, in addition to trends
identified in the data. We will include existing analyses from sources as available.

5.6        Themes
Themes and data results will be summarized and documented in relation to each of the
research questions.

5.7        Handling of Unexpected or Adverse Events
This includes any necessary statements for circumstances or events that may impact the work
being completed or data and research being evaluated. For instance, COVID-19 may impact
the ability to interact with interview, focus group, and survey participants as noted in Section
1.1.2, above.

5.8        Report Findings
Findings will be based on qualitative and quantitative data analyses and perceptions.




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Appendix A: Key Terms
These definitions clarify the meaning of operative terms included in the research questions,
inquiry questions, and throughout the methodology. Sources are included for reference. Where
possible we used a definition from Oregon CW policy or Oregon statute. Those definitions
attributed to Public Knowledge indicate that our team developed a definition based on our
experience and expertise.

       Term                                 Definition                                Source

 Abuse [Can also     Abuse: (a) For purposes of screening a report of           http://www.dhs.sta
 refer to            “abuse” of a child subject to ORS 419B.005,                te.or.us/caf/safety_
 Maltreatment or     “abuse” means any of the following, except that            model/procedure_
 Neglect]            “abuse” does not include reasonable discipline             manual/Oregon-
                     unless the discipline results in one of the conditions     DHS-Child-
                     described in this subsection.                              Welfare-
                     • Mental Injury. Any mental injury to a child, which       Procedure-
                       includes only observable and substantial                 Manual.pdf#page
                       impairment of the child’s mental or psychological        =1814
                       ability to function caused by cruelty to the child,
                       with due regard to the culture of the child.
                     • Neglect. (i) Negligent treatment or maltreatment
                       of a child, including, but not limited to, the failure
                       to provide adequate food, clothing, shelter, or
                       medical care that is likely to endanger the health
                       or welfare of the child.
                       (ii) Buying or selling a person under 18 years of
                       age as described in ORS 163.537. (iii) Permitting a
                       person under 18 years of age to enter or remain
                       in or upon premises where methamphetamines
                       are being manufactured. (iv) Unlawful exposure to
                       a controlled substance, as defined in ORS
                       475.005, or to the unlawful manufacturing of
                       a cannabinoid extract, as defined in ORS
                       475B.015, that subjects a child to a substantial risk
                       of harm to the child’s health or safety.
                     • Physical Abuse. Any assault, as defined in ORS
                       chapter 163, of a child and any physical injury to a
                       child which has been caused by other than
                       accidental means, including any injury which
                       appears to be at variance with the explanation
                       given for the injury.


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       Term                                 Definition                              Source

                     • Sexual Abuse. (i) Rape of a child, which includes,
                       but is not limited to, rape, sodomy, unlawful
                       sexual penetration and incest, as described in
                       ORS chapter 163. (ii) Sexual abuse, as described
                       in ORS chapter 163. (iii) Sexual exploitation,
                       including, but not limited to: (I) Contributing to
                       the sexual delinquency of a minor, as defined in
                       ORS chapter 163, and any other conduct which
                       allows, employs, authorizes, permits, induces, or
                       encourages a child to engage in the performing
                       for people to observe or the photographing,
                       filming, tape recording, or other exhibition which,
                       in whole or in part, depicts sexual conduct or
                       contact, as defined in ORS 167.002 or described
                       in ORS 163.665 and 163.670, sexual abuse
                       involving a child or rape of a child, but not
                       including any conduct which is part of any
                       investigation conducted pursuant to ORS
                       419B.020 or which is designed to serve
                       educational or other legitimate purposes; and (II)
                       Allowing, permitting, encouraging, or hiring a
                       child to engage in prostitution as described in
                       ORS 167.007 or a commercial sex act as defined
                       in ORS 163.266, to purchase sex with a minor as
                       described in ORS 163.413 or to patronize a
                       prostitute as described in ORS 167.008.
                     Threat of harm to a child, which means subjecting a
                     child to a substantial risk of harm to the child’s
                     health or welfare. (b) For purposes of screening a
                     report of abuse of a child or young adult living in a
                     home certified by Child Welfare or ODDS, unless
                     the abuse alleged is familial, “abuse” means any of
                     the following: (A) Abandonment, including desertion
                     or willful forsaking of a child or young adult, or the
                     withdrawal or neglect of duties and obligations
                     owed a child or young adult by a home certified by
                     Child Welfare or ODDS, a caregiver, or other
                     person. (B) Financial exploitation. (i) Financial
                     exploitation includes: (I) Wrongfully taking the
                     assets, funds, or property belonging to or intended



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       Term                                 Definition                                   Source

                     for the use of a child or young adult. (II) Alarming a
                     child or young adult by conveying a threat to
                     wrongfully take or appropriate moneys or property
                     of the child or young adult if the child would
                     reasonably believe that the threat conveyed would
                     be carried out. (III) Misappropriating, misusing, or
                     transferring without authorization any moneys from
                     any account held jointly or singly by a child or
                     young adult. (IV) Failing to use the income or assets
                     of a child or young adult effectively for the support
                     and maintenance of the child or young adult. (ii)
                     Financial exploitation does not include age-
                     appropriate discipline that may
                     involve the threat to withhold, or the withholding of
                     privileges. (C) Involuntary seclusion. Involuntary
                     seclusion means confinement of a child or young
                     adult alone in a room from which the child or young
                     adult is physically prevented from leaving. (i)
                     Involuntary seclusion includes: (I) Involuntary
                     seclusion of a child or young adult for the
                     convenience of a home certified by Child Welfare or
                     ODDS or a caregiver; (II) Involuntary seclusion of a
                     child or young adult to discipline the child or young
                     adult; (ii) Involuntary seclusion does not include age-
                     appropriate discipline, including but not limited to a
                     time-out. (D) Neglect, which includes: (i) Failure to
                     provide the care, supervision, or services necessary
                     to maintain the physical and mental health of a child
                     or young adult; or (ii) The failure of a home certified
                     by Child Welfare or ODDS, a caregiver, or other
                     person to make a reasonable effort to protect a
                     child or young adult from abuse. (E) Physical abuse,
                     which includes: (i) Any physical injury to a child or
                     young adult caused by other than accidental means,
                     or that appears to conflict with the explanation
                     given of the injury; or (ii) Willful infliction of physical
                     pain or injury upon a child or young adult.

 Accepted            We use the following accepted professional                     Public Knowledge
 Professional        standards for the definitions in this document and
 Standards           the research questions:


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         Term                                  Definition                                    Source

                       • Oregon Department of Human Services
                       • Department of Health and Human Services,
                         Administration for Children and Families,
                         Children’s Bureau
                       • Onsite Service Review Instrument 2016 (OSRI)
                         from the Child and Family Service Reviews (CFSR)
                       • Child Welfare Information Gateway

    Address            To direct to the attention of; to take action.                 Public Knowledge

    Adequately         Meeting minimum standards or requirements.                     Public Knowledge

    Adoption           A legal or administrative process that establishes a           http://www.dhs.sta
                       permanent legal parent-child relationship between a            te.or.us/caf/safety_
                       child and an adult who is not already the child’s              model/procedure_
                       legal parent and terminates the legal parent-child             manual/Oregon-
                       relationship between the adopted child and any                 DHS-Child-
                       former parent.                                                 Welfare-
                                                                                      Procedure-
                                                                                      Manual.pdf -
                                                                                      page=1816 1

    Agency Culture     Values and behaviors that contribute to the social             Public Knowledge
                       and psychological environment of CW, including the             (adapted from:
                       five CW core values of integrity, stewardship,                 https://www.dhs.st
                       responsibility, respect, and professionalism.                  ate.or.us/tools/ne
                                                                                      ws/results/2006/20
                                                                                      06_04.pdf)

    Appropriate        Suitable or proper for the circumstances based on              Public Knowledge
                       best practice guidelines, CW policies, or federal
                       expectations.

    Assess             To collect information to inform decision making               https://www.child
                       about a child, youth, or family.                               welfare.gov/topics
                                                                                      /systemwide/asses
                                                                                      sment/overview/te
                                                                                      rms/




1
 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 3/1/2021. All references to the
Child Welfare Procedure Manual refer to the version with the stated date.


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       Term                                 Definition                               Source

 Barriers            Obstacles to achieving intended outcomes. These           Public Knowledge
                     can exist at the individual level, such as preventing
                     or delaying permanence for a child, or at the
                     organizational or system level, which result in
                     policies or procedures that prevent populations of
                     children and families receiving services to achieve
                     intended outcomes.

 Basic Needs         Fundamental necessities including food, water,            Public Knowledge
                     clothing, and shelter, as well as sanitation,
                     education, and healthcare.

 Behavioral          A program that provides services and placement-           https://www.orego
 Rehabilitation      related activities to the BRS client to address their     n.gov/oha/HSD/O
 Services (BRS)      debilitating psychosocial, emotional, and behavioral      HP/Policies/170-
                     disorders in a community placement utilizing either       0020-092120.pdf
                     a residential care model or a proctor care model.
                     Note: Child Caring Agencies (CCAs) can also be
                     licensed to provide BRS services, and many are, but
                     they are not synonymous.

 Case Plan [Can      A written, goal-oriented, and time-limited                http://www.dhs.sta
 also refer to the   individualized plan for the child and the child’s         te.or.us/caf/safety_
 Child Welfare       family, developed by the agency and the parents or        model/procedure_
 Case Plan, Case     guardians, to achieve the child’s safety,                 manual/Oregon-
 Planning or         permanency, and well-being.                               DHS-Child-
 Individualized                                                                Welfare-
 Service                                                                       Procedure-
 Planning]                                                                     Manual.pdf -
                                                                               page=1819

 Caseload [Can       Individuals (usually a child) for whom a social worker    Public Knowledge
 also refer to       is responsible in a given time period, as expressed
 Case(s)]            in a ratio of clients to staff members.

 Caseworker(s)       A child welfare employee assigned primary                 http://www.dhs.sta
                     responsibility for a child or young adult served by       te.or.us/caf/safety_
                     child welfare.                                            model/procedure_
                                                                               manual/Oregon-
                                                                               DHS-Child-
                                                                               Welfare-
                                                                               Procedure-


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       Term                                 Definition                                  Source

                                                                                Manual.pdf -
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 Centralize          To bring together into one location.                       Public Knowledge

 Certification       Regulations in each state, for foster parents and          https://www.child
 and Licensing       providers, that ensure children are cared for in           welfare.gov/glossa
 Standards           physically and developmentally safe environments.          ry/glossaryl/

 Certified Family    An individual or individuals who hold a current            http://www.dhs.sta
 [Can also refer     Certificate of Approval from the Department to             te.or.us/policy/chil
 to CW Certified     operate a home to provide care, in the home in             dwelfare/manual_1
 Foster Home]        which the individual or individuals reside, to a child     /division_200.pdf
                     or young adult in the care or custody of the
                     Department.

 Child [Can also     A person under 18 years of age, or a person under          https://www.orego
 refer to            21 years of age if the Department of Human                 nlegislature.gov/bi
 Children or         Services determines that the person has a mental or        lls_laws/ors/ors418
 Youth]              physical disability that warrants the continuation of      .html (§418.330)
                     assistance.

 Child and           The CANS is a decision-making tool to determine            https://praedfound
 Adolescent          level of care and service planning, and to monitor         ation.org/tools/the
 Needs and           service outcomes.                                          -child-and-
 Strengths                                                                      adolescent-needs-
 (CANS) Tool         In Oregon, the CANS is used to determine the Level         and-strengths-
                     of Need (LON) for children in substitute care and to       cans/
                     determine reimbursement rates for substitute care
                     providers.

 Child Caring        Any private school, private agency, private                https://www.orego
 Agency (CCA)        organization or county program providing: Day              nlaws.org/ors/418.
 [Can also refer     treatment for children with emotional disturbances;        205
 to Institution or   Adoption placement services; Residential care,
 Residential         including but not limited to foster care or residential
 Facility]           treatment for children; Residential care in
                     combination with academic education and
                     therapeutic care, including but not limited to
                     treatment for emotional, behavioral or mental health
                     disturbances; Outdoor youth programs; or Other




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       Term                                 Definition                                 Source

                     similar care or services for children. It includes the
                     following: A shelter-care home that is not a foster
                     home subject to ORS 418.625 to 418.645; An
                     independent residence facility as described in ORS
                     418.475; A private residential boarding school; and
                     A child-caring facility as defined in ORS 418.950. It
                     does not include: Residential facilities or foster care
                     homes certified or licensed by the Department of
                     Human Services under ORS 443.400 to 443.455,
                     443.830 and 443.835 for children receiving
                     developmental disability services; Any private
                     agency or organization facilitating the provision of
                     respite services for parents pursuant to a properly
                     executed power of attorney under ORS 109.056.
                     For purposes of this subparagraph, “respite
                     services” means the voluntary assumption of short-
                     term care and control of a minor child without
                     compensation or reimbursement of expenses for the
                     purpose of providing a parent in crisis with relief
                     from the demands of ongoing care of the parent’s
                     child; A youth job development organization as
                     defined in ORS 344.415; A shelter-care home that is
                     a foster home subject to ORS 418.625 to 418.645; A
                     foster home subject to ORS 418.625 to 418.645; A
                     facility that exclusively serves individuals 18 years of
                     age and older; or A facility that primarily serves both
                     adults and children but requires that any child must
                     be accompanied at all times by at least one
                     custodial parent or guardian.

 CPS                 An investigation into a report of abuse pursuant to         http://www.dhs.sta
 Assessment          ORS 419B.020 or ORS 418.258 that includes                   te.or.us/caf/safety_
                     activities and interventions to identify and analyze        model/procedure_
                     safety threats, determine if there is reasonable            manual/Oregon-
                     cause to believe abuse occurred, and assure safety          DHS-Child-
                     through protective action plans, initial safety plans,      Welfare-
                     or ongoing safety planning.                                 Procedure-




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       Term                                 Definition                               Source

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 CPS Case            The process of a CPS caseworker terminating the           http://www.dhs.sta
 Closure             ongoing safety plan by ensuring all case notes are        te.or.us/caf/safety_
                     completed, the case file is in order and ready for        model/procedure_
                     filing, all services to the family have been closed,      manual/Oregon-
                     and completing the case closure narrative in the          DHS-Child-
                     child welfare electronic information system.              Welfare-
                                                                               Procedure-
                                                                               Manual.pdf -
                                                                               page=557

 Children in Care    Children, youth, and young adults who are in the          Public Knowledge
                     custody and supervision of Oregon CW and living in        and Oregon CW
                     substitute care.

 Children Living     Children and youth with cognitive, behavioral,            Oregon
 with High           and/or mental health issues. Children and young           Department of
 Needs [Can also     adults with high needs may require “intensive”            Human Services,
 refer to            authorized levels of care, which dictates the amount      Office of Child
 Child(ren) with     of payments for care; challenging diagnoses,              Welfare
 Disabilities,       behaviors, and other characteristics where
 High Needs]         placements disrupt frequently and require new
                     placements frequently.


 Children Who        Refers to a child who identifies as Lesbian, Gay,         Public Knowledge
 Identify as         Bisexual, Transgender, Queer, Intersex, Asexual,
 LGBTQIA+            and includes those who may not identify with these
                     terms and may use other words to describe
                     themselves (LGBTQIA+).
                                                                               http://www.dhs.sta
                     The Oregon CW Child Welfare Procedures Manual
                                                                               te.or.us/caf/safety_
                     states that every person has a sexual orientation,
                                                                               model/procedure_
                     gender identity and expression (SOGIE) and they
                                                                               manual/Oregon-
                     may be congruent or completely different. Some
                                                                               DHS-Child-
                     children and young adults with diverse SOGIE may
                                                                               Welfare-
                     identify as lesbian, gay, bisexual or transgender, and
                                                                               Procedure-
                     some may be questioning their sexual orientation or
                                                                               Manual.pdf -
                     gender identity (LGBTQ). Other youth may not
                                                                               page=1013
                     identify with these terms and may use other words



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       Term                                 Definition                                 Source

                     to describe themselves including but not limited to
                     non-binary, genderqueer, gender fluid, gender
                     expansive, agender, gender diverse, two-spirit,
                     queer, asexual, pansexual, etc. For this reason, there
                     are various permutations of acronyms used in
                     conversation and written materials to reflect
                     diversity of SOGIE. The acronyms SOGIE or
                     LGBTQ+ will be used.

 Concerted           Cooperative and directive planning toward a                 Public Knowledge
 Effort              mutually agreed upon goal.

 Concurrent          A case planning approach that involves considering          https://www.child
 Planning            all reasonable options for permanency at the earliest       welfare.gov/glossa
                     possible point following a child's entry into foster        ry/glossaryc/
                     care and simultaneously pursuing those that will
                     best serve the child's needs. Typically, the primary
                     plan is reunification with the child's family of origin.
                     This primary plan and an alternative permanency
                     goal are pursued at the same time, with full
                     knowledge of all case participants. Concurrent
                     planning seeks to eliminate delays in attaining
                     permanency for children.

 Conditions for      Conditions in which CW and law enforcement have             ORS 419B.150
 Removal             established that a child is in imminent threat of
                     severe harm and use their authority to remove a
                     child from home.

 Conditions for      A written statement of the specific behaviors,              http://www.dhs.sta
 Return              conditions, or circumstances that must exist within a       te.or.us/caf/safety_
                     child’s home before a child can safely return and           model/procedure_
                     remain in the home with an in-home ongoing safety           manual/Oregon-
                     plan.                                                       DHS-Child-
                                                                                 Welfare-
                                                                                 Procedure-
                                                                                 Manual.pdf -
                                                                                 page=469

 Connections         Proximity to the child’s biological family, including       Oregon
                     siblings and the child’s school. Connections that           Department of
                     should be considered include school, church,                Human Services,



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       Term                                 Definition                                Source

                     culture, community, and other significant people in        Office of Child
                     the child’s life who are important to the child’s well-    Welfare
                     being.

 Contacts [Can       Any communication between Child Welfare staff              http://www.dhs.sta
 also refer to       and a child, young adult, parent or guardian, foster       te.or.us/caf/safety_
 Caseworker          parent or relative caregiver, provider, or other           model/procedure_
 Contacts]           individual involved in a Child Welfare safety plan or      manual/Oregon-
                     case. “Contact” includes, but is not limited to,           DHS-Child-
                     communication in person, by telephone, by                  Welfare-
                     videoconferencing, or in writing. “Contact” may            Procedure-
                     occur, for instance, during a face-to-face visit; a        Manual.pdf -
                     treatment review meeting for a child, young adult,         page=1821
                     parent, or guardian; a court or Citizen Review Board
                     hearing; or a family meeting.

 Continuous          A strength-based process that relies on teamwork to        https://www.orego
 Quality             improve processes, services and outcomes. It is an         n.gov/oha
 Improvement         ongoing cycle of collecting data and then testing,
 (CQI)               implementing, learning from, and revising solutions.

 Continuum of        Provides ongoing services for children in substitute       https://www.child
 Care                care from entry to exit. The goal of this approach is      welfare.gov/topics
                     to use the most appropriate and least restrictive          /outofhome/foster-
                     interventions, both in and out of the home, while          care/achieving-
                     ensuring that safety issues and needs are                  continuum/
                     addressed.

 Courtesy            Supervision provided when a child is placed outside        http://www.dhs.sta
 Supervision         the county or state where the presenting issue             te.or.us/caf/safety_
 [Can also refer     originated. Courtesy supervision is provided by a          model/procedure_
 to Cross-County     caseworker in the receiving county or state, and           manual/Oregon-
 Supervision or      should address the child’s ongoing safety and well-        DHS-Child-
 Inter-County        being, and the reports should include dates and            Welfare-
 Case Work]          locations of face-to-face contact as well as updates       Procedure-
                     concerning the child’s education, medical/ mental          Manual.pdf -
                     health services, and assessment of the child’s living      page=671
                     environment.
                     Cross-county case supervision refers to when one or
                     more counties is providing ongoing case




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       Term                                 Definition                               Source

                     management services for a county who holds
                     primary jurisdiction over the case.

 Critical Incident   An incident that resulted in the death of a child if      https://oregon.pu
                     the Department reasonably believes the death was          blic.law/rules/oar_
                     the result of child abuse and:                            413-017-0050
                     (a) The deceased child was in the custody of the
                     Department at the time of the fatality; or
                     (b) The deceased child, the deceased child’s sibling,
                     or any other child living in the household with the
                     deceased child was the subject of a CPS
                     assessment by the Department within the 12
                     months preceding the fatality; or
                     (c) The child, the child’s sibling, or any
                     other child living in the household with the child had
                     a pending child welfare or adoption case with the
                     Department within the 12 months preceding the
                     fatality; or
                     (d) The deceased child, the deceased child’s sibling,
                     or any other child living in the household with the
                     deceased child was the subject of a report
                     of abuse made to the Department or a law
                     enforcement agency within the 12 months
                     preceding the fatality, whether the report
                     of abuse was closed at screening or assigned
                     for CPS assessment.
                     A fatality or serious injury where child abuse or
                     neglect is suspected; an event or situation which is
                     highly concerning, may pose a potential liability, is
                     of emerging public or media interest or represents
                     an interest of security; any other incident
                     designated by the CW Director.

 Data Integrity      Validity of data over the entire life cycle.              Public Knowledge
 and Accuracy

 Data Driven         Decision makers using objective information to            https://www.orego
 Decision Making     improve outcomes for the people they serve.               n.gov/dhs/ORRAI/
                                                                               Documents/Beco



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       Term                                 Definition                               Source

                                                                               ming-Data-
                                                                               Informed-
                                                                               Organization.pdf

 Data Quality        The comprehensive, purposeful, and iterative efforts      https://www.acf.hh
 Plan                taken by Title IV-E agencies to ensure the reliability    s.gov/sites/default
                     and fitness of data for use as intended in the            /files/cb/ccwis_dat
                     support of child welfare policies, goals, and             a_quality_plans_pr
                     practices. The agency must develop, implement,            esentation.pdf
                     and maintain a data quality plan in a manner
                     prescribed by the Administration for Children and
                     Families and include it as part of Annual or
                     Operational APDs.

 Diligent Relative   The ongoing identification and contact with a child’s     Public Knowledge
 Search              relatives and persons with a caregiver relationship       and Oregon CW
                     for the purposes of establishing ongoing
                     connections and supports for families and placing a
                     child with his or her relatives on a temporary or
                     permanent basis. Diligent relative search may begin
                     as early as the CPS assessment and continues
                     throughout provision of ongoing services.

 Effective           Producing an intended result or outcome.                  Public Knowledge

 Evaluation          Determining the quality of something.                     Public Knowledge

 Face-to-Face        An in-person interaction between individuals.             http://www.dhs.sta
 Contact                                                                       te.or.us/caf/safety_
                                                                               model/procedure_
                                                                               manual/Oregon-
                                                                               DHS-Child-
                                                                               Welfare-
                                                                               Procedure-
                                                                               Manual.pdf -
                                                                               page=1825

 Family              Including families in all aspects of decision making      http://www.dhs.sta
 Engagement          through a collaborative and partnering process of         te.or.us/caf/safety_
                     engagement. The intent of family engagement is to         model/procedure_
                     assist families in keeping their children safe and        manual/Oregon-
                     thriving in their communities.                            DHS-Child-



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       Term                                 Definition                                   Source

                                                                                   Welfare-
                                                                                   Procedure-
                                                                                   Manual.pdf -
                                                                                   page=291

 Family              "Child-family contact" means communication                    OAR 413-070-
 Interaction         between the child or young adult and family and               0000(16)
                     includes, but is not limited to, visitation with the
                     child or young adult, participation in the child or
                     young adult's activities, and appointments, phone
                     calls, email, and written correspondence.
                     • Contact between birth relatives, as defined under
                       ORS 109.305, and the child or young adult in
                       substitute care. Source: OAR 413-120-0000(12)
                     • [M]aintain family relationships and cultural
                       connections with the child or young adult in
                       substitute care. Source: OAR 413-070-0060(4)
                     • See also OAR 413-070-0072

 Federal             A background check completed by the Background                https://www.orego
 Background          Check Unit (BCU), who provide background check                n.gov/dhs/BUSINE
 Checks              services and support to all CW and Oregon Health              SS-
                     Authority (OHA) divisions for employment purposes,            SERVICES/CHC/Pa
                     for those who provide services or seek to provide             ges/index.aspx
                     services as a contractor, subcontractor, vendor or
                     volunteer, or are employed by qualified entities that
                     provide care and are licensed, certified, registered
                     or otherwise regulated by CW or OHA. The checks
                     search for crimes prosecuted at a federal level.

 Foster Care         24-hour substitute care for children placed away              http://www.dhs.sta
                     from their parents or guardians and for whom the              te.or.us/caf/safety_
                     Department, or another public agency, has                     model/procedure_
                     placement and care responsibility. This includes but          manual/Oregon-
                     is not limited to placements in foster homes, foster          DHS-Child-
                     homes of relatives, group homes, emergency                    Welfare-
                     shelters, residential facilities, child-care institutions,    Procedure-
                     and pre-adoptive homes. A child or young adult is             Manual.pdf -
                     in foster care in accordance with this definition             page=1826
                     regardless of whether the foster care facility is
                     licensed, and payments are made by the



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                     Department or local agency responsible for the care
                     of the child, whether adoption subsidy payments
                     are being made prior to the finalization of the
                     adoption or whether there is federal matching of
                     any payments that are made.

 Foster Parent(s)    A person who operates a home that has been                 http://www.dhs.sta
                     approved by the Department to provide care for an          te.or.us/caf/safety_
                     unrelated child or young adult placed in the home          model/procedure_
                     by the Department.                                         manual/Oregon-
                     Please also refer to definition for Relative Caregiver,    DHS-Child-
                     below.                                                     Welfare-
                                                                                Procedure-
                                                                                Manual.pdf -
                                                                                page=1826

 Frequency of        The cadence of family interaction for a child in           Public Knowledge
 Visits              substitute care and may be with their parents,             and Oregon CW
                     siblings and/or relatives.

 Guardianship        A guardian is someone who is appointed by a court          https://www.courts
                     to protect and care for the health and well-being of       .oregon.gov/progr
                     an incapacitated person, or a minor child. A petition      ams/family/guardia
                     must be filed with the appropriate court, and notice       nship-
                     given to all interested persons.                           conservatorship/Pa
                                                                                ges/default.aspx

 Identified          Areas of concern or areas needing improvement              Public Knowledge
 Needs               that are identified through an individualized
                     assessment process.

 Identified          The time between the publish date of Public                Public Knowledge
 Timeframe           Knowledge’s 2016 Child Safety in Substitute Care
                     Independent Review Final Report (September 12,
                     2016) and present day.

 Impending           A family behavior, condition, or circumstance that         http://www.dhs.sta
 Danger Safety       meets all five safety threshold criteria. When it is       te.or.us/caf/safety_
 Threat              occurring, this type of threat is not immediate,           model/procedure_
                     obvious, or occurring at the onset of the CPS              manual/Oregon-
                     intervention. This threat is identified and                DHS-Child-
                                                                                Welfare-



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                     understood more fully by evaluating and                   Procedure-
                     understanding individual and family functioning.          Manual.pdf -
                                                                               page=1829

 Improve             A measurable change toward an accepted child              Public Knowledge
                     welfare standard.

 Independent         Skill-building services provided to youth aged 16         https://www.orego
 Living Services     and older and in substitute care to help transition       n.gov/dhs/CHILDR
                     youth from foster care to independent adulthood.          EN/FOSTERCARE/
                     CW is required to provide support to youth aged 14        ILP/Documents/ILP
                     and older to create an independent living transition      -Service-
                     plan and build life skills.                               Requirements.pdf

 Initial Staff       Classroom, field activities, and computer-based           http://www.cwpsal
 Training            learning required for new caseworkers within their        em.pdx.edu/assets
                     first year of employment at CW.                           /2-flow-chart.pdf

 Investigations      Assessment into a report of abuse that includes           http://www.dhs.sta
 [Can also refer     activities and interventions to identify and analyze      te.or.us/caf/safety_
 to Abuse in         safety threats, determine if there is reasonable          model/procedure_
 Care                cause to believe abuse occurred, and assure child         manual/Oregon-
 Investigations]     safety through protective action plans, initial safety    DHS-Child-
                     plans, or ongoing safety planning.                        Welfare-
                                                                               Procedure-
                                                                               Manual.pdf -
                                                                               page=63

 Level of Need       The type of substitute care identified for a child        Public Knowledge
                     based on their assessed needs and strength.

 Mental or           Needs identified from a state of mental, behavioral,      Public Knowledge
 Behavioral          emotional well-being, and choices and actions that
 Health Needs        affect wellness.

 Middle              A manager at a level between leadership and               Public Knowledge
 Manager             frontline supervisor.

 Oregon Health       The Oregon Health Authority works to lower and            https://www.orego
 Authority (OHA)     contain healthcare costs, improve quality, and            n.gov/oha/Pages/
                     increase access to healthcare for Oregonians.             Portal-About-
                                                                               OHA.aspx




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                     The OHA provides behavioral health services to            https://www.orego
                     children and families throughout Oregon, including        n.gov/oha/HSD/B
                     early childhood mental health, school-based mental        H-Child-
                     health partnerships, intensive services, in-home          Family/Pages/inde
                     services, family supports, substance use disorder         x.aspx
                     programs, and youth suicide prevention programs.

 Organizational      A structured process that makes change happen             Public Knowledge
 Change              quicker, smoother, and less painfully for leaders,
 Management          staff, stakeholders, and customers. It is a structured
                     methodology that, at its core, is helping move an
                     organization from its current state to a new desired
                     state. Simply put, OCM addresses the people side
                     of change management.

 Out-of-State        When residential treatment providers and                  Public Knowledge
 Placements          placement options in Oregon are unable to serve a         and Oregon CW
                     child in Child Welfare’s care due to the child’s
                     unique or severe treatment needs, it may be
                     necessary to refer a child to residential treatment
                     placements in other states.

 Parents [Can        The biological or adoptive mother or the legal            http://www.dhs.sta
 also refer to       father of the child. A legal father is a man who has      te.or.us/caf/safety_
 Biological          adopted the child or whose paternity has been             model/procedure_
 Families]           established or declared under ORS 109.070, ORS            manual/Oregon-
                     416.400 to 416.610, or by a juvenile court. In cases      DHS-Child-
                     involving an Indian child under the Indian Child          Welfare-
                     Welfare Act (ICWA), parent means any biological           Procedure-
                     parent of an Indian child, or any Indian who has          Manual.pdf#page
                     lawfully adopted an Indian child, including               =1833
                     adoptions under tribal law or custom. It does not
                     include an unwed biological father where paternity
                     has not been acknowledged or established.
                     “Parent” also includes a putative father who has
                     demonstrated a direct and significant commitment
                     to the child by assuming or attempting to assume
                     responsibilities normally associated with
                     parenthood, unless a court finds that the putative
                     father is not the legal father.




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 Performance-        The process of determining rates paid to providers       Public Knowledge
 Based               based on performance on established metrics and
 Contracting         data points.

 Permanency          Stability and lifelong, reliable connections for         Public Knowledge
 [Can also refer     children and young adults in substitute care.            and Oregon CW
 to Permanence,      *Legal permanence refers to a child’s relationship
 Legal               with a parenting adult that is recognized by law and     https://www.aecf.o
 Permanence, or      that the adult is the child’s birth, kin, foster,        rg/blog/what-is-
 Relational          guardian, or adoptive parent.                            permanence/
 Permanence]
                     *Relational permanence refers to important long-
                     term, stable relationships that help a child or young
                     adult or youth feel loved and connected.

 Permanency          The court’s determination of the permanency plan         ORS 419B.476
 Goal                for the ward that includes whether and, if
                     applicable, when:
                     (A) The ward will be returned to the parent
                     (B) The ward will be placed for adoption, and a
                     petition for termination of parental rights will be
                     filed
                     (C) The ward will be referred for establishment of
                     legal guardianship
                     (D) The ward will be placed with a fit and willing
                     relative
                     (E) If the ward is 16 years of age or older, the ward
                     will be placed in another planned permanent living
                     arrangement

 Permanency          The hearing that determines the permanency plan          http://www.dhs.sta
 Hearings            for the child. The permanency hearing is conducted       te.or.us/caf/safety_
                     by a juvenile court, another court of competent          model/procedure_
                     jurisdiction or by an authorized tribal court.           manual/Oregon-
                                                                              DHS-Child-
                                                                              Welfare-
                                                                              Procedure-
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 Permanency          Preference of permanency plans reflected in               ORS 419B.476(5)
 Outcome             statute:
                     • Reunification
                     • Adoption (TPR)
                     • Guardianship (durable and permanent)
                     • Fit and Willing Relative
                     • Another Permanent Planned Living Arrangement
                      (APPLA)

 Permanency          A written course of action for achieving safe and         http://www.dhs.sta
 Plan                lasting family resources for the child or young adult.    te.or.us/caf/safety_
                     Although the plan may change as more information          model/procedure_
                     becomes available, the goal is to develop safe and        manual/Oregon-
                     permanent resources with the parents, relatives, or       DHS-Child-
                     other people who may assume responsibility for the        Welfare-
                     child or young adult during the remaining years of        Procedure-
                     dependency and be accessible and supportive to            Manual.pdf -
                     the child in adulthood.                                   page=1834

 Physical Health     Medical and dental health needs identified and            Public Knowledge
 Needs               addressed.

 Placement           The arrangement for the care of a child in the home       OAR 413-040-
                     of a parent, a foster home, relative foster home,         0000(54)
                     non-paid relative home, or a child-caring agency or
                     institution. It does not include the arrangement for
                     care in an institute caring for the mentally ill, an
                     institution primarily educational in character, or a
                     hospital or other medical facility.

 Placement           Movement of a child in substitute care from one           Public Knowledge
 Changes [Can        placement to another.
 also refer to
 Placement
 Change
 Decision]

 Placement           Ensuring that children remain in stable out-of-home       https://www.child
 Stability           care, avoiding disruption, removal, and repeated          welfare.gov/glossa
                     placements that have harmful effects on child             ry/glossaryp/
                     development and well-being.



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       Term                                 Definition                                Source

 Placing             The process of removing a child from his or her            Public Knowledge
                     family of origin or caregivers to a safe, temporary
                     living situation.

 Population of       An overall demographic representation of children          Public Knowledge
 Children in Care    and youth in the custody of CW.

 Present Danger      An immediate, significant, and clearly observable          http://www.dhs.sta
 Safety Threat       family behavior, condition, or circumstance                te.or.us/caf/safety_
                     occurring in the present tense, already endangering        model/procedure_
                     or threatening to endanger a child or, when                manual/Oregon-
                     applicable, a young adult. The family behavior,            DHS-Child-
                     condition, or circumstance is happening now, and it        Welfare-
                     is currently in the process of actively placing a child    Procedure-
                     or, when applicable, a young adult in peril.               Manual.pdf -
                                                                                page=1836

 Proctor Foster      A foster home certified by a Child Caring Agency           http://www.dhs.sta
 Home                (CCA). A proctor foster home must meet minimum             te.or.us/policy/chil
                     standards as established by rules adopted by CW or         dwelfare/manual_1
                     the Oregon Youth Authority. Proctor foster homes           /division_215.pdf
                     also receive a pass-through certification from CW.

 Progress            The actions CW has made to implement                       Public Knowledge
                     recommendations or address concerns through
                     identifiable and credible strategies and processes.

 Provider            A critical step in finding prospective permanent           http://www.dhs.sta
 Recruitment         families for a child and should be tailored to the         te.or.us/caf/safety_
                     specific child.                                            model/procedure_
                                                                                manual/Oregon-
                                                                                DHS-Child-
                                                                                Welfare-
                                                                                Procedure-
                                                                                Manual.pdf

 Qualified           Applicants for a caseworker position must meet the         https://oregon.wd
 Caseworker          following requirements:                                    5.myworkdayjobs.c
                     • A bachelor’s degree in Human Services or a field         om/en-
                       related to human service; or                             US/SOR_External_
                     • A bachelor’s degree unrelated to Human Services;         Career_Site/job/Po
                       and either                                               rtland--DHS--



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         Term                               Definition                                Source

                     • One year of Human Services related experience;           Webster-
                       or                                                       Street/Social-
                     • Completion of coursework equivalent to                   Service-Specialist-
                       certification consistent with Oregon Caseworker          1---Protective-
                       Competency; or                                           Services-
                     • An associate degree and either                           Assessment-
                     • Two years of Human Service-related experience;           Worker_REQ-
                       or                                                       45998
                     • One year of Human Services related experience
                       and related training, coursework or certification
                       consistent with Oregon Caseworker Competency

 Quality             The degree to which an object or entity (such as a         Public Knowledge
                     process, product, or service) satisfies a specified set
                     of attributes or requirements.

 Quality of Visits   Purposeful interactions between caseworkers and            Public Knowledge
                     children, youth, parents, and resource parents that
                     reflect engagement and contribute to assessment
                     and case planning processes in order to achieve
                     outcomes.


                     Oregon CW refers to frequency of visits and quality
                     of visits together (see Frequency of Visits as defined
                     above). For purposes of this review, we are
                     separating out frequency of visits and quality of
                     visits as two separate concepts.

 Rates               Payments made to substitute care providers                 Public Knowledge
                     intended to offset some of the costs associated with
                     caring for children.

 Re-Entry            Of all children who enter foster care in a 12-month        https://library.child
                     target period and discharged within 12 months to           welfare.gov/
                     reunification, living with a relative(s), or
                     guardianship, what percent re-entered foster care
                     within 12 months of discharge.

 Relative            A person defined as a “relative” under OAR 413-            http://www.dhs.sta
 Caregiver [Can      070-0000 who operates a home that has been                 te.or.us/caf/safety_
 also refer to       approved by the Department to provide care for a           model/procedure_
                                                                                manual/Oregon-


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       Term                                 Definition                              Source

 Kinship             related child or young adult placed in the home by       DHS-Child-
 Caregiver]          the Department.                                          Welfare-
                                                                              Procedure-
                                                                              Manual.pdf -
                                                                              page=1838

 Removal [Can        Either the physical act of a child being taken from      http://www.dhs.sta
 also refer to       his or her normal place of residence by court order      te.or.us/caf/safety_
 Removed]            or a voluntary placement agreement and placed in a       model/procedure_
                     foster care setting, or the removal of custody from      manual/Oregon-
                     the parent or relative guardian pursuant to a court      DHS-Child-
                     order or voluntary placement agreement which             Welfare-
                     permits the child to remain in a foster care setting.    Procedure-
                                                                              Manual.pdf -
                                                                              page=1838

 Report [Can also    An allegation of abuse that the screener evaluates       http://www.dhs.sta
 refer to CPS        to determine if it constitutes a report of abuse as      te.or.us/caf/safety_
 Report]             defined in ORS 419B.005 or, when applicable,             model/procedure_
                     Oregon Laws 2017, chapter 733.                           manual/Oregon-
                                                                              DHS-Child-
                                                                              Welfare-
                                                                              Procedure-
                                                                              Manual.pdf#page
                                                                              =1839

 Required            The accepted amount of time required for a given         Public Knowledge
 Timeframe           action based on policy.

 Response Time       The time frame to initiate the CPS assessment and is     http://www.dhs.sta
                     determined by the urgency of the report. Urgency is      te.or.us/caf/safety_
                     determined by reported family behaviors,                 model/procedure_
                     conditions and circumstances that represent a            manual/Oregon-
                     present or impending danger.                             DHS-Child-
                                                                              Welfare-
                                                                              Procedure-
                                                                              Manual.pdf -
                                                                              page=169

 Reunification       Placement with a parent or guardian.                     http://www.dhs.sta
                                                                              te.or.us/caf/safety_
                                                                              model/procedure_



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        Term                                Definition                               Source

                                                                               manual/Oregon-
                                                                               DHS-Child-
                                                                               Welfare-
                                                                               Procedure-
                                                                               Manual.pdf -
                                                                               page=1839

 Risk                The extent to which key factors are present in a          Public Knowledge
                     family situation that increases the likelihood of
                     future maltreatment to a child or adolescent.

 Safe [Can also      The absence of present danger safety threats and          http://www.dhs.sta
 refer to Safety]    impending danger safety threats.                          te.or.us/caf/safety_
                                                                               model/procedure_
                                                                               manual/Oregon-
                                                                               DHS-Child-
                                                                               Welfare-
                                                                               Procedure-
                                                                               Manual.pdf -
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 Safety Culture      Behaviors and practices of an organization that           https://library.child
                     prioritize the safety of children and families as well    welfare.gov/cwig/
                     as the ability of individuals to speak up without fear    ws/library/docs/ca
                     of reprisal.                                              pacity/Blob/11559
                                                                               2.pdf?r=1&rpp=10
                                                                               &upp=0&w=+NAT
                                                                               IVE(%27recno=115
                                                                               592%27)&m=1

 Safety Threat       A Present Danger Safety Threat is an immediate,           http://www.dhs.sta
 [Can include        significant, and clearly observable family behavior,      te.or.us/caf/safety_
 Present Danger      condition or circumstance occurring in the present        model/procedure_
 Safety Threats      tense, already endangering or threatening to              manual/Oregon-
 or Impending        endanger a child or, when applicable, young adult.        DHS-Child-
 Danger Safety       The family behavior, condition, or circumstance is        Welfare-
 Threats]            happening now, and it is currently in the process of      Procedure-
                     actively placing a child or, when applicable, young       Manual.pdf -
                     adult in peril.                                           page=196
                     An Impending Danger Safety Threat is a family
                     behavior, condition, or circumstance that meets all
                     five safety threshold criteria. When it is occurring,


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       Term                                 Definition                              Source

                     this type of threat is not immediate, obvious, or
                     occurring at the onset of the CPS intervention. This
                     threat is identified and understood more fully by
                     evaluating and understanding individual and family
                     functioning.

 Safety              The point at which family behaviors, conditions, or      http://www.dhs.sta
 Threshold           circumstances are manifested in such a way that          te.or.us/caf/safety_
                     they are beyond being risk influences and have           model/procedure_
                     become an impending danger safety threat. In             manual/Oregon-
                     order to reach the “safety threshold” the behaviors,     DHS-Child-
                     conditions, or circumstances must meet all of the        Welfare-
                     following criteria: be imminent, be out of control,      Procedure-
                     affect a vulnerable child or young adult, be specific    Manual.pdf -
                     and observable, and have potential to cause severe       page=1840
                     harm. The “safety threshold” criteria are used to
                     determine the presence of an impending danger
                     safety threat.

 Screening           The process used by a screener to determine the          http://www.dhs.sta
                     response to information received.                        te.or.us/caf/safety_
                                                                              model/procedure_
                                                                              manual/Oregon-
                                                                              DHS-Child-
                                                                              Welfare-
                                                                              Procedure-
                                                                              Manual.pdf -
                                                                              page=1840

 Service Array       The range of service options that CW provides to         Public Knowledge
                     clients.

 Service Goal        The observable, sustained change in behavior,            http://www.dhs.sta
 [Can also refer     condition, or circumstance, that when                    te.or.us/caf/safety_
 to Case Goal]       accomplished, achieves the desired effect.               model/procedure_
                                                                              manual/Oregon-
                                                                              DHS-Child-
                                                                              Welfare-
                                                                              Procedure-
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       Term                                 Definition                              Source

 Service             The ongoing process of delivering services to clients    Public Knowledge
 Provision           by CW and its providers.

 Service(s)          Assistance that the Department provides to clients.      http://www.dhs.sta
                                                                              te.or.us/caf/safety_
                                                                              model/procedure_
                                                                              manual/Oregon-
                                                                              DHS-Child-
                                                                              Welfare-
                                                                              Procedure-
                                                                              Manual.pdf -
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 Staff Turnover      The measurement of the number of employees who           Public Knowledge
                     leave CW during an identified timeframe.

 Substitute Care     The out-of-home placement of a child or young            http://www.dhs.sta
 [Can also refer     adult who is in the legal or physical custody and        te.or.us/policy/chil
 to Placements       care of the Department.                                  dwelfare/manual_1
 or Substitute                                                                /division_70.pdf
 Care Providers]

 Supervision         The act of overseeing children and young adults in       Oregon
                     order to assure child safety.                            Department of
                                                                              Human Services,
                                                                              Office of Child
                                                                              Welfare

 Supervision and     The act of monitoring and directing the                  Public Knowledge
 Oversight           performance and activities of Child Protective           and Oregon CW
                     Services (CPS) and Permanency staff, contracted
                     providers, or others delivering services to families,
                     children, and youth.

 Supporting          The process of providing assistance to address an        Public Knowledge
                     identified need.

 Temporary           A short term, time-limited placement.                    Public Knowledge
 Placement

 Termination of      A court of competent jurisdiction has entered an         http://www.dhs.sta
 Parental Rights     order terminating the rights of the parent or            te.or.us/caf/safety_
 (TPR)               parents, pursuant to ORS 419B.500 through                model/procedure_


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         Term                               Definition                              Source

                     419B.530 or the statutes of another state. The date      manual/Oregon-
                     of the termination order determines the effective        DHS-Child-
                     date of the termination even if an appeal of that        Welfare-
                     order has been filed according to ORS 419A.200.          Procedure-
                                                                              Manual.pdf -
                                                                              page=1843

 Tracking            Monitoring and measuring the goals, progress, or         Public Knowledge
                     outcomes.

 Training [Can       The process of developing a skilled child welfare        https://www.child
 also refer to       workforce and to achieving outcomes of safety,           welfare.gov/topics
 Training            permanency, and well-being for children entrusted        /management/trai
 Resources]          to the care of the public child welfare system.          ning/

 Treating            The process of providing care and attention to           Public Knowledge
                     emotional, behavioral, physical, or social issues or
                     medical needs.

 Visit               Planned, in-person contact between the child or          http://www.dhs.sta
                     young adult and one or more family members.              te.or.us/caf/safety_
                                                                              model/procedure_
                                                                              manual/Oregon-
                                                                              DHS-Child-
                                                                              Welfare-
                                                                              Procedure-
                                                                              Manual.pdf -
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 Visitation          Visitation is an interactive face-to-face contact        https://www.orego
                     between a child and his or her parents, siblings or      n.gov/dhs/CHILDR
                     other family members. When reunification is the          EN/Documents/Pr
                     goal, the visit and contact plan should include          otocol%20for%20P
                     progressively increased parental responsibility for      arent%20Child%20
                     the daily care of the child. When reunification no       Visits.pdf
                     longer is the goal, a visit and contact plan can help
                     family members understand and accept the
                     alternative permanency plan. Whatever the goal,
                     visits strengthen and maintain family relationships,
                     enhance a child’s well-being, and affirm the
                     importance of parents in the child’s life. For the
                     duration of Governor Brown’s Stay at Home, Save



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       Term                                 Definition                             Source

                     Lives Order (EO 20-12), visitation takes place as
                     provided in the Protocol for In-Person Parent/Child
                     Visits During COVID-19.

 Well-Being          The physical, dental, behavioral, mental health, and     Public Knowledge
                     educational needs of children and young adults are       and Oregon CW
                     being identified and met.

 Workforce [Can      People employed by Child Welfare to design,              Public Knowledge
 also refer to       deliver and oversee the child welfare agency service     and Oregon CW
 Staffing            array.
 Resources or
 Resources]




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Appendix B: Entities
         Term                                            Definition

 CPS                      Child Protective Services. CPS responds to child abuse reports. CPS-
                          trained caseworkers across the state listen to reports of abuse, assess
                          the situations, and prepare safety plans to assist children and
                          families.

 CPS Hotline              Anyone can report child abuse to the Oregon Child Abuse Hotline by
                          calling 1-855-503-SAFE (7233). The Oregon Child Abuse Hotline
                          receives calls 24 hours a day, 7 days a week, 365 days a year. This
                          toll-free number allows anyone to report abuse of any child or adult
                          to the Oregon Department of Human Services. Child abuse can also
                          be reported by calling a local police department, county sheriff,
                          county juvenile department, or Oregon State Police.

 Child Welfare            Child Welfare is a continuum of services designed to ensure
                          that children are safe at home and that families have the necessary
                          support to care for their children successfully. In Oregon, Child
                          Welfare includes Adoption services, Child Protective Services, Foster
                          Care, and the Independent Living Program.

 DHS [Agency]             Department of Human Services. DHS is Oregon’s principal agency for
                          helping Oregonians achieve wellbeing and independence through
                          opportunities that protect, empower, respect choice, and preserve
                          dignity, especially for those who are least able to help themselves.
                          Divisions include: Assistance, Children & Youth, Seniors & People
                          with Disabilities, and other services.

 OCI                      The Office of Continuous Improvement works in partnership with
                          DHS programs. All work is directly requested from the field or from
                          program. OCI and DHS staff collaborate and work together to
                          improve current processes, create efficiencies, and implement more
                          effective ways of delivering services, all of which directly impacts and
                          ultimately benefits DHS clients.

 ODDS                     The Oregon Office of Developmental Disabilities Services supports
                          individuals with disabilities and their families within their communities
                          by promoting and providing services that are individualized, flexible,
                          and community-focused, and that support each person’s talents and
                          abilities.




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         Term                                            Definition

 OHA                      Oregon Health Authority. OHA is the agency that oversees and
                          administers Medicaid and other public health programs in
                          Oregon such as the Oregon Health Plan, Healthy Kids, the Oregon
                          State Hospital, and other programs.

 OTIS                     Office of Training and Investigative Services is part of DHS and is
                          responsible for training, coordinating and conducting abuse
                          investigations and providing protective services statewide to reports
                          of neglect and abuse of vulnerable adults including adults over the
                          age of 65; adults with physical disabilities; adults with developmental
                          disabilities; adults with mental illness; and children receiving
                          residential treatment services.

 OSOQ                     Office of Safety, Oversight, and Quality (formerly OLRO). OLRO is
                          part of DHS and is responsible for licensing or registering regulatory
                          and corrective action functions for long term care facilities and
                          agencies including children’s residential care agencies, foster care
                          agencies, adoption agencies, assisted living facilities, and other such
                          facilities and agencies.




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Appendix C: Survey Protocol
The purpose of the survey is to gather feedback widely from members of the child welfare
system. A survey will allow Public Knowledge to gather qualitative data from a larger sample of
individuals than is possible with interviews and focus groups.

The survey will be disseminated online to Child Welfare (CW) staff and will ask participants to
indicate their role and their tenure in child welfare, and the questions they answer will be
determined by their role. All questions will be closed-ended and will allow a single answer.
Three options will be given, depending on the question: either Yes/I’m Not Sure/No, or
Always/Sometimes/Never.

The survey will be open for a two-week window to provide participants time to share their
feedback without losing interest in the process. The survey will be constructed to require users
between 15-30 minutes to complete. The survey topics are based on the inquiry questions
developed for each research question. Some questions are duplicated between the survey,
interviews, and focus groups to ensure the collection of information from varying perspectives
across the child welfare system.

                                        Table 5.1 Survey Questions

                              Survey Question                          Research           Role(s)
                                                                       Question

 1.        Does CW address safety threats and safety concerns               1          • Managers
           of children in their homes?                                                 • Supervisors
                                                                                       • Field Staff

 2.        Does CW assess safety threats and safety concerns of             1          • Managers
           children in substitute care?                                                • Supervisors
                                                                                       • Field Staff

 3.        Does CW address safety threats and safety concerns               1          • Managers
           of children in substitute care?                                             • Supervisors
                                                                                       • Field Staff

 4.        Does CW maintain the confidentiality of reports of               1          • Managers
           abuse in care?                                                              • Supervisors
                                                                                       • Field Staff

 5.        Is the process of responding to allegations of abuse             1          • Managers
           and neglect regarding children in substitute care:                          • Supervisors
           • Clear?                                                                    • Field Staff
           • Understandable?



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                              Survey Question                         Research           Role(s)
                                                                      Question

 6.        Does CW standardize the response to allegations of               1         • Managers
           maltreatment for children in substitute care?                              • Supervisors
                                                                                      • Field Staff

 7.        Has CW standardized the protocol for "closed at                  1         • Managers
           screening"?                                                                • Supervisors
                                                                                      • Field Staff

 8.        Does CW ensure that requirements (agency policies,               1         • Managers
           legal regulations, or laws) are met when recruiting,                       • Supervisors
           certifying, and monitoring foster parents?                                 • Field Staff

 9.        Does CW comply with federal background check                     1         • Supervisors
           requirements during:                                                       • Field Staff
           • Certification of substitute care providers?
           • Oversight of substitute care providers?

 10.       Does CW leadership advocate for safety for children              1         • Supervisors
           under CW supervision?                                                      • Field Staff

 11.       Has the organizational culture of CW improved                              • Managers
           during the tenure of Rebecca Jones Gaston?                                 • Supervisors
                                                                                      • Field Staff

 12.       Do you believe that CW leadership pursues                                  • Managers
           appropriate policy changes to improve child                                • Supervisors
           protection?                                                                • Field Staff

 13.       Does CW respond according to policies and                        2         • Managers
           procedures to maltreatment reports from children in                        • Supervisors
           substitute care?                                                           • Field Staff

 14.       Does CW engage in continuous quality improvement                 3         • Managers
           processes at the following levels:                                         • Supervisors
           • State?                                                                   • Field Staff
           • District?
           • County?

 15.       Does CW use the evaluations of the quality of                    3         • Managers
           services to improve service delivery to families?                          • Supervisors
                                                                                      • Field Staff




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                              Survey Question                         Research           Role(s)
                                                                      Question

 16.       Does CW provide training and coaching for staff on               3         • Supervisors
           how to use data to drive decisions and improve                             • Field Staff
           quality of services?

 17.       Does CW recruit and retain foster parents who are                4         • Managers
           able to meet the identified needs of children in foster                    • Supervisors
           care?                                                                      • Field Staff

 18.       Does CW recruit and retain appropriate child-specific            4         • Supervisors
           providers, including kith and kin, to care for the                         • Field Staff
           number of children who need such placements?

 19.       Does CW maintain an appropriate number of foster                 4         • Supervisors
           homes to house the number of children who need to                          • Field Staff
           be placed in foster care?

 20.       Does CW conduct Diligent Recruitment (the process                4         • Supervisors
           of recruiting, retaining, and supporting foster families                   • Field Staff
           that reflect the ethnicity and race of children in
           substitute care) of foster care providers?

 21.       Does CW recruit and retain substitute care providers             4         • Supervisors
           who can care for children who identify as LGBTQIA+?                        • Field Staff

 22.       Does CW recruit and retain substitute care providers             4         • Supervisors
           who can care for children who are living with high                         • Field Staff
           needs?

 23.       Does CW provide training and coaching for staff on               4         • Supervisors
           best practices for:                                                        • Field Staff
           • Recruitment of substitute care providers?
           • Retention of substitute care providers?
           • Support of substitute care providers?

 24.       Does CW leadership support the recruitment,                      4         • Supervisors
           retention, and support of substitute care providers?                       • Field Staff

 25.       Does CW prioritize the placement of children with                5         • Managers
           relatives?                                                                 • Supervisors
                                                                                      • Field Staff

 26.       Does CW conduct ongoing searches for relatives of                5         • Supervisors
           children in substitute care?                                               • Field Staff



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                              Survey Question                         Research           Role(s)
                                                                      Question

 27.       Does CW appropriately match children to substitute               5         • Supervisors
           care placements based on the needs of the child and                        • Field Staff
           the capability of the providers?

 28.       Does CW provide training and coaching to staff on                5         • Supervisors
           best practices for improving permanence for children                       • Field Staff
           in substitute care?

 29.       Does CW identify permanency goals appropriate to                 6         • Supervisors
           the needs of the child?                                                    • Field Staff

 30.       Does CW create permanency plans based on the                     6         • Supervisors
           identified needs of the child?                                             • Field Staff

 31.       Does CW provide training and coaching to staff on                6         • Supervisors
           how to plan for permanency for children and                                • Field Staff
           families?

 32.       Does CW leadership encourage improving                           5         • Supervisors
           permanence for children in substitute care?                                • Field Staff

 33.       Does CW leadership advocate for improving                        6         • Supervisors
           permanency planning?                                                       • Field Staff

 34.       Does CW provide training and coaching to staff in                7         • Supervisors
           assessing individuals, including children and families?                    • Field Staff

 35.       Does CW leadership encourage individualized                      7         • Supervisors
           assessments for children and families?                                     • Field Staff

 36.       Does CW maintain a statewide service array that                  8         • Managers
           ensures their ability to meet the identified needs of                      • Supervisors
           children and families?                                                     • Field Staff

 37.       Does CW address the underlying conditions for                    8         • Managers
           removal before returning children to their parents'                        • Supervisors
           care?                                                                      • Field Staff

 38.       Does CW provide in-home services to families post-               8         • Supervisors
           reunification to prevent re-entry into substitute care?                    • Field Staff

 39.       Does CW ensure that behavioral health services are               8         • Supervisors
           being delivered in order to meet case plan goals?                          • Field Staff



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                              Survey Question                       Research            Role(s)
                                                                    Question

 40.       Does CW provide training and coaching to staff on              8          • Supervisors
           how to work with providers in delivering services to                      • Field Staff
           meet the needs of children and families?

 41.       Does CW leadership advocate for providing services             8          • Supervisors
           to meet the needs of children and families?                               • Field Staff

 42.       Does CW develop comprehensive case plans that                  9          • Supervisors
           meet the identified needs of the child and family?                        • Field Staff

 43.       Does CW provide training and coaching for staff on             9          • Supervisors
           best practices in case planning?                                          • Field Staff

 44.       Does CW leadership advocate for improving case                 9          • Supervisors
           planning?                                                                 • Field Staff

 45.       Does CW facilitate contact between children and                10         • Supervisors
           their siblings in accordance with the Family Support                      • Field Staff
           Services Case Plan?

 46.       Does CW train caseworkers prior to their direct work           11         • Supervisors
           with families to prepare them for their work?                             • Field Staff

 47.       Does CW train caseworkers on an ongoing basis to               11         • Supervisors
           maintain their knowledge and skills?                                      • Field Staff




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Appendix D: Interview Protocol
The purpose of the individual interviews is to gather perspectives from Child Welfare (CW)
leadership and representatives from the Governor’s office on the progress that has been made
throughout the child welfare system since Public Knowledge completed the Child Safety in
Substitute Care Final Report in 2016. The interviews will provide input to the overall data
collection and will allow the final report to reflect the perceptions of individuals within the child
welfare system.

Public Knowledge plans to conduct up to 19 interviews, each of which will be scheduled for 50
minutes and will be facilitated over the phone or videoconference, depending on the
preference of the interviewee. The proposed interviewees are2:

•   Fariborz Pakseresht, DHS Director
•   Rebecca Jones Gaston, Child Welfare Director
•   Lacey Andresen, Child Welfare Deputy Director
•   Aprille Flint-Gerner, Child Welfare Deputy Director
•   Alysia Cox, CW Deputy Chief, Strategy and Innovation (also serving as the Data
    Representative)
•   Tami Kane-Suleiman, Child Safety Manager
•   Deanna Loughary, Child Safety Manager
•   Stacey Loboy, Foster Care Manager
•   Belit Burke, Program Policy Manager (now District Manager)
•   Sherril Kuhns, Federal Policy Manager
•   Kim Keller, Permanency
•   Kristen Khamnohack, Hotline
•   Kim Lorz, Child Welfare Training Manager
•   Sarah Fox, Treatment Services Program Manager
•   Chelsea Holcomb, Children’s System of Care
•   Lilia Teninity, Office of Developmental Disabilities Services (ODDS)
•   Joel Metlen, DHS Strategic Projects Director
•   Representatives from the Governor’s Office: Rosa Klein, Berri Leslie




2
 These interviewees are based on organizational charts shared with Public Knowledge, dated December 2019. If
names or position titles have changed, this list will be adjusted.


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The interviews will be facilitated by two Public Knowledge team members, one of whom will
facilitate, and one will take notes. Responses to the interview questions will be aggregated and
responses will not be connected to a specific interviewee.

The interview topics are based on the inquiry questions developed for each research question.
The questions will be shared with interviewees prior to the scheduled interview to allow time
for preparation.

The total number of interview questions for each group are as follows:

•        Governor’s Office Representatives: 9
•        CW Leadership (including Strategy and Innovation, Children’s System of Care, ODDS, and
         Portfolio Management): 26
•        Safety Managers: 8
•        Foster Care Manager (including Permanency, Hotline, and Treatment Services Manager): 19
•        Policy Managers (including Permanency, Hotline, and Treatment Services Manager): 8
•        Training Manager: 9
•        Data Representative: 16

The comprehensive set of interview questions is listed in the table below.

                                           Table 5.2 Interview Protocol

                        Interview Question                      Research          Interviewee(s)
                                                                Question

    1.      Does CW meet federal requirements for                    1       • Data Representative
            caseworker contacts with children in
            substitute care?

    2.      Does CW meet state requirements for                      1       • Data Representative
            caseworker contacts with children in
            substitute care?

    3.      Does CW adequately assess out-of-state                   1       • Governor’s Office
            facilities to determine the appropriateness                      • CW leadership
            of placing children?                                             • Policy Managers

    4.      Has CW centralized and standardized                      1       • Safety Managers
            reporting, screening, and assessments
            statewide?

    5.      Since 2016, has CW redesigned the                        1       • Governor’s Office
            process of responding to allegations of                          • CW leadership




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                    Interview Question                    Research           Interviewee(s)
                                                          Question

        abuse and neglect regarding children in                         • Safety Managers
        substitute care?                                                • Foster Care Manager

 6.     What is CW’s policy on protecting the                   1       • CW leadership
        confidentiality of children who identify as                     • Policy Managers
        LGBTQIA+?

 7.     Has CW standardized the protocol for                    1       • Safety Managers
        “closed at screening”?

 8.     Does CW comply with federal background                  1       • Foster Care Manager
        check requirements during certification                         • Policy Managers
        and oversight of substitute care providers?

 9.     Does CW have policies and procedures in                 1       • Safety Managers
        place to guide staff on safety practices?                       • Policy Managers

 10.    Does CW have in place quality assurance                 1       • Safety Managers
        processes for monitoring safety for                             • Data Representative
        children under CW supervision?

 11.    In what ways are CW staff encouraged to                 2       • Governor’s Office
        speak up with safety concerns regarding                         • CW leadership
        children in substitute care?                                    • Safety Managers

 12.    Does CW respond according to policies                   2       • Foster Care Manager
        and procedures to maltreatment reports                          • Policy Managers
        from children in substitute care?

 13.    In what ways does CW advocate for a                     2       • Governor’s Office
        safety culture among its workforce?                             • CW leadership
                                                                        • Safety Managers

 14.    Does CW use Organizational Change                       2       • CW leadership
        Management processes and structures?

 15.    In what ways do CW executives model                     2       • Governor’s Office
        leadership skills and behaviors?                                • CW leadership
                                                                        • Safety Managers
                                                                        • Foster Care Manager
                                                                        • Policy Managers
                                                                        • Training Manager
                                                                        • Data Representative




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                    Interview Question                    Research           Interviewee(s)
                                                          Question

 16.    Do CW’s nondiscrimination policies                      2       • CW leadership
        include considerations of sexual
        orientation, gender identity, and gender
        expression (SOGIE)?

 17.    Is case information entered or tracked                  3       • Data Representative
        outside of OR-Kids?

 18.    Does CW follow their Data Quality Plan?                 3       • CW leadership
                                                                        • Data Representative

 19.    Does CW use data to inform the                          3       • CW leadership
        development of new or revised practices,                        • Data Representative
        policies, and procedures?                                       • Policy Managers

 20.    Does CW have a continuous quality                       3       • CW leadership
        improvement process that includes                               • Data Representative
        leadership support, leadership modeling,
        staff and stakeholder engagement,
        communication, oversight, data collection,
        case record reviews, and use of the
        findings?

 21.    What does the CQI process look like at                  3       • Data Representative
        each level?

 22.    Does CW utilize performance-based                       3       • CW leadership
        contracting with its external service
        providers?

 23.    Does CW provide training and coaching                   3       • Training Manager
        for staff on how to use data to drive
        decisions and improve quality of services?

 24.    Does CW have a case review system in                    3       • Data Representative
        place to inform decision making and
        improve the quality of services?

 25.    Does CW recruit and retain appropriate                  4       • Data Representative
        child-specific providers, including kith and                    • Foster Care Manager
        kin, to care for the number of children
        who need such placements?




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                    Interview Question                    Research           Interviewee(s)
                                                          Question

 26.    Does CW provide appropriate services                    4       • Foster Care Manager
        and support to substitute care providers
        to ensure children are adequately cared
        for and supervised?

 27.    How does CW oversee the contracted                      4       • Foster Care Manager
        placements for children living with high
        needs?

 28.    Has CW increased reimbursement rates                    4       • CW leadership
        for substitute care providers?                                  • Foster Care Manager

 29.    Does CW prioritize the use of the least                 4       • CW leadership
        restrictive placement?                                          • Foster Care Manager

 30.    Does CW have or oversee a statewide                     4       • CW leadership
        recruitment, retention, and support plan                        • Foster Care Manager
        for substitute care providers?

 31.    Does CW use data to inform their                        4       • Data Representative
        statewide recruitment, retention, and                           • Foster Care Manager
        support plan for substitute care providers?

 32.    Does CW have policies and procedures                    4       • Policy Managers
        for staff regarding the recruitment,                            • Foster Care Manager
        retention, and support of substitute care
        providers?

 33.    Does CW provide training and coaching                   4       • Training Manager
        for staff on best practices for the                             • Foster Care Manager
        recruitment, retention, and the support of
        substitute care providers?

 34.    Does CW utilize a case review process to                4       • CW leadership
        identify lessons learned in the recruitment,                    • Foster Care Manager
        retention, and the support of substitute
        care providers?

 35.    Does CW pursue termination of parental                  5       • CW leadership
        rights as required by federal law?                              • Data Representative
                                                                        • Foster Care Manager




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                    Interview Question                     Research           Interviewee(s)
                                                           Question

 36.    Does CW meet state requirements with                     5       • Foster Care Manager
        regard to using the CANS to establish
        reimbursement rates for providers?

 37.    Does CW provide training and coaching                    5       • Training Manager
        to staff on best practices for improving                         • Foster Care Manager
        permanence for children in substitute
        care?

 38.    Does CW provide training and coaching                    6       • Training Manager
        to staff on how to plan for permanency for
        children and families?

 39.    Does CW utilize a case review process to                 6       • Foster Care Manager
        understand and improve barriers and
        strengths in permanency planning?

 40.    Does CW have a mechanism to evaluate                     7       • Data Representative
        the provision of assessments?

 41.    Does CW provide training and coaching                    7       • Training Manager
        to staff in assessing individuals, including
        children and families?

 42.    Does CW maintain a statewide service                     8       • Governor’s Office
        array that ensures their ability to meet the                     • CW leadership
        identified needs of children and families?

 43.    Has CW developed a continuum of care                     8       • CW leadership
        options for children in substitute care?                         • Foster Care Manager

 44.    Does CW partner with the Oregon Health                   8       • Governor’s Office
        Authority to identify and improve systemic                       • CW leadership
        barriers regarding access to services?

 45.    Does CW partner with Oregon                              8       • Governor’s Office
        Coordinated Care Organizations to                                • CW leadership
        identify and improve systemic barriers
        regarding access to services?

 46.    Does CW have a mechanism to evaluate                     8       • Data Representative
        the services provided to children and
        families?



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                    Interview Question                    Research             Interviewee(s)
                                                          Question

 47.    Does CW retain enough staff to                          11        • Governor’s Office
        adequately serve the children and families                        • CW leadership
        in CW custody?

 48.    Does CW regulate caseloads for                          11        • CW leadership
        caseworkers to ensure they can meet the
        needs of children and families under their
        supervision?

 49.    Does CW meet state requirements in                      11        • CW leadership
        recruiting qualified caseworkers?

 50.    Does CW adequately train caseworkers                    11        • CW leadership
        prior to their direct work with families?                         • Training Manager

 51.    Does CW adequately train caseworkers on                 11        • CW leadership
        an ongoing basis?                                                 • Training Manager

 52.    How does CW track training provided to                  11        • Data Representative
        caseworkers?                                                      • Training Manager




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Appendix E: Focus Group Protocol
The purpose of the focus groups is to gather peer groups at varying levels of Child Welfare
(CW) to share their collective experience regarding progress that has been made throughout
the child welfare system since Public Knowledge completed the Child Safety in Substitute Care
Final Report in 2016. Focus groups are an opportunity for staff to share their feedback with
each other and with Public Knowledge to provide input into the final report.

Public Knowledge plans to conduct nine focus groups, each of which will be scheduled for 90
minutes using Zoom. The proposed focus groups will include up to 15 participants, unless
noted otherwise, and include the following:

•   Two focus groups of central office staff, including a mixture of managers, supervisors, and
    staff from the Training unit, Continuous Quality Improvement or Data section, Program
    Policy unit, Federal Policy unit, Field Services section, Equity section, Treatment Services
    section, Foster Care Services section, Child Safety section, and Permanency section.
•   Two focus groups of caseworkers from districts throughout Oregon. One group will include
    caseworkers focused on safety services and the other group will be comprised of
    permanency caseworkers. Both groups will include a mixture of large and small counties,
    urban and rural areas, and locations across the state.
•   Two focus groups of casework supervisors from districts throughout Oregon. One group
    will include supervisors overseeing safety services and the other group will be comprised of
    permanency supervisors. Both groups will include a mixture of large and small counties,
    urban and rural areas, and locations across the state.
•   One focus group for the 16 District Managers and the District Manager for the Oregon
    Child Abuse Hotline.
•   One focus group of the 16 Child Safety Consultants from the Child Safety section in Central
    Office.
•   One focus group of the Permanency-Adoption section staff in Central Office.

The focus groups will be facilitated by two Public Knowledge team members, one of whom will
facilitate, and one will take notes. Responses to the focus group questions will be aggregated
and responses will not be connected to a specific participant. Participants will be given the
option to provide answers verbally or using the chat function in Zoom, and some questions will
be asked using the poll function in Zoom.

The focus group topics are based on the inquiry questions developed for each research
question. The questions will be shared with participants prior to the scheduled interview to
allow time for preparation.



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                                       Table 5.3 Focus Group Protocol

               Focus Group Question                    Research             Participant Group
                                                       Question

 1.    Does CW adequately assess safety                     1           • Safety caseworkers
       thresholds and safety concerns of                                • Safety casework
       children in their homes during intake,                             supervisors
       initial assessments, and safety                                  • Safety Consultants
       assessments, and throughout the life
       of the case?

 2.    Does CW effectively manage                           1           • Central Office
       caseloads to adequately meet the                                 • Casework supervisors
       needs of children and families?

 3.    Does CW appropriately supervise                      1           • Central Office
       placements of children in out-of-state
       facilities?

 4.    Has CW centralized and standardized                  1           • Central Office
       reporting, screening, and assessments                            • Safety caseworkers
       statewide?                                                       • Safety casework
                                                                          supervisors
                                                                        • Safety Consultants

 5.    Is the process of responding to                      1           • Safety caseworkers
       allegations of abuse and neglect                                 • Safety casework
       regarding children in substitute care                              supervisors
       transparent?                                                     • Safety Consultants

 6.    Does CW consistently share safety                    1           • Central Office
       information across entities?

 7.    What is CW’s policy on protecting the                1           • Central Office
       confidentiality of children who identify                         • Caseworkers
       as LGBTQIA+?                                                     • Casework Supervisors

 8.    Does CW consistently distinguish                     1           • Central Office
       between allegations of abuse and                                 • Safety caseworkers
       critical incidents? (Including a follow-                         • Safety casework
       up question of how the two are                                     supervisors
       distinguished).                                                  • Safety Consultants

 9.    Does CW address safety threats or                    1           • Safety caseworkers
       safety concerns raised in a substitute                           • Safety casework
       care placement?                                                    supervisors



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               Focus Group Question                  Research            Participant Group
                                                     Question

                                                                     • Safety Consultants

 10.   Does CW provide training and                      1           • Safety caseworkers
       coaching to staff about best practices                        • Safety casework
       in safety for children under CW                                 supervisors
       supervision?

 11.   Does CW utilize a case review process             1           • Central Office
       to measure progress on improving                              • District Managers
       safety for children under CW                                  • Safety caseworkers
       supervision?                                                  • Safety casework
                                                                       supervisors
                                                                     • Safety Consultants

 12.   Does CW have in place quality                     1           • Central Office
       assurance processes for monitoring                            • District Managers
       safety for children under CW                                  • Safety casework
       supervision?                                                    supervisors

 13.   Does CW leadership advocate safety                1           • Central Office
       for children under CW supervision?                            • District Managers
                                                                     • Safety caseworkers
                                                                     • Safety casework
                                                                       supervisors
                                                                     • Safety Consultants

 14.   In what ways is safety prioritized in             2           • Central Office
       decision making for children in                               • District Managers
       substitute care?                                              • Safety caseworkers
                                                                     • Safety casework
                                                                       supervisors
                                                                     • Safety Consultants

 15.   In what ways are CW staff encouraged              2           • Central Office
       to speak up with safety concerns                              • District Managers
       regarding children in substitute care?                        • Safety caseworkers
                                                                     • Safety casework
                                                                       supervisors
                                                                     • Safety Consultants

 16.   Do CW staff feel comfortable raising              2           • Central Office
       concerns?                                                     • District Managers
                                                                     • Caseworkers



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               Focus Group Question                 Research            Participant Group
                                                    Question

                                                                    • Casework supervisors
                                                                    • Safety Consultants
                                                                    • Adoption Section Staff

 17.   Do CW staff know how to escalate                 2           • Central Office
       concerns about safety issues?                                • District Managers
                                                                    • Caseworkers
                                                                    • Casework supervisors
                                                                    • Safety Consultants
                                                                    • Adoption Section Staff

 18.   Does CW communicate the                          2           • Central Office
       importance of child safety for children                      • District Managers
       in substitute care?                                          • Caseworkers
                                                                    • Casework supervisors

 19.   In what ways does CW advocate for a              2           • Central Office
       safety culture among its workforce?                          • District Managers
                                                                    • Caseworkers
                                                                    • Casework supervisors
                                                                    • Safety Consultants
                                                                    • Adoption Section Staff

 20.   Does CW use Organizational Change                2           • Central Office
       Management processes and
       structures?

 21.   In what ways do CW executives model              2           • Central Office
       leadership skills and behaviors?                             • District Managers
                                                                    • Caseworkers
                                                                    • Casework supervisors
                                                                    • Safety Consultants
                                                                    • Adoption Section Staff

 22.   Do CW’s nondiscrimination policies               2           • Central Office
       include considerations of sexual                             • District Managers
       orientation, gender identity, and                            • Caseworkers
       gender expression (SOGIE)?                                   • Casework supervisors
                                                                    • Safety Consultants
                                                                    • Adoption Section Staff

 23.   How does CW identify and document                3           • Central Office
       children who identify as LGBTQIA+?                           • District Managers



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               Focus Group Question                  Research            Participant Group
                                                     Question

 24.   Does CW have a continuous quality                 3           • Central Office
       improvement process that includes                             • District Managers
       leadership support, leadership
       modeling, staff and stakeholder
       engagement, communication,
       oversight, data collection, case record
       reviews, and use of the findings?

 25.   Does CW engage in continuous                      3           • Central Office
       quality improvement processes at the                          • District Managers
       state, district, and county levels?                           • Casework Supervisors

 26.   What does the CQI process look like               3           • Central Office
       at each level?                                                • District Managers

 27.   Does CW conduct effective                         3           • Central Office
       evaluations of the quality of services                        • District Managers
       offered by external service providers?

 28.   Does CW use the evaluations of the                3           • Central Office
       quality of services to improve service                        • District Managers
       delivery to families?                                         • Casework Supervisors

 29.   Does CW collaborate with service                  3           • District Managers
       providers to share feedback from case                         • Casework Supervisors
       reviews?

 30.   Does CW recruit and retain foster                 4           • District Managers
       parents who are able to meet the                              • Permanency
       identified needs of children in                                 Caseworkers
       substitute care?                                              • Permanency Casework
                                                                       Supervisors

 31.   Does CW recruit and retain                        4           • Central Office
       appropriate child-specific providers,                         • Permanency
       including kith and kin, to care for the                         Caseworkers
       number of children who need such                              • Permanency Casework
       placements?                                                     Supervisors
                                                                     • Adoption Section Staff

 32.   Does CW maintain an appropriate                   4           • Central Office
       number of foster homes to house the                           • Permanency
                                                                       Caseworkers



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               Focus Group Question                   Research            Participant Group
                                                      Question

       number of children who need to be                              • Permanency Casework
       placed in substitute care?                                       Supervisors

 33.   Does CW adequately assess the ability              4           • Central Office
       of substitute care providers to ensure                         • Permanency
       the appropriate care and supervision                             Caseworkers
       of children?                                                   • Permanency Casework
                                                                        Supervisors
                                                                      • Adoption Section Staff

 34.   Does CW provide appropriate services               4           • Permanency
       and support to substitute care                                   Caseworkers
       providers to ensure children are                               • Permanency Casework
       adequately cared for and supervised?                             Supervisors
                                                                      • Adoption Section Staff

 35.   Does CW diligently recruit substitute              4           • Permanency
       care providers who reflect the                                   Caseworkers
       ethnicity and race of children in                              • Permanency Casework
       substitute care?                                                 Supervisors
                                                                      • Adoption Section Staff

 36.   Does CW recruit and retain substitute              4           • Central Office
       care providers who can care for                                • Permanency
       children who identify as LGBTQIA+?                               Caseworkers
                                                                      • Permanency Casework
                                                                        Supervisors
                                                                      • Adoption Section Staff

 37.   Does CW recruit and retain substitute              4           • Central Office
       care providers who can care for                                • Permanency
       children who are living with high                                Caseworkers
       needs?                                                         • Permanency Casework
                                                                        Supervisors
                                                                      • Adoption Section Staff

 38.   Does CW track, at the state and local              4           • Central Office
       levels, the current capacity for                               • District Managers
       substitute care providers?                                     • Permanency Casework
                                                                        Supervisors

 39.   Does CW track the skills and                       4           • Permanency
       capabilities of substitute care                                  Caseworkers



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               Focus Group Question                  Research            Participant Group
                                                     Question

       providers to ensure appropriate                               • Permanency Casework
       matching for children and their                                 Supervisors
       placement providers?                                          • Adoption Section Staff

 40.   Does CW prioritize the use of the least           4           • Central Office
       restrictive placement?                                        • District Managers
                                                                     • Permanency
                                                                       Caseworkers
                                                                     • Permanency Casework
                                                                       Supervisors

 41.   Does CW leadership support the                    4           • Central Office
       recruitment, retention, and support of                        • District Managers
       substitute care providers?                                    • Caseworkers
                                                                     • Casework Supervisors

 42.   Does CW conduct ongoing searches                  5           • District Managers
       for relatives of children in substitute                       • Permanency
       care?                                                           Caseworkers
                                                                     • Permanency Casework
                                                                       Supervisors
                                                                     • Adoption Section Staff

 43.   Does CW frequently use temporary                  5           • District Managers
       placements for children in substitute                         • Permanency
       care?                                                           Caseworkers
                                                                     • Permanency Casework
                                                                       Supervisors

 44.   Does CW prioritize the placement of               5           • District Managers
       children with relatives?                                      • Permanency
                                                                       Caseworkers
                                                                     • Permanency Casework
                                                                       Supervisors

 45.   Does CW adequately assess                         5           • District Managers
       prospective adoptive parents to                               • Adoption Section Staff
       determine an appropriate match?

 46.   Does CW collaborate with the courts               5           • Central Office
       to ensure timely permanency                                   • District Managers
       hearings?                                                     • Permanency
                                                                       Caseworkers



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               Focus Group Question                 Research            Participant Group
                                                    Question

                                                                    • Permanency Casework
                                                                      Supervisors

 47.   In what ways does CW make                        5           • Central Office
       concerted efforts to achieve                                 • District Managers
       permanence in a timely manner?                               • Permanency
                                                                      Caseworkers
                                                                    • Permanency Casework
                                                                      Supervisors

 48.   Does CW recommend placement                      5           • Permanency
       decisions based on the identified                              Caseworkers
       needs and permanency plan of the                             • Permanency Casework
       child?                                                         Supervisors

 49.   Does CW appropriately match                      5           • Permanency
       children to substitute care placements                         Caseworkers
       based on the needs of the child and                          • Permanency Casework
       the capability of the providers?                               Supervisors

 50.   Does CW follow federal requirements              5           • Central Office
       for placement preferences for Native                         • District Managers
       American or Alaska Native children?

 51.   Does CW utilize a case review process            5           • Central Office
       to understand and improve barriers                           • District Managers
       and strengths regarding permanence
       for children in substitute care?

 52.   Does CW leadership encourage                     5           • Central Office
       improving permanence for children in                         • Permanency
       substitute care?                                               Caseworkers
                                                                    • Permanency Casework
                                                                      Supervisors

 53.   Does CW identify permanency goals                6           • District Managers
       appropriate to the needs of the child?                       • Permanency
                                                                      Caseworkers
                                                                    • Permanency Casework
                                                                      Supervisors




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               Focus Group Question                 Research            Participant Group
                                                    Question

 54.   Does CW create permanency plans                  6           • District Managers
       based on the identified needs of the                         • Permanency
       child?                                                         Caseworkers
                                                                    • Permanency Casework
                                                                      Supervisors

 55.   Does CW recommend changes in                     6           • District Managers
       placement based on the identified                            • Permanency
       needs and permanency plan of the                               Caseworkers
       child?                                                       • Permanency Casework
                                                                      Supervisors

 56.   Does CW collaborate with families and            6           • District Managers
       children to identify and improve                             • Permanency
       barriers regarding permanency                                  Caseworkers
       planning?                                                    • Permanency Casework
                                                                      Supervisors

 57.   Does CW collaborate with the courts              6           • Central Office
       to identify and eliminate barriers                           • District Managers
       regarding permanency planning?

 58.   Does CW utilize a case review process            6           • Central Office
       to understand and improve barriers
       and strengths in permanency
       planning?

 59.   Does CW leadership advocate for                  6           • Central Office
       improving permanency planning?                               • District Managers

 60.   Does CW identify necessary services              7           • Central Office
       for children based on the                                    • District Managers
       assessment(s)?

 61.   Does CW identify necessary services              7           • Central Office
       for parents based on the                                     • District Managers
       assessment(s)?

 62.   Does CW identify necessary services              7           • Central Office
       for substitute care providers based on                       • District Managers
       the assessment(s)?                                           • Permanency
                                                                      Caseworkers




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               Focus Group Question                 Research            Participant Group
                                                    Question

                                                                    • Permanency Casework
                                                                      Supervisors

 63.   Does CW utilize a case review process            7           • Central Office
       to inform and improve individualized                         • District Managers
       assessments for children and families?

 64.   Does CW leadership encourage                     7           • Central Office
       individualized assessments for children                      • District Managers
       and families?

 65.   Does CW maintain a sufficient                    8           • Central Office
       capacity of substitute care placements                       • Permanency
       to serve children living with high                             Caseworkers
       needs?

 66.   Does CW provide appropriate services             8           • Central Office
       to meet children’s identified needs?                         • District Managers

 67.   Does CW provide appropriate services             8           • Central Office
       to meet the identified needs of                              • District Managers
       children who identify as LGBTQIA+?                           • Caseworkers
                                                                    • Casework Supervisors

 68.   Does CW provide services and                     8           • Permanency
       supports to the family throughout the                          Caseworkers
       duration of the case to prepare for                          • Permanency Casework
       reunification?                                                 Supervisors

 69.   Does CW address the underlying                   8           • Permanency
       conditions for removal before                                  Caseworkers
       returning children to their parents'                         • Permanency Casework
       care?                                                          Supervisors

 70.   Does CW adequately assess                        8           • District Managers
       independent living skills?                                   • Permanency
                                                                      Caseworkers

 71.   Does CW provide services based on                8           • Permanency
       the assessment of a youth's                                    Caseworkers
       independent living skills and needs?                         • Permanency Casework
                                                                      Supervisors




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               Focus Group Question                 Research            Participant Group
                                                    Question

 72.   Does CW provide services necessary               8           • Permanency
       to parents so they can achieve case                            Caseworkers
       goals?                                                       • Permanency Casework
                                                                      Supervisors

 73.   Does CW provide services necessary               8           • Permanency
       to parents in order to support them                            Caseworkers
       meeting their conditions for return?                         • Permanency Casework
                                                                      Supervisors

 74.   In what ways does CW provide safe                8           • Central Office
       spaces for youth who identify as                             • District Managers
       LGBTQIA+?                                                    • Caseworkers
                                                                    • Casework Supervisors
                                                                    • Adoption Section Staff
                                                                    • Safety Consultants

 75.   In what ways does CW provide                     8           • Central Office
       services that address sexuality,                             • District Managers
       gender-based needs, and the process                          • Caseworkers
       of coming out for LGBTQIA+ youth?                            • Casework Supervisors

 76.   Does CW utilize a case review process            8           • Central Office
       to inform and improve the barriers and                       • District Managers
       strengths in providing services to
       meet the needs of children and
       families?

 77.   Does CW ensure that services are                 9           • District Managers
       provided as recommended in the case                          • Casework Supervisors
       plan?

 78.   Does CW adequately involve families              9           • Caseworkers
       throughout the case planning                                 • Casework Supervisors
       process?

 79.   Does CW adequately involve tribes                9           • Central Office
       throughout the case planning                                 • District Managers
       process?

 80.   Does CW provide training and                     9           • Caseworkers
       coaching for staff on best practices in
       case planning?



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               Focus Group Question                 Research            Participant Group
                                                    Question

 81.   Does CW utilize case review processes            9           • District Managers
       for identifying and improving barriers                       • Casework Supervisors
       to case planning?

 82.   Does CW leadership advocate for                  9           • Central Office
       improving case planning?                                     • District Managers

 83.   Does CW allow for sufficient and                 10          • Caseworkers
       quality family interactions between                          • Casework Supervisors
       children and parents to preserve
       family connections?

 84.   Does CW facilitate sufficient family             10          • Permanency
       interaction to prepare parents and                             Caseworkers
       children for reunification?                                  • Permanency Casework
                                                                      Supervisors

 85.   Does CW maintain the child’s                     10          • District Managers
       connections to their community, faith,                       • Permanency
       extended family, tribe, and school?                            Caseworkers
                                                                    • Permanency Casework
                                                                      Supervisors

 86.   Does CW facilitate contact between               10          • Permanency
       children and their siblings in                                 Caseworkers
       accordance with the Family Support                           • Permanency Casework
       Services Case Plan?                                            Supervisors

 87.   Does CW prioritize placing siblings              10          • Permanency
       together when possible and                                     Caseworkers
       appropriate?                                                 • Permanency Casework
                                                                      Supervisors

 88.   Does CW provide training and                     10          • Permanency
       coaching for staff on best practices for                       Caseworkers
       maintaining connections with children,
       their families (including siblings), and
       their community, faith, extended
       family, tribe, and school?

 89.   Does CW utilize a case review process            10          • District Managers
       that informs and improves connections                        • Permanency
       with children, their families (including                       Caseworkers



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               Focus Group Question                 Research         Participant Group
                                                    Question

       siblings), and their community, faith,                    • Permanency Casework
       extended family, tribe, and school?                         Supervisors

 90.   Does CW leadership encourage                     10       • Central Office
       improving connections between                             • District Managers
       children in substitute care and their
       families?

 91.   Does CW provide support to its                   11       • Central Office
       workforce to prevent staff turnover?                      • District Managers
                                                                 • Caseworkers
                                                                 • Casework Supervisors
                                                                 • Safety Consultants
                                                                 • Adoption Section Staff

 92.   Does CW regulate caseloads for                   11       • District Managers
       caseworkers to ensure they can meet                       • Caseworkers
       the needs of children and families                        • Casework Supervisors
       under their supervision?

 93.   Does CW adequately train                         11       • Caseworkers
       caseworkers prior to their direct work
       with families?

 94.   Does CW adequately train                         11       • Caseworkers
       caseworkers on an ongoing basis?

 95.   In what ways does CW provide                     11       • District Managers
       adequate supervision to child welfare                     • Casework Supervisors
       caseworkers and middle managers?




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                             Oregon Child Welfare
                             Review Draft Assessment
                             Findings Report

                           Report to: Markowitz Herbold
                           Date: December 15, 2023




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                                                                              Executive Summary




1      Executive Summary
In 2016, Public Knowledge® (PK) was engaged by the State of Oregon to complete an
independent review of the Oregon Department of Human Services (ODHS) delivery of child
welfare services. Public Knowledge® presented findings and recommendations for
improving Oregon’s child welfare system in the 2016 Child Safety in Substitute Care Final
Report.

For this review, PK conducted a comprehensive independent assessment of ODHS’ child
welfare policies, procedures, leadership, data, and improvement efforts made since 2016.
The PK team collected and analyzed primary and secondary data on the Oregon Child
Welfare System using findings from the 2016 Child Safety
                                                                   Our overall finding is
in Substitute Care Final Report and the Complaint as a
                                                                   that Oregon CW has
baseline for the research questions. PK found that Oregon
                                                                    made progress for
has made progress throughout the child welfare system
                                                                 children, young adults,
since 2016. Children and families involved in the child
                                                                and families since 2016.
welfare system are better off today than in 2016. Far from
being deliberately indifferent, Child Welfare has
consistently worked to meet the needs of children and young adults under its supervision,
and is committed to continuously improving its service delivery.

PK’s analysis concluded that CW has made progress for children, young adults, and
families in many areas of practice since 2016. The supporting findings, outlined in the
table below, demonstrate ODHS’s commitment to transforming child welfare in Oregon.
This assessment was filtered through 11 research questions covering the various areas of
child welfare practice in Oregon. In addition to the overarching progress finding, PK
produced a finding for each research question. Section 4 of this report provides additional
detail on the supporting evidence for each finding and illustrates the strategies and
approaches CW took to improve services and outcomes. Of the 11 research areas, PK found
that CW has made significant progress in four. The findings below reflect CW's progress
since 2016, while acknowledging there is more work to do in areas such as tracking the
capacity of resource homes, placement stability, timeliness to permanence, statewide
service provision, and staff training.




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                             Table 1. Research Question Findings

    Research                                         Finding
 Question Topic

 Safety for          Since 2016, Oregon made progress in this area by implementing
 Children Under      multiple recommendations from the 2016 Oregon Department of
 Child Welfare       Human Services Child Safety in Substitute Care Independent Review.
 Supervision         CW also implemented the Vision for Transformation in 2020 with
                     safety at the forefront. CW has made progress since 2016 in assessing
                     safety through reporting and screening allegations, timeliness of
                     assessments, in-home services, enhancing the safety of children in
                     substitute care, and using data to improve safety.

 Organizational      Since 2016, Oregon has made significant progress in improving and
 Culture of          prioritizing the agency culture led by the Vision for Transformation.
 Child Welfare       The Executive Leadership Team infuses the Vision for
                     Transformation’s guiding principles into each aspect of child welfare
                     practice.

 Data-Driven         Since 2016, Oregon has made consistent progress to improve data-
 Decision-           driven decision-making and the quality of services. Building capacity
 Making and          to be data-driven has been a leadership priority, evidenced by regular
 Quality of          technology upgrades and a solid financial investment. Data-driven
 Services            decision-making is a priority for national child welfare practice, and
 Offered             CW’s focus is encouraging improvement.

 Resource            Since 2016, Oregon has significantly improved recruitment, training,
 Parent              and support to resource families. CW has implemented targeted
 Recruitment,        recruitment to meet the needs of specific children and is collaborating
 Retention, and      across the child-serving system to increase capacity for resource
 Support             homes. CW has increased service provision to resource families and
                     improved the training based on feedback from resource parents and
                     community members. While CW has yet to improve the ability to track
                     the capacity of resource homes, this does not outweigh the significant
                     progress in other areas. These improvements in practice have not yet
                     resulted in better outcomes for children, as Oregon’s placement
                     stability data has not improved.




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                             Table 1. Research Question Findings

    Research                                         Finding
 Question Topic

 Permanence for      Since 2016, Oregon Child Welfare has made progress in improving
 Children in         the prioritization of permanency for children in substitute care
 Substitute Care     through the Vision for Transformation and its initiatives. Despite the
                     improvements, the data shows that it has taken longer for children
                     and young adults to reach permanence over the past two years, due in
                     part to delays because of COVID-19.

 Permanency          Child Welfare made significant progress to improve permanency
 Planning            planning during the identified timeframe. This progress is evidenced
                     by a shift from compliance to engagement in the work with families,
                     the appointment of a Deputy Director with a rich history in
                     permanency practice, the convening of a Permanency Advisory
                     Council, the use of the CANS assessment to create data-driven
                     permanency plans, and more timely permanency hearings.

 Individualized      Since 2016, CW has made progress by expanding the use of existing
 Assessments         assessments and added new assessments and policies to gather
 for Children        information from children, young adults, and families. The scope of
 and Families        the assessments CW offers allows caseworkers and supervisors to
                     gather a comprehensive picture of each family’s needs to tailor the
                     services, permanency plan, and case plan appropriately.

 Service             Since 2016, CW has improved service provision that meets the
 Provision Based     assessed needs of children and families. It is an ongoing challenge for
 on Assessed         CW to provide the breadth and depth of services to meet the complex
 Needs               needs of children who are in out of home care, however, evidence
                     from surveys, focus groups, and CFSR results indicates that there has
                     been substantial improvement in the ability of CW to meet children’s
                     mental health needs. CW has also expanded partnerships and
                     collaboration to expand access to services, but there is still concern
                     that service availability is uneven throughout the state.




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                             Table 1. Research Question Findings

     Research                                             Finding
 Question Topic

 Case Planning       Since 2016, CW has improved completion of case plans as well as
                     including families and tribes in the process. CW has implemented
                     tools such as quality assurance (QA), continuous quality improvement
                     (CQI), and the Family Report to focus on case planning and ensuring
                     the plans are inclusive.

 Family and          Since 2016, Oregon has made significant progress in this area,
 Community           framed by the Vision for Transformation and multiple new efforts to
 Connections         connect children to their families and communities. The Vision for
 for Children in     Transformation underscores the importance of these connections by
 Substitute Care     stating: “We all know that infants, children, adolescents, and young
                     adults do best growing up in a family that can provide love, support,
                     life-long learning, shared values, and important memories.”1

 Child Welfare       Oregon made progress in improving staffing resources during the
 Staffing            specified timeframe. CW has expanded the leadership team to
 Resources           prioritize equity, training, and workforce considerations and has
                     started tracking caseload data to manage workloads. Even so, CW has
                     had challenges in providing training for caseworkers despite
                     increasing training and coaching resources.

One key aspect of CW’s commitment to progress and improvement is the Vision for
Transformation which CW introduced in 2020. The Vision for Transformation outlines CW’s
goal to transform the Child Welfare Division into one that “supports the individual needs of
families and best serves Oregon’s children and young people.”2 The Vision for
Transformation is framed by three guiding principles demonstrating CW’s comprehensive
commitment to improvement: supporting families and promoting prevention, enhancing
staff and infrastructure, and enhancing the system’s structure by using data with
continuous quality improvement. Since launching the Vision for Transformation, CW has
changed practice across the state and engaged partners, staff, stakeholders, and those
with lived experience to inform this transformation. CW also built a continuous quality



1 Oregon Department of Human Services. (2020).   Oregon Child Welfare Division Vision for Transformation
- https://sharedsystems.dhsoha.state.or.us/DHSForms/Served/de2445.pdf
2 About the Vision for Transformation. https://www.oregon.gov/odhs/child-welfare-

transformation/pages/default.aspx


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improvement (CQI) system to inform implementation, acknowledge strengths, and identify
gaps from which to improve.

Along with the progress initiated by CW, the Oregon legislature has made significant
investments over the past several years to improve CW outcomes. These investments
include millions of dollars for new positions to recruit resource and respite families,
development of a comprehensive child welfare information system (CCWIS), staffing the
Oregon Child Abuse Hotline (ORCAH), development of a mentoring program, development
and implementation of child welfare training, supporting the Independent Living Program,
and designing Family Preservation Services. In addition to funding for staffing, ODHS and
CW received funds for programs such as KEEP (Keeping Foster and Kin Parents Supported
and Trained), therapeutic foster care, increases to rates for behavioral rehabilitation
services, mental health services, independent living, respite care, transportation, in-home
services, and support to families and providers during the COVID-19 pandemic.

The legislature also recently approved increases for rates paid to resource families, which
will go into effect in July 2024. This financial support from the legislature prioritizes the
work of CW and reinforces the progress ODHS and CW have made in recent years. Child
welfare agencies across the country typically operate on limited budgets, and these
investments from the legislature demonstrate confidence in the direction CW has been
heading in the last several years.

This assessment was conducted with the lens of implementation science, which shows that
progress and improvement should be slow and planful. As explained in the Guiding
Principles below, planful implementation takes time and occurs in stages.4 The goal should
be a commitment to continued improvement and a consistent evaluation of progress and
continued needs. Oregon CW has made such a commitment by acknowledging their
progress while simultaneously having plans in place to continue improving.




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2        Assessment Scope
In April 2019, a federal class action lawsuit was filed against Oregon’s Governor Kate
Brown and the Oregon Department of Human Services child welfare system and its leaders.
The state contracted with PK to assess the progress that ODHS’ Child Welfare Division (CW)
has made to improve the child welfare system since 2016. This assessment reviewed the
policies, programs, and data for the Oregon Child Welfare System from September 2016 to
present. The scope of this assessment includes all children under CW supervision, with a
particular focus on children in substitute care and those in the subclasses included in the
pleadings:

    •    Children living with high needs referred to as the “ADA sub-class” in the complaint.
    •    Older young adults referred to as the “aging out sub-class” in the complaint.
    •    Children or young adults who identify as LGBTQIA2S+ referred to as the “SGM sub-
         class” in the complaint.3

The scope of this assessment is broader than the 2016 Child Safety in Substitute Care Final
Report. There are 11 areas of focus, represented by the 11 research questions, whereas in
2016 there were two. In 2016, the focus was on the capacity of substitute care placements
to meet the needs, and CW’s responses to abuse in substitute care. In contrast, this
assessment includes policy and program changes across the child welfare system,
especially on child safety and meeting the needs of children and families. The 2016
assessment included only children in substitute care, but this assessment incorporates all
children under ODHS supervision. Despite these differences, the two assessments address
similar topics including appropriate and inappropriate placement decisions, determination
of needs, preparation of resource parents, recruitment of resource parents, retention and
support of resource parents, communication throughout the child welfare system,
addressing bias in screening and placement, the capacity of and appropriate resource
home resources, and determination of appropriate providers.

2.1        Guiding Principles
The following principles guided this assessment. They are based on the guiding principles
that also guided the 2016 assessment, with some adjustments for the broader scope of
this review.




3 Class Action Complaint,   Wyatt B. et al., v. Brown, et al., USDC, District of Oregon, Case No. 3:19-cv-
00556.


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    •    Measure progress by incremental effort and improvement. Progress does not
         require achievement of a particular outcome or standard but rather improvement
         from the baseline data at the start of the identified timeframe.
    •    Apply the tenets of implementation science to policy and practice changes. Using
         implementation science requires defining effective interventions, establishing how
         practice needs to change, identifying responsible parties, and pinpointing where in
         the system the effective interventions will be most successful. To achieve positive
         and sustainable outcomes interventions must be research-based, tailored to
         children and families’ needs, implemented deliberately and in an adaptive manner,
         and supported by an engaged environment and intentional learning. This deliberate
         implementation takes time and occurs in stages, including exploration, installation,
         initial implementation, and full implementation.4 CW has implemented new and
         improved practice across the system, and it will take time to see the full impact of
         those changes.
    •    Consider the implications for all children under CW supervision. The scope of the
         assessment includes all children under CW supervision, with a particular focus on
         children in substitute care. Specific consideration for each research question will be
         given to members of each subclass referenced in the complaint.
    •    Use a child-driven perspective. Be guided first and foremost by the child’s
         experience. The goal of this assessment is to recognize systemic improvements
         made to improve the experience of children in CW supervision and keep them safe
         throughout the duration of their case.
    •    Measure improvements in agency culture by the increased prioritization of child
         safety. Leadership drives agency culture through development and implementation
         of its mission and vision. The agency culture was evaluated through the lens of its
         commitment to prioritizing child safety in policies, rules, and procedures.
         Leadership messaging, communications, priorities identified in continuous quality
         improvement processes, and allocation of staff resources were assessed.
         Organizational culture is difficult to quantify, so progress in the agency culture was
         measured by the commitment to prioritizing child safety in policies, rules, and laws.
    •    Base findings on facts and be transparent about sources. Throughout this review,
         PK began with facts and quantitative data where possible and corroborated with
         qualitative data. PK also included the perceptions of stakeholders as a data source




4 National Implementation Research Network (NIRN) and Casey Family Programs. (August 2017).

Implementing Evidence-Based Child Welfare: The New York City Experience.
https://nirn.fpg.unc.edu/sites/nirn.fpg.unc.edu/files/resources/evidence-based-child-welfare-nyc.pdf
(See generally pp. 17-18)


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         about their experiences in the child welfare system and how those experiences
         influence policy and systems change. PK cited sources for each finding.
    •    Apply systems thinking to see the whole picture. The lengthy list of subtopics in
         this review allowed PK to meaningfully research the overarching question of
         improving safety for children in foster care. PK believes the topics covered by each
         research question encompass the salient aspects of the child welfare system and
         allowed for comprehensive assessment of system improvements and areas still
         needing attention. Research on implementation science shows that implementation
         takes three to five years, and if organizations maintain fidelity to policy and practice
         models are followed, improvements will be seen in the quanititative and qualitative
         data.

2.2        Constraints

2.2.1 COVID-19 Pandemic
The global pandemic impacted the assessment in multiple ways. The first impact required
PK to hold all interviews, focus groups, and meetings virtually.

The pandemic also impacted the workforce by complicating the availability of stakeholders,
adding strain associated with working remotely, and eventually adding pressure with
having to return to in-person work. Although working remotely did cause stress for
workers, the virtual environment also lessened their workload and allowed them to be
more productive because they conducted their tasks virtually and did not spend time
traveling to meetings and court hearings.5

Recent data cannot draw the conclusion that the pandemic increased or decreased vacancy
rates5, however, CW leadership received anecdotal evidence that workforce retention
decreased during the pandemic in some areas of Oregon due in part to the statewide
COVID-19 vaccine mandate that was implemented in October 2021. However, there is no
exit data specifically stating that members of the workforce left due to the mandate, and
the retention data shows that only a small number of staff left due to the mandate. Staff
retention rates were steady prior to the vaccine requirements and up until October 2021.
Staff exits in 2022 are likely part of the global Great Resignation.

Although, the vaccine mandate did have an impact in another way. ODHS staff were able to
request a waiver to the vaccine mandate, and Human Resources (HR) staff were responsible
for responding to the waiver requests, leaving them unable to focus on compensation, new


                                   COVID-19 Pandemic Effects on Services for Children and Young
5 Effective System Innovations. (2023).

Adults, Oregon Department of Human Services and Oregon Health Authority.
https://www.oregon.gov/odhs/data/cwdata/cw-pandemic-effects-report-2023-04-06.pdf (p. 11)


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hires, and other workforce recruitment efforts. CW leadership shared that some HR
processes were delayed months due to the need to respond to vaccine waiver requests.

In addition to the impact to ODHS and CW staff, the pandemic restrictions caused
workforce shortages in mental health, residential treatment, substance use treatment, and
other services. These shortages had a broader impact on service delivery and prevented
timely access for children and families. These deferred mental health assessments and
services prevented children and parents from participating in required services, leading to
delays in permanency outcomes.

The number of resource homes decreased by 16 percent during the pandemic, and the
number of new certifications decreased by 30 percent between March 2020-March 2022.5
Because the number of children and young adults in care has also decreased, the ratio of
children and young adults to available homes continues to improve. Child welfare data
shows that between December 2019 and April 2023, the number of total resource homes
decreased from 4,021 to 3,026, and the number of children in care decreased from 7,136
to 4,857.6

Court closures during COVID-19 delayed the timeliness of hearings and, subsequently,
time to permanence. Court decision-making was impacted due to the closures and
reopening of local courts and the statewide inconsistency of these openings and closures
following COVID-19 lockdowns. Oregon did not pass CFSR Item 6 (whether the agency
made concerted efforts to achieve reunification, guardianship, adoption, or other planned
permanent living arrangements) in 2016, and the delays in hearings prevented ODHS from
making progress on their PIP for this item.

Due to these restrictions, initial placements and placement changes required quarantine
before initial placement or change of placement. Some quarantine placements were
available, and increased stipends were provided to resource parents and Behavior
Rehabilitation Services (BRS) willing to care for children and young adults with COVID-19.

Depending on travel restrictions, family interaction was limited, including visits to family in
different counties or states. Delaying family visits created setbacks for permanency
outcomes as caseworkers were unable to assess the success of family interaction.

Unhoused families faced additional challenges as low-income housing was less accessible
during the pandemic. The Children’s Public Private Partnership (CP3)7 program worked with
ODHS to support families involved in the child welfare system to help children exit foster
care and access affordable housing. The pilot CP3 program in Marion County began in


6 ODHS Child Welfare Division Progress Report. (May 2023). https://www.oregon.gov/odhs/child-welfare-

transformation/progressreports/cw-progress-report-2023-05.pdf (p. 10)
7 Children’s Public Private Partnership. www.cp3oregon.org




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2020 and supported over 37 children and families. Additionally, CW partnered with Every
Child, an agency dedicated to recruiting resource families, early in the pandemic to address
the retention of resource parents. Every Child expanded their My NeighbOR program, which
provides clothing, groceries, and educational support to families and youth involved with
foster care, to families of origin in 2020.

Statewide, the state experienced a nearly 20 percent drop in the number of children out of
home during the pandemic, reaching a low of 5,552. That is down from 9,745 at the start
of 2006 and from a more recent 2018 peak of nearly 7,900. The number of placements has
not been lower since the state began tracking the metric.


2.2.2 Disconnect Between Data and Perception
During this assessment, individual perceptions were gathered from interviewees and focus
group participants, then compared to quantitative data. There were multiple instances
where the qualitative responses did not match the quantitative data, highlighting a
disconnect between impressions, perceptions, and the evidence. One example is the
shared opinion that caseworkers had very high caseload numbers and their workloads were
unmanageable, but the quantitative data do not agree.

This disconnect also demonstrates the lag between initial implementation and statewide
adoption and is expected when implementing new initiatives, policies, or requirements. As
discussed earlier in this report, implementation science shows that organizational change
takes time. PK saw this in different areas of this assessment and heard from both staff and
leadership that CW was progressing, but more work was needed.


2.2.3 Departure of Rebecca Jones Gaston
Ms. Jones Gaston led the agency from November 2019 until she left Oregon for the federal
Administration for Children and Families in December 2022. Her three-year tenure
exceeded the average of child welfare directors nationally, with many directors turning over
every 18-24 months. Ms. Jones Gaston steered the development of the Vision for
Transformation, which guided CW through an organizational culture shift and informed
revisions of policy, procedure, and practice to focus on equity and workforce development.
Aprille Flint-Gerner was promoted from Child Welfare Deputy Director to Child Welfare
Director in July 2023. Ms. Flint-Gerner, along with Lacey Andresen, who has served as
Child Welfare Deputy Director for over three years, continue to move the Vision for
Transformation forward.




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2.2.4 Unknown Timeframe
The expected trial date for this case is unknown and subject to change due to a myriad of
factors, including restrictions related to COVID-19. Collecting data is a point-in-time
activity, and data were current when this report was submitted.


2.2.5 Inconsistent Policy Dates
PK’s review included a comparison of the 2016 Oregon Child Welfare Procedure Manual and
the Oregon Child Welfare Procedure Manual dated October 4, 2021. This review revealed
that certain appendices in the 2016 version are dated 2018, leading to an unknown error in
updates by date.

2.3       Assumptions
   •    Document Retention. During a typical assessment, PK would not retain notes from
        focus groups and interviews beyond the drafting of the findings. The nature of this
        project and the lawsuit required the retention of those notes. These notes are
        working documents and prone to grammatical errors. They are also from one data
        point rather than themes and should not be used to make conclusions or findings.
   •    Terminology. “Child” and “young adult” are used interchangeably throughout this
        report. The Oregon Department of Human Services Child Welfare Procedure Manual
        is referred to by its full title or simply by “Procedure Manual.” PK’s assessment
        reviewed the 2016 Procedure Manual, and the version of the 2021 Procedure Manual
        dated October 4, 2021.
   •    Baseline Data. For the research questions that were not based on findings in the
        2016 review, the baseline was set from data within the same time in 2016. For
        example, Oregon completed Round 3 of the Child and Family Services Review (CFSR)
        in September 2016, so data are included in this assessment that originated from the
        CFSR results.




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3      Methodology
3.1       Inquiry Protocol
PK’s Seven-Element Inquiry Protocol, shown in the figure below, aims to ensure
understanding of the strategies, tools, and techniques the review team employed to
conduct this comprehensive assessment. This protocol is Public Knowledge®’s
methodology for all assessments regardless of the project.

                             Figure 1. Seven-Element Inquiry Protocol




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3.2       Research Questions
The assessment centered on the research questions, which were developed by starting with
the overarching focus of keeping children safe while they are under the supervision of CW,
whether they remain in their homes or are placed in substitute care. Following a thorough
review of the pleadings, the Public Knowledge® 2016 Child Safety in Substitute Care
Independent Review Final Report, and supporting documents, PK identified a broad list of
topical areas represented by the top of the hourglass in Figure 2, below. From there, PK
narrowed the focus on each part of the child welfare system to build the 11 questions,
represented by the narrowest part of the hourglass. PK then expanded on these to develop
a comprehensive set of inquiry questions represented by the bottom of the hourglass.

                   Figure 2. Approach to Developing Research Questions

                         Public Knowledge Approach to Developing
                                    Research Questions
                                                                                 Narrow to Broad
                                                                              The process narrows the
                                                                              scope then broadens the
                                                                              depth of inquiry after the
                                                                                 scope is defined.



                                                              Funn
                                                                  eling




                                 Inquiry Question
                               Narrowing the scope
                               allows you to get to
                                the actual question
                                  you are trying to
                                      answer.




                                              Pyram
                                                      iding




The research questions evaluated the following topic areas:

   1. Safety for children under child welfare supervision

   2. The organizational culture of child welfare

   3. Data-driven decision-making and quality of services offered

   4. Resource parent recruitment, retention, and support

   5. Permanence for children in substitute care

   6. Permanency planning

   7. Individualized assessments for children and families


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   8. Service provision based on assessed needs

   9. Case planning

   10. Family and community connections for children in substitute care

   11. Child welfare staffing resources

The findings for each topical area are outlined in section four.

3.3        Data Collection
The methodological approaches were qualitative and quantitative. Data was collected from
multiple sources, including child welfare staff, stakeholders, and leadership. Systemic and
individual outcomes were analyzed. The data analysis included collecting and visualizing
quantitative data and studying qualitative data collected during interviews, focus groups,
and the online survey. This approach provides the most comprehensive data, including
outcomes from the quantitative analyses provided during the interviews, focus groups, and
survey responses. The analysis included data gathered from interviews, focus groups, an
online survey, and the review of relevant documents.

These inputs to the assessment process allows PK to provide a comprehensive review and
answer all 11 research questions.


3.3.1 Interview Protocol
The PK team conducted 27 individual interviews with key participants to gather their
perspectives on progress made since 2016. PK interviewed management and leadership
staff to gather their views on the current and recent past state of the child welfare system
in Oregon. Four interviewees have interviewed twice: Rebecca Jones Gaston, Aprille Flint-
Gerner, Lacey Andresen, and Kristen Khamnohack. Ms. Jones Gaston, Ms. Flint-Gerner, and
Ms. Andresen were interviewed again to discuss the upcoming change in organizational
structure with Ms. Jones Gaston’s departure, and Ms. Khamnohack was interviewed a
second time to gather additional information specific to the Oregon Child Abuse Hotline
(ORCAH).


3.3.2 Focus Group Protocol
The PK team facilitated 11 role-based focus groups to allow members of different groups
within child welfare to share their opinions and feedback. Focus groups allowed
participants to share experiences with their peers, and the shared discussion encouraged
engagement in the conversation. Focus group participants were invited from all areas of
the state and included a mix of large, small, urban, and rural counties. The Oregon child
welfare system tenure for focus group participants ranged from 4 months to 37 years.


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3.3.3 Survey Protocol
The PK team administered an online survey to collect information from various stakeholder
groups. The purpose of the survey was to gather feedback widely from members of the
child welfare division. The survey allowed PK to collect qualitative data from a larger
statewide sample of CW employees than was possible with interviews and focus groups.

The survey was open for three weeks to provide participants ample time to share their
feedback, and several reminders were sent during that period. Approximately 1,800 child
welfare staff were invited to complete the survey, and 958 people participated, producing a
53 percent response rate.

3.3.4 Document Review
The PK team reviewed relevant documents, including policies, procedures, statutes, data,
and reports to research progress made since 2016. Appendix D is a comprehensive list of
documents relied upon, considered, or provided to PK by counsel for the Defendants in this
case. To formulate the findings, these supporting documents were compiled with the
previous qualitative data analyses and the quantitative analyses described in the next
section.




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4      Findings
4.1        CW made progress to improve safety for children
           under ODHS supervision
Finding: Since 2016, Oregon improved safety for children under ODHS supervision.
ODHS implemented many recommendations from the 2016 Oregon Department of Human
Services Child Safety in Substitute Care Independent Review. CW also began implementing
the Vision for Transformation in 2020 with safety at the forefront. CW has made progress
since 2016 in assessing safety through screening allegations and during in-home services,
improving the timeliness of assessments, enhancing the safety of children in substitute
care, and using data to improve safety.


4.1.1 Key Themes
                                      Table 2. Key Themes

        Key Theme                                            Description

 Implementation of            CW implemented recommendations from Public Knowledge®’s
 Recommendations from         2016 Report, including redesigning the process of responding
 PK’s 2016 Report             to allegations of abuse in care, implementing the centralized
                              Oregon Child Abuse Hotline (ORCAH), developing a standard
                              for closed at screening, and developing procedures for
                              appropriate community involvement to mitigate safety issues
                              for children.

 Implementation of the        In 2020, CW implemented the Vision for Transformation,
 Vision for                   intended to completely transform the child welfare system in
 Transformation               Oregon. The goal of the Vision for Transformation is that “all
                              children experience safe, stable, healthy lives and grow up in
                              the care of a loving family and community.”8

 Implementation of a          In 2019, CW launched the Oregon Child Abuse Hotline
 Centralized Child Abuse      (ORCAH), centralizing all reports of abuse and neglect
 Hotline                      throughout the state.




8 Oregon Department of Human Services. (2020).   Child Welfare Division Vision for Transformation.
https://sharedsystems.dhsoha.state.or.us/DHSForms/Served/de2445.pdf


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          Key Theme                                          Description

 Implementation of New           Oregon improved screening through the implementation of
 Ways to Assess Safety           the Structured Decision Making® Screening and Response
                                 Time Assessment Tool. Oregon still meets timeliness goals
                                 and persistently explores ways to continue improving. CW has
                                 also made progress in improving assessing safety of children
                                 under supervision of in-home services by updating
                                 procedures to encourage best practice of co-managing work
                                 between in-home and substitute care to ensure safety and
                                 increased the number of face-to-face visits that caseworkers
                                 completed with children.

 Using Data to Improve           Oregon uses quality assurance, fidelity and critical incident
 Safety                          reviews, and data dashboards to continually improve safety
                                 assessment processes.


4.1.2 Implementation of 2016 Recommendations: Summary of
          Key Theme

Finding: CW implemented many recommendations from PK’s 2016 Report, all of which
have contributed to the improved safety practice across the state. CW has clarified
language, responsibilities, and processes to help screeners, caseworkers, and supervisors
keep children safe. The implementation of the Oregon Child Abuse Hotline (ORCAH) is a
significant improvement, which will be discussed later in this section.

PK’s 2016 Child Safety in Substitute Care Final Report included nine findings9 and
associated recommendations9 to improve child welfare practice in Oregon.

Developing a Standard for Closed at Screening

PK’s 2016 Report acknowledged that CPS abuse in care reporting, screening, and
investigation process was localized and resulted in inconsistent responses to harm in care.
The subsequent recommendations were to centralize hotline operations and adopt a
standard protocol for “closed at screening.”




9 Public Knowledge®,   Oregon Department of Human Services Child Safety in Substitute Care Independent
Review (September 13, 2016) (pp. 2-3).


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In April 2019, CW launched the Oregon Child Abuse Hotline (ORCAH) centralizing all
reports of abuse and neglect throughout the state. More information on implementation of
ORCAH is found later in this section.

In January 2021, the Oregon state legislature passed limits on what cases can be closed at
screening. The resulting policy change in 2021 clarifies the criteria and process: the
screener must close the report at screening when the information describes behaviors,
conditions or circumstances that pose a risk to a child but do not meet the definition of
abuse10, or when the screener receives information from reporters that does not meet the
statute for assessing reports of abuse or neglect.

Developing Procedures for Appropriate Community Involvement to Mitigate Safety
Issues for Children

PK’s 2016 Report noted that information that could mitigate safety concerns is not
efficiently shared between entities, and CW developed tandem investigation procedures
and community engagement strategies to address this.

Since 2016, CW has improved sharing safety information with stakeholders. CW added
tandem investigation procedures to the Procedure Manual in 2021. The purpose of a
tandem investigation is to have optimum communication, coordination, and collaboration
when responding to reports of child abuse involving multiple agency partners. Prior to
2021, the Procedure Manual included information about joint or tandem responses to child
maltreatment only when a law enforcement response is required. Tandem investigations
are now conducted when a report involves a setting in which the Office of Training,
Investigations, and Safety (OTIS) is responsible for investigating.11 The CPS worker is still
responsible for all the activities necessary to complete a CPS assessment when conducting
a tandem investigation.12,13

CW now shares data with the public for child protective services, in-home family services,
foster care, adoption, and the guardianship program via the ODHS website.14 Central office
staff report there are also ongoing discussions with judges and the judicial system about
how to better share information.




10 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (pp. 69-70).

11 OAR 413-015-0215

12 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (pp. 415-

418).
13   See generally, OAR 413-015-0415
14 Oregon Child Welfare Data and Reports. https://www.oregon.gov/ODHS/CHILDREN/CHILD-

ABUSE/Pages/Data-Publications.aspx.


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Redesigning the Process of Responding to Allegations of Abuse in Care

PK’s 2016 Report found that CW’s response to allegations of abuse in care was confusing
and involved too many uncoordinated elements, and there was little to no follow-up on
abuse in care investigations. The recommendation was to redesign the process of
responding to allegations of abuse in care. The 2016 Report also included the perspective
of children and young adults in care, and others, who stated that the process of abuse in
care reporting was believed to be untrustworthy.

Since 2016, Oregon has made the following changes to redesign the process of responding
to allegations of abuse in care, including:

   •    The Oregon legislature has implemented changes in responding to allegations of
        abuse in care by passing Senate Bill (SB) 155 in 2019. SB 155 addressed the increase
        in child abuse assessments and investigations15 by dividing responsibilities for
        assessing and investigating reports of child abuse between CW and the Office of
        Training, Investigations, and Safety (OTIS). With this new legislation, some reports
        are directed to OTIS, lessening the burden on CW.
   •    The 2022 Procedure Manual includes the process to respond to reports of abuse or
        neglect16, including a new section for screeners with information on how to handle
        reports for six different types of calls. This is an improvement over the 2016
        Procedure Manual which did not include the specifics for handling different types of
        calls.
   •    In addition to redesigning the process of responding to allegations in substitute
        care, CW made some progress in ensuring the safety of children in substitute care
        and saw slight improvements since the 2016 Report in key data points like
        maltreatment in care, face to face visits, and quality assurance (QA) data.
   •    The most significant indicator of progress in this area comes from QA data which
        shows a 5.5 percent statewide increase from 2021 to 2022 in appropriately
        assessing and documenting safety in the case record. Caseworkers document the
        steps to confirm physical and emotional child safety in their case notes. COVID-19
        impacted caseworkers’ ability to confirm safe environments because caseworkers
        were not always able to access the home in person due to COVID-19 safety
        precautions. Permanency caseworkers confirmed that CW improved escalating
        concerns about safety issues for children in the CW custody. The Permanency
        Program continues to focus on supporting caseworkers in confirming safe
        environments at every face-to-face contact with children. Training is provided to
        permanency staff regarding how to assess for safety at every face-to-face contact.


15 ORS 419B.020 and ORS 419B.026

16 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (pp. 88).




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         The Permanency Quality Assurance Tool includes a measure on safe environment
         confirmation. The quality assurance data is coupled with more modest progress in
         key data points like maltreatment in care and face-to-face visits, both of which
         improved only slightly from PK’s 2016 Report. Child Welfare has not seen progress
         in all areas, notably recurrence of maltreatment within twelve months.

Maltreatment in foster care is the federal data indicator that measures whether the agency
ensures that children do not experience abuse or neglect while in care in Oregon. This
indicator holds CW accountable for keeping children safe from harm while under the
responsibility of the department, no matter who perpetrates the maltreatment.17 Oregon’s
data show a slight improvement from the end of 2016 to mid-2022. Additional data are
shared in the appendix of this report.

Caseworkers are required to visit children in substitute care monthly at a minimum.18
Monthly visits are an opportunity for caseworkers to assess child safety and risk, including
identification of safety threats, vulnerabilities, and protective capacities. As the number of
children in substitute care in Oregon has decreased, the percentage of children with a
face-to-face visit increased. From a workload perspective, caseworkers have more time to
spend visiting children in care as there are fewer children to visit. COVID-19 did not appear
to impact the numbers of face-to-face visits made in 2020. CW’s performance for face-to-
face visits of caseworkers remains in the 90-94 percent range, as shown in the graphic
below.




17 U.S. Department of Health & Human Services Administration for Children and Families. (2020).    Child
Maltreatment, 31st Year of Reporting.
https://www.acf.hhs.gov/sites/default/files/documents/cb/cm2020.pdf
18 Children’s Bureau, Child and Family Services Reviews,   Onsite Review Instrument and Instructions. (June
2022). https://www.acf.hhs.gov/sites/default/files/documents/cb/cfsr-r4-osri-fillable.pdf


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                            Figure 3. Face-to-Face Visits, Foster Care19




CW provided guidance to caseworkers for facilitating virtual meetings and visits20 during
the COVID-19 pandemic. CW provided additional guidance regarding in-person parent and
child visits for parents and caregivers that established what to expect from all CW staff and
contracted providers.21

Maltreatment recurrence is the federal data indicator that measures whether victims of
substantiated or indicated maltreatment report another substantiated or indicated
maltreatment report within 12 months of the initial victimization. CW saw a slight increase
in reports of recurrence of maltreatment within 12 months since 2016, as shown below,
however CW’s data has one notable limitation. CW stores data on maltreatment reports
made by children or young adults based on the date of the report and on the child’s
location on the date of the report, not the date of the maltreatment incident.22 This means
that children or young adults may report maltreatment while they are placed in care, but
the maltreatment may have occurred months prior, while they were in their family home.




19 Oregon Department of Human Services, Office of Reporting, Research, Analytics, and Implementation,

IC.10, Face-to Face Required Contacts Completed for Children in Foster Care or In-Home, 4/11/2022.
20 Oregon Department of Human Services, Director’s Office, Equity and Multicultural Services. (April 21,

2020). Guide for Facilitating Inclusive Virtual Meetings.
https://sharedsystems.dhsoha.state.or.us/DHSForms/Served/de2247.pdf
21 ≈ https://www.oregon.gov/opds/provider/Documents/Reference_13.pdf

22 Lacey Andresen Rule 30(b)(6) Deposition Transcript. (June 15, 2023). (123:22-124:20).




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             Figure 4. Change in Maltreatment Recurrence from 2016-202223




To address recurrence of maltreatment, CW enhanced the safety of children in substitute
care by updating the Procedure Manual, ensuring children are assessed for ongoing safety
at caseworker visits. It now states for out-of-home care plans, “the case management
functions include both safety intervention and safety management. These functions relate
to identified safety threats and confirming the child’s environment is safe in substitute
care.”24 The 2016 and 2021 Procedure Manuals have detailed sections for how caseworkers
should develop out-of-home safety plans. The 2021 Procedure Manual included an
updated chapter regarding ensuring children placed in treatment and residential
placements are assessed for ongoing safety,25 and the 2023 Procedure Manual retains the
same policy.26 The Permanency Quality Assurance Tool, mentioned previously, includes a
measure on confirming safe environments. In written case notes, caseworkers document
the steps to confirm physical and emotional child safety. Finally, CW now meets best
practices in the following areas, all of which relate to enhancing safety and are discussed at
various points in this report: targeted recruitment for the needs of children in care, training
for resource parents, understanding health care needs of children in care, and caseloads
for caseworkers.

Since 2016, CW began requiring that all SSA (Social Service Assistant) and SSS1 (Social
Service Specialist 1) staff attend Confirming Safe Environments training as part of their core



23 Results Oriented Management (ROM) Data Site, Oregon Department of Human Services, Report SA.02,

6/27/2022.
24 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/1/2022, (p. 429).

25 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/1/2022, (pp. 772-

798).
26 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 8/23/2023, (pp. 780-

807).


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pretraining. The training workshop is designed to assist staff in assessing the safety of
substitute care placements.

Sharing Information Between Entities

Since 2016, CW built a community engagement website to encourage stakeholder
interaction.27 Additionally, they hold Community Connections events every other month
and distribute information through a regular community newsletter. CW provides a monthly
report to the Governor’s Office on the Vision for Transformation as well as specific data
and information on child safety. The Child Welfare Advisory Committee (CWAC)28 counsels
the agency on the development and administration of policies, programs, and practices.
CWAC membership includes representatives from other state agencies; professional, civic,
and private organizations; private citizens interested in service programs; and recipients of
assistance or services.

CW shares data with the public regarding child protective services, in-home family
services, foster care, adoption, and the guardianship program through the ODHS website.29
Central office staff also report ongoing discussions with judges and the judicial system
about how to better share information.


4.1.3 Vision for Transformation: Summary of Key Theme

Finding: The implementation of the Vision for Transformation in 2020 helped reframe
safety practice within the greater child welfare system. Each aspect of the Vision for
Transformation positively impacts child safety and contributes to the overall goal of the
vision - all children are safe, stable, and healthy.

The Vision for Transformation, led by the Executive Leadership Team, articulates CW,
public, and private partners’ beliefs, values, goals, and guiding principles for transforming
child welfare work in Oregon. The commitment to and implementation of the Vision for
Transformation has significantly contributed to improving safety and outcomes for children
throughout Oregon since its inception. The goal of the Vision for Transformation is that “all
children experience safe, stable, healthy lives and grow up in the care of a loving family
and community,” with safety being the first pillar. The prioritization of safety shows a
commitment to keeping children and young adults safe and aligns with the
recommendations from the 2016 PK assessment. CW and its partners want to ensure that
children are safe. The Vision for Transformation states that CW will achieve this by
“assessing child safety.” The first guiding principle, supporting families and promoting


27 https://www.oregon.gov/odhs/child-welfare-transformation/Pages/community.aspx

28 https://www.oregon.gov/odhs/agency/pages/cwac.aspx

29 https://www.oregon.gov/ODHS/CHILDREN/CHILD-ABUSE/Pages/Data-Publications.aspx




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prevention, includes an area of focus on responding to community concerns about child
abuse and neglect. CW created a centralized hotline for screening reports of child abuse
and neglect in 2019, meeting one of the goals of the Vision for Transformation and taking
a solid step toward improving safety for children statewide.

Another area of focus in the Vision for Transformation is safety and fatality review and
prevention. This initiative improves the safety of children and young adults by applying the
lessons learned from serious injuries and child maltreatment fatalities to prevent future
incidents.30 Incorporating this CQI process into critical incidents will reduce such incidents
over time and improve safety for children.

The third guiding principle of the Vision for Transformation, enhancing the system’s
structure by using data with continuous quality improvement, includes an area of focus of
CQI and quality assurance systems for evaluation of CW’s programs and initiatives. CW
uses implementation science to implement ORCAH, Structured Decision Making®, and
other strategies outlined in their five-year 2020-2024 Child and Family Services Plan. CW
is also using data to drive decision-making, analyzing data for improvements in processes,
policies, and systems, and measures progress over time to learn about improving safety for
children under CW supervision in all areas of practice. Continuous quality improvement
processes are in use and in practice in ORCAH - the Safety Program and Permanency
Program. This use of data to drive decision-making processes aligns Oregon with federal
expectations and requirements and allows them to make informed decisions for children,
young adults, and families. More information about CW’s CQI practice can be found in
Section 4.3.

4.1.4 Implementation of the Oregon Child Abuse Hotline
         (ORCAH): Summary of Key Theme

Finding: Oregon’s implementation of Centralized Intake has improved safety for
children across Oregon. Leadership has addressed issues that have arisen during
implementation and used data and their CQI process to improve practice and outcomes.

The most crucial decision in child welfare is assessing the safety of a child in response to
an allegation of harm. Screening and assessment protocols have improved through three
strategies: implementation of the centralized hotline, adoption of a standard protocol for
closed at screening, and implementation of tools to support decision-making.

The Child Welfare Information Gateway publication Making and Screening Reports of Child
Abuse and Neglect (2022) outlines best practices for screening and responding to reports

30 Oregon Department of Human Services. (2020).   Child Welfare Division Vision for Transformation.
https://sharedsystems.dhsoha.state.or.us/DHSForms/Served/de2445.pdf


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of suspected child abuse or neglect.31 CW now meets or exceeds best practices in these
four areas, which it did not in 2016:

    1. CW now has clearly defined procedures for screening and responding to reports
        of suspected child abuse or neglect. In 2022, CW implemented the Structured
        Decision Making® (SDM) Screening and Response Time Assessment Tool. Using SDM
        has helped CW meet best practices with identifying required content for reports of
        abuse or neglect, criteria for screening reports, investigation or assessment
        procedures, timeframes for completing investigations or assessments, and the
        classification of investigative findings. This evidence-based and research-based
        model identifies the pivotal points in the life of a child welfare case and uses
        structured assessments to improve the consistency and validity of each decision.

    2. CW changed to the SDM Model to use modernized tools to promote the safety of
        children and reduce disparate outcomes. The SDM model for child protection
        assists agencies and workers in meeting their goals to promote the ongoing safety
        and well-being of children. The full suite of tools in the SDM model includes clearly
        defined service standards, mechanisms for timely reassessments, methods for
        measuring workload, and tools for ensuring accountability and quality controls.
        Oregon has begun the process of exploring the full suite and has implemented one
        of the tools as of 2022. The Screening and Response Time Assessment Tool
        evaluates whether the information reported meets the statutory definition of abuse
        and, if so, how quickly an in-person child protection services response should
        occur. The tool supports this decision process by clarifying the definitions and
        interpretations of child abuse.

    3. CW exceeds best practice by having a specialized unit within centralized intake to
        prioritize calls received from Law Enforcement.

    4. CW exceeds best practice by defining special procedures for handling child
        fatalities and substance-exposed children. Chapter 2 of the 2021 Procedure
        Manual focuses on handling special circumstances at screening, including the Indian
        Child Welfare Act and the role of the screener (and notification to tribes), sensitive
        case records and conflicts of interest, child fatalities, domestic violence, substance
        affected infants (including Plans of Safe Care), minor parents as alleged perpetrators
        of child abuse or neglect, missing or runaway children or young adults with an open
        child protective services cases, sex trafficking victims, and requests for information
        on an open child welfare case. The 2023 Procedure Manual retains this language.


                                           Making and screening reports of child abuse and
31 Child Welfare Information Gateway. (2022).

neglect. U.S. Department of Health and Human Services, Administration for Children and Families,
Children's Bureau. https://www.childwelfare.gov/topics/systemwide/laws-policies/statutes/repproc/


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Centralized Intake

Centralizing intake is important because it significantly increases consistency in safety
decision-making and reduces the potential for errors or inconsistencies in intake across
the state. Hotline systems, or, in Oregon’s case, Centralized Intake, are the first point of
contact for people reporting child abuse and neglect and are the first decision-making
point for screening reports of child abuse and neglect. Hotline decisions determine
whether a family becomes involved in the child welfare system. Research suggests that
states with centralized hotlines are more consistent and accountable in their screening
decisions compared to decentralized intake systems, in which local or regional offices
receive reports of child abuse and neglect.32 Nearly all (94 percent) states with centralized
intake systems had benefits that included more consistency, accuracy, and efficiency.33

CW’s centralized intake, ORCAH, meets the best practices for intake in the following ways,
none of which were met in 2016:

    •    Consistent and timely response to reports of child abuse or neglect. In 2019,
         Oregon implemented a centralized, statewide, 24-hour-a-day, seven days per week
         hotline for the screening of child abuse and neglect reports.
    •    Clear policy guidance, including concrete definitions of abuse and neglect. The
         2022 Procedure Manual includes updated definitions of abuse types to aid in
         consistent and accurate decision-making by screeners, including mental injury,
         neglect, physical abuse, sexual abuse, sexual exploitation, and the threat of harm.
         Also, see SDM above.
    •    Reliable decision-making processes to assist caseworkers in making screening
         decisions. See detail about SDM above.
    •    A skilled workforce. The 2022 Procedure Manual provides additional information
         regarding screener, supervisor, and program manager roles and responsibilities in
         screening reports.34 The 2022 Manual also outlines the screening process for
         information received at the hotline35 and provides instruction on how to conduct a


32 Casey Family Programs (2011).     Centralized Intake Systems. Seattle WA: Casey Family Programs. Sourced
from Effective Hotline Elements: Supporting Accurate and Reliable Screening Decisions. Casey Family
Programs Strategy Brief, November 2017. http://www.casey.org/media/Effective-hotline-
elements_strategy-brief.pdf
                                                                        Answering the call: How states
33 Holland, S., Glass, L., Clearfield, E., Jenkins, J., and Stevens, C. (2014).

process reports of child abuse and neglect. Austin, TX: Morningside Research and Consulting Inc.
https://docplayer.net/24777603-Answering-the-call-how-states-process-reports-of-child-abuse-and-
neglect-revised-june-23-morningside.html
34 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/1/2022, (pp. 99-102).

35 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/1/2022, (pp. 105-

119).


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         child welfare history review, make the screening decision, assign response times,
         close cases at screening (if appropriate), and document the report.36 ORCAH also
         offers a Screening Training Academy for new screeners before taking calls and
         trains on various topics regarding screeners’ responsibilities.
   •     A stable workforce. Since 2020, CW data show that turnover within ORCAH has
         decreased from nearly 5% to under 4%, while the number of full-time positions has
         increased from 164.5 to 204.
   •     Continuous Quality Improvement (CQI). CW has a robust internal quality assurance
         process to improve consistency in screening decisions, customer service, and call
         wait times. There is a CQI process in place that uses data to improve processes.
         More information about CQI can be found in Section 4.3.

ORCAH Implementation

Transitioning from a decentralized intake process to a centralized one is a sizeable
undertaking. Oregon centralized the Hotline despite the typical challenges that accompany
this process, and continued implementation and adjustment during the COVID-19
pandemic, which presented its own unique set of challenges.

The implementation process takes time. CW used implementation science to plan for,
implement, and adjust ORCAH practice. Process changes developed within the
Implementation Science framework37 can take up to five years to fully integrate into a child
welfare system.38 In addition, implementation requires using the CQI process to make
data-driven decisions. It requires CW leadership to use data to identify the parts of the
process that are working and which are not. Where the process is not working,
implementation science requires necessary adjustments. This implementation process can
lead to frustration amongst the staff who must adjust their work accordingly. These
adjustments occurred with ORCAH implementation.

When CW began implementing ORCAH, some aspects of the practice worked well, and
others did not. As expected, staff expressed frustration throughout the implementation
process.39 CW Leadership used data-driven decision-making to adjust what was not
working well. For example, CW received complaints about the wait times, and CW
leadership adjusted the process to allow screeners to answer calls timelier. The wait times


36 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/1/2022, (pp. 119-

143).
37 National Implementation Resource Network (NIRN). (Jan 2015).   Implementation Science.
https://nirn.fpg.unc.edu/resources/implementation-science
38 ODHS CW ORCAH Annual Report (August 2018-2019). https://www.oregon.gov/odhs/data/cwdata/cw-

orcah-annual-report-2019.pdf
39 Focus Group Discussion.




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are now down significantly: in 2019, average call wait times were as high as eight minutes,
with nearly 25 percent abandoned calls. As of September 2022, the average wait time was
less than two minutes, with some queues having an average wait time of less than one
minute, with a five percent abandonment rate.40 As of August 2023, the average wait time
for all caller types (including from law enforcement, medical providers, mandatory
reporters, general public, and Spanish-speaking community members) was less than one
minute.41 These shorter wait times allow for reporters of abuse and neglect to reach
appropriate staff and help improve safety outcomes for children and young adults across
Oregon quicker.

              Figure 5. Call Wait Times in Minutes and Call Abandonment Rate




Despite some frustrations, safety caseworkers discussed the benefits of ORCAH, including
CW partners having one point of access to report suspected child abuse or neglect. ORCAH
staff report most supervisors are supportive and assist with making screening decisions.
ORCAH staff believe that centralizing the hotline has made a positive impact on the safety
of children and that there is improved consistency in accepting reports of abuse.

ORCAH and CQI

An additional indicator of progress is that in October 2019, ORCAH established a
continuous quality improvement (CQI) program. Trained screening quality assurance
specialists review a random selection of screening reports each month, along with listening
to live calls (selected at random) with a screening supervisor. ORCAH staff review requests
from service delivery offices (local offices) to reconsider screening decisions to ensure
decisions align with procedures. Data, including monthly and quarterly quality assurance
reports, are used to determine improvements needed in training, procedures, technology,


40 Oregon Child Abuse Hotline Quarterly Report (2022 - Third Quarter). (p. 5).

41 ODHS Child Welfare Division Progress Report. (September 2023). https://www.oregon.gov/odhs/child-

welfare-transformation/progressreports/cw-progress-report-2023-09.pdf


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documentation, or other areas of concern. Quality assurance specialists review screening
reports to determine if timeliness measures were met.42

The 2023 APSR reports that the Critical Incident Review Team (CIRT) participates in
ORCAH’s CQI process. A part of the quality assurance review includes gathering
information about whether screening decisions were correct. The APSR notes that “in 2021,
the findings indicated that 90 percent of ORCAH closed or assigned reports were correct,
94 percent of the response time decisions were correct, and 78 percent of cases had
correct allegations,”43 all of which show strong performance. While there is not a national
standard, these data show CW’s commitment to accuracy.


4.1.5 New Ways to Assess Safety: Summary of Key Theme

Finding: Oregon improved the assessment of safety in several ways. CW implemented
PK’s 2016 recommendation to centralize hotline operations and improved screening by
implementing the Structured Decision Making® Screening and Screening and Response
Time Assessment Tool. Oregon’s new methods of assessing safety have led to a
continuation of meeting timeliness goals and the exploration of ways to continue
improving. CW has also made progress in improving assessing the safety of children under
supervision of in-home services by updating procedures to encourage best practice of co-
managing work between in-home and substitute care to ensure safety and increase the
number of face-to-face visits that caseworkers completed with children.


Timeliness

Responding timely to allegations of child abuse or neglect can mean life or death for
children in unsafe situations. Once a report of suspected abuse or neglect has been made
and an agency has screened it in, it is the agency’s responsibility to respond to that report
in a timely manner as designated by law, statute, and procedure.

Oregon’s implementation of ORCAH and the Structured Decision Making® Screening and
Response Time Assessment Tool made progress towards more timely screening of hotline
reports and defines response times to accepted reports. Oregon is exploring creative
solutions for ensuring timeliness of assessments, including expanding the workforce’s
traditional working hours beyond 9 am to 5 pm to be more inclusive of when the families
need services and support.



42 Oregon Department of Human Services Child Welfare Division, Annual Progress and Services Report

(APSR) 2023. (June 30, 2022) (pp. 104-105).
43 Oregon Department of Human Services Child Welfare Division, Annual Progress and Services Report

(APSR) 2023. (June 30, 2022). (p. 105).


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CW met the standard for assessment timeliness in 2016 and has continued to do so in
2022.44 The 2016 Procedure Manual included CPS assessment timelines limited to within a
24-hour timeline (including within 0-2 hours and within 2-24 hours, allowing for
exceptions) and within five calendar days. This meets best practices for the timeliness of
child welfare assessments. The 2016 Procedure Manual allows CPS supervisors to change
or extend timelines under certain guidance.45 The 2016 Procedure Manual specifies
timeframes and steps to take for making face-to-face contacts with child(ren).46 This
meets best practices for face-to-face visits with children.

CW has several initiatives in place to continue to meet timeliness goals in responding to
allegations of child abuse or neglect. For example, in 2022, Safety Consultants worked with
local offices to develop strategies and action plans to increase the timeliness of initial
contacts and the quality of ongoing contacts to improve child safety outcomes. CW
continues to promote making initial contacts within the required timeframes by sharing
qualitative and quantitative data. Also in 2022, CW’s Child Safety Program partnered with
the Child Fatality Prevention and Review Program (CFPRP) and the University of Kentucky
Center for Innovation in Population Health to complete Safe Systems Mapping.47 The goal of
using Safe Systems Mapping is to improve timeliness to initial contacts with families,
promote accurate initial contact data collection, and respond to additional contacts with
families to improve child safety. Furthermore, CW began participating in the National
Partnership for Child Safety (NPCS). NPCS collaborates with 26 state, county, and Tribal
child and family serving agencies and technical assistance advisors in support of safety
science implementation.48

ORCAH’s timeliness to assignment has increased throughout 2022. Timely assignment
from ORCAH is critical because it provides CPS caseworkers more time to contact families.
Screeners must make a screening decision within ten hours of receipt of the contact. Of
reports that must be assigned within 10 hours, ORCAH assigned 79 percent (on average)
within the required timeframe during 2021 and 87 percent between January and April




44 Oregon Department of Human Services Child Welfare Division, Annual Progress and Services Report

(APSR) 2023. (June 30, 2022).
45 Oregon Department of Human Services Child Welfare Procedure Manual. (Rev. 2016). (pp. 78-80).

46 Oregon Department of Human Services Child Welfare Procedure Manual. (Rev. 2016.) (pp. 91-92).

47 University of Kentucky. Center for Innovation in Population Health. https://iph.uky.edu/what-we-

do/safe-systems
48 University of Kentucky. Center for Innovation in Population Health.

https://cph.uky.edu/news/npcs-highlights-progress-toward-integrating-safety-science-child-welfare-
systems


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2022. For reports with a 24-hour response, 86 percent (on average) were completed on
time during 2021 compared to 90 percent during January-April 2022.49

In-Home Services

Oregon made progress in improving the safety assessment of children under supervision of
in-home services by updating procedures to encourage best practices of co-managing
work between in-home and substitute care. This ensures safety and increases the number
of face-to-face visits that caseworkers completed with children.

Child welfare agencies have a responsibility to ensure the safety of children who remain in
their homes. In-home services allow children to stay with their parents, siblings, extended
family members, friends, and within their schools while the child welfare agency provides
supports and resources to help parents address the issues that led to abuse or neglect and
ensure the children are safe. Decision-making and safety planning by the agency with the
family can prevent future abuse and the unnecessary placement of children in substitute
care.

One indicator of progress is in 2021 CW executive leadership, the Child Safety and
Permanency Programs, and delivery Program Managers partnered to develop district-
specific engagement plans that are aligned with the Vision for Transformation. CW now has
a Mobile CPS Unit that helps local offices make sound safety decisions and assists offices in
completing CPS assessments within the required timeframes. The Mobile CPS Unit provides
new or less experienced CPS caseworkers, supervisors, and program managers with
opportunities to learn how to engage families in the safety assessment process, sufficiently
gather information at initial and ongoing contact with families, and analyze the information
gathered to make safety determinations.50

CW also made progress by updating the Procedure Manual to enable co-case management.
Co-case management improves safety for children because it increases opportunities for
early collaboration and engagement with families to ensure safety threats are identified
correctly and that safety plans are as unintrusive as possible while managing safety and
promoting cross-program partnerships and perspectives.51 The 2016 Procedure Manual
did not include this capability. The Procedure Manual now clarifies that conducting




49 Oregon Department of Human Services Child Welfare Division, Annual Progress and Services Report

(APSR) 2023. (June 30, 2022). (p. 28).
50 Oregon Department of Human Services Child Welfare Division, Annual Progress and Services Report

(APSR) 2023. (June 30, 2022). (p. 33).
51 Oregon Department of Human Services Child Welfare Procedure Manual. (Rev. 10/1/2022) (pp. 430-

437).


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assessments is more than fact-finding; it is a way to establish rapport with family members
and engage them in the safety intervention process.

Additionally, Oregon also made progress by developing programs that help create more
comprehensive safety plans. For example, the Child Safety Program uses group supervision
for cases with infants, previously founded dispositions, or cases where children
experienced recurring maltreatment. CW is using the Child Safety Program more
strategically now to identify especially vulnerable children. Group supervision provides
coaching and supports CPS workers, Coaching and Training Specialists, and supervisors by
comprehensively gathering safety-related information and working with families to develop
in-home safety plans when there is present or impending danger. Another example is the
Safe & Together™ Model52, an internationally recognized suite of tools and interventions
designed to help child welfare professionals become informed about domestic violence.

Caseworker Visits

For in-home services cases, caseworkers must visit children in the home at least monthly.
Caseworker visits with children and families provide an opportunity for ongoing
assessment of safety and risk. The frequency of visits with children and families should be
determined according to the circumstances of the case, including risk and safety concerns
present, the age and vulnerability of the child, and the reason for the agency’s involvement
with the family.53 Caseworkers improved meeting the requirements for face-to-face
contact for children receiving in-home services from 60 percent in 2016 to 70 percent in
2021.


4.1.6 Using Data to Improve Safety: Summary of Key Theme

Finding: Oregon improved safety assessments by using results from reviews to inform
changes to safety practices. CW uses biannual fidelity reviews, structured reviews of child
fatalities or near fatalities, and data dashboards to continue improving the use of data to
inform and improve safety.

Since 2016, Child Welfare has shown improved safety assessment by implementing a CQI
process that includes fidelity reviews, the Critical Incident Response Team, and data
dashboards.




52 Safe and Together Institute. Model Overview. https://safeandtogetherinstitute.com/about-us/about-

the-model/
53 U.S. Department of Health & Human Services Administration for Children and Families. (June 2022).

Child and Family Services Reviews. Onsite Review Instrument and Instructions.
https://www.acf.hhs.gov/sites/default/files/documents/cb/cfsr-r4-osri-fillable.pdf


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Fidelity Reviews: Fidelity reviews are essential because they allow CW to update their
information and processes consistently. These reviews, which are part of Oregon’s Program
Improvement Plan, developed following their CFSR in 2016, also allow leadership to see
how decisions are made across the state, which supports consistency. CW’s fidelity reviews
are strong because they are conducted twice a year, the cases are pulled from a
randomized sample, they use standardized language, reviewers are trained specifically to
conduct the reviews, and reviewers are recruited from various stakeholders, including
Tribal Affairs, the Portland State University Child Welfare Partnership, ORCAH, the CFSR
team, and CPS staff. The CPS fidelity review evaluates CPS responsiveness, information
gathering, safety determinations, interventions, and dispositions. The information is
compiled in a series of reports:

    •    A statewide report provides an overview of statewide practice
    •    A comparison report including information about all the local offices and districts
    •    A district report providing information for each local office

Supervisors who participated in the fidelity review process reported learning a lot and
wishing they had the time and capacity to do more. District and Program Managers for
most districts also have a review process for safety data and develop goals for
improvements.

In addition, the Office of Program Integrity conducts state led CFSRs and reviews each
district annually. Safety Consultants participate in the CFSR team and debrief the CFSR
process and findings. The Safety Consultants discuss the results of fidelity reviews and
other data (such as Results Oriented Management, or ROM, reports related to the CFSR
findings) and local practice to discuss differences in CFSR measures and other data. The
CFSR team analyzes and discusses root cause analysis and includes all design consultants
who work with the local offices. Safety Consultants explore safety practices and discuss
potential interventions for improvements at the state and local levels.54

Critical Incident Response Team (CIRT): Child welfare distinguishes reports of allegations
of abuse and neglect versus critical incidents. Statute defines both allegations of abuse and
critical incidents, and critical incidents are a subset of allegations of child abuse and
neglect. There are specific procedures for handling critical incidents, such as a fatality or
near fatality, while children are in CW custody. Separate reviews occur for critical incidents
that involve the Critical Incident Response Team.55 These reviews are viewed as
opportunities for learning and for systems improvement. Oregon statute requires a CIRT on
cases where a child has died due to abuse and the child and family had been involved with


54 Oregon Department of Human Services Child Welfare Division, Annual Progress and Services Report

(APSR). (2023). (June 30, 2022). (p. 102).
55 Oregon Department of Human Services Child Welfare Procedure Manual. (Rev. 10/1/2022) (pp. 21-27).




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the Department within the preceding 12 months of the fatality. Beginning in 2018, Oregon
began using a safety culture framework in the CIRT process. CW has received technical
assistance from the National Partnership on Child Safety Collaborative through Casey
Family Programs at the University of Kentucky.

Data Dashboards: There are several data dashboards available to help CW manage
workloads, ensure safety assessments are completed, and improve data. Caseload
dashboards quantify the number of assessments, cases, or providers each caseworker is
assigned. The CW executive dashboard includes information about assessment data to
provide insight into child welfare practice overall.56 More information about these
dashboards can be found in Section 4.11.

Finally, as it relates to data-driven practice, Program Managers stated that child welfare
leaders promote safety for children under child welfare supervision by providing training
and support to staff regarding safety practices. Safety is emphasized through the agency’s
involvement with all families, in the home and in foster care. Leaders focus on responding
to safety consistently across Oregon by continuous refinement of procedures for
alignment.

4.1.7 Contextual Factors: Child and Family Services Review
          Findings
Oregon participated in Round 3 of the CFSR in 2016, and that review assessed adequacy of
the three safety outcomes:

    •    Item 1: Were the agency’s responses to all accepted child maltreatment reports
         initiated, and face-to-face contact with the children made, within timeframes
         established by the agency policies or state statutes?
    •    Item 2: Did the agency make concerted efforts to provide services to the family to
         prevent children’s entry into foster care or re-entry after reunification?
    •    Item 3: Did the agency make concerted efforts to assess and address the risk and
         safety concerns related to the child(ren) in their own homes or while in foster care?

Oregon was assessed as needing improvement in all three safety areas because it failed to
meet the 95 percent required national threshold for the item to be rated as a strength.
Since the 2016 review, fewer than six states have met the 95 percent national threshold for
these three items, so Oregon is not alone. Oregon’s quantitative results are shown in the
appendix. CW shows improved performance in Item 1 from 2016 to 2021. CW shows minor
drops in case ratings for Item 2 and Item 3 from 2016 to 2021 (2 percent and 1 percent

56 Oregon Department of Human Services Child Welfare Division, Annual Progress and Services Report

(APSR). (2023). (June 30, 2022). (p. 103).


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respectively). CW shows better performance in 2016 over the national performance average
in 2016, which reflects all states reviewed in Round 3 of the CFSR.

While the CFSR focuses on specific data points within child welfare, PK’s assessment has
considered the quantitative and qualitative data contained in the CFSR and Oregon’s
practice. PK acknowledges that despite some slight declines in quantitative data, CW is
keeping children safer and has made significant changes in statute and policy for
screening, investigatory response, and supervisory policies, as well as communication
protocols among the multiple offices within ODHS.57 As mentioned previously,
implementation of these policies, protocols, and statutory changes takes time, and more
time is needed before CW will realize notable changes in the quantitative data.

4.2        CW made significant progress to improve the
           agency culture
Finding: Since 2016, Oregon has made significant progress in improving and
prioritizing the agency culture led by implementing the Vision for Transformation. The
Executive Leadership Team infuses the Vision for Transformation’s guiding principles into
each aspect of child welfare practice.


4.2.1 Key Themes
                                         Table 3. Key Themes

  Key Theme                                            Description

 Leadership        In 2020, CW created the Vision for Transformation to build a CW Division
 Vision            that consistently supports the needs of families and serves children and
                   young adults. One of its guiding principles is enhancing staff and
                   infrastructure with several initiatives to improve organizational culture
                   and develop a supported and engaged workforce. Several assessment
                   participants credited the Vision for Transformation and current CW
                   leadership for changes and improvements in agency culture.

 Leadership        CW has made progress in modeling leadership skills for the workforce
 Modeling          and shifting the organizational culture to be antiracist and equitable.
                   According to assessment participants, child welfare executives
                   consistently model strong leadership skills and behaviors.



57 Administration for Children and Families, Children’s Bureau. (2016). Child and Family Services Reviews:

Oregon Final Report. https://www.oregon.gov/odhs/data/cwdata/cw-cfsr-final-2016.pdf


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  Key Theme                                      Description

 Worker          CW has improved psychological safety for workers in multiple ways but
 Safety          has more work to do on improving physical safety for workers.
                 Assessment participants cited a significant difference in CW’s focus on
                 child safety versus worker safety.


4.2.2 Leadership Vision: Summary of Key Theme

Finding: Since 2016, CW made significant improvements in this area, framed by creating
the Vision for Transformation. The goal of the Vision is to create a CW Division that
consistently supports the needs of families and serves children and young adults. This
Vision touches every area of CW practice and impacts policy and expectations. As part of
the Vision, CW developed a more robust CQI framework to improve feedback loops and
data-driven decision-making.

The 2020 Child Welfare Vision for Transformation is the roadmap for CW to transform into
an organization that supports and preserves families. That is the leadership vision for the
future of the CW Division. One of its guiding principles is enhancing staff and
infrastructure with several initiatives to improve organizational culture and develop a
supported and engaged workforce. Several assessment participants credited the Vision for
Transformation and the Executive Leadership Team for the improvements in agency culture
over the past three years.

When explicitly asked in the 2021 survey about the leadership of Ms. Jones Gaston, staff
with more than 16 years of experience at CW were more likely than those with fewer years
of experience to say that the agency culture improved during her tenure. These staff have
worked with several directors during their careers at CW.

Focus group participants noted that Ms. Jones Gaston and her Executive Leadership Team
brought stability and comfort that staff did not feel with previous leaders and brought
hope to child welfare. There is a consistent belief that, since 2019, this Executive
Leadership Team has improved staff morale, improved the practice of leading by example,
and brought a focused mission to the agency.

Interviewees and focus group participants reported that the Executive Leadership Team has
shifted the culture from a punitive one to a learning culture and has brought a prevention
focus to child welfare. They said their work to help define the Vision for Transformation
and build the Executive Leadership Team has improved agency culture.




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In the past two years, CW has also dedicated significant effort to building a continuous
quality improvement (CQI) infrastructure that uses data to drive decision-making and
performance monitoring. Please see Section 4.3 for more information on CQI. Since 2016,
CW leadership has also revised the Procedure Manual to use more directive language and
active voice, which results in less ambiguity regarding whose responsibility tasks are. This
language change provides increased clarity, action, and a sense of accountability, which
may contribute to improved organizational culture.


4.2.3 Leadership Modeling: Summary of Key Theme

Finding: Since 2016, CW has made progress in modeling leadership skills for the
workforce and shifting the organizational culture to be antiracist and equitable. The CW
Executive Leadership Team models various leadership skills to each level of the workforce
and encourages engagement, communication, and vulnerability.

According to assessment participants, this Executive Leadership Team consistently models
strong leadership skills and behaviors. This includes:

   •    Modeling servant leadership, in which leaders support their staff and teams
   •    Sharing power for efficient decision-making
   •    Yielding power to those with lived experience
   •    Practicing open communication and transparency
   •    Leading by example
   •    Coaching and mentoring
   •    Providing and receiving feedback
   •    Partnering with local communities

Participants noted that setting a clear path with the Vision for Transformation and
committing to its initiatives has had a positive impact.

CW has built an Executive Leadership Team that collaborates across the division, is working
toward a shared vision, and has increased confidence and security among child welfare
staff. Assessment participants shared the following examples of leadership skills and
behaviors modeled over the last three years:

   •    They are leading by example. This Executive Leadership Team models the
        behaviors and actions needed to shape the agency they are hoping to achieve. They
        have modeled setting a vision that aligns with the agency’s core values and acting
        on that vision. Focus group participants described leaders as "walking the talk" by
        demonstrating how the workforce should show up for colleagues, children, and
        families while taking measured risks. Leadership has been working with managers



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        to build their capacity to transform the agency. They are working to create an
        atmosphere of equity and inclusion across CW, including how managers interact
        with employees, families, and tribal communities. CW created a new Deputy Director
        position focused on equity, training, and the workforce and built a new team in the
        Division. This team develops and provides training to the workforce on equity,
        intersectionality, and working with children and families in the LGBTQIA2S+
        community. CW leaders demonstrate the behaviors, actions, and tones managers
        are expected to use when interacting with staff and the community. Under this
        Executive Team’s leadership, CW has been working to create an antiracist
        organization and has provided managers with the tools to do that. Assessment
        participants noted that executives model CW’s core values, they are consistent, and
        they show up.
   •    They are shifting organizational culture. Leaders support districts and counties by
        continuing to implement CQI processes and use data to drive decision-making and
        needed improvements in child welfare procedures, staffing, and workforce support.
        The team takes a holistic approach when looking at child safety. CW leaders created
        a project management office and have built change management processes to
        implement new interventions better.
   •    They are engaging with community partners. Leadership prioritizes connection
        with community providers, stakeholders, and community members. These
        connections are one of the guiding principles of the Vision for Transformation. The
        team has assessed whether the right people are represented in advisory groups and
        set new expectations for the roles of CW’s multiple advisory committees and
        councils. This includes yielding power to those with lived experience. The feedback
        from committee and council members has been positive, citing that they feel more
        engaged and feel like they are making fundamental contributions to system
        improvements. According to assessment participants, leadership is engaged in both
        policymaking and in engaging communities, which is a better model than in the
        past, where leaders were engaged in one or the other.
   •    They are coaching and mentoring. CW leaders are working with the Capacity
        Building Center for States to launch a coaching model to increase and improve the
        psychological safety culture to create a learning organization to help the workforce
        thrive. CW plans to update its supervision model to have a coaching and reflective
        supervision foundation.
   •    They are increasing communication and transparency. Assessment participants
        noted a shift to having more open communication in recent years. CW leaders
        provide opportunities for staff to process their experiences and allow staff to
        provide feedback without consequence. Leadership prioritizes a workforce culture
        where concerns and issues related to worker well-being can be freely expressed.



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        They are open to feedback and try and make changes when feasible. Leaders offer
        opportunities for staff to submit complaints, feedback, and questions. Focus group
        participants reported that the feedback loop as part of the CQI process is the most
        consistent it has been in more than 20 years. Modeling from leadership also helps
        Program Managers model this to their teams.
   •    They listen to concerns from staff. Some assessment participants shared that while
        there has always been a culture where staff could express concerns, this
        significantly improved with current CW leadership. Assessment participants reported
        that open communication about safety issues or safety concerns for children has
        increased since 2019. The Executive Leadership Team has prioritized and fostered a
        culture where staff can express concerns and issues related to child well-being and
        provided several avenues for staff to do so. They can discuss issues with their
        immediate supervisor, the Program Manager, call the child abuse hotline, or raise
        safety concerns to child welfare leadership if necessary. When discussing child
        safety, participants noted that their supervisors support them, encourage them to
        share safety concerns, and trust them to escalate issues when necessary. CW staff
        and managers report they are also encouraged to speak up with safety concerns
        regarding children in substitute care. Assessment participants reported that when
        they are analyzing a critical injury or fatality, they are encouraged to speak up and
        share information that they have. They noted that while this is still a work in
        progress, it has improved.
   •    They are vulnerable and owning their mistakes. Leaders communicate and
        demonstrate that making mistakes is part of growing and improving. They hold
        their mistakes and allow others to make mistakes. They share that it is okay for
        managers and staff to get something wrong or not have it quite right, and they
        must keep asking questions.


4.2.4 Worker Safety: Summary of Key Theme

Finding: Worker safety includes both physical and psychological safety. Since 2016, CW
has improved psychological safety for workers by focusing on mental health, diversity,
equity, inclusion, belonging, and open communication. CW has made some progress
regarding physical safety for workers but still feel their safety is at risk at times.


Physical Safety

CW has made some progress regarding physical safety for workers. Still, some focus group
participants expressed that worker safety is one of the areas where CW has the most work




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to do as an agency. Since 2016, the Procedure Manual58 has been updated to include a new
exception to meeting the initial 24-hour response timeline if worker safety is questioned
and law enforcement assistance is not immediately available. However, overall policy and
procedure guidance around worker safety remains limited. CW does have policy language
requiring caseworkers to plan for their safety, evaluate potentially dangerous situations,
and take safety precautions. Physical safety is a significant concern for many workers due
to their client’s mental and physical health or substance use issues. Caseworkers cited
conflicting practices among branches and supervisors. There does not appear to be
consistent guidance for effectively responding to child abuse reports while keeping staff
safety in mind.

Psychological Safety

Psychological safety is essential for the child welfare workforce as it positively impacts job
attitudes and behaviors and strongly predicts work engagement, job satisfaction, and
commitment. Psychological safety is measured at both the individual and group level, and
both are positively impacted by peer support, leadership support, and organizational
support.59

Assessment participants noted an increased recent focus on improving psychological safety
but noted it is inconsistent throughout CW.

This assessment identified several improvements to CW’s focus on psychological safety:

   •     Increased focus on diversity, equity, and inclusion. In 2020, CW created and hired
         a dedicated position within the Executive Leadership Team focused specifically on
         equity, training, and the workforce as part of the commitment to being an antiracist
         organization. Additionally, ODHS implemented Oregon Resilience in Support of
         Equity (RiSE)60 in 2017 to build a positive, respectful, and growth-focused agency.
         RiSE is at the core of increasing safety and belonging among workers. RiSE is both a
         direct response to employee input and a commitment from leadership. Safety, well-
         being, equitable treatment, and belonging are elements of RiSE. Several assessment
         participants spoke about RiSE and mentioned that they have never felt so
         comfortable discussing race, sexual orientation, and disability as they do now at
         CW. They cited RiSE as the fundamental difference from previous years.



58 Oregon Department of Human Services Child Welfare Procedure Manual. (Rev. 10/4/2021). (pp. 168-

171).
59 Quality Improvement Center for Workforce Development. (May 27, 2020). Psychological Safety.

https://www.qic-wd.org/umbrella-summary/psychological-safety
60 Oregon Department of Human Services. About RiSE.

https://www.oregon.gov/odhs/about/pages/rise.aspx


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   •    Focus on mental health. CW created a Critical Incident Stress Management debrief
        process in July 2020 to support staff impacted by traumatic incidents. Workers are
        invited to participate in these support sessions after a traumatic event is reported or
        if a worker reaches out for support. Participants note that the focus on mental
        health and well-being is helpful but varies from district to district, and some report
        that CW doesn’t do a good job recognizing the trauma that staff go through daily.
        Other participants noted that while mental health, self-care, and stress
        management are encouraged, there is no time available or practical way to conduct
        self-care on the job, and it becomes one more thing to do in their time away from
        work. Assessment participants discussed the need for CW to support staff without
        adding to workloads. CW may offer support groups and training, but caseworkers
        do not have time to do these. Some participants noted that while CW does not do an
        excellent job of recognizing the trauma that staff go through daily, it has started to
        improve over the last few years. Mental health for caseworkers has been a
        significant issue during COVID-19. CW offers an Employee Assistance Program that
        provides psychological and physical health care, working during a pandemic
        training, and other supports. Supervisors report that with so many staff taking
        personal time off for mental health, they lack resources to support the rest of the
        workforce.
   •    Open communication. Some assessment participants noted a shift to having more
        open communication. CW leaders provide opportunities for staff to talk through
        what they are experiencing and allow staff to provide feedback without
        consequence. Staff can share what is working and not working for them. Leaders
        offer opportunities for staff to submit complaints, feedback, and questions. Both
        leadership and staff discussed supervisors shifting to having open door policies for
        the team to discuss safety and mental health concerns and noted that it has not
        always been this way at CW. Current leadership prioritizes a workforce culture
        where problems and issues related to worker well-being can be expressed.
   •    Coaching and mentoring. As mentioned in this section, CW leaders are launching a
        coaching model to increase and improve the psychological safety culture to create a
        learning organization to help the workforce thrive.
   •    Policy updates. The 2021 CW Child Welfare Procedure Manual contains more
        information regarding self-care and caring for others and what specific programs
        may be available to resource parents and employees in the event of a child fatality.
        This includes recognizing grief and encouraging the use of public services.

Additional information about psychological safety can be found in Section 4.11, which
discusses staff support.




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4.3       CW made consistent progress to improve data-
          driven decision-making and quality of services
Finding: Since 2016, Oregon has made consistent progress to improve data-driven
decision-making and the quality of services. Building capacity to be data-driven has been
a leadership priority, evidenced by regular technology upgrades and a solid financial
investment. Data-driven decision-making is a priority for national child welfare practice,
and CW’s focus on this is an encouraging improvement.


4.3.1 Key Themes
                                      Table 4. Key Themes

       Key Theme                                        Description

Continuous Quality           CQI advances include an additional 17 staff dedicated to CQI in
Improvement (CQI)            2021. While data-driven decision-making is not fully integrated
                             into daily casework practice, it is being used to make placement
                             decisions, screening decisions, tracking critical incidents,
                             managing caseloads, and other ways. Implementation science
                             and continued leadership prioritization of CQI show that this
                             integration will occur over time.

Data Capacity                Since 2016, CW has made substantial investments in
                             technology, reporting, and adding new staff dedicated to
                             continuous quality improvement. The Office of Reporting,
                             Research, and Implementation (ORRAI) was created to
                             consolidate reporting and focus capacity on building
                             dashboards that support practice. Tools and reports are
                             available and are timelier, especially for leadership. Progress is
                             needed in building the consistent use of data across the agency.
                             A new dashboard was constructed to track critical incidents, and
                             staff can access better tools to identify fit between children and
                             resource families.

Improving Service            CW has increased its capacity to collect data and uses it to
Quality                      evaluate progress, monitor compliance, meet state and federal
                             requirements, and improve services in response to the evidence.
                             Much of this improvement has occurred since 2017.




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4.3.2 Continuous Quality Improvement (CQI): Summary of Key
         Theme

Finding: Since 2016, CW has shown tangible evidence of improvement in this area by
building a CQI Team consisting of staff dedicated to using data for continuous quality
improvement. The hiring of these 17 staff in 2020-2021 was funded by specific legislation
aimed at improving the use of data by the CW agency. This CQI Team will assist CW staff in
using data to make more informed decisions for children, young adults, and families.

In child welfare, the systematic use of data for performance and monitoring is called
continuous quality improvement. CQI is the process of identifying, describing, and
analyzing strengths and problems and then testing, implementing, learning from, and
revising solutions. One of the guiding principles of the Vision for Transformation is
“enhancing the structure of our system by using data with continuous quality
improvement.”61

Building CQI capacity has been an ongoing effort for CW, fueled by support in 2021 from
the Oregon Legislature to provide the staff positions needed to build a CQI workforce. CW
also worked with partners at Chapin Hall Center for Children at the University of Chicago to
build robust CQI processes. As part of this process, CW created the CQI Workgroup to
collect information on current processes, staff needs, and tribal input; and develop
recommendations to build a CQI process that is flexible and responsive. This process
aligns with the Vision for Transformation, informs the use of data through an equity
framework, and defines the process to access and understand data.62 The workgroup met
throughout 2021 and leveraged expertise from tribal partners and those with lived
experience.63 The CQI Workgroup made recommendations concerning CQI implementation
structure, CQI processes, feedback loops, and the use of data. In mid-2021, CW
established a CQI Team with new full-time positions to lead the quality improvement work
and provide more statewide technical support for implementing the CQI priorities.

In fall 2021, CW created a cross-program team with the Office of Reporting, Research,
Analytics, and Implementation (ORRAI) to build the CQI data team that would develop a
statewide CQI model. The team is working with CW to build data literacy and increase data
transparency within CW and its community partners to help identify opportunities for
improvement, track trends, and identify strengths.64



                                              Oregon Child Welfare Division Vision for Transformation.
61 Oregon Department of Human Services. (2020).

https://sharedsystems.ODHSoha.state.or.us/ODHSForms/Served/de2445.pdf
62 ODHS Child Welfare Workgroup Charter: CW Statewide CQI Workgroup. (4/8/2021).

63 ODHS CW Workgroup PowerPoint: Recommendations for Statewide CQI Structure. (10/19/2021).

64 ODHS Memo: CW and ORRAI partner to create a statewide CQI model. (8/9/2021).




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CW has made other concrete improvements in refining its Quality Assurance (QA) and CQI
processes since 2016, such as ensuring staff throughout the division contribute to
improving the CQI and case review processes. More detail about these processes can be
found in the appendix. CW is partnering with Adopt USKids65, the National Training
Institute66, and Wendy’s Wonderful Kids67 to build and repair relationships with resource
parents and young adults to conduct a CQI process on their experience with the child
welfare system to ensure that those with lived experience can contribute to the
improvement of the child welfare system in Oregon.

4.3.3 Data Capacity: Summary of Key Theme

Finding: Since 2016, data capacity has significantly improved. Capacity improvements
include technical enhancements to OR-Kids and expanded access to data reports via the
ROM reporting interface. An ODHS Child Welfare Federal Reporting and Data website was
launched in December 2021 and is accessible to external partners, the public, and staff
through an interactive dashboard. These upgrades improve data accuracy and availability
and encourage the child welfare workforce to use data in daily decision-making.

Data capacity has improved substantially since Oregon’s State Automated Child Welfare
Information System (SACWIS) was considered an area needing improvement in the 2016
CFSR and was highlighted as a need in the 2016 independent report. The Vision for
Transformation emphasizes building a culture of inquiry and curiosity that leads to
stronger collaboration and better problem-solving, and includes developing a system of
continuous quality improvement where data is used to effectively target needs.

The ODHS Office of Reporting, Research, Analytics, and Implementation (ORRAI) was
established, in part, to support ODHS’ design and implementation of data-informed
change.68 In addition to supporting implementation of new initiatives, ORRAI analyzes and
evaluates ODHS’ programs and services to ensure they are effective and meet the needs of
children and families. In 2017, ORRAI added implementation staff to strengthen the
inclusion of those with lived expertise, including workers, experts, and ODHS clients, and
improve the planning and coordination of implementation efforts.




65 AdoptUSKids. https://www.adoptuskids.org

66 National Center for Victims of Crime. National Training Institute (NTI).

https://victimsofcrime.org/national-training-institute/
67 Dave Thomas Foundation for Adoption, Wendy’s Wonderful Kids.

https://www.davethomasfoundation.org/our-programs/wendys-wonderful-kids/
68 Office of Reporting, Research, Analytics and Implementation (ORRAI).

https://www.oregon.gov/odhs/data/pages/orrai.aspx


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CW has also implemented new processes to improve case reviews, reporting, outcomes,
and services for children, young adults, and families. More information on these tools can
be found in the appendix. Additionally, since 2019, there has been an increased focus on
using data to tell a story and the value of various data elements in decision-making.69
Interviewees commented that data has been used in new ways under Ms. Jones Gaston’s
leadership.

4.3.4 Use of Data to Improve Service Quality: Summary of Key
          Theme

Finding: The CQI Team is helping CW use data to make more informed, comprehensive
decisions for children, young adults, and families in various areas of practice. CW uses
data tracking in monitoring call wait times for the hotline, caseload tracking, tracking
timeliness of initial assessments, recruitment and retention of resource families, and
robust processes to integrate CQI into other areas that need monitoring and improvement
are being developed.

CW has begun using data more consistently throughout the life of a case, as shown in the
table below. As CW leadership continues to prioritize data-driven decision-making, relying
on data at each phase of a case will become the way of working throughout the division.

                                Table 5. Improvements in Use of Data
      Screening      Beginning in 2020, ORCAH implemented a data analytics tool that allows
                     for the screener to make data-informed decisions about whether to
                     assign a report for CPS Assessment. In 2022, CW transitioned from using
                     data analytics to the Structured Decision Making® (SDM) Screening and
                     Response Time Assessment Tool, which identifies the key points in the
                     life of a child welfare case and uses structured assessments to improve
                     the consistency and validity of each decision.

  Management         Since 2016, CW implemented new tools, including developing
                     dashboards and improving access to data, and data requests were
                     streamlined to track themes and respond systemically to recurring
                     requests. The 2021survey showed that more managers than caseworkers
                     believed that CW provided enough training and coaching on how they
                     could use data to drive decisions and improve the quality of services.
                     These responses show that leadership may currently be using data more
                     than caseworkers. Caseworkers may not yet have a full understanding of
                     the data available to them to make daily case decisions. As the CQI


69 Staff interviews and survey results.




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                  process becomes more embedded in CW practice, caseworkers will have
                  increased access to data that will support their decision making, from
                  placement decisions to permanency goals.

        Service   CW is also making progress in using data with external service
      Providers   providers. Interviewees reported that the contracts team has been
                  working on incorporating performance standards into contracts for the
                  past several years. One interviewee said that District Managers began to
                  engage contractors in conversations regarding expected outcomes and
                  quality, and some participants shared that there are not yet enough
                  incentives for providers to make performance-based contracting
                  effective. Momentum around performance-based contracts is building.

      Resource    Beginning in 2018, Resource Retention and Recruitment Champions
       Families   were hired and trained in each of the 16 districts to focus on the
                  recruitment and retention of resource families. Their role is to assess the
                  needs of children and families, local demographics, and resource parent
                  strengths to determine the recruitment needs for their district. Each
                  Champion has a district recruitment and retention plan, based on its
                  local population, with targeted and measurable goals. Each district plan
                  feeds into a statewide plan to inform efforts at the agency level. Before
                  the pandemic, Champions aimed to increase the number of resource
                  families by 10 percent. Champions also support local child welfare
                  offices in certifying new resource parents and coordinate retention
                  efforts across CPS, permanency, and certification teams. The Champions
                  use the data from prospective and current resource parents to inform
                  new recruitment and retention efforts.


4.4       CW made progress during the identified
          timeframe to improve recruitment, retention, and
          the support of resource parents
Finding: Since 2016, Oregon has improved recruitment of, training of, and support to
resource families. CW has implemented targeted recruitment to meet the needs of specific
children and is collaborating across the child-serving system to increase capacity for
resource homes. CW has increased service provision to resource families and has improved
the training based on feedback received from resource parents and community members.
While CW has not improved the ability to track the capacity of resource homes, this does
not outweigh the significant progress in other areas. These improvements in practice have




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not yet resulted in better outcomes for children, as Oregon’s placement stability data has
not improved.


4.4.1 Key Themes
                                   Table 6. Key Themes

            Key Theme                                    Description

 Diligent Recruitment              CW is focused on local, targeted recruitment, as shown
                                   by the hiring of 16 Resource Retention and
                                   Recruitment Champions, one in each district, to focus
                                   on recruitment of resource parents. These Champions
                                   use local data to drive their recruitment efforts and
                                   tailor them to the children needing care.

 Resource Home Capacity            CW is using targeted recruitment to expand current
                                   capacity and is establishing local partnerships with
                                   county-level behavioral health providers including
                                   through the county-level system of care. CW’s request
                                   to the legislature for an increase in reimbursement
                                   rates for resource parents passed in 2023 and will be
                                   effective in July 2024.

 Training Supports                 CW has retaken ownership of the resource parent
                                   training curricula and has incorporated feedback from
                                   resource parents in the development and
                                   implementation of the content. CW provides flexibility
                                   in training modality to meet resource parents’ needs.

 Placement Matching                CW uses several tools to appropriately match
                                   placements, including an assessment and home study.
                                   Oregon’s policy requires matching children’s needs to
                                   their caregiver’s capabilities, but placement matching
                                   does not occur as consistently as the workforce
                                   desires. Oregon’s placement stability is consistent but
                                   remains above the national standard.




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             Key Theme                                            Description

 Service Provision to Caregivers            CW provides services and supports to resource parents
                                            to meet their needs and those of the children in their
                                            homes, and tailors these services. Oregon’s formal
                                            respite program, which launched in January 2023 with
                                            newly allotted funding, has offered respite services
                                            statewide for some time.

 Tracking Capacity                          Capacity for substitute care is tracked manually
                                            through OR-Kids, which shows the number of certified
                                            homes, but does not provide needed and
                                            comprehensive information for caseworkers.


4.4.2 Diligent Recruitment: Summary of Key Theme

Finding: Since 2016, CW has prioritized best practices for diligent recruitment of
resource parents who can meet the needs of children in care. They are using data to
drive decision-making and local, targeted recruitment efforts to reflect children's needs,
cultures, and ethnicity in child welfare. The Vision for Transformation emphasizes the
leadership support for recruiting and retaining resource parents and the consistent
outreach and inclusion of community partners and voices of lived experience in this effort.

Diligent recruitment is the systematic process of recruiting, retaining, and supporting
resource parents who reflect the diversity of children who need placement.70 The diligent
recruitment process is the gold standard for engaging, preparing, and retaining resource
parents to develop capacity and improve outcomes for children. This requires child welfare
agencies to address systemic barriers to identifying prospective resource families and then
certifying, supporting, and retaining them.71 The national resource parent recruiting
campaign from Fostering CHAMPS72, in partnership with the North American Council on
Adoptable Children73, identifies six key drivers of a comprehensive recruitment and



                                   Diligent Recruitment of Families for Children in the Foster Care
70,2 James Bell Associates. (Aug. 2019).

System,Challenges and Recommendations for Policy and Practice. Children’s Bureau.
https://www.acf.hhs.gov/sites/default/files/documents/cb/diligentrecruitmentreport.pdf
71 Administration for Children and Families, US Department of Health and Human Services.

https://www.acf.hhs.gov/sites/default/files/documents/cb/diligentrecruitmentreport.pdf
                      A CHAMPS Guide on Foster Parent Recruitment and Retention: Strategies for
72 CHAMPS (April 2019).

Developing a Comprehensive Program. https://fosteringchamps.org/wp-
content/uploads/2019/04/CHAMPS-Guide-on-Foster-Parent-Recruitment-and-Retention.pdf
73 North American Council on Adoptable Children. https://nacac.org




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retention program. Oregon’s resource parent recruitment and retention practices meet
each key driver, as shown in the graphic below.

      Figure 6. Key Drivers of Resource Parent Recruitment and Retention Programs




In addition to the practices implemented in the graphic above, CW created a Resource
Parent Training Manager position as part of the Equity Training and Workforce
Development Team. CW now considers resource parents part of the workforce. The
Resource Parent Training Manager and the team of Training Development Specialists
develop transfer of learning and coaching tools to share with certifiers for ongoing
development and coaching of resource parents. One of the Training Development
Specialists is bilingual and supports the development of such tools in languages other than
English. CW also provides statewide coaching for resource parents on good practices in
caring for children.

In the past several years, Oregon has taken a progressive and innovative approach to the
recruitment and retention of resource parents to better reflect and represent the
population of children and young adults in care. When children and young adults can
connect with their caregivers and have resource parents who are open and supportive, their
placement stability and overall outcomes improve. As part of targeted recruitment and
since 2016, CW has hosted recruiting events and Pride events throughout the state and




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works with Basic Rights Oregon74 to provide safe and affirming homes for children and
young adults who identify as part of the LGBTQIA2S+ community. CW actively recruits
same-sex couples and members of the LGTBQIA2S+ community, as well as members of
faith-based communities. Certifiers address the openness and tolerance of prospective
resource parents from the initial outreach to mitigate conflicts or concerns that may occur
during placement and lead to placement disruption (and negatively impact placement
stability) if not addressed earlier in the process.

CW leadership is also recruiting and hiring individuals who are part of the LGBTQIA2S+
community to increase diversity in the workforce, improve representation, and grow their
practice with children and young adults who also identify as LGBTQIA2S+. Caseworkers
engage and support children and young adults, leading to increases in disclosures of
sexual orientation, gender identity, and expression (SOGIE) status. Regarding these
disclosures, in May 2023, the Oregon Legislature passed and signed into law Senate Bill
209, which protects data related to SOGIE status. This protection allows CW to now gather
these data without the unintentional consequence of outing a child or young adult and
potentially compromising their safety, as SOGIE data were previously subject to the legal
discovery process without any exceptions to the person’s safety or well-being.75

CW recognizes the need for services tailored to meet the unique needs of children and
young adults who identify as part of the LGBTQIA2S+ community. According to focus
group participants, these tailored services can be challenging to access in areas of Oregon.
In response, CW leadership shared that current service providers who can meet the needs
of transgender youth are expanding their service area to bridge these gaps.


4.4.3 Resource Home Capacity: Summary of Key Theme

Finding: Since 2016, CW has increased outreach with Treatment Services and Behavioral
Rehabilitation Services to increase placement capacity for children who need higher
levels of care. This allows children with higher needs to be placed appropriately and keeps
the population of general resource homes available to the children who do not have higher
needs. Despite these efforts, Oregon caseworkers still perceive a shortage of resource
homes, and staff have concerns about placement stability. To meet the needs of children
and young adults, CW is conducting continual, targeted recruitment to find appropriate
family resources, which did not occur consistently in 2016 and is a significant

74 Basic Rights Oregon. www.basicrights.org



75 Oregon Department of Human Services Child Welfare Division (June 30, 2023). Annual Progress and

Services Report 2024. https://www.oregon.gov/dhs/children/Pages/data- publications.aspx




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improvement. There was an adjustment to resource parents’ reimbursement rates in 2017
(implemented in 2018). After CW recently advocated for another increase, the legislature
approved an increase effective in July 2024.

Child welfare agencies nationwide are continually focused on expanding the capacity of
resource homes and higher levels of care for the children and young adults who need
them, and Oregon is no different. As mentioned in the previous section, CW’s targeted
recruitment effort is a significant undertaking that has shown an increased capacity in
other jurisdictions.

Focus group participants shared that they believe the responsibility for increasing capacity
should be shared across the child-serving system and not fall solely to CW. They shared
that CW needs support and assistance from other agencies and child-caring organizations
to meet this need, as children with higher behavioral or mental health needs may require
placement beyond general resource homes. Children and young adults in substitute care
are served by the behavioral and public health systems in addition to child welfare. The
lack of consistent coordination across the child-serving system creates a barrier to
retaining resource parents, as some parents cannot meet the children's needs in their
homes or face too many safety risks for the rest of their family. Focus group participants
shared concerns about children and young adults bouncing between resource family
placements and residential care due to the lack of support for resource homes. Children
sometimes need higher levels of supervision and support than some resource families can
provide. PK agrees that each aspect of the child-serving system has a role to play in
supporting children, young adults, and families, and ODHS is making progress in providing
leadership to bridge these gaps.

   •    ODHS Treatment Services has worked for several years to partner with behavioral
        health services and providers to increase capacity and develop additional services
        for children and families. Many children and young adults involved with behavioral
        health are also involved with child welfare.
   •    The Oregon Youth Authority (OYA) and the Developmental Disabilities (DD) program
        each have certified homes and are adding placement capacity. OYA contracts out for
        placements when a provider is needed, and ODDS identifies providers specific to the
        children and young adults who need placement. CW has a responsibility to find
        placement options because they cannot refuse placements.
   •    In response to the 2020 Secretary of State’s Audit, ODHS established a statewide
        interagency agreement with OHA in 2022 to develop roles and responsibilities for
        both OHA and ODHS in “measuring, maintaining, and developing service capacity in




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        the Intensive Treatment Services service array.”76 This agreement requires both OHA
        and ODHS to collaborate on data collection, data analysis, and the provision of
        equitable access to quality services. This collaboration allows for cross-system
        support and partnership to allow children and families to receive high-quality
        services regardless of where they live in Oregon, which bridges a significant gap
        identified by focus group and interview participants. The interagency agreement
        allows children and families throughout Oregon to seamlessly receive the support
        and services they need, reducing barriers and obstacles to positive outcomes and
        permanence.

Families shoulder a financial impact when choosing to become resource families. CW
recognizes the burden this can place on a family and provides multiple reimbursement
levels to offset that impact. Resource parents had not received an increase in the Base Rate
since 2018, and the legislature recently passed the rate increase that CW leadership
requested, which will be effective July 1, 2024. Resource parents’ rates will increase by an
average of $241 per month.77 In addition, the legislature increased employment-related
daycare eligibility to reflect involvement with child welfare. Resource parents have received
additional resources and reimbursement in certain circumstances, such as caring for
children and young adults who tested positive for COVID-19.


4.4.4 Training Supports: Summary of Key Theme

Finding: Since 2016, CW has revised resource parent training and has brought the
development and oversight back to the agency from Portland State University. Feedback
from resource parents and the community was incorporated into the redesign of the
training, and the revision of the curricula is connected to CW’s CQI efforts and the Equity
Training and Workforce Development Team. With these changes and technology tools,
resource parents now have increased access to their training and certification information.

Training for resource parents has been redesigned and implemented in the past several
years in partnership with tribes, communities, and resource families. CW has hired a
training team to support the ongoing development of curricula and delivery of training. CW
sought feedback from resource parents on the training content and delivery for the last five
years, and based on that feedback, resource parents receive content from the National
Training and Development Curriculum (NTDC) for Foster and Adoptive Parents78 and the
Resource and Adoptive Family Training (RAFT). These curricula include information


76 Interagency Agreement: Oregon Health Authority, Oregon Department of Human Services Intensive

Treatment Services Capacity, 2022-2025.
77 ODHS Child Welfare 2023 Legislative Session Highlights.

78 NTDC: https://ntdcportal.org




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resource parents need to create and support stable placements, meet complex needs, and
address risk factors leading to maltreatment in care. The RAFT curriculum is offered in
partnership with communities and tribes and is delivered after resource parents complete
orientation and mandatory reporting training. Resource parents can also watch
supplemental videos about the overview of the child welfare system and expand their
parenting paradigm. This curriculum has been updated to include the expectation of
resource families in creating safe and affirming homes for children and young adults.

Implementing the RAFT curriculum and technology solutions to support certification
includes increasing training delivery and resource parent access to content. The technology
solutions will include access to a Learning Management System (LMS) to provide resource
parents entree to their certification materials and training content in a single portal,
allowing them to obtain the information they need more efficiently. The RAFT curriculum is
also offered in multiple methodologies to best meet resource parents’ learning needs, and
while a trained facilitator must deliver it, it can be provided in-person, or in a virtual or
hybrid manner to allow ease of access to training content.

The training redesign is part of the expansion of the CW continuous quality improvement
(CQI) infrastructure that began under the guidance of Aprille Flint-Gerner and the Equity
Training and Workforce Development Team. This team is developing training and
supporting the building of practice models for everyone in the child welfare workforce,
including resource parents. The team is in the early stages of developing a comprehensive
practice model.

The CW workforce receives training on recruiting, retaining, and supporting substitute care
providers in their orientation and foundation training. They learn about prioritizing relative
placements, maintaining children’s connections to their communities, and the importance
of permanence for children and young adults in care. The NTDC curriculum for resource
parents is expanding this discussion for caseworkers. The Resource Retention and
Recruitment Champions receive coaching on engaging and supporting resource parents as
part of their daily responsibilities. CW staff also participated in training with Alia
Innovations79 regarding the focus on families and that a family’s involvement with the child
welfare system should be temporary. The work with Alia included permanency and safety
supervisors, CPS and Safety Consultants, and Program Managers from 16 districts across
Oregon. The participants, split into three cohorts, participate in learning circles and
intensive case consultations to improve family engagement and achieve permanence. CW
staff responsible for certifying resource family homes also receive specialized training on
the certification process. CW staff had access to microlearnings as well, with topics
including anti-racism work, navigating hard conversations, and using supportive language


79 Alia: https://www.aliainnovations.org




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with families. These staff were able to practice skills relating to permanence and change
and can now use those skills with families and model them for their peers. Trainings and
programs such as these reinforce the importance of permanency and the positive outcomes
that come from genuinely supporting resource families.

4.4.5 Placement Matching: Summary of Key Theme

Finding: Since 2016, CW has expanded the Child Adolescent Needs and Strengths Tool
(CANS) to placement matching and determination of a level of need and supervisory
requirements. The Structured Analysis Family Evaluation (SAFE) home study tool has also
been revised in the past two years to reflect the inclusivity and equity prioritized by the
Vision for Transformation. These improvements in practice have not yet resulted in better
outcomes for children, as Oregon’s placement stability data has not improved.

Focus group participants shared that CW does track caregivers’ strengths, but those
strengths do not always match up with children who need placements. CW conducts a Child
and Adolescent Needs and Strengths (CANS) screening for every child or young adult in
ODHS custody to determine the child’s level of care, supervision needs, and case planning
information.80 The information regarding the child’s level of care and the caregivers’
strengths and capacities allow caseworkers to make appropriate placement matches. The
CANS tool was not used in this manner before 2016 and is evidence-based.

CW procedure requires caseworkers to assess the child’s needs and the provider’s ability
before choosing a placement option to ensure an appropriate match and to reassess at
each 90-day case plan review. While this requirement exists in policy, some focus group
participants shared that placement matching does not occur consistently and that it can be
nearly impossible to accurately match placements in crisis situations.

Placement stability data is one way to illustrate the accuracy of placement matching. When
children are placed with caregivers whose skills and abilities match their needs, those
placements maintain stability more than when a mismatch occurs. CW’s data show that
children placed with relatives experience fewer moves than those in other types of
placements. These data are shown in Figure 9, in Section 4.5.4, for federal fiscal year 2023.
The data show that children and young adults placed with relatives stay in that placement
(with zero moves) nearly fifty percent of the time.

The national standard for placement stability for the CFSR Round 3 is less than or equal to
4.12 moves per 1,000 days of foster care (shown by the red line in the graphic below). The
figure below shows Oregon’s number of moves per 1,000 days in care from March 2016 –


80 Oregon Department of Human Services Child Welfare Procedure Manual. (Rev. 10/4/2021) (pp. 755-

766).


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December 2021. Oregon’s placement stability rate has remained relatively consistent over
this period despite improvements in practice.
          Figure 7. Placement Stability: Number of Moves per 1,000 Days in Care




The Structured Analysis Family Evaluation (SAFE) home study is used by CW for resource
families, relative caregivers, and prospective adoptive parents to determine the efficacy for
matching relative and non-relative providers. CW completed an analysis of this tool and
subsequently updated the questionnaires used in the tool to focus on inclusivity and
equity. CW has committed to providing training, technical assistance, and support to
certifiers using the tool. Certifiers will also receive refresher training, learning labs on
mitigation of risk factors and completing SAFE questionnaires, and resources for sharing
this information with families.

Caseworkers and certifiers have requested a home study tool specific to relative providers,
and CW is continuing to analyze practice and considering making this change.

4.4.6 Service Provision to Caregivers: Summary of Key Theme

Finding: Since 2016, CW has provided services and supports to resource parents despite
funding limitations. During the beginning of the COVID-19 pandemic, CW provided cell
phones and computers to resource families to facilitate attending remote court hearings
and virtual school. ODHS also received funding for a formal respite program, which began
in 2022, and CW has hired staff dedicated to this program to expand its use statewide. CW
also partners with community organizations to provide respite activities to resource
parents at the local level.

CW provides services and support to substitute care providers to ensure that children are
cared for and appropriately supervised. One interviewee shared that “we definitely do what
we can to provide those services,” but cited funding and other resource limitations as



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obstacles. Despite limitations, during the COVID-19 pandemic, CW purchased cell phones
for resource parents to assist in attending remote court hearings and meetings, and
computers for children and young adults to access virtual school activities. Some local
agencies provided internet hotspots for families to mitigate internet connectivity barriers.

While Oregon historically has not had sufficient respite providers for resource families,
ODHS recently received $14.5 million from the legislature to create a formal respite
program for children at varying levels of care. CW has hired a coordinator for this program
and is drafting policies and rules for this service. CW does offer respite activities for
resource parents, including a parents’ night out to allow resource parents time to refresh.
The Response and Support Network (RSN) is currently being piloted in Multnomah and
Washington Counties to provide emergent mental and behavioral health crisis needs. This
program is available to resource parents 24 hours a day, 7 days a week, and services are
provided immediately. This program will expand to Deschutes County next, and CW has
submitted a Policy Option Package (a proposal to change the level of service or funding
sources for activities authorized by the Legislature, or to propose new program activities
not currently authorized.)81 to implement statewide.

Resource parents also have access to programs such as KEEP, which offers affinity groups
for parents caring for children and young adults with similar characteristics, such as
toddlers, teens, children, and young adults in the LGBTQIA2S+ community, Native
American, Spanish-speaking, and transracial families, and others. Caregivers can also use
services and support from Every Child, an organization committed to recruiting and
supporting resource families. Every Child provides services in 23 Oregon counties and
continues expanding statewide.

4.4.7 Tracking Capacity: Summary of Key Theme

Finding: Tracking capacity and vacancy of resource homes is inconsistent in OR-Kids
and does not allow caseworkers to see the complete picture of availability and
placement type to match placements accurately. While there has not been progress in
tracking capacity, this does not outweigh the other improvements made for recruiting,
retaining, and supporting resource parents. Also, as data are used more consistently
across CW, caseworkers and supervisors will have access to more information to allow
them to track the capacity of resource homes.

The current capacity and vacancy for resource homes are tracked manually through OR-
Kids, which does not capture all necessary data. OR-Kids users can see how many homes



81 Oregon.gov.   How to Write an Effective Policy Option Package How to Write an Effective Policy Option
Package.


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are certified but need help seeing homes that are pending certification or needing
certification renewal. The number of certified homes is useful but does not allow
caseworkers to track the actual capacity of homes and look at specific placement types,
such as how many beds are available for a particular population, level of care, or other
characteristics, such as whether gender-affirming homes exist in their community.

Further, OR-Kids may show the number of open beds, but the data still need to be
completed. OR-Kids may not show which resource homes are temporarily not accepting
children. Resource parents can adjust their preferences for the children they care for, but
that information needs to be consistently tracked in OR-Kids. The inconsistency and
inaccuracy of the data leads to caseworkers lacking faith in the information and requires
additional work to locate open and appropriate placement options.

When caseworkers need to make quick placement decisions, the inability to accurately
track placement capacity and the additional time it takes when the data is unavailable can
lead caseworkers to turn to temporary lodging. According to some focus group
participants, temporary lodging is used as an additional resource for placement rather than
a last resort, as it is intended.

4.5       CW made progress during the identified timeframe
          to improve permanence for children in substitute
          care
Finding: Since 2016, Oregon Child Welfare has made progress in improving the
prioritization of permanency for children in substitute care through the Vision for
Transformation and its initiatives. Despite the improvements, the data show that it has
taken longer for children and young adults to reach permanence over the past two years.
Based on the available evidence, COVID-19 contributed to the delays in reaching
permanence over this period.


4.5.1 Key Themes
                                     Table 7. Key Themes

     Key Theme                                      Description

 Placement              CW has expanded the use of the CANS to support placement
 Matching               decisions and outline supervision needs. The Oregon Indian Child
                        Welfare Act has expanded permanency options for American Indian
                        and Alaskan Native children and young adults.




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     Key Theme                                             Description

 Placement Stability      CW has created new efforts to stabilize placement options for
                          children and young adults and developed further training for
                          caseworkers that highlights the importance of permanency.
                          Oregon’s placement stability remains above the national standard.

 Timeliness               CW has prioritized timeliness to permanence through the Vision for
                          Transformation and collaborates with court partners to address the
                          timeliness of court hearings and decisions. Despite these efforts,
                          the data show that it has taken longer for children and young adults
                          to reach permanence over the past two years due in part to delays
                          in hearings and interruptions to family time due to COVID-19.

 Temporary                CW meets regularly with the Oregon Health Authority and the Office
 Lodging                  of Developmental Disability Services to discuss possibilities for
                          young adults at risk of needing temporary lodging. The instances of
                          temporary lodging are low compared to the total population of
                          children and young adults in substitute care.


4.5.2 Qualitative Evidence of Improvement: Prioritizing
         Permanence
Permanence for children and young adults in child welfare is the development and
maintenance of permanent relationships and connections. Permanence is crucial for
children and young adults to experience safety, healthy development, and well-being.

Child welfare has experienced a shift in recent years, emphasizing the importance of
relational and cultural permanence and not solely legal permanence. Legal permanence is
the relationship established through reunification, adoption, or guardianship. Relational
permanence is an emotional attachment between children and young adults and their
caregivers and family members. Cultural permanence is the continuous connection to
family, traditions, age, ethnicity, language, and faith.82 Rather than simply focusing on
identifying a connection to be a legal permanent option for children in foster care, child
welfare agencies, including Oregon, are recognizing the vital need for relational and
cultural ties.




82 National Center for Child Welfare Excellence at the Silberman School of Social Work.   What is Youth
Permanency? http://www.nccwe.org/toolkits/youth-permanency/what_is_youth_permanency.html


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The beliefs outlined in the Vision for Transformation help “children and young adults have
better long-term outcomes and keep the bonds and connections critical to their well-
being.”83 CW’s policy language around assessment, placement matching, placement
preferences, family interaction, working with relatives, CANS assessments, resource parent
training, and services to families all contribute to improving permanence.

Focus group participants shared that there has been a substantial culture shift around
permanence, moving from waiting “to see how it goes” for children in placement to a sense
of urgency around making permanency decisions.

CW now has a “genuine focus on the fact that children don’t belong in foster care… We
used to have ‘permanent care foster homes’ and we were proud of those foster parents
who agreed to raise kids and see them leave the system, but that's not the value we have
anymore, and I'm so thrilled by that. We do kids such a disservice by holding kids in foster
care for so long.” – Interview Participant

According to ODHS’ 2023 Annual Progress and Services Report (APSR)84, CW has spent
several years developing a strategy to provide support and services earlier and less
intrusively to help keep children in their homes. The Family Preservation Program was
implemented on March 28, 2022, in three pilot sites representing a small, medium, and
large local office. The local leadership teams, community partners, and parent mentors
were included in planning and preparation efforts, and community forums were convened
to help develop the program training. CW hired a Family Preservation Program Manager in
2022, and CW’s goal is to expand family preservation practices in 2023. Chapin Hall and
Casey Family Programs provided technical assistance and support through developing and
implementing the Family Preservation Program and have helped integrate CQI and lessons
learned to prepare for statewide implementation.

Oregon’s recognition of the need to keep children safely at home has contributed to
dramatically reducing the number of children placed into substitute care, which has
dropped approximately 30 percent in Oregon since 2018, as shown in the graphic below.




83 Oregon Department of Human Services. (2020).   Child Welfare Division Vision for Transformation.
https://www.oregon.gov/odhs/child-welfare-transformation/pages/default.aspx
84 Oregon Department of Human Services Child Welfare Division (June 30, 2022). Annual Progress and

Services Report 2023. https://www.oregon.gov/odhs/data/pages/cw-data.aspx (See pp. 69-71).


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               Figure 8. Number of Children in Substitute Care 2016-2022




4.5.3 Placement Matching: Summary of Key Theme

Finding: Since 2016, Oregon Child Welfare has improved efforts to appropriately match
children and young adults with their placements and caregivers. CW has expanded the
use of the CANS to use the child’s level of need in placement decisions. The recent passage
of ORICWA has included developing permanency options and considerations for American
Indian and Alaskan Native children and young adults.

Matching placements of children and young adults with appropriate caregivers contributes
to permanence by increasing placement stability. Additional information on the importance
of placement matching can be found in Section 4.4.

Accurately matching children and young adults with their caregivers requires the ability to
track the skills and capacities of their caregivers. According to interviewees and focus
group participants, CW tracks skills and capabilities and matches them to children and
young adults using the CANS, as described in Section 4.4. The use of the CANS for
placement matching and determining supervision levels has begun in the past several
years, expanding the use of the assessment tool.

A significant area of improvement for placement matching since 2016 came with the
passage of the Oregon Indian Child Welfare Act (ORICWA) in 2020, which demonstrates
CW’s priority to “protect the health and safety of Indian children and the stability and
security of Indian tribes and families by promoting practices designed to prevent the
removal of Indian children from their families and, if removal is necessary and lawful, to
prioritize the placement of an Indian child with the Indian child’s extended family and tribal




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community.”85 Placement matching and following placement preferences are vital aspects
of the federal Indian Child Welfare Act and the ORICWA. ORICWA was passed in 2020 based
on a request from Oregon tribes and the disproportionate representation of American
Indian and Alaska Native children in substitute care. The 2021 Procedure Manual reinforces
the importance of ICWA placement preferences and provides instruction for situations
where general recruitment of placement options and adoptive resources may be sought.
Also, since 2016, CW requested and received money to hire regional ICWA specialists.
Additionally, CW is working with Casey Family Programs on multiple interventions to
improve practice. For example, CW is currently working with Casey Family Programs in
three local districts to promote permanence for children and young adults who are legally
free for adoption but do not have adoption as a permanency plan goal.86 In addition to this
adoption work, CW, the ODHS Tribal Affairs Unit, the Oregon ICWA Advisory Council, and
Casey Family Programs are revising Casey’s In-Depth Quality Review Guide to include
expanded tribal definitions of permanency as culturally appropriate permanency options
are a priority for the division. CW will use this to review and make permanency
recommendations for children and young adults who are eligible for membership or
enrollment in a federally recognized Tribal Nation. One such example of an expanded
definition of permanency outlined in the 2023 APSR is Tribal Customary Adoption (TCA),
which can be chosen by the child’s Tribe. The completion of a TCA is coordinated among
the child’s Tribe, state juvenile court, and ODHS. CW developed administrative rule and
training for TCA in collaboration with ODHS Tribal Affairs and the Tribal Nations and are
developing additional procedures, forms, and related processes.

4.5.4 Placement Stability: Summary of Key Theme

Finding: Since 2016, Oregon Child Welfare has introduced new efforts to stabilize
placement options for children and young adults, including prioritizing relative
placements and strengthening training for caseworkers that highlights the importance
of permanence. Placement stability has yet to improve despite practice improvements. The
quantitative data show the use of temporary lodging is relatively low despite the perception
among caseworkers that temporary lodging is used as a placement option rather than a
placement of last resort.

The goal of placement stability is to reduce the number of times a child is moved,
acknowledging that each move can be a traumatic experience for the child and family.
More information on placement stability can be found in Section 4.4 of this report.



85 OAR 413-115-0010. https://secure.sos.state.or.us/oard/viewSingleRule.action?ruleVrsnRsn=285052

86 Oregon Department of Human Services Child Welfare Division (June 30, 2022). Annual Progress and

Services Report 2023. https://www.oregon.gov/odhs/data/pages/cw-data.aspx (p.43).


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Since 2016, CW has taken several steps to improve placement stability, including
highlighting the young adult’s voice and opinions on their permanency goals, prioritizing
placement with relatives, and conducting ongoing searches for relatives throughout a
child’s involvement with child welfare. Research shows that initial relative placements lead
to more stability for children and young adults, and CW’s data support that. Oregon’s data
show that children placed with relatives experience fewer moves, as shown in the graphic,
below, when compared with children who are not placed with their relatives.

                   Figure 9. Number of Moves Based on Placement Type




More information on initiatives regarding relative placements can be found in the
appendix.

Focus group participants mentioned an appellate decision around guardianship that would
allow caseworkers to consider permanent guardianship. The ability to offer another
permanency option for children and young adults is significant, and some participants
mentioned that this has not been available to some branches for over a decade.

4.5.5 Timeliness to Permanence: Summary of Key Theme

Finding: Since 2016, Oregon Child Welfare has evolved, through the Vision for
Transformation, into a permanency-driven organization with several projects dedicated
to improving timeliness to permanence. CW collaborates with the Juvenile Court
Improvement Program to address delays in court hearings and rulings. However, the data
show that for all but one of the measures, it is taking longer for children to reach


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permanence, partly due to delays in hearings and interruptions to family time due to
COVID-19.

Permanence is a goal for every child or young adult placed into substitute care, and the
efforts to reach permanence in a timely manner must begin as soon as children are
removed from their homes. Achieving timely permanence requires leadership prioritization
and allows child welfare agencies to become permanency-driven organizations.87 The
creation and implementation of the Vision for Transformation establishes Oregon CW as a
permanency-driven organization and demonstrates the sense of urgency for permanence
across the agency.

The Vision for Transformation outlines several strategic projects dedicated to increasing
timeliness to permanence, including improving reunification procedures, engaging family
members in case planning, and collaborating with the courts. The 2023 APSR describes
joint work with the Juvenile Court Improvement Program (JCIP) to reduce time to
permanence with a focus on reunification through a joint Program Improvement Plan.88 CW
permanency leadership and JCIP staff meet quarterly to develop communication and
relationships, discuss strategies to improve timeliness and review progress and planning
for collaboration.

The Permanency Advisory Committee, which includes CW permanency staff and leadership
from each of the 16 districts, meets monthly to identify root causes of permanency-related
issues, implement efforts to improve permanency, and streamline processes to support
children and families in achieving permanence.

A significant challenge to improving timeliness to permanence since 2020 has been the
number of rescheduled or delayed permanency hearings due to COVID-19. Many local
courts were closed at the beginning of the pandemic and caused significant backlogs for
permanency hearings. The delay in holding these hearings has postponed permanency
decisions, including termination of parental rights (TPR), which allows children to be
eligible for adoption.

Federal measures of timely permanence consider that the likelihood of returning home or
being adopted varies over the duration of a child’s time in substitute care. Federal CFSR
outcomes include three measures of timely permanence: rates for children in care for the
most recent 12-month period, for 13-24 months, and more than 24 months. Figure 10
below shows that a child’s likelihood of permanence within a year of entering care has

87 Casey Family Programs. (August 2018). Strategy Brief: What are some effective strategies for achieving

permanency? https://caseyfamilypro-wpengine.netdna-ssl.com/media/SF_Effective-strategies-for-
achieving-permanency-1.pdf
88 Oregon Department of Human Services Child Welfare Division (June 30, 2022). Annual Progress and

Services Report 2023. https://www.oregon.gov/dhs/children/Pages/data-publications.aspx (pp. 80-81).


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remained consistent since 2016, but a higher portion occurred earlier in 2022. A slight dip
in permanence within the first 12 months of 2022 put the CW agency just below the
Federal Standard.

              Figure 10. Rates of Permanence Within First 12 Months of Entry




Oregon’s data also show that CW met the standard of 13-23 months several times over the
last four years and more so in 24+ months. Decreases in the previous two years coincided
with COVID-19 restrictions and limitations on family interaction and court hearings.


4.5.6 Temporary Lodging: Summary of Key Theme

Finding: CW’s goal is to avoid the use of temporary lodging. Since 2016, Oregon Child
Welfare has increased planning and collaboration around using temporary lodging when
necessary and began tracking data in July 2018. CW meets regularly with the Oregon
Health Authority and the Office of Developmental Disability Services to discuss possibilities
for young adults at risk of needing temporary lodging. The number of children and young
adults using temporary lodging has decreased during 2022.

Temporary lodging is used in crisis situations when there are no placement options for a
child or young adult. It consists of a stay in a hotel with a CW caseworker until a placement
option can be located. According to the 2023 APSR89, CW continually identifies children
and young adults at risk of needing temporary lodging and uses prevention staffings with
community partners to identify services and supports that would mitigate the need for
temporary lodging.




89 Oregon Department of Human Services Child Welfare Division (June 30, 2022). Annual Progress and

Services Report 2023. https://www.oregon.gov/dhs/children/Pages/data-publications.aspx
https://www.oregon.gov/odhs/data/pages/cw-data.aspx (See pp. 36, 55)


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Due to these preventative conversations, many children and young adults at risk of needing
temporary lodging remain in their current placements. ODHS’ July 2022 Child Welfare
Progress Report90 showed that of the children and young adults identified as at risk of
needing temporary lodging in the first two quarters of 2022, 74 percent were diverted due
to cross-system collaboration.

Figure 11, below, shows the use of temporary lodging from 2018-2022 by month. While
there have been increases during that period, the number of children or young adults with
at least one day of temporary lodging during a given month has decreased over the past
four years. During the same period shown in the graphic below, the number of children or
young adults in care ranged from approximately 5,700 to 8,700.91 This means that even at
the highest number of children in temporary lodging (51), the percentage of children or
youth in care who experienced temporary lodging was less than one percent.

  Figure 11. Number of Children or Young Adults with at Least One Day of Temporary
                                    Lodging During the Month




Despite the data showing that the number of instances of temporary lodging is low
compared to the total population of children and young adults in substitute care, some
interviewees and focus group participants perceived the use of temporary lodging at a
higher level than desired. Participants highlighted teenagers with mental health needs as a
significant contributor to temporary lodging case needs. They noted that while this often
showed in more urban areas, it is a statewide issue. Discussions with CW leadership show
that the numbers of adolescents and young adults in temporary lodging are not


90 ODHS Child Welfare Division Progress Report. (July 2022). https://www.oregon.gov/odhs/child-welfare-

transformation/progressreports/cw-progress-report-2022-07.pdf (p.8).
91 Oregon Child Welfare Data Set, ROM Data. https://oregon.rom.socwel.ku.edu/




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significantly increasing, but the young adults in temporary lodging have increasingly
complex needs. These high needs restrict appropriate placement options for young adults
and leave caseworkers feeling overwhelmed by the daily necessities of supervising these
young adults.

Participants recognized that leadership, through the Vision for Transformation and
collaboration across the child-serving system, is addressing the need for temporary
lodging but noted there is still work to be done to see the additional impact. Much like
other states using temporary lodging, Oregon has policies and structures occurring in
silos, and there is room to improve this into a more collaborative effort. To that end, CW
participates in regularly scheduled meetings with liaisons from the Oregon Health
Authority (OHA) and the Office of Developmental Disability Services (ODDS) to collaborate
on cases where temporary lodging is discussed and reduce placement barriers. These are
crucial partnerships to reduce the use of temporary lodging. The 2023 APSR describes
regular meetings between CW and ODDS to jointly identify ways to mitigate barriers to
placement for children and young adults involved with both systems. The Multnomah
County CW office is currently exploring partnerships to reduce these barriers and has
established a workgroup with the Multnomah County DD Office.

Also, CW works with OHA to identify and access mental health services for children and
young adults who may be at increased risk of needing temporary lodging. This partnership
between CW and OHA has allowed Coordinated Care Organizations (CCOs) and mental
health providers to address barriers to timely mental health services and simultaneously
engage children and young adults who need these services. The APSR describes instances
of children and young adults changing communities and having their previous mental
health providers assist with transitions to new services.

4.6       CW made significant progress to improve
          permanency planning
Finding: CW made significant progress to improve permanency planning during the
identified timeframe. This progress is evidenced by a shift from compliance to
engagement in the work with families, the appointment of a Deputy Director with a rich
history in permanency practice, the convening of a Permanency Advisory Council, the use
of the CANS assessment to create data-driven permanency plans, and more timely
permanency hearings.




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                                 Table 8. Key Themes

            Key Theme                                  Description

 CW Leadership has              CW leadership prioritized permanency planning in the
 Consistently Prioritized and   Vision for Transformation, added a key leadership
 Elevated Permanency            position with permanency planning knowledge, and
 Planning                       shifted from focusing on compliance to the engagement
                                of families. Additionally, CW’s development of a CQI and
                                QA framework as part of the case review process
                                strengthens their focus on permanency
                                planning. Finally, CW now convenes the Permanency
                                Advisory Council, which is comprised of permanency
                                staff and leadership from each district to discuss ways
                                to continually improve permanency planning within the
                                state.

 Families are Engaged in        CW has increased the engagement of families in
 Creating and Updating Their    permanency planning by encouraging the use of Family
 Permanency Plans Using an      Decision Meetings. They have also expanded the use of
 Evidence-Based Assessment      the CANS Tool to encompass case planning and
 Tool                           permanency planning. CW policy does not outline
                                specific timelines for permanency plan updates, which
                                PK would expect to see. However, the permanency plan
                                is a component of the case plan for children in
                                substitute care, and Oregon administrative rule does
                                require case plans to be reviewed and updated every 90
                                days. However, despite missing this language for
                                permanency plans, the timeliness of permanency
                                hearings has improved over the last year.


4.6.1 Leadership Prioritization: Summary of Key Theme

Finding: Since 2016, CW leadership has consistently prioritized and elevated
permanency planning by embedding permanency practice into the daily work. CW has
used data, through the case review process and CQI, to improve permanency planning. CW
also created the Permanency Advisory Council to gather feedback from CW staff to improve
permanency planning.




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Permanency planning is how CW makes efforts to achieve permanence for every child and
young adult. CW’s Vision for Transformation prioritizes permanence.92 Since 2016, CW has
prioritized permanence by changing the culture around permanence, which is becoming
more embedded throughout the workforce. CW has also implemented proven techniques
such as the case review process, continuous quality improvement, and creation of the
Permanency Advisory Council. The case review and CQI processes are iterative and
ongoing, and in other states have led to continued progress and improvement in
outcomes.

CW leadership’s shift to family engagement and family integrity has improved the
quality of permanency planning. Assessment participants noted that having a Deputy
Director for Program and Practice, Lacey Andresen, who has dedicated her career to
permanency practice, provides a great deal of support for permanency planning. Ms.
Andresen was appointed to the Executive Leadership Team in February 2019. Before Ms.
Andresen joined the leadership team, the agency’s focus for permanency planning was on
compliance. This new leadership team shifted focus to the importance of family
engagement as part of permanency planning, which in turn, leads to improved outcomes
according to research. This shift to family engagement has already improved the quality of
the permanency plans. The consistent message from CW leadership is that children do
better with their families and this value permeates the practice. CW’s continued effort to
engage families, to focus on race equity issues, and advocate for individualized planning
and services shows. Assessment participants also recognized the link between engaging
with families and improved permanency planning.

Permanency planning is now a more formal priority within CW and is becoming
engrained into the organizational culture. Some focus group participants saw a shift
within CW leadership to recognizing caseworkers as experts and supporting their services
and permanency plan recommendations. Other assessment participants felt that leadership
is not yet fully prioritizing permanency planning due to competing priorities and the
implementation of other initiatives. Many participants shared that permanency is
consistently addressed throughout the Central Office but that CW sometimes does not
provide concrete support to local offices to implement improvements. Implementation
science recognizes that shifting agency culture takes time to impact the entire organization
and is impacted by agency resources allocated to multiple interventions and programs. The
time that it takes to shift agency culture is likely responsible for the differing opinions. The
progress in permanency planning can be seen through the staff’s perception that their




92 Oregon Department of Human Services. (2020).   Child Welfare Division Vision for Transformation.
https://sharedsystems.dhsoha.state.or.us/DHSForms/Served/de2445.pdf


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expertise is being recognized and respected, and if leadership maintains this priority, the
expectation is that staff will continue to see the impact.

CW’s development of a CQI and QA framework as part of the case review process further
strengthens its focus on permanency planning. CW conducts a case review that helps
staff understand barriers and capitalize on strengths in permanency planning. Additional
information about the case review process can be found in Section 4.9. These case reviews
are part of the overall QA and CQI system, described in Section 4.3, in which Permanency
Consultants play a significant role. One aspect of CW’s CQI process is convening and
facilitating the Permanency Advisory Council (PAC), which is comprised of permanency staff
and leadership from each district to discuss ways to continually improve permanency
planning within the state. This Council includes permanency staff and leadership from all
16 districts. The PAC meets monthly to conduct root cause analyses on permanency-
related issues, implement improvements to permanency practice, and find efficiencies in
achieving permanence.93 This is a best practice and has been proven to lead to better
outcomes.

4.6.2 Family Engagement: Summary of Key Theme

Finding: Since 2016, CW has increased family engagement in permanency planning
through Family Decision Meetings, the development of family plans, and the use of the
CANS Tool for permanency planning.

Every child or young adult in substitute care must have a permanency plan that drives the
decisions made for their placements, supervision, and services. The permanency plan
determines the goal for the child and family and is reassessed throughout the duration of a
family’s involvement with the child welfare system. The primary plan is the family’s desired
outcome, and the concurrent plan is established in the event the primary plan is not
achievable. Keeping permanency plans current is crucial to achieving successful
permanence for children and young adults in substitute care. Permanency plans must
reflect the current needs and strengths of the family to ensure the team is working toward
the most appropriate goal.

CW has increased the engagement of families in permanency planning by the use of Family
Decision Meetings to help the family share their needs and goals and inform the
permanency and family plan. Family plans are created during Family Decision Meetings
(FDM), which are used to make case plan decisions, including reunification or moving
toward the concurrent plan.94 They have also expanded the use of the CANS Tool to

93 Oregon Department of Human Services Child Welfare Division, Annual Progress and Services Report

(APSR) 2023. (June 30, 2022). (p.18).
94 Oregon Department of Human Services Child Welfare Procedure Manual. (Rev. 10/4/2021). (p. 473).




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encompass case planning and permanency planning. CW policy does not specify the
timeline required for permanency plan updates, which PK would expect to see. However,
despite this missing best practice, the timeliness of permanency hearings has improved
over the last year.

   •    Since 2016, CW has strengthened guidance on using Family Decision Meetings
        for permanency planning purposes and underscored the importance of family
        voice in creating permanency plans. Identifying appropriate permanency plans
        requires family engagement and support. As caseworkers engage the family and
        learn about family dynamics, they are better able to identify appropriate
        permanency plans for each child. Assessment participants shared that family
        meetings happen frequently and that the CW workforce engages families very well.
   •    CW has emphasized the value of family engagement in permanency planning, but
        also has room to improve permanency planning practice. Assessment participants
        recognized that identifying appropriate permanency plans is a priority, but it
        doesn’t always happen. This is supported by survey results that show most staff
        believe that CW identifies appropriate permanency plans some or all the time when
        the goal is to always do so. Determining appropriate permanency plans can be
        challenging depending on the family’s resources and support networks that can
        assist with reunification or relative placements. They mentioned that timeliness of
        concurrent planning is a systemic issue as this includes scheduling and conducting
        permanency hearings, which is outside of CW’s control. Interviewees and focus
        group participants shared that agency leadership promotes the identification of
        appropriate permanency plans, but they were not certain how this occurs within
        local offices.
   •    CW has increased the engagement of families in permanency planning by
        encouraging the use of Family Decision Meetings. Since 2016, CW has
        strengthened policy language from allowing the caseworker and supervisor to
        determine whether to use an FDM to encouraging them to consistently share
        progress updates and support timely permanency planning, improving family
        engagement. Interviewees and focus group participants shared that the family plan
        includes efforts to engage the child and the family, and this has been a focus for the
        agency over the last three years. CW has expanded policy language since 2016
        regarding descriptions and purposes for family meetings, and emphasizes the
        importance of holding consistent Family Decision Meetings. Holding these meetings
        regularly supports caseworkers in gathering updates on the family’s progress and
        keeping permanency plans current.
   •    In 2016, CW began using the Child and Adolescent Needs and Strengths (CANS)
        Tool for case planning and permanency planning rather than the more limited
        manner it was used previously. Using the CANS in case planning allows


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        caseworkers and supervisors to use each child and family’s unique needs and
        strengths to determine an appropriate permanency plan and assess parental
        capacities. This broadened use of the CANS supports data-driven permanency
        planning and can contribute to more stable, successful outcomes for children,
        young adults, and their families.
   •    The timeliness of permanency hearings has improved by 4 percent over the last
        year. Oregon’s 2023 Annual Progress and Services Report (APSR) showed that,
        according to the Juvenile Court Improvement Program, timeliness of permanency
        hearings increased from 2020-2021, with nearly 93 percent of subsequent
        permanency hearings held within 365 days of the prior hearing, an increase from 89
        percent in 2020. Holding permanency hearings timely supports positive outcomes
        for children and young adults by maintaining a sense of urgency in achieving
        permanence. As stated in Section 4.5, CW collaborates with the Juvenile Court
        Improvement Program on improving timeliness to permanence.
   •    While timeliness of permanency hearings has improved, PK does not have enough
        data to determine whether timeliness of creation and updating permanency plans
        has improved or not. Data collected during this assessment did not allow PK to
        determine whether permanency plans are changed and updated in a timely manner
        and according to state requirements. CW does provide policy guidance on specific
        instances when the permanency plan needs to be reviewed, but there does not
        appear to be specific policy guidance on a timeframe for reviewing and updating
        permanency plans, as stated in the beginning of Section 4.6. However, because the
        Procedure Manual does note that the permanency plan is part of case planning,95
        the permanency plan must be reviewed every 90 days and updated every 180 days.

4.7        CW made progress to improve individualized
           assessments for children and families
Finding: Since 2016, CW has highlighted the importance of engaging families and
including them in the assessment of needs and strengths to inform their permanency
plan and case plan. CW has broadened its assessment efforts by providing additional
guidance to caseworkers on assessments and identifying more opportunities to assess
throughout the duration of a family’s involvement in the child welfare system.




95 Oregon Department of Human Services Child Welfare Procedure Manual. (Rev. 10/4/202). (p. 423).




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4.7.1 Key Themes
                                       Table 9. Key Themes

           Key Theme                                           Description

 Family Engagement                   Over the past three years, CW has focused on engaging
                                     families to understand better their unique needs and
                                     strengths to tailor services to each family better. The
                                     Vision for Transformation guides this effort and
                                     highlights the need to hear the family’s voice
                                     throughout the assessment process.

 Scope of Assessments                CW has expanded the assessments provided to children,
                                     young adults, and families throughout their involvement
                                     in the child welfare system. New policy language and
                                     tools have been added to allow CW to gather as much
                                     information as possible to ensure permanency plans and
                                     case plans are comprehensive, responsive, and
                                     productive.


4.7.2 Contextual Factors: Vision for Transformation
The Vision for Transformation helps CW to highlight the importance of family engagement
and demonstrates the impact of that engagement on outcomes for children and families.
The 2023 APSR describes how local offices have created Parent Engagement Plans to
overcome obstacles to family engagement. These efforts resulted in an increase in Family
Engagement Meetings and Youth Decision Meetings, which allow children and their parents
to engage with their caseworkers, and additionally provides supports to create and expand
their case plan and permanency plan.96

4.7.3 Contextual Factors: Child and Family Services Review
         Findings
The 2016 CFSR review assessed the adequacy of individualized assessments for children
and families measured through Item 12, which asks whether the agency made concerted
efforts to assess the needs of and provide services to children, parents, and foster parents
to identify the services necessary to achieve case goals and adequately address the issues



96 Oregon Department of Human Services Child Welfare Division, Annual Progress and Services Report

(APSR) 2023. (June 30, 2022). https://www.oregon.gov/odhs/data/pages/cw-data.aspx (p. 71).


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relevant to the agency’s involvement with the family. As shown in the graphic below, CW
has improved engagement with children, parents, and resource parents through the
Program Improvement Plan (PIP) period of January 2018 – January 2022, following the 2016
CFSR, and is exceeding the goal set out in their PIP.96 This shows CW’s dedication to family
engagement and improved performance in this area. Improved engagement of families
allows CW to meet their needs more consistently, leading to better outcomes.

                        Figure 12. PIP Performance on CFSR Item 12




4.7.4 Family Engagement: Summary of Key Theme

Finding: Since 2016, CW has prioritized family engagement as part of assessing needs,
providing services, and case planning. The Vision for Transformation focuses on engaging
families and infusing their lived experience and expertise in identifying needs and services
to help them reach their goals.

CW continues to make progress on system transformation, and significant efforts have
been dedicated to ensuring children and families involved in the child welfare system
receive individualized assessments to identify their specific trauma and needs while
ensuring child safety. Procedures now guide child welfare staff to coordinate and
collaborate with other professionals in assessing identified needs of families to ensure
child safety and address any gaps in parenting, the well-being of children, and any other
identified needs. Feedback from the focus groups, interviews, surveys, policy language,
and quantitative data on assessment completion show evidence of CW’s strengthened
attention to authentic family engagement. There are tools in place now to support the
engagement of families. According to focus groups, the assessment process creates
engagement with families and provides connections that improve permanency planning.




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According to focus groups, previous leadership concentrated more on improving the
number of assessments than on engagement quality. This has shifted, and now staff
believe the current Executive Leadership Team is dedicated to authentic engagement with
families to improve their access to services, as outlined in the Vision for Transformation.
Focus group participants reported that their work is based on leadership’s value, that
children do better when they are with family, the foundation of the Vision for
Transformation. CW has seen evidence of improvement in the quality of the assessments as
training and supervision have reinforced family engagement.

4.7.5 Scope of Assessments: Summary of Key Theme

Finding: Since 2016, CW has expanded the use of existing assessments and added new
assessments and policies to gather information from children, young adults, and
families. The scope of the assessments CW offers allows caseworkers and supervisors to
compile a comprehensive picture of each family’s needs to appropriately tailor the services,
permanency plan, and case plan.

Staff report that CW leadership encourages caseworkers to complete individualized
assessments for children and families, and the Oregon Safety Model supports assessing
family members individually to identify strengths. CW has increased training, discussions,
and group supervision sessions regarding assessing and serving families.

Caseworkers receive training on case management and the assessment of needs and
strengths during initial training and receive supervision throughout their case management
duties. When surveyed, most caseworkers and supervisors agreed that CW provides
assessment training and coaching and that leadership encourages individualizing
assessments for children, young adults, and families.

The new caseload dashboard described in this report also uses OR-Kids data to quantify
the number of assessments, cases, or providers each worker is assigned. This allows
managers to understand their staff’s workload and identify resource needs. The CW
Executive Dashboard also includes various metrics, including foster care entries and exits,
number of children in care, and data from individual and family assessments.

The number and type of assessments (shown in Section 7.2 of the Appendix) demonstrate
a widespread effort since 2016 to assess and provide services to children, young adults,
and families throughout Oregon. The changes from 2016 to 2021 show a commitment to
clarifying requirements, timelines, and responsibilities for each type of assessment.
Quantitative data show improved outcomes for children under age five for at least one
assessment, Intake Nursing. Further, as shown in Figure 12 (earlier in this section), since
completing the CFSR Round 3, ODHS has improved performance on Item 12, assessing and
providing services to address children’s, parents’, and resource parents’ needs, and


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exceeded its PIP goal. The improvement in this item illustrates the efforts ODHS has taken
to comprehensively assess the needs of children, parents, and resource parents to provide
services relevant to their needs and improve outcomes for all involved.

4.8       CW made progress to improve service provision
          that meets the assessed needs of children and
          families
Finding: Since 2016, CW has improved service provision that meets the assessed needs
of children and families. It is an ongoing challenge for CW to provide the breadth and
depth of services to meet the complex needs of children in out-of-home care. The COVID-
19 pandemic briefly impacted ODHS’ ability to provide access to mental health and medical
services5. However, evidence from surveys, focus groups, and CFSR results indicates that
there has been substantial improvement in the ability of CW to meet children’s mental
health needs. CW has also expanded partnerships and collaboration to expand access to
services, but there is still concern that service availability is uneven throughout the state.


4.8.1 Key Themes
                                    Table 10. Key Themes

           Key Theme                                       Description

 Cross-System Collaboration        CW participates in the Oregon System of Care Advisory
                                   Council and other ODHS areas and partners in the child-
                                   serving system. Service provision during the COVID-19
                                   pandemic was mixed, as families with access to
                                   technology could use virtual services, but those without
                                   such access could not use remote services.

 Process Improvements              CW expanded the use of the CANS Tool to identify and
                                   provide services that directly meet the needs identified
                                   for each child and family. CFSR results for providing
                                   services that meet mental health needs and case plan
                                   goals have improved since 2016.

 Targeted Services                 CW has prioritized meeting the needs of special
                                   populations through targeted services, including young
                                   adults, those with complex needs, and those who
                                   identify as part of the LGTBQIA2S+ community.




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4.8.2 Cross-System Collaboration: Summary of Key Theme

Finding: Since 2016, CW has participated in the System of Care Advisory Council, which
is dedicated to improving services across the child-serving system and has improved
partnership with ODDS and OHA to better serve families in the child welfare system.
During the COVID-19 pandemic, families with technology and internet access had virtual
access to services that had not previously been available to them and was not available to
families without such access.

Child Welfare is responsible for the safety, permanency, and well-being of the children and
youth in its care and custody. Delivery of services to children is critical in achieving positive
outcomes for Oregon children. While CW cannot direct medical or mental health services,
CW must coordinate with other systems to ensure children and youth receive services for
their potentially complex needs. Children and families often need services from multiple
providers to meet their needs and develop their strengths.

In 2019, the Oregon legislature established the Governor’s System of Care Advisory
Council to “improve the effectiveness and efficacy of child-service state agencies and the
continuum of care that provides services to youth.”97 The Council provides leaders with a
venue to address system wide issues impacting children, youth, and families throughout
the continuum of child and family serving agencies. Ms. Jones Gaston has participated in
the Council along with other representatives from ODHS, including ODHS Director Fariborz
Pakseresht.

Collaboration with the behavioral health system and substance abuse providers has
improved over the past several years through stronger partnerships and better information
sharing. Please see Section 4.5 for more information on this collaboration. ODHS
leadership now convenes monthly leadership meetings with representatives from ODDS
and OHA to address and resolve systemic barriers, including operational differences,
training and development opportunities, and improvements or modification to data
information systems.

Despite these partnerships, CW is facing limitations in capacity to provide supportive
services that families need as these services are outside CW’s purview. At times, the
services needed by families do not exist, which is not within CW’s ability to control. The
COVID-19 pandemic impacted the service network significantly as providers shifted to
delivering services virtually, which was a challenge for families without internet access and
appropriate technology. However, permanency caseworkers state that during COVID-19,
service delivery improved to support parents in meeting case plan goals. Access to virtual


97 Oregon Health Authority: System of Care Advisory Council. https://www.oregon.gov/oha/HSD/BH-

Child-Family/Pages/SOCAC.aspx


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services allowed for parents in rural areas of the state to access services that had
previously not been available in their area.


4.8.3 Process Improvements: Summary of Key Theme

Finding: Since 2016, CW has expanded the use of the CANS Tool to identify and provide
services that directly meet the needs identified for each child and family. This
prioritization of appropriate service provision is demonstrated in improved CFSR results for
meeting mental health needs and case plan goals from 2016 to 2021.

CW must assess the needs of and provide services to children, young adults, and families
to identify the services necessary to achieve case goals and adequately address the issues
relevant to the family’s involvement with CW.

As discussed in Section 4.7, the CANS Tool is used to assess needs and strengths and,
since 2016 has begun to be used to identify services. With consistent assessments and
authentic family engagement, more needs are identified. CW provides services to meet
children’s needs, but as mentioned earlier in this report, staff still face limits in what
services are available. Thirty percent of survey respondents reported that CW cannot
maintain an adequate statewide service array.

The CFSR monitors CW’s ability to meet children's and families’ needs. There has been
substantial improvement in rating Item 18 of the CFSR, mental health assessment and
services, as a strength from 2016 to 2021, as shown in the figure below.




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                  Figure 13. Mental Health Needs Met Rated as a Strength




CW also made progress in CFSR Item 12, assessing the needs of and providing services to
children, parents, and resource parents to identify the services necessary to achieve case
goals, evidenced by an increase of 5 percentage points in case review findings.

   Figure 14. Child’s, Parent’s, and Resource Parent’s Needs Met Rated as a Strength




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4.8.4 Targeted Services: Summary of Key Theme

Finding: Since 2016, CW has focused on providing services to specific populations of
children and young adults in substitute care, namely older children, those with complex
needs, and those who identify as part of the LGTBQIA2S+ community. CW has refined the
delivery of independent living services and partnered with Basic Rights Oregon and the
Foster Homes of Healing coalition to expand services for these populations.

Since 2016, ODHS has begun providing funding for services to children and families who
cannot be supported elsewhere in the child welfare system through initiatives such as the
Response and Support Network (RSN) and the Child Specific Caregiver Support (CSCS).
These programs are funded under Child Welfare Treatment Services98:

      •    The RSN provides short-term clinical and non-clinical stabilization services to
           children, young adults, and resource families, OYA foster homes, DD foster families,
           and Post Adoption or Guardianship families. Services include parent mentoring, peer
           support, care coordination, skills training, 24-hour crisis response, and access to
           intensive mental health supports, and connects families to long-term supports.99
           These services are available for up to three months. The RSN, which began in March
           2021, was piloted in one county and has expanded to three counties.
      •    The Child Specific Caregiver Support program grew out of the RSN pilot and began
           in May 2022. The CSCS provides individualized supports to resource parents of
           children with complex needs and is aimed at equipping caregivers and providing in-
           home stability to resource families to prevent placement disruptions.99 The CSCS
           pilot is complete, and services are available in multiple counties.

Programs such as the RSN and CSCS allow children, young adults, and their families to
access services quickly and in their communities, lessening obstacles to providing the
individualized care that they need. These programs also support placement stability and
reduce the trauma associated with new placements. During the pilot of the CSCS program,
which ran from May 2022 through September 2023, 69 percent of children served
remained in their placement. Contractors involved in the pilot noted multiple successes,
including but not limited to helping children achieve permanence and preventing
placement disruptions.100

The service array offered by CW must serve the needs of children in care, which includes
meeting the needs of special populations like young adults and those who identify as part


98 Deposition of Sara Beth Fox, September 21, 2023.

99 Maple Star: https://www.maplestaror.org/community-services

100 Child Specific Caregiver Supports Pilot Final Combined Data Report. (May 1, 2022 – Sept 30, 2023). (p.

12)


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of the LGBTQIA2S+ community. In the United States in 2021, over 30 percent of children
and young adults in substitute care were 13 or older101 and, based on national research,
about a third identify as LGBTQIA2S+.102 Understanding issues of sexual orientation,
gender identity, and gender expression is fundamental to meeting the needs of youth in
care.

Many youth services are delivered via the Independent Living Program (ILP), which provides
services to help youth aged 14 and older transition from foster care into independent
adulthood. Since 2016, CW has built a tiered approach to the ILP model, allowing trauma-
informed, age-appropriate, and developmentally appropriate services to be delivered to
young adults. Additionally, CW is now working with Basic Rights Oregon to ensure there are
safe and affirming homes for transgender children in foster care through the Foster Homes
of Healing coalition.103

4.9        CW made consistent progress to improve case
           planning processes
Finding: Since 2016, CW has improved completion of case plans as well as including
families and tribes in the process. CW has implemented tools such as quality assurance
(QA), continuous quality improvement (CQI), and the Family Report to focus on inclusive
case planning.


                                         Table 11. Key Themes
            Key Theme                                             Description

 Case Plan Completion                   Quantitative data show that CW has significantly
                                        improved case plan completion, partly due to process
                                        improvements in quality assurance and continuous
                                        quality improvement.




101 Annie E. Casey KIDS COUNT Data Center: https://datacenter.kidscount.org/data/tables/101-child-

population-by-age-
group?loc=1&loct=1#detailed/1/any/false/2048,574,1729,37,871,870,573,869,36,868/62,63,64,6,4693
/419,420
102 US Department of Health and Human Services Administration on Children, Youth, and Families. (March

2, 2022). ACYF-CB-IM-22-01 (https://www.acf.hhs.gov/sites/default/files/documents/cb/im2201.pdf),
citing Cooper, K., Katsinas, A., Nezhad, S., & Wilson, B. (2014, August). Sexual and gender minority youth
in foster care: Assessing disproportionality and disparities in Los Angeles, p. 37. Retrieved from
http://williamsinstitute.law.ucla.edu/research/safe-schools-and-youth/lafys-aug-2014/
103 Basic Rights Oregon, Transgender Justice. https://www.basicrights.org/transgender-justice




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 Inclusion in Case Planning            Quantitative data show an increase in family
                                       engagement in case planning, partly due to
                                       improvements in quality assurance, continuous quality
                                       improvement, and the implementation of the Family
                                       Report and the Family Engagement Meeting.


4.9.1 Case Plan Completion: Summary of Key Theme

Finding: Since 2016, CW has exceeded their Program Improvement Plan goal for
completion of case plans, partially due to QA and CQI efforts and the introduction of the
new Family Report. Staff receive training on case planning according to their role.

Each child or young adult in substitute care must have a case plan to direct the
permanency plan and goals for the child and family. Case plans must be developed with
the child or young adult and their family and must include a rationale for how the case plan
goals will help achieve a safe placement in the least restrictive and most family-like
setting, and outline services provided to prevent the child’s removal from their family.104 In
Oregon, the case plan includes an assessment of the family’s protective capacities,
outcomes and priorities for necessary changes to provide safety, strategies to use with the
family to create a safe environment, services to ensure safety and well-being, and progress
toward outcomes.105 Oregon Administrative Rule requires that a case plan include
subsidiary plans, including the ongoing safety plan, permanency plan, and concurrent
plan.106 For more information on permanency plans, please see Section 4.6.

CW has improved completion of case plans for children and young adults, and case plans
have been completed with their parents.107 As of June 2022, 87 percent of cases have a
completed case plan, which is an increase from 60 percent in December 2021.107 These
improvements are due at least in part to ongoing CQI and QA efforts, described in Section
4.4; the use of the CANS for case planning, as outlined in Section 4.6; and the new Family
Report where caseworkers must engage the family to describe how the child’s social,
emotional, and cultural needs have been met. Local offices receive recognition for




104 Child Welfare Information Gateway. (April 2018). Case Planning for Families Involved with Child Welfare

Agencies. https://www.childwelfare.gov/pubPDFs/caseplanning.pdf
105 Oregon Department of Human Services Child Welfare Procedure Manual. (Rev. 10/4/2021), (pp. 423-

424).
106 OAR 413-040-0005 to 0032. (Updated 7/1/2022).

http://www.dhs.state.or.us/policy/childwelfare/manual_1/division_40.pdf
107 Oregon Department of Human Services Child Welfare Division. Annual Progress and Services Report

2023. (June 30,2022). https://www.oregon.gov/dhs/children/Pages/data-publications.aspx


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improving their case planning completion, and these efforts are outlined in their Family
Engagement Plans.

Survey results showed that more than half of supervisors feel staff receive training and
coaching on best practices in case planning. One interviewee indicated there is specific
training on permanency planning related to safety plans for reunification. They also shared
that adoption and guardianship program staff receive different training related to case
planning.

4.9.2 Inclusion in Case Planning: Summary of Key Theme

Finding: Since 2016, CW has increased inclusion of families and tribes in case planning.
Data show an increase in family engagement in case planning and can attribute the
improvements to quality assurance, continuous quality improvement, and the
implementation of the Family Report and the Family Engagement Meeting.

Family inclusion in case planning has improved during the Program Improvement Plan (PIP)
Reporting Periods shown in the figure below. CW is exceeding its PIP goal that 59 percent
of the cases are reported as strengths, which is a significant improvement throughout the
Reporting Periods 11-48, which run from January 2018 – January 2022.107

                             Figure 15. Performance on CFSR Item 13




The APSR attributes this improvement to implementing the Family Report over the last two
years. The Family Report was created to engage families and gathers information about
how the family was involved in case planning. The QA on the use of this report shows
improvement since implementation. In addition to the QA reviews, interviews conducted as
part of CW’s CQI process indicate that families felt heard, respected, and involved in
planning Family Engagement Meetings. CW has made significant improvement in the


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completion of Family Reports, going from 12 percent timely completion in 2020 to 60
percent in December 2021.101

As discussed in Section 4.6, CW has improved the guidance provided to caseworkers since
2016 regarding engaging families in creating permanency plans, which are part of the
overall case plan.

CW is also improving outreach to tribes as part of the case planning process, according to
focus group participants. Participants noted that child welfare staff attempt to engage the
applicable tribe but do not always receive the requested response. One focus group also
noted that there is a genuine effort to engage tribes, but that tribes are often understaffed
and may have limited resources, which can cause difficulties in engagement or
coordination with CW. Another focus group participant commented they traveled across
Oregon with a CPS unit, and they observed local offices collaborating and involving tribes
as early as possible and developing systems in offices for early notice and partnership with
tribes when responding to CPS assessments and supporting families. Another focus group
participant noted that tribal involvement was an area in which child welfare was improving.
The participant noted that leadership had put a good amount of focus on bringing
relationships with the Tribal Affairs Office to the forefront.

4.10 CW made significant progress in preserving and
           improving connections between children in
           substitute care and their families and communities
Finding: Since 2016, Oregon has made significant progress in this area, framed by the
Vision for Transformation and multiple new efforts to connect children to their families
and communities. The Vision for Transformation underscores the importance of these
connections by stating, “[w]e all know that infants, children, adolescents, and young adults
do best growing up in a family that can provide love, support, life-long learning, shared
values, and important memories.”108




108 Oregon Child Welfare Division Vision for Transformation:

https://sharedsystems.dhsoha.state.or.us/DHSForms/Served/de2445.pdf


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4.10.1         Key Themes
                                        Table 12. Key Themes

   Key Theme                                            Description

 Family              Oregon’s policy emphasizes the importance of family interaction and
 Interaction         requires the ongoing support of families in building parenting skills.
                     Caseworkers make significant efforts to facilitate family interaction
                     while facing typical challenges with transportation, locations, and
                     COVID-19 restrictions.

 Relative            Oregon prioritizes placement with and support for relatives, as shown
 Placements          by creating a kinship navigator program, policy language, and data
                     demonstrating the increase in the use of relative placements over the
                     past several years.

 Sibling             Oregon consistently demonstrates the importance of sibling
 Connections         connections through the involvement of siblings in planning for
                     children’s outcomes and creating a Sibling Bill of Rights in 2017 for
                     children in substitute care. Quantitative data also illustrates the
                     prioritization of placement with siblings.

 Community           The Vision for Transformation outlines the belief that ODHS believes
 Connections         that “communities often already have the wisdom and assets to provide
                     safe, stable and healthy lives for their children,”109 and ODHS actively
                     seeks out the voices of lived experience when drafting new initiatives
                     and concepts.



4.10.2         Quantitative Evidence of Improvement
There is quantitative evidence of improvement in three areas: family interaction, relative
placement, and sibling connections. For children who must be placed in substitute care,
relatives offer the best opportunity for maintaining family and cultural continuity. Initial
placement with a relative reduces moves and increases connections. More than a third of
entries into substitute care result in initial relative placement, up almost five percentage
points from 2016 to 2021.




109 Oregon Child Welfare Division Vision for Transformation:

https://sharedsystems.dhsoha.state.or.us/DHSForms/Served/de2445.pdf


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                               Figure 16. Initial Relative Placement




The Federal CFSR process focuses extensively on maintaining connections and measuring
conformity with multiple outcomes. Permanency Outcome 2 is centered on the continuity
of family relationships and preserving connections and includes five items: placement with
siblings (Item 7); visitation between parents, children, and siblings (Item 8); preserving
connections (Item 9); relative placement (Item 10); and relationship with parents (Item 11).
No state, including Oregon, achieved substantial conformity with Permanency Outcome 2
between 2015-2018; however, Oregon achieved better than the national averages, as
shown in Table 13, below.

                       Table 13. 2016 CFSR Permanency 2 Outcomes

                             Oregon        National
                        Performanc       Performanc     National
     CFSR Item                                                     Improvement Since 2016
                               e              e        Standard
                        % Strength       % Strength

 Item 7: Placement            89%            81%             95%   More siblings placed
 with siblings                                                     together from 2016-
                                                                   2021.

 Item 8: Visitation           82%            62%             95%   Reunification within 12
 between parents,                                                  months has improved,
 children, and                                                     and reentry to foster care
 siblings                                                          has decreased between
                                                                   2016 and 2021.




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                             Oregon        National
                        Performanc       Performanc     National
     CFSR Item                                                     Improvement Since 2016
                               e              e        Standard
                        % Strength       % Strength

 Item 9: Preserving           88%            67%             95%   Out-of-home care
 connections                                                       placements have
                                                                   decreased between 2016-
                                                                   2021, keeping more
                                                                   children safely in their
                                                                   homes.

 Item 10: Relative            77%            70%             95%   Initial placements with
 placement                                                         relatives have increased
                                                                   between 2016 and 2021.

 Item 11:                     79%            58%             95%   Reunification within 12
 Relationship with                                                 months has improved,
 parents                                                           and reentry to foster care
                                                                   has decreased between
                                                                   2016 and 2021.

There is, however, a disconnect between the quantitative data and the perception of the
state’s progress among child welfare staff. The survey results (shown in more detail in
Appendix D) show mixed results in maintaining connections. This may be partially due to a
lag in changing perceptions despite improved quantitative data. While child welfare staff
were aligned in prioritizing relative placements, with 70 percent noting that this
prioritization always occurs, fewer saw consistent efforts to facilitate sibling visits, with 46
percent stating this always happens and 52 percent saying it only happens sometimes.
Only 17 percent of staff who responded felt that child welfare always diligently searched
for resource parents that matched the child’s race or ethnicity. The same percentage felt
that providers who could care for LGBTQIA2S+ children and young adults were consistently
and adequately recruited. Although the quantitative data show annual improvements, it
takes more time for individual perceptions and staff to understand the changing data.


4.10.3       Family Interaction: Summary of Key Theme

Finding: Oregon has enacted many of the recommended best practices for family
interaction and provides support to children and their families to maintain connections
while children are in substitute care. Family interaction does not hinge on behavioral
compliance and is not used as a reward; it is seen as a fundamental right for children and


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their families. The policy requires that resource parents actively support familial
connections; and caregivers’ certification depends, in part, on whether they consistently
provide this support. ODHS caseworkers perceive differences in how policies are enacted
across the state. The continued implementation and focus on the tenets of the Vision for
Transformation will increase the application of family interaction policies statewide.

Child welfare best practice states that children spending time with their families is essential
for healthy development and helps maintain attachment between children and their
parents, reduce feelings of abandonment, and sustain a sense of belonging. When children
spend time with their families, they can also strengthen cultural connections.110 Research
shows that families who spend more time together have a greater possibility of timely
reunification, and those connections may also decrease children's mental health issues and
behavioral concerns.111,112

A 2020 Casey Family Programs Strategy Brief113 provides the following best practices
regarding family time. The table below outlines how ODHS's case practice aligns with best
practices, including what changes have been enacted since 2016.

              Table 14. Best Practices Related to Ensuring Adequate Family Time

               Best Practice                     2016 Oregon Practice              2022 Oregon Practice

 Family time is a right, not a                   • Meets best practice            • Exceeds best practice,
 privilege. Family time is a                                                         the administrative
 fundamental right for children and                                                  rule was updated in
 should not be used as a bonus or                                                    July 2022, stating that
 reward.                                                                             children have this
                                                                                     right to time with
                                                                                     their families.

 Focus of family time. Children                  • Meets best practice            • Meets best practice
 should be able to spend time                                                        but uses some
 building connection with their                                                      outdated language
 parents, siblings, and extended                                                     describing “visits”




                                        How can frequent, quality family time promote relationships
110 Casey Family Programs. (June 11, 2020).

and permanency? https://www.casey.org/family-time/
111 McWey, L. M., Acock, A., & Porter, B. E. (2010). The impact of continued contact with biological parents

upon the mental health of children in foster care. Children and Youth Services Review, 32(10), 1338-1345.
112 Cantos, A. L., Gries, L. T., & Slis, V. (1997). Behavioral correlates of parental visiting during family

foster care. Child welfare, 76(2), 309.
113 Casey Family Programs: https://www.casey.org/family-time/




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                 Best Practice              2016 Oregon Practice           2022 Oregon Practice

 family, and not be focused on                                              rather than “family
 “visitation.”                                                              time.”

 Frequency of family time,                  • Meets best practice        • Exceeds best practice,
 Typically, the goal is to increase                                         noting that “frequent
 the number and duration of family                                          contact promotes
 time to prepare for reunification.                                         timely reunification
 Research shows that regular,                                               and is good for the
 meaningful family time enhances                                            parents and the
 outcomes for children and families,                                        child.”115
 including timely reunification.114
 Family time should occur within
 24-48 hours of removal and
 should occur as often as possible.

 Involving the appropriate people.          • Meets best practice        • Continues to meet
 Family time has evolved from                                               best practice
 supervised visits to quality time
 that promotes connections and
 includes many members of a
 child’s extended family and
 community members.

 Caregiver involvement. Resource            • Exceeds best               • Continues to exceed
 parents can help children prepare            practice by                   best practice
 for and transition back to their             educating resource
 homes following family time.                 parents on reactions
 Caregivers can provide                       children may have to
 transportation and, if appropriate,          family time, benefits
 can offer coaching or support to             to family time, and
 the child’s parents.                         prioritizing time with
                                              siblings.

The Vision for Transformation reflects significant improvement around family connections.
The initial guiding principle of the Vision for Transformation is “supporting families and
promoting prevention,” which is focused on building programs and services that are



114 ACYF-CB-IM-20-02: https://www.acf.hhs.gov/sites/default/files/documents/cb/im2002.pdf

115 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (p. 433).




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focused on engaging families, equity, safety, well-being, and prevention.116 The
prioritization of supporting families illustrates the leadership’s commitment to these
familial connections for all children. This prioritization is reflected in the strengthened
guidance around scheduling and supporting family time, including determining the amount
of supervision needed and incorporating technology and virtual visits when needed.

While the policy language has not changed since 2016, leadership is providing caseworkers
with additional supports and guidance to meet the parents’ identified needs, bolster
familial connections, promote reunification, and encourage success. These policies include
requirements for: parenting time to maintain, strengthen, or develop attachment between
children and parents, considering the child’s best interests when making placement
decisions, and the development and updating of a Visit and Contact Plan to direct family
interaction and ensure it is meeting the child’s needs. Oregon is one of only a handful of
states that incorporates emotional ties between children, their families, and caregivers into
rule and procedure for the best interest determination. The requirement to create and
update the Visit and Contact Plan ensures that the information is current, reflective of the
family’s needs and strengths, and appropriate for the case plan goals.

Additional requirements, established in 2017, include caseworkers attending three weeks
of initial Essential Elements training within 60 days of their hire and before carrying child
welfare cases. This training includes a module on the principles of engagement and
partnership,117 and this portion of the training demonstrates the importance of family
engagement, sharing power, and how the principles of partnership support trauma-
informed and culturally responsive practice. This module allows caseworkers to examine
their own beliefs, values, and biases; and to use those to inform their practice with
families. Participants learn to identify tools and techniques they can use to engage families
and recognize community resources.

Despite the prioritization of family interaction and support and the policy requirements,
some caseworkers and supervisors shared in focus groups that CW does not consistently
provide sufficient and quality interactions between children and their parents due to
transportation, visit settings, and time constraints. CW is making progress in mitigating
these barriers by partnering with community organizations to provide transportation,
creating welcoming visitation rooms, and attempting to schedule family time outside of
school and work hours. Marion County is working with the Children’s Public Private
Partnership (CP3) to pilot a volunteer driver program to increase family interaction



116 Oregon Department of Human Services. (2020).   Child Welfare Division Vision for Transformation.
https://www.oregon.gov/odhs/child-welfare-transformation/Pages/principle-1.aspx
117 Essential Elements of Child Welfare Practice: Principles of Engagement and Partnership & Parent Panel.

https://drive.google.com/file/d/13GEWfgiAGmUlyHy5yUYl73y3I3Jmomw1/view


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frequency and expedite reunification in 2022.118 Many local branches have redecorated
their visitation rooms. CW has an ADA Coordinator who has begun working with branches
to create a room designed for individuals and families with sensory concerns. For those
districts without updated visitation rooms, many are in the process of creating more
welcoming spaces for families. CW has removed cameras from visit rooms, and the
leadership continually encourages local teams to consider why family interaction needs to
be supervised.


4.10.4        Relative Placement: Summary of Key Theme

Finding: Since 2016, ODHS has focused on one of the most powerful methods for
maintaining connections with a child’s family and culture by increasing the use of
kinship care, now having one of the higher rates of kinship care across the country. CW
workers continually search for relatives when children are not placed with relatives. In
2020, Oregon implemented a kinship navigator program to support relative providers and
connect them with necessary and appropriate services to assist in caring for children. The
voice of lived experience heavily influences Oregon’s development of this program and
relates strongly to the Vision for Transformation’s prioritization of family connections and
permanence for children.

Kinship care and relative connections are crucial for children in foster care to maintain
connections with their extended family and their culture and traditions. Since 2016,
Oregon has prioritized kinship care and now has one of the highest rates in the country.

Oregon has prioritized family connections in multiple ways through the Vision for
Transformation, including the expectation that children and young adults will be “in the
care of family, friends, and neighbors whenever possible.” It will “help children keep
connections to their cultures, communities, and Oregon Tribal Nations.” The initial guiding
principle of the Vision for Transformation focuses on strengthening and preserving
connections to family, culture, and community and prioritizing permanence.119

The consistent use of kinship care begins with leadership prioritization of relative
placements, including reframing the expectations for caseworkers when making initial and
subsequent placement decisions.120 The high priority of using kinship care is reinforced by




118 Children’s Public Private Partnership (CP3). https://www.cp3oregon.org/programs

119 Oregon Department of Human Services. (2020).   Child Welfare Division Vision for Transformation.
https://www.oregon.gov/dhs/CHILDREN/CWTransformation/Pages/index.aspx#principles
120

Casey Family Programs. (August 2018). Jurisdictional Scan: Strong Families. https://caseyfamilypro-
wpengine.netdna-ssl.com/media/SF_First-placement-family-placement-1.pdf


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the survey results, where 70 percent of respondents said that child welfare always
prioritizes placement with relatives.

One method for supporting kinship placements and providers is through kinship navigator
programs. These programs demonstrate to relative caregivers that their support is vital and
that the child welfare system honors their willingness to care for their family members.
Research shows that kinship navigator programs and services to kinship providers through
public benefit programs have reduced the number of child maltreatment reports,
substantiations of child maltreatment, substitute care placements, and child fatalities due
to maltreatment.121 Each of these measures have improved since 2017, as reports and
substantiations of maltreatment, number of placements, and child fatalities due to
maltreatment have all declined since 2017.122

Oregon began the process of creating a Kinship Navigator program in October 2018 and,
in Fall 2019, awarded the Greater Oregon Behavioral Health Inc. (GOBHI) a two-year
contract to build and operate the Oregon Kinship Navigator, which launched in February
2020.123 A community provider was chosen to manage the kinship navigator program
based on feedback ODHS collected from families and family advocates requesting that a
non-governmental agency provide the support, outreach, and engagement.124

The foundation of the Oregon Kinship Navigator (OKN) is supporting families and
promoting prevention, uniting the program to the first guiding principle of Oregon’s Vision
for Transformation. The OKN is guided by a Kinship Advisory Committee, consisting of
kinship caregivers, public and private organizations, and advocates125 to ensure that the
implementation and oversight of the program are led by those with lived experience and
expertise. The OKN includes all kinship families statewide, not just those already involved
with the child welfare system, and allows CW to highlight prevention services. Such service
provision to families before their involvement with child welfare can contribute to the
continued decline of entry into substitute care in Oregon, which has been steadily declining
since late 2017.

Even for young adults who cannot be placed with relatives, Oregon ensures that they
maintain connections with those relatives. CW policy requires caseworkers to continually
consider the inclusion of relatives in case planning, safety planning, placement, and


121 Puls HT, Hall M, Anderst JD, et al. State Spending on Public Benefit Programs and Child Maltreatment.

Pediatrics. 2021;148(5):e2021050685.
122 2021 Child Welfare Data Book. https://www.oregon.gov/dhs/CHILDREN/CHILD-

ABUSE/Documents/2021-cw-data-book.pdf
123 Oregon Kinship Navigator Project: https://www.oregon.gov/dhs/CHILDREN/Documents/22%20-

%20Kinship%20Navigator%20Project%20III.pdf
124 Oregon Annual Progress and Services Report 2022. (June 2021; resubmitted August 2021).

125 Oregon Annual Progress and Services Report 2022. (June 2021; resubmitted August 2021).




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ongoing support, which includes periodically reviewing CW’s diligent efforts to place
children with a relative (or person with a caregiver relationship) including asking whether
siblings are placed together and, if not, what can be done to place them together and what
is being done to maintain contact between siblings. This is important and powerful
because while relative connections may not always be resources for placement or
permanence, Oregon policy recognizes that children and youth still need continued
connections to their families.


4.10.5        Sibling Connections: Summary of Key Theme

Finding: Since 2016, CW has prioritized connections between siblings in substitute care,
as shown by quantitative data and practice expectations. The requirement of siblings to
be involved with and considered as part of the case plan, case plan review, and decisions
as young adults transition out of foster care demonstrates the importance of sibling
connections to Oregon child welfare practice. The development of a Sibling Bill of Rights
sends a strong message to young adults in substitute care that their relationships with
their siblings are fundamental to their positive outcomes.

Sibling relationships can be the longest relationships that children have in their lifetimes
and can provide continuity that children involved in the child welfare system may not find
elsewhere. Connections to their siblings also serve as a protective factor for children in
substitute care, and those connections can improve the child's and their siblings' well-
being.126 Maintaining regular connections with their family is the most critical factor in
supporting a child’s attachment to their parents, siblings, and other family members.

Oregon’s improvement since 2016 in placing siblings together is reflected in the
quantitative data, shown below.

                                 Table 15. Sibling Placement Data

                          2016        2017        2018         2019         2020          2021

 Percentage of
 children placed         82.9%      82.9%        82.4%       82.2%       83.1%          83.6%
 with a sibling

 Percentage of
                         17.1%      17.1%        17.6%       17.8%       16.9%          16.4%
 children placed




126 Child Welfare Information Gateway. (June 2019). Sibling Issues in Foster Care and Adoption.

https://www.childwelfare.gov/pubPDFs/siblingissues.pdf


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                          2016        2017        2018         2019         2020          2021

 apart from
 siblings

Oregon is one of only a few states that has codified siblings’ rights into law. This is
important because prioritizing the placement of siblings together and the connections
between siblings sends a message to children, families, and the child welfare workforce
that sibling relationships are vital to children’s success and maintaining connections. To
that end, the Oregon legislature codified the Foster Children’s Sibling Bill of Rights in May
2017 (and associated rules were effective January 1, 2018) to give children and young
adults in foster care rights designed to protect and strengthen bonds with their siblings.
Both Oregon’s Foster Children’s Bill of Rights and the Sibling Bill of Rights are written into
statute. While many states have a bill of rights for young adults in foster care, Oregon is
one of only a few states that has taken the step to create this specifically for siblings, and
further spotlighted its importance by codifying it into state statute. This Sibling Bill of
Rights gives children and youth in substitute care specific requirements their caseworkers
must meet and information that children must receive about their siblings.


4.10.6        Community Connections: Summary of Key Theme

Finding: ODHS is committed to building connections within a child’s community and to
creating and maintaining community resources for children and families. The Vision for
Transformation explicitly outlines expectations for keeping children with their families and
within their communities; and highlights the voices of community members. ODHS
amplifies the voices of those with lived experience through the Parent Advisory Council and
is actively developing an updated Tribal Consultation Policy with Oregon Tribal Nations.

Maintaining the connection between children and their communities when they are placed
into substitute care can mitigate some of the removal trauma. Facilitating these
connections helps build protective factors for children and their families, and those
protective factors mitigate risk and promote healthy development and well-being for
children, young adults, and their families.127

Programs such as the Oregon Kinship Navigator help build protective factors as they
engage families, build skills, and identify opportunities for support. In addition to helping
families, building protective factors can also help agencies to build capacity and




127 Child Welfare Information Gateway. (March 2020). Issue Brief: Protective Factors Approaches in Child

Welfare. https://www.childwelfare.gov/pubpdfs/protective_factors.pdf


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collaborative partnerships.128 This approach has demonstrated success in Oregon with a
community agency to operate the kinship navigator and the inclusion of community
members in the creation and oversight of the program.

The concept of building protective factors is also very evident in the Vision for
Transformation, with the focus on strengthening and preserving connections to family and
community by keeping kids home and in their community, when possible, as well as
maintaining connections when placed in substitute care and prioritizing permanence.
ODHS is also committed to engaging with the community by integrating the voices of
children, young adults, parents, families, Tribal Nations, and partners to be more
responsive to the needs of families. One way Oregon engages the community is through
the Parent Advisory Council (PAC) of Oregon,129 which includes parents who have been
involved with child welfare, who are in recovery, and who are now community leaders. The
culturally diverse Council includes members from six CW districts. The PAC meets monthly
with state child welfare leadership and provides feedback to ODHS on new initiatives,
concepts, and documents based on their lived experience. Since 2020, the PAC has led
training, shared their stories, and answered questions for new resource families
throughout Oregon. The PAC allows the voice of lived experience to further permeate the
decision-making process at every level of child welfare.

Oregon is committed to collaborating with Tribal Nations to improve outcomes for
American Indian and Alaskan Native children in substitute care. American Indian and
Alaskan Native children are disproportionally represented in substitute care across the
country and collaborating with Tribal Nations will address these outcomes for children and
improve relationships between state and Tribal governments. States with strong
relationships with Tribal child welfare agencies see improved outcomes for children in child
welfare. ODHS is currently co-creating the Tribal Consultation Policy with OHA and the nine
federally recognized tribes in Oregon. The goal of a Tribal Consultation Policy is to ensure
the inclusion of the Tribes in the development of ODHS policies and programs that impact
Tribes; establish communication pathways; and build trust, respect, and shared
responsibility. Per Child Welfare Leadership, the ODHS Tribal Consultation Policy is in draft
form and will be modeled closely after the Tribal Consultation Policy held by the Oregon
Health Authority (OHA). The OHA policy notes that meaningful consultation between tribal




128 Oregon Kinship Navigator:

https://oregonkinshipnavigator.org/?gclid=CjwKCAiA1MCrBhAoEiwAC2d64Rc0R_MVrfrjHI2lQRu1mU2Opn
PoL7BDIsCM5Pt5SJ6W9tzxptw3wBoC7fIQAvD_BwE
129 ODHS Community Engagement: https://www.oregon.gov/dhs/CHILDREN/Pages/community.aspx




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leadership and agency leadership produces “information exchange, mutual understanding,
and informed decision-making on behalf of the Tribes and the State.”130

4.11 CW made progress during the identified timeframe
            to improve staffing resources
Finding: Oregon made progress in improving staffing resources during the specified
timeframe. CW has expanded the leadership team to prioritize equity, training, and
workforce considerations and has started tracking caseload data to manage workloads.
Even so, CW has had challenges in providing training for caseworkers and is increasing
training and coaching resources.


4.11.1        Key Themes
                                       Table 16. Key Themes

    Key Theme                                           Description

 Staff                CW made progress in staff recruitment and retention, with support
 Recruitment and      from the Governor’s Office and modeling from the CW Executive
 Retention            Leadership Team. CW expanded the leadership by creating a Deputy
                      Director position dedicated to equity, training, and workforce to
                      demonstrate a commitment to this value. In the last two years, CW has
                      seen an increase in hiring and decreased staff separations.

 Caseload             CW made progress in caseload management and now tracks caseloads
 Management           through an internal dashboard created in 2022. Despite the
                      quantitative data trend, some caseworkers experience their workloads
                      as higher than the quantitative data show. This is likely due to an
                      increase in complex needs in the children and young adults currently
                      in the system.




130 Oregon Health Authority Tribal Consultation and Urban Indian Health Program Confer Policy.

3/1/2018. https://www.oregon.gov/oha/documents/Tribal_Consultation_and_UIHP_Confer_Policy.pdf


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   Key Theme                                       Description

 Training and        CW progressed in training and coaching the workforce but has more
 Coaching            room for improvement. CW has recognized that the initial training for
                     caseworkers needs to fully prepare them for working with families and
                     has created additional training pathways for roles and specialties. This
                     addresses new staff training, but it is not ongoing. To address
                     ongoing training, CW is building a coaching model and supporting
                     supervisors in coaching their staff to the CW values.


4.11.2       Staff Recruitment and Retention: Summary of Key Theme

Finding: Since 2016, Oregon has made progress in staff recruitment and retention, with
support from the Governor’s Office and legislature in the form of approval for several
hundred new positions and an oversight board to advise the division. In 2020, CW
created the position of Deputy Director for Equity, Training, and Workforce Development
and hired Aprille Flint-Gerner to lead this effort. Since January 2021, CW has seen an
increase in hiring and decreased staff separations for caseworker positions.

The Oregon Legislature approved funding for 300 new positions during the 2019
legislative session, and in July 2019, CW began a hiring surge. The increase in the number
of SSS1 FTE positions from July 2016 to October 2022 is shown in the graphic below.

                             Figure 17. Number of CW SSS1 FTE




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This hiring effort was driven by an executive order in April 2019 establishing an oversight
board to address the crisis in Oregon’s child welfare system.131 The Governor’s Office
convened the Child Welfare Oversight Board to advise CW on the development and
administration of child welfare policies, programs, and practices. To support the hiring
surge, CW identified a Program Manager and additional employees, including an outside
consultant and representatives from other agencies, to create the Child Welfare
Recruitment Team. This team drafted a plan to identify candidates, developed application
questions, and identified the hiring team.132

According to assessment participants, as part of this hiring effort, statutory requirements
were lowered to attract a broader range of potential candidates. CW leadership clarified
that the minimum qualifications for hiring were changed in 2018, before the hiring surge
in 2019. Current job postings for entry-level social service workers require a bachelor’s
degree unrelated to human services and either one year of human services-related
experience or completion of coursework consistent with Oregon Caseworker Competency
or an associate degree with some experience and either two years of human services-
related experience or one year of human services-related experience and related training,
coursework, or certification consistent with Oregon Caseworker Competency.

As of the second quarter of 2022, CW had 1,143 ORCAH screeners and caseworkers and
20,717 child abuse reports.133 Before centralizing the hotline in 2019, each district and
county looked at the total number of staff to determine how many workers would screen
on any given day, and there needs to be a mechanism to map those allocations across each
county prior to centralization. CW made progress in hiring new caseworkers in 2019
through the hiring surge supported by the legislature, but the COVID-19 pandemic and
nationwide Great Resignation likely increased turnover and departures over the past two
years. However, turnover within ORCAH decreased between January 2021 and December
2022, and never rose above 8 percent.

CW created a Deputy Director for Equity, Training, and Workforce Development position
and hired Aprille Flint-Gerner to fill the role in 2020. She now serves as the Child Welfare
Director, but under her leadership as Deputy Director, CW began redesigning the hiring
processes to put the right people in the right roles and focusing on equity so CW staff
reflect the people they serve. Best practice from other states indicates this will increase the
likelihood of people receiving the services they need.




131 Executive Order No. 19-03: Establishing an Oversight Board to Address the Crisis in Oregon’s Child

Welfare System. https://www.oregon.gov/gov/eo/eo_19-03.pdf
132 Alvarez & Marsal: Foster Care Work Plan Overview. 7/10/2019.

133 Oregon Child Welfare Data Set, ROM Data. https://oregon.rom.socwel.ku.edu/




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CW is creating a pathway for development, providing learning opportunities, developing
transfer of learning opportunities, and supporting middle managers and leaders.
Supporting the workforce is a pivotal piece of the Vision for Transformation, as described
in Oregon’s Child Welfare Caseload Ratio Standards, which were created in 2021. The
Standards state that “a supported, skilled, respected, and engaged workforce that reflects
and embraces the communities we serve will ensure we have a network of services
promoting prevention and well-being for Oregon’s children and families.”134 These
Standards are essential as they allow CW to monitor worker caseloads and ensure that the
caseload and workload are appropriate and manageable for each caseworker. Having these
Standards and these data can help supervisors and leaders ensure that caseworkers can
manage their work.

In 2016, CW turnover was 23 percent,135 and Oregon generally has a lower turnover than
national averages. The national child welfare turnover rates have been between 30-40
percent annually, with an average caseworker tenure of two years.136 Additionally, the
average tenure of a child welfare director is 18-24 months,137 and Ms. Jones Gaston held
the Director position for three years.

4.11.3        Caseload Management: Summary of Key Theme

Finding: Since 2016, Oregon has made progress in caseload management, most notably
with the creation of the Caseload Ratio Standards. CW now tracks caseloads via an
internal dashboard created in 2021. The Governor’s Office and CW leadership are providing
additional resources to manage caseloads and have prioritized supporting the workforce.
Some caseworkers feel that their workloads are higher than the quantitative data show,
likely due to an increase in complex needs in the children and young adults in the child
welfare system. CW leadership and management review caseloads and workloads weekly to
monitor both for caseworkers.

A CW caseworker’s caseload determines the amount of time they can spend directly with
children, young adults, and families to support them in making progress toward their case
plan and permanency goals. CW has caseload standards and now tracks caseloads but does
not formally regulate them. In December 2021, CW developed a caseload dashboard for
managers to understand staff caseloads better and determine the number of new cases

134 ODHS Child Welfare Caseload Ratio Standards. (Revised 1/20/2022).

135 Secretary of State Audit (2018): Foster Care in Oregon: Chronic management failures and high

caseloads jeopardize the safety of some of the state’s most vulnerable children.
136 United States General Accounting Office. (March 2003). Child Welfare: HHS Could Play a Greater Role in

Helping Child Welfare Agencies Recruit and Retain Staff. https://www.gao.gov/assets/gao-03-357.pdf
137 Rawlings, Tom. “Leading Child Welfare Systems Past the Worst Tragedies.” The Imprint. (August 15,

2019). https://imprintnews.org/opinion/leading-child-welfare-systems-past-the-worst-tragedies/36979


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staff could effectively serve. This is a significant improvement from 2016, when
assessment participants shared that CW did not track caseloads for caseworkers and
instead relied on self-reported time studies to estimate workloads. The dashboard was
created as part of CW leadership’s commitment to improving outcomes for children and
families.

The caseworker dashboard pulls real-time data from OR-Kids to quantify the number of
assessments, cases, or providers for each caseworker. The dashboard shows the number of
assessments, cases, or providers for each caseworker to allow managers to understand
their workers’ current caseloads better and determine the number of new cases they can
effectively carry. The data are updated in real-time and subject to change as the quality of
information about staff assignments depends on information being entered timely and
accurately within OR-Kids. The dashboard is organized by categories, including caseworker
type, district, and county level, and can be filtered by supervisor and worker level to
provide data on assigned cases. The goal for the dashboard is to eventually include human
resources data, including current staffing, vacancies, rotations, and other hire statuses, to
provide additional detail. This is an internal management tool to assist in assignments and
work management. Child Welfare leadership will use an internal monthly and quarterly
average to inform allocations, needs, and trends.

The Child Welfare League of America (CWLA) historically recommended using caseload
standards to help manage caseworker workloads, and child welfare agencies in many states
adopted them. CWLA provided recommended standards of 12 to 15 children per
caseworker but recommended that child welfare agencies develop their specific caseload
standards. However, CWLA reported that workload studies used by child welfare agencies
to establish caseload standards do not account for all the variables that affect workload.

According to a 2018 CWLA report, the “field needs to move past establishing blanket
caseload standards that do not take into account the complexities of workload.” For these
reasons, the CWLA reported it is moving away from focusing on numerical caseload
standards to outcome-based workload standards and creating a methodology for
managing them. This shift is represented in ODHS’ Child Welfare Caseload Ratio Standards
as well, stating that “an exceptional workforce that is developed and supported at all levels
will result in a decrease in vacancies, an increase in retention rates, an increase in longer
tenures, increased promotion, manageable caseloads, and higher workforce morale.”138
The Governor, legislature, and CW are prioritizing workforce capacity and resources.

The table below shows a statewide snapshot of average caseload data for CPS, Permanency,
and Certification caseworkers from September 2023139. These data were pulled from the


138 ODHS Child Welfare Caseload Ratio Standards. (Revised 1/20/2022).

139 ODHS Caseload Report Dashboard. (September 30,2023).




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dashboard mentioned earlier in this section that CW developed for managers and leaders
to understand current caseloads. In September 2023, CW caseloads exceed best practices
according to COA standards.140 These low caseloads demonstrate ODHS’ commitment to
their own standards and to managing workloads for their staff. While these quantitative
data do not demonstrate the complexity of each child, family, or case, the lower caseload
numbers allow caseworkers to provide quality support and supervision to each child and
family. CW also recognizes that hiring additional safety staff will enable new caseworkers
to carry lighter caseloads, as data from Spring 2023 show that new caseworkers carried up
to 11 cases, and that their caseload ratios increased with their tenure.141




140 Council on Accreditation. (2022). Standards for public agencies: https://coanet.org/standard/pa-

cfs/2/
141 Child Welfare Division: Workforce and Respite Care Presentation. April 18, 2023.

https://olis.oregonlegislature.gov/liz/2023R1/Downloads/CommitteeMeetingDocument/270889


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                       Table 17. Caseload Information: September 2023

                                          CPS Caseload

 Average Assessments Assigned to Workers                                   21.9

                                      Permanency Caseload

 Average Children/Young Adults Served Assigned to Workers                  10.5

                                      Certification Caseload

 Average Resource Homes Assigned to Workers                                14.1

Oregon’s Caseload Standards meet, and in some cases are more strict, than the national
standards, as shown in the table below. For reference, a worker’s caseload (or the number
of children or families assigned to an individual worker) is equal to the number of Workers
divided by Cases.138

                             Table 18. Oregon Caseload Standards
 Oregon Caseload Ratio Standards           2022 Edition of COA Standards            Meets Best
                                                  for Public Agencies                   Practice?

 Screening                1:561 calls     12 active investigations at a time      Unclear based
                                          (Note: COA Standards include            on data shown
                                          recommendations for                     above. ORCAH
                                          investigations, not screening)          policy requires
                                                                                  one screening
                                                                                  report per hour.

 Child Protective         1:7 newly       No more than 8 new investigations       Yes
 Services                 assigned        per month
                          assessments

 Permanency (in-          1:12             • 15-17 families receiving             Yes
 home, substitute         children           ongoing in-home services
 care, and adoption)                       • 12-15 children in substitute
                                             care (and their families)
                                           • 8 children in treatment foster
                                             care (and their families)

 Certification            1:21 homes      *Not included in COA Standards          Unclear as there
                                                                                  is no national
                                                                                  standard



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As mentioned earlier in this report, participants noted that CW does not have the option to
refuse to provide services and placement resources for all children and families. In some
cases, CW serves families with needs that a child welfare system is not traditionally
equipped to meet, and the workforce is suffering. Some young adults are a greater danger
to their community than their parents are to them, but they get involved with child welfare
because, as an agency, CW cannot turn children away.


4.11.4       Training and Coaching: Summary of Key Theme

Finding: Since 2016, Oregon has made some progress in building a coaching model and
providing coaching to staff. CW recognized that the current initial training for caseworkers
needs to fully prepare them for working with families and requires improvement. CW has
initiated revisions to the Essential Elements training and have created additional training
pathways for roles and specialties. CW is building a coaching model and supporting
supervisors in coaching their staff to the CW values.

The child welfare workforce depends on training at various levels of their careers to stay
current on state and local law, agency policy, best practices, and expectations for their
work with children, young adults, and families. Child welfare agencies provide initial
training to their workforce and ongoing training, depending on their specialty within child
welfare.

To address ongoing professional development, CW has received approval to build a
coaching infrastructure, which includes a 30-person training team to support the
continued development and delivery of curriculum and training and focus on coaching and
leadership. CW is adopting an adaptive leadership supervision model with a coaching and
reflective supervision foundation. Supervisors will be taught to ask good questions when
meeting with caseworkers and are taught prevention plan-building skills associated with
appreciative inquiry and motivational interviewing.

CW uses an apprentice or coaching model for continued learning. This model recognizes
the expertise of supervisors and managers and expects them to provide ongoing training
and support to their staff. Some assessment participants report they would like CW to
move to a more formal apprentice system where new workers are trainees for their first six
months, then provide on-the-job coaching for their first few cases before they take on a
full caseload. They requested that CW invest more in on-the-job training over classroom
training to prepare caseworkers for the job adequately. As CW continues to implement an
adaptive leadership model and supports supervisors and managers as they coach their
staff, caseworkers will likely gain confidence and experience while getting to begin working
with children, young adults, and families and receive on-the-job training simultaneously.




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Assessment participants shared that CW has work to do to ensure that the transfer of
learning has happened and that values are embedded throughout the workforce. They
stated that they need to get supervisors coaching on those values to entrench them in the
caseworkers’ practice and build caseworkers up as an integral part of the workforce. This
embedding of CW values will also logically increase as the adaptive leadership coaching
model is more prominent across the state.

As stated earlier, CW implemented the Essential Elements training in 2017 to provide
caseworkers with three weeks of initial training and two weeks of follow-up training and
resources. CW leadership reports that staff are adequately trained through this curriculum.
They say that Essential Elements includes training to determine what individual children or
families need, and when they see other needs, they infuse more training. Leadership is
working to make sure caseworkers have a defined skillset. It will then introduce more
training to help move workers along a continuum from introductory to mid-career to
advanced through the additional training pathways mentioned previously in this section.

However, some caseworkers disagree and shared in focus groups that new caseworkers
must be prepared to work with families. They noted that new caseworkers are often very
clinical or rote and lack the smooth communication, people, and critical thinking skills to
adapt to working with families, as it takes time to practice and master these skills. Central
Office staff agreed and were concerned that Essential Elements does not completely
prepare workers to engage with families. Participants state that the curriculum needs to be
more comprehensive to prepare caseworkers for their first case focusing on permanency
and more content regarding safety practices. As mentioned throughout this report, the
implementation of new initiatives and practices takes time, and the adaptive leadership
model is in progress. While some members of the CW workforce are understandably
concerned about the existing state of training and coaching, this new model will positively
impact the preparedness of caseworkers moving forward.

CW is revising the Essential Elements process to respond to the needs of their staff. These
revisions for preparing caseworkers include:142

   •    An on-ramp process that begins after completing the 15-day Essential Elements
        course. During this, workers are introduced to their Coaching and Training
        Specialist, who provides direct field support, tutoring, group learning sessions, and
        individual guidance.
   •    A reduced caseload for the first month following completion of Essential Elements in
        which the new caseworker is only assigned one case per week. Supervisors can




142 Deposition of Kim Aaron Lorz. September 12, 2023.




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        assess the caseload after this first month to determine whether the caseworker is
        prepared for additional case assignments.
   •    Six months of on-the-job training, including the on-ramp process and completion
        of the remaining Essential Elements courses regarding well-being, trauma-informed
        practices, family conditions, and court preparation. During these six months,
        caseworkers receive support from their Coaching and Training Specialist and direct
        supervision from their casework supervisor.
   •    A supervisory assessment following the on-ramp and completion of the additional
        courses to determine whether the caseworker needs additional support or training.

CW is also developing a training academy and will pilot it in 2024 to provide additional
support to new caseworkers.

Caseworkers have additional training requirements based on their tenure and their role.
More information on these requirements and curricula can be found in the appendix.

CW logs the completion of initial and ongoing training for caseworkers in WorkDay Learn,
which began in 2021. CW managers can pull a report that shows which workers attended a
specific training, and CW is working to provide more reports to managers. Portland State
University (PSU) can also track ongoing caseworker training. The PSU reports can be
uploaded into WorkDay to consolidate training information, making it simpler for managers
to track completion. CW is adding new components to WorkDay each year to build the
training infrastructure and manage talent throughout the division.

If called as a witness, I would offer testimony as to the matters set forth in this report. The
report contains complete statements of my opinions in this case and the basis and reasons
for those opinions. The conclusions are reached with a reasonable degree of professional
certainty.




                                                                                  Stacey Moss
                                                                President, Public Knowledge®




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Appendix A: Supplemental Evidence
This appendix contains additional context to support the findings listed in Section 4.


1      Child Safety
1.1       Implementation of 2016 Recommendations
Redesigning the Process of Responding to Allegations of Abuse in Care

CW implemented changes in responding to allegations of abuse in care required by the
passage of Senate Bill (SB) 155 in 2019, which addressed the increase in child abuse
assessments and investigations143. SB 155 also divided responsibilities for assessing and
investigating reports of child abuse between CW and the Office of Training, Investigations,
and Safety (OTIS).

            Table 19. SB 155 Child Abuse Assessment Responsibility Changes

  Child Welfare will assess reports of child       Office of Training, Investigations, and
                abuse involving:                   Safety (OTIS) will investigate reports of
                                                            child abuse involving:

 Familial alleged perpetrators                   Child Caring Agencies (CCAs)

 CW certified resource families                  Childcare providers

 Minors as alleged perpetrators                  Office of Developmental Disabilities
                                                 Services group or foster homes

 Commercial Sexual Exploitation of Children      Oregon Youth Authority foster homes

 Third party intimate partner alleged            School or educational providers
 perpetrators

 Third party relative alleged perpetrators       Other third-party alleged perpetrators




143 ORS 419B.020 and 419B.026.




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The Planning Council for Health and Human Services, May 2009 “Child Safety in Foster
Care” publication outlines best and evidence-based practices that enhance safety for
children in foster care, listed in the table, below.144

      Table 20. Best Practices Related to Enhanced Safety of Children in Foster Care

                          Best Practice                                  2016           2022 Oregon
                                                                        Oregon             Practice
                                                                        Practice

 Efforts to prevent maltreatment by a foster parent begin            Unknown           Meets best
 with a screening and assessment process (including                                    practice.
 screening and assessment tools)

 Develop ongoing targeted recruitment and retention                  Did not           Meets best
 campaigns to meet the needs of the population of                    meet best         practice: See
 children in foster care                                             practice          Section 4.4.

 Foster parents must have the necessary training to meet             Unknown           Nearly meets
 the challenges that arise when caring for foster                                      best practice:
 children, including specialized training for kinship                                  See Section
 providers                                                                             4.4.

 To ensure a child’s safety in a foster care setting,                Met best          Meets best
 parents, caregivers, agencies, and providers must                   practice          practice: See
 understand a child’s healthcare needs, as well as the                                 Section 4.7.
 services and supports required to meet those needs

 Workforce issues, including training and retention, are             Did not           Meets best
 essential aspects of preventing maltreatment in foster              meet best         practice: See
 care. Caseworkers must have realistic workloads to                  practice          Section 4.11.
 have time to make required visits to children in foster
 care.

From July 2015 to June 2017, the rate of maltreatment in care rose from 14.8 to 19.7
victimizations per 100,000 days in foster care. The national threshold is 9.67, and in
Oregon since June 2017, the rate has fluctuated, however it has decreased to 17.7 in July
2022, as shown in the figure below.



144 Best and Evidence-Based Practices that Enhance Safety of Children in Foster Care. (May 2009).

https://ncwwi.org/files/Evidence_Based_and_Trauma-Informed_Practice/Best__Evidence-
Based_Practices_that_Enhance_Safety.pdf


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             Figure 18. Change in Maltreatment in Care from 2015 to 2021145




1.2       Implementation of the Oregon Child Abuse Hotline
          (ORCAH)
Centralized Intake

Intake systems can be centralized or decentralized. Reports received at either local or
regional offices are decentralized, while centralized systems receive reports at one
centralized location.

Correct screening decisions may provide much needed assistance to families in need and
can assist child welfare agencies working with families in impacting safety, permanency,
and well-being for children and young adults in need. Incorrect screening decisions lead to
unnecessary invasion of families’ rights, burdening an overworked child welfare workforce,
and losing opportunities to help children and families in critical need.

The centralized Oregon Child Abuse Hotline (ORCAH) was launched on April 4, 2019, to
provide the state with constant access in reporting child abuse and provide consistency in
how reports are screened.

Oregon’s vision for Centralized Intake is to “engage our communities, including mandatory
reporters, and respond to reports of child abuse in a transparent way. Our vision is to do


145 Results Oriented Management (ROM) Data Site, Oregon Department of Human Services, Report SA.01,

6/27/2022. https://oregon.rom.socwel.ku.edu/reports/100


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so while ensuring our children and youth, in their own communities, are safe.” Oregon’s
mission for ORCAH “is to receive reports of child abuse and provide excellent customer
service with equitable and consistent decision-making to ensure safety for Oregon’s
Children.”

The 2022 Procedure Manual includes information about the screening process for
information received at the hotline, including how the screener should engage the reporter,
building rapport with the reporter, information about being trauma informed while
engaging reporters, interviewing and questioning techniques (including asking open versus
closed ended questions, paraphrasing, giving verbal cues, reflective listening, exploration,
affirming, and other techniques), the stages of the interview (introduction, exploration, and
close), and screening decision-making.146 The 2022 Procedure Manual provides instruction
on how to conduct a child welfare history review, make the screening decision, assign
response times, close cases at screening (if appropriate), and document the report.147
ORCAH offers an Oregon Child Abuse Hotline Screening Training Academy for new
screeners before taking calls. The Training Academy trains on topics including:

   •     Customer Service and Engagement
   •     Types of Callers and Exploring Mandatory Reporting
   •     Definitions of Abuse and Types of Screening
   •     Interviewing and Information Collection
   •     History Review and Safety Plans
   •     Screening Decision-Making and Restricted Cases
   •     OTIS Reports
   •     Trauma Informed Screening
   •     Assigning a Report
   •     Notifications
   •     Documentation
   •     CARES
   •     Indian Child Welfare Act for Screeners
   •     ORCAH Continuous Quality Assurance
   •     OpenScape
   •     ODG/OR-Kids and Technical Training


146 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/1/2022, (pp. 105-

119).
147 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/1/2022, (pp. 119-

143).


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   •    Ecourt

Not included in the 2016 Procedure manual, the 2022 Procedure Manual contains a new
section for screeners with information on how to handle reports for six different types of
calls including:

   •    Potential reports of abuse
   •    Requests for assistance from Child Welfare that fall under Family Support Services
   •    Notifications to Child Welfare
   •    Information involving a setting screened and investigated by OTIS
   •    Information involving an open CPS assessment, open Child Welfare case or a Child
        Welfare certified resource home
   •    Requests for other types of community resource information or referrals

The Procedure Manual outlines the process for using the Structured Decision Making tool
to determine the screening decision, which workers use along with the ORCAH Document
Guide.148

There are mentions throughout the 2021 Procedure Manual that services provided to
families should be of sufficient quality, however, there does not appear to be a procedure
in policy to instruct staff how to indicate or rectify poor service quality.

Child Welfare has a few policies in place to guide staff on how to make decisions based on
data. These policies seem to primarily concern both the Oregon Child Abuse Hotline and
the use of the Child and Adolescent Needs and Strengths (CANS) tool.

ORCAH Implementation

Screeners expressed implementation challenges and adjustments for ORCAH including the
following listed in the table, below.

                 Table 21. ORCAH Implementation Challenges and Adjustments

         Implementation Challenges                         Implementation Adjustments

 Screeners shared with ORCAH managers               CW adjusted timeframes to complete
 the difficulties in completing quality intake      intake reports and numbers of intake
 reports in timeframes required by CW (such         reports required to be completed during a
 as completing eight reports for an eight-          shift needs to be flexible and responsive to
 hour shift) and complete pending cases             call volume, call wait times, and call
 work is challenging (including cases that          abandonment rates.


148 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 8/23/2023, (p. 123).




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               Table 21. ORCAH Implementation Challenges and Adjustments

           Implementation Challenges                   Implementation Adjustments

 have not yet completed the entire intake
 process, such as all required screenings,
 background checks, and other
 requirements for completing an intake
 before making a screening decision).

 Screeners noted inconsistent decisions of      CW is conducting ongoing quality
 supervisors and program managers on            assurance reviews, training, and coaching
 reports of child maltreatment with similar     for supervisors and program managers to
 issues.                                        assist in improvements in consistency of
                                                decision-making. COVID-19 impacted
                                                ORCAH by shifting staff from in-person to
                                                virtual within a very short timeframe (a
                                                matter of a few days). Decision-making
                                                that normally would have occurred in
                                                person had to shift to virtual. ORCAH
                                                implemented SDM® tools for screeners,
                                                supervisors, and program managers to
                                                further assist in consistency of decision-
                                                making at intake.

 Screeners noted communication between          CW implemented new communication
 shifts is difficult                            protocols are in place to assist with
                                                communication between shifts.

 Screeners note tools for screening reports     ORCAH is in a constant state of continuous
 change frequently                              quality improvement. ORCAH uses data
                                                driven decision-making to adjust and
                                                make improvements to change. SDM®
                                                Screening and Response Time Assessment
                                                implemented in 2022.

 Screeners report the structure of the job      CW notes the structure of job changes to
 changes frequently, as the protected time      mirror call volume ebbs and flows. High
 to finish reports is no longer in place,       call volume means job structure has to
 post-call processing time allotment            change so calls can be answered.
 changes frequently, and time for meetings
 and training is no longer in place



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              Table 21. ORCAH Implementation Challenges and Adjustments

         Implementation Challenges                      Implementation Adjustments

 Screeners state the technology for taking       Technology updates happen frequently for
 the calls changes frequently                    hardware and software for systems. It is
                                                 important to update technology to improve
                                                 system bugs and failures.

 Staff note that answering calls of reports of   Caseworkers need to balance how much
 child maltreatment quickly does not equate      information is collected at screening and
 to reports of those calls and information       researching history.
 being sent to districts and counties
 quickly. Wait times may be down for callers
 but screenings, documentation, and
 reports take time to complete.


1.3       New Ways to Assess Safety
The most important decision in CW is to assess the safety of a child in response to an
allegation of harm. Screening and assessment protocols have been improved by three
strategies: implementation of the centralized hotline, adoption of a standard protocol for
closed at screening, and implementation of analytics tools to support decision-making.

Survey results show perceptions of staff are that CW is ensuring children, reported to the
agency and under CW supervision, are safe. Staff perception is critical as staff are carrying
out the everyday activities of the agency. Staff perception shows that CW has processes,
procedures, and standardize responses to accepting, screening, and assessing allegations
of child abuse and ensuring safety of children under CW supervision.

Program Managers stated that child welfare leaders promote safety for children under child
welfare supervision by providing training and support to staff regarding safety practices.
Safety is emphasized through the agency’s involvement with families, either in the home or
in foster care. Leaders focus on responding to safety in a consistent way across Oregon by
continuous refinement of procedures for alignment.

Timeliness

In 2022, CW successfully met the CFSR Program Improvement Plan Item 1, Timeliness of
Investigation, exceeding the 65 percent improvement goal set by the Children’s Bureau.
The Program Improvement Plan is a plan put in place by the Children’s Bureau with ODHS
for improvement of performance for CFSR items not meeting national performance. During
2021, 42,389 CPS reports were assigned to delivery offices, and 12,187 of those reports


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were assigned as a 24-hour response outside of typical business hours. The 2023 Annual
Progress and Services Report (APSR)149 states that:

“ORCAH is staffed and designed to screen 24/7 year-round, but delivery offices across
Oregon continue to primarily work Monday through Friday, 8 am to 5 pm. CW continues to
explore and evaluate strategies to best develop and train a sustainable workforce with
ability to respond timely to new reports. Several districts developed alternative work
schedules, but this continues to be challenging for staff. Some districts and counties have
required on-call rotations. Statewide efforts are underway to evaluate workforce structure
and operationalize processes to effectively respond to 24-hour response reports and
ensure CPS workers make intentional, trauma-informed contacts with children and families
within required timeframes.”


In-Home Services

The 2021 Child Welfare Information Gateway Issue Brief In-home services to strengthen
children and families highlights best practices for safety assessment and management for
caseworkers working with families while children remain in the home as described in the
table below.150

  Table 22. Best Practices Related to Safety Assessment and Management for In-Home
                                                  Services

          Best Practice                    2016 Oregon Practice                  2022 Oregon Practice

 Caseworkers use safety              Meets best practice. The Action            Meets best practice as
 assessment models and               for Child Protection Model has             it did in 2016.152
 tools to help assess ongoing        all the required assessments and
 level of safety for the child       plans to assess safety, risk, and
 in the home and develop             manage risk throughout the
 plans for managing threats.         family’s involvement with child
                                     welfare services.151




149 Oregon Department of Human Services Child Welfare Division, Annual Progress and Services Report

(APSR), 2023.
150 Child Welfare Information Gateway. (2021).   In-home services to strengthen children and families. U.S.
Department of Health and Human Services, Administration for Children and Families, Children's Bureau.
https://www.childwelfare.gov/pubPDFs/inhome_services.pdf (pp 8-9).
151 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 2016, (pp. 244-508).

152 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/1/2022, (pp. 242-

544).


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  Table 22. Best Practices Related to Safety Assessment and Management for In-Home
                                                Services

           Best Practice                   2016 Oregon Practice                2022 Oregon Practice

 Risk assessments are used           Meets best practice. The Action          Meets best practice as
 to assess a family’s risk and       for Child Protection Model has           it did in 2016.
 protective factors to assess        all the required assessments and
 for future maltreatment.            plans to assess safety, risk, and
                                     manage risk throughout the
                                     family’s involvement with child
                                     welfare services.

 Caseworkers receive training        Meets best practice.                     Meets best practice. In
 on using safety and risk                                                     2022, a new Child
 assessment tools and                                                         Protective Services
 developing safety plans.                                                     Toolkit was developed
                                                                              to support onboarding
                                                                              of new staff.153


1.4        CFSR Findings
                        Table 23. Performance on CFSR Safety Indicators

                                 Oregon             National             Oregon            National
                              Performance         Performance        Performance         Threshold to
        CFSR Item
                                  2016                2016                2021          be Rated as a
                               % Strength        % Strength154        % Strength           Strength

 Item 1: Responses
 initiated, face to face
 contact with children             73%                 73%                 76%                95%
 made within
 timeframes




153 Oregon Department of Human Services Child Welfare Division, Annual Progress and Services Report

(APSR) 2023. (p. 32).
154 Administration for Children and Families, Children’s Bureau. Child and Family Services Reviews

Aggregate Report, Round 3, Fiscal Years 2015-2018. Child and Family Services Reviews Aggregate Report
(hhs.gov) (p.13).


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                               Oregon          National        Oregon          National
                             Performance     Performance     Performance     Threshold to
       CFSR Item
                                2016             2016           2021         be Rated as a
                             % Strength      % Strength154   % Strength        Strength

 Item 2: Prevent entry
 or re-entry into               88%               65%            86%             95%
 foster care

 Item 3: Assess and
 address risk and               66%               56%            65%             95%
 safety concerns




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2      Agency Culture
2.1        Leadership Vision
Survey respondents had mixed responses regarding whether culture has improved under
Ms. Jones Gaston. Fifty three percent selected “I’m not sure,” and nineteen percent of
respondents reported that organizational culture had not improved under Ms. Jones
Gaston. Of those staff who were unsure whether the culture had improved, staff with zero
to five years’ tenure had the highest incidence of uncertainty. This can likely be attributed
to their short tenure, leading to a lack of exposure to the CW organizational culture before
Ms. Jones Gaston’s arrival in November 2019.

2.2        Leadership Modeling
The Procedure Manual notes that using respectful and appropriate terminology around
SOGIE creates a sense of safety and signals to young adults that staff honor them. The
2021 Procedure Manual does not expressly include nondiscrimination policies for SOGIE
status, or for any group, but requires CW employees treat all children with respect and
dignity. The Procedure Manual includes language that emphasizes the importance of
supporting all children and young adults in the healthy development of these dimensions
(sexual orientation and gender identity and expression) of themselves, stating that “all
young adults should be treated with respect and dignity”155 and outlines approaches to
follow when working with LGBTQIA2S+ young adults. This includes information needed
when seeking LGBTQIA2S+ medical and mental health services and the identification and
determination of services for mental health support. The Procedure Manual notes that
personal care items and supplies necessary for the health and well-being of an LGBTQ+
young adult are not considered medical supplies. If purchase of these items causes a
financial strain for resource parent, ODHS branch funds should be used. This includes
stand to pee devices, breast shapers, breast binders, straps and harnesses, and prosthetic
devices.

Supervisors report the agency should do a better job with finding a solution to the issue of
temporary lodging young adults, especially young adults with mental health changes.

2.3        Worker Safety
Assessment participants recognized that leaders are working to improve the agency safety
culture but did cite a significant difference in CW’s focus on child safety versus worker
safety. Safety caseworkers report that worker safety is one area in which they feel the


155 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/1/2022, (p. 1048).




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organization has the most work to do. They noted that the focus on safety for children is
vital, whereas worker safety can be an afterthought. Caseworkers report a perceived
expectation that their safety is second to the client’s comfort, triggers, or trauma. They
also discussed the nuance between worker safety in the field with clients and families
versus psychological safety within the workplace. Because of this nuance, participants
noted a need to define worker safety and increase efforts to keep workers safe.

Physical Safety

The physical safety of workers in CW buildings and their personal lives was a concern for
some assessment participants. Some focus group participants felt that physical or
emotional safety is only prioritized after an unsafe or traumatic event. Focus group
participants felt that worker safety is an afterthought when case timelines are the priority.

They said CW does what it can to provide secure and safe offices, but there is a struggle to
balance worker safety with public access and the need to deliver services to clients. Staff
report that some facilities are insecure, and clients have broken into some. Cameras are
not used in CW offices because of confidentiality concerns. Some noted they or colleagues
had been threatened or stalked by parents of children in the child welfare system. The
availability of personal information online is a broad threat. The public can find out
information online that can lead to harassment, stalking, or threats, and felt that CW could
do more to educate or train staff on privacy, protecting personal data, and how to address
threats from parents.

Some focus group participants discussed feeling unsafe going to extremely dangerous
locations and noted that local law enforcement does not even go to certain homes.
Participants felt that workers should visit certain homes in pairs, but that it rarely happens
due to staffing issues. There is inconsistency in when caseworkers are allowed to visit
clients in pairs versus when caseworkers can only go out individually. In some districts,
when caseworkers have overdue cases, they are not allowed to go out in pairs.
Caseworkers agree that the decision about going out in pairs should be made on a case-
by-case basis, according to safety concerns being assessed. CW leadership shared that
while caseworkers may have responded to reports in pairs in the past, this has not been
standard CW policy. To stay safe during assessments and house visits, some workers note
in their shared calendars where they are going, when they expect to return, and check in
with supervisors while out of the office. Some supervisors check on their staff’s safety via
phone call while they are in the field. Caseworkers contact law enforcement to accompany
them, when appropriate but noted that there is a debate about whether to take law
enforcement along on certain visits because of the negative perception of law enforcement
and the trauma it may trigger for the client. Focus group participants felt that there is an
expectation that their safety is second to the comfort of the children and families.



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Policy requires the screener to try to gather information about worker safety concerns156
and discusses planning for worker safety.157 It notes that every CPS case has the potential
for unexpected confrontation and suggests the worker evaluate the situation before initial
contact and use effective engagement skills to de-escalate situations and engage families
in difficult conversations to ensure safety. An accompanying procedure provides the CW
worker questions to think about and provides information on precautions they should take
such as have a phone nearby and avoiding dangerous areas at night.

If there is a concern with a resource family, staff are encouraged to discuss concerns with
certifiers or the foster care coordinator. They said this is a shift, as CW has not always been
a place where it feels safe to speak up or share concerns.

Psychological Safety

Permanency caseworkers felt the psychological and emotional safety of caseworkers is not
well understood or acknowledged in the agency as staff report inconsistencies with support
from managers and leaders. Caseworkers are sent mixed messages about taking time off
for self-care and being given unlimited overtime to complete work tasks. Program
Managers state that the agency is trying to improve safety culture, but there is historical
trauma around how CW has managed changes in the system and practice.

Assessment participants mentioned hearing that CW may offer support groups for staff and
provide training specific to safety of staff. CW has done a good job of allowing virtual visits
during COVID-19.

The 2021 Procedure Manual includes language that screeners must consult with a
supervisor on every report of a child fatality to ensure they are supported through
secondary trauma and directs supervisors to be more supportive in the event of a child
fatality.158




156 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (p. 112).

157 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (pp. 182-

183).
158 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (p. 157).




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3       Data-Driven Decision-Making
3.1        Continuous Quality Improvement
Federal regulations require that state child welfare agencies use CQI.159 CW has been
working to increase its organizational change management (OCM) competencies, and
building the CQI structure is a primary focus for CW. According to interviewees, the OCM
and CQI work is relatively new and underdeveloped but is improving. CW implemented a
project management office (PMO) to manage projects and system changes in a structured
and coordinated manner and to help implement long-term change. CW is working with
local jurisdictions, the CQI team, and the PMO to increase the use of data to inform their
processes. Still, most staff felt that CQI processes were consistently applied across
counties, district, and the state at least sometimes.160 One interviewee stated that the level
of continuous quality improvement at the district level depended on whether the district
had dedicated CQI staff. This interviewee also reported an increase in dedicated district-
level continuous quality improvement staff in 2021-2022 and that dedicated technical
assistance was also being provided at the district level. Still, managers and caseworkers
saw room for improvement in the daily use of data to make case decisions.

The level of support for CQI may vary depending on the capacity of the team in each local
area showing a need for consistency across the state.161 QA processes occur, but the
frontline staff completing the work may not consistently use the results. Program Managers
and district staff work very differently, with some Program Managers and district staff open
to input and pushing to improve work. In contrast, other districts may struggle to
implement change. Qualitative input from the survey confirmed that practice has improved,
but there are still pockets where improvement efforts are less observable.

The CQI process helps CW understand what is working and what obstacles exist. According
to assessment participants, the case review process is built into the agency’s CQI processes
and is, in part, dedicated to understanding and improving strengths for and barriers to
permanence. Each CW program conducts Quality Assurance (QA) as part of the case review
process, and each district may still create action plans as outputs of these processes. There
are multiple QA processes that occur biweekly, but assessment participants shared that the
information is not always used consistently by the workforce in decision-making.

Staff shared that different Program Managers work differently, and that some use the
information to revise practice, and others struggle to implement the necessary changes.


159 ACYF-CB-IM-12-07. https://www.acf.hhs.gov/sites/default/files/documents/cb/im1207.pdf

160 Interview and survey results.

161 Staff and Manager surveys, interviews, and focus groups.




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CW uses the information from the CFSR case reviews to target outcomes in local districts.
Information gained from ongoing CFSR case reviews is now shared with the districts and
counties, including information on how to improve outcomes. Safety and Permanency
Consultants are involved in the CFSR debriefs and creation of action plans. Permanency
Consultants regularly gather and analyze data on reunification and permanence and work
directly with local offices to initiate change. Despite these improvements, the survey
findings identify a need to better train and coach staff on how to use data for decision-
making. Nearly a third of staff and managers reported that staff were never trained to use
data in their work. One participant shared that their district doesn’t use the information
often but is open to having more workers participate in the QA and CQI process to increase
the impact.

Additionally, supervisors use the 90-day staffing review tool with their direct reports to
concentrate on the family’s progress on the conditions for return and the expected
outcomes. A 2020 ODHS strategy to improve data-based decisions was the creation of
Quarterly Target Reviews (QTR) to report key metrics across all areas of the human
services. Also in 2020, CW started its own QTRs to give program and District Managers the
opportunity to review data as a team and discuss cross-program implications. A regular
cadence and structure to these discussions allowed for better collaboration on identifying
outcomes for families and understanding the impacts of decisions.162

One aspect of CW’s CQI process includes a comprehensive file review for every provider
every two years. CW also conducts quarterly onsite visits, excluding when COVID-19
restrictions prevented onsite visits.

The CQI Workgroup, mentioned earlier in this report, identified several challenges,
including:

    •    Lack of a centralized child welfare CQI implementation structure
    •    Communication regarding CQI needs, including clearly articulated benchmarks,
         clear articulation on how CQI is related to day-to-day work, and strong feedback
         loops
    •    District offices lack sufficient infrastructure
    •    A need for statewide technical support
    •    Lack of confidence in data, limitations to data collection, inconsistent performance
         measures, and the need for a child welfare specific philosophy around data usage163


162 Oregon Child Welfare Division Vision for Transformation Update (July 2022).

https://www.oregon.gov/odhs/child-welfare-transformation/Documents/2023-10-23-progress-report-
2022.pdf
163 ODHS CWI Workgroup PowerPoint: Recommendations for Statewide CQI Structure. 10/19/2021.




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3.2        Data Capacity
Central Office expectations and supports for increased data capacity and quality have
improved as has the implementation of data-driven practices across counties. Central
Office expects regional offices to use data and case review results to develop and
implement improvement strategies, but the implementation of many new practices has
been inconsistent.

CW now has a statewide systemic, targeted case review process called the Quarterly Target
Reviews; has procured and implemented the ROM reporting tool; and has begun
performance-based contracts with service providers. The ROM tool also has a public-facing
site for stakeholders to track outcomes and the number of children removed over time and
across counties.

CW has Data Quality Plans that support agency-wide data use for decision-making and to
guide the development of the Comprehensive Child Welfare Information System (CCWIS)
enhancements. Oregon has two data quality plans required as part of federal technology
funding, both submitted in 2021, one focused on enhancements to OR-Kids164 and one
focused on progress towards a CCWIS.165

Effective data management best practice recommends that the state information system be
the single source of child welfare data and that additional information is not tracked
elsewhere. Reporting tools like ROM and other dashboards should source data from OR-
Kids, which is CW’s practice. However, the Office of Training, Investigations, and Safety
(OTIS) tracks daily activities in a data system external to OR-Kids.166 OTIS provides
completed assessments to Child Welfare staff, which are then scanned and uploaded into
OR-Kids. Workers may use Excel or other tools external to OR-Kids to track tasks and
activities, transferring data into OR-Kids later. According to focus group participants, some
ADA and equity work is also tracked externally to OR-Kids. While these accommodations
may add confusion in the reporting environment, the practice of tracking information is
also evidence of the workforce using data to improve their work.




164 CCWIS 2021 Project One OR-Kids Advanced Planning Doc Final. 03/05/21.

165 CCWIS 2021 Project Two Implementation Advanced Planning Doc IAPD Final 03/05/21.

166 Staff focus groups and interviews.




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4      Recruitment, Retention, and Support
4.1        Diligent Recruitment
Information collected from interviews and focus groups did not demonstrate a consensus
regarding CW’s current ability and capacity to recruit and retain resource parents who can
meet the identified needs of children in substitute care. Some interviewees stated that
there have been recent, dedicated efforts to improve recruitment and retention strategies
and that these efforts are central to the redesigned CW agency, including the use of data
by Resource Retention and Recruitment Champions to inform recruitment and retention
strategies. Some focus group participants shared that finding placements for teens is
consistently difficult and noted that the recruitment efforts are more child-specific now.

Some organizations and programs outside of the agency, such as Every Child, coordinate
with ODHS to recruit and retain resource parents. Another program, called KEEP, is an
evidence-based support and skill building group for resource and kinship parents of
children and young adults. KEEP is available to all resource and kinship parents throughout
Oregon and offers affinity groups for parents caring for children and young adults with
similar characteristics.

Data show that the number of certified relative and kith providers had decreased as the
number of children in care decreases. However, CW showed improvement in late 2021
regarding the initial placement of children with relatives.

Survey respondents said that CW is able to recruit and retain providers to care for children
with high needs. According to interviews and focus group participants, efforts to recruit
resource parents who are open and supportive to caring for children and young adults in
the LGBTQIA2S+ community are not always successful, despite CW encouraging same-sex
couples and other members of the LGBTQIA2S+ community to become resource parents.
Some recruitment efforts with faith-based communities engage families with “big hearts
but narrow minds,”167 which can cause barriers to caring for children and young adults in
the LGBTQIA2S+ community. Certifiers have also faced obstacles when children placed with
their grandparents change or share their sexual orientation or gender identity to one their
grandparents do not support.

Regarding recruitment of guardians, Child Welfare policy states that prospective guardians
must display the ability to meet current and long-term needs of the child or young adult
and are approved by caseworker and certification staff. Prospective guardians must have a
current certificate of approval from ODHS or another related department, or another state



167 Focus Group Discussion.




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in which the potential guardian lives, as well as a home study. The home study includes
considerations of how the family meets the needs of the child or young adult and will
provide a lifelong commitment. The Procedure Manual now includes guidance on when
guardianship is most appropriate and outlines the procedure to change a plan to
Guardianship.168

To identify potential adoptive resources, Procedure allows caseworkers to consult with
birth families to identify up to three resources who have the knowledge, skills, abilities,
and commitment to raise the child or siblings and the capacity to meet current and lifelong
safety, permanency, attachment, and well-being needs of the child. CW also has
mechanisms outlined in Procedure to select general applicant adoptive families.

4.2         Resource Home Capacity
When prospective resource parents initiate the certification process, CW must be
transparent about the reality of foster care without scaring them away from the process.
Certifiers need people to understand how caring for children in the CW system can impact
their family and their livelihood while also sharing the benefits to them and their families.
This includes discussing the possibility of having reports of maltreatment brought against
them by children or their families. Certifiers also must share the financial impact of
fostering, as the reimbursement to families may not cover the total cost of caring for a
child. Resource parents are eligible for different rates169 depending on the child’s age,
placement type, and needs, as shown in the table below. Oregon Administrative Rule,
which was revised in October 2020 and will be revised again when the rate increase takes
effect on July 1, 2024, outlines payments provided to certified families.170

                          Table 24. Resource Parent Rate Breakdown

         Rate Type                      Description                             Rate

 Base Rate               Cost of food, clothing, housing,        $693-$795 per month
                         personal incidentals, and               depending on the child’s age
                         transportation




168 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 8/23/2023, (pp. 1472-

1486).
169 Oregon ODHS Foster Care Payments and Rates website: https://www.oregon.gov/odhs/providers-

partners/foster-care/pages/rates.aspx
170 OARs 413-090-0005 to 413-090-0010.

http://www.dhs.state.or.us/policy/childwelfare/manual_1/division_90.pdf


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        Rate Type                  Description                             Rate

 Shelter Care           Provided to a certified family      $30.66-$34.03 per day
                        during the first 20 days of         depending on the child’s age
                        substitute care for a child or
                        young adult in the care or
                        custody of the Department (not
                        made each time a child moves to
                        a new home)

 Enhanced Shelter       Provided to a family for a child    $54.33-$57.70 per day
 Payments               or young adult during the first     depending on the child’s age
                        20 days of substitute care with a
                        certified family after a child or
                        young adult has been in
                        placement with a Behavior
                        Rehabilitation Service
                        provider and there is no current
                        level of care payment
                        determination applicable to the
                        child or young adult.

 Child and              Provided to an approved or          $240-$960 per month
 Adolescent Needs       certified family, a guardian, a     depending on the child’s level
 and Strengths          pre-adoptive family, or an          of need
 (CANS) Level of        adoptive family based on the
 Care                   need for enhanced supervision
                        of the child or young adult as
                        determined by the results of the
                        CANS screening

 Personal Care          Assist with functional activities   $231-$692 per month
 Services               involving mobility, transfers,      depending on the level of care
                        repositioning, basic personal       needed, with the possibility of
                        hygiene, toileting, bowel and       higher rates determined by
                        bladder care, nutrition,            ODHS
                        medication management and
                        delegated nursing tasks that a
                        child or young adult requires for
                        his or her continued well-being



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      Rate Type                      Description                                  Rate

 Mileage                 Reimbursement for                         Current ODHS mileage
 Reimbursement           transportation for a child or             reimbursement rate for CW
                         young adult to remain in the              staff
                         same school they were attending
                         before placement in substitute
                         care; to and from visitation when
                         family visitation is part of the
                         service plan; and in-state
                         transportation by airline for
                         children only if the cost of the
                         air fare does not exceed all the
                         actual costs of transporting the
                         child by car

Reimbursement rates have increased slightly for congregate care providers who are
involved with the OYA and OHA, and the legislature also increased BRS rates, which take
effect July 1, 2024.

4.3        Training Supports
CW has been in the process of redesigning the training and development for resource
parents. The delivery of resource parent training previously was managed by a university
partnership contract, but CW is taking ownership over this training and is implementing an
NTDC national curriculum, outlined in Section 4.4. This decision was driven by demand
from communities and data from incidents of allegations of maltreatment. As mentioned in
Section 4.4.4, resource parents now receive training content from the NTDC and the
Resource and Adoptive Family Training (RAFT). Interviewees mentioned that CW
understands there is still more to improve related to onboarding and supporting resource
parents.

Resource parents create a Training Plan for ongoing training to be completed during each
two-year certification period. This plan is tailored by the resource parent(s) and certifier to
meet the parents’ interests and training needs, based on the age and gender of children in
their homes, and any unique mental and medical health, educational, or developmental
needs.171 At least half of the training hours should be completed through face-to-face or
interactive training, including classroom training, remote delivery, support groups, or


171 ODHS Resource Parent Certification and Renewal Requirements:

https://www.oregon.gov/odhs/providers-partners/foster-care/Pages/training-renewal.aspx#options


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conferences. The remaining half can be completed through reading books or articles,
watching videos, or listening to audio recordings.

4.4        Placement Matching
Child Welfare policy is very clear to “always select the least restrictive substitute care option
able to meet the child’s needs for safety and well-being,”172 but this does not happen
consistently. Interviewees shared that the use of the least restrictive placement must be
documented in the court reports and presented to the Citizen Review Board. Others stated
that caseworkers have received training on using the least restrictive placement, but that at
times, caseworkers are more focused on just trying to find a placement and cannot always
prioritize the least restrictive. Caseworkers also face challenges in matching placements
when placing young adults who are sexually aggressive, especially those who have not
been adjudicated on this behavior, as there are safety risks placing them with other
children. Because they do not have formal charges, these young adults are not served by
juvenile justice, leaving the child welfare system to find solutions for them.

The survey results demonstrated difficulties in placement matching, in that over half of the
respondents shared that CW sometimes appropriately matches children to their caregivers.
Approximately a quarter of respondents stated that matching always occurs.

Procedure requires caseworkers to choose initial and subsequent placements based on the
caregiver’s capacity to participate in the ongoing safety plan and meeting the child’s safety
and well-being needs.173

CW prefers for children and young adults to be placed with relatives (including kith and
kin), and there is a process to temporarily certify relatives with an immediate certification.
This process allows for criminal background checks to be conducted and references are
collected while children are placed with a trusted relative.




172 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (p. 713).

173 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (pp. 721-

722).


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5        Permanence
5.1         Prioritization of Permanence
When asked whether CW leadership encourages or promotes improving permanence for
children in substitute care, the majority of respondents felt that leadership is supportive.
Interviewees and focus group participants agreed that leadership encourages improving
permanence for children in care. They did recognize, however, that the workforce as a
whole doesn’t celebrate enough. They illustrated this by sharing that CW’s goal has been to
equitably reduce the number of children and young adults in substitute care, which they
have done. The number of young adults in care has been trending down since the
beginning of 2018, and they haven’t celebrated this as a group yet.

CW prioritizes permanence in multiple ways:

    •    CW prioritizes the initial placement of children with relatives, as shown in Section
         4.10. These data are supported by over 71 percent of survey respondents agreeing
         that CW prioritizes the placement of children with relatives. This initial placement
         preference is a core message throughout the caseworkers’ Essential Elements
         training174 and enhanced by ongoing trainings. During this training, which
         caseworkers must complete before carrying a caseload, participants learn how to
         monitor permanence and about the criteria for determining whether a child’s
         permanency needs are being met, including family interaction. Participants also
         learn how to collaborate with community partners and tribes to achieve
         permanence, work with courts to follow permanency timeframes, conduct
         permanency planning activities (including concurrent planning), and recommend
         placements that promote permanence. CW has established caseworker
         competencies that guide their training provision, and the competencies are divided
         among nine skill sets, including fundamentals of placement and permanency.175
         Permanency is woven throughout the training competencies, underscoring
         permanency as one of the pillars of Oregon child welfare practice. More information
         on Essential Elements training can be found in Section 4.10.
    •    Beyond the placement preference of relatives, interviewees and focus group
         participants confirmed that CW properly promotes ongoing searches for relatives,
         but the use of this process is varied. For example, in some adoption cases, diligent
         searches occur early on, but once safety is addressed, ongoing searches are not

174 Essential Elements summaries: https://www.pdx.edu/center-child-family/essential-elements-session-

summaries
175 Portland State University Center for Improvement of Child and Family Services:

https://drive.google.com/file/d/1cTaysiB2Ejv4G37ZFQSOOLGrazwOUBXU/view


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         prioritized. According to interviewees and focus group participants, processes for
         relative searches differ by district, and there are currently new processes for relative
         engagement being implemented across the agency. These new processes may
         resolve the disconnect in coordinated efforts between the district offices and the
         central office. Some CW offices have bilingual staff to conduct search for relatives
         and have successfully found quality results. However, not all CW offices have this
         resource. According to interviewees and focus group participants, the Court
         Appointed Special Advocates (CASA) program conducts ongoing relative searches
         using Family Finding176, and this information is shared with CW. Family dynamics
         were identified as a barrier to ongoing relative searches. A parent sometimes
         refuses to give any relative names, forcing CW to implement more creative search
         methods to locate relatives. When children and young adults are in temporary
         lodging, they are asked daily about relative placement options and must provide
         verbal confirmation if there are none. If a child is in any placement not with a
         relative, but a relative wants to be considered as a placement resource, the relative
         must be assessed.
    •    Since 2016, CW introduced a Youth Decision Making Meeting (YDM)177 that may only
         occur with young adults ages 13-20, and one of the outputs of the meeting is to
         assist young adults in finding permanence. This opportunity for the child’s team to
         discuss the young adult’s goals, plans, dreams, and needed support further
         demonstrates CW’s focus on prioritizing permanence for children and young adults
         in care. Youth Decision Meetings may occur to respond to urgent needs, to build
         community connections or supportive relationships, discuss how to increase time
         with family members, talk about goals/share accomplishments, prepare and plan
         for major events, preparing young adults for upcoming meetings, and creating a
         transition plan. This meeting is young adult-centered, and carries a motto of
         “nothing about us, without us.” The four key values for a YDM are to be young
         adult-driven, strengths-based, trauma-informed, and culturally responsive.
    •    According to interviewees and focus group participants, there are several processes,
         procedures, and people involved in reviewing termination of parental rights (TPR)
         standings in the last few years.
    •    CW utilizes guardianships as an acceptable permanency plan for a child in
         substitute care when a child cannot be safely returned to the home of a parent.178
         The Procedure Manual continues by outlining adoption as the preferred plan;
         however, guardianship is an acceptable alternative plan when adoption does not
         best serve the interests of the child. A decision to pursue guardianship as a plan

176 A Family for Every Child: https://www.afamilyforeverychild.org/about-us/

177 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (p. 473).

178 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (p. 1447).




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          must be based on the individual safety, permanency, and well-being needs of the
          child. Only a child who has an approved plan of guardianship with a relative is
          eligible for a subsidized guardianship. There are also policies in place regarding
          guardianship assistance.179
   •      Assessment participants shared that the focus on permanence runs throughout their
          initial and ongoing training, including discussing the need for permanence and
          moving toward prioritizing retuning children to their family. CW facilitates
          Permanency Summits, which include a training component, and quarterly meetings
          with supervisors that also include training. There has been substantial effort in the
          permanency unit to develop family engagement plans and some districts have been
          piloting family time programs.
   •      According to interviewees and focus group participants, there is a strong checks
          and balances system in place between state office and delivery teams regarding the
          prioritization of children in high needs and out-of-state placements, as required.

Interviewees and focus group participants identified a need for a different certification and
placement process for relatives. Risk-averse staff or certification consultants may shy away
from outside-the-box or exception-required relative placements if there are some
potential concerns and lack a strong search and connection resource to help them navigate
the concerns more effectively. Challenges from supervisors to these determinations are not
often successful. A family’s history, paired with current CW policies around who can be
certified, can be a significant barrier to relative placement options, leading to a tendency of
CW to do more for resource parents than what is done for relatives.

5.2         Placement Matching
Interviewees and focus group participants had varying responses when discussing whether
CW follows federal requirements for placement preferences for American Indian or Alaskan
Native children. One participant mentioned that they are not always able to follow
placement preferences for refugee children because there are no families available who
share cultural heritage and traditions and that recruitment for those families is lacking.
Participants mentioned confusion and contradiction in placement preferences, including
one example where the Interstate Compact for the Placement of Children (ICPC)
requirements conflict with a Tribal placement preference for an out-of-state placement
that is currently occurring. Workers shared a “constant worry” that children and young
adults are not safe in that placement because of logistical issues causing delays in
decision-making. Others expressed fear of making the wrong decision and cited the extra



179 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (pp. 1463-

1472).


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attention placed on ICWA cases and mentioned that the lack of leadership attention on this
issue is frustrating.

Other participants mentioned working hard to include tribes as much as possible in their
case practice. Some participants shared that they are often incompliant with the Indian
Child Welfare Act (ICWA) placement preferences, partly due to the lack of statewide
recruitment for American Indian and Alaskan Native families. Local offices may include
recruitment for American Indian and Alaskan Native families as part of their targeted
campaigns.

The Procedure Manual directs staff to initiate a supervision plan when a CANS screening
results indicate a level of care that requires enhanced supervision or when a child with a
level of care moves from one substitute care placement to another substitute care
placement.180 CW does meet state requirements for using the CANS to determine the Level
of Need of children in care. There was consensus among assessment participants that the
CANS is used consistently to document the strengths and needs of children and young
adults, which also indicates the level of reimbursement. Please see Section 4.4 for more
information on reimbursement based on CANS results.

Assessment participants shared that CW attempts to appropriately assess prospective
adoptive parents to match with children, but that there can be limitations to this. As with
resource parents, there is a lack of prospective adoptive parents for teens who are legally
free for adoption. Adoptive resources undergo a SAFE Home Study tool as resource parents
do, and they must also “understand the importance of and demonstrate the ability and
willingness to sustain parenting responsibilities for a child until the child reaches
adulthood.”181

Policy improvements over the last two years have led to the elimination of the use of out-
of-state facilities. Previously, out-of-state placements were intended for use only when
there were no comparable services in-state. Keeping children and young adults in Oregon
facilities allows CW to have oversight and input into the supervision and care provided to
them. The figure below illustrates the decline of children being placed out of state since
2016, and shows that since 2021, no children have been placed out state.




180 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (p. 759).

181 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (p. 1553).




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                          Figure 19. Out of State Residential Placements




5.3        Placement Stability
The federal CFSR process measures the number of placement moves per 1,000 days for
children in substitute care. It is a measure calculated in the aggregate, and Oregon has
consistently not met this measure since it was added as a federal performance measure in
2016. The state exceeded the national standard in the most recent period with a score of
5.5 moves, well above the federal standard.182

As shown in the graphic below, the overall number of children placed in substitute care
decreased sharply over the last several years. While the steepest decline was in the number
of children having one or two placements, this graphic illustrates that fewer children are
experiencing more than two placements as well.




182 See the Appendix tables for data detail.




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                        Figure 20. Number of Placements Over Time183




Oregon’s time to permanence is below the national standard. The national standard for
permanency in 12 months is 40.2 percent, and as of June 2022, CW is just under the
national standard at 38.7 percent. Previous reporting periods showed Oregon meeting the
national threshold.

5.4        Timeliness
CW has made concerted efforts to achieve permanence in a timely manner:

    •    Monthly staffings are held with established timelines to keep caseworkers moving
         forward.
    •    Citizen Review Boards offer insight into areas of improvement.
    •    CASAs assist with searches for relative placement to improve outcomes, and the
         Vision for Transformation has established a high-quality standard for relative
         searches.

There are many competing lenses regarding improvement of achieving timely permanence,
which can sometimes cause a conflict between family readiness, CW expectations, court
timelines, and federal timelines. The effort to achieve timely permanence is an ongoing
process and requires balancing different inputs and requirements.

Termination of Parental Rights

Policy requires that “when a caseworker and their supervisor determine that a child is
appropriate for adoption, and the parent will not voluntarily relinquish their parental rights,
the caseworker shall refer the child’s case to the Legal Assistance Program for
consideration of petitioning the court to terminate parental rights. If the child’s case is


183 Oregon Child Welfare Data Set: OR.08 Number of Placements for Children in Foster Care.

https://oregon.rom.socwel.ku.edu/reports


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approved to pursue freeing the child for adoption and the court concurs, the legal
assistance specialist and the legal assistance attorney will work with the caseworker to
prepare and litigate the case.”184 Parental rights can also be terminated through voluntary
relinquishment, “when ODHS has determined that adoption is an appropriate permanent
plan for the child, and after approval has been given by the Central Office’s legal assistance
specialist and by the parent’s attorney, parents may relinquish their rights for the purposes
of achieving an adoption.”185 There is adequate determination and procedural language
regarding TPR by Child Welfare, and they do pursue the termination of parental rights as
required by federal law.

There have been impacts to the timeliness of TPRs due to COVID-19 and variances in the
use of remote hearings and re-opening courts across districts.

Collaboration with Courts

CW attempts to collaborate with the courts to ensure timely permanency hearings. Success
varies by district, with typically more success in smaller districts. Courts are overwhelmed
with COVID-19 impacts, and focus group participants felt that judges might be more
willing to collaborate to produce better outcomes if the backlog was not so large.
Interviewees and focus group participants continued by stating that beyond COVID-19
impacts, there has been improvement in the last 15 years, yet collaboration can still be a
struggle and differ by jurisdiction. The differences by jurisdictions were explained through
the example of how a permanency worker in one district would likely have no idea how to
present a case in a different district.

Some districts have seen positive collaboration with the Juvenile Court Improvement Project
(JCIP), while in other areas it continues to be a challenge. CW meets regularly with model
court teams. Focus group participants felt there was a lack of respect for CW workers by
courts, which makes it harder for staff to provide quality permanency plans. They feel that
courts do not see CW workers as content experts, or do not take into consideration that
many CW are fairly new and are still learning and building confidence. If courts are
disrespectful of workers, their confidence may never get established, leading to frustration,
impacts to permanency goals, and ongoing staff turnover.

Legislative changes or procedural changes that impact CW are not always well
communicated with the courts, leading to inconsistent approaches to cases between CW
and a local judge.




184 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (p. 1274).

185 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 8/23/2023, (p. 1227).




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5.5       Temporary Lodging
Focus group participants discussed frustration in temporary lodging decisions, especially
those in which the caseworkers felt the children were not appropriate candidates for
temporary lodging or foster care. For example, there was mention that children have come
with a referred placement and may not be appropriate for a temporary lodging or foster
care placement, but a judge will order the placement anyway. This leads to CW having to
appeal some of these decisions, taking additional administration time because their input
was not fully heard or valued. The adversarial nature of these situations also causes
ongoing damage to the relationship between the courts and child welfare agency.
Interviewees and focus group participants noted the trauma impact when young adults are
in temporary lodging for days, weeks, and months.

A primary challenge to the continued use of temporary lodging stems from placement
facilities and the young adult’s ability to reject available placement options. These licensed
placement facilities can also request that a child or young adult be removed from the
facility for behaviors that the facility is licensed to treat.

Participants mentioned that CW is working on an MOU to bring cross-system partners back
to the table to grow mental and behavioral health programs so there is more placement
capacity for children who need higher levels of care. CW lost an entire structure around
Therapeutic Foster Care, which was the most appropriate structure for many of these
young adults. Many challenges about placement options lie in systemic issues that are
beyond CW’s authority, including the availability of statewide mental health services and
available beds. An additional challenge is that CW cannot be solely responsible for
recruiting and retaining resource parents who can provide higher levels of care.




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6        Permanency Planning
6.1        Leadership Prioritization of Permanency Planning
Assessment participants were divided in their perceptions of leadership support for
permanency planning. Approximately half (54 percent) of survey respondents believe
leadership advocates for improving permanency planning, while 36 percent were unsure,
and 10 percent did not feel that leadership supported these efforts. There is not a
consensus from assessment participants on whether CW identifies permanency goals
appropriate to the child’s needs, with 47 percent of survey respondents sharing that this
always happens, while 51 percent felt this sometimes happens. A small percentage, 2
percent, responded that this never occurs.

The majority (61 percent) of CW staff felt that they have access to training and coaching on
permanency planning with families, while 32 percent were unsure if this training was
provided, and 7 percent did not believe it was. The uncertainty or belief that this training is
not offered may be due to varying roles within the agency. Safety caseworkers or
supervisors, for instance, may not participate in permanency planning training as this
responsibility lies more with permanency caseworkers and supervisors.

The 2021 Procedure Manual contains a section on documenting the case plan,186 of which
the permanency plan is a component, and the 2023 Procedure Manual retains this
policy.187 The case plan, which describes why CW is involved and the actions and services
required to change behaviors, conditions, or circumstances that led to the child being
unsafe, must be developed within 60 days of placement in substitute care or within 60
days of the CPS assessment when the child remains home and in the parent’s custody.188

Data collected during this assessment did not allow PK to determine whether permanency
plan goals are changed in a timely manner and according to state requirements, however,
CW does recommend placement decisions based on the identified needs and permanency
plan of the child, including updating a child’s CANS prior to a placement change (except in
emergent situations).189




186 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (pp. 489-

501).
187 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 8/23/2023, (pp. 499-

511).
188 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (p. 490).

189 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (p. 862).




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Collaboration with Courts

Collaboration with courts is a challenge mentioned several times during this assessment.
The barriers to collaboration are dependent upon the judge and on the backlog a particular
court is dealing with due to COVID-19 restrictions and delays in court hearings. Courts
lack the docket time needed to hear all the cases before them, and cases can be continued
for months. Some judges are seen as micromanaging cases and setting unrealistic
expectations for caseworkers and families to meet, further exacerbating the delays in
hearings and permanency outcomes.

Caseworkers experience a power struggle with courts and feel that the compliance mindset
is a barrier. In their words, courts order people to do things, which is not a collaborative
process. One participant shared that the courts prevent reunification in their area of the
state, and that the bullying and belittling caseworkers’ experience in court leads to staff
turnover issues.

The collaboration has reportedly improved over the last 15 years. It was noted that smaller
jurisdictions seem to have better collaboration, and judges are often more invested in
those communities. They insert themselves into the cases and may make changes
differently than those in larger communities and make recommendations based on policy
language. In these smaller jurisdictions, attorneys generally have smaller caseloads,
allowing them more time to collaborate on cases. In some areas of the state, delays occur
because judges believe the parents need more time to make changes, while others are
strict about permanency timelines.

According to assessment participants, judges sometimes make case decisions contrary to
the wishes of the department. According to some participants, meetings are held, plans are
made, but then judges make their own decisions. While CW has rules and policies to follow,
staff sometimes feel that the laws are vague enough that judges can make emotional,
inconsistent rulings that cause significant frustration. One participant mentioned that
sometimes young adults come into a hearing with a preferred placement, and judges make
other decisions, including temporary lodging, based on their own preferences. Judges’
decisions can also impact community support if they do not make rulings that include
community services. This adversarial process is difficult for agency staff when they feel the
placement ordered is inappropriate for the child. CW staff feel at times that the child
welfare dependency program is a default for cases that don’t easily fit elsewhere, and the
child welfare system cannot say no to children who need services and support.

Participants pointed out an issue with the public defenders’ contracts and shared that
many children and parents are now being represented by attorneys from other
counties. Some participants mentioned that less cases are being opened through protective




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services and that more family-led safety plans are being drafted, which have been
successful.




6.2        Family Engagement in Permanency Planning
Staff report that leadership supports seeing families as individuals, which the CW Safety
Model supports, and there are now tools in place to support family engagement and
recognizing strengths. They found the silver lining with COVID-19 by using technology to
facilitate virtual contacts with children and to connect children to their families easier when
they couldn’t be together in person. Interviewees and focus group participants shared that
the Family Report, which is part of the Case Plan, includes efforts to engage the child and
the family, and this has been a focus for the agency over the last three years. The
permanency plan and the family plan are components of the overall case plan, which are
developed for every child under CW supervision.

When discussing whether CW recommends placement changes based on the child’s
identified needs and permanency plan, staff shared that internal communication occurs
and allows them to review recommended changes. During focus groups, participants
reflected on obstacles in working with juvenile court, and shared that at times, there is
disagreement between the agency and the court about recommendations for placement
changes.

The timeframe for initial CANS screen shifted from 14-20 days in out-of-home care in
2016 to 14-21 days in 2021.190 There is an additional sub-section included in the 2021
policy entitled Case Planning191, which provides specific and detailed instructions on how
to use the results from the CANS in placement matching, reunification, provision of
services and interventions. There is an addition to the 2021 policy that CANS rescreening
may be completed if the last screen was completed more than 90 days prior to the most
recent request, which was not present in the 2016 Procedure Manual.192




190 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (p. 757).

191 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (pp. 762-

764).
192 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (p. 765).




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7      Individualized Assessments
7.1        Family Engagement
There is a 90-day staffing review tool that supervisors use with caseworkers during
supervision to assess progress. The primary focus of the case review staffing tool is the
family’s progress, conditions for return, and expected outcomes. CW completes QA reviews
with the certification team quarterly. Home studies, stability of placements, recurrence of
maltreatment, and other data measures are reviewed. During focus groups, caseworkers
stated that case reviews are often viewed as punitive and not as a learning and
improvement process.

7.2        Scope of Assessments
The table below outlines the changes in assessments provided to children, young adults,
and families from 2016 to 2021. In most cases, the requirements have been clarified and
instructions have been provided. For each assessment, more information is provided to
caseworkers to outline their responsibilities and timelines.

          Table 25. Assessments Provided to Children, Young Adults, and Families

  Assessment Type                   2016 Policy                          2021 Policy193

 Comprehensive           Medical assessment within 30         The language was changed from
 Health                  days of entering substitute          “medical” to “comprehensive
                         care.194                             health”195 assessment that must
                                                              be completed by the child’s
                                                              primary care provider, within the
                                                              same timeframe.

 Intake Nursing          The 2016 Procedure Manual            The language was changed to
                         recommends following                 require an “intake nursing
                         procedures to request a              assessment” to be done by an
                         nursing assessment for               ODHS-contracted nurse, shortly
                         injured, critically ill, or          after entering substitute care.195
                         terminally ill children, but does    This assessment has resulted in
                         not provide instructions.196         children under five being



194 2016 Oregon Department of Human Services Child Welfare Procedure Manual, (p. 149).

195 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (p. 281).

196 2016 Oregon Department of Human Services Child Welfare Procedure Manual, (p.720).




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  Assessment Type                      2016 Policy                        2021 Policy193

                                                               identified and referred to
                                                               personal care services sooner.197

 Dental                   Dental assessment within 30          The timeline is the same as 2016,
                          days of entering substitute          but for children aged one and
                          care.198                             older.

 Mental Health            Mental health assessment             The timeline is the same as 2016,
                          within 60 days of entering           but for children aged three and
                          substitute care.198                  older.

 Early Intervention       The 2016 Procedure Manual            The Procedure Manual requires
 Screening                recommends working with              this screening for children up to
                          parents to obtain a                  2 years old within 60 calendar
                          developmental assessment             days of entering substitute
                          through Early                        care.195
                          Intervention/Early Childhood
                          Services.199

 Independent Living       The 2016 Procedure Manual            The 2021 Procedure Manual
 (IL) Planning            outlines making referrals to         requires caseworkers to complete
                          contracted providers for IL          an IL assessment when using the
                          services,200 and requires            planned permanent living
                          caseworkers to complete the          arrangement.202 One focus group
                          Ansel-Casey Life Skills              shared that providers complete
                          Assessment with young                an assessment for IL needs, but it
                          adults.201                           can be cumbersome.

 Indian Child             The 2016 Procedure Manual            The 2021 Procedure Manual now
 Welfare Act (ICWA)       outlines requirements for            includes assessing ICWA status




197 Oregon Department of Human Services Child Welfare Division, Annual Progress and Services Report

(APSR) 2023, (p. 112).
198 2016 Oregon Department of Human Services Child Welfare Procedure Manual, (p. 149).

199 2016 Oregon Department of Human Services Child Welfare Procedure Manual, (p. 272).

200 2016 Oregon Department of Human Services Child Welfare Procedure Manual, (p. 688).

201 2016 Oregon Department of Human Services Child Welfare Procedure Manual, (p. 610).

202 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (p. 1814).




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  Assessment Type                    2016 Policy                          2021 Policy193

                         asking about and documenting          as part of the Family Support
                         American Indian heritage.203          Services Assessment.204

 Child and               The 2016 Procedure Manual             The 2021 Procedure Manual
 Adolescent Needs        instructs caseworkers to refer        outlines expectations for using
 and Strengths           every child entering substitute       the CANS for identifying services
 (CANS)                  care for a CANS screening but         and interventions and instructs
                         does not specify who                  caseworkers to discuss
                         completes the screening.205           assessment results with service
                                                               providers and families to
                                                               determine what family services
                                                               and interventions are
                                                               appropriate.206 The 2021 Manual
                                                               requires an individual trained and
                                                               certified by the department to
                                                               conduct the CANS screening and
                                                               instructs caseworkers to submit
                                                               the CANS referral to the staff
                                                               member in the branch office who
                                                               coordinates referrals and sends
                                                               the information to the CANS
                                                               screener.207

 Family Support          The 2016 Procedure Manual             The 2021 Procedure Manual now
 Services                describes Family Support              requires an assessment within 30
                         Services but does not include         days of receiving the screening
                         an assessment for such                information by having face-to-
                         services.                             face contact with parents, legal
                                                               guardians, the former foster
                                                               child, and the child to assess
                                                               specific services needed.208



203 2016 Oregon Department of Human Services Child Welfare Procedure Manual, (p. 43).

204 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (p. 1502).

205 2016 Oregon Department of Human Services Child Welfare Procedure Manual, (p. 541).

206 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (p. 763).

207 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (pp. 756-

757).
208 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (p. 1501).




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  Assessment Type                   2016 Policy                          2021 Policy193

 Qualified                Not included, as these               The 2021 Procedure Manual now
 Residential              programs are tied to the 2018        outlines the process by which to
 Treatment Program        Family First Prevention              approve placement in a QRTP.209
 (QRTP)                   Services Act.

The focus of the CPS assessment is the child’s or young adult’s safety. CW Procedure
requires several types of assessments, outlined in the table below.

                              Table 26. Assessment Consultation
               Provider                                      Role in Assessment
 Medical personnel                        Assess and respond to the medical needs of a child
                                          or parent and possibly document the nature and
                                          extent of abuse.

 Mental health personnel                  Assess the effects of any alleged abuse and help
                                          determine the validity of specific allegations. They
                                          may also evaluate the parent or caregiver’s mental
                                          health status and its effect on the child’s safety.

 Substance abuse specialists              Evaluate parental, or caregiver substance use or
                                          misuse and its impact on the child’s safety.

 Domestic violence experts                Assist in examining the child’s safety in cases where
                                          partner abuse and child abuse coexist. DV experts
                                          may also help in safety planning.

 Multidisciplinary teams                  Help CPS analyze the information for proof of abuse
                                          and the assessment of risk and safety.

 Designated Medical Professional          Must be consulted per ORS 419B.022-024. In cases
 (DMP)                                    where there is suspicion that injuries are caused by
                                          abuse, they must be addressed in the coordinated
                                          comprehensive way required by Karly’s Law.210

 Local or regional Child Advocacy         Frequently used by caseworkers and law
 and Intervention Centers                 enforcement to conduct forensic interviews of
 (CAICs)210                               children who are suspected victims of abuse. Often,
                                          medical evaluations are conducted as well, and



209 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (p. 1197).

210 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (p. 223).




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                                         critical information is gathered during the evaluation
                                         processes.

The 2021 Procedure Manual also contains information on multiple types of assessments
and their scope, including:

Specific condition or behaviors. The 2021 Procedure Manual instructs caseworkers to
consult other providers when there is a specific client condition or behavior that requires
additional professional assessment,211 including:

   •    The child exhibits undiagnosed physical health concerns or the child’s behaviors, or
        emotions do not appear to be age-appropriate, such as hyperactivity, excessive
        sadness and withdrawal, chronic nightmares, bed wetting, or aggressive behavior at
        home or at school.
   •    The parent exhibits behaviors or emotions that do not appear to be controlled.
        Examples are violent outbursts, extreme lethargy, depression, or frequent mood
        swings.
   •    The child or parent has a chemical dependency.

Caseworkers may also consult other providers as part of the assessment process.

The six domains. The 2021 Procedure Manual also states the comprehensive CPS
assessment thoroughly documents information relating to the six areas, and that by
gathering enough information about these six domains, caseworkers can determine
whether there is impending danger:212

   1. Extent of maltreatment

   2. Circumstances surrounding the maltreatment

   3. Child functioning

   4. Adult functioning

   5. Parenting practices

   6. Disciplinary practices

Nursing Assessments. The 2021 Procedure Manual states Child Welfare Contracted Field
Nurses will conduct nursing assessments for children and families on trial reunification
cases and will include:213



211 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (p. 222).

212 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (p. 173).

213 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (p. 1072).




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   •    All children who enter trial reunification
   •    All children under age 3 on an in-home case
   •    Children and families with health issues at the request of the caseworker

Specific Evaluation. The 2021 Procedure Manual provides guidance for situations when the
assessment identifies the need for specific evaluation. The referral to those specific
professionals should specify the following:

   •    The reason for referral, including specific areas for assessment as they relate to the
        present or impending danger safety threats.
   •    The parents’ knowledge about the referral and their response.
   •    The timeframe in which the evaluation must occur and when the agency needs the
        report back from the provider.
   •    The purpose and objectives of the evaluation.
   •    The specific questions the CPS worker wants answered to assist in decision-
        making.214

Routine Medical Care. The 2021 Procedure Manual requires caseworkers to discuss routine
medical care at each monthly face to face visit with parents and children and document the
updated information.215 The Procedure Manual contains more sections on managing
physical health of children, medical care management, and information regarding pregnant
and parenting children in care. The Procedure Manual contains instruction on obtaining
immunizations and vaccinations to ensure all children are up to date on their
immunizations and vaccinations within 90 days of entering care.216 If the parent objects to
the vaccinations and immunizations, parents can obtain a court ruling. Child ages 15 and
older can consent to receiving vaccinations and immunizations.

Psychotropic Medications. The 2021 Procedure Manual contains information about
authorization for new psychotropic medication that originates from the Health and
Wellness Services Program Manager or Nurse Consultant as opposed to Program Manager
or designee.217 Health and wellness services work in collaboration with the Oregon
Psychiatric Access Line-Kids (OPAL-K). When concerns or questions, Health and Wellness
Services may request OPAL-K consult with the health care provider regarding psychiatric
services. Consent decisions made by Health and Wellness Program Manager or Nurse
Consultant, and if not approving consent, must consult with OPAL-K, as they have more
experience than the child welfare Program Manager or designee.


214 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (p. 223).

215 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (p. 869).

216 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (p. 866).

217 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (p. 875).




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Mental Health Assessments. The 2021 Procedure Manual clarifies that a mental health
assessment must have been conducted within 3 months for a new psychotropic or
antipsychotic medication to be given.217 Mental health assessment updates should be
completed yearly. The 2021 Procedure Manual adds an annual review must be completed
on all youth receiving psychotropics where prior procedure stated the annual review was
for a child or young adult under 6 years of age or young adult with two or more
prescriptions.217




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8        Service Provision
8.1        Cross-System Collaboration
CW has a strong dependency on services over which they have no oversight and the
services available to families vary by county. The systems and services in place to ensure
timely and appropriate behavioral health services vary by district. This is due largely in part
to the local agency’s responsibility for identifying and contracting necessary services.
Another dependency is local leadership’s knowledge of behavioral health service array and
their identification as a leadership priority.

Delivery of services to children is critical in achieving positive outcomes for children. The
2021 Procedure Manual states that successful intervention in the lives of abused and
neglected children requires concurrent involvement of many different systems218:

    •    The child and family
    •    Child welfare
    •    The court
    •    Education
    •    Medical and mental health professionals
    •    Attorneys
    •    CASAs
    •    Other local agencies that serve children and families

The working relationships between CW and the Oregon Health Authority (OHA) and the
Office of Developmental Disabilities Services (ODDS) is improving, evidenced by more
formal and informal interaction. Contracted Services and systems leaders identified service
gaps in their contracted services, including services that are regulated or procured by
Medicaid, child caring organizations, and OHA.

Child welfare partners provide services to children and families. Service providers include
the child’s substitute caregiver, school, medical and mental health professionals, and other
community agencies. Children with complex needs cross system boundaries and can pose
a challenge to coordinating services. Caseworkers and supervisors reported some evidence
of patchwork availability of services across the state. This was substantiated by focus
group participants.

Meeting the behavioral health needs of children in care continues to be a struggle for CW.
This is despite concerted effort to better assess, engage, and address the needs of

218 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (p. 710).




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families. Staff report that there is still a lack of mental health treatment in the state for
children with high needs. Finding high quality service providers that meet the individual
needs of children is the most challenging part of providing care to the family, according to
a focus group of state staff. CW is forced to rely on other systems to provide services such
as addiction treatment programs, family violence treatment, and other behavioral health
needs.

Three areas were identified as service gaps by focus group participants:

   •     Drug and alcohol treatment programs
   •     Prenatal care services
   •     Behavioral health treatment

8.2        Process Improvements
The 2021 Procedure Manual states that Oregon’s child welfare system focuses on child
safety and urgency of planning to meet the individual child’s needs for permanency and
well-being218. Caseworkers are responsible for215:

   •     Coordinating the systematic delivery of services to provide meaningful intervention
         and support
   •     Not increasing a child’s isolation or sense of victimization
   •     Well-planned and coordinated service delivery increases the likelihood of achieving
         positive outcomes

Temporary adjustments were made to ODHS procedure to align with the temporary policy
change with ODDS, which is currently experiencing pandemic-related critical workforce
shortages impacting their services system. The corresponding Developmental Disabilities
Services Policy Transmittal Number: DD-PT-21-087, issued on 9/29/21, reflects the
broader ODDS temporary changes. The temporary change states:

                “Due to a current staffing crisis impacting the developmental
                disability services system, ODHS Child Welfare procedure is
                being temporarily changed to reflect temporary changes in
                ODDS policy. Policy APD-PT-14-038 is being temporarily
                waived to allow greater flexibility and more timely decision-
                making when exploring placement options for children who
                are in the legal custody of Child Welfare. When Child Welfare
                (CW) and the Community Developmental Disabilities Program
                (CDDP) are working together as a team to identify a placement
                option that best meets the child’s needs, the team may choose
                a DD-funded foster care placement (provided the prospective



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                foster provider is not a relative) without first needing to rule
                out the option of a CW-funded foster care placement with DD-
                funded In-home supports.”

The 2021 Procedure Manual contains description of flex funds for providing services to
families.219 Flex funds can be used for prevention of imminent placement of a child in
foster care or a child to reunify with a parent within 30-45 days. The following
expenditures are acceptable uses of flex funds: housing expenses, utility payments,
transportation, necessary furnishings, and bedding needed for minimum safety and well-
being of family members, necessary clothing or diapers for family members, safety items,
emergency food, emergency childcare or respite care, or other. The only individuals who
can authorize “other” expenditures are the district manager, Program Manager, or designee
with budget authority.

8.3         Targeted Services
According to focus group participants, CW struggles to find stable placements for youth
with high medical needs and significant mental health needs. Examples identified by staff
include younger children with complex needs and needing targeted services or
unadjudicated youth who are sexually aggressive and have no fit in the child welfare
system. There is the perception among staff that there is an increase in children with
developmental delays who are not well served by child welfare or juvenile justice. This
speaks to a mismatch between needs and services. Caseworkers express some frustration
at not being able to always provide the services children need. This concern is also
reflected in survey findings where 20 percent of staff report “Never” being able to find
providers for children with high needs.

The 2021 Procedure Manual contains a description of In-Home Safety and Reunification
Service (ISRS).220 These services are intended to: provide immediate child protection,
reduce time children spend in substitute care, and reduce the re-abuse or neglect of
children. The service help parents in building additional problem-solving skills to
eventually become self-sufficient, identifying strategies for predictable problems relating
to child’s behavior, child safety, depression, mood stabilization, and other adult
relationships. The goal is to reduce trauma to children removed from their families because
of abuse or neglect by offering family-focused services starting during the assessment
phase and extending into aftercare services when children return home. Services include
intervention programs in the home and community and services to support and maintain


219 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (pp.1034-

1035).
220 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (pp.1040-

1046).


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in-home placement and services in the home, community and with the resource parent,
child, and biological parents to support early reunification programs. The goals are to
reduce length of stay in foster care, maintain child safety at home with their parents or
caregivers, reduce re-referral and re-entry rates of families into the child welfare system,
and increase timeliness to permanency.

Some of the child welfare workforce perceive Oregon as experiencing an increasing trend
of transgender young adults unable to access the services they need. According to focus
group participants, access to services for young adults in the LGBTQIA2S+ community is a
concern, especially in Eastern Oregon.

The 2021 Procedure Manual requires that services are provided to children and families
with sensitivity to culture and ethnicity and states that caseworkers are responsible for
coordinating referrals to services that meet the child and family’s unique cultural
composition.221

For children identified as having a high level of needs, the 2021 Procedure Manual has
added language regarding certifying homes for children with intellectual or developmental
disabilities to ensure communication between caseworker, certifier, and Community
Developmental Disabilities Program service manager, as well as consideration for any
additional safety measures.222

The 2021 Procedure Manual contains description of In-Home Safety and Reunification
Service (ISRS).223 These services are intended to: provide immediate child protection,
reduce time children spend in substitute care, and reduce the re-abuser or neglect of
children. The service help parents in building additional problem-solving skills to
eventually become self-sufficient, identifying strategies for predictable problems relating
to child’s behavior, child safety, depression, mood stabilization, and other adult
relationships. The goal is to reduce trauma to children removed from their families because
of abuse or neglect by offering family-focused services starting during the assessment
phase and extending into aftercare services when children return home. Services include
intervention programs in the home and community and services to support and maintain
in-home placement and services in the home, community and with the resource parent,
child, and biological parents to support early reunification programs. The goals are to
reduce length of stay in foster care, maintain child safety at home with their parents or
caregivers, reduce re-referral and re-entry rates of families into the child welfare system,
and increase timeliness to permanency.


221 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (p. 1024).

222 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (pp. 836-

842).
223 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (p. 1041).




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Families should be referred to ISRS for reunification when the purpose is to return the child
home to a parent within the next 30-45 days, and to motivate and engage parents to
improve and maintain parental protective capacities related to identified safety threats in
the home.

Reunification Supports

Procedures and processes are intended to support the timely reunification of children.
When planning for a return home, caseworkers share and use the current CANS results as
part of the reunification process. At the same time, caseworkers assess parental protective
capacities after services are provided to the parents. Caseworkers share CANS results with
the parent(s) or current guardian and child. This will help them become aware of the needs
the child is exhibiting. Caseworkers also share CANS results with others involved in the
reunification process, including the child’s school or mental health providers. Caseworkers
discuss with the family how the parental protective capacities are, or are not, suited to
meet the needs of the child. Furthermore, caseworkers discuss how the parent(s) will
address those needs.

For children who are reunified, in-home services are intended to support family stability
by preventing maltreatment and placement. Most workers and supervisors (43 percent)
believe that CW “always” provides in-home services to families to prevent re-entry, while
another 54 percent feel that these services are “sometimes” provided.




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9        Case Planning
9.1         Case Plan Completion
Case planning includes identifying the specific services needed to meet each child’s needs.
Caseworkers need to consider all information gathered during both the child safety and
protective capacity assessments, and doing so helps develop a focused, systematic, time-
limited plan to meet the child’s needs.

The Case Plan consists of multiple inputs, including:

    •    CANS Tool. CW has used the Child and Adolescent Needs and Strengths (CANS) Tool
         for years to assess needs and strengths of children and young adults to determine
         reimbursement rates and service plans for children and young adults, but since
         2016, has expanded its use. The CANS is an evidence-based, internationally
         recognized assessment tool implemented in child welfare jurisdictions in all 50
         states and throughout the world. CW now uses the CANS to determine applicable
         services and complete comprehensive case plans. Since 2016, CW began using the
         CANS for placement matching, reunification planning, services, and interventions,
         which was not the case in 2016.
    •    Safety Plans. The first safety plan, an initial safety plan, is defined as “a documented
         set of actions or interventions sufficient to protect a child or, if applicable, a young
         adult from an impending danger safety threat to allow for completion of the CPS
         assessment.”224 The 2021 Procedure Manual also contains three separate, but
         almost identical, definitions for an ongoing safety plan. The first definition defines
         an ongoing safety plan as “a documented set of actions or interventions that
         manage the safety of a child or, when applicable a young adult after Child Welfare
         has identified one or more impending danger safety threats at the conclusion of a
         CPS assessment or anytime during ongoing work with a family.”225 Oregon also uses
         a protective action plan defined as “an immediate, same day, short-term plan,
         lasting a maximum of 10 calendar days sufficient to protect from a present danger
         safety threat.”226
    •    Permanency Plan. The permanency plan is targeted at supporting the reunification
         of children with their family. Other types of case planning should occur throughout
         the life of a case.




224 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (p. 1863).

225 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (p. 1865).

226 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (p. 1869).




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    •    Family Plan. The permanency plan includes a family plan which is “a written
         document developed at the [Family Decision Making Meeting] that includes family
         recommendations on planning for the child and may include a permanency plan,
         concurrent permanent plan, placement recommendations, or service
         recommendations. The ‘family plan’ also includes expectations of the parents of the
         child and other family members; services the Department will provide; timeliness for
         implementation of the plan; benefits of compliance with the plan; consequences of
         noncompliance with the plan; and a schedule of future meetings if appropriate. The
         Family Plan described in ORS 417.375(1) is incorporated into the case plan to the
         extent that it protects the child, builds on family strengths, and is focused on
         achieving permanency for the child within a reasonable time.”227

9.2        Inclusion in Case Planning
The Vision for Transformation includes a focus on timeliness and family engagement, both
of which strongly relate to case planning. The Family Report was recently introduced as a
part of engaging the family in case planning. From late 2021 through spring 2022, the rate
of timely completion of the initial Family Report, done within 60 days of placement, has
increased from 37 percent to 52.6 percent complete, including two districts that have 100
percent completed timely.228

CFSR data show that family involvement in the case planning process has remained stable.
In 2016 and 2021, cases sampled for the CFSR showed families were participating
throughout the case planning process in approximately 61 percent of the cases sampled.
One focus group commented that they believed families were involved in case planning.

9.3        CFSR Data
In Oregon’s 2016 CFSR, the items in Permanency Outcome 2 needed improvement as they
did not meet the 95 percent threshold required for an item to be considered a strength.
For placement with siblings, 89 percent of sampled cases in Oregon were a strength,229
compared with 81 percent of cases rated as a strength nationwide.230 Concerning visiting
with parents and siblings in foster care, 82 percent of cases were a strength, compared


227 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (p. 1858).

228 Oregon Department of Human Services Child Welfare Division, Annual Progress and Services Report

(APSR), 2023. (June 2022).
229 Children’s Bureau: Oregon 2016 CFSR Final Report.

https://www.oregon.gov/DHS/CHILDREN/Documents/Oregon%20CFSR%20Round%203%20Final%20Report
%202016.pdf
230 Child and Family Services Reviews Aggregate Report, Round 3: Fiscal Years 2015-2018. Children’s

Bureau: https://www.cfsrportal.acf.hhs.gov/document/download/XqXpKG


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with 62 percent nationwide, and 88 percent of cases were rated as a strength for
preserving connections, compared with 67 percent nationwide. For relative placement, 77
percent of cases were marked as a strength, compared with 70 percent nationwide, and 79
percent of cases were rated as a strength for a relationship with parents, compared with 58
percent nationwide.

9.4       Vision for Transformation
Since 2016, ODHS has re-committed to engaging with the community by integrating the
voices of children, young adults, parents, families, Tribal Nations, and partners to be more
responsive to the needs of families and community partners. The Vision for Transformation
frames the focus on strengthening and preserving connections to family and community by
keeping kids home and in their community, when possible, as well as maintaining
connections when placed in substitute care and prioritizing permanence. Programs such as
the Oregon Kinship Navigator help build protective factors as they engage families, build
skills, and identify opportunities for support.




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10 Preserving and Improving Connections
10.1 Family Interaction
ODHS policy states that maintaining family contact and regular visitation is the single most
important factor in supporting a child’s attachments to his or her parents, siblings and
other family members and can lessen both the child’s and the parents’ anxiety about the
child being placed in substitute care.231

Child Welfare provides support to the family to meet the parents’ identified needs, bolster
familial connections, promote reunification, and encourage success. These supports
include parenting time, which, like family time, is meant to maintain, strengthen, or
develop attachment between children and parents, and the frequency of this time impacts
both the likelihood of parental engagement in the case plan and successful reunification.
Time spent between children and parents is likely to motivate parents to engage in the
case planning process and increase the likelihood of reunification. CW encourages parents’
participation in caregiving responsibilities and sharing the parenting role with resource
parents. This can include bath time, bedtime, and mealtime; medical appointments; school
activities; cultural events and faith-based activities; community functions; and time with
extended family.232 These opportunities for parents do not require a formal “visit,” and
resource parents are expected to continually offer opportunities for parents to learn and
practice new skills. Certification requirements state that resource parents must support the
child’s family and facilitate connections between the child and their siblings and parents.
When resource parents renew their certification, they must demonstrate that they have
worked with the child’s family and share what worked and what could be improved.233

National best practices for family time234 are outlined in the table below, along with
Oregon’s practice.

            Table 27. Best Practices Related to Ensuring Adequate Family Time

       Best Practice              2016 Oregon Practice                2022 Oregon Practice

 Family time is a right,      Meets best practice:                Exceeds best practice:
 not a privilege: family       • An appendix to Oregon’s          • ODHS policy on prohibiting
 time is a fundamental           Procedure Manual states             visits mirrors the 2016
 right for children and          that “visitation should


231 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (p. 898).

232 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (p. 505).

233 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (p. 1579).

234 Casey Family Programs: https://www.casey.org/family-time/




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            Table 27. Best Practices Related to Ensuring Adequate Family Time

       Best Practice              2016 Oregon Practice                2022 Oregon Practice

 should not be used as a         never be used as a reward           Procedure Manual
 bonus or reward.                or punishment,”235 and              language.238
                                 that any changes in              • ODHS policy continues to
                                 visitation arrangements             require arrangement for
                                 should reflect the risk             “Special Visitation
                                 assessment and progress             Considerations.”239
                                 toward the child’s               • Oregon’s administrative
                                 permanency goal, not any            rule language, updated in
                                 attempts to reward or               July 2022, states that
                                 punish either the child’s           children and young adults
                                 or parent’s behavior.               have the right to visit with
                               • The 2016 policy language            their parents, guardian, and
                                 includes reasons to                 siblings in substitute care
                                 prohibit visits, including          as often as reasonably
                                 when there is reason to             necessary to maintain and
                                 believe the acts or                 enhance their
                                 omissions of a parent or            attachment.240
                                 guardian would result in
                                 abuse or neglect, the child
                                 or young adult’s safety
                                 cannot be managed by
                                 supervision, the visit does
                                 not meet the child or
                                 young adult’s best
                                 interest, or if a court order
                                 prohibits it. The policy
                                 also clearly states that
                                 visits cannot be canceled
                                 solely due to the act or
                                 omission of a parent
                                 unrelated to the safety or


235 Oregon Procedure Manual 2016, Appendix 4.15:

http://www.dhs.state.or.us/caf/safety_model/procedure_manual/appendices/ch4-app/4-15.pdf
238 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (p. 899).

239 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (p. 903).

240 OAR 413-070-0830: http://www.dhs.state.or.us/policy/childwelfare/manual_1/division_70.pdf




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             Table 27. Best Practices Related to Ensuring Adequate Family Time

       Best Practice                2016 Oregon Practice                 2022 Oregon Practice

                                   well-being of a child
                                   during that visit.236
                                • The 2016 Procedure
                                   Manual includes “Special
                                   Visitation Considerations,”
                                   requiring visits with
                                   extended family members,
                                   including siblings,
                                   teachers, coaches,
                                   pastors, rabbis, or
                                   neighbors, to maintain
                                   children’s connections to
                                   their families, culture, and
                                   communities as this is
                                   important for the child’s
                                   well-being.237

 Focus of family time:         Meets best practice:                 Meets best practice:
 children should be able        • The 2016 Procedure                 • ODHS policy continues to
 to spend time building            Manual states that                   meet best practices in that
 connection with their             maintaining family contact           it reiterates that
 parents, siblings, and            and regular visitation is            maintaining family contact
 extended family, and              the single most important            and regular visitation is the
 not be focused on                 factor in supporting a               single most important
 “visitation.”                     child’s attachments to his           factor in supporting a
                                   or her parents, siblings             child’s attachments to his
                                   and other family members             or her parents, siblings and
                                   and can lessen both the              other family members and
                                   child’s and the parents’             can lessen both the child’s
                                   anxiety about the child              and the parents’ anxiety
                                   being placed in substitute           about the child being
                                   care.241                             placed in substitute care.243


236 2016 Oregon Procedure Manual, Chapter 4 – Services to Children, (pp. 2-3).

237 2016 Oregon Procedure Manual, Chapter 4 – Services to Children, (p .7).

241 2016 Oregon Procedure Manual, Chapter 4 – Services to Children, (p. 1).

243 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (p. 898).




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             Table 27. Best Practices Related to Ensuring Adequate Family Time

       Best Practice                2016 Oregon Practice                 2022 Oregon Practice

                                • The 2016 Procedure                 • ODHS requires the creation
                                   Manual requires the                  of a Visit and Contact Plan
                                   creation of a visit and              as part of every case plan,
                                   contact plan when a child            which is developed at the
                                   first enters substitute care         time of removal. This plan
                                   or by the time of the first          is reviewed to ensure that
                                   court hearing, whichever             visits and contacts are
                                   is first.                            happening as planned and
                                • 2016 ODHS Policy requires             that visitation and contacts
                                   including “a timeframe for           conform with the ongoing
                                   regular review and                   safety plan. The
                                   revision of the visit and            requirement to establish
                                   contact plan,” and states            this plan is a strength in
                                   that the review must be              that it requires focusing on
                                   part of the 90-day case              sustaining connections
                                   plan review.242                      between children and their
                                • 2016 ODHS Policy requires             families.
                                   documentation of family           • However, the child welfare
                                   and other visitation                 field is moving away from
                                   contacts, and includes the           using the words “visitation”
                                   date, time, and length of            and “visitation plans” as
                                   visit, the participants,             they can imply that each
                                   activities that occurred,            family receives a
                                   any missed visits and the            standardized amount of
                                   reasons, and any visits              time together. The
                                   that were interrupted or             Children’s Bureau, in a
                                   ended early, along with              2020 Information
                                   the reasons.                         Memorandum,244 suggests
                                                                        a shift from “visits” to
                                                                        “family time” to prioritize
                                                                        the importance of the time
                                                                        that children spend with
                                                                        their parents, siblings, and
                                                                        other family members.


242 2016 Oregon Procedure Manual, Chapter 4 – Services to Children, (p. 3).

244 ACYF-CB-IM-20-02: https://www.acf.hhs.gov/sites/default/files/documents/cb/im2002.pdf




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             Table 27. Best Practices Related to Ensuring Adequate Family Time

        Best Practice               2016 Oregon Practice                 2022 Oregon Practice

                                                                     • Monthly face-to-face
                                                                        contact notes must describe
                                                                        progress on the case plan,
                                                                        including how the child’s
                                                                        team is supporting
                                                                        attachment to the child’s
                                                                        parents, siblings, and other
                                                                        natural supports.245

 Frequency of family            • Meets best practice:              Exceeds best practice:
 time: typically, the goal      • The 2016 Procedure                 • The 2021 ODHS policy also
 is to increase the                Manual states that                   states that “frequent high-
 number and duration of            “frequent high-quality               quality visits support
 family time to prepare            visits support parental              parental engagement and
 for reunification.                engagement and                       motivation for change.”243
 Research shows that               motivation for change.”247        • ODHS policy continues to
 regular, meaningful            • The 2016 requirement for              require that the first visit
 family time enhances              the first visit is within a          occurs within a week of the
 outcomes for children             week of the child’s                  child’s placement in
 and families, including           placement in substitute              substitute care, preferably
 timely reunification.246          care, preferably within the          within the first 48 hours.248
 Family time should                first 48 hours of entering        • As part of co-case
 occur within 24-48                care.                                management between a CPS
 hours of removal and                                                   caseworker and a
 should occur as often                                                  permanency caseworker,
 as possible.                                                           the permanency caseworker
                                                                        reviews the Visit and
                                                                        Contact Plan (created by the
                                                                        CPS caseworker) to “ensure
                                                                        there is as much contact as
                                                                        possible with the parents



245 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (p. 633).

246 ACYF-CB-IM-20-02: https://www.acf.hhs.gov/sites/default/files/documents/cb/im2002.pdf

247 2016 Oregon Procedure Manual, Chapter 4 – Services to Children, (p. 1).

248 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (pp. 898-

899).


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             Table 27. Best Practices Related to Ensuring Adequate Family Time

        Best Practice               2016 Oregon Practice                 2022 Oregon Practice

                                                                        knowing that frequent
                                                                        contact promotes timely
                                                                        reunification and is good
                                                                        for the parents and the
                                                                        child.”249

 Involving the                 Meets best practice:                 Meets best practice:
 appropriate people:            • The 2016 Procedure                 • ODHS policy continues to
 family time has evolved           Manual requires involving            require requires involving
 from supervised visits            the parents in planning for          the parents, the child, the
 to quality time that              visits, and states it is             child’s caregivers, and
 promotes connections              important to invite the              other relevant people (the
 and includes many                 child’s substitute                   child’s attorney, CASA,
 members of a child’s              caregivers, the child, and           therapist, or relatives) to
 extended family and               other relevant people (the           participate in planning for
 community members.                child’s attorney, CASA,              parent-child contact.251
                                   therapist, or relatives) to
                                   participate in planning for
                                   parent-child contact.250

 Caregiver involvement:        Exceeds best practice:               Exceeds best practice:
 resource parents can           • The 2016 Procedure                 • ODHS policy requires the
 help children prepare             Manual requires that                 same discussion with
 for and transition back           caseworkers discuss with             caseworkers about
 to their homes                    resource parents that                children’s varying reactions
 following family time.            children may have varying            to time with their families
 Caregivers can provide            reactions to time with               and that these reactions are
 transportation and, if            their families and that the          normal and are not grounds
 appropriate, can offer            child may express their              for limiting visitation.253
 coaching or support to            feelings through behaviors        • ODHS caseworkers continue
 the child’s parents.              rather than through                  to be responsible for



249 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (p. 433).

250 2016 Oregon Procedure Manual, Chapter 4 – Services to Children, (p. 1).

251 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (p. 898).

253 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (pp. 899-

900).


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             Table 27. Best Practices Related to Ensuring Adequate Family Time

       Best Practice                2016 Oregon Practice                 2022 Oregon Practice

                                   words. These reactions are           explaining the benefits of
                                   normal and are not                   frequent visitation to
                                   grounds for limiting                 resource parents.253
                                   visitation.252                    • ODHS continues to support
                                • The 2016 policy requires              resource parents in
                                   the caseworker to explain            prioritizing visits with a
                                   benefits to resource                 child’s siblings when such
                                   parents, including healthy           visits are safe and in the
                                   attachment, strengthening            child’s best interests.253
                                   of the parent-child
                                   relationship, easing the
                                   pain of separation and
                                   loss for the child, helping
                                   provide motivation for
                                   parents, and allowing
                                   parents to learn and
                                   practice new skills.252
                                • The 2016 policy supports
                                   resource parents in
                                   prioritizing visits between
                                   siblings when the visits
                                   are safe and in the child’s
                                   best interests.252

Oregon’s statutory language, updated in July 2022, states that children and young adults
have the right to visit with their parent, guardian, and siblings while in substitute care, as
often as reasonably necessary to maintain and enhance their attachment.254

ODHS policy outlines reasons to prohibit visits, including when there is reason to believe
the acts or omissions of a parent or guardian would result in abuse or neglect, the child or
young adult’s safety cannot be managed by supervision, the visit does not meet the child
or young adult’s best interest, or if a court order prohibits it. Policy also clearly states that
visits cannot be canceled solely due to the act or omission of a parent that is unrelated to
the safety or well-being of a child during that visit.253



252 2016 Oregon Procedure Manual, Chapter 4 – Services to Children, (p. 3).

254 OAR 413-070-0830: http://www.dhs.state.or.us/policy/childwelfare/manual_1/division_70.pdf




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ODHS policy also requires arrangements for visits with extended family members, including
siblings, teachers, coaches, pastors, rabbis, or neighbors, to maintain children’s
connections to their families, culture, and communities as this is important for the child’s
well-being.255

ODHS requires the creation of a Visit and Contact Plan as part of every case plan, which is
developed at the time of removal. The requirement to establish this plan is a strength in
that it requires focusing on sustaining connections between children and their families:

   •    The Plan must be reviewed every 90 days as part of the case plan review and can be
        reviewed more frequently. This plan is reviewed to ensure that visits and contacts
        are happening as planned and that visitation and contacts conform with the ongoing
        safety plan. This review includes examining how any changes in the parents’
        protective capacities impacted supervision of visits, whether the visitation plan
        meets the child’s safety and well-being needs and if it is the least restrictive plan,
        what opportunities exist for the child to visit with other family members, and
        whether the visitation plan supports progress toward the conditions for return and
        achieving the case plan and permanency plan goal.
   •    However, the child welfare field is moving away from using the words “visitation”
        and “visitation plans” as they can imply that each family receives a standardized
        amount of time together. The Children’s Bureau, in a 2020 Information
        Memorandum,256 suggests a shift from “visits” to “family time” to prioritize the
        importance of the time that children spend with their parents, siblings, and other
        family members. Despite the use of the outdated “visit” language, the intention of
        this plan is to ensure children remain connected to their families and that their time
        together supports the achievement of their permanency goal.
   •    The Visit and Contact Plan also focuses on interactive face-to-face contact, and can
        be supplemented by phone calls, letters, emails, and sharing pictures and gifts.257
        Caseworkers have been creative in facilitating sibling and family interaction, using
        technology such as FaceTime when children cannot be in person with siblings.
   •    If for some reason visits do not occur between a child or young adult and their
        parent(s), visits between siblings should continue to occur regularly unless there is a
        safety risk or threat to the child or young adult’s well-being.258 The Visit and
        Contact Plan ensures “Siblings are able to visit one another if they are not in the
        same substitute care setting or if some siblings are in the parents’ home.”259 Focus


255 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (p. 903).

256 ACYF-CB-IM-20-02: https://www.acf.hhs.gov/sites/default/files/documents/cb/im2002.pdf

257 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (p. 898).

258 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (p. 899).

259 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021. (p. 433).




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        group participants mentioned that facilitating contact between children and young
        adults placed separately can be a challenge despite their best intentions and efforts.

When parents have met the conditions for return and reunification, the caseworker must
“prepare the child for the return home.”260 As part of co-case management between a CPS
caseworker and a permanency caseworker, the permanency caseworker will review the Visit
and Contact Plan (created by the CPS caseworker) to “ensure there is as much contact as
possible with the parents knowing that frequent contact promotes timely reunification and
is good for the parents and the child.”261

CW has specific policy language focused on supporting family interaction, including
considering the child’s best interests. Several states, including Oregon, incorporate
emotional ties between children, their families, and caregivers as part of the best interest
determination. Oregon’s statutes require the inclusion of the child or young adult as
developmentally appropriate and the parent or guardian in identifying placement resources
and requires diligent efforts to place siblings together unless joint placement is not in any
of the children’s best interests.262

CW has taken several steps to address obstacles to family interaction:

   •    Resource parents do not always have the resources or availability to transport
        children and young adults to family visits. However, some Oregon districts have
        volunteer supports and community organizations providing children transportation.
        Marion County is working with the Children’s Public Private Partnership, CP3, to
        pilot a volunteer driver program to increase family interaction frequency and
        expedite reunification in 2022.263
   •    Some agencies do not have a space where families can spend time or play together,
        and it is a challenge for families to have meaningful interaction in an office space or
        conference room. However, many local branches have redecorated their visitation
        rooms. CW has an ADA Coordinator who has begun working with branches to create
        a room designed for individuals and families with sensory concerns. For those
        districts without updated visitation rooms, many are in the process of creating more
        welcoming spaces for families. CW has removed cameras from visit rooms, and the
        leadership continually encourages local teams to consider why family interaction
        needs to be supervised. These efforts and improvements to creating safe and warm
        spaces for families increases their ability to engage with each other and strengthen
        their relationships.


260 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (p. 546).

261 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (p. 433).

262 OAR 413-070-0600: http://www.dhs.state.or.us/policy/childwelfare/manual_1/division_70.pdf

263 Children’s Public Private Partnership (CP3). https://www.cp3oregon.org/programs




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    •    Policy dictates that children are not supposed to miss school or their extracurricular
         activities for family interaction unless scheduling otherwise is impossible,264 which
         does not leave much time to schedule those visits. One focus group participant
         shared that a judge in their district ordered six hours of family time per parent for
         each child in the family, which is difficult to schedule around school and other
         responsibilities.

10.2 Relative Placements
One of the pillars of the first guiding principle of the Vision for Transformation is a focus
on strengthening and preserving connections with family and community “by keeping
children and young adults safely in their own home and communities whenever possible;
maintaining connections to family, culture, and community when temporary substitute care
is needed; and making permanency the priority, starting with safely reunifying families.”

The definition of kith is broad to include multiple options. According to the CW Procedure
Manual, kith is defined as “a person not related to the child by blood or through legal
means but are identified by the child or the family and are considered by the child or
child’s family as a relative.”265 CW has a process to complete an immediate, Temporary
Certification for same day placements in crisis situations. This allows certifiers to conduct
criminal background checks and check references. Some participants felt that the
background check requirements are too stringent for some criminal history. They felt that
the criteria should be more flexible for certain crimes due to the urgent need for placement
options and the desire to place with relatives and kith.

A Chapin Hall study showed that children initially placed with relatives are the least likely
to experience placement changes for their time in substitute care.266 Another review of
relative placements scanning over 100 studies concluded that children in kinship care
experience improved behavioral development and mental health functioning outcomes in
addition to placement stability.267




264 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (p. 900).

265 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (p. 1554).

266 Chapin Hall. (Dec 2007). Foster Care Dynamics 2000-2005: A Report from the Multistate Foster Care

Data Archive. https://fcda.chapinhall.org/wp-content/uploads/2013/10/Foster-Care-Dynamics-2000-
2005.pdf
267 Winokur, M., Holtan, A., and Batchelder, K.E. (March 2014). Kinship Care for the Safety, Permanency,

and Well-Being of Children Removed from the Home for Maltreatment: A Systematic Review.
https://doi.org/10.4073/csr.2014.2


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Data from the Annie E. Casey Foundation268 show that kinship placements increased from
25 to 34 percent nationally from 2007-2020, and placement in non-relative foster care
decreased from 46 to 45 percent nationally. That same snapshot illustrates the increasing
trend of the use of kinship care in Oregon as well, as relative foster home use went up
from 32 to 34 percent from 2019 to 2020, giving Oregon one of the higher rates of kinship
use in the country.

When children are placed into non-relative substitute care, CW “must continually consider
ways in which relatives and persons with a caregiver relationship can be engaged in case
planning, safety planning, placement, and ongoing support.”269 This includes periodically
reviewing CW’s diligent efforts to place children with a relative or person with a caregiver
relationship, including asking whether siblings are placed together, and if not, what can be
done to place them together and what is being done to maintain contact between siblings.
These diligent efforts are required by the courts and are in Oregon Administrative Rule
(OAR 413-070-0069) as well. During this review, caseworkers will consider whether the
child or young adult has been given every possible opportunity to be reunified with an in-
home safety plan, be placed with a relative or siblings, or to have ongoing connection with
their family.270

The 90-day Child Welfare Case Plan review must include an update on the search for
relatives, a review of the visitation plan, and consideration of a child or young adult’s
siblings.271 The search for relatives is ongoing during the child’s case, and as part of this
review, caseworkers will identify relatives who have been identified and contacted, how
they have responded, what connections they wish to have with the child, whether it is
appropriate to contact them again, and if they are able to participate in the child’s life even
if they cannot serve as a placement or adoptive resource. This ongoing review is critical, as
relatives’ ability to engage with and potentially act as placement resources may change
over time.

Kinship providers are eligible to receive a Temporary Assistance for Needy Families (TANF)
grant for a child. Still, less than 12 percent of caregivers receive this272, at least in part
because providers typically have to assign the state the right to collect child support from

268 The Annie E. Casey Foundation. Kids Count Data Center:

https://datacenter.kidscount.org/data/line/6247-children-in-foster-care-by-placement-
type?loc=1&loct=2#2/2-
8/false/574,1729,37,871,870,573,869,36,868,867/asc/2622,2621,2623,2620,2625,2624,2626/12995
269 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (p. 741).

270 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (p. 742).

271 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (pp. 520-

525).
272 Chapin Hall. Kinship Care Leads to Better Outcomes for Children.

https://www.chapinhall.org/project/kinship-care-leads-to-better-outcomes-for-children/


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the child’s birth parents.273 Many relatives hesitate to do so as this can compound the
stress and trauma on the birth parents and leave kinship providers with less financial
resources while caring for a child. The federal government allows states to waive that
requirement for a good cause. While the Oregon Kinship Navigator website
(https://oregonkinshipnavigator.org) outlines the TANF program in Oregon, it does not
share information regarding a waiver to the child support requirement.

10.3 Sibling Connections
Children placed with their siblings or whose connections with siblings are maintained while
in substitute care experience similar positive outcomes as those placed with relatives,
leading to improved well-being and permanency outcomes. Children placed with siblings
have more placement stability than children placed separately from any or all their
siblings.274 There is some evidence that placement with siblings improves permanency
through reunification, guardianship, and adoption.

Oregon prioritizes placing sibling groups together appropriately and in their home
communities when possible. When an immediate substitute care placement is necessary,
caseworkers are required to determine whether siblings can be placed together, and if they
cannot, arrangements must be made and documented in the Temporary Visit and Contact
Plan regarding visitation with siblings.275 ODHS policy encourages caseworkers to “act
quickly” when the initial placement does not allow siblings to be placed together due to a
lack of capacity in the placement resources available at the time of initial placement.276
When choosing a placement, the procedure requires placement with relatives and keeping
siblings together whenever possible (when in the best interests of the children).277 If
siblings are not able to be placed together, CW requires efforts to be made to reunite them
as soon as possible, and in the interim, document routine contact and visitation in
temporary visits, ongoing visits, and contact plans. When caseworkers cannot place
siblings together, the procedure requires caseworkers to “document explanations of… how
the placement preserves the child’s connections and attachments including proximity to
the child’s biological family, including siblings and the child’s school.”278 CW policy states


273 Generations United. (2020). TOOLKIT African American Grandfamilies: Helping Children Thrive Through

Connection to Family and Culture. https://www.gu.org/resources/african-american-grandfamilies-
helping-children-thrive-through-connection-to-family-and-culture /.
274 Sattler KMP, Font SA, Gershoff ET. Age-specific risk factors associated with placement instability

among foster children. Child Abuse Negl. 2018 Oct;84:157-169.
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC7357603/
275 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (p. 718).

276 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (p. 719).

277 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (p. 722).

278 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (p. 492).




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that children’s separation from siblings to be placed into foster care is considered
temporary.

It is generally in children’s best interest to be placed together when considering adoption.
In situations where siblings are separated for adoption, caseworkers must have “compelling
reasons” to request permission from the CW Permanency Committee to separate siblings in
need of adoptive resources, and these requests require Program Manager Approval.279 This
request must be documented in OR-Kids and include information supporting the
separation, and the caseworker will be expected to present the request to the Permanency
Committee.

Focus group participants shared that they attempt to place children with their siblings, but
they cannot do this as often as they would like due to differing needs of the children, best
interests of the children, or differing capacities of the providers. Some focus group
participants mentioned that placing siblings in the same home can be a detriment to some
children if they have differing levels of need. Siblings can disrupt placements more as
groups than they may have individually and can cause the need for placement changes for
multiple children. It can be difficult to place children together if they are not jointly placed
from the initial placement, as moving children causes placement disruptions for some of
them. Focus group participants mentioned that it becomes harder to bring children
together once you separate children in placements. The survey reflected the difficulty in
consistently placing siblings together. The 2022 survey questioned whether CW facilitates
contact between siblings according to the case plan. Responses show that this happens
most of the time, with 51 percent of respondents sharing that it happens sometimes and
48 percent stating that it always occurs. Less than two percent of respondents shared that
sibling contact never occurs according to the plan.

The Oregon legislature codified the Foster Children’s Sibling Bill of Rights280 in May 2017
(and associated rules281 were effective January 1, 2018) to give children and young adults
in foster care rights designed to protect and strengthen bonds with their siblings.

The Foster Children’s Sibling Bill of Rights includes:

    •    Caseworkers provide children and young adults with documentation of their rights
         and a verbal explanation of their rights (in an age and developmentally appropriate
         manner) within 60 days of being placed in substitute care and of any placement
         change, at least annually.


279 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (p. 1255).

280 Oregon Foster Children’s Bill of Rights:

https://sharedsystems.dhsoha.state.or.us/DHSforms/Served/de9014a.pdf
281 Oregon Foster Children’s Sibling Bill of Rights, ORS 418.608:

https://oregon.public.law/statutes/ors_418.608


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   •    Siblings have the right to be placed together whenever safe and appropriate. When
        this placement does not occur, the caseworker must continue to work toward joint
        placement.
   •    Siblings have a right to have a Sibling Visit and Contact Plan and be actively
        engaged in the plan’s development.
   •    Children and young adults have the right to be immediately notified of specific
        changes and life events of siblings in ODHS custody, including placement and
        placement changes, catastrophic events, and emergencies.
   •    Children and young adults have the right to have continued contact encouraged in
        any adoptive or guardianship placement when safe and appropriate.
   •    Children and young adults in ODHS custody may have other rights not specified and
        as appropriate to the child or young adult’s age and developmental stage.

Caseworkers must consider a child’s siblings at various points in the case process,
including inviting a child’s siblings “who can support the young adult’s goals, answer
questions, and assist with decision-making282 to a Youth Decision Meeting (YDM). A YDM
can also include a family and permanency team meeting in which the team can determine
their placement preferences and discuss how the preferred placement meets the child or
young adult’s needs, including the need for siblings to be placed together. In addition,
caseworkers are required to provide young adults with a Transitions Tool Kit when the
young adult is reaching independence, and the court dismisses custody. The Transition
Tool Kit includes, among other things, the location and status of the young adult’s siblings
and their contact information.283 Each child’s case plan must also outline whether siblings
are in the same placement, and if not:284

   •    Why not? (Lack of placement resources, safety issues, different level of care needs
        currently?)
   •    What is being done to address issues that contribute to siblings being apart?
   •    How has Child Welfare conveyed to all involved that sibling separation should be
        temporary?
   •    What efforts are being made to reunite siblings?
   •    In what ways are sibling connections being maintained (siblings visit at weekly
        parent-child visits and every other week facilitated by foster parents, phone calls,
        letters, etc.)?




282 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (p. 483).

283 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (p. 962).

284 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (p. 496).




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   •     If siblings are placed together, are there any issues that may threaten continued
         placement together?
   •     If so, what is being done to address this to preserve the sibling placement together?
   •     Orders of the court and the efforts ODHS is making toward meeting those orders.

The 90-Day Case Plan Review must also state whether siblings are placed together, and if
so, what services are in place to address any supervision or therapeutic issues, and if they
are not placed together, what efforts are underway to place them together and keep them
connected. In addition, the review asks if a permanency committee has recommended that
it is not in the children’s best interest to be placed together, and if so, what efforts are
ongoing to assess their need for connection and how that is being facilitated.285

10.4 Community Connections
CW procedure requires that placement decisions include considerations of community
connections. At the first 30-day contact with a substitute caregiver, ODHS involves an
assessment of whether the caregiver meets the statutory placement preferences of keeping
the child or young adult near their parents and their community, keeping siblings together,
and supporting the child’s culture and family identity. Suppose the caregiver or placement
does not meet any of these preferences (and additional caregiver criteria). In that case, the
placement decision will be reevaluated, and the worker will determine whether this
placement is in the child’s or young adult’s best interest.286 A similar review is done during
the 90-day review of the child’s substitute care placement. The policy also requires that,
when assessing prospective substitute care providers, one consideration is whether that
person can meet the child’s education needs, including the “child’s needs to continue in
the same school or educational placement.”287 The provider’s ability also factors into the
determination of the least restrictive placement. Maintaining connections to a child or
family’s faith is also included in CW procedure, and members of the child’s faith-based
community must be included in Family Engagement Meetings, Youth Decision Meetings,
and assessments of parental capacity.288

CW engages the community through the Parent Advisory Council (PAC) of Oregon, which
includes parents who have been involved with child welfare, who are in recovery, and who
are now community leaders. The PAC meets monthly with state child welfare leadership
and provides feedback to ODHS on new initiatives, concepts, and documents based on

285 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (pp. 523-

524).
286 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (p. 725).

287 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (p. 721).

288 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (pp. 444,

451, 474, 483, 667).


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                                                                   Preserving and Improving Connections



their lived experience; and since 2020, has led training, shared their stories, and answered
questions for new resource families throughout Oregon. The PAC allows the voice of lived
experience to further permeate the decision-making process at every level of child welfare
in Oregon and highlights the expertise within families. The culturally diverse Parent
Advisory Council includes members from six CW districts, and shares information via a
Facebook page and through a bimonthly newsletter.

Oregon statute requires “state agencies to develop and implement policy on relationships
with Tribes” and “cooperation with Tribes.”289 These policies must promote communication
between the state agency and Tribes and positive government-to-government
relationships. ODHS is also currently revising its Tribal Consultation Policy to ensure the
inclusion of the Tribes in the development of ODHS policies and programs that impact
Tribes, establish communication pathways, and build trust, respect, and shared
responsibility.

During the 90-Day Staffing, supervisors must review permanency goals for children to
determine whether they have stability and permanence in their living situations. They must
check the current placement to determine if it is stable and the most appropriate and least
restrictive option for that child. Supervisors must also review tribal placement preferences
and whether connections to the child’s family, siblings, community, culture, and faith are
being maintained. They must also consider whether visitation can be increased and if
children and young adults are visiting their siblings while in this placement.290




289 Oregon State Administrative Agencies, Relationships of State Agencies with Indian Tribes. ORS 182.162

to ORS 182.168. https://www.oregonlegislature.gov/bills_laws/ors/ors182.html
290 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 10/4/2021, (p. 688).




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11 Staffing Resources
11.1 Staff Recruitment and Retention
Assessment participants report that high turnover is a detriment to CW. Assessment
participants felt like turnover was high, but the data do not support this. They may be
feeling the effects of employee absences, new employees being onboarded and not yet
having a full caseload, the severity of cases in their caseload, or other COVID-19 stressors
contributing to the feeling of overwhelm among staff.

11.2 Caseload Management
The Oregon Department of Human Services ORS 409.161 Workload Report, June 15, 2021,
stated that staffing increases are not the only answer for improving outcomes. “Child
Welfare is being responsive to staffing by creating management tools to inform the current
state (including the Caseload Dashboard) and redesign workforce training and workforce
development programs and tools to build engagement, increase retention, and provide
ongoing support for the workforce.”291

Despite the data regarding low caseload numbers, many assessment participants reported
feeling overwhelmed by their workload. This may be due to the severity of the needs of the
children. Staff turnover and worker absences (due to COVID-19 and other factors) may also
increase the burden on some staff and contribute to the feeling of overwhelm. Additionally,
assessment participants shared that too many assignments coming from ORCAH make
safety management challenges. Children in care and individual cases have varying needs
and degrees of severity, which means that a caseworker with five high-needs cases could
have a higher workload than a caseworker with ten children in safe and stable placements.
Workloads are balanced to the best of CW’s ability.

In addition to information shared in Section 4.11, Oregon’s Caseload Ratio Standards
include standards for staff supervision, outlined in the table below.

          Table 28. Oregon Frontline Support Staff Supervision Ratio Standards
                             Frontline Support Staff Supervision Ratios

 Frontline Supervisor (PEMC)                          1:7 SSS1 + 1:12 SSA, PLG
 Case Aid (SSA)                                       1:7 SSS1
 Social Services Assistant (SSA)                      1:7 SSS1
 Paralegal (PLG)                                      1:28 SSS1


291 Oregon Department of Human Services ORS 409.161 Workload Report, 6/15/2021.




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 FRS/IV-E Specialists                                 1:200 FC/Adoption cases
 Office Support (OS2)                                 1:3 SSSI
 Office Manager (OM3)                                 1:12 OS2

The graphic below illustrates trends of CW caseloads over the past ten years in various
areas of the child welfare system.

                              Figure 21. CW Caseload Trends292




11.3 Training and Coaching
Survey responses were mixed regarding the training caseworkers and supervisors receive.
Most respondents felt that CW trains caseworkers to conduct assessments and case
planning before working with families on an ongoing basis. Staff were evenly split on
responses regarding receiving training on working with providers, with approximately 40
percent stating that this training is offered and the same percentage expressing
uncertainty. Survey results show 63 percent of supervisors and caseworkers agree that
child welfare provides training and coaching to staff in assessing individuals, including
children and families.

In addition to Essential Elements, caseworkers have training requirements including:

   •    On-the-job opportunities to increase the transfer of learning


292 https://www.oregon.gov/odhs/data/pages/forecasting.aspx




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   •    Curricula that must be completed within six months and one year of hire
   •    Topic-specific courses for certifiers and adoption workers
   •    Role-based training for assessment workers, screeners, permanency workers,
        certifiers, and adoption workers

Staff in the safety, permanency, and foster care programs attend quarterly training on
safety or other specific components of their work. According to interviewees, CW wants to
establish a formal learning path that encourages workers to take courses to develop skills
in defined areas, such as interviewing or documentation, and increases clarity on the
promotional path. CW does not want to require a mandatory learning path or a set number
of courses per year. Safety Consultants conduct quarterly trainings via safety labs or train
specific safety issues based on data.




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Appendix B: Key Terms
These definitions clarify the meaning of operative terms included in the research questions,
inquiry questions, and throughout the methodology. Sources are included for reference.
Where possible PK used a definition from Oregon CW policy or Oregon statute. Those
definitions attributed to Public Knowledge® indicate that PK developed a definition based
on experience and expertise.

      Term                               Definition                                Source

 Abuse [Can         Abuse: (a) For purposes of screening a report of         http://www.dhs.st
 also refer to      “abuse” of a child subject to ORS 419B.005,              ate.or.us/caf/safe
 Maltreatment       “abuse” means any of the following, except that          ty_model/procedu
 or Neglect]        “abuse” does not include reasonable discipline           re_manual/Orego
                    unless the discipline results in one of the              n-DHS-Child-
                    conditions described in this subsection.                 Welfare-
                    Mental Injury. Any mental injury to a child, which       Procedure-
                    includes only observable and substantial                 Manual.pdf
                    impairment of the child’s mental or psychological        (pp.1944-1945)
                    ability to function caused by cruelty to the child,
                    with due regard to the culture of the child.
                    Neglect. (i) Negligent treatment or maltreatment
                    of a child, including, but not limited to, the failure
                    to provide adequate food, clothing, shelter, or
                    medical care that is likely to endanger the health
                    or welfare of the child.
                    (ii) Buying or selling a person under 18 years of
                    age as described in ORS 163.537. (iii) Permitting a
                    person under 18 years of age to enter or remain
                    in or upon premises where methamphetamines
                    are being manufactured. (iv) Unlawful exposure to
                    a controlled substance, as defined in ORS
                    475.005, or to the unlawful manufacturing of
                    a cannabinoid extract, as defined in ORS
                    475B.015, that subjects a child to a substantial
                    risk of harm to the child’s health or safety.
                    Physical Abuse. Any assault, as defined in ORS
                    chapter 163, of a child and any physical injury to
                    a child which has been caused by other than



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      Term                                  Definition                             Source

                    accidental means, including any injury which
                    appears to be at variance with the explanation
                    given for the injury.
                    Sexual Abuse. (i) Rape of a child, which includes,
                    but is not limited to, rape, sodomy, unlawful
                    sexual penetration and incest, as described in
                    ORS chapter 163. (ii) Sexual abuse, as described
                    in ORS chapter 163. (iii) Sexual exploitation,
                    including, but not limited to: (I) Contributing to
                    the sexual delinquency of a minor, as defined in
                    ORS chapter 163, and any other conduct which
                    allows, employs, authorizes, permits, induces, or
                    encourages a child to engage in the performing
                    for people to observe or the photographing,
                    filming, tape recording, or other exhibition which,
                    in whole or in part, depicts sexual conduct or
                    contact, as defined in ORS 167.002 or described
                    in ORS 163.665 and 163.670, sexual abuse
                    involving a child or rape of a child, but not
                    including any conduct which is part of any
                    investigation conducted pursuant to ORS
                    419B.020 or which is designed to serve
                    educational or other legitimate purposes; and (II)
                    Allowing, permitting, encouraging, or hiring a
                    child to engage in prostitution as described in
                    ORS 167.007 or a commercial sex act as defined
                    in ORS 163.266, to purchase sex with a minor as
                    described in ORS 163.413 or to patronize a
                    prostitute as described in ORS 167.008.
                    Threat of harm to a child, which means subjecting
                    a child to a substantial risk of harm to the child’s
                    health or welfare. (b) For purposes of screening a
                    report of abuse of a child or young adult living in
                    a home certified by Child Welfare or ODDS, unless
                    the abuse alleged is familial, “abuse” means any
                    of the following: (A) Abandonment, including
                    desertion or willful forsaking of a child or young



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                    adult, or the withdrawal or neglect of duties and
                    obligations owed a child or young adult by a
                    home certified by Child Welfare or ODDS, a
                    caregiver, or other person. (B) Financial
                    exploitation. (i) Financial exploitation includes: (I)
                    Wrongfully taking the assets, funds, or property
                    belonging to or intended for the use of a child or
                    young adult. (II) Alarming a child or young adult
                    by conveying a threat to wrongfully take or
                    appropriate moneys or property of the child or
                    young adult if the child would reasonably believe
                    that the threat conveyed would be carried out. (III)
                    Misappropriating, misusing, or transferring
                    without authorization any moneys from any
                    account held jointly or singly by a child or young
                    adult. (IV) Failing to use the income or assets of a
                    child or young adult effectively for the support
                    and maintenance of the child or young adult. (ii)
                    Financial exploitation does not include age-
                    appropriate discipline that may
                    involve the threat to withhold, or the withholding
                    of privileges. (C) Involuntary seclusion.
                    Involuntary seclusion means confinement of a
                    child or young adult alone in a room from which
                    the child or young adult is physically prevented
                    from leaving. (i) Involuntary seclusion includes: (I)
                    Involuntary seclusion of a child or young adult for
                    the convenience of a home certified by Child
                    Welfare or ODDS or a caregiver; (II) Involuntary
                    seclusion of a child or young adult to discipline
                    the child or young adult; (ii) Involuntary seclusion
                    does not include age-appropriate discipline,
                    including but not limited to a time-out. (D)
                    Neglect, which includes: (i) Failure to provide the
                    care, supervision, or services necessary to
                    maintain the physical and mental health of a child
                    or young adult; or (ii) The failure of a home
                    certified by Child Welfare or ODDS, a caregiver, or


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      Term                                Definition                                  Source

                    other person to make a reasonable effort to
                    protect a child or young adult from abuse. PUBLIC
                    KNOWLEDGE® Physical abuse, which includes: (i)
                    Any physical injury to a child or young adult
                    caused by other than accidental means, or that
                    appears to conflict with the explanation given of
                    the injury; or (ii) Willful infliction of physical pain
                    or injury upon a child or young adult.

 Accepted           PK uses the following accepted professional                 Public
 Professional       standards for the definitions in this document and          Knowledge®
 Standards          the research questions:
                     • Oregon Department of Human Services
                     • Department of Health and Human Services,
                       Administration for Children and Families,
                       Children’s Bureau
                     • Onsite Service Review Instrument 2016 (OSRI)
                       from the Child and Family Service Reviews
                       (CFSR)
                     • Child Welfare Information Gateway

 Address            To direct to the attention of; to take action.              Public
                                                                                Knowledge®

 Adequately         Meeting minimum standards or requirements.                  Public
                                                                                Knowledge®

 Adoption           A legal or administrative process that establishes          http://www.dhs.st
                    a permanent legal parent-child relationship                 ate.or.us/caf/safe
                    between a child and an adult who is not already             ty_model/procedu
                    the child’s legal parent and terminates the legal           re_manual/Orego
                    parent-child relationship between the adopted               n-DHS-Child-
                    child and any former parent.                                Welfare-
                                                                                Procedure-
                                                                                Manual.pdf
                                                                                (p.1946)

 Agency Culture     Values and behaviors that contribute to the social          Public
                    and psychological environment of CW, including              Knowledge®



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      Term                                Definition                              Source

                    the five CW core values of integrity, stewardship,
                    responsibility, respect, and professionalism.

 Appropriate        Suitable or proper for the circumstances based on       Public
                    best practice guidelines, CW policies, or federal       Knowledge®
                    expectations.

 Assess             To collect information to inform decision-making        https://www.child
                    about a child, young adult, or family.                  welfare.gov/topic
                                                                            s/systemwide/ass
                                                                            essment/overview
                                                                            /terms/

 Barriers           Obstacles to achieving intended outcomes. These         Public
                    can exist at the individual level, such as              Knowledge®
                    preventing or delaying permanence for a child, or
                    at the organizational or system level, which result
                    in policies or procedures that prevent populations
                    of children and families receiving services to
                    achieve intended outcomes.

 Basic Needs        Fundamental necessities including food, water,          Public
                    clothing, and shelter, as well as sanitation,           Knowledge®
                    education, and healthcare.

 Behavioral         A program that provides services and placement-         https://www.oreg
 Rehabilitation     related activities to the BRS client to address their   on.gov/oha/HSD/
 Services (BRS)     debilitating psychosocial, emotional, and               OHP/Policies/170
                    behavioral disorders in a community placement           -0020-
                    utilizing either a residential care model or a          092120.pdf
                    proctor care model.
                    Note: Child Caring Agencies (CCAs) can also be          http://www.dhs.st
                    licensed to provide BRS services, and many are,         ate.or.us/caf/safe
                    but they are not synonymous.                            ty_model/procedu
                                                                            re_manual/Orego
                                                                            n-DHS-Child-
                                                                            Welfare-
                                                                            Procedure-




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      Term                                 Definition                            Source

                                                                           Manual.pdf (p.
                                                                           1948)

 Case Plan [Can      A written, goal-oriented, and time-limited            http://www.dhs.st
 also refer to the   individualized plan for the child and the child’s     ate.or.us/caf/safe
 Child Welfare       family, developed by the agency and the parents       ty_model/procedu
 Case Plan, Case     or guardians, to achieve the child’s safety,          re_manual/Orego
 Planning or         permanency, and well-being. The Case Plan,            n-DHS-Child-
 Individualized      along with the Permanency Plan and Court Report,      Welfare-
 Service             are part of the Family Report.                        Procedure-
 Planning]                                                                 Manual.pdf (pp.
                                                                           1949, 1961)

 Caseload [Can       Individuals (usually a child) for whom a              Public
 also refer to       caseworker is responsible in a given time period,     Knowledge®
 Case(s)]            as expressed in a ratio of clients to staff
                     members.

 Caseworker(s)       A child welfare employee assigned primary             http://www.dhs.st
                     responsibility for a child or young adult served by   ate.or.us/caf/safe
                     child welfare.                                        ty_model/procedu
                                                                           re_manual/Orego
                                                                           n-DHS-Child-
                                                                           Welfare-
                                                                           Procedure-
                                                                           Manual.pdf (p.
                                                                           1949)

 Centralize          To bring together into one location.                  Public
                                                                           Knowledge®

 Certification       Regulations in each state, for foster parents and     https://www.child
 and Licensing       providers, that ensure children are cared for in      welfare.gov/gloss
 Standards           physically and developmentally safe                   ary/glossaryl/
                     environments.

 Certified Family    An individual or individuals who hold a current       http://www.ODHS
 [Can also refer     Certificate of Approval from the Department to        .state.or.us/policy
 to CW Certified     operate a home to provide care, in the home in        /childwelfare/ma
                     which the individual or individuals reside, to a



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       Term                                Definition                              Source

 Resource            child or young adult in the care or custody of the      nual_1/division_2
 Home]               Department.                                             00.pdf

 Child [Can also     A person under 18 years of age, or a person             ORS 418.330(1)(a)
 refer to            under 21 years of age if the Department of
 Children or         Human Services determines that the person has a
 Young Adult]        mental or physical disability that warrants the
                     continuation of assistance.

 Child and           The CANS is a decision-making tool to determine         https://praedfoun
 Adolescent          level of care and service planning, and to monitor      dation.org/tools/t
 Needs and           service outcomes.                                       he-child-and-
 Strengths                                                                   adolescent-
 (CANs) Tool                                                                 needs-and-
                     In Oregon, the CANS is used to determine the
                                                                             strengths-cans/
                     Level of Need (LON) for children in substitute care
                     and to determine reimbursement rates for
                     substitute care providers.                              http://www.dhs.st
                                                                             ate.or.us/caf/safe
                                                                             ty_model/procedu
                                                                             re_manual/Orego
                                                                             n-DHS-Child-
                                                                             Welfare-
                                                                             Procedure-
                                                                             Manual.pdf (p.
                                                                             1948)

 Child Caring        Any private school, private agency, private             ORS 418.205
 Agency (CCA)        organization or county program providing: Day
 [Can also refer     treatment for children with emotional
 to Institution or   disturbances; Adoption placement services;
 Residential         Residential care, including but not limited to
 Facility]           foster care or residential treatment for children;
                     Residential care in combination with academic
                     education and therapeutic care, including but not
                     limited to treatment for emotional, behavioral or
                     mental health disturbances; Outdoor young adult
                     programs; or Other similar care or services for
                     children. It includes the following: A shelter-care



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                    home that is not a foster home subject to ORS
                    418.625 to 418.645; An independent residence
                    facility as described in ORS 418.475; A private
                    residential boarding school; and A child-caring
                    facility as defined in ORS 418.950. It does not
                    include: Residential facilities or foster care homes
                    certified or licensed by the Department of Human
                    Services under ORS 443.400 to 443.455, 443.830
                    and 443.835 for children receiving developmental
                    disability services; Any private agency or
                    organization facilitating the provision of respite
                    services for parents pursuant to a properly
                    executed power of attorney under ORS 109.056.
                    For purposes of this subparagraph, “respite
                    services” means the voluntary assumption of
                    short-term care and control of a minor child
                    without compensation or reimbursement of
                    expenses for the purpose of providing a parent in
                    crisis with relief from the demands of ongoing
                    care of the parent’s child; A young adult job
                    development organization as defined in ORS
                    344.415; A shelter-care home that is a foster
                    home subject to ORS 418.625 to 418.645; A
                    foster home subject to ORS 418.625 to 418.645;
                    A facility that exclusively serves individuals 18
                    years of age and older; or A facility that primarily
                    serves both adults and children but requires that
                    any child must be accompanied at all times by at
                    least one custodial parent or guardian.

 CPS                An investigation into a report of abuse pursuant         http://www.dhs.st
 Assessment         to ORS 419B.020 or ORS 418.258 that includes             ate.or.us/caf/safe
                    activities and interventions to identify and analyze     ty_model/procedu
                    safety threats, determine if there is reasonable         re_manual/Orego
                    cause to believe abuse occurred, and assure              n-DHS-Child-
                    safety through protective action plans, initial          Welfare-
                    safety plans, or ongoing safety planning.                Procedure-
                                                                             Manual.pdf (p. 65)



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        Term                             Definition                                 Source

 CPS Case           The process of a CPS caseworker terminating the          http://www.dhs.st
 Closure            ongoing safety plan by ensuring all case notes are       ate.or.us/caf/safe
                    completed, the case file is in order and ready for       ty_model/procedu
                    filing, all services to the family have been closed,     re_manual/Orego
                    and completing the case closure narrative in the         n-DHS-Child-
                    child welfare electronic information system.             Welfare-
                                                                             Procedure-
                                                                             Manual.pdf (p.
                                                                             573)

 Children in        Children and young adults who are in the custody         Public
 Care               and supervision of Oregon CW and living in               Knowledge® and
                    substitute care.                                         Oregon CW

 Children Living    Children and young adults with cognitive,                Oregon
 with High          behavioral, and/or mental health issues. Children        Department of
 Needs [Can         and young adults with high needs may require             Human Services,
 also refer to      “intensive” authorized levels of care, which             Office of Child
 Child(ren) with    dictates the amount of payments for care;                Welfare
 Disabilities,      challenging diagnoses, behaviors, and other
 High Needs]        characteristics where placements disrupt
                    frequently and require new placements frequently.



 Children Who       Refers to a child who identifies as Lesbian, Gay,        Public
 Identify as        Bisexual, Transgender, Queer, Intersex, Asexual,         Knowledge®
 LGBTQIA2S+         Two-Spirit, and includes those who may not
                    identify with these terms and may use other
                    words to describe themselves (LGBTQIA2S+).
                    The Oregon CW Child Welfare Procedures Manual
                                                                             http://www.dhs.st
                    states that every person has a sexual orientation,
                                                                             ate.or.us/caf/safe
                    gender identity and expression (SOGIE) and they
                                                                             ty_model/procedu
                    may be congruent or completely different. Some
                                                                             re_manual/Orego
                    children and young adults with diverse SOGIE may
                                                                             n-DHS-Child-
                    identify as lesbian, gay, bisexual or transgender,
                                                                             Welfare-
                    and some may be questioning their sexual
                                                                             Procedure-
                    orientation or gender identity (LGBTQ). Other
                    young adults may not identify with these terms



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      Term                               Definition                               Source

                    and may use other words to describe themselves          Manual.pdf (p.
                    including but not limited to non-binary,                1067)
                    genderqueer, gender fluid, gender expansive,
                    agender, gender diverse, two-spirit, queer,
                    asexual, pansexual, etc. For this reason, there are
                    various permutations of acronyms used in
                    conversation and written materials to reflect
                    diversity of SOGIE. The acronyms SOGIE or
                    LGBTQ+ will be used.

 Concerted          Cooperative and directive planning toward a             Public
 Effort             mutually agreed upon goal.                              Knowledge®

 Concurrent         A case planning approach that involves                  https://www.child
 Planning           considering all reasonable options for                  welfare.gov/gloss
                    permanency at the earliest possible point               ary/glossaryc/
                    following a child's entry into foster care and
                    simultaneously pursuing those that will best serve
                    the child's needs. Typically, the primary plan is
                    reunification with the child's family of origin. This
                    primary plan and an alternative permanency goal
                    are pursued at the same time, with full knowledge
                    of all case participants. Concurrent planning
                    seeks to eliminate delays in attaining permanency
                    for children.

 Conditions for     Conditions in which CW and law enforcement have         ORS 419B.150
 Removal            established that a child is in imminent threat of
                    severe harm and use their authority to remove a
                    child from home.

 Conditions for     A written statement of the specific behaviors,          http://www.dhs.st
 Return             conditions, or circumstances that must exist            ate.or.us/caf/safe
                    within a child’s home before a child can safely         ty_model/procedu
                    return and remain in the home with an in-home           re_manual/Orego
                    ongoing safety plan.                                    n-DHS-Child-
                                                                            Welfare-
                                                                            Procedure-




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         Term                            Definition                                Source

                                                                            Manual.pdf (p.
                                                                            1951)

 Connections        Proximity to the child’s biological family,             Oregon
                    including siblings and the child’s school.              Department of
                    Connections that should be considered include           Human Services,
                    school, church, culture, community, and other           Office of Child
                    significant people in the child’s life who are          Welfare
                    important to the child’s well-being.

 Contacts [Can      Any communication between Child Welfare staff           http://www.dhs.st
 also refer to      and a child, young adult, parent or guardian,           ate.or.us/caf/safe
 Caseworker         foster parent or relative caregiver, provider, or       ty_model/procedu
 Contacts]          other individual involved in a Child Welfare safety     re_manual/Orego
                    plan or case. “Contact” includes, but is not limited    n-DHS-Child-
                    to, communication in person, by telephone, by           Welfare-
                    videoconferencing, or in writing. “Contact” may         Procedure-
                    occur, for instance, during a face-to-face visit; a     Manual.pdf (p.
                    treatment review meeting for a child, young adult,      1951)
                    parent, or guardian; a court or Citizen Review
                    Board hearing; or a family meeting.

 Continuous         A strength-based process that relies on teamwork        https://www.oreg
 Quality            to improve processes, services, and outcomes. It        on.gov/odhs/chil
 Improvement        is an ongoing cycle of collecting data and then         d-welfare-
 (CQI)              testing, implementing, learning from, and revising      transformation/Pa
                    solutions.                                              ges/principle-
                                                                            3.aspx

 Continuum of       Provides ongoing services for children in               https://www.child
 Care               substitute care from entry to exit. The goal of this    welfare.gov/topic
                    approach is to use the most appropriate and least       s/outofhome/fost
                    restrictive interventions, both in and out of the       er-
                    home, while ensuring that safety issues and needs       care/achieving-
                    are addressed.                                          continuum/

 Courtesy           Supervision provided when a child is placed             http://www.dhs.st
 Supervision        outside the county or state where the presenting        ate.or.us/caf/safe
 [Can also refer    issue originated. Courtesy supervision is provided      ty_model/procedu




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 to Cross-           by a caseworker in the receiving county or state,        re_manual/Orego
 County              and should address the child’s ongoing safety and        n-DHS-Child-
 Supervision or      well-being, and the reports should include dates         Welfare-
 Inter-County        and locations of face-to-face contact as well as         Procedure-
 Case Work]          updates concerning the child’s education,                Manual.pdf (p.
                     medical/ mental health services, and assessment          707)
                     of the child’s living environment.
                     Cross-county case supervision refers to when one
                     or more counties is providing ongoing case
                     management services for a county who holds
                     primary jurisdiction over the case.

 Critical Incident   An incident that resulted in the death of a child if     OAR 413-017-
                     the Department reasonably believes the death was         0059(4)
                     the result of child abuse and:
                     (a) The deceased child was in the custody of the
                     Department at the time of the fatality; or
                     (b) The deceased child, the deceased
                     child’s sibling, or any other child living in the
                     household with the deceased child was the
                     subject of a CPS assessment by the Department
                     within the 12 months preceding the fatality; or
                     (c) The child, the child’s sibling, or any
                     other child living in the household with
                     the child had a pending child welfare or adoption
                     case with the Department within the 12 months
                     preceding the fatality; or
                     (d) The deceased child, the deceased
                     child’s sibling, or any other child living in the
                     household with the deceased child was the
                     subject of a report of abuse made to the
                     Department or a law enforcement agency within
                     the 12 months preceding the fatality, whether the
                     report of abuse was closed at screening or
                     assigned for CPS assessment.
                     A fatality or serious injury where child abuse or
                     neglect is suspected; an event or situation which



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                    is highly concerning, may pose a potential
                    liability, is of emerging public or media interest or
                    represents an interest of security; any other
                    incident designated by the CW Director.

 Data Integrity     Validity of data over the entire life cycle.            Public
 and Accuracy                                                               Knowledge®



 Data Driven        Decision makers using objective information to          https://www.oreg
 Decision-          improve outcomes for the people they serve.             on.gov/odhs/chil
 Making                                                                     d-welfare-
                                                                            transformation/Pa
                                                                            ges/principle-
                                                                            3.aspx

 Data Quality       The comprehensive, purposeful, and iterative            https://www.acf.h
 Plan               efforts taken by Title IV-E agencies to ensure the      hs.gov/sites/defa
                    reliability and fitness of data for use as intended     ult/files/documen
                    in the support of child welfare policies, goals, and    ts/cb/ccwis_data_
                    practices. The agency must develop, implement,          quality_plans_pre
                    and maintain a data quality plan in a manner            sentation.pdf
                    prescribed by the Administration for Children and
                    Families and include it as part of Annual or
                    Operational APDs.

 Diligent           The ongoing identification and contact with a           Public
 Relative Search    child’s relatives and persons with a caregiver          Knowledge® and
                    relationship for the purposes of establishing           Oregon CW
                    ongoing connections and supports for families
                    and placing a child with his or her relatives on a
                    temporary or permanent basis. Diligent relative
                    search may begin as early as the CPS assessment
                    and continues throughout provision of ongoing
                    services.

 Effective          Producing an intended result or outcome.                Public
                                                                            Knowledge®




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      Term                               Definition                                Source

 Evaluation         Determining the quality of something.                    Public
                                                                             Knowledge®

 Face-to-Face       An in-person interaction between individuals.            http://www.dhs.st
 Contact                                                                     ate.or.us/caf/safe
                                                                             ty_model/procedu
                                                                             re_manual/Orego
                                                                             n-DHS-Child-
                                                                             Welfare-
                                                                             Procedure-
                                                                             Manual.pdf (p.
                                                                             1953)

 Family             Including families in all aspects of decision-           http://www.dhs.st
 Engagement         making through a collaborative and partnering            ate.or.us/caf/safe
                    process of engagement. The intent of family              ty_model/procedu
                    engagement is to assist families in keeping their        re_manual/Orego
                    children safe and thriving in their communities.         n-DHS-Child-
                                                                             Welfare-
                                                                             Procedure-
                                                                             Manual.pdf
                                                                             (pp. 167, 302,
                                                                             1867-1868)

 Family             "Child-family contact" means communication               OAR 413-070-
 Interaction        between the child or young adult and family and          0000(16)
                    includes, but is not limited to, visitation with the
                    child or young adult, participation in the child’s or
                    young adult's activities, and appointments, phone
                    calls, email, and written correspondence.
                    Contact between birth relatives, as defined under
                    ORS 109.305, and the child or young adult in
                    substitute care. Source: OAR 413-120-0000(12)
                    [M]aintain family relationships and cultural
                    connections with the child or young adult in
                    substitute care. Source: OAR 413-070-0060(4)
                    See also OAR 413-070-0072




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      Term                               Definition                              Source

 Family Report      A written, goal-oriented, and time-limited             http://www.dhs.st
                    individualized plan for the child and the child’s      ate.or.us/caf/safe
                    family, developed by the agency and the parents        ty_model/procedu
                    or guardians, to achieve the child’s safety,           re_manual/Orego
                    permanency, and well-being. The Case Plan,             n-DHS-Child-
                    along with the Permanency Plan and Court Report,       Welfare-
                    are part of the Family Report.                         Procedure-
                                                                           Manual.pdf (pp.
                                                                           1949, 1954,
                                                                           1961)

 Federal            A background check completed by the                    https://www.oreg
 Background         Background Check Unit (BCU), who provide               on.gov/odhs/bac
 Checks             background check services and support to all CW        kground-
                    and Oregon Health Authority (OHA) divisions for        checks/pages/def
                    employment purposes, for those who provide             ault.aspx
                    services or seek to provide services as a
                    contractor, subcontractor, vendor or volunteer, or
                    are employed by qualified entities that provide
                    care and are licensed, certified, registered or
                    otherwise regulated by CW or OHA. The checks
                    search for crimes prosecuted at a federal level.

 Foster Care        24-hour substitute care for children placed away       http://www.dhs.st
                    from their parents or guardians and for whom the       ate.or.us/caf/safe
                    Department, or another public agency, has              ty_model/procedu
                    placement and care responsibility. This includes       re_manual/Orego
                    but is not limited to placements in foster homes,      n-DHS-Child-
                    foster homes of relatives, group homes,                Welfare-
                    emergency shelters, residential facilities, child-     Procedure-
                    care institutions, and pre-adoptive homes. A child     Manual.pdf (p.
                    or young adult is in foster care in accordance with    1955)
                    this definition regardless of whether the foster
                    care facility is licensed, and payments are made
                    by the Department or local agency responsible for
                    the care of the child, whether adoption subsidy
                    payments are being made prior to the finalization




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      Term                                Definition                             Source

                    of the adoption or whether there is federal
                    matching of any payments that are made.

 Foster Parent(s)   A person who operates a home that has been             http://www.dhs.st
 [also known as     approved by the Department to provide care for         ate.or.us/caf/safe
 Resource           an unrelated child or young adult placed in the        ty_model/procedu
 Parent]            home by the Department.                                re_manual/Orego
                    Please also refer to definition for Relative           n-DHS-Child-
                    Caregiver, below.                                      Welfare-
                                                                           Procedure-
                                                                           Manual.pdf (pp.
                                                                           1955, 1966)

 Frequency of       The cadence of family interaction for a child in       Public
 Visits             substitute care and may be with their parents,         Knowledge® and
                    siblings and/or relatives.                             Oregon CW

 Guardian           An individual who has been granted guardianship        http://www.dhs.st
                    of a child through a judgment of the court.            ate.or.us/caf/safe
                                                                           ty_model/procedu
                                                                           re_manual/Orego
                                                                           n-DHS-Child-
                                                                           Welfare-
                                                                           Procedure-
                                                                           Manual.pdf (p.
                                                                           1955)

 Guardianship       Guardianship is a strategy and permanency option       Child Welfare
                    that is most frequently used when relative             Information
                    caregivers wish to provide a permanent home for        Gateway
                    the child and maintain the child's relationships
                    with extended family members without a
                    termination of parental rights, as is required for
                    an adoption. Guardianship promotes the
                    preservation of family, community, and cultural
                    ties and potentially reduces racial
                    disproportionality and disparities in child welfare.




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       Term                                Definition                               Source

 Identified         Areas of concern or areas needing improvement            Public
 Needs              that are identified through an individualized            Knowledge®
                    assessment process.

 Identified         The time between the publish date of Public              Public
 Timeframe          Knowledge®’s 2016 Child Safety in Substitute             Knowledge®
                    Care Independent Review Final Report (September
                    12, 2016) and present day.

 Impending          A family behavior, condition, or circumstance that       http://www.dhs.st
 Danger Safety      meets all five safety threshold criteria. When it is     ate.or.us/caf/safe
 Threat             occurring, this type of threat is not immediate,         ty_model/procedu
                    obvious, or occurring at the onset of the CPS            re_manual/Orego
                    intervention. This threat is identified and              n-DHS-Child-
                    understood more fully by evaluating and                  Welfare-
                    understanding individual and family functioning.         Procedure-
                                                                             Manual.pdf (p.
                                                                             1957)

 Improve            A measurable change toward an accepted child             Public
                    welfare standard.                                        Knowledge®

 Independent        Skill-building services provided to young adults         https://www.cour
 Living Services    aged 16 and older and in substitute care to help         ts.oregon.gov/pro
                    transition young adults from foster care to              grams/jcip/Educa
                    independent adulthood. CW is required to provide         tionMaterials/201
                    support to young adults aged 14 and older to             9Eyes/Assessing.
                    create an independent living transition plan and         pdf
                    build life skills.

 Initial Staff      Classroom, field activities, and computer-based          https://www.pdx.
 Training           learning required for new caseworkers within their       edu/center-child-
                    first year of employment at CW.                          family/essential-
                                                                             elements-
                                                                             session-
                                                                             summaries

 Investigations     Assessment into a report of abuse that includes          http://www.dhs.st
 [Can also refer    activities and interventions to identify and analyze     ate.or.us/caf/safe
 to Abuse in        safety threats, determine if there is reasonable         ty_model/procedu


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        Term                              Definition                            Source

 Care               cause to believe abuse occurred, and assure child     re_manual/Orego
 Investigations     safety through protective action plans, initial       n-DHS-Child-
 or CPS             safety plans, or ongoing safety planning.             Welfare-
 Assessment]                                                              Procedure-
                                                                          Manual.pdf (p.
                                                                          1950)

 Kin                Distantly related persons, including those persons    http://www.dhs.st
                    who the family or child identifies, or the person     ate.or.us/caf/safe
                    self-identifies, as being related by blood,           ty_model/procedu
                    adoption, or marriage but to a degree other than      re_manual/Orego
                    those specified as relatives.                         n-DHS-Child-
                                                                          Welfare-
                                                                          Procedure-
                                                                          Manual.pdf (pp.
                                                                          620, 1579)

 Kith               A person not related to the child by blood or         http://www.dhs.st
                    through legal means but are identified by the         ate.or.us/caf/safe
                    child or the family and are considered by the child   ty_model/procedu
                    or child’s family as a relative.                      re_manual/Orego
                                                                          n-DHS-Child-
                                                                          Welfare-
                                                                          Procedure-
                                                                          Manual.pdf (pp.
                                                                          620, 1579)

 Level of Need      The measure of evidence a child is displaying a       Adapted from the
                    certain need or behavior and the corresponding        Oregon
                    action needed, as used in the Child and               Comprehensive
                    Adolescent Needs and Strengths (CANS) Tool.           Screening Tool
                                                                          Manual:
                                                                          https://oregonwr
                                                                          aparound.org/wp
                                                                          -
                                                                          content/uploads/
                                                                          2020/05/607Ore
                                                                          gonCANSCompre




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      Term                               Definition                              Source

                                                                           hensiveManual0-
                                                                           5_181214.pdf



 Mental or          Needs identified from a state of mental,               Public
 Behavioral         behavioral, emotional well-being, and choices and      Knowledge®
 Health Needs       actions that affect wellness.

 Middle Manager     A manager at a level between leadership and            Public
                    frontline supervisor.                                  Knowledge®

 Oregon Health      The Oregon Health Authority works to lower and         https://www.oreg
 Authority (OHA)    contain healthcare costs, improve quality, and         on.gov/oha/Pages
                    increase access to healthcare for Oregonians.          /Portal-About-
                                                                           OHA.aspx

                    The OHA provides behavioral health services to         https://www.oreg
                    children and families throughout Oregon,               on.gov/oha/HSD/
                    including early childhood mental health, school-       BH-Child-
                    based mental health partnerships, intensive            Family/Pages/ind
                    services, in-home services, family supports,           ex.aspx
                    substance use disorder programs, and young
                    adult suicide prevention programs.

 Organizational     A structured process that makes change happen          Public
 Change             quicker, smoother, and less painfully for leaders,     Knowledge®
 Management         staff, stakeholders, and customers. It is a
                    structured methodology that, at its core, is
                    helping move an organization from its current
                    state to a new desired state. Simply put, OCM
                    addresses the people side of change
                    management.

 Out-of-State       Placements selected when treatment providers or        Public
 Placements         placement options in Oregon are unable to serve        Knowledge® and
                    a child in Child Welfare’s care due to the child’s     Oregon CW (ORS
                    unique or severe treatment needs. These                417.200)
                    placements fall under the Interstate Compact for
                    the Placement of Children.




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         Term                             Definition                                Source

 Parents [Can       The biological or adoptive mother or the legal            http://www.dhs.st
 also refer to      father of the child. A legal father is a man who          ate.or.us/caf/safe
 Biological         has adopted the child or whose paternity has              ty_model/procedu
 Families]          been established or declared under ORS 109.070,           re_manual/Orego
                    ORS 416.400 to 416.610, or by a juvenile court.           n-DHS-Child-
                    In cases involving an Indian child under the Indian       Welfare-
                    Child Welfare Act (ICWA), parent means any                Procedure-
                    biological parent of an Indian child, or any Indian       Manual.pdf (p.
                    who has lawfully adopted an Indian child,                 1961)
                    including adoptions under tribal law or custom. It
                    does not include an unwed biological father where
                    paternity has not been acknowledged or
                    established. “Parent” also includes a putative
                    father who has demonstrated a direct and
                    significant commitment to the child by assuming
                    or attempting to assume responsibilities normally
                    associated with parenthood, unless a court finds
                    that the putative father is not the legal father.

 Performance-       The process of determining rates paid to                  Public
 Based              providers based on performance on established             Knowledge®
 Contracting        metrics and data points.

 Permanency         Stability and lifelong, reliable connections for          Public
 [Can also refer    children and young adults in substitute care.             Knowledge® and
 to Permanence,     *Legal permanence refers to a child’s relationship        Oregon CW
 Legal              with a parenting adult that is recognized by law
 Permanence, or     and that the adult is the child’s birth, kin, foster,     https://www.aecf.
 Relational         guardian, or adoptive parent.                             org/blog/what-
 Permanence]
                    *Relational permanence refers to important long-          is-permanence/
                    term, stable relationships that help a child or
                    young adult feel loved and connected.

 Permanency         The court’s determination of the permanency plan          ORS 419B.476(4)
 Goal               for the ward that includes whether and, if
                    applicable, when:
                    (A) The ward will be returned to the parent




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                    (B) The ward will be placed for adoption, and a
                    petition for termination of parental rights will be
                    filed
                    (C) The ward will be referred for establishment of
                    legal guardianship
                    (D) The ward will be placed with a fit and willing
                    relative
                    (E) If the ward is 16 years of age or older, the
                    ward will be placed in another planned permanent
                    living arrangement

 Permanency         The hearing that determines the permanency plan         http://www.dhs.st
 Hearings           for the child. The permanency hearing is                ate.or.us/caf/safe
                    conducted by a juvenile court, another court of         ty_model/procedu
                    competent jurisdiction or by an authorized tribal       re_manual/Orego
                    court.                                                  n-DHS-Child-
                                                                            Welfare-
                                                                            Procedure-
                                                                            Manual.pdf (p.
                                                                            1961)

 Permanency         Preference of permanency plans reflected in             ORS 419B.476(5)
 Outcome            statute:
                     Reunification
                     Adoption (TPR)
                     Guardianship (durable and permanent)
                     Fit and Willing Relative
                     Another Permanent Planned Living Arrangement
                    (APPLA)

 Permanency         A written course of action for achieving safe and       http://www.dhs.st
 Plan               lasting family resources for the child or young         ate.or.us/caf/safe
                    adult. Although the plan may change as more             ty_model/procedu
                    information becomes available, the goal is to           re_manual/Orego
                    develop safe and permanent resources with the           n-DHS-Child-
                    parents, relatives, or other people who may             Welfare-
                    assume responsibility for the child or young adult      Procedure-



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        Term                              Definition                              Source

                    during the remaining years of dependency and be         Manual.pdf (p.
                    accessible and supportive to the child in               1962)
                    adulthood.

 Physical Health    Medical and dental health needs identified and          Public
 Needs              addressed.                                              Knowledge®

 Placement          The arrangement for the care of a child in the          OAR 413-040-
                    home of a parent, a foster home, relative foster        0000(55)
                    home, non-paid relative home, or a child-caring
                    agency or institution. It does not include the
                    arrangement for care in an institute caring for the
                    mentally ill, an institution primarily educational in
                    character, or a hospital or other medical facility.

 Placement          Movement of a child in substitute care from one         Public
 Changes [Can       placement to another.                                   Knowledge®
 also refer to
 Placement
 Change
 Decision]

 Placement          Ensuring that children remain in stable out-of-         https://www.child
 Stability          home care, avoiding disruption, removal, and            welfare.gov/gloss
                    repeated placements that have harmful effects on        ary/glossaryp/
                    child development and well-being.

 Placing            The process of removing a child from his or her         Public
                    family of origin or caregivers to a safe, temporary     Knowledge®
                    living situation.

 Population of      An overall demographic representation of children       Public
 Children in        and young adults in the custody of CW.                  Knowledge®
 Care

 Present Danger     An immediate, significant, and clearly observable       http://www.ODHS
 Safety Threat      family behavior, condition, or circumstance             .state.or.us/caf/s
                    occurring in the present tense, already                 afety_model/proc
                    endangering or threatening to endanger a child          edure_manual/Or
                    or, when applicable, a young adult. The family          egon-ODHS-



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                    behavior, condition, or circumstance is happening       Child-Welfare-
                    now, and it is currently in the process of actively     Procedure-
                    placing a child or, when applicable, a young adult      Manual.pdf (p.
                    in peril.                                               1963)

 Proctor Foster     A foster home certified by a Child Caring Agency        http://www.ODHS
 Home               (CCA). A proctor foster home must meet minimum          .state.or.us/policy
                    standards as established by rules adopted by CW         /childwelfare/ma
                    or the Oregon Youth Authority. Proctor foster           nual_1/division_2
                    homes also receive a pass-through certification         15.pdf
                    from CW.

 Progress           The actions CW has made to implement                    Public
                    recommendations or address concerns through             Knowledge®
                    identifiable and credible strategies and processes.

 Provider           A critical step in finding prospective families for a   http://www.ODHS
 Recruitment        child and should be tailored to the specific child.     .state.or.us/caf/s
                                                                            afety_model/proc
                                                                            edure_manual/Or
                                                                            egon-ODHS-
                                                                            Child-Welfare-
                                                                            Procedure-
                                                                            Manual.pdf

 Qualified          Applicants for a caseworker position must meet          https://apps.oreg
 Caseworker         the following requirements:                             on.gov/DAS/Class
                     • A bachelor’s degree in Human Services or a           ification-
                       field related to human service; or                   Compensation/Jo
                     • A bachelor’s degree unrelated to Human               bProfile/Title/Soci
                       Services; and either                                 alServiceSpecialist
                     • One year of Human Services related                   1/JobProfileCode/
                       experience; or                                       6612/Category/H
                     • Completion of coursework equivalent to               umanServicesand
                       certification consistent with Oregon                 Medical/Minimum
                       Caseworker Competency; or                            Qualifications
                     • An associate degree and either
                     • Two years of Human Service-related
                       experience; or



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      Term                                Definition                               Source

                     • One year of Human Services related experience
                        and related training, coursework or
                        certification consistent with Oregon
                        Caseworker Competency

 Quality             The degree to which an object or entity (such as a      Public
                     process, product, or service) satisfies a specified     Knowledge®
                     set of attributes or requirements.

 Quality of Visits   Purposeful interactions between caseworkers and         Public
                     children, young adults, parents, and resource           Knowledge®
                     parents that reflect engagement and contribute to
                     assessment and case planning processes in order
                     to achieve outcomes.


                     Oregon CW refers to frequency of visits and
                     quality of visits together (see Frequency of Visits
                     as defined above). For purposes of this review, PK
                     separated out frequency of visits and quality of
                     visits as two separate concepts.

 Rates               Payments made to substitute care providers              Public
                     intended to offset some of the costs associated         Knowledge®
                     with caring for children.

 Re-Entry            Of all children who enter foster care in a 12-          https://capacity.c
                     month target period and discharged within 12            hildwelfare.gov/si
                     months to reunification, living with a relative(s),     tes/default/files/
                     or guardianship, what percent re-entered foster         media_pdf/Reentr
                     care within 12 months of discharge.                     y-to-Foster-
                                                                             Care-508.pdf

 Relative            A person related to the child or young adult            http://www.dhs.st
                     through a parent, including a putative father,          ate.or.us/caf/safe
                     unless the relationship has been dissolved by           ty_model/procedu
                     adoption of the child, young adult, or parent. This     re_manual/Orego
                     includes:                                               n-DHS-Child-
                     • Blood relatives that have prefixes of grand,          Welfare-
                        great, or great-great.                               Procedure-



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      Term                                 Definition                             Source

                     • Half blood relatives with prefixes of grand,        Manual.pdf (p.
                       great, or great-great. Individuals with one         743)
                       common biological parent are half-blood
                       relatives.
                                                                           OAR 413-070-
                     • Aunts/Uncles.
                                                                           0000(80)
                     • Nieces/nephews.
                     • First Cousins and First Cousins once-removed
                       (a parent’s cousin).
                     • The spouses of any of the above-listed
                       relatives.
                     • The ex-spouses of any of the those persons
                       listed above. if the child or young adult had a
                       relationship with the child PRIOR to entering
                       substitute care.
                     • Siblings, including siblings that are related
                       through a putative father.

 Relative           A person defined as a “relative” under OAR 413-        http://www.dhs.st
 Caregiver [Can     070-0000 who operates a home that has been             ate.or.us/caf/safe
 also refer to      approved by the Department to provide care for a       ty_model/procedu
 Kinship            related child or young adult placed in the home        re_manual/Orego
 Caregiver]         by the Department.                                     n-DHS-Child-
                                                                           Welfare-
                                                                           Procedure-
                                                                           Manual.pdf (p.
                                                                           1966)

 Removal [Can       Either the physical act of a child being taken from    http://www.dhs.st
 also refer to      his or her normal place of residence by court          ate.or.us/caf/safe
 Removed]           order or a voluntary placement agreement and           ty_model/procedu
                    placed in a foster care setting, or the removal of     re_manual/Orego
                    custody from the parent or relative guardian           n-DHS-Child-
                    pursuant to a court order or voluntary placement       Welfare-
                    agreement which permits the child to remain in a       Procedure-
                    foster care setting.                                   Manual.pdf (p.
                                                                           1966)




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        Term                             Definition                                Source

 Report [Can        An allegation of abuse that the screener evaluates      http://www.dhs.st
 also refer to      to determine if it constitutes a report of abuse as     ate.or.us/caf/safe
 CPS Report]        defined in ORS 419B.005 or, when applicable,            ty_model/procedu
                    Oregon Laws 2017, chapter 733.                          re_manual/Orego
                                                                            n-DHS-Child-
                                                                            Welfare-
                                                                            Procedure-
                                                                            Manual.pdf (p.
                                                                            1966)

 Required           The accepted amount of time required for a given        Public
 Timeframe          action based on policy.                                 Knowledge®

 Response Time      The time frame to initiate the CPS assessment and       http://www.dhs.st
                    is determined by the urgency of the report.             ate.or.us/caf/safe
                    Urgency is determined by reported family                ty_model/procedu
                    behaviors, conditions and circumstances that            re_manual/Orego
                    represent a present or impending danger.                n-DHS-Child-
                                                                            Welfare-
                                                                            Procedure-
                                                                            Manual.pdf (p.
                                                                            1967)

 Reunification      Placement with a parent or guardian.                    http://www.dhs.st
                                                                            ate.or.us/caf/safe
                                                                            ty_model/procedu
                                                                            re_manual/Orego
                                                                            n-DHS-Child-
                                                                            Welfare-
                                                                            Procedure-
                                                                            Manual.pdf (p.
                                                                            197)

 Risk               The extent to which key factors are present in a        Public
                    family situation that increases the likelihood of       Knowledge®
                    future maltreatment to a child or adolescent.

 Safe [Can also     The absence of present danger safety threats and        http://www.dhs.st
 refer to Safety]   impending danger safety threats.                        ate.or.us/caf/safe



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      Term                                Definition                                 Source

                                                                             ty_model/procedu
                                                                             re_manual/Orego
                                                                             n-DHS-Child-
                                                                             Welfare-
                                                                             Procedure-
                                                                             Manual.pdf (p.
                                                                             1967)

 Safety Culture     Behaviors and practices of an organization that
                    prioritize the safety of children and families as        https://capacity.c
                    well as the ability of individuals to speak up           hildwelfare.gov/si
                    without fear of reprisal.                                tes/default/files/
                                                                             media_pdf/worker
                                                                             -safety-guide-
                                                                             cp-00121.pdf
                                                                             (p.4)

 Safety Threat      A Present Danger Safety Threat is an immediate,          http://www.dhs.st
 [Can include       significant, and clearly observable family               ate.or.us/caf/safe
 Present Danger     behavior, condition or circumstance occurring in         ty_model/procedu
 Safety Threats     the present tense, already endangering or                re_manual/Orego
 or Impending       threatening to endanger a child or, when                 n-DHS-Child-
 Danger Safety      applicable, young adult. The family behavior,            Welfare-
 Threats]           condition, or circumstance is happening now, and         Procedure-
                    it is currently in the process of actively placing a     Manual.pdf (p.
                    child or, when applicable, young adult in peril.         197)
                    An Impending Danger Safety Threat is a family
                    behavior, condition, or circumstance that meets          OAR 413-015-
                    all five safety threshold criteria. When it is           0115(26)
                    occurring, this type of threat is not immediate,
                    obvious, or occurring at the onset of the CPS
                    intervention. This threat is identified and
                    understood more fully by evaluating and
                    understanding individual and family functioning.

 Safety             The point at which family behaviors, conditions,         http://www.dhs.st
 Threshold          or circumstances are manifested in such a way            ate.or.us/caf/safe
                    that they are beyond being risk influences and           ty_model/procedu



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      Term                              Definition                               Source

                    have become an impending danger safety threat.         re_manual/Orego
                    In order to reach the “safety threshold” the           n-DHS-Child-
                    behaviors, conditions, or circumstances must           Welfare-
                    meet all of the following criteria: be imminent, be    Procedure-
                    out of control, affect a vulnerable child or young     Manual.pdf (p.
                    adult, be specific and observable, and have            1967)
                    potential to cause severe harm. The “safety
                    threshold” criteria are used to determine the
                    presence of an impending danger safety threat.

 Screening          The process used by a screener to determine the        http://www.dhs.st
                    response to information received.                      ate.or.us/caf/safe
                                                                           ty_model/procedu
                                                                           re_manual/Orego
                                                                           n-DHS-Child-
                                                                           Welfare-
                                                                           Procedure-
                                                                           Manual.pdf (p.
                                                                           1967)

 Service Array      The range of service options that CW provides to       Public
                    clients.                                               Knowledge®

 Service Goal       The observable, sustained change in behavior,          http://www.dhs.st
 [Can also refer    condition, or circumstance, that when                  ate.or.us/caf/safe
 to Case Goal]      accomplished, achieves the desired effect.             ty_model/procedu
                                                                           re_manual/Orego
                                                                           n-DHS-Child-
                                                                           Welfare-
                                                                           Procedure-
                                                                           Manual.pdf# page
                                                                           =1840

 Service            The ongoing process of delivering services to          Public
 Provision          clients by CW and its providers.                       Knowledge®

 Service(s)         Assistance that the Department provides to             http://www.dhs.st
                    clients.                                               ate.or.us/caf/safe
                                                                           ty_model/procedu




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         Term                            Definition                               Source

                                                                          re_manual/Orego
                                                                          n-DHS-Child-
                                                                          Welfare-
                                                                          Procedure-
                                                                          Manual.pdf# page
                                                                          =1840

 Staff Turnover     The measurement of the number of employees            Public
                    who leave CW during an identified timeframe.          Knowledge®

 Substitute Care    The out-of-home placement of a child or young         http://www.ODHS
 [Can also refer    adult who is in the legal or physical custody and     .state.or.us/policy
 to Placements      care of the Department.                               /childwelfare/ma
 or Substitute                                                            nual_1/division_7
 Care Providers]                                                          0.pdf

 Supervision        The act of overseeing children and young adults       Oregon
                    in order to assure child safety.                      Department of
                                                                          Human Services,
                                                                          Office of Child
                                                                          Welfare

 Supervision and    The act of monitoring and directing the               Public
 Oversight          performance and activities of Child Protective        Knowledge® and
                    Services (CPS) and Permanency staff, contracted       Oregon CW
                    providers, or others delivering services to
                    families, children, and young adults.

 Supporting         The process of providing assistance to address an     Public
                    identified need.                                      Knowledge®

 Temporary          A short term, time-limited placement.                 Public
 Placement                                                                Knowledge®

 Termination of     A court of competent jurisdiction has entered an      http://www.dhs.st
 Parental Rights    order terminating the rights of the parent or         ate.or.us/caf/safe
 (TPR)              parents, pursuant to ORS 419B.500 through             ty_model/procedu
                    419B.530 or the statutes of another state. The        re_manual/Orego
                    date of the termination order determines the          n-DHS-Child-
                    effective date of the termination even if an appeal   Welfare-



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         Term                            Definition                               Source

                    of that order has been filed according to ORS          Procedure-
                    419A.200. Per ORS 419B.500 and ORS                     Manual.pdf (p.
                    418.270(4), voluntary relinquishment of parental       1970)
                    rights is revocable until the child is physically
                    placed in the adoptive placement.

                                                                           ORS 419B.500

 Tracking           Monitoring and measuring the goals, progress, or       Public
                    outcomes.                                              Knowledge®

 Training [Can      The process of developing a skilled child welfare      https://www.child
 also refer to      workforce and to achieving outcomes of safety,         welfare.gov/topic
 Training           permanency, and well-being for children                s/management/tr
 Resources]         entrusted to the care of the public child welfare      aining/
                    system.

 Treating           The process of providing care and attention to         Public
                    emotional, behavioral, physical, or social issues or   Knowledge®
                    medical needs.

 Visit              Planned, in-person contact between the child or        http://www.dhs.st
                    young adult and one or more family members.            ate.or.us/caf/safe
                                                                           ty_model/procedu
                                                                           re_manual/Orego
                                                                           n-DHS-Child-
                                                                           Welfare-
                                                                           Procedure-
                                                                           Manual.pdf (p.
                                                                           1971)

 Visitation         Visitation is an interactive face-to-face contact      http://www.dhs.st
                    between a child and his or her parents, siblings or    ate.or.us/caf/safe
                    other family members. When reunification is the        ty_model/procedu
                    goal, the visit and contact plan should include        re_manual/ch04/
                    progressively increased parental responsibility for    ch4-
                    the daily care of the child. When reunification no     section26.pdf
                    longer is the goal, a visit and contact plan can
                    help family members understand and accept the
                    alternative permanency plan. Whatever the goal,



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      Term                                Definition                             Source

                    visits strengthen and maintain family
                    relationships, enhance a child’s well-being, and
                    affirm the importance of parents in the child’s
                    life. For the duration of Governor Brown’s Stay at
                    Home, Save Lives Order (EO 20-12), visitation
                    takes place as provided in the Protocol for In-
                    Person Parent/Child Visits During COVID-19.

 Well-Being         The physical, dental, behavioral, mental health,       Public
                    and educational needs of children and young            Knowledge® and
                    adults are being identified and met.                   Oregon CW

 Workforce [Can     People employed by Child Welfare to design,            Public
 also refer to      deliver and oversee the child welfare agency           Knowledge® and
 Staffing           service array.                                         Oregon CW
 Resources or
 Resources]




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Appendix C: Entities
         Term                                          Definition

 CPS                     Child Protective Services. CPS responds to child abuse reports.
                         CPS-trained caseworkers across the state listen to reports of
                         abuse, assess the situations, and prepare safety plans to assist
                         children and families.

 CPS Hotline             Anyone can report child abuse to the Oregon Child Abuse Hotline
                         by calling 1-855-503-SAFE (7233). The Oregon Child Abuse
                         Hotline receives calls 24 hours a day, 7 days a week, 365 days a
                         year. This toll-free number allows anyone to report abuse of any
                         child or adult to the Oregon Department of Human Services. Child
                         abuse can also be reported by calling a local police department,
                         county sheriff, county juvenile department, or Oregon State Police.

 Child Welfare           Child Welfare is a continuum of services designed to ensure
                         that children are safe at home and that families have the necessary
                         support to care for their children successfully. In Oregon, Child
                         Welfare includes Adoption services, Child Protective Services,
                         Foster Care, Family Preservation, and the Independent Living
                         Program.

 ODHS [Agency]           Department of Human Services. ODHS is Oregon’s principal agency
                         for helping Oregonians achieve wellbeing and independence
                         through opportunities that protect, empower, respect choice, and
                         preserve dignity, especially for those who are least able to help
                         themselves. Divisions include: Assistance, Children & Youth,
                         Seniors & People with Disabilities, and other services.

 OCI                     The Office of Continuous Improvement works in partnership with
                         ODHS programs. All work is directly requested from the field or
                         from program. OCI and ODHS staff collaborate and work together
                         to improve current processes, create efficiencies, and implement
                         more effective ways of delivering services, all of which directly
                         impacts and ultimately benefits ODHS clients.

 ODDS                    The Oregon Office of Developmental Disabilities Services supports
                         individuals with disabilities and their families within their
                         communities by promoting and providing services that are



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         Term                                           Definition

                         individualized, flexible, and community-focused, and that support
                         each person’s talents and abilities.

 OHA                     Oregon Health Authority. OHA is the agency that oversees and
                         administers Medicaid and other public health programs in
                         Oregon such as the Oregon Health Plan, Healthy Kids, the Oregon
                         State Hospital, and other programs.

 ORCAH                   Oregon Child Abuse Hotline. The hotline was centralized in April
                         2019, allowing all reports of maltreatment to be reported to a
                         single entity.

 OTIS                    Office of Training and Investigative Services is part of ODHS and is
                         responsible for training, coordinating and conducting abuse
                         investigations and providing protective services statewide to
                         reports of neglect and abuse of vulnerable adults including adults
                         over the age of 65; adults with physical disabilities; adults with
                         developmental disabilities; adults with mental illness; and children
                         receiving residential treatment services.

 OSOQ                    Office of Safety, Oversight, and Quality (formerly OLRO). OLRO is
                         part of ODHS and is responsible for licensing or registering
                         regulatory and corrective action functions for long term care
                         facilities and agencies including children’s residential care
                         agencies, foster care agencies, adoption agencies, assisted living
                         facilities, and other such facilities and agencies.




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   DATE                                   Description                              BATES NO. / DKT NO.

2013           Bill of Rights Presentation - Foster Care Ombudsman               Wyatt_DHS_1784249

2014           BRS Training resources - Practitioners Resource Guide Helping     Wyatt_DHS_0886565
               Families to Support LGBTQ youth

2014           BRS Training resources - Best Practice for Serving Trans youth    Wyatt_DHS_2675657

2016           2016 ODHS Child Welfare Procedure Manual                          To produce

2016           DHS District Map                                                  Wyatt_DHS_0774580

2016           Oregon CFSR Round 3 Final Report                                  Wyatt_DHS_0062317

2016           2016 HB 4080 Establishing CFCAC                                   Wyatt_DHS_0064311

2016           Foster Care Ombudsman Annual Report                               Wyatt_DHS_1785342

2016           DHS Legislative Session Report                                    To produce

2017           Policy Transmittals                                               To produce

2017           ORS 418.005                                                       To produce

2017           Foster Care Ombudsman Annual Report                               Publicly available
               (https://www.oregon.gov/odhs/about/gaofco/fco-fy17-
               report.pdf)

2017           DHS Legislative Session Report                                    Wyatt_DHS_2547450

2017           2017 Becoming a Data Informed Organization                        Wyatt_DHS_0114360

2017           Services for Children with Intellectual or Developmental          To produce
               Disabilities

2017           2017 Oregon Annual Progress & Service Report (APSR)               Wyatt_DHS_0307093

2018           Policy Transmittals                                               To produce

2018           CWAC Membership 2018                                              To produce

2018           Crisis Care Guidance_2018_1                                       To produce

2018           Year-2-Report-EveryChild                                          Wyatt_DHS_0057372

2018           Foster Care Ombudsman Annual Report                               Wyatt_DHS_0061203

2018           2018 ILP Eligibility                                              Wyatt_DHS_0072213



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2018           SB 413 ORS 418319 Children Placed in Foster Care Leg Report         Wyatt_DHS_0265382
               2018

2018           DHS Legislative Session Report                                      To produce

2018           2018 OAR 413 Temporary Rules                                        Publicly available
               (https://www.oregonlegislature.gov/citizen_engagement/Report
               s/2018-DHS-OAR%20413%20Temporary%20Rules.pdf)

2018           2018 ORRAI Child Welfare Future Research Agenda                     Wyatt_DHS_0114663

2018           Child Maltreatment - Children's Bureau (Oregon Excerpt)             To produce

2018           Child Maltreatment - Children's Bureau                              To produce

2018           Child Welfare District Listening Tour                               Wyatt_DHS_0134291

2018           Oregon CJA Performance Report & Application for 2018-2021           Wyatt_DHS_2242505

2018           2018 Oregon Annual Progress & Service Report (APSR)                 Wyatt_DHS_0242922

2019           Policy Transmittals                                                 To produce

2019           2019 CCO Performance Report                                         Wyatt_DHS_2715220

2019           2019 A&M Communications Process                                     Wyatt_DHS_0133507

2019           SB 832 Declares purpose of Critical Incident Review Teams           Wyatt_DHS_2092204

2019           SPRF 2019 Legislative Report                                        Wyatt_DHS_0221635

2019           SPRF Financials for 2019 Legislative report                         Wyatt_DHS_0221645

2019           Foster Care Ombudsman Annual Report                                 Publicly available
               (https://www.oregon.gov/odhs/about/gaofco/fco-fy19-
               report.pdf)

2019           2019 APSR_ILP Discretionary Funds_youth served                      To produce

2019           2019 Oregon ILP outcomes for 2019 (for managers meeting )           Wyatt_DHS_2689312

2019           2019 Oregon ILP outcomes for 2019 (shorter version)                 Wyatt_DHS_4623307

2019           2019 TP & ILP Services-Perm Qtrly                                   Wyatt_DHS_1642692

2019           SB 171 2019 Joint Plan to Develop In-State Capacity and             Wyatt_DHS_0062551
               Minimize Out-of-state Placements of Children Leg Report



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2019           SB 171 Measure Summary                                           Wyatt_DHS_1983636

2019           SB 171                                                           Wyatt_DHS_0510470

2019           Senate Bill 1 - Staff Measure Summary (Ways and Means)           Publicly available

2019           Senate Bill 1 - System of Care Advisory Counsel                  Publicly available
               (https://olis.oregonlegislature.gov/liz/2019R1/Downloads/Mea
               sureDocument/SB1/Enrolled)

2019           Comparison of 2015-17 Programs to Governor's Budget for          To produce
               2017-19

2019           Comparison of 2017-19 Budget to the 2019-21 LAB                  Wyatt_DHS_0223042

2019           Marion County LGBTQ Foster Youth Workgroup Participant List      Wyatt_DHS_0288817

2019           ORCAH Call Volume Q1                                             Wyatt_DHS_0272900

2019           Safety at Screening- Variables                                   Wyatt_DHS_3566929

2019           2019 Oregon Child Abuse Hotline Presentation                     Wyatt_DHS_2675676

2019           ORS Chapter 417 — Interstate Compacts on Juveniles and           Publicly available
               Children; Children and Family Services
               (https://www.oregonlegislature.gov/bills_laws/ors/ors417.html)


2019           ORS Chapter 418 — Child Welfare Services                         Publicly available
               (https://www.oregonlegislature.gov/bills_laws/ors/ors418.html)

2019           ORS Chapter 419B — Juvenile Code Dependency                      Publicly available
               (https://www.oregonlegislature.gov/bills_laws/ors/ors419b.htm
               l)

2019           Juvenile Dependency Overview                                     To produce

2019           2019 Fairness in Machine-Learning-Generated Risk Scores via      Wyatt_DHS_0121911
               Equitable Methodology

2019           DHS Highlights                                                   Wyatt_DHS_4389657

2019           2019 Oregon Annual Progress & Service Report (APSR)              Wyatt_DHS_0062358

2019           CWOB meeting materials, minutes, and bi-weekly reports           Wyatt_DHS_0133991 -
                                                                                Wyatt_DHS_0134778



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2020           District 2 Administrative Org Chart (Portland - Multnomah          Wyatt_DHS_2690771
               County)

2020           Report and Dashboard Inventory                                     To produce

2020           Juvenile Dependency Overview                                       To produce

2020           Placements - Continuum of Care Beyond Foster Care                  Wyatt_DHS_0776177

2020           2020 Child Welfare Data Book                                       Wyatt_DHS_2715987

2020           Policy Transmittals                                                To produce

2020           2020-21 FYCAPTA Citizen Review Panel Report                        Wyatt_DHS_2709742

2020           COVID-19 Resources Combined                                        Wyatt_DHS_2709771

2020           2020 Annual CCO Metrics Report_FINAL                               Wyatt_DHS_2715061

2020           MOU ODHS and CRB signed                                            To produce

2020           2020 DHS Child Abuse Reporting Guide                               Wyatt_DHS_2159379

2020           2020 DHS Family Wellbeing Assessment                               Wyatt_DHS_2691417

2020           DHS Fingerprinting for Contracted Service Providers                Wyatt_DHS_3589066

2020           DHS Guidance for Contracted Providers                              Wyatt_DHS_2754640

2020           DHS Permanency Work                                                Wyatt_DHS_2689369

2020           OAR 413-017-0045                                                   Publicly available

2020           ORS 418.804 - ORS 418.813 CIRT                                     Publicly available

2020           2020 ILP Events for Teens                                          To produce

2020           2020 Budget Reduction Exercise Information Sheet                   Wyatt_DHS_4397064

2020           Legal Name and Sex Change Policy (Ch 9, Sec 7) Depo Exhibit        Wyatt_DHS_0172446
               1024

2020           OAR 410-170-0020 BRS facilities gender-responsive approach         Publicly available

2020           OAR 410-170-0030 BRS facilities training                           Publicly available

2020           OAR 413-200-0308 qualifications of certified families              Publicly available

2020           OAR 413-200-0335 standards re home environment                     Publicly available




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2020           OAR 413-200-0352 adequate clothing for gender expression           Publicly available

2020           OAR 413-200-0358 discipline of a child or young adult              Publicly available

2020           OAR 413-215-0031 respect of children in care                       Publicly available

2020           OAR 413‐215‐0061 licensing personnel                               Publicly available

2020           OAR 413-215-0316 licensing child caring agencies                   Publicly available

2020           OAR 413-215-0326 training                                          Publicly available

2020           OAR 2020 Chapter 413, Div 40 Case Management - Service             Publicly available
               Plans

2020           OAR 2020 Compilation Chapter 413 DHS Child Welfare Programs        Publicly available

2020           OAR 413-053-000 - 070 re Strengthening, Preserving and             Publicly available
               Reunifying Families

2020           ORS 418-575 to 418-598                                             Publicly available

2020           Oregon DHS Leadership Team website                                 To produce

2020           SSS Engagement Survey Reporting Examples                           To produce

2020           2020 Oregon Annual Progress & Service Report (APSR)                Wyatt_DHS_0218737

2021           Policy Transmittals                                                To produce

2021           FCCRC FP Version English                                           Wyatt_DHS_2711566

2021           FCCRC Process Map                                                  Wyatt_DHS_2711561

2021           MV-FC Transportation Pandemic Statement _LR_BD                     Wyatt_DHS_2709481

2021           FCCRC FP Version English                                           Wyatt_DHS_2709487

2021           FAQ FCCRC -V1                                                      Wyatt_DHS_2709676

2021           On ramp Tracking Checklists Combined                               Wyatt_DHS_2709628

2021           Training Workforce Plan 2021                                       Wyatt_DHS_2709674

2021           Comprehensive Plan to Prevent Child Maltx Fatalities               Wyatt_DHS_2709944

2021           SOC Barrier Process                                                Wyatt_DHS_2709589

2021           ELD Title IV -B2 FFY20 Report                                      Wyatt_DHS_2709690



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2021           Safe Systems Improvement Tool                                         Wyatt_DHS_2709530

2021           NPCS Charter                                                          Wyatt_DHS_2710079

2021           Virtual Hearing Practice in Child Welfare Perceptions from the        Wyatt_DHS_2710090
               Field

2021           Oregon Study Responses                                                Wyatt_DHS_2709651

2021           Training Matrix, May 2019                                             Wyatt_DHS_2709555

2021           OCWP- COVID 90 days Plan- Treatment Services-FINAL 90 day             Wyatt_DHS_2710111

2021           Oregon Executive Summary                                              Wyatt_DHS_2704232

2021           Oregon Training Assessment Report to Oregon Final                     Wyatt_DHS_2704110

2021           APSR Caseworker Ongoing Professional Development Project              Wyatt_DHS_2710313
               Plan

2021           38-OR Work Plan                                                       Wyatt_DHS_2710169

2021           D-Chafee Attch3 - Oregon ETV 2020 awards                              Wyatt_DHS_2710300

2021           2020-2021 Specs (DHS Custody)                                         Wyatt_DHS_2715056

2021           Leg Funding                                                           Wyatt_DHS_2697244

2021           ORCAH Annual Report 2021                                              Wyatt_DHS_2959916

2021           2020 - 2024 FCP Statewide Strategic plan_ 2021 updates                Wyatt_DHS_2716610

2021           D3 Polk-Yamhill CQI Charts Apr-21                                     To produce

2022           District 10 Org Chart                                                 Wyatt_DHS_2722753

2022           District 11 Org Chart                                                 Wyatt_DHS_2722772

2022           District 12 Org Chart                                                 Wyatt_DHS_2722785

2022           District 13 Org Chart                                                 Wyatt_DHS_2722797

2022           District 14 Org Chart                                                 Wyatt_DHS_2722805

2022           District 15 Org Chart                                                 Wyatt_DHS_2722817

2022           District 16 Org Chart                                                 Wyatt_DHS_2722837

2022           District 2 Org Chart                                                  Wyatt_DHS_2722487

2022           District 3 Org Chart                                                  Wyatt_DHS_2722556



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2022           District 4 Org Chart                                               Wyatt_DHS_2722601

2022           District 5 Org Chart                                               Wyatt_DHS_2722624

2022           District 6 Org Chart                                               Wyatt_DHS_2722675

2022           District 7 Org Chart                                               Wyatt_DHS_2722694

2022           District 8 Org Chart                                               Wyatt_DHS_2722710

2022           District 9 Org Chart                                               Wyatt_DHS_2722745

2022           ODHS Org Chart                                                     Wyatt_DHS_2723184

2022           ORCAH Org Chart                                                    Wyatt_DHS_2722978

2022           CFSR Quick Reference List                                          Wyatt_DHS_2721734

2022           Explanation of Items Measured in CFSR reviews 2022                 Wyatt_DHS_2721541

2022           ORCAH Annual Report 2022                                           Wyatt_DHS_4564326

2022           1149 cheat sheet safety plan lecture activity                      To produce

2022           CISM flyer v3                                                      To produce

2022           Scheduling CISM for critical incidents outline draft               To produce

2023           2023 - Legislative Session Highlights Overview                     Wyatt_DHS_4562335

2023           2024 APSR State Checklist PI-23-01docx                             Wyatt_DHS_4467220

2023           02 Vision for Transformation                                       Wyatt_DHS_4466159

2023           03 Sibling Bill of Rights                                          Wyatt_DHS_4466029

2023           05 Ch 5 Sec 26                                                     Wyatt_DHS_4467003

2023           06 ODE Annual Report Card (2021-2022)                              Wyatt_DHS_4466358

2023           07 Item 3 attachment - Communicating effectively with People       Wyatt_DHS_4466702
               Who Have SUD AUD

2023           08 ADA Resources for Child Welfare Staff                           Wyatt_DHS_4466242

2023           09 Textured Tending- Final                                         Wyatt_DHS_4466928

2023           10 Workforce Safety and Well-Being Procedure                       Wyatt_DHS_4466931

2023           11 NPCS SSIT Reference Guide                                       Wyatt_DHS_4466248

2023           13 OR Children's ITS Rate Study Report_FINAL2                      Wyatt_DHS_4466491



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2023           14 PRTF Capacity Memo                                              Wyatt_DHS_4466031

2023           15 Children's Intensive Treatment Services Rate Study February     Wyatt_DHS_4466473
               2023

2023           16 Joint JCIP-ODHS Safety Questions Project Update                 Wyatt_DHS_4466886

2023           17 CBCS Work Plan                                                  Wyatt_DHS_4467256

2023           18 All Certification Specific Tools                                Wyatt_DHS_4466888

2023           19 Yamhill SDDR                                                    Wyatt_DHS_4467258

2023           20 ORCAH Quarterly Report 2023 First Quarter                       Wyatt_DHS_4466587

2023           21 OTP FOCUS Protocol for One Time Payments for Start              Wyatt_DHS_4467287

2023           22a Prevention Plan                                                Wyatt_DHS_4467602

2023           22b 68 pgs                                                         Wyatt_DHS_4467740

2023           22c                                                                Wyatt_DHS_4467808

2023           23 CFPRP Vision for Transformation                                 Wyatt_DHS_4466569

2023           24 Safe Sleep for Oregon's Infants                                 Wyatt_DHS_4466516

2023           25 Fatality Protocol                                               Wyatt_DHS_4466231

2023           26 NPCS Resource Guide 2023                                        Wyatt_DHS_4466443

2023           27 ELD - Title IV-B2 Family Preservation and Family Support        Wyatt_DHS_4466639
               Services 2022 report

2023           28 OR_2022FULL_NYTD_Served                                         Wyatt_DHS_4466570

2023           29 Driver Ed Poster_Flyer                                          Wyatt_DHS_4466355

2023           30 SB 209                                                          Wyatt_DHS_4466646

2023           31 2021-22 Chafee Graduation Report                                Wyatt_DHS_4466644

2023           32 ODHS OJD HB 4214 and SB 562 ORICWA Report September             Wyatt_DHS_4466311
               2022

2023           33 CAPTA Coordinator Activities Summary                            Wyatt_DHS_4466561

2023           37 Oregon Statewide Maternal, Infant, & Early Childhood Home       Wyatt_DHS_4466062
               Visiting Program 2020 Needs Assessment




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2023           38 2023 Recruitment & Retention Bundled Material                     Wyatt_DHS_4466673

2023           39 June-2023-RR-Action-Plan-Summary                                  Wyatt_DHS_4466824

2023           40 May-2023-Statewide-Recap-Report-Summary                           Wyatt_DHS_4466776

2023           43 Training Workforce Plan 2023                                      Wyatt_DHS_4467599

2023           45 SSS1 12 Month Training Plan                                       Wyatt_DHS_4466245

2023           46 PEMC 12 Month Training Plan                                       Wyatt_DHS_4466239

2023           CRB Packets - Where to Find What Information                         To produce

2023           Essential Elements Session Summaries - Portland State University     To produce

2023           Social Service Specialist 1 Professional Development Portland        To produce
               State University

2023           2023_Q2_HB2333xls                                                    To produce

2023           CW Procedure Manual - Ch 6 Adoption, Guardianship and Other          To produce
               Perm Plans

2023           SOCAC Legislative Report and Recommendations                         Wyatt_DHS_4665757

2023           Jan to Sept 2023 Caseload dashboard screenshots                      Wyatt_DHS_4665889

2023           Temp Lodging Infographic                                             Wyatt_DHS_4665939

2023           CW RSN Equity framework                                              To produce

2023           Fact Sheet: RSN program description 2023                             To produce

2023           Treatment Services supports families of children with complex        To produce
               needs

1/1/2006       Oregon Foster Parent Bill of Rights                                  Wyatt_DHS_0061258

7/13/2011      CWAC Bylaws                                                          Wyatt_DHS_0271299

3/4/2015       2015 Abuse Hotline Screen Position Description                       Wyatt_DHS_0047885

7/6/2015       Initial Safety Plan Template Mapping                                 To produce

1/17/2016      A.R. v. State Interim Settlement Agreement                           To produce

3/24/2016      ILP OR-Kids Reference Guide                                          Wyatt_DHS_0046947

3/25/2016      CFSR Statewide Assessment                                            Wyatt_DHS_0815362




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5/10/2016     2016-05-10 SB 1515 Staff Message                                     Wyatt_DHS_0716643

5/25/2016     2016-05-25 SB 1515 Changes to licensing on-site review               Wyatt_DHS_0063378
              schedule and process

6/28/2016     2016-06-28 SB 1515 DHS Director's Message, Rules Advisory            Wyatt_DHS_0063383
              Committee

7/20/2016     2016-07-20 Stakeholder Meetings on SB 1515                           Wyatt_DHS_0063400

10/13/2016    DHS Director Clyde Saiki letter to Gov Brown identifying             To produce
              improvements

11/3/2016     cca-reporting-requirements                                           Wyatt_DHS_0063452

12/5/2016     cirt-xl-initial-final-report                                         Publicly available

12/13/2016    gj-cirt-initial                                                      Publicly available

1/9/2017      Flow Caseworker Training Redesign                                    Wyatt_DHS_0267376

1/24/2017     NE Initial Report                                                    Publicly available

1/24/2017     H H Initial and Final Report                                         Publicly available

2/2/2017      Child Safety Implementation Plan Schedule                            To produce

2/13/2017     Implementation Plan V1 UCYSIP-021317                                 Wyatt_DHS_2162775

2/23/2017     DHS Director Clyde Saiki letter to Gov Brown                         To produce

2/28/2017     Unified Youth Safety Implementation Plan for Oregon 022817           Wyatt_DHS_0134128

3/3/2017      Proposed Steering Team Charter                                       To produce

3/3/2017      Unified Child and Youth Safety Implementation Plan, Steering         Wyatt_DHS_0240593
              Team Presentation

3/7/2017      Attachment B new applicant OOSP                                      Wyatt_DHS_0063110

3/15/2017     CWAC Agenda                                                          Wyatt_DHS_0313359

3/15/2017     CWAC Minutes                                                         To produce

3/16/2017     HB 2216 Passes                                                       To produce

3/27/2017     Child Welfare Caseworker Competencies                                Wyatt_DHS_0061231

3/28/2017     steering-team-charter                                                Wyatt_DHS_2163799

4/6/2017      Out of State Polices and Procedures Checklist                        Wyatt_DHS_0289178



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4/17/2017     KA CIRT Initial and Final Report                                    Publicly available

5/1/2017      D10 PIP Charts May-17                                               To produce

5/10/2017     Steering Team Presentation-5-10-17                                  Wyatt_DHS_1955333

5/16/2017     child-safety-reflections                                            Wyatt_DHS_0229420

5/17/2017     CWAC Agenda                                                         To produce

5/17/2017     CWAC Minutes                                                        To produce

5/23/2017     Stakeholder-one pager                                               Wyatt_DHS_0801994

6/22/2017     Letter to Governor re ODHS updates                                  To produce

6/29/2017     Child Safety Plan Overview                                          To produce

7/1/2017      Overview Caseworker Training Redesign                               Wyatt_DHS_0061848

7/1/2017      D12 PIP Charts Jul-17                                               To produce

7/1/2017      D13 PIP Charts Jul-17                                               Wyatt_DHS_0229358

7/6/2017      projects-status-reports                                             Wyatt_DHS_0062616

7/18/2017     project-plan-schedule                                               Wyatt_DHS_0192007

7/18/2017     workgroup-membership                                                Wyatt_DHS_0062662

7/19/2017     CWAC Minutes                                                        Wyatt_DHS_2165057

7/19/2017     CWAC-Agenda-7-19-17                                                 To produce

7/19/2017     CB CIRT Initial - Final Report                                      Publicly available

7/21/2017     Steering-team-pp-07-21-17                                           Wyatt_DHS_2165292

8/10/2017     CW-Directors-Message                                                Wyatt_DHS_0062855

8/23/2017     Out of State Physical Plant Checklist                               Wyatt_DHS_0063120

8/23/2017     Out of State Residential Checklist                                  Wyatt_DHS_0289170

9/1/2017      CW Action Plan Work Schedule                                        Wyatt_DHS_2574634

9/6/2017      September 2017 Status Reports                                       Wyatt_DHS_0062614

9/18/2017     CFCAC Minutes 91817                                                 Wyatt_DHS_0064307

9/18/2017     DHS Updates to Governor Brown                                       Wyatt_DHS_0815360

9/18/2017     DHS Updates to Governor Brown 91817                                 Wyatt_DHS_0815360




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9/19/2017        September 2017 Steering Team Presentation                         Wyatt_DHS_1716804

9/27/2017        2017-09-27 CWAC-Agenda                                            Wyatt_DHS_0801975

9/27/2017        CWAC-Minutes-9-27-17                                              To produce

10/1/2017        D1 PIP Charts Oct-17                                              Wyatt_DHS_1412549

10/1/2017        D14 PIP Charts Oct-17                                             To produce

11/6/2017        10 Priority Projects - November Status Reports                    Wyatt_DHS_0062616

11/8/2017        2017 Child Welfare Research Priorities                            Wyatt_DHS_0047823

11/9/2017        2017-11-09 CAPECO ILP Program Review Report- 1192017              Wyatt_DHS_0135266

11/15/2017       Steering Team Presentation - Nov 15, 2017                         Wyatt_DHS_0238895

11/20/2017       CFCAC Minutes 112017                                              Wyatt_DHS_0064256

12/5/2017        CW-Directors-Message                                              Wyatt_DHS_0062854

Jan-18           ILP Referral Form CF 0080                                         Wyatt_DHS_0880688

1/17/2018        CWAC-Agenda                                                       To produce

1/17/2018        CWAC-Minutes-1-17-18                                              To produce

1/19/2018        Project Status Reports January 19, 2018                           Wyatt_DHS_0062618

1/22/2018        CFCAC Minutes 12218                                               Wyatt_DHS_0064226

1/29/2018        SOS Audit of Child Welfare DHS                                    Wyatt_DHS_0059767

1/29/2018        2018 SOS Audit Response from DHS                                  Wyatt_DHS_0059767

1/31/2018        Steering Team Presentation, January 31, 2018                      Wyatt_DHS_0241104

1/31/2018        Steering Team Roster                                              To produce

2/7/2018         KEEP Standard Curriculum by Week                                  Wyatt_DHS_0061028

3/6/2018         DHS & OHA Continuum of Care - Proposed Systemic Solutions         Wyatt_DHS_0062755

3/8/2018         DHS Director Letter to Governor Brown 030818                      Wyatt_DHS_0242759

3/9/2018         DHS Updates to Governor Brown                                     Wyatt_DHS_0063469

3/9/2018         Director Update, Kate Brown                                       Wyatt_DHS_0063469

3/14/2018        CWAC-Agenda-3-14-18                                               To produce

3/14/2018        CWAC-Minutes-3-14-18                                              To produce


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3/14/2018     2017 DHS Summary Scorecard Q4 2017                                  To produce

3/15/2018     2018-03 March Child Welfare Progress Report                         Wyatt_DHS_0134170

3/19/2018     CFCAC Minutes 31918                                                 Wyatt_DHS_0064269

3/26/2018     Project-Status-Reports-April                                        Wyatt_DHS_0062620

4/5/2018      Child-Safety-Plan-Steering-Team-Deck-April-2018                     Wyatt_DHS_0239691

4/16/2018     2018-04 April Child Welfare Progress Report                         Wyatt_DHS_0245445

5/1/2018      USCP-Governance                                                     Wyatt_DHS_1955332

5/1/2018      D10 PIP Charts May-18                                               Wyatt_DHS_2697816

5/3/2018      2018-05 ORRAI Methodology- Write Up                                 Wyatt_DHS_0114339

5/21/2018     CFCAC Minutes 52118                                                 Wyatt_DHS_0064273

5/21/2018     Caregiver-Presentation-Handouts                                     Wyatt_DHS_2230333

6/7/2018      SH CIRT Initial and Final Report                                    Publicly available

6/15/2018     Task A Project Charter                                              Wyatt_DHS_0062596

6/18/2018     CW Field Staff Engagement v12-Final                                 Wyatt_DHS_0224308

6/19/2018     Project G - Membership List - Centralized Hotline                   Wyatt_DHS_0062943

6/19/2018     Enhancing Community Engagement Workgroup                            Wyatt_DHS_0062605

6/21/2018     CW-Directors-Message                                                Wyatt_DHS_0062868

6/27/2018     RH-CIRT-Final-Report                                                Publicly available

6/27/2018     Project-Status-Report-June-2018                                     Wyatt_DHS_0252401

6/28/2018     Unified Child and Youth Safety Implementation Plan, Steering        Wyatt_DHS_2630598
              Team Presentation

7/1/2018      D12 PIP Charts Jul-18                                               Wyatt_DHS_2697832

7/1/2018      D13 PIP Charts Jul-18                                               Wyatt_DHS_2697836

7/16/2018     CFCAC Minutes 71618                                                 Wyatt_DHS_0064290

7/18/2018     CWAC Agenda                                                         To produce

7/21/2018     Comments to ACYF Re Decisions for Clearinghouse on Evidence         Wyatt_DHS_0261023
              Based Practices for FFPSA




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7/24/2018     Statewide Hotline Analysis                                         Wyatt_DHS_0122713

7/27/2018     Temporary Lodging Placement Approval Protocol                      Wyatt_DHS_1927590

8/1/2018      CW Field Staff EE Round 1-Summary Report Wave1                     Wyatt_DHS_2184253

8/1/2018      D11 PIP Charts Aug-18                                              Wyatt_DHS_2697844

8/3/2018      CW-Directors-Message                                               Wyatt_DHS_0062857

8/23/2018     Marilyn Jones Temp Lodging update re Settlement Agreement          Wyatt_DHS_1901566
              Implementation Strategic Plan

8/30/2018     2017 Oregon CFSR Round 3 Program Improvement Plan (PIP)            Wyatt_DHS_0264378
              resubmitted

9/1/2018      Centralized-Hotline-Transition-Plan                                Wyatt_DHS_0062851

9/1/2018      Continuum-Of-Care-Transition-Plan                                  Wyatt_DHS_0062752

9/1/2018      Coordinated-Response-To-Abuse-Transition-Plan                      Wyatt_DHS_0062819

9/1/2018      Enhancing-Com-Engagement-Transition-Plan                           Wyatt_DHS_0062605

9/1/2018      Fidelity-Transition-Plan                                           Wyatt_DHS_0062721

9/1/2018      Recruitment-And-Retention-Of-Caseworkers                           Wyatt_DHS_0062679

9/1/2018      Supervisor-Training-Transition-Plan                                Wyatt_DHS_0062706

9/1/2018      Task A - Enhancing Community Engagement Overview                   Wyatt_DHS_0062648

9/12/2018     Governor's Children's Cabinet Agenda                               Wyatt_DHS_2578607

9/12/2018     Governor's Child Welfare Policy Agenda                             Wyatt_DHS_0875663

9/17/2018     AR Notice 1 Substantial Noncompliance of SA                        Wyatt_DHS_2630760

10/1/2018     D1 PIP Charts Oct-18                                               Wyatt_DHS_0186980

10/1/2018     D14 PIP Charts Oct-18                                              Wyatt_DHS_2265734

10/2/2018     T-D-CIRT-Final-Report                                              Publicly available

10/2/2018     October-Steering-Team-Meeting-Handouts                             Wyatt_DHS_2170193

10/5/2018     JJ-Public-Report                                                   Publicly available

10/8/2018     Temporary Lodging Placement Approval Protocol                      Wyatt_DHS_0777466

10/15/2018    CFCAC Minutes 101518                                               Wyatt_DHS_0064246



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10/17/2018    DOJ Letter to Oregon Law Center re substantial compliance        Wyatt_DHS_2630706

10/18/2018    LS-SS-CIRT-Final-Report                                          Publicly available

10/23/2018    Child Welfare Fundamentals Map                                   Wyatt_DHS_0276016

10/23/2018    Unified Plan-Steering Team Meeting Notes                         To produce

10/26/2018    T-C-CIRT-Public-Report                                           Publicly available

11/1/2018     JK-CIRT-Public-Report                                            Publicly available

11/1/2018     S-S-CIRT-Final-Report                                            Publicly available

11/7/2018     OHA Behavioral Health Capacity and Access Ask                    Wyatt_DHS_0780827

11/9/2018     CW Field Staff EE Wave2-Summary Report Wave2                     Wyatt_DHS_2184284

11/16/2018    NA-CIRT-Final-Report                                             Publicly available

11/19/2018    CFCAC Minutes 111918                                             Wyatt_DHS_0064249

12/4/2018     pa-CIRT-public-report                                            Publicly available

12/7/2018     Caregiver Support Development Workgroup Proposal                 Wyatt_DHS_0063066

12/11/2018    District 2 Child Welfare Org Chart (Portland - Multnomah         Wyatt_DHS_0169174
              County)

12/13/2018    PA CIRT-Status-Report                                            Publicly available

12/18/2018    BP CIRT Public Report                                            Publicly available

12/18/2018    December-Handouts-Steering-Team                                  Wyatt_DHS_0780640

12/18/2018    Unified Plan-Steering Team Meeting Notes                         To produce

12/27/2018    AV-CIRT-Public-Report                                            Publicly available

1/18/2019     2019-21 Biennium DHS Ways & Means Documents                      Publicly available

1/18/2019     Hotline-Project-Closing-Summary                                  Wyatt_DHS_0062863

1/22/2019     Closing Document ORCAH Incoming Calls (updated June 2020)        Wyatt_DHS_2675666

1/24/2019     JJ-CIRT-Status-Report                                            Publicly available

1/24/2019     A_Threshold_of_Fairness_                                         Wyatt_DHS_0124402

1/28/2019     CFCAC Minutes 12819                                              Wyatt_DHS_0064229




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2/1/2019      S-G-CIRT Public-Report                                           Publicly available

2/1/2019      CW Field Staff EE Wave3-Summary Report Wave3                     Wyatt_DHS_2184307

2/5/2019      CM-CIRT-Public-Report                                            Publicly available

2/5/2019      Memorandum re Caregiver Support and Retention Workgroup          Wyatt_DHS_0188031

2/11/2019     EH CIRT Public Report                                            Publicly available

2/11/2019     RY-CIRT-Public-Report                                            Publicly available

2/18/2019     Presentation Temp Lodging and OOS Res Placements by Jason        Wyatt_DHS_1902397
              Wallin at ORRAIpptx

2/18/2019     Presentation Temp Lodging and OOS Res Placements by Jason        Wyatt_DHS_0880198
              Wallin at ORRAI

2/19/2019     Child Care Family First                                          Wyatt_DHS_0063188

2/19/2019     ILP Family First                                                 Wyatt_DHS_0063190

3/7/2019      Steering-Team-Handouts-2019-03-07                                Wyatt_DHS_0216600

3/7/2019      Unified Plan-Steering Team Meeting Notes                         To produce

3/12/2019     2019 Q1 Letter to Director Jones                                 Wyatt_DHS_1922390

3/25/2019     RB-CIRT-Public-Report                                            Publicly available

3/26/2019     DB-CIRT-Public-Report                                            Publicly available

4/5/2019      Hotline-Weekly-Update-4-5-19                                     Wyatt_DHS_0062867

4/8/2019      DB CIRT Public Report                                            Publicly available

4/8/2019      LM-CIRT-Status-Report                                            Publicly available

4/8/2019      OOS Placement Data                                               Wyatt_DHS_0062545

4/10/2019     Oregon DHS Announces Plan to Serve Youth in Oregon               Wyatt_DHS_0787137

4/16/2019     Class Action Complaint                                           DKT 1

4/18/2019     OR Executive Order 19-03 Creating CWOB                           Publicly available
              (https://www.oregon.gov/gov/eo/eo_19-03.pdf)

4/18/2019     Press Release Governor Brown Creates Child Welfare Oversight     Publicly available
              Board
              (https://www.pressreleasepoint.com/governor-brown-creates-




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              child-welfare-oversight-board-address-immediate-issues-
              child-welfare)




4/18/2019     2019-03 Governor's Executive Order to Address the Crisis in         Wyatt_DHS_0057587
              OR's Child Welfare System

4/19/2019     DHS Update on CW Placements - SHS                                   Wyatt_DHS_0000019

4/19/2019     OOS Placement Data                                                  Wyatt_DHS_0062546

4/25/2019     Senator Gelser written questions re detention in OLIS - SHS         Wyatt_DHS_0000118

4/25/2019     Press Release Governor Brown Appoints Members of Child              Publicly available
              Welfare Oversight Board
              (https://www.pressreleasepoint.com/governor-brown-
              appoints-members-child-welfare-oversight-board)

4/26/2019     CWOB Member Bios                                                    Wyatt_DHS_0134100

4/26/2019     OOS Placement Data                                                  Wyatt_DHS_0062547

4/29/2019     The 1149 Guide                                                      To produce

4/29/2019     Prevention Services Programs (Family First)                         Wyatt_DHS_1428018

4/30/2019     Written testimony out of state placements Red Rock - SHS            Wyatt_DHS_0000121

4/30/2019     2019 Q2 CFSR Progress Report                                        Wyatt_DHS_1489662

5/1/2019      D10 PIP Charts May-19                                               Wyatt_DHS_1983557

5/2/2019      DHS Update on CW Placement Facilities- SHS                          Wyatt_DHS_0000001

5/3/2019      OOS Placement Data                                                  Wyatt_DHS_0062586

5/7/2019      PSU Oregon Youth Policy Project - Final Report                      Wyatt_DHS_0217848

5/7/2019      DHS Update on Out of State Placements - SHS                         Wyatt_DHS_0000042

5/7/2019      PSU Oregon Youth Policy Project Report                              Wyatt_DHS_0217848

5/10/2019     Red Rock Academy Response - SHS                                     Wyatt_DHS_0000115

5/10/2019     OOS Placement Data                                                  Wyatt_DHS_0062590

5/13/2019     OOS Placement Data                                                  Wyatt_DHS_0054482

5/14/2019     DHS Family First Presentation                                       Wyatt_DHS_0223686


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5/14/2019     DHS Update on Out of State placements - SHS                        Wyatt_DHS_0000050

5/14/2019     NP CIRT Public Report                                              Publicly available

5/14/2019     Family First PP re Placementspptx                                  Wyatt_DHS_0223686

5/15/2019     CW Field Staff EE Wave4-Summary Report                             Wyatt_DHS_2184307

5/16/2019     Legislative Response Matrix - Master (Incl embedded files)         Wyatt_DHS_0000056

5/16/2019     Legislative Response Matrix - Master 5162019 - Out of State        Wyatt_DHS_0000075
              Questions Pt 1xlsb

5/16/2019     G2Governor's Update                                                Wyatt_DHS_0134800

5/16/2019     B-B- CIRT Public-Report                                            Publicly available

5/16/2019     ZHF CIRT Public Report                                             Publicly available

5/17/2019     OOS Placement Data                                                 Wyatt_DHS_0062591

5/20/2019     CFCAC Agenda 52019                                                 Wyatt_DHS_0064224

5/24/2019     2019-05 May                                                        Wyatt_DHS_0030945

5/24/2019     CV CIRT Public Report                                              Publicly available

5/24/2019     OOS Placement Data                                                 Wyatt_DHS_0062592

5/29/2019     KP CIRT Public Report                                              Publicly available

5/30/2019     EB CIRT Status Report                                              Publicly available

5/30/2019     MH CIRT Public Report                                              Publicly available

6/6/2019      Steering-Team-Handouts                                             Wyatt_DHS_0061130

6/7/2019      OOS Placement Data                                                 Wyatt_DHS_0062582

6/11/2019     G6Governor's Update                                                Wyatt_DHS_0134828

6/12/2019     AP CIRT Public Report                                              Publicly available

6/14/2019     OOS Placement Data                                                 Wyatt_DHS_0062583

6/18/2019     G7Governor's Update                                                Wyatt_DHS_0133083

6/18/2019     G7aWorkforce-Oregon Governor's Workforce Update                    Wyatt_DHS_0134802

6/19/2019     Cap21-Care Coordination Meeting Notes                              Wyatt_DHS_0133383

6/21/2019     OOS Placement Data                                                 Wyatt_DHS_0062584



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6/22/2019     gf-cirt-public-report                                               Publicly available

6/25/2019     G8Governor's Update                                                 Wyatt_DHS_0134837

6/27/2019     Cap34-Workstream Charter_Care Coordination                          Wyatt_DHS_0133419

6/27/2019     02 Cap35-SwitchingCCOcoverage                                       Wyatt_DHS_0133422

6/28/2019     OOS Placement Data                                                  Wyatt_DHS_0062585

6/29/2019     Senate Bill 171 C - Summary re Family First                         Wyatt_DHS_1983636

7/1/2019      AC-CIRT-Status-Report                                               Publicly available

7/1/2019      CP-CIRT-Status-Report                                               Publicly available

7/1/2019      D12 PIP Charts Jul-19                                               Wyatt_DHS_1987478

7/1/2019      D13 PIP Charts Jul-19                                               Wyatt_DHS_1987498

7/2/2019      G9Governor's Update                                                 Wyatt_DHS_0134845

7/5/2019      OOS Placement Data                                                  Wyatt_DHS_0062578

7/8/2019      Cap25-IDD Restrictive Intervention Call with CW                     Wyatt_DHS_0133392

7/10/2019     Cap9-Update_710DMMeetingFosterCareUpdate                            Wyatt_DHS_0133274

7/12/2019     OOS Placement Data                                                  Wyatt_DHS_0062579

7/15/2019     G10aCapacity-Applications Received Tracker                          Wyatt_DHS_0134821

7/15/2019     DHS Platform For Success_Research 715                               Wyatt_DHS_0114761

7/15/2019     TA Decker completes the Temp Lodging work plan                      Wyatt_DHS_1745911

7/16/2019     Multi-Agency Behavior Rehabilitation Services (BRS) Guide           Wyatt_DHS_0056857

7/16/2019     G10Governor's Update                                                Wyatt_DHS_0134858

7/16/2019     A Policy Meeting w Leadership Next Steps                            Wyatt_DHS_0188798

7/16/2019     Background info Trans and Non-binary licensing workgroup
                                                                                  Wyatt_DHS_0190109

7/16/2019     Transgender and Nonbinary Youth Workgroup - current BRS rule
                                                                                  Wyatt_DHS_0890302

7/16/2019     Application for License - Private Child Caring Agency OOSP          Wyatt_DHS_0289206

7/19/2019     District 6 Child Welfare Org Chart (Douglas County)                 Wyatt_DHS_2690748




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7/19/2019        OOS Placement Data                                                   Wyatt_DHS_0062580

7/22/2019        REVISED_OOST Res Procedure [draft]-7 (1)                             Wyatt_DHS_0289163

7/25/2019        Defendants' Motion to Dismiss or, in the Alternative, to Make        DKT 31
                 More Definite and Certain

7/26/2019        Placement Data                                                       Wyatt_DHS_0062581

7/29/2019        LM-CIRT-Public-Report                                                Publicly available

7/30/2019        SPRF 2019 Legislative Report                                         Publicly available
                 (https://www.oregonlegislature.gov/citizen_engagement/Report
                 s/2019-DHS-
                 Strengthening%20Preserving%20and%20Reunifying%20Families%
                 20Programs.pdf)

7/31/2019        G11 Governor's Update                                                Wyatt_DHS_0135075

7/31/2019        MEMO CW Oversight Board                                              Wyatt_DHS_1920044

Aug-19           BRS Referral Form CF 1055                                            Wyatt_DHS_4645387

8/1/2019         OTIS OOS Oversight Procedure                                         Wyatt_DHS_0289199

8/1/2019         Out of State Residential review tool                                 Wyatt_DHS_0675013

8/1/2019         D11 PIP Charts Aug-19                                                Wyatt_DHS_1988568

8/2/2019         OOS Placement Data                                                   Wyatt_DHS_0062548

8/5/2019         G12bComms-Communications Overview Deck                               Wyatt_DHS_0134868

8/6/2019         G12 Governor's Update                                                Wyatt_DHS_0135083

8/6/2019         AS CIRT Public Report                                                Publicly available

8/7/2019         Cap7-Correspondance_fpt-letter-to-oregon-governor-foster-            Wyatt_DHS_0133265
                 parents-v1pt1

8/8/2019         Child Welfare Required Training Checklist                            Wyatt_DHS_1911283

8/8/2019         Plaintiffs' Response to Defendants' Motion to Dismiss                DKT 35

8/9/2019         DHS Platform for Success- Reserach P2                                Wyatt_DHS_0114821

8/9/2019         OOS Placement Data                                                   Wyatt_DHS_0062549

8/11/2019        Cap13- [DRAFT] Continuum of Care Graphic                             Wyatt_DHS_0133303

8/13/2019        A&M PMO Status Update Deck v5                                        Wyatt_DHS_0774374


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8/13/2019     G13Governor's Update                                              Wyatt_DHS_0134874

8/13/2019     Train10-[DRAFT] Training Map                                      Wyatt_DHS_0133646

8/13/2019     OOSP Contact Info Form                                            Wyatt_DHS_0063115

8/13/2019     OOSP Suitability Questionnaire                                    Wyatt_DHS_0063160

8/14/2019     BRIEF1-AM Legislative Briefing                                    Wyatt_DHS_0133048

8/15/2019     CW Field Staff EE Wave5-Summary Report                            Wyatt_DHS_2184307

8/16/2019     OOS Placement Data                                                Wyatt_DHS_0062550

8/19/2019     2019-08-19 DW CIRT Public Report                                  Publicly available

8/19/2019     DHS Central and Shared Services Organizational Structure -        Wyatt_DHS_0140429
              Detailed

8/20/2019     [Final Edits] Cap32-SB1 and Legislative Investments               Wyatt_DHS_0133413

8/20/2019     G14Governor's Update                                              Wyatt_DHS_0774387

8/21/2019     Meeting Leadership Council notes PRIDE ERG                        Wyatt_DHS_0189166

8/22/2019     Reply in Support of Defendants' Motion to Dismiss                 DKT 45

8/23/2019     EG CIRT Public Report                                             Publicly available

8/27/2019     G15Governor's Update                                              Wyatt_DHS_0134894

8/27/2019     G15bData-Overdue Assessments Dashboard                            Wyatt_DHS_0134904

9/6/2019      za-cirt-public-report                                             Publicly available

9/10/2019     G16Governor's Update                                              Wyatt_DHS_0134908

9/10/2019     G16a Data-OOS Dashboard                                           Wyatt_DHS_0134906

9/10/2019     G16c Workforce Summary Surge Hire Updates                         Wyatt_DHS_0134918

9/10/2019     G17aCapacity-[DRAFT] Adaptive Leadership Expected Behaviors       Wyatt_DHS_0134926

9/10/2019     Public Records Update                                             Wyatt_DHS_0134686

9/10/2019     Summary - Surge Hire Updates 910                                  Wyatt_DHS_0133598

9/10/2019     OOS Dashboard                                                     Wyatt_DHS_0059507

9/13/2019     Reunification and Achieving Permanency (Marion County Pilot)      Wyatt_DHS_0126673




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9/16/2019     A&M Legislative Briefing                                            Wyatt_DHS_2565094

9/16/2019     BRIEF2-AM Legislative Briefing                                      Wyatt_DHS_0133059

9/17/2019     Memo - Family First Implementation & Policy Work Group              Wyatt_DHS_0056476

9/19/2019     ORCAH Statewide Conference Call                                     Wyatt_DHS_0724773

9/20/2019     OOS Dashboard                                                       Wyatt_DHS_0133538

9/24/2019     BRIEF3-AM Labor Briefing                                            Wyatt_DHS_0795389

9/24/2019     G18Governor's Update                                                Wyatt_DHS_0134961

9/26/2019     2019-07 Governor's Amend Executive Order                            Wyatt_DHS_0115055

9/30/2019     OOSYouthData20190930                                                Wyatt_DHS_2630610

10/1/2019     Attachment A - Initial Licensing Required Documents for Out of      Wyatt_DHS_0063109
              State Providers

10/1/2019     D1 PIP Charts Oct-19                                                Wyatt_DHS_0290067

10/2/2019     Train 7-Pretraining Activities                                      Wyatt_DHS_0133635

10/2/2019     Predictive Analytics to Support Screening & Reunification           Wyatt_DHS_0127486
              Decisions

10/3/2019     Social Service Assistant On-Ramp Checklist                          Wyatt_DHS_2186512

10/3/2019     Train 5-On-Ramps by Position                                        Wyatt_DHS_0133627

10/3/2019     State of Oregon Child Safety Plan - Project G- Oregon Child         Wyatt_DHS_0062959
              Abuse Hotline

10/3/2019     Out of State Placement Exception Request                            Wyatt_DHS_0063118

10/7/2019     DHS Organizational Chart                                            Wyatt_DHS_0140442

10/8/2019     A&M 12 Mo Training Plan re new hires                                Wyatt_DHS_2099152

10/8/2019     Train 4-12 Mo Training Plan                                         Wyatt_DHS_0133623

10/11/2019    Pre training Activities                                             Wyatt_DHS_2699334

10/13/2019    NCCD- Meeting Slidespptx                                            Wyatt_DHS_0127395

10/14/2019    G19a Data- OOS Dashboard                                            Wyatt_DHS_0134982

10/14/2019    G19b Data- Open Assessments Dashboard                               Wyatt_DHS_0134980

10/14/2019    G19d Data- SSS1 Dashboard                                           Wyatt_DHS_0134985



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10/14/2019    G19e Data-Statewide All Dashboard                                Wyatt_DHS_0134985

10/14/2019    OOS Dashboard                                                    Wyatt_DHS_0133568

10/15/2019    Comms3-AM Initiative Key Accomplishments for                     Wyatt_DHS_0133517
              Communications

10/15/2019    G19 Governor's Update                                            Wyatt_DHS_0134991

10/16/2019    CW Policymaking Process                                          Wyatt_DHS_4209219

10/17/2019    ORRAI, Creating a Data-Informed Child Welfare System PP          Wyatt_DHS_4397708

10/21/2019    Train 6 -On Ramps by Position                                    Wyatt_DHS_0133630

10/22/2019    G20 Governor's Update                                            Wyatt_DHS_0135049

10/22/2019    G20aORCAH- Care Card Rollout Materials                           Wyatt_DHS_0135000

10/22/2019    G20b Capacity- DM and CCO Meeting Summary                        Wyatt_DHS_0135036

10/22/2019    G20cData- OOS Dashboard                                          Wyatt_DHS_0135045

10/22/2019    G20d Data-Open Assessments Dashboard                             Wyatt_DHS_0135034

10/22/2019    2019-10-22 CP CIRT Public Report                                 Publicly available

10/22/2019    OOS Dashboard                                                    Wyatt_DHS_0133578

10/24/2019    Training On ramp Combined                                        Wyatt_DHS_2709632

10/25/2019    OR Executive Order No 19-08                                      Publicly available
              (https://www.oregon.gov/gov/eo/eo_19-08.pdf)

10/25/2019    G21c Data-OOS Dashboard_10-25                                    Wyatt_DHS_0135058

10/25/2019    G21dData-Open Assessments Dashboard                              Wyatt_DHS_0135060

10/25/2019    OOS Dashboard                                                    Wyatt_DHS_1560755

10/27/2019    27X8QRC70B9-cirt-public-report                                   Publicly available

10/29/2019    A& M PMO Status Update_60 G21Governor's Update                   Wyatt_DHS_0135065

10/29/2019    G21bWorkforce-Surge Hire Process Data and Waterfall              Wyatt_DHS_0135063

10/31/2019    2019 Q4 CFSR Progress Report                                     Wyatt_DHS_0894784

10/31/2019    2019-21 DHS Legislatively Adopted Budget                         Publicly available

10/31/2019    2019-21 Oregon Legislatively Adopted Budget Detailed Analysis    Publicly available



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10/31/2019    OOSYouthData20191031                                               Wyatt_DHS_2630611

11/1/2019     ORRAI Status Report, Nov 2019                                      Wyatt_DHS_1492608

11/5/2019     District Manager Team Meeting Agenda                               Wyatt_DHS_0226055

11/12/2019    2019-11-12 84B851G16E CIRT Final Report                            Publicly available

11/12/2019    CW Field Staff EE Wave 6-Summary Report                            To produce

11/14/2019    OOS Dashboard                                                      To produce

11/15/2019    D2GTOVKP4K CIRT Final Report                                       Publicly available

11/15/2019    EB CIRT Public Report                                              Publicly available

11/21/2019    045TVVIMJR CIRT Final Report                                       Publicly available

11/30/2019    OOSYouthData20191130                                               Wyatt_DHS_2630612

12/2/2019     8T2MMRJSIM CIRT Final Report                                       Publicly available

12/4/2019     Child Welfare LOA's - Signed                                       Wyatt_DHS_2673719

12/4/2019     GKB Children's Cabinet 2020 Plan                                   Wyatt_DHS_0170403

12/4/2019     OOS Dashboard                                                      Wyatt_DHS_0226777

12/5/2019     Press Release Governor Brown Commends CWOB                         Wyatt_DHS_0140549

12/9/2019     BRS Rate Increase Letter                                           Wyatt_DHS_0798194

12/9/2019     Request for Funding SPRF Letter                                    Wyatt_DHS_0170281

12/9/2019     Motion to Certify the Class Oral Argument requested Filed by All   DKT 64
              Plaintiffs

12/9/2019     Positions Related to Gov Brown's Exec Order on CW Letter           Wyatt_DHS_0227059

12/10/2019    DHS Organizational Chart                                           Wyatt_DHS_0140551

12/10/2019    OOS Dashboard                                                      To produce

12/12/2019    MHSMVDU48T CIRT Final Report                                       Publicly available

12/17/2019    A&M Closing Transition Deck vFINAL                                 Wyatt_DHS_0798340

12/26/2019    ISBLEKXAKG CIRT Final Report                                       Publicly available

12/31/2019    CW Policymaking Flowchart                                          To produce

12/31/2019    CW Policy Worksheet 12-31-19docx                                   Wyatt_DHS_1944133



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12/31/2019    OOS Youth Data                                                     Wyatt_DHS_2630613

1/7/2020      OHA-DHS Memo to Gov re PRTS capacity                               Wyatt_DHS_0170414

1/7/2020      OHA DHS PRTS Capacity Memo                                         Wyatt_DHS_0170414

1/14/2020     Rebecca Jones Gaston Update to House Committee - includes          Wyatt_DHS_0170374
              budget request

1/15/2020     PP Psychiatric Residential Treatment Capacity - Children's         Wyatt_DHS_0170418
              Cabinet

1/15/2020     Agenda - Children Cabinet                                          Wyatt_DHS_0170299

1/15/2020     Children's Cabinet CW Update-current draft                         Wyatt_DHS_0170311

1/15/2020     PP Psychiatric Residential Treatment Capacity                      Wyatt_DHS_0170418

1/15/2020     Child Welfare Improvements Overview ATT C                          Wyatt_DHS_0170519

1/15/2020     Child Welfare Improvements Overview                                Wyatt_DHS_2788453

1/15/2020     PP PRTS Children's Cabinet                                         Wyatt_DHS_0170418

1/17/2020     AR84612OB4 CIRT Final Report                                       Publicly available

1/17/2020     HXA64P1R37 CIRT Final Report                                       Publicly available

1/17/2020     LGUA06TIP4 CIRT Final Report                                       Publicly available

1/22/2020     SOGIE Policy (Ch 5, Sec 41) updated January 2020                   Wyatt_DHS_0171619

1/23/2020     Personal Care Assessment 0-24 Months                               Wyatt_DHS_0181041

1/23/2020     Personal Care Assessments Children & Youth 24 Months or            Wyatt_DHS_0181028
              Older

1/30/2020     In-Home Nursing Assessment                                         Wyatt_DHS_0181035

1/30/2020     Intake Nursing Assessment                                          Wyatt_DHS_0181046

1/31/2020     2020 Q5 OR PIP Progress Report                                     Wyatt_DHS_2688859

1/31/2020     QPUPTE05OJ0 CIRT Final Report                                      Publicly available

1/31/2020     OOSYouthData20200131                                               Wyatt_DHS_2630614

2/3/2020      CW Field Staff EE Wave 7-Summary Report                            To produce

2/4/2020      Comprehensive Portfolio Progress Report                            Wyatt_DHS_0181052




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2/20/2020     OAR 413-053-000 -070 re Strengthening, Preserving and               Publicly available
              Reunifying Families

2/20/2020     WHO DOES WHAT AT CENTRAL OFFICE- Updated                            Wyatt_DHS_1911296

2/29/2020     OOSYouthData20200229                                                Wyatt_DHS_2630615

3/2/2020      Comprehensive Portfolio Progress Report                             Wyatt_DHS_2688066

3/4/2020      2020-03-04 2Z6MF2JXPN CIRT Final Report                             Publicly available

3/8/2020      OR Executive Order 20-03                                            Publicly available
              (https://www.oregon.gov/gov/eo/eo_20-03.pdf)

3/10/2020     2020-03-10 VTEGJV6MJK CIRT Final Report                             Publicly available

3/12/2020     OR Executive Order 20-05                                            Publicly available
              https://www.oregon.gov/gov/eo/eo_20-05.pdf

3/13/2020     TLWZ8NL2YG CIRT Final Report                                        Publicly available

3/16/2020     DHS CW FAQs and Guidance 3162020 Child Welfare                      To produce

3/16/2020     CT - DCF memo to all staff (COVID-19 Guidance from CW)              To produce

3/18/2020     Overview of State Agencies of Child Welfare Services Response to    To produce
              COVID-19

3/19/2020     OR Executive Order 20-09                                            Publicly available
              (https://www.oregon.gov/gov/eo/eo_20-09.pdf)

3/19/2020     OR Executive Order 20-10                                            Publicly available
              (https://www.oregon.gov/gov/eo/eo_20-10.pdf)

3/20/2020     Proposal for suspending or modifying visitation family contact in   To produce
              juvenile dependency matters

3/20/2020     0QUOOFBXEB CIRT Final Report                                        Publicly available

3/22/2020     OR Executive Order 20-11                                            Publicly available
              (https://www.oregon.gov/gov/eo/eo_20-11.pdf)

3/22/2020     DHS - Every Child and DHS Launch My Neighbor                        To produce

3/23/2020     SEIU Concerns from Workers Tracker                                  Wyatt_DHS_2716859

3/23/2020     Gov News - Stay Home                                                To produce

3/23/2020     Gov-COVID-19-Joint-Task-Force-Initial-Report                        To produce


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3/23/2020     OR Executive Order 20-12                                            Wyatt_DHS_2691429

3/24/2020     Director Letter Re Visitation                                       Wyatt_DHS_2691437

3/24/2020     Video Message from Oregon's Child Welfare Director Rebecca          Publicly available
              Jones Gaston
              (https://www.youtube.com/watch?app=desktop&fbclid=IwAR3D
              FPNjnOuN4xYGnDA3D3VOx880A9mJ3dA8V3tTknQaudVpzPbJPu
              N8HiM&feature=youtu.be&v=SoqIsY7TzAg)

3/26/2020     ZKRMYB3RXF CIRT Final Report                                        Publicly available

3/30/2020     DHS Email Re Child Welfare - Visitation Guidelines and Updates      To produce

3/30/2020     DHS Letter - Visitation Guidelines and Updates                      To produce

3/30/2020     COVID-19 Recommendations for Certification Work                     Wyatt_DHS_2760883

3/30/2020     CPS safety (COVID-19 Guidance from CW)                              To produce

3/30/2020     PC Payment COVID-19                                                 To produce

3/30/2020     Copy of Child Welfare COVID-19 Activity Tracker                     To produce

3/30/2020     Copy of COVID-19 Communication Plans                                To produce

3/30/2020     Copy of Laptop Names tracking                                       To produce

3/30/2020     DHS Letter - Visitation Guidelines and Updates                      Wyatt_DHS_2691437

3/31/2020     OR.08 Number of Placements for Children in Foster Care, March       To produce
              1, 2020 - March 31, 2020

3/31/2020     OOS Youth Data                                                      Wyatt_DHS_2630616

4/1/2020      Comprehensive Portfolio Progress Report                             Wyatt_DHS_2688073

4/1/2020      OR Executive Order 20-13                                            Publicly available
              (https://www.oregon.gov/gov/eo/eo_20-13.pdf)

4/2/2020      DHS Email_FW_ Updated Visitation Info                               To produce

4/3/2020      FW_ Visitation Guidelines update from Child Welfare Director        To produce
              Rebecca Jones Gaston

4/3/2020      DHS Revised Program-Guidance-Visitation                             Wyatt_DHS_2691460

4/6/2020      OHA Treatment Guidelines                                            Wyatt_DHS_2691462




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   DATE                                  Description                              BATES NO. / DKT NO.

4/7/2020      OR Executive Order 20-14                                          Publicly available
              (https://www.oregon.gov/gov/eo/eo_20-14.pdf)

4/7/2020      OR Executive Order 20-15                                          Publicly available
              (https://www.oregon.gov/gov/eo/eo_20-15.pdf)

4/7/2020      7EYWTLOIFC CIRT Final Report                                      Publicly available

4/9/2020      KAEX624LSI CIRT Final Report                                      Publicly available

4/10/2020     CW Engagement Survey - Infographic Waves1-7 041020                Wyatt_DHS_3966396

4/15/2020     OR Executive Order 20-16                                          Publicly available
              (https://www.oregon.gov/gov/eo/eo_20-16.pdf)

4/15/2020     OR Executive Order 20-30                                          Publicly available
              (https://www.oregon.gov/gov/eo/eo_20-30.pdf)

4/17/2020     C4YU8W2ABJ CIRT Final Report                                      Publicly available

4/21/2020     CW Engagement Survey v214 Final Relaunch                          Wyatt_DHS_3003273

4/23/2020     ODOJ Email re DHS Website                                         Publicly available

4/29/2020     DHS Website re COVID-19                                           Publicly available

4/29/2020     DHS Website_Abuse Prevention                                      Publicly available

4/29/2020     DHS Website_Guides & Resources                                    Publicly available

4/29/2020     DHS Website_Partner Orgs & Addl Resources                         Wyatt_DHS_2691465

4/29/2020     DHS Website_Supporting Former Youth                               Publicly available

4/29/2020     DHS Website_Supporting_1                                          Publicly available

4/29/2020     DHS Website_Supporting_2                                          Publicly available

4/29/2020     DHS Website_Supporting_3                                          Publicly available

4/29/2020     DHS Website_Visitation                                            Publicly available

4/30/2020     2020 Q6 OR PIP Progress Report                                    Wyatt_DHS_2688957

4/30/2020     OOS Youth Data                                                    Wyatt_DHS_2630617

5/1/2020      Comprehensive Portfolio Progress Report                           Wyatt_DHS_2688081

5/1/2020      0HGWT3F5G CIRT Final Report                                       Publicly available

5/1/2020      D10 PIP Charts May-20                                             Wyatt_DHS_3567897



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5/11/2020     Gov News - State Budget                                           To produce

5/11/2020     Gov News - State Budget                                           Wyatt_DHS_4397107

5/11/2020     CW Field Staff EE Wave 8-Summary Report                           To produce

5/12/2020     DHS Information Sheet 2020 Budget Reduction Exercise              Wyatt_DHS_4649032

5/13/2020     DHS CW Vision for Transformation - Final                          Wyatt_DHS_2630618

5/13/2020     KVRHCUQ7FH CIRT Final Report                                      Publicly available

5/14/2020     OR Executive Order 20-25                                          Publicly available
              (https://www.oregon.gov/gov/eo/eo_20-25.pdf)

5/18/2020     FCP Strategic Plan                                                Wyatt_DHS_2696471

5/18/2020     YH6EYJI108 Final CIRT Report                                      Publicly available

5/26/2020     X00QOXOB04 CIRT Final Report                                      Publicly available

5/27/2020     DHS Child Welfare Presentation                                    Wyatt_DHS_4505361

5/27/2020     DHS Budget Reduction Exercise                                     Wyatt_DHS_4397064

5/31/2020     OOSYouthData20200531                                              Wyatt_DHS_3604006

6/1/2020      Comprehensive Portfolio Progress Report                           Wyatt_DHS_2688089

6/1/2020      Revised SEIU Novel Coronavirus LOA_Signed                         Wyatt_DHS_2675622

6/1/2020      SOGIE Policy (Ch 5, Sec 41) updated June 2020                     Wyatt_DHS_2673813

6/1/2020      Resource Management Director’s Report re Compliance               Wyatt_DHS_3623007

6/2/2020      DHS CW- Staff QRG in office visits FINAL 6120                     Wyatt_DHS_2691468

6/2/2020      DHS CW- Visit guide one for parents foster parents FINAL 6120     Wyatt_DHS_2691469

6/2/2020      DHW CW_Oregon DHS Guidance for Parent Child visitsFINAL6120       Wyatt_DHS_2691472

6/2/2020      SOCAC-Bylaws                                                      Wyatt_DHS_2675628

6/2/2020      SOCAC Membership                                                  Publicly available
              (https://www.oregon.gov/oha/HSD/BH-Child-
              Family/SOCAC/Membership.pdf)

6/3/2020      Updated Parent Child Visitation Guidelines during COVID-19        Wyatt_DHS_2691491




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6/3/2020      Senate_DHS Budget Reduction Exercise                                Wyatt_DHS_4397105

6/3/2020      DHS CW Program Update Senate Human Services Presentation            Wyatt_DHS_2999946

6/9/2020      ORCAH Project Story board                                           Wyatt_DHS_2675659

6/11/2020     CW Org Chart                                                        Wyatt_DHS_2688607

6/12/2020     OR Executive Order 20-28                                            Publicly available
              (https://www.oregon.gov/gov/eo/eo_20-28.pdf)

6/12/2020     87DK98F1DR CIRT Final Report                                        Publicly available

6/15/2020     DHS Opening - Social Service Specialist CPS                         To produce

6/24/2020     OR Executive Order 20-29                                            Publicly available
              (https://www.oregon.gov/gov/eo/eo_20-29.pdf)

6/25/2020     Oregon-COVID-19-Projections                                         To produce

6/26/2020     0TOU6ULKGF CIRT Final Report                                        Publicly available

6/28/2020     DHS Telecommuting Survey Report                                     Wyatt_DHS_2691494

6/30/2020     Every Child 2020 Q1 Report                                          Wyatt_DHS_3202943

6/30/2020     OOS Youth Data 20200630                                             Wyatt_DHS_3145323

7/1/2020      Comprehensive Portfolio Progress Report                             Wyatt_DHS_2688097

7/1/2020      CIRT Final Report                                                   Publicly available

7/1/2020      DHS CW_Update re out-of-state placements                            To produce

7/1/2020      D12 PIP Charts Jul-20                                               Wyatt_DHS_2699760

7/1/2020      D13 PIP Charts Jul-20                                               Wyatt_DHS_1987498

7/6/2020      CIRT Status Report                                                  To produce

7/14/2020     Agenda SCAC                                                         Wyatt_DHS_2763985

7/22/2020     OR Q7 KEEP Report                                                   Wyatt_DHS_2688109

7/31/2020     CP3 Marion County Gaps and Resources Report                         Wyatt_DHS_2729671

8/1/2020      D11 PIP Charts Aug-20                                               Wyatt_DHS_2703955

8/31/2020     OR CFSR PIP renegotiation approval letter final                     Wyatt_DHS_2689176

9/3/2020      Response Letter to Sen Wyden re Safety at Screening tool            Wyatt_DHS_3007680




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9/10/2020        FINAL - Family Report Rollout SSS1                                 Wyatt_DHS_2690565

9/10/2020        OCWP- COVID 90-day Plan- Treatment Services- FINAL                 Wyatt_DHS_2717673

9/15/2020        DHS CW Vision for Transformation                                   Wyatt_DHS_2630618

9/28/2020        FINAL - Content Guide Family Report                                Wyatt_DHS_2690544

9/28/2020        FINAL - Family Report Rollout SUPERVISOR AND MAPS                  Wyatt_DHS_2690591

9/30/2020        2021 APSR (submitted Sept 30, 2020)                                Wyatt_DHS_2690337

9/30/2020        2021 APSR Report Attachments (multiple documents)                  Wyatt_DHS_2689318 -
                                                                                    Wyatt_DHS_2690280

10/1/2020        Audit protocol                                                     Wyatt_DHS_2709678

10/1/2020        One-pager- CW Staff Support_Clean                                  To produce

10/1/2020        D1 PIP Charts Oct-20                                               Wyatt_DHS_2704053

10/22/2020       Guidance for Helpers in a Virtual Environment                      Wyatt_DHS_2718588

10/26/2020       COVID-19 Resources Combined                                        Wyatt_DHS_2717333

10/29/2020       Child Caring Agency COVID-19 Outbreak Response Process             Wyatt_DHS_2727833

Nov-20           District 13 Child Welfare Org Chart (Wallowa, Union, Baker         Wyatt_DHS_2690749
                 Counties)

11/3/2020        Child Welfare Treatment Services Capacity Overview 2020- FINAL     Wyatt_DHS_2716941

11/6/2020        Oregon's Family First Title IV-E Prevention Plan Final             Wyatt_DHS_2690698

11/18/2020       Oregon DHS Protocol for Parent Child visits-FINAL                  Wyatt_DHS_2713786

11/24/2020       Chafee Attachment - ORFY16-20 NYTD Data Snapshot                   Wyatt_DHS_2709583

12/11/2020       CW COOP Final                                                      Wyatt_DHS_2709790

12/14/2020       ORCAH COOP                                                         Wyatt_DHS_2709876

12/18/2020       COVID Impact on Foster Parents                                     Wyatt_DHS_2691901

12/21/2020       CW COOP Final                                                      Wyatt_DHS_2717352

1/11/2021        FAQ FCCRC - V1                                                     Wyatt_DHS_2711559

1/29/2021        Every Child Year 4 Report 2020                                     Wyatt_DHS_2715636



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2/1/2021         First Quarter NOP Period Report                                     Wyatt_DHS_2721484

2/12/2021        12 Month Training Plans Combined                                    Wyatt_DHS_2709621

3/2/2021         DRAFT Braided Funding Map                                           Wyatt_DHS_2711565

3/5/2021         2021 Project One OR-Kids Advanced Planning Doc Final                Wyatt_DHS_2711321

3/5/2021         2021 Project Two Implementation Advanced Planning Doc IAPD          Wyatt_DHS_2711270
                 Final

4/8/2021         CQI Workgroup Charter                                               Wyatt_DHS_2711371

4/12/2021        Second Quarter NOP Report                                           Wyatt_DHS_2721514

4/25/2021        System of Care Barrier Review Process Draft                         Wyatt_DHS_2709688

4/28/2021        OR FY 2020 Data MCV VIH FFP Rate Reduction letter                   Wyatt_DHS_2696638

5/1/2021         D10 CQI Charts May-21                                               Wyatt_DHS_2709616

5/5/2021         Chafee Graduation Report                                            Wyatt_DHS_2709526

5/10/2021        CW Updates & ORCAH presentation                                     Wyatt_DHS_2696662

5/18/2021        Mask Wearing Requirements in Child Caring Agencies                  Wyatt_DHS_2726992

5/27/2021        Oregon FY22 CFS-101s                                                Wyatt_DHS_2709588

5/27/2021        Oregon FY22 CFS-101s-signed                                         Wyatt_DHS_2709585

6/15/2021        ODHS Workload Report ORS 409.161                                    Wyatt_DHS_2715679

6/22/2021        OR Executive Summary                                                Wyatt_DHS_2710225

7/1/2021         D12 CFSR Charts Jul-21                                              Wyatt_DHS_2710587

7/1/2021         D13 CFSR Charts Jul-21                                              Wyatt_DHS_2710549

7/6/2021         2021-23 Child Welfare Budget Priorities                             Wyatt_DHS_2697240

7/19/2021        Third Quarter NOP Report                                            Wyatt_DHS_2721553

Aug-21           2022 APSR (resubmitted Aug 2021)                                    Wyatt_DHS_2710406

8/1/2021         D11 CFSR Charts Aug-21                                              Wyatt_DHS_2721571

8/2/2021         Protocol for Parent Child Visits                                    Wyatt_DHS_2715791

8/9/2021         CW and ORRAI partner to create a state CQI                          Wyatt_DHS_2715835
                 model_Announcement



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8/10/2021     CW Training Unit Butler Plan                                      Wyatt_DHS_2710310

8/24/2021     Temporary Administrative Order CWP_19-2021                        To produce

8/27/2021     Mandatory vaccines do not apply to resource parents resource      Wyatt_DHS_2715846
              families

8/30/2021     COVID-19 Vaccine Mandate Information                              Wyatt_DHS_2727018

9/20/2021     AR 1895 CORR Response to 082021 Substantial Noncompliance         Wyatt_DHS_2715937
              Letter

9/23/2021     BRS Vaccination Memo REVISED                                      Wyatt_DHS_2715985

9/25/2021     Project Charter CQI                                               Wyatt_DHS_2711377

9/30/2021     Temporary Administrative Order CWP_20-2021                        To produce

9/30/2021     7246 Oregon FY2022 APSR State Approval Letter- 9-2021             Wyatt_DHS_2711208
              signed

9/30/2021     7246 Oregon FY2022 CFS-101s-signed                                Wyatt_DHS_2711205

9/30/2021     Correction ODHS Partner Newsletter Be prepared COVID-19           Wyatt_DHS_2716388
              resources and more

10/1/2021     Temporary Administrative Order CWP_21-2021                        To produce

10/1/2021     Children's System Plan Document - Signed Final                    Wyatt_DHS_2711571

10/1/2021     D1 CFSR Charts Oct-21                                             Wyatt_DHS_2721692

10/1/2021     D14 CFSR Charts Oct-21                                            Wyatt_DHS_2721697

10/8/2021     cwig- podcast transcript- episode 68                              To produce

10/13/2021    Fourth Quarter NOP Report                                         Wyatt_DHS_2721620

10/19/2021    CQI Update                                                        Wyatt_DHS_2711385

12/7/2021     FCCRC Steering Dec                                                Wyatt_DHS_2711656

1/3/2022      Worker Caseload - DRAFT                                           Wyatt_DHS_2729186

1/15/2022     Fifth Quarter NOP Period Report                                   Wyatt_DHS_2721880

1/18/2022     Child Welfare Presentation Childrens Cabinet_FINAL                Wyatt_DHS_2717821

1/19/2022     Project Charter Template draft                                    To produce

1/21/2022     CW PMO 2021 Annual Progress Report Key Initiatives - final        Wyatt_DHS_2720911



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1/31/2022     CP3 Douglas County Gaps and Resources Report                      Wyatt_DHS_2729655

2/1/2022      Worker Caseload - DRAFT                                           Wyatt_DHS_2729189

2/2/2022      ODHS Child Welfare Equity Quarterly Report Oct - Dec 2021         Wyatt_DHS_2721038

2/2/2022      New Release re Lowest Foster Care Numbers in 16 years             Wyatt_DHS_4418867

2/2/2022      PRTF Capacity Memo                                                Wyatt_DHS_2721076

2/3/2022      Oregon Caseload Ratio Standards                                   Wyatt_DHS_2721405

2/3/2022      Caseload Ratio Standards 2022-02-03                               Wyatt_DHS_2721405

2/9/2022      D16 CFSR Data and Debrief documents for Monday meeting.msg        Wyatt_DHS_2721958

3/1/2022      Worker Caseload - DRAFT                                           Wyatt_DHS_2729192

3/2/2022      CPS Tool Kit Plan                                                 To produce

3/15/2022     Jones-Gaston, Rebecca deposition transcript (1 of 2)              Deposition Transcript

4/1/2022      Worker Caseload - DRAFT                                           Wyatt_DHS_2729195

4/6/2022      District 1 Org Chart                                              Wyatt_DHS_2722471

4/7/2022      CW Central Office Org Chart                                       Wyatt_DHS_2722864

4/11/2022     DB Adoption Disruptions 2015 to 2020                              To produce

4/11/2022     F2F FC + IH Children 2016 to 2021                                 To produce

4/11/2022     Initial Family Report 2016 to 2021                                To produce

4/11/2022     Planning Meeting                                                  To produce

4/13/2022     Family Report every 180 Days 2016 to 2021                         To produce

4/14/2022     Sixth Quarter NOP Period Report                                   Wyatt_DHS_2723163

4/18/2022     OR-DHS-Child-Welfare-Procedure-Manual                             Wyatt_DHS_2723222

4/27/2022     Email from MH legal team re Wyatt v Brown - JCIP dashboard        To produce

4/28/2022     Ongoing Safety Plan Content Guide                                 To produce

5/2/2022      CH 4, SEC 18 Managing Child Safety in and Out of Home,            To produce
              Missing Children - Child Welfare Procedure Manual

5/10/2022     Email from MH legal team re Wyatt v Brown - OR Project            To produce




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5/25/2022     Email from MH legal team re last OOS kids data                      To produce

5/31/2022     Youth in Self-Selected Environment by quarter and age of youth      To produce
              since the service was created

6/2/2022      Jan 2016 to Mar 2022 CV01 F2F FED Under 18 PDF v2                   To produce

6/2/2022      Jan 2016 to Mar 2022 CV02 F2F FED Under 18 PDF v2                   To produce

6/2/2022      Jan 2016 to Mar 2022 CV01 and CV02 F2F FED Under 18 Source          To produce
              v2 Excel

6/3/2022      Email from K Keller to A Cox re FW- Disruption Docs                 To produce

6/3/2022      Clarifications around Self-Selected Environment (SSE) in OR-Kids    To produce

6/8/2022      Worker Caseload Dashboard Presentation - DRAFT                      To produce

6/14/2022     Temp Lodging Staffing Data Excel                                    To produce

6/28/2022     Jones-Gaston, Rebecca deposition transcript (2 of 2)                Deposition Transcript

7/1/2022      OAR 413-40 Case Management - Service Plans                          Publicly available
              (http://www.dhs.state.or.us/policy/childwelfare/manual_1/divisi
              on_40.pdf)

1/31/2023     12 2022 Annual QRTP Report_Final                                    Wyatt_DHS_4467018

4/6/2023      ODHS-stands-with-lgbtq-community                                    Wyatt_DHS_2784351

4/17/2023     Re SB 209 Supporting LGBTQIA2S+ youth in foster care                Wyatt_DHS_2784578

4/18/2023     ODHS v Bates_Decl J Bates Appendix with training materials          Wyatt_DHS_2784376

4/18/2023     ODHS v Bates_Decl J Bates ISO Pltf's Motion for Prelim Injunction   Wyatt_DHS_2784354

4/18/2023     ODHS Child Welfare Workforce and Respite Care                       Wyatt_DHS_2784580

5/31/2023     BRS Rate Increases - OYA OHA ODHS                                   Wyatt_DHS_4663318

6/15/2023     30(b)(6) Andresen, Lacey deposition transcript                      Deposition Transcript

6/29/2023     41 ODHS CW Administration COMPLETE                                  Wyatt_DHS_4467289

6/29/2023     42 ODHS CW Oregon Child Abuse Hotline ORCAH COMPLETE                Wyatt_DHS_4467474




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6/30/2023        2024 APSR Submission                                                  Wyatt_DHS_4467023

7/13/2023        Center Square_Oregon’s Department of Justice forms new                To produce
                 division focused on children

7/24/2023        Legislative Session 2023 - CW Highlights on Letterhead                Wyatt_DHS_4564313

8/21/2023        2024 APSR Resubmission, August 2023                                   Wyatt_DHS_4663459

8/23/2023        Email from MH legal team re APSR reporting period                     To produce

8/23/2023        Oregon DHS Child Welfare Procedure Manual Rev                         Wyatt_DHS_4663658

8/29/2023        Allen, Nancy deposition transcript                                    Deposition Transcript

Sep-23           Legal Standards (MH work product)                                     To produce

9/5/2023         CQI- ELT Status Report                                                Wyatt_DHS_4665723

9/7/2023         Marshall, Glenda deposition transcript                                Deposition Transcript

9/11/2023        Loughary, Deena deposition transcript                                 Deposition Transcript

9/12/2023        Lorz, Kim Aaron deposition transcript                                 Deposition Transcript

9/12/2023        Flint-Gerner, Aprille deposition transcript                           Deposition Transcript

9/13/2023        Gray (Keller), Kimberly deposition transcript                         Deposition Transcript

9/15/2023        Pakseresht, Fariborz deposition transcript                            Deposition Transcript

9/18/2023        Temp Lodging - RCH Presentation Final                                 Wyatt_DHS_4665951

9/21/2023        Fox, Sara deposition transcript                                       Deposition Transcript

10/2/2023        Temporary Lodging_Progress Report                                     Wyatt_DHS_4666002

10/3/2023        SOCAC meeting slides                                                  Wyatt_DHS_4665863

10/5/2023        FOCUS Child Specific Caregiver Supports (CSCS) - one page info        To produce

10/9/2023        RSN's alignment with the Vision for Transformation                    To produce

10/23/2023       Vision for Transformation 2022 Progress Report                        Wyatt_DHS_4666015

2015-04          Oregon (Small) Foster Children's Bill of Rights                       Wyatt_DHS_0072085

2015-2019        CFSP Final Report for FY's 2015-2019                                  Wyatt_DHS_0062138

2015-2019        2015-2019 ILP 5-Year Plan                                             Wyatt_DHS_0305916



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2015-2019       2015-2019 NYTD Data Snapshot                                      Publicly available
                (https://www.oregon.gov/odhs/data/cwdata/cw-ilp-nytd-
                snapshot-2015-2019-oregon.pdf)

2016-11         D9 CQI Charts Nov-16                                              To produce

2016 Q3         CFSR Statewide Review Ratings                                     Wyatt_DHS_0276885

2016 Q4         2016 CQI charts D1                                                To produce

2016 Q4         2016 CQI charts D14                                               To produce

2016-11         D15 CQI Charts Nov-16                                             To produce

2016-12         D16 CQI charts Dec-16                                             Wyatt_DHS_1710848

2016-2017       2016-2017 ILP Annual Report Summary Page-APSR-                    Wyatt_DHS_0135537
                Attachment-15

2017-08         D11 PIP Charts Aug-17                                             To produce

2017            D5 PIP charts Feb-Mar-17                                          To produce
February-
March

2017-07         D6 PIP charts Jul-17                                              Wyatt_DHS_1609518

2017-06         D8 Grants Pass PIP Charts Jun-17                                  To produce

2017-06         D8 Medford PIP charts Jun-17                                      To produce

2017-05         PIP Charts D7 May 2017                                            To produce

2017-11         D9 PIP Charts Nov-17                                              To produce

2017 Q1         D2 Gresham Chart                                                  Wyatt_DHS_1765203

2017 Q1         D2 Midtown Chart                                                  Wyatt_DHS_2225338

2017 Q2         D3 Marion Chart                                                   Wyatt_DHS_0278676

2017 Q2         D3 Polk-Yamhill Chart                                             Wyatt_DHS_1921047

2017 Q3         D13 Chart                                                         Wyatt_DHS_0229358

2017 Q3         D2 Alberta Chart                                                  Wyatt_DHS_1765667

2017 Q3         D4 Chart                                                          Wyatt_DHS_0183033

2017 Q3         D6 Chart                                                          Wyatt_DHS_1609518




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2017 Q3         CFSR Statewide Review Ratings PIP Feb-Jun 2017                     Wyatt_DHS_0294223

2017 Q4         D1 Chart                                                           Wyatt_DHS_1412549

2017 Q4         D16 Chart                                                          Wyatt_DHS_1413176

2017-01         D2 Gresham CQI charts Jan-17                                       Wyatt_DHS_1765203

2017-01         D2 Midtown CQI charts Jan-17                                       Wyatt_DHS_2225338

2017-01         CW-Outcomes-Scorecard                                              Wyatt_DHS_0056496

2017-01-18      State of Oregon Advisory - Child Welfare Advisory Committee        To produce
to 2018-11-     (CWAC)
14

2017-02         CW-Outcomes-Scorecard                                              Wyatt_DHS_0056484

2017-03         CW-Outcomes Scorecard                                              Wyatt_DHS_0056490

2017-04         D3 Marion PIP charts Apr17                                         Wyatt_DHS_0278676

2017-04         D3 Polk-Yamhill PIP Charts Apr17                                   Wyatt_DHS_1921047

2017-04         D4 PIP Charts Aug-17                                               Wyatt_DHS_0183033

2017-04         CW-Outcomes-Scorecard                                              Wyatt_DHS_0056502

2017-04         2016 Child Welfare Data Book                                       Wyatt_DHS_1567477

2017-05         CW-Outcomes-Scorecard                                              Wyatt_DHS_0056508

2017-06         CW-Outcomes-Scorecard                                              Wyatt_DHS_0056514

2017-07         Oregon Foster Children's Bill of Rights                            Wyatt_DHS_2269955

2017-07         CW-Outcomes-Scorecard                                              Wyatt_DHS_0056520

2017-08         Mandatory-Materials-DHS-Children & Youth in Care                   Wyatt_DHS_2271845

2017-08         CW-Outcomes-Scorecard                                              Wyatt_DHS_0056526

2017-09         D2 Alberta PIP charts Sept-17                                      Wyatt_DHS_1765667

2017-09         D2 East Multnomah PIP charts Sept-17                               To produce

2017-09         CW-Outcomes-Scorecard                                              Wyatt_DHS_0056532

2017-10         2017 ORRAI Child Welfare Research Agenda                           Wyatt_DHS_0047799

2017-10         CW-Outcomes-Scorecard                                              Wyatt_DHS_0056538




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2017-11         2017-11 NAYA ILP Review Report                                     Wyatt_DHS_0135300

2017-11         D15 N Clackamas PIP Charts Nov-17                                  To produce

2017-11         D15 Oregon City PIP Charts Nov-17                                  To produce

2017-11         CW-Outcomes-Scorecard                                              Wyatt_DHS_0056544

2017-12         Oregon Foster Children's Sibling Bill of Rights                    Wyatt_DHS_0889031

2017-12         2017-12 NAFY ILP Review Report                                     Wyatt_DHS_0135431

2017-12         D16 PIP Charts Dec17                                               Wyatt_DHS_1413176

2017-12         CW-Outcomes-Scorecard                                              Wyatt_DHS_0056550

2017-2018       2017-2018 Oregon Independent Living Program Review -               Wyatt_DHS_0135652
                Statewide Review Findings

2018- 08 to     ORCAH Annual Report                                                Wyatt_DHS_1948650
2019-08

2018            D5 PIP Charts Feb-Mar 2018                                         Wyatt_DHS_2697796
February-
March

2018 July       D6 PIP Charts Jul-18                                               Wyatt_DHS_1420603

2018 May        D7 PIP Charts May-18                                               Wyatt_DHS_2697811

2018 Q1         D2 Gresham Chart                                                   Wyatt_DHS_2697788

2018 Q1         D2 Midtown Chart                                                   Wyatt_DHS_2697792

2018 Q1         D5 Chart                                                           Wyatt_DHS_2697796

2018 Q1         2018 Q1 CFSR Progress Report                                       Wyatt_DHS_1391297

2018 Q1         CFSR Statewide Review Ratings                                       Wyatt_DHS_0229498

2018 Q2         D10 Chart                                                          Wyatt_DHS_2697816

2018 Q2         D3 Marion Chart                                                    Wyatt_DHS_0283268

2018 Q2         D3 Polk-Yamhill Chart                                              Wyatt_DHS_0186385

2018 Q2         D7 Chart                                                           Wyatt_DHS_2697811

2018 Q2         D8 Grants Pass Chart                                               Wyatt_DHS_1420607

2018 Q2         D8 Medford                                                         Wyatt_DHS_2697820




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2018 Q3       D11 Chart                                                          Wyatt_DHS_1420648

2018 Q3       D12 Chart                                                          Wyatt_DHS_1420595

2018 Q3       D13 Chart                                                          Wyatt_DHS_1420599

2018 Q3       D2 Alberta Chart                                                   Wyatt_DHS_1420703

2018 Q3       D2 East Multnomah Chart                                            Wyatt_DHS_1420707

2018 Q3       D4 Chart                                                           Wyatt_DHS_1420652

2018 Q3       D6 Chart                                                           Wyatt_DHS_1420603

2018 Q4       D1 Chart                                                           Wyatt_DHS_0186980

2018 Q4       D14 Chart                                                          Wyatt_DHS_1420745

2018 Q4       D15 Chart                                                          Wyatt_DHS_0187931

2018 Q4       D16 Chart                                                          Wyatt_DHS_1420882

2018 Q4       D9 Chart                                                           Wyatt_DHS_1420779

2018-01       D2 Gresham PIP Charts Jan-18                                       Wyatt_DHS_2697788

2018-01       D2 Midtown PIP Charts Jan-18                                       Wyatt_DHS_2697792

2018-01       CW-Outcomes-Scorecard                                              Wyatt_DHS_0056556

2018-02       2017 Child Welfare Data Book                                       Wyatt_DHS_0135720

2018-02       Child Welfare Vision for the Future & Related Materials (Meeting   Wyatt_DHS_0242188
              with Gov & Liesl Wendt)

2018-02       A.R. v. State Settlement Agreement                                 Wyatt_DHS_4602645

2018-02       CW Outcomes Scorecard                                              Wyatt_DHS_0056562

2018-03       Family First Bill Summary                                          Wyatt_DHS_2122488

2018-03       Equity, Diversity and Inclusion Assessment of DHS                  To produce

2018-03       CW Outcomes Scorecard                                              Wyatt_DHS_0056568

2018-04       DHS Settlement Agreement Summary - Temporary Stays for             Wyatt_DHS_0213062
              Foster Children & Young Adults

2018-04       Timeline-J United Child & Youth Safety Implementation Plan         Wyatt_DHS_0063105

2018-04       D3 Marion PIP Charts Apr-18                                        Wyatt_DHS_0283268




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2018-04       D3 Polk-Yamhill PIP Charts Apr-18                                 Wyatt_DHS_0186385

2018-04       CW Outcomes Scorecard                                             Wyatt_DHS_0056574

2018-04       ORRAI Status Report                                               Wyatt_DHS_0114725

2018-05       2018-05 May Child Welfare Progress Report                         Wyatt_DHS_0030827

2018-05       Professional Services Contract - Liesl Wendt                      Wyatt_DHS_0775754

2018-05       Timeline-A United Child & Youth Safety Implementation Plan        Wyatt_DHS_0062656

2018-05       CW Outcomes Scorecard                                             Wyatt_DHS_0056580

2018-05       ORRAI Status Report                                               Wyatt_DHS_0047650

2018-06       2018-06 June                                                      Wyatt_DHS_0030833

2018-06       ORRAI Status Report                                               Wyatt_DHS_0047656

2018-06       Children and Youth With Specialized Needs Workgroup issues        Wyatt_DHS_0134311
              recommendations

2018-06       Temp Lodging Stakeholder Interview Summary                        Wyatt_DHS_0213538

2018-06       Project Status Summary                                            Wyatt_DHS_0063077

2018-06       D8 Grants Pass PIP Charts Jun-18                                  Wyatt_DHS_1420607

2018-06       D8 Medford PIP Charts Jun-18                                      Wyatt_DHS_2697820

2018-06       CW Outcomes Scorecard                                             Wyatt_DHS_0056590

2018-07       2018-07 July                                                      Wyatt_DHS_0030840

2018-07       ORRAI Status Report                                               Wyatt_DHS_0047663

2018-07       Plan for Addressing Temp Lodging Emergency Use                    Wyatt_DHS_2012278

2018-07       CW Outcomes Scorecard                                             Wyatt_DHS_0056596

2018-08       OHA & DHS Continuum of Care Partner Feedback Report               Wyatt_DHS_0062775

2018-08       2018-08 Aug CW Monthly Progress Report                            Wyatt_DHS_0030848

2018-08       ORRAI Status Report                                               Wyatt_DHS_0047670

2018-08       D4 PIP Charts Aug-18                                              Wyatt_DHS_1420652

2018-08       CW Outcomes Scorecard                                             Wyatt_DHS_0056602

2018-09       2018-09 Sept CW Monthly Progress Report                           Wyatt_DHS_0030859



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2018-09       Centralized Hotline Transition Plan                                 Wyatt_DHS_0062851

2018-09       ORRAI Status Report                                                 Wyatt_DHS_0047678

2018-09       Project Transition Plan Part 1                                      Wyatt_DHS_0063034

2018-09       Project Transition Plan Part 2                                      Wyatt_DHS_0063029

2018-09       D2 Alberta PIP Charts Sep-18                                        Wyatt_DHS_1420703

2018-09       D2 East PIP Charts Sep-18                                           Wyatt_DHS_1420707

2018-10       2018-10 Oct CW Monthly Progress Report                              Wyatt_DHS_0030869

2018-10       CHAT News Fall 2018 ENGLISH                                         Wyatt_DHS_0061277

2018-10       ORRAI Status Report                                                 Wyatt_DHS_0047686

2018-10       Hotline-Newsletter                                                  Wyatt_DHS_0062860

2018-11       2018-11 Nov CW Monthly Progress Report                              Wyatt_DHS_0030881

2018-11       ORRAI Status Report                                                 Wyatt_DHS_0047694

2018-11       2018-11 Research Implementation basic road map                      Wyatt_DHS_0122068

2018-11       Caregiver Training Redesign Charter                                 Wyatt_DHS_0063037

2018-11       Final Temporary Lodging Root Cause Report                           Wyatt_DHS_0782792

2018-11       Temp Lodging Status Update Assessment and Recommendations           Wyatt_DHS_1901546

2018-11       D15 PIP Charts Nov-18                                               Wyatt_DHS_0187931

2018-11       D9 PIP Charts Nov18                                                 Wyatt_DHS_1420779

2018-11       November Oregon Child Abuse Hotline Newsletter
                                                                                  Wyatt_DHS_0062869

2018-12       D16 PIP Charts Dec-18                                               Wyatt_DHS_2722107

2018-12       2018-12 Dec CW Monthly Progress Report                              Wyatt_DHS_0030890

2018-12       ORRAI Status Report                                                 Wyatt_DHS_0047702

2018-12       Caregiver Support Development Closing                               Wyatt_DHS_0063099

2018-12       D16 PIP Charts Dec-18                                               Wyatt_DHS_1420882

2018-2019     2018-2019 Project-A-CW-Listening-Tour-Report                        Wyatt_DHS_0062622

2018-2019     P.R.I.D.E. ERG Annual Report (FY 2018-2019)                         Wyatt_DHS_0894334




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2018-2019       Oregon Child Abuse Hotline – Centralization Timeline
                                                                                 Wyatt_DHS_0062942

2019            D5 PIP Charts Feb-Mar19                                          Wyatt_DHS_0708916
February-
March

2019 January    Child Welfare Policy and Rule Releases_ recent changes           To produce
- 2020 April

2019 July       D6 PIP Charts Jul-19                                             Wyatt_DHS_1987516

2019 May        D7 Coos Curry PIP charts May-19                                  Wyatt_DHS_1983367

2019 Q1         D2 Gresham Chart                                                 Wyatt_DHS_1980226

2019 Q1         D2 Midtown Chart                                                 Wyatt_DHS_1422619

2019 Q1         D5 Chart                                                         Wyatt_DHS_0708916

2019 Q2         D3 Chart                                                         Wyatt_DHS_1982312

2019 Q2         D3 Marion Chart                                                  Wyatt_DHS_1982317

2019 Q2         D3 Polk-Yamhill Chart                                            Wyatt_DHS_1982347

2019 Q2         D7 Chart                                                         Wyatt_DHS_1983367

2019 Q2         D8 Grants Pass Chart                                             Wyatt_DHS_0712603

2019 Q2         D8 Medford Chart                                                 Wyatt_DHS_1431551

2019 Q2         D10 Chart                                                        Wyatt_DHS_1431607

2019 Q2         D10 Chart                                                        Wyatt_DHS_1983557

2019 Q2         CFSR Statewide Review Ratings PIP Feb 2018-Mar 2019              Wyatt_DHS_1981461

2019 Q3         D2 Alberta Chart                                                 Wyatt_DHS_1436053

2019 Q3         D2 East Multnomah Chart                                          Wyatt_DHS_1436058

2019 Q3         D4 Chart                                                         Wyatt_DHS_0894878

2019 Q3         D6 Chart                                                         Wyatt_DHS_1987516

2019 Q3         D11 Chart                                                        Wyatt_DHS_1988568

2019 Q3         D12 Chart                                                        Wyatt_DHS_1987478

2019 Q3         D13 Chart                                                        Wyatt_DHS_1987498




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2019 Q3       2019 Q3 CFSR Progress Report                                      Wyatt_DHS_0218981

2019 Q3       SB 1515 DHS Substantiated Investigation Quarterly Report          Wyatt_DHS_2507699

2019 Q4       D1 Chart                                                          Wyatt_DHS_0290067

2019 Q4       D9 Chart                                                          Wyatt_DHS_1780097

2019 Q4       D14 Chart                                                         Wyatt_DHS_1780052

2019 Q4       D15 Chart                                                         Wyatt_DHS_0190465

2019 Q4       D16 Chart                                                         Wyatt_DHS_2699478

2019 Q4       2019 Q4 CFSR Ratings                                              Wyatt_DHS_0894878

2019 Q4       SB 1515 DHS Substantiated Investigation Quarterly Report          Wyatt_DHS_2994122

2019 Q4       CFSR Statewide Review Ratings Dec 2018-Nov 2019                   Wyatt_DHS_1990071

2019-01       2019-01 Jan Child Welfare Progress Report                         Wyatt_DHS_0030902

2019-01       CHAT News Winter 2019 ENGLISH                                     Wyatt_DHS_0061287

2019-01       ORRAI Status Report                                               Wyatt_DHS_0047710

2019-01       2019-01 Using Predictive Analytics - Handout                      Wyatt_DHS_0114379

2019-01       D2 Gresham PIP Charts Jan-19                                      Wyatt_DHS_1980226

2019-01       D2 Midtown PIP Charts Jan-19                                      Wyatt_DHS_1422619

2019-01       Every Child Bi-Annual-Report                                      Wyatt_DHS_2845746

2019-02       2019-02 Feb Child Welfare Progress Report                         Wyatt_DHS_0030915

2019-02       2019-02 ILP Family First                                          Wyatt_DHS_0063190

2019-02       ORRAI Status Report                                               Wyatt_DHS_0047719

2019-02       Temporary Lodging Placement Tracker Protocol                      Wyatt_DHS_0060312

2019-02       January-February Oregon Child Abuse Hotline Newsletter            Wyatt_DHS_0062876

2019-03       2019-03 March Child Welfare Progress Report                       Wyatt_DHS_0030925

2019-03       ORRAI Status Report                                               Wyatt_DHS_0047728

2019-03       Caregiver Training Redesign Closing                               Wyatt_DHS_0063102

2019-04       2019-04 April Child Welfare Progress Report                       Wyatt_DHS_0030933



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2019-04       CHAT_News Spring 2019 ENGLISH                                       Wyatt_DHS_0061260

2019-04       CHAT News Fall 2019 ENGLISH                                         To produce

2019-04       SOGIE Policy DRAFT                                                  Wyatt_DHS_0170499

2019-04       ORRAI Status Report                                                 Wyatt_DHS_0047737

2019-04       2019-04 Longitudinal-Dataset Infographic Pg1 v2040119               Wyatt_DHS_0124654

2019-04       ORRAI Safety After Substantiated Allegation                         Wyatt_DHS_0275957

2019-04       DHS Internal Assessment                                             Wyatt_DHS_0219520

2019-04       ORCAH Monthly Assignment and Workload Data April 2019               Wyatt_DHS_2205523

2019-04       60-Day Action Plan Summary - Serving Youth in Oregon                Wyatt_DHS_0062543

2019-04       D3 Marion PIP Charts Apr-19                                         Wyatt_DHS_1982317

2019-04       D3 Polk Yamhill PIP Charts Apr-19                                   Wyatt_DHS_1982347

2019-04       April Oregon Child Abuse Hotline Newsletter                         Wyatt_DHS_0062867

2019-04       ORCAH Monthly Assignment and Workload Data                          Wyatt_DHS_0895440

2019-05       Identifying Capacity Needs for Children within the Oregon Child     Wyatt_DHS_0047768
              Welfare System

2019-05       2018 Child Welfare Data Book                                        Wyatt_DHS_0063474

2019-05       2019-05 Identifying Capacity Needs for Children within the          Wyatt_DHS_0047768
              Oregon Child Welfare System

2019-05       Child Welfare Closing Report for the 60-Day Action Plan             Wyatt_DHS_0062542

2019-06       2020-2024 CFSP All Attachments                                      Publicly available
              (https://www.oregon.gov/odhs/data/cwdata/cw-cfsp-2020-
              2024.pdf)

2019-06       2020-2024 CFSP                                                      Wyatt_DHS_1289653

2019-06       2019-06 June Child Welfare Progress Report                          Wyatt_DHS_2207500

2019-06       ORRAI Status Report                                                 Wyatt_DHS_0047737

2019-06       Multi-Agency Behavior Rehabilitation Services (BRS) Guide           Wyatt_DHS_0056857

2019-06       D8- Grants Pass PIP Charts June-19                                  Wyatt_DHS_0712603



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2019-06        D8- Medford PIP Charts June-19                                     Wyatt_DHS_1431551

2019-06        CW Outcomes Scorecard by County                                    To produce

2019-06        SOS Audit Recommendation Follow-up Report                          Wyatt_DHS_1323886

2019-07        BRS-Non-BRS-Programs-Map                                           Wyatt_DHS_0063541

2019-07        2019-07 July Child Welfare Progress Report                         Wyatt_DHS_2206651

2019-07        CWOB Training Slide                                                Wyatt_DHS_0134683

2019-07        Surge Hire Documents for CWOB Meeting July 17                      Wyatt_DHS_1950790

2019-07        2019-07 CW-Community-Partnerships                                  Wyatt_DHS_0114670

2019-07        2019-07 Recruit Retain Foster Parents Market Segmentation          Wyatt_DHS_0114802

2019-07        CW-Community-Partnerships                                          Wyatt_DHS_0114670

2019-07        Race and Racism resources for caregivers                           To produce

2019-07        Safety at Reunification Research Brief                             Wyatt_DHS_0126066

2019-07        DHS Platform For Success Research                                  Wyatt_DHS_2259321

2019-07        Safety-at-Screening-Research-Brief-v1                              Wyatt_DHS_0132915

2019-08        2019-08 August Child Welfare Progress Report                       Wyatt_DHS_0057562

2019-08        2019-09 September Child Welfare Progress Report                    Wyatt_DHS_0057571

2019-08        ORRAI Status Report                                                Wyatt_DHS_0047747

2019-08        Joint Plan to Develop In-State Capacity and Minimize OOS           Wyatt_DHS_0062551
               Placements of Children Leg Report

2019-08        D4 PIP Charts Aug-19                                               Wyatt_DHS_0894878

2019-08        Oregon Child Abuse Hotline Annual Report from 2018-2019            Wyatt_DHS_1948650

2019-08 to     ORCAH Annual Report                                                Wyatt_DHS_2694352
2020-12

2019-09        G18b Data-2019 Sept CW Monthly Report                              Wyatt_DHS_0134945

2019-09        Family First Readiness Assessment, Planning and Initial
               Implementation                                                     Wyatt_DHS_0793950

2019-09        ORRAI Status Report                                                Wyatt_DHS_0795758



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2019-09       2019-09 CP3 Achieving Permanency - ORRAI Project Status            Wyatt_DHS_0126910
              Report

2019-09       ORRAI Reforming OR's Child-Welfare System                          To produce

2019-09       D2 Alberta PIP Charts Sep-19                                       Wyatt_DHS_1436053

2019-09       D2 East PIP Charts Sep-19                                          Wyatt_DHS_1436058

2019-09       Child Welfare Training Plan Overview                               Wyatt_DHS_0134025

2019-09       Balance Scorecard Pre-Rollout re Hotline Calls                     Wyatt_DHS_2431668

2019-09       Family First - Senate Human Services                               Wyatt_DHS_0056465

2019-10       CP3 Achieving Permanency - ORRAI Project Status Report             Wyatt_DHS_1435942

2019-10       CP3 Summary of Preliminary Learnings (Marion County Pilot)         Wyatt_DHS_0128436

2019-10       2019-10 October Child Welfare Progress Report                      Wyatt_DHS_0115286

2019-10       Child Welfare Organizational Structure                             Wyatt_DHS_0130491

2019-10       Cap29-Pilot Concept Facilitated Rapid Access and Holistic          Wyatt_DHS_0133401
              Mental Health Services in BRS

2019-10       Cap33-                                                             Wyatt_DHS_0133415
              WorkstreamCharter_FacilitatedMHandSARapidAccessinBRS8-10-
              19WS

2019-10       Temporary Lodging Update Mid-Point Progress DRAFT                  Wyatt_DHS_1906608

2019-10       D14 PIP Charts Oct-19                                              Wyatt_DHS_2265734

2019-10       CW041 Staff Engagement Survey - Retention Status Report            Wyatt_DHS_0224322

2019-11       2019-11 November                                                   Wyatt_DHS_0140522

2019-11       ORRAI Status Report                                                Wyatt_DHS_1492608

2019-11       D15 PIP Charts Nov-19                                              Wyatt_DHS_0190465

2019-11       D9 PIP Charts Nov-19                                               Wyatt_DHS_1780097

2019-11       Draft Oregon’s Title IV-E Prevention Plan (not submitted to feds   Wyatt_DHS_1745489
              yet)

2019-12       D16 PIP Charts Dec-19                                              Wyatt_DHS_2722102




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2019-12          2019-12 December Child Welfare Progress Report                  Wyatt_DHS_0170331

2019-12          Child Welfare Organizational Structure                          Wyatt_DHS_0130491

2019-12          ORRAI Status Report                                             Wyatt_DHS_2673724

2019-12          D16 PIP Charts Dec-19                                           Wyatt_DHS_2699478

2019-12          CW Outcomes Scorecard by County                                 To produce

2019-2020        P.R.I.D.E. ERG Annual Report (FY 2019-2020)                     Wyatt_DHS_2836500

2019-2020        2019-2020 Annual Planning Document (APD) Submission for the     Wyatt_DHS_0114884
                 OR-Kids Application

2019-2020        ORCAH Annual Report                                             Wyatt_DHS_2694352

2019-2021        2019-21 Biennium Budget Major Actions                           Wyatt_DHS_0223054

2019-2021        2019-21 Biennium Budget Overview                                Wyatt_DHS_0223062

2019-2021        2019-21 DHS Budget Wrap-up                                      Wyatt_DHS_0790191

2020             D5 PIP Charts Feb-Mar 2020                                      Wyatt_DHS_2699537
February-
March

2020-07          D6 PIP Charts Jul-20                                            Wyatt_DHS_3063017

2020-5           D7 PIP Charts May-20                                            Wyatt_DHS_2699627

2020 Q1          D2 Gresham Chart                                                Wyatt_DHS_2699505

2020 Q1          D2 Midtown Chart                                                Wyatt_DHS_2699531

2020 Q1          D5 Chart                                                        Wyatt_DHS_2703929

2020 Q2          D3 Marion Chart                                                 Wyatt_DHS_2699602

2020 Q2          D3 Polk-Yamhill Chart                                           Wyatt_DHS_2699590

2020 Q2          D7 Chart                                                        Wyatt_DHS_2699627

2020 Q2          D8 Grants Pass Chart                                            Wyatt_DHS_2699684

2020 Q2          D8 Medford Chart                                                Wyatt_DHS_2699689

2020 Q2          D10 Chart                                                       Wyatt_DHS_2699632

2020 Q3          D2 Alberta Chart                                                Wyatt_DHS_2703983

2020 Q3          D2 East Multnomah Chart                                         Wyatt_DHS_2704025



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2020 Q3       D4 Chart                                                          Wyatt_DHS_2699537

2020 Q3       D6 Chart                                                          Wyatt_DHS_2699745

2020 Q3       D11 Chart                                                         Wyatt_DHS_2703955

2020 Q3       D12 Chart                                                         Wyatt_DHS_2699760

2020 Q3       D13 Chart                                                         Wyatt_DHS_2699742

2020 Q4       D1 Chart                                                          Wyatt_DHS_2704053

2020 Q4       D9 Chart                                                          Wyatt_DHS_2704253

2020 Q4       D14 Chart                                                         Wyatt_DHS_2704058

2020 Q4       D15 Chart                                                         Wyatt_DHS_2704105

2020 Q4       D16 Chart                                                         Wyatt_DHS_2704263

2020 Q7       2020 Q7 CFSR Progress Report                                      Wyatt_DHS_2688751

2020-01       CCWIS Technology Roadmap                                          Wyatt_DHS_2689911

2020-01       2020-01 January Child Welfare Progress Report                     Wyatt_DHS_0181013

2020-01       CHAT News Winter 2020 ENGLISH                                     To produce

2020-01       2020-01 Oregon Foster Youth Connection - ILP Participation        Wyatt_DHS_0181051
              Makes a Difference for Oregon Foster Youth

2020-01       D2 Gresham PIP Charts Jan-20                                      Wyatt_DHS_2699505

2020-01       D2 Midtown PIP Charts Jan-20                                      Wyatt_DHS_1422619

2020-01       SSA & SSS1 Pretraining Activities                                 Wyatt_DHS_0223326

2020-02       IFF Combined                                                      Wyatt_DHS_2709638

2020-02       2020-02 February Child Welfare Progress Report                    Wyatt_DHS_1901090

2020-02       Oregon DHS Phase IV Transition Requirements Summary               Wyatt_DHS_0133082

2020-02       SOS OR-Kids Audit and Response                                    Wyatt_DHS_0180979

2020-03       In-Home Safety Plan Example                                       To produce

2020-03       2020-03 March Child Welfare Progress Report                       Wyatt_DHS_1901102

2020-03       ORRAI Status Report                                               Wyatt_DHS_2673741




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2020-03       CM.02 Placement Type (of those in care) - report run from           To produce
              public ROM website

2020-03       CW Outcomes Scorecard by County                                     To produce

2020-04       2020-04 April Child Welfare Progress Report                         Wyatt_DHS_2675636

2020-04       CHAT News Spring 2020 ENGLISH                                       To produce

2020-04       CW Engagement Survey Wave 8 Highlights-Apr20DRAFT v1                Wyatt_DHS_4567190

2020-04       ORRAI Status Report                                                 Wyatt_DHS_2673762

2020-04       CV01 Caseworker Face-to-Face Contact-of mos child in care           To produce
              entire month

2020-04       KEEP Oregon Implementation Report April                             Wyatt_DHS_2689327

2020-04       OR.01 Child Abuse Neglect Reports Per Investigation, by             To produce
              Screening Decision - report run from public ROM website

2020-04       D3 Marion PIP Charts Apr-20                                         Wyatt_DHS_2699602

2020-04       D3 Polk Yamhill PIP Charts Apr-20                                   Wyatt_DHS_2699590

2020-04       Court Operations (CJO 20-006)                                       Wyatt_DHS_2754654

2020-04       DHS Facilitating Inclusive Virtual Meetings                         Wyatt_DHS_2691445

2020-04       ODHS Maintaining Contact with Children in our Community             Publicly available
              Website

2020-04       DHS Certification Work                                              Wyatt_DHS_2807382

2020-04       DHS Child Safety Work                                               Wyatt_DHS_3082446

2020-05       Fidelity Report D1 FINAL                                            Wyatt_DHS_3049378

2020-05       Fidelity Report D10 FINAL                                           Wyatt_DHS_3050086

2020-05       Fidelity Report D11 FINAL                                           Wyatt_DHS_3049697

2020-05       Fidelity Report D12 FINAL                                           Wyatt_DHS_3049952

2020-05       Fidelity Report D13 FINAL                                           Wyatt_DHS_3050998

2020-05       Fidelity Report D14 FINAL                                           Wyatt_DHS_3051027

2020-05       Fidelity Report D15 FINAL                                           Wyatt_DHS_3050309

2020-05       Fidelity Report D16 FINAL                                           Wyatt_DHS_3050056



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2020-05       Fidelity Report D2 FINAL                                           Wyatt_DHS_3049407

2020-05       Fidelity Report D3 FINAL                                           Wyatt_DHS_3049439

2020-05       Fidelity Report D4 FINAL                                           Wyatt_DHS_3049786

2020-05       Fidelity Report D5 FINAL                                           Wyatt_DHS_3050387

2020-05       Fidelity Report D6 FINAL                                           Wyatt_DHS_3050151

2020-05       Fidelity Report D7 FINAL                                           Wyatt_DHS_3050704

2020-05       Fidelity Report D8 FINAL                                           Wyatt_DHS_3050808

2020-05       Fidelity Report D9 FINAL                                           Wyatt_DHS_3050729

2020-05       2020-05 May Child Welfare Progress Report                          Wyatt_DHS_2675647

2020-05       SEIU Dashboard Monthly Personnel and Position Data Report -        Wyatt_DHS_2675737
              Draft V2

2020-05       Cap28- Legislative Update SB 171 WS                                Wyatt_DHS_0133397

2020-06       2020-06 June Child Welfare Progress Report                         Wyatt_DHS_2696501

2020-06       2019 Child Welfare Data Book                                       Wyatt_DHS_2675692

2020-06       CW Engagement Survey Project Update- v1                            To produce

2020-06       D8 Grants Pass PIP Charts Jun20                                    Wyatt_DHS_2699684

2020-06       D8 Medford PIP Charts Jun20                                        Wyatt_DHS_2699689

2020-06       QRTP Provider Map                                                  Wyatt_DHS_2675791

2020-06       Oregon-DHS-Child-Welfare-Procedure-Manual                          Wyatt_DHS_2673813

2020-06       OR SOS Audit 2020-21 and Response                                  Wyatt_DHS_2948839

2020-07       Child Welfare Project Portfolio Report                             Wyatt_DHS_2688097

2020-07       2020-07 July Child Welfare Progress Report                         Wyatt_DHS_2688104

2020-07       CHAT News Summer 2019 ENGLISH                                      Wyatt_DHS_0061268

2020-07       KEEP OR Quarterly Report July 2020                                 Wyatt_DHS_2688109

2020-08       August 2020 Education Guidance                                     Wyatt_DHS_2699715

2020-08       2020-08 CW Monthly Progress Report                                 Wyatt_DHS_2689004

2020-08       ORRAI Status Report                                                Wyatt_DHS_2689151




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2020-08        D4 PIP Charts Aug-20                                                Wyatt_DHS_2703929

2020-09        CW Monthly Progress Report, Sept 2020                               Wyatt_DHS_2689239

2020-09        ORRAI Update, Sept 2020                                             Wyatt_DHS_2845697

2020-09        ODHS Executive Summary 2020 - Reporting Recommendations             Wyatt_DHS_2711237

2020-09        Education Tool kit for RPs                                          Wyatt_DHS_2709093

2020-09        September 2020 Foster Plus Report                                   Wyatt_DHS_2703925

2020-09        ORRAI Status Report                                                 Wyatt_DHS_2690480

2020-09        D2 Alberta PIP Charts Sep-20                                        Wyatt_DHS_2703983

2020-09        D2 East PIP Charts Sep-20                                           Wyatt_DHS_2704025

2020-10        CW Monthly Progress Report, Oct 2020                                Wyatt_DHS_2690475

2020-10        D14 PIP Charts Oct-20                                               Wyatt_DHS_3063003

2020-11        Presentation to Childrens Cabinet re Family First Title IV-E        Wyatt_DHS_2690750
               Prevention Plan

2020-11        Vision for Transformation                                           Wyatt_DHS_2709455

2020-11        D9 Debrief Summary Document                                         Wyatt_DHS_2721468

2020-11        D9 PIP Charts                                                       Wyatt_DHS_2721477

2020-11        D15 PIP Charts Nov-20                                               Wyatt_DHS_2704105

2020-11        D9 PIP Charts Nov-20                                                Wyatt_DHS_2721477

2020-11        Q8 OR PIP Final Progress Report                                     Wyatt_DHS_2690783

2020-12        D16 PIP Charts Dec-20                                               Wyatt_DHS_2722097

2020-12        D16 PIP Charts Dec-20                                               Wyatt_DHS_2704263

2021 July      D6 CFSR Charts Jul-21                                               Wyatt_DHS_2710544

2021 March     D5 PIP Charts Mar-21                                                Wyatt_DHS_2709488

2021 May       D7 CQI Charts May-21                                                Wyatt_DHS_2709646

2021 Q1        D2 Gresham Chart                                                    Wyatt_DHS_2709323

2021 Q1        D2 Midtown Chart                                                    Wyatt_DHS_2709382

2021 Q1        D5 Chart                                                            Wyatt_DHS_2709488




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2021 Q2       D3 Marion Chart                                                      Wyatt_DHS_2709590

2021 Q2       D7 Chart                                                             Wyatt_DHS_2709646

2021 Q2       D8 Grants Pass Chart                                                 Wyatt_DHS_2710220

2021 Q2       D8 Medford Chart                                                     Wyatt_DHS_2710240

2021 Q2       D10 Chart                                                            Wyatt_DHS_2709616

2021 Q3       D2 Alberta Chart                                                     Wyatt_DHS_2721633

2021 Q3       D6 Chart                                                             Wyatt_DHS_2710544

2021 Q3       D11 Chart                                                            Wyatt_DHS_2721571

2021 Q3       D12 Chart                                                            Wyatt_DHS_2710587

2021 Q3       D13 Chart                                                            Wyatt_DHS_2710549

2021 Q4       D1 Chart                                                             Wyatt_DHS_2721692

2021 Q4       D9 Chart                                                             Wyatt_DHS_2721822

2021 Q4       D14 Chart                                                            Wyatt_DHS_2721697

2021 Q4       D15 Chart                                                            Wyatt_DHS_2721872

2021 Q4       D16 Chart                                                            Wyatt_DHS_2721961

2021-01       Every Child Q1 2021 Bi-Annual Report                                 Wyatt_DHS_2697151

2021-01       D2 Gresham PIP Charts Jan-21                                         Wyatt_DHS_2709323

2021-01       D2 Midtown PIP Charts Jan-21                                         Wyatt_DHS_2709382

2021-03       ODHS Back to School Guidance Update March 2021                       Wyatt_DHS_2709450

2021-04       Barriers during COVID for foster care letter                         Wyatt_DHS_2716952

2021-04       D3 Marion CFSR Charts Apr21 Updated 41122                            Wyatt_DHS_2709590

2021-04       D4 CFSR Charts Aug21 Updated 41122                                   Wyatt_DHS_2729883

2021-05       Fidelity Statewide Report                                            Wyatt_DHS_3227252

2021-05       Fidelity Comparison Report                                           Wyatt_DHS_3227285

2021-06       D8 Grants Pass Charts Jun-21                                         Wyatt_DHS_2710220

2021-06       D8 Medford Charts Jun-21                                             Wyatt_DHS_2710240

2021-07       Champion Team Statewide Monthly Report Final                         Wyatt_DHS_2715802




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2021-08       Statewide Retention Recruitment Summaries Aug 2021                Wyatt_DHS_2710344

2021-08       D11 CFSR Charts Aug-21pdf                                         Wyatt_DHS_2721571

2021-08       District 11 Debrief Summary Document                              Wyatt_DHS_2721560

2021-09       Alberta Debrief Summary Document                                  Wyatt_DHS_2721650

2021-09       D2 Alberta CFSR Charts                                            Wyatt_DHS_2721633

2021-09       D2 Alberta CFSR Charts Sep-21                                     Wyatt_DHS_2721633

2021-09       D2 East CFSR Charts Sep-21                                        To produce

2021-10       D1 CFSR Charts Oct-21pdf                                          Wyatt_DHS_2721692

2021-10       District 1 2021 Debrief Summary Document                          Wyatt_DHS_2721711

2021-10       D14 CFSR Charts Oct-21pdf                                         Wyatt_DHS_2721697

2021-10       District 14 2021 Debrief Summary Document                         Wyatt_DHS_2721702

2021-11       Fidelity Statewide Report                                         Wyatt_DHS_3227923

2021-11       Fidelity Comparison Report                                        Wyatt_DHS_3227857

2021-11       D9 CFSR Charts                                                    Wyatt_DHS_2721822

2021-11       District 9 2021 Debrief Summary Document                          Wyatt_DHS_2721827

2021-11       D15 CFSR Charts Nov-21pdf                                         Wyatt_DHS_2721872

2021-11       District 15 2021 Debrief Summary                                  Wyatt_DHS_2721836

2021-11       D15 CFSR Charts Nov-21                                            Wyatt_DHS_2721872

2021-11       D9 CFSR Charts Nov-21                                             Wyatt_DHS_2721822

2021-12       Temporary Lodging draft dashboard                                 Wyatt_DHS_2711656

2021-12       D16 2021 Debrief Summary Document                                 Wyatt_DHS_2722056

2021-12       D16 2021 Debrief Summary Document                                 Wyatt_DHS_2721966

2021-12       D16 CFSR Charts                                                   Wyatt_DHS_2721961

2021-12       D16 CFSR Charts Dec-21                                            Wyatt_DHS_2721961

2021-12       CW Monthly Progress Report, Dec 2021                              Wyatt_DHS_2716739

2021-2022     CCWIS Automated Function Checklist 2021-22                        Wyatt_DHS_2711268




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2022            D5 CFSR Charts Feb-Mar22                                          Wyatt_DHS_2729888
February-
March

2022 Q1         CFSR Review Ratings 2016 vs 2021 Chart                            Wyatt_DHS_2729837

2022 Q1         CFSR Review Ratings 2016 vs 2021                                  Wyatt_DHS_2729838

2022-01         ODHS News - Program division leadership updates                   To produce

2022-01         D2 Gresham CFSR Charts                                            Wyatt_DHS_2722205

2022-01         D2 Midtown CFSR Charts Jan-22docx                                 Wyatt_DHS_2722272

2022-01         Midtown Debrief Document                                          Wyatt_DHS_2722259

2022-01         D2 Gresham CFSR Charts Jan-22                                     Wyatt_DHS_2722205

2022-01         D2 Midtown CFSR Charts Jan-22                                     Wyatt_DHS_2729868

2022-01         CW Monthly Progress Report, Jan 2022                              Wyatt_DHS_2721125

2022-01         DHS CW Vision for Transformation 2021 Year in Review              Wyatt_DHS_2952753

2022-01         Resource Family Retention and Recruitment Statewide Recap         Wyatt_DHS_2721293
                Report Jan 2022

2022-01         OHA Res Youth Program Testing Guidance                             Wyatt_DHS_2727249

2022-02         CW Monthly Report for February 2022                               Wyatt_DHS_2781206

2022-02         Gresham Debrief Summary Document                                  Wyatt_DHS_2722208

2022-02         D5 CFSR Charts Feb-Mar22                                          Wyatt_DHS_2729888

2022-02         Oregon DHS Child Welfare Procedure Manual                         Wyatt_DHS_2718760

2022-03         Child Protective Services Supervisor Toolkit Draft v1             To produce

2022-03         CW Monthly Progress Report, March 2022                            Wyatt_DHS_2722460

2022-04         CW Monthly Progress Report, April 2022                            Wyatt_DHS_2729630

2022-04         D3 Marion CFSR Charts                                             Wyatt_DHS_2966419

2022-04         D3 Polk-Yamhill CFSR Charts                                       Wyatt_DHS_2730085

2022-04         CW Monthly Progress Report, April 2022                            Wyatt_DHS_2729630

2022-04         D3 Marion CFSR Charts Apr-22                                      Wyatt_DHS_2730090




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2022-04         D3 Polk-Yamhill CFSR Charts Apr-22                                 Wyatt_DHS_2730085

2022-05         Spring 2022 ORCAH Newsletter                                       Publicly available
                (https://sharedsystems.dhsoha.state.or.us/DHSForms/Served/d
                e4271.pdf)

2022-05         CW Monthly Progress Report, May 2022                               Wyatt_DHS_2730154

2022-08         2022 Training Matrix Redesign                                      Wyatt_DHS_4564347

2022-12         CW Monthly Progress Report, Dec 2022                               Wyatt_DHS_4564523

2022-23         34 FY CAPTA Citizen Review Panel Report                            Wyatt_DHS_4466603

2023-01         CW Monthly Progress Report, Jan 2023                               Wyatt_DHS_4564543

2023-02         CW Monthly Progress Report, Feb 2023                               Wyatt_DHS_4564563

2023-03         CW Monthly Progress Report, March 2023                             Wyatt_DHS_4564585

2023-04         CW Monthly Progress Report, April 2023                             Wyatt_DHS_4564607

2023-05         CW Monthly Progress Report, May 2023                               Wyatt_DHS_4564629

2023-06         CW Monthly Progress Report, June 2023                              Wyatt_DHS_4564651

2023-08         CW Monthly Progress Report, August 2023                            Wyatt_DHS_4665916

2023-09         CW Monthly Progress Report, September 2023                         Wyatt_DHS_4665979

2023-10         CW Monthly Progress Report, October 2023                           Wyatt_DHS_4666015

May 2022-       Child Specific Caregiver Supports Pilot Final Combined Data        To produce
Sept 2023       Report

NA              OAR 413-120-0800 to 413-120-0880 Disruption                        Publicly available

NA              OAR 413-130-0020 Post Adoption Services                            Publicly available

NA              ORS 418.270 Surrender of Child to CCA, consent to adoption         Publicly available

NA              Web - State of Oregon_ Policy Offices - Child Foster Care          Publicly available
                Advisory Commission
                (https://www.oregon.gov/gov/policies/Pages/child-foster-care-
                advisory-commission.aspx)

NA              ORS 418/575 to 418.598 re SPRF                                     Wyatt_DHS_2502746




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NA              About DHS - Foster Care Ombudsman                                Publicly available
                (https://www.oregon.gov/odhs/about/pages/foster-care-
                ombuds.aspx#:~:text=Foster%20Care%20Ombuds,of%20the%20
                Governor's%20Advocacy%20Office.)

NA              About DHS - Governor's Advocacy Office                           Publicly available
                (https://www.oregon.gov/odhs/about/Pages/gao.aspx)

NA              An Overview of DHS Teen Services Booklet                         To produce




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Appendix E: Survey Results




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                               Q1 How long have you worked at DHS?
                                                 Answered: 958   Skipped: 0




                  0-2 years




                  3-5 years




                 6-10 years




                 11-15 years




               16-20 years




              Over 20 years


                               0%   10%   20%   30%   40%    50%     60%      70%   80%   90%    100%




ANSWER CHOICES                                                         RESPONSES

0-2 years                                                              26.10%                                     250

3-5 years                                                              24.74%                                     237

6-10 years                                                             18.48%                                     177

11-15 years                                                            11.27%                                     108

16-20 years                                                            7.52%                                       72



Over 20                                                                11.90%                                     114
years


TOTAL                                                                                                             958




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                  Q2 What district do you work in?
                               Answered: 958   Skipped: 0




         1



         2



         3



         4



         5



         6



         7



         8



         9



        10



        11



        12



        13



        14



        15



        16



Central Oﬃce


             0%   10%   20%   30%   40%    50%     60%      70%   80%   90%    100%




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ANSWER CHOICES                                         RESPONSES

1                                                      4.91%                                 47

2                                                      11.48%                               110

3                                                      9.08%                                 87

4                                                      5.95%                                 57

5                                                      11.17%                               107

6                                                      5.85%                                 56

7                                                      4.07%                                 39

8                                                      7.93%                                 76

9                                                      1.57%                                 15

10                                                     3.97%                                 38

11                                                     3.55%                                 34

12                                                     3.24%                                 31

13                                                     1.88%                                 18

14                                                     2.92%                                 28

15                                                     5.01%                                 48

16                                                     7.72%                                 74

Central                                                9.71%                                 93
Office


TOTAL                                                                                       958




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                                       Q3 What is your role at DHS?
                                                   Answered: 958   Skipped: 0




                    Manager




                   Supervisor




                    Field Staﬀ




                 Central Oﬃce




                   Consultant


                                 0%   10%   20%   30%   40%    50%     60%      70%   80%   90%    100%




ANSWER CHOICES                                                           RESPONSES

Manager                                                                  6.58%                                       63

Supervisor                                                               8.77%                                       84

Field Staff                                                              74.22%                                     711

Central Office                                                           6.16%                                       59



Consultant                                                               4.28%                                       41


TOTAL                                                                                                               958




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   Q4 Does CW address safety threats and safety concerns of
                           children in their homes?
                                             Answered: 554    Skipped: 404




                   Always




                 Sometimes




                    Never



                            0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                         RESPONSES

Always                                                                 71.48%                                    396

Sometimes                                                              28.34%                                    157



Never                                                                  0.18%                                       1



TOTAL                                                                                                            554




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    Q5 Does CW assess safety threats and safety concerns of children in
                           substitute care?
                                             Answered: 554    Skipped: 404




                   Always




                 Sometimes




                    Never



                            0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                         RESPONSES

Always                                                                 72.38%                                    401

Sometimes                                                              27.08%                                    150



Never                                                                  0.54%                                       3



TOTAL                                                                                                            554




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   Q6 Does CW address safety threats and safety concerns of children
                          in substitute care?
                                             Answered: 554    Skipped: 404




                   Always




                 Sometimes




                    Never



                            0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                         RESPONSES

Always                                                                 69.49%                                    385

Sometimes                                                              29.96%                                    166



Never                                                                  0.54%                                       3



TOTAL                                                                                                            554




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        Q7 Does CW maintain the confidentiality of reports of abuse in
        care?
                                             Answered: 554    Skipped: 404




                   Always




                 Sometimes




                    Never



                            0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                         RESPONSES

Always                                                                 77.98%                                    432

Sometimes                                                              21.12%                                    117



Never                                                                  0.90%                                       5



TOTAL                                                                                                            554




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        Q8 Is the process of responding to allegations of abuse and
                    neglect regarding children in substitute care clear?
                                              Answered: 554    Skipped: 404




                       Yes




                 I'm not sure




                        No



                             0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                          RESPONSES

Yes                                                                     66.25%                                    367

I'm not sure                                                            23.65%                                    131

No                                                                      10.11%                                     56

TOTAL                                                                                                             554




                                                                                                      Exhibit 8
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        Q9 Is the process of responding to allegations of abuse and
               neglect regarding children in substitute care
               understandable:
                                              Answered: 554    Skipped: 404




                       Yes




                 I'm not sure




                        No



                             0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                          RESPONSES

Yes                                                                     69.68%                                    386

I'm not sure                                                            22.20%                                    123

No                                                                      8.12%                                      45

TOTAL                                                                                                             554




                                                                                                      Exhibit 8
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 Q10 Does CW standardize the response to allegations of maltreatment
                    for children in substitute care?
                                              Answered: 554    Skipped: 404




                       Yes




                 I'm not sure




                        No



                             0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                          RESPONSES

Yes                                                                     49.82%                                    276

I'm not sure                                                            36.46%                                    202

No                                                                      13.72%                                     76

TOTAL                                                                                                             554




                                                                                                      Exhibit 8
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        Q11 Has CW standardized the protocol for "closed at screening"?
                                              Answered: 554    Skipped: 404




                       Yes




                 I'm not sure




                        No



                             0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                          RESPONSES

Yes                                                                     27.44%                                    152

I'm not sure                                                            52.35%                                    290

No                                                                      20.22%                                    112

TOTAL                                                                                                             554




                                                                                                      Exhibit 8
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         Q12 Does CW ensure that requirements (agency policies, legal
          regulations, or laws) are met when recruiting, certifying, and
                            monitoring foster parents?
                                             Answered: 554    Skipped: 404




                   Always




                 Sometimes




                    Never



                            0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                         RESPONSES

Always                                                                 62.64%                                    347

Sometimes                                                              36.82%                                    204



Never                                                                  0.54%                                       3



TOTAL                                                                                                            554




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 Q13 Does CW comply with federal background check requirements
              during certification of substitute care providers?
                                             Answered: 554    Skipped: 404




                   Always




                 Sometimes




                    Never



                            0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                         RESPONSES

Always                                                                 86.82%                                    481

Sometimes                                                              12.82%                                     71



Never                                                                  0.36%                                       2



TOTAL                                                                                                            554




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 Q14 Does CW comply with federal background check requirements
               during oversight of substitute care providers?
                                             Answered: 554    Skipped: 404




                   Always




                 Sometimes




                    Never



                            0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                         RESPONSES

Always                                                                 80.14%                                    444

Sometimes                                                              19.31%                                    107



Never                                                                  0.54%                                       3



TOTAL                                                                                                            554




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        Q15 Does CW leadership advocate for safety for children under CW
                               supervision?
                                             Answered: 554    Skipped: 404




                   Always




                 Sometimes




                    Never



                            0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                         RESPONSES

Always                                                                 73.10%                                    405

Sometimes                                                              25.99%                                    144



Never                                                                  0.90%                                       5



TOTAL                                                                                                            554




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      Q16 Has the organizational culture of CW improved during the
                          tenure of Rebecca Jones Gaston?
                                              Answered: 554    Skipped: 404




                       Yes




                 I'm not sure




                        No



                             0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                          RESPONSES

Yes                                                                     27.98%                                    155

I'm not sure                                                            53.25%                                    295

No                                                                      18.77%                                    104

TOTAL                                                                                                             554




                                                                                                      Exhibit 8
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         Q17 Do you believe that CW leadership pursues appropriate policy
                     changes to improve child protection?
                                             Answered: 554    Skipped: 404




                   Always




                 Sometimes




                    Never



                            0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                         RESPONSES

Always                                                                 30.32%                                    168

Sometimes                                                              64.80%                                    359



Never                                                                  4.87%                                      27



TOTAL                                                                                                            554




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         Q18 Does CW respond according to policies and procedures to
            maltreatment reports from children in substitute care?
                                             Answered: 554    Skipped: 404




                   Always




                 Sometimes




                    Never



                            0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                         RESPONSES

Always                                                                 62.27%                                    345

Sometimes                                                              37.18%                                    206



Never                                                                  0.54%                                       3



TOTAL                                                                                                            554




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Q19 Does CW engage in continuous quality improvement processes at
                          the state level?
                                             Answered: 554    Skipped: 404




                   Always




                 Sometimes




                    Never



                            0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                         RESPONSES

Always                                                                 38.81%                                    215

Sometimes                                                              57.04%                                    316



Never                                                                  4.15%                                      23



TOTAL                                                                                                            554




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Q20 Does CW engage in continuous quality improvement processes at
                         the district level?
                                             Answered: 554    Skipped: 404




                   Always




                 Sometimes




                    Never



                            0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                         RESPONSES

Always                                                                 38.99%                                    216

Sometimes                                                              54.15%                                    300



Never                                                                  6.86%                                      38



TOTAL                                                                                                            554




                                                                                                     Exhibit 8
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Q21 Does CW engage in continuous quality improvement processes at
                         the county level?
                                             Answered: 554    Skipped: 404




                   Always




                 Sometimes




                    Never



                            0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                         RESPONSES

Always                                                                 37.00%                                    205

Sometimes                                                              54.87%                                    304



Never                                                                  8.12%                                      45



TOTAL                                                                                                            554




                                                                                                     Exhibit 8
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   Q22 Does CW use the evaluations of the quality of services to
                     improve service delivery to families?
                                             Answered: 554    Skipped: 404




                   Always




                 Sometimes




                    Never



                            0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                         RESPONSES

Always                                                                 30.32%                                    168

Sometimes                                                              59.39%                                    329



Never                                                                  10.29%                                     57



TOTAL                                                                                                            554




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     Q23 Does CW provide training and coaching for staff on how to use
              data to drive decisions and improve quality of services?
                                              Answered: 554    Skipped: 404




                       Yes




                 I'm not sure




                        No



                             0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                          RESPONSES

Yes                                                                     32.13%                                    178

I'm not sure                                                            36.82%                                    204

No                                                                      31.05%                                    172

TOTAL                                                                                                             554




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  Q24 Does CW recruit and retain foster parents who are able to meet
              the identified needs of children in foster care?
                                             Answered: 554    Skipped: 404




                   Always




                 Sometimes




                    Never



                            0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                         RESPONSES

Always                                                                 20.40%                                    113

Sometimes                                                              74.19%                                    411



Never                                                                  5.42%                                      30



TOTAL                                                                                                            554




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          Q25 Does CW recruit and retain appropriate child-specific
         providers, including kith and kin, to care for the number of
                     children who need such placements?
                                             Answered: 554    Skipped: 404




                   Always




                 Sometimes




                    Never



                            0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                         RESPONSES

Always                                                                 31.77%                                    176

Sometimes                                                              64.98%                                    360



Never                                                                  3.25%                                      18



TOTAL                                                                                                            554




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  Q26 Does CW maintain an appropriate number of foster homes to
      house the number of children who need to be placed in foster
      care?
                                             Answered: 554    Skipped: 404




                   Always




                 Sometimes




                    Never



                            0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                         RESPONSES

Always                                                                 8.66%                                      48

Sometimes                                                              47.83%                                    265



Never                                                                  43.50%                                    241



TOTAL                                                                                                            554




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         Q27 Does CW conduct Diligent Recruitment (the process of
     recruiting, retaining, and supporting foster families that reflect the
        ethnicity and race of children in substitute care) of foster care
                                   providers?
                                              Answered: 554    Skipped: 404




                       Yes




                 I'm not sure




                        No



                             0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                          RESPONSES

Yes                                                                     18.59%                                    103

I'm not sure                                                            56.14%                                    311

No                                                                      25.27%                                    140

TOTAL                                                                                                             554




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Q28 Does CW recruit and retain substitute care providers who can care
               for children who identify as LGBTQIA+?
                                             Answered: 554    Skipped: 404




                   Always




                 Sometimes




                    Never



                            0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                         RESPONSES

Always                                                                 17.15%                                     95

Sometimes                                                              73.10%                                    405



Never                                                                  9.75%                                      54



TOTAL                                                                                                            554




                                                                                                     Exhibit 8
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Q29 Does CW recruit and retain substitute care providers who can care
              for children who are living with high needs?
                                             Answered: 554    Skipped: 404




                   Always




                 Sometimes




                    Never



                            0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                         RESPONSES

Always                                                                 15.88%                                     88

Sometimes                                                              70.76%                                    392



Never                                                                  13.36%                                     74



TOTAL                                                                                                            554




                                                                                                     Exhibit 8
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 Q30 Does CW provide training and coaching for staff on best
              practices for recruitment of substitute care providers?
                                              Answered: 554    Skipped: 404




                       Yes




                 I'm not sure




                        No



                             0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                          RESPONSES

Yes                                                                     23.10%                                    128

I'm not sure                                                            57.58%                                    319

No                                                                      19.31%                                    107

TOTAL                                                                                                             554




                                                                                                      Exhibit 8
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 Q31 Does CW provide training and coaching for staff on best
               practices for retention of substitute care providers?
                                              Answered: 554    Skipped: 404




                       Yes




                 I'm not sure




                        No



                             0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                          RESPONSES

Yes                                                                     26.35%                                    146

I'm not sure                                                            50.36%                                    279

No                                                                      23.29%                                    129

TOTAL                                                                                                             554




                                                                                                      Exhibit 8
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 Q32 Does CW provide training and coaching for staff on best
                practices for support of substitute care providers?
                                              Answered: 554    Skipped: 404




                       Yes




                 I'm not sure




                        No



                             0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                          RESPONSES

Yes                                                                     31.59%                                    175

I'm not sure                                                            46.57%                                    258

No                                                                      21.84%                                    121

TOTAL                                                                                                             554




                                                                                                      Exhibit 8
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  Q33 Does CW leadership support the recruitment, retention, and
                    support of substitute care providers?
                                              Answered: 554    Skipped: 404




                       Yes




                 I'm not sure




                        No



                             0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                          RESPONSES

Yes                                                                     39.17%                                    217

I'm not sure                                                            45.85%                                    254

No                                                                      14.98%                                     83

TOTAL                                                                                                             554




                                                                                                      Exhibit 8
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         Q34 Does CW prioritize the placement of children with relatives?
                                             Answered: 554    Skipped: 404




                   Always




                 Sometimes




                    Never



                            0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                         RESPONSES

Always                                                                 71.30%                                    395

Sometimes                                                              28.16%                                    156



Never                                                                  0.54%                                       3


TOTAL                                                                                                            554




                                                                                                     Exhibit 8
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         Q35 Does CW conduct ongoing searches for relatives of children in
                              substitute care?
                                             Answered: 554    Skipped: 404




                   Always




                 Sometimes




                    Never



                            0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                         RESPONSES

Always                                                                 62.45%                                    346

Sometimes                                                              36.64%                                    203



Never                                                                  0.90%                                       5



TOTAL                                                                                                            554




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 Q36 Does CW appropriately match children to substitute care
   placements based on the needs of the child and the capability of
   the providers?
                                             Answered: 554    Skipped: 404




                   Always




                 Sometimes




                    Never



                            0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                         RESPONSES

Always                                                                 23.47%                                    130

Sometimes                                                              66.97%                                    371



Never                                                                  9.57%                                      53



TOTAL                                                                                                            554




                                                                                                     Exhibit 8
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  Q37 Does CW provide training and coaching to staff on best practices
         for improving permanence for children in substitute care?
                                              Answered: 554    Skipped: 404




                       Yes




                 I'm not sure




                        No



                             0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                          RESPONSES

Yes                                                                     46.21%                                    256

I'm not sure                                                            41.16%                                    228

No                                                                      12.64%                                     70

TOTAL                                                                                                             554




                                                                                                      Exhibit 8
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  Q38 Does CW identify permanency goals appropriate to the needs of
                              the child?
                                             Answered: 554    Skipped: 404




                   Always




                 Sometimes




                    Never



                            0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                         RESPONSES

Always                                                                 47.11%                                    261

Sometimes                                                              51.08%                                    283



Never                                                                  1.81%                                      10



TOTAL                                                                                                            554




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  Q39 Does CW create permanency plans based on the identified
                            needs of the child?
                                             Answered: 554    Skipped: 404




                   Always




                 Sometimes




                    Never



                            0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                         RESPONSES

Always                                                                 47.47%                                    263

Sometimes                                                              51.26%                                    284



Never                                                                  1.26%                                       7



TOTAL                                                                                                            554




                                                                                                     Exhibit 8
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      Q40 Does CW provide training and coaching to staff on how to plan
                   for permanency for children and families?
                                              Answered: 554    Skipped: 404




                       Yes




                 I'm not sure




                        No



                             0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                          RESPONSES

Yes                                                                     60.65%                                    336

I'm not sure                                                            32.31%                                    179

No                                                                      7.04%                                      39

TOTAL                                                                                                             554




                                                                                                      Exhibit 8
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 Q41 Does CW leadership encourage improving permanence for
                         children in substitute care?
                                              Answered: 554    Skipped: 404




                       Yes




                 I'm not sure




                        No



                             0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                          RESPONSES

Yes                                                                     61.01%                                    338

I'm not sure                                                            31.95%                                    177

No                                                                      7.04%                                      39

TOTAL                                                                                                             554




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     Q42 Does CW leadership advocate for improving permanency
     planning?
                                              Answered: 554    Skipped: 404




                       Yes




                 I'm not sure




                        No



                             0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                          RESPONSES

Yes                                                                     54.33%                                    301

I'm not sure                                                            36.10%                                    200

No                                                                      9.57%                                      53

TOTAL                                                                                                             554




                                                                                                      Exhibit 8
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         Q43 Does CW provide training and coaching to staff in assessing
                  individuals, including children and families?
                                              Answered: 554    Skipped: 404




                       Yes




                 I'm not sure




                        No



                             0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                          RESPONSES

Yes                                                                     63.18%                                    350

I'm not sure                                                            27.44%                                    152

No                                                                      9.39%                                      52

TOTAL                                                                                                             554




                                                                                                      Exhibit 8
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        Q44 Does CW leadership encourage individualized assessments for
                           children and families?
                                             Answered: 554    Skipped: 404




                   Always




                 Sometimes




                    Never



                            0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                         RESPONSES

Always                                                                 52.89%                                    293

Sometimes                                                              42.42%                                    235



Never                                                                  4.69%                                      26



TOTAL                                                                                                            554




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 Q45 Does CW maintain a statewide service array that ensures their
         ability to meet the identified needs of children and
         families?
                                              Answered: 554    Skipped: 404




                       Yes




                 I'm not sure




                        No



                             0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                          RESPONSES

Yes                                                                     29.60%                                    164

I'm not sure                                                            40.25%                                    223

No                                                                      30.14%                                    167

TOTAL                                                                                                             554




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         Q46 Does CW address the underlying conditions for removal
                    before returning children to their parents' care?
                                             Answered: 554    Skipped: 404




                   Always




                 Sometimes




                    Never



                            0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                         RESPONSES

Always                                                                 47.29%                                    262

Sometimes                                                              49.28%                                    273



Never                                                                  3.43%                                      19



TOTAL                                                                                                            554




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   Q47 Does CW provide in-home services to families post-reunification
                to prevent re-entry into substitute care?
                                             Answered: 554    Skipped: 404




                   Always




                 Sometimes




                    Never



                            0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                         RESPONSES

Always                                                                 43.14%                                    239

Sometimes                                                              53.97%                                    299



Never                                                                  2.89%                                      16



TOTAL                                                                                                            554




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  Q48 Does CW ensure that behavioral health services are being
                 delivered in order to meet case plan goals?
                                             Answered: 554    Skipped: 404




                   Always




                 Sometimes




                    Never



                            0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                         RESPONSES

Always                                                                 36.82%                                    204

Sometimes                                                              60.29%                                    334



Never                                                                  2.89%                                      16



TOTAL                                                                                                            554




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  Q49 Does CW provide training and coaching to staff on how to work
 with providers in delivering services to meet the needs of children and
 families?
                                              Answered: 554    Skipped: 404




                       Yes




                 I'm not sure




                        No



                             0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                          RESPONSES

Yes                                                                     41.16%                                    228

I'm not sure                                                            40.97%                                    227

No                                                                      17.87%                                     99

TOTAL                                                                                                             554




                                                                                                      Exhibit 8
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      Q50 Does CW leadership advocate for providing services to meet
                     the needs of children and families?
                                              Answered: 554    Skipped: 404




                       Yes




                 I'm not sure




                        No



                             0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                          RESPONSES

Yes                                                                     64.80%                                    359

I'm not sure                                                            27.98%                                    155

No                                                                      7.22%                                      40

TOTAL                                                                                                             554




                                                                                                      Exhibit 8
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 Q51 Does CW develop comprehensive case plans that meet the
                   identified needs of the child and family?
                                             Answered: 554    Skipped: 404




                   Always




                 Sometimes




                    Never



                            0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                         RESPONSES

Always                                                                 46.39%                                    257

Sometimes                                                              51.44%                                    285



Never                                                                  2.17%                                      12



TOTAL                                                                                                            554




                                                                                                     Exhibit 8
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  Q52 Does CW provide training and coaching for staff on best
                           practices in case planning?
                                              Answered: 554    Skipped: 404




                       Yes




                 I'm not sure




                        No



                             0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                          RESPONSES

Yes                                                                     59.57%                                    330

I'm not sure                                                            28.34%                                    157

No                                                                      12.09%                                     67

TOTAL                                                                                                             554




                                                                                                      Exhibit 8
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         Q53 Does CW leadership advocate for improving case planning?
                                              Answered: 554    Skipped: 404




                       Yes




                 I'm not sure




                        No



                             0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                          RESPONSES

Yes                                                                     61.19%                                    339

I'm not sure                                                            30.14%                                    167

No                                                                      8.66%                                      48

TOTAL                                                                                                             554




                                                                                                      Exhibit 8
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        Q54 Does CW facilitate contact between children and their siblings
            in accordance with the Family Support Services Case Plan?
                                             Answered: 554    Skipped: 404




                   Always




                 Sometimes




                    Never



                            0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                         RESPONSES

Always                                                                 47.47%                                    263

Sometimes                                                              51.08%                                    283



Never                                                                  1.44%                                       8



TOTAL                                                                                                            554




                                                                                                     Exhibit 8
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  Q55 Does CW train caseworkers prior to their direct work with
                     families to prepare them for their work?
                                             Answered: 554    Skipped: 404




                   Always




                 Sometimes




                    Never



                            0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                         RESPONSES

Always                                                                 44.22%                                    245

Sometimes                                                              45.13%                                    250



Never                                                                  10.65%                                     59



TOTAL                                                                                                            554




                                                                                                     Exhibit 8
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      Q56 Does CW train caseworkers on an ongoing basis to maintain
                          their knowledge and skills?
                                              Answered: 552    Skipped: 406




                       Yes




                 I'm not sure




                        No



                             0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                          RESPONSES

Yes                                                                     58.51%                                    323

I'm not sure                                                            19.02%                                    105

No                                                                      22.46%                                    124

TOTAL                                                                                                             552




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   Q57 Does CW address safety threats and safety concerns of
                           children in their homes?
                                             Answered: 126    Skipped: 832




                   Always




                 Sometimes




                    Never



                            0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                         RESPONSES

Always                                                                 49.21%                                     62

Sometimes                                                              50.79%                                     64



Never                                                                  0.00%                                       0



TOTAL                                                                                                            126




                                                                                                     Exhibit 8
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   Q58 Does CW assess safety threats and safety concerns of children
                          in substitute care?
                                             Answered: 126    Skipped: 832




                   Always




                 Sometimes




                    Never



                            0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                         RESPONSES

Always                                                                 53.97%                                     68

Sometimes                                                              46.03%                                     58



Never                                                                  0.00%                                       0



TOTAL                                                                                                            126




                                                                                                     Exhibit 8
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   Q59 Does CW address safety threats and safety concerns of children
                          in substitute care?
                                             Answered: 126    Skipped: 832




                   Always




                 Sometimes




                    Never



                            0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                         RESPONSES

Always                                                                 48.41%                                     61

Sometimes                                                              51.59%                                     65



Never                                                                  0.00%                                       0



TOTAL                                                                                                            126




                                                                                                     Exhibit 8
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    Q60 Does CW maintain the confidentiality of reports of abuse in
    care?
                                             Answered: 126    Skipped: 832




                   Always




                 Sometimes




                    Never



                            0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                         RESPONSES

Always                                                                 70.63%                                     89

Sometimes                                                              28.57%                                     36



Never                                                                  0.79%                                       1



TOTAL                                                                                                            126




                                                                                                     Exhibit 8
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      Q61 Is the process of responding to allegations of abuse and
                  neglect regarding children in substitute care clear?
                                              Answered: 127    Skipped: 831




                       Yes




                 I'm not sure




                        No



                             0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                          RESPONSES

Yes                                                                     63.78%                                     81

I'm not sure                                                            25.98%                                     33

No                                                                      10.24%                                     13

TOTAL                                                                                                             127




                                                                                                      Exhibit 8
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      Q62 Is the process of responding to allegations of abuse and
             neglect regarding children in substitute care
             understandable?
                                              Answered: 127    Skipped: 831




                       Yes




                 I'm not sure




                        No



                             0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                          RESPONSES

Yes                                                                     70.08%                                     89

I'm not sure                                                            20.47%                                     26

No                                                                      9.45%                                      12

TOTAL                                                                                                             127




                                                                                                      Exhibit 8
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 Q63 Does CW standardize the response to allegations of maltreatment
                    for children in substitute care?
                                              Answered: 127    Skipped: 831




                       Yes




                 I'm not sure




                        No



                             0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                          RESPONSES

Yes                                                                     53.54%                                     68

I'm not sure                                                            27.56%                                     35

No                                                                      18.90%                                     24

TOTAL                                                                                                             127




                                                                                                      Exhibit 8
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        Q64 Has CW standardized the protocol for "closed at screening"?
                                              Answered: 127    Skipped: 831




                       Yes




                 I'm not sure




                        No



                             0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                          RESPONSES

Yes                                                                     37.01%                                     47

I'm not sure                                                            43.31%                                     55

No                                                                      19.69%                                     25

TOTAL                                                                                                             127




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         Q65 Does CW ensure that requirements (agency policies, legal
          regulations, or laws) are met when recruiting, certifying, and
                            monitoring foster parents?
                                             Answered: 125    Skipped: 833




                   Always




                 Sometimes




                    Never



                            0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                         RESPONSES

Always                                                                 42.40%                                     53

Sometimes                                                              54.40%                                     68



Never                                                                  3.20%                                       4



TOTAL                                                                                                            125




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      Q66 Has the organizational culture of CW improved during the
                          tenure of Rebecca Jones Gaston?
                                              Answered: 125    Skipped: 833




                       Yes




                 I'm not sure




                        No



                             0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                          RESPONSES

Yes                                                                     46.40%                                     58

I'm not sure                                                            37.60%                                     47

No                                                                      16.00%                                     20

TOTAL                                                                                                             125




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         Q67 Do you believe that CW leadership pursues appropriate policy
                     changes to improve child protection?
                                             Answered: 126    Skipped: 832




                   Always




                 Sometimes




                    Never



                            0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                         RESPONSES

Always                                                                 30.16%                                     38

Sometimes                                                              69.05%                                     87



Never                                                                  0.79%                                       1



TOTAL                                                                                                            126




                                                                                                     Exhibit 8
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         Q68 Does CW respond according to policies and procedures to
            maltreatment reports from children in substitute care?
                                             Answered: 125    Skipped: 833




                   Always




                 Sometimes




                    Never



                            0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                         RESPONSES

Always                                                                 48.80%                                     61

Sometimes                                                              50.40%                                     63



Never                                                                  0.80%                                       1



TOTAL                                                                                                            125




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Q69 Does CW engage in continuous quality improvement processes at
                          the state level?
                                             Answered: 125    Skipped: 833




                   Always




                 Sometimes




                    Never



                            0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                         RESPONSES

Always                                                                 34.40%                                     43

Sometimes                                                              61.60%                                     77



Never                                                                  4.00%                                       5



TOTAL                                                                                                            125




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Q70 Does CW engage in continuous quality improvement processes at
                         the district level?
                                             Answered: 126    Skipped: 832




                   Always




                 Sometimes




                    Never



                            0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                         RESPONSES

Always                                                                 30.95%                                     39

Sometimes                                                              65.87%                                     83



Never                                                                  3.17%                                       4



TOTAL                                                                                                            126




                                                                                                     Exhibit 8
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Q71 Does CW engage in continuous quality improvement processes at
                         the county level?
                                             Answered: 126    Skipped: 832




                   Always




                 Sometimes




                    Never



                            0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                         RESPONSES

Always                                                                 26.19%                                     33

Sometimes                                                              70.63%                                     89



Never                                                                  3.17%                                       4



TOTAL                                                                                                            126




                                                                                                     Exhibit 8
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   Q72 Does CW use the evaluations of the quality of services to
                     improve service delivery to families?
                                             Answered: 126    Skipped: 832




                   Always




                 Sometimes




                    Never



                            0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                         RESPONSES

Always                                                                 14.29%                                     18

Sometimes                                                              80.16%                                    101



Never                                                                  5.56%                                       7



TOTAL                                                                                                            126




                                                                                                     Exhibit 8
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  Q73 Does CW recruit and retain foster parents who are able to meet
              the identified needs of children in foster care?
                                             Answered: 126    Skipped: 832




                   Always




                 Sometimes




                    Never



                            0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                         RESPONSES

Always                                                                 11.11%                                     14

Sometimes                                                              84.13%                                    106



Never                                                                  4.76%                                       6



TOTAL                                                                                                            126




                                                                                                     Exhibit 8
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         Q74 Does CW prioritize the placement of children with relatives?
                                             Answered: 126    Skipped: 832




                   Always




                 Sometimes




                    Never



                            0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                         RESPONSES

Always                                                                 57.94%                                     73

Sometimes                                                              41.27%                                     52



Never                                                                  0.79%                                       1


TOTAL                                                                                                            126




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 Q75 Does CW maintain a statewide service array that ensures their
         ability to meet the identified needs of children and
         families?
                                              Answered: 126    Skipped: 832




                       Yes




                 I'm not sure




                        No



                             0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                          RESPONSES

Yes                                                                     19.84%                                     25

I'm not sure                                                            29.37%                                     37

No                                                                      50.79%                                     64

TOTAL                                                                                                             126




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         Q76 Does CW address the underlying conditions for removal
                    before returning children to their parents' care?
                                             Answered: 126    Skipped: 832




                   Always




                 Sometimes




                    Never



                            0%   10%   20%   30%   40%       50%    60%      70%   80%   90%    100%




ANSWER CHOICES                                                         RESPONSES

Always                                                                 24.60%                                     31

Sometimes                                                              73.81%                                     93



Never                                                                  1.59%                                       2



TOTAL                                                                                                            126




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                                                                     Appendix F: Survey Protocol




Appendix F: Survey Protocol
The survey was disseminated online to caseworkers (identified in the survey as field staff),
supervisors, managers, consultants, and Central Office staff. The survey asked participants
to identify their tenure and role in child welfare, and the remaining survey questions were
determined by their role. All questions were closed-ended and allowed a single answer.
Three options were given, depending on the question: either Yes/I’m Not Sure/No, or
Always/Sometimes/Never.

The survey took between 15-30 minutes to complete. The survey questions were based on
the inquiry questions developed for each research question. Some questions were
duplicated between the survey, interviews, and focus groups to ensure the collection of
information from varying perspectives across the child welfare system.

                        Survey Question                     Research            Role(s)
                                                            Question

 1.    Does CW address safety threats and safety                1        Central Office
       concerns of children in their homes?                              Consultants
                                                                         Managers
                                                                         Supervisors
                                                                         Caseworkers

 2.    Does CW assess safety threats and safety                 1        Central Office
       concerns of children in substitute care?                          Consultants
                                                                         Managers
                                                                         Supervisors
                                                                         Caseworkers

 3.    Does CW address safety threats and safety                1        Central Office
       concerns of children in substitute care?                          Consultants
                                                                         Managers
                                                                         Supervisors
                                                                         Caseworkers

 4.    Does CW maintain the confidentiality of reports          1        Central Office
       of abuse in care?                                                 Consultants
                                                                         Managers




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                          Survey Question                     Research             Role(s)
                                                              Question

                                                                            Supervisors
                                                                            Caseworkers

 5.    Is the process of responding to allegations of             1         Central Office
       abuse and neglect regarding children in                              Consultants
       substitute care:
                                                                            Managers
       Clear?
                                                                            Supervisors
       Understandable?
                                                                            Caseworkers

 6.    Does CW standardize the response to allegations            1         Central Office
       of maltreatment for children in substitute care?                     Consultants
                                                                            Managers
                                                                            Supervisors
                                                                            Caseworkers

 7.    Has CW standardized the protocol for "closed at            1         Central Office
       screening"?                                                          Consultants
                                                                            Managers
                                                                            Supervisors
                                                                            Caseworkers

 8.    Does CW ensure that requirements (agency                   1         Central Office
       policies, legal regulations, or laws) are met when                   Consultants
       recruiting, certifying, and monitoring foster
                                                                            Managers
       parents?
                                                                            Supervisors
                                                                            Caseworkers

 9.    Does CW comply with federal background check               1         Supervisors
       requirements during:                                                 Caseworkers
       Certification of substitute care providers?
       Oversight of substitute care providers?

 10.   Does CW leadership advocate for safety for                 1         Supervisors
       children under CW supervision?                                       Caseworkers




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                        Survey Question                     Research             Role(s)
                                                            Question

 11.   Has the organizational culture of CW improved            2         Central Office
       during the tenure of Rebecca Jones Gaston?                         Consultants
                                                                          Managers
                                                                          Supervisors
                                                                          Caseworkers

 12.   Do you believe that CW leadership pursues                2         Central Office
       appropriate policy changes to improve child                        Consultants
       protection?
                                                                          Managers
                                                                          Supervisors
                                                                          Caseworkers

 13.   Does CW respond according to policies and                2         Central Office
       procedures to maltreatment reports from                            Consultants
       children in substitute care?
                                                                          Managers
                                                                          Supervisors
                                                                          Caseworkers

 14.   Does CW engage in continuous quality                     3         Central Office
       improvement processes at the following levels:                     Consultants
       State?                                                             Managers
       District?                                                          Supervisors
       County?                                                            Caseworkers

 15.   Does CW use the evaluations of the quality of            3         Central Office
       services to improve service delivery to families?                  Consultants
                                                                          Managers
                                                                          Supervisors
                                                                          Caseworkers

 16.   Does CW provide training and coaching for staff          3         Supervisors
       on how to use data to drive decisions and                          Caseworkers
       improve quality of services?




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                         Survey Question                       Research             Role(s)
                                                               Question

 17.   Does CW recruit and retain foster parents who               4         Central Office
       are able to meet the identified needs of children                     Consultants
       in foster care?
                                                                             Managers
                                                                             Supervisors
                                                                             Caseworkers

 18.   Does CW recruit and retain appropriate child-               4         Supervisors
       specific providers, including kith and kin, to care                   Caseworkers
       for the number of children who need such
       placements?

 19.   Does CW maintain an appropriate number of                   4         Supervisors
       foster homes to house the number of children                          Caseworkers
       who need to be placed in foster care?

 20.   Does CW conduct Diligent Recruitment (the                   4         Supervisors
       process of recruiting, retaining, and supporting                      Caseworkers
       foster families that reflect the ethnicity and race
       of children in substitute care) of foster care
       providers?

 21.   Does CW recruit and retain substitute care                  4         Supervisors
       providers who can care for children who identify                      Caseworkers
       as LGBTQIA2S+?

 22.   Does CW recruit and retain substitute care                  4         Supervisors
       providers who can care for children who are                           Caseworkers
       living with high needs?

 23.   Does CW provide training and coaching for staff             4         Supervisors
       on best practices for:                                                Caseworkers
       Recruitment of substitute care providers?
       Retention of substitute care providers?
       Support of substitute care providers?




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                         Survey Question                     Research             Role(s)
                                                             Question

 24.   Does CW leadership support the recruitment,               4         Supervisors
       retention, and support of substitute care                           Caseworkers
       providers?

 25.   Does CW prioritize the placement of children              5         Central Office
       with relatives?                                                     Consultants
                                                                           Managers
                                                                           Supervisors
                                                                           Caseworkers

 26.   Does CW conduct ongoing searches for relatives            5         Supervisors
       of children in substitute care?                                     Caseworkers

 27.   Does CW appropriately match children to                   5         Supervisors
       substitute care placements based on the needs                       Caseworkers
       of the child and the capability of the providers?

 28.   Does CW provide training and coaching to staff            5         Supervisors
       on best practices for improving permanence for                      Caseworkers
       children in substitute care?

 29.   Does CW identify permanency goals appropriate             6         Supervisors
       to the needs of the child?                                          Caseworkers

 30.   Does CW create permanency plans based on the              6         Supervisors
       identified needs of the child?                                      Caseworkers

 31.   Does CW provide training and coaching to staff            6         Supervisors
       on how to plan for permanency for children and                      Caseworkers
       families?

 32.   Does CW leadership encourage improving                    5         Supervisors
       permanence for children in substitute care?                         Caseworkers

 33.   Does CW leadership advocate for improving                 6         Supervisors
       permanency planning?                                                Caseworkers




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                          Survey Question                   Research             Role(s)
                                                            Question

 34.   Does CW provide training and coaching to staff           7         Supervisors
       in assessing individuals, including children and                   Caseworkers
       families?

 35.   Does CW leadership encourage individualized              7         Supervisors
       assessments for children and families?                             Caseworkers

 36.   Does CW maintain a statewide service array that          8         Central Office
       ensures their ability to meet the identified needs                 Consultants
       of children and families?
                                                                          Managers
                                                                          Supervisors
                                                                          Caseworkers

 37.   Does CW address the underlying conditions for            8         Central Office
       removal before returning children to their                         Consultants
       parents' care?
                                                                          Managers
                                                                          Supervisors
                                                                          Caseworkers

 38.   Does CW provide in-home services to families             8         Supervisors
       post-reunification to prevent re-entry into                        Caseworkers
       substitute care?

 39.   Does CW ensure that behavioral health services           8         Supervisors
       are being delivered in order to meet case plan                     Caseworkers
       goals?

 40.   Does CW provide training and coaching to staff           8         Supervisors
       on how to work with providers in delivering                        Caseworkers
       services to meet the needs of children and
       families?

 41.   Does CW leadership advocate for providing                8         Supervisors
       services to meet the needs of children and                         Caseworkers
       families?




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                        Survey Question                      Research             Role(s)
                                                             Question

 42.   Does CW develop comprehensive case plans that             9         Supervisors
       meet the identified needs of the child and family?                  Caseworkers

 43.   Does CW provide training and coaching for staff           9         Supervisors
       on best practices in case planning?                                 Caseworkers

 44.   Does CW leadership advocate for improving case            9         Supervisors
       planning?                                                           Caseworkers

 45.   Does CW facilitate contact between children and          10         Supervisors
       their siblings in accordance with the Family                        Caseworkers
       Support Services Case Plan?

 46.   Does CW train caseworkers prior to their direct          11         Supervisors
       work with families to prepare them for their                        Caseworkers
       work?

 47.   Does CW train caseworkers on an ongoing basis            11         Supervisors
       to maintain their knowledge and skills?                             Caseworkers




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Appendix G: Interview Protocol
The purpose of the individual interviews was to gather perspectives from Child Welfare
(CW) leadership and representatives from the Governor’s office on the progress that has
been made throughout the child welfare system since Public Knowledge® completed the
Child Safety in Substitute Care Final Report in 2016. The interviews provided perceptions of
individuals within the child welfare system.

Public Knowledge® conducted 27 interviews, each of which were scheduled for 50 minutes
and were facilitated over videoconference.

The interviewees were:

   •    Fariborz Pakseresht, ODHS Director
   •    Liesl Wendt, ODHS Deputy Director
   •    Rebecca Jones Gaston, Child Welfare Director (now former Child Welfare Director)
   •    Lacey Andresen, Child Welfare Deputy Director for Program and Practice
   •    Aprille Flint-Gerner, Child Welfare Deputy Director (now Child Welfare Director)
   •    Alysia Cox, CW Deputy Chief of Strategy and Innovation (also serving as the Data
        Representative)
   •    Tami Kane-Suleiman, Program Manager for Child Fatality Prevention and Review
        Program
   •    Deena Loughary, Child Safety Program Manager
   •    Stacey Loboy, Foster Care and Youth Transitions Program Manager
   •    Belit Burke, District Manager
   •    Sherril Kuhns, Federal Policy and Resources Manager
   •    Kim Keller, Child Permanency Manager
   •    Kristen Khamnohack, ORCAH Screening Program Manager
   •    Hannah Lene, ORCAH Supervisor
   •    Kirby Crawford, ORCAH Manager
   •    Kim Lorz, Training and Workforce Development Manager
   •    Sarah Fox, Treatment Services Program Manager
   •    Steve Allen, OHA Behavioral Health Director
   •    Dana Hittle, OHA Interim State Medical Director
   •    Lilia Teninty, Office of Developmental Disabilities Services (ODDS) Director
   •    Joel Metlen, Human Services Strategic Projects Director, Child Welfare Strategic
        Initiatives Director



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   •    Rosa Klein, Governor’s Office Policy Advisor
   •    Berri Leslie, Oregon Governor’s Deputy Chief of Staff

The comprehensive set of interview questions is listed in the table below. This includes
questions that were added to the protocol to interview the ORCAH staff as well as the
follow-up interviews with the Executive Leadership Team and the ORCAH Screening
Program Manager.

                     Interview Question                    Research         Interviewee(s)
                                                           Question

 1.    Does CW meet federal requirements for                    1        Data Representative
       caseworker contacts with children in
       substitute care?

 2.    Does CW meet state requirements for                      1        Data Representative
       caseworker contacts with children in
       substitute care?

 3.    Does CW adequately assess out-of-state                   1        Governor’s Office
       facilities to determine the appropriateness of                    CW Leadership
       placing children?
                                                                         Policy Managers

 4.    Has CW centralized and standardized                      1        Safety Managers
       reporting, screening, and assessments
       statewide?

 5.    Since 2016, has CW redesigned the process of             1        Governor’s Office
       responding to allegations of abuse and                            CW Leadership
       neglect regarding children in substitute care?
                                                                         Safety Managers
                                                                         Foster Care Manager

 6.    What is CW’s policy on protecting the                    1        CW Leadership
       confidentiality of children who identify as                       Policy Managers
       LGBTQIA2S+?

 7.    Has CW standardized the protocol for “closed             1        Safety Managers
       at screening”?




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                     Interview Question                     Research       Interviewee(s)
                                                            Question

 8.   Does CW comply with federal background                   1        Foster Care Manager
      check requirements during certification and                       Policy Managers
      oversight of substitute care providers?

 9.   Does CW have policies and procedures in                  1        Safety Managers
      place to guide staff on safety practices?                         Policy Managers

 10. Does CW have in place quality assurance                   1        Safety Managers
      processes for monitoring safety for children                      Data Representative
      under CW supervision?

 11. What is ORCAH's biggest accomplishment                    1        ORCAH Staff
      since centralization of intake?

 12. What are your top complaints from mandated                1        ORCAH Staff
      reporters?

 13. Are caseworkers using the new pathway to                  1        ORCAH Staff
      report maltreatment, or are they still
      consistently calling the hotline?

 14. What improvements have you made to                        1        ORCAH Staff
      policies and procedures that benefit your
      staff, local staff, and mandated reporters?

 15. Has ORCAH positively contributed to the                   1        ORCAH Staff
      safety of children and young adults in
      substitute care?

 16. What have been your biggest challenges with               1        ORCAH Staff
      COVID-19?

 17. How does ORCAH address or prioritize                      1        ORCAH Staff
      backlogged cases?

 18. What processes are in place to assign                     1        ORCAH Staff
      backlogged cases?




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                     Interview Question                     Research       Interviewee(s)
                                                            Question

 19. What has been the most significant change in              1        CW Leadership
      your tenure?

 20. What has been the most significant                        1        CW Leadership
      accomplishment for CW in your tenure?

 21. What is the most significant issue facing child           1        CW Leadership
      welfare in Oregon?

 22. What has been the most persistent challenge               1        CW Leadership
      in child welfare during your tenure in Oregon?

 23. How is the process of sharing screened                    1        CW Leadership
      reports between ORCAH and local law
      enforcement handled at the local level?

 24. In what ways are CW staff encouraged to                   2        Governor’s Office
      speak up with safety concerns regarding                           CW Leadership
      children in substitute care?
                                                                        Safety Managers

 25. Does CW respond according to policies and                 2        Foster Care Manager
      procedures to maltreatment reports from                           Policy Managers
      children in substitute care?

 26. In what ways does CW advocate for a safety                2        Governor’s Office
      culture among its workforce?                                      CW Leadership
                                                                        Safety Managers

 27. Does CW use Organizational Change                         2        CW Leadership
      Management processes and structures?

 28. In what ways do CW executives model                       2        Governor’s Office
      leadership skills and behaviors?                                  CW Leadership
                                                                        Safety Managers
                                                                        Foster Care Manager
                                                                        Policy Managers
                                                                        Training Manager




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                     Interview Question                   Research        Interviewee(s)
                                                          Question

                                                                       Data Representative

 29. Do CW’s nondiscrimination policies include              2         CW Leadership
      considerations of sexual orientation, gender
      identity, and gender expression (SOGIE)?

 30. What are the primary challenges ORCAH staff,            2         ORCAH Staff
      managers, and leaders are dealing with now?

 31. What are your top primary complaints you                2         ORCAH Staff
      receive from District and County staff?

 32. How has leadership supported ORCAH?                     2         ORCAH Staff

 33. How do you handle complaints about ORCAH?               2         ORCAH Staff

 34. How do you communicate your improvements                2         ORCAH Staff
      in ORCAH to county staff and mandated
      reporters (such as improvements in call wait
      times)?

 35. How has the organizational culture shifted              2         CW Leadership
      during your tenure?

 36. Is case information entered or tracked outside          3         Data Representative
      of OR-Kids?

 37. Does CW follow their Data Quality Plan?                 3         CW Leadership
                                                                       Data Representative

 38. Does CW use data to inform the development              3         CW Leadership
      of new or revised practices, policies, and                       Data Representative
      procedures?
                                                                       Policy Managers

 39. Does CW have a continuous quality                       3         CW Leadership
      improvement process that includes leadership                     Data Representative
      support, leadership modeling, staff and
      stakeholder engagement, communication,




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                     Interview Question                    Research         Interviewee(s)
                                                           Question

      oversight, data collection, case record
      reviews, and use of the findings?

 40. What does the CQI process look like at each               3         Data Representative
      level?

 41. Does CW utilize performance-based                         3         CW Leadership
      contracting with its external service
      providers?

 42. Does CW provide training and coaching for                 3         Training Manager
      staff on how to use data to drive decisions
      and improve quality of services?

 43. Does CW have a case review system in place                3         Data Representative
      to inform decision-making and improve the
      quality of services?

 44. How do you use data and continuous quality                3         ORCAH Staff
      improvement processes to make changes?

 45. Does CW recruit and retain appropriate child-             4         Data Representative
      specific providers, including kith and kin, to                     Foster Care Manager
      care for the number of children who need
      such placements?

 46. Does CW provide appropriate services and                  4         Foster Care Manager
      support to substitute care providers to ensure
      children are adequately cared for and
      supervised?

 47. How does CW oversee the contracted                        4         Foster Care Manager
      placements for children living with high
      needs?

 48. Has CW increased reimbursement rates for                  4         CW Leadership
      substitute care providers?                                         Foster Care Manager




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                     Interview Question                   Research         Interviewee(s)
                                                          Question

 49. Does CW prioritize the use of the least                  4         CW Leadership
      restrictive placement?                                            Foster Care Manager

 50. Does CW have or oversee a statewide                      4         CW Leadership
      recruitment, retention, and support plan for                      Foster Care Manager
      substitute care providers?

 51. Does CW use data to inform their statewide               4         Data Representative
      recruitment, retention, and support plan for                      Foster Care Manager
      substitute care providers?

 52. Does CW have policies and procedures for                 4         Policy Managers
      staff regarding the recruitment, retention,                       Foster Care Manager
      and support of substitute care providers?

 53. Does CW provide training and coaching for                4         Training Manager
      staff on best practices for the recruitment,                      Foster Care Manager
      retention, and the support of substitute care
      providers?

 54. Does CW utilize a case review process to                 4         CW Leadership
      identify lessons learned in the recruitment,                      Foster Care Manager
      retention, and the support of substitute care
      providers?

 55. Does CW pursue termination of parental                   5         CW Leadership
      rights as required by federal law?                                Data Representative
                                                                        Foster Care Manager

 56. Does CW meet state requirements with regard              5         Foster Care Manager
      to using the CANS to establish reimbursement
      rates for providers?

 57. Does CW provide training and coaching to                 5         Training Manager
      staff on best practices for improving                             Foster Care Manager
      permanence for children in substitute care?




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                     Interview Question                     Research       Interviewee(s)
                                                            Question

 58. What efforts led to decreasing the number of              5        CW Leadership
      children in substitute care?

 59. Does CW provide training and coaching to                  6        Training Manager
      staff on how to plan for permanency for
      children and families?

 60. Does CW utilize a case review process to                  6        Foster Care Manager
      understand and improve barriers and
      strengths in permanency planning?

 61. Does CW have a mechanism to evaluate the                  7        Data Representative
      provision of assessments?

 62. Does CW provide training and coaching to                  7        Training Manager
      staff in assessing individuals, including
      children and families?

 63. Does CW maintain a statewide service array                8        Governor’s Office
      that ensures their ability to meet the                            CW Leadership
      identified needs of children and families?

 64. Has CW developed a continuum of care                      8        CW Leadership
      options for children in substitute care?                          Foster Care Manager

 65. Does CW partner with the Oregon Health                    8        Governor’s Office
      Authority to identify and improve systemic                        CW Leadership
      barriers regarding access to services?

 66. Does CW partner with Oregon Coordinated                   8        Governor’s Office
      Care Organizations to identify and improve                        CW Leadership
      systemic barriers regarding access to
      services?

 67. Does CW have a mechanism to evaluate the                  8        Data Representative
      services provided to children and families?

 68. What was the process of developing the self-              8        CW Leadership
      selected environments policy?



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                     Interview Question                   Research       Interviewee(s)
                                                          Question

 69. What data are collected for self-selected               8        CW Leadership
      environments? How are they monitored? How
      are risk factors for trafficking addressed?

 70. Does CW retain enough staff to adequately              11        Governor’s Office
      serve the children and families in CW                           CW Leadership
      custody?

 71. Does CW regulate caseloads for caseworkers             11        CW Leadership
      to ensure they can meet the needs of children
      and families under their supervision?

 72. Does CW meet state requirements in                     11        CW Leadership
      recruiting qualified caseworkers?

 73. Does CW adequately train caseworkers prior             11        CW Leadership
      to their direct work with families?                             Training Manager

 74. Does CW adequately train caseworkers on an             11        CW Leadership
      ongoing basis?                                                  Training Manager

 75. How does CW track training provided to                 11        Data Representative
      caseworkers?                                                    Training Manager

 76. Do you (and your staff) have the tools,                11        ORCAH Staff
      training, and supports needed to make good
      screening decisions?




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Appendix H: Focus Group Protocol
The purpose of the focus groups was to gather peer groups at varying levels of the child
welfare agency to share their collective experience regarding progress that has been made
throughout the child welfare system since Public Knowledge® completed the Child Safety in
Substitute Care Final Report in 2016. The focus groups were an opportunity for staff to
share their feedback with each other and with PK to provide input into the final report.

Public Knowledge® conducted eleven focus groups, each of which were scheduled for 90
minutes on Zoom. The focus groups included the following participants:

   •    Two focus groups of central office staff, including staff from Permanency, Federal
        Policy and Resources, Project Management, Treatment Services Unit, and Workforce
        Development.
   •    Two focus groups of caseworkers from districts throughout Oregon. One group will
        include caseworkers focused on safety services and the other group will be
        comprised of permanency caseworkers. Caseworkers were invited from a mixture of
        large and small counties, urban and rural areas, and locations across the state.
   •    Two focus groups of casework supervisors from districts throughout Oregon. One
        group will include supervisors overseeing safety services and the other group will be
        comprised of permanency supervisors. Supervisors were invited from a mixture of
        large and small counties, urban and rural areas, and locations across the state.
   •    One focus group of Program Managers from around the state.
   •    One focus group of Child Safety Consultants from Central Office.
   •    One focus group of Permanency Consultants from Central Office.
   •    One focus group of ORCAH screeners from around the state.

The roles included in the focus groups changed from PK’s initial methodology to
concentrate discussions with the CW staff most involved in and impacted by the changes
within the agency relevant to this review. Instead of conducting a focus group with District
Managers and Adoption Staff, PK facilitated a group with Program Managers and another
with Permanency Consultants. Program Managers oversee each district and work closely
with supervisors and caseworkers, and Permanency Consultants are able to share the
perceptions of permanence from a central office perspective. Based on feedback received
regarding the implementation of ORCAH, PK added a focus group dedicated to ORCAH
screeners to hear their feedback on the implementation process and the impact of
centralization on child safety.




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The focus groups were facilitated by two Public Knowledge® team members, one of whom
facilitated, and one took notes. Responses to the focus group questions were aggregated
and responses were not connected to a specific participant.

The focus group questions were based on the inquiry questions developed for each
research question. Due to time constraints and rich discussions, every focus group did not
address every question assigned to them.

                    Focus Group Question                Research        Participant Group
                                                        Question

 1.     Does CW adequately assess safety                    1      Safety Caseworkers
        thresholds and safety concerns of children                 Safety Casework
        in their homes during intake, initial                      Supervisors
        assessments, and safety assessments, and
                                                                   Safety Consultants
        throughout the life of the case?

 2.     Does CW effectively manage caseloads to             1      Central Office
        adequately meet the needs of children and                  Casework Supervisors
        families?

 3.     Does CW adequately supervise placements             1      Central Office
        of children in out-of-state facilities?                    Program Managers

 4.     Has CW centralized and standardized                 1      Central Office
        reporting, screening, and assessments                      Safety Caseworkers
        statewide?
                                                                   Safety Casework
                                                                   Supervisors
                                                                   Safety Consultants

 5.     Is the process of responding to allegations         1      Safety Caseworkers
        of abuse and neglect regarding children in                 Safety Casework
        substitute care transparent?                               Supervisors
                                                                   Safety Consultants

 6.     Does CW consistently share safety                   1      Central Office
        information across entities?                               Program Managers

 7.     What is CW’s policy on protecting the               1      Central Office
        confidentiality of children who identify as                Caseworkers
        LGBTQIA2S+?
                                                                   Casework Supervisors



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                   Focus Group Question                   Research        Participant Group
                                                          Question

 8.      Does CW consistently distinguish between             1      Central Office
         allegations of abuse and critical incidents?                Safety Caseworkers
         (Including a follow-up question of how the
                                                                     Safety Casework
         two are distinguished).
                                                                     Supervisors
                                                                     Safety Consultants

 9.      Does CW address safety threats or safety             1      Safety Caseworkers
         concerns raised in a substitute care                        Safety Casework
         placement?                                                  Supervisors
                                                                     Safety Consultants

 10.     Does CW provide training and coaching to             1      Safety Caseworkers
         staff about best practices in safety for                    Safety Casework
         children under CW supervision?                              Supervisors



 11.     Does CW utilize a case review process to             1      Central Office
         measure progress on improving safety for                    Program Managers
         children under CW supervision?
                                                                     Safety Caseworkers
                                                                     Safety Casework
                                                                     Supervisors
                                                                     Safety Consultants

 12.     Does CW have in place quality assurance              1      Central Office
         processes for monitoring safety for                         Program Managers
         children under CW supervision?
                                                                     Safety Casework
                                                                     Supervisors



 13.     Does CW leadership promote safety for                1      Central Office
         children under CW supervision?                              Program Managers
                                                                     Safety Caseworkers
                                                                     Safety Casework
                                                                     Supervisors
                                                                     Safety Consultants



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                     Focus Group Question               Research        Participant Group
                                                        Question

 14.     Has ORCAH positively contributed to the            1      ORCAH Screeners
         safety of children and young adults in
         Oregon?

 15.     How are cases assigned as they come in             1      ORCAH Screeners
         through the hotline? Are the number of
         assignments manageable?

 16.     In what ways is safety prioritized in              2      Central Office
         decision-making for children in substitute                Program Managers
         care?
                                                                   Safety Caseworkers
                                                                   Safety Casework
                                                                   Supervisors
                                                                   Safety Consultants

 17.     In what ways are CW staff encouraged to            2      Central Office
         speak up with safety concerns regarding                   Program Managers
         children in substitute care?
                                                                   Safety Caseworkers
                                                                   Safety Casework
                                                                   Supervisors
                                                                   Safety Consultants

 18.     Do CW staff feel comfortable raising               2      Central Office
         concerns?                                                 Program Managers
                                                                   Caseworkers
                                                                   Casework Supervisors
                                                                   Safety Consultants
                                                                   Permanency Consultants

 19.     Do CW staff know how to escalate                   2      Central Office
         concerns about safety issues?                             Program Managers
                                                                   Caseworkers
                                                                   Casework Supervisors
                                                                   Safety Consultants
                                                                   Permanency Consultants



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                    Focus Group Question                   Research        Participant Group
                                                           Question

 20.     Does CW communicate the importance of                 2      Central Office
         child safety for children in substitute care?                Program Managers
                                                                      Caseworkers
                                                                      Casework supervisors

 21.     In what ways does CW promote a safety                 2      Central Office
         culture among its workforce?                                 Program Managers
                                                                      Caseworkers
                                                                      Casework Supervisors
                                                                      Safety Consultants
                                                                      Permanency Consultants

 22.     Does CW use Organizational Change                     2      Central Office
         Management processes and structures?                         Program Managers

 23.     In what ways do CW executives model                   2      Central Office
         leadership skills and behaviors?                             Program Managers
                                                                      Caseworkers
                                                                      Casework Supervisors
                                                                      Safety Consultants
                                                                      Permanency Consultants

 24.     Do CW’s nondiscrimination policies include            2      Central Office
         considerations of sexual orientation,                        Program Managers
         gender identity, and gender expression
                                                                      Caseworkers
         (SOGIE)?
                                                                      Casework Supervisors
                                                                      Safety Consultants
                                                                      Permanency Consultants

 25.     How has the structure of your daily work              2      ORCAH Screeners
         changed in the last 6 months?

 26.     Do you have the tools, training, and                  2      ORCAH Screeners
         support you need to make appropriate
         screening decisions?



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                     Focus Group Question                Research        Participant Group
                                                         Question

 27.     What are the primary complaints you                 2      ORCAH Screeners
         receive from reporters?

 28.     Do you feel supported by management and             2      ORCAH Screeners
         leadership?

 29.     What have your biggest challenges been              2      ORCAH Screeners
         with COVID-19?

 30.     Is there an override for county staff to            2      ORCAH Screeners
         bypass waiting on a hotline call?

 31.     How does CW identify and document                   3      Central Office
         children who identify as LGBTQIA2S+?                       Program Managers

 32.     Does CW have a continuous quality                   3      Central Office
         improvement process that includes                          Program Managers
         leadership support, leadership modeling,
         staff and stakeholder engagement,
         communication, oversight, data collection,
         case record reviews, and use of the
         findings?

 33.     Does CW engage in continuous quality                3      Central Office
         improvement processes at the state,                        Program Managers
         district, and county levels?
                                                                    Casework Supervisors

 34.     What does the CQI process look like at              3      Central Office
         each level?                                                Program Managers

 35.     Does CW conduct effective evaluations of            3      Central Office
         the quality of services offered by external                Program Managers
         service providers?

 36.     Does CW use the evaluations of the quality          3      Central Office
         of services to improve service delivery to                 Program Managers
         families?
                                                                    Casework Supervisors




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                     Focus Group Question                 Research        Participant Group
                                                          Question

 37.     Does CW collaborate with service providers           3      Program Managers
         to share feedback from case reviews?                        Casework Supervisors

 38.     Does CW recruit and retain foster parents            4      Program Managers
         who are able to meet the identified needs                   Permanency Caseworkers
         of children in substitute care?
                                                                     Permanency Casework
                                                                     Supervisors

 39.     Does CW recruit and retain appropriate               4      Central Office
         child-specific providers, including kith and                Permanency Caseworkers
         kin, to care for the number of children who
                                                                     Permanency Casework
         need such placements?
                                                                     Supervisors
                                                                     Permanency Consultants

 40.     Does CW maintain an appropriate number               4      Central Office
         of foster homes to house the number of                      Permanency Caseworkers
         children who need to be placed in
                                                                     Permanency Casework
         substitute care?
                                                                     Supervisors
                                                                     Permanency Consultants

 41.     Does CW adequately assess the ability of             4      Central Office
         substitute care providers to ensure the                     Permanency Caseworkers
         appropriate care and supervision of
                                                                     Permanency Casework
         children?
                                                                     Supervisors
                                                                     Permanency Consultants

 42.     Does CW provide appropriate services and             4      Permanency Caseworkers
         support to substitute care providers to                     Permanency Casework
         ensure children are adequately cared for                    Supervisors
         and supervised?
                                                                     Permanency Consultants

 43.     Does CW diligently recruit substitute care           4      Permanency Caseworkers
         providers who reflect the ethnicity and race                Permanency Casework
         of children in substitute care?                             Supervisors
                                                                     Permanency Consultants




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                   Focus Group Question                   Research        Participant Group
                                                          Question

 44.     Does CW recruit and retain substitute care           4      Central Office
         providers who can care for children who                     Permanency Caseworkers
         identify as LGBTQIA2S+?
                                                                     Permanency Casework
                                                                     Supervisors
                                                                     Permanency Consultants

 45.     Does CW recruit and retain substitute care           4      Central Office
         providers who can care for children who                     Permanency Caseworkers
         are living with high needs?
                                                                     Permanency Casework
                                                                     Supervisors
                                                                     Permanency Consultants

 46.     Does CW track, at the state and local                4      Central Office
         levels, the current capacity for substitute                 Program Managers
         care providers?
                                                                     Permanency Consultants
                                                                     Permanency Casework
                                                                     Supervisors

 47.     Does CW track the skills and capabilities of         4      Permanency Caseworkers
         substitute care providers to ensure                         Permanency Casework
         appropriate matching for children and                       Supervisors
         their placement providers?
                                                                     Permanency Consultants

 48.     Does CW prioritize the use of the least              4      Central Office
         restrictive placement?                                      Program Managers
                                                                     Permanency Caseworkers
                                                                     Permanency Casework
                                                                     Supervisors
                                                                     Permanency Consultants

 49.     Does CW leadership promote the                       4      Central Office
         recruitment, retention, and support of                      Program Managers
         substitute care providers?
                                                                     Caseworkers
                                                                     Casework Supervisors




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                   Focus Group Question                  Research        Participant Group
                                                         Question

                                                                    Permanency Consultants

 50.     Does CW conduct ongoing searches for                5      Program Managers
         relatives of children in substitute care?                  Permanency Caseworkers
                                                                    Permanency Casework
                                                                    Supervisors
                                                                    Permanency Consultants

 51.     Does CW frequently use temporary                    5      Program Managers
         placements for children in substitute care?                Permanency Caseworkers
                                                                    Permanency Casework
                                                                    Supervisors
                                                                    Permanency Consultants

 52.     Does CW prioritize the placement of                 5      Program Managers
         children with relatives?                                   Permanency Caseworkers
                                                                    Permanency Casework
                                                                    Supervisors
                                                                    Permanency Consultants

 53.     Does CW adequately assess prospective               5      Program Managers
         adoptive parents to determine an                           Permanency Consultants
         appropriate match?

 54.     Does CW collaborate with the courts to              5      Central Office
         ensure timely permanency hearings?                         Program Managers
                                                                    Permanency Caseworkers
                                                                    Permanency Casework
                                                                    Supervisors

 55.     In what ways does CW make concerted                 5      Central Office
         efforts to achieve permanence in a timely                  Program Managers
         manner?
                                                                    Permanency Caseworkers
                                                                    Permanency Casework
                                                                    Supervisors
                                                                    Permanency Consultants



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                   Focus Group Question                   Research        Participant Group
                                                          Question

 56.     Does CW recommend placement decisions                5      Permanency Caseworkers
         based on the identified needs and                           Permanency Casework
         permanency plan of the child?                               Supervisors
                                                                     Permanency Consultants

 57.     Does CW appropriately match children to              5      Permanency Caseworkers
         substitute care placements based on the                     Permanency Casework
         needs of the child and the capability of the                Supervisors
         providers?
                                                                     Permanency Consultants

 58.     Does CW follow federal requirements for              5      Central Office
         placement preferences for Native American                   Program Managers
         or Alaska Native children?
                                                                     Permanency Consultants

 59.     Does CW utilize a case review process to             5      Central Office
         understand and improve barriers and                         Program Managers
         strengths regarding permanence for
         children in substitute care?

 60.     Does CW leadership encourage improving               5      Central Office
         permanence for children in substitute care?                 Permanency Caseworkers
                                                                     Permanency Casework
                                                                     Supervisors
                                                                     Permanency Consultants

 61.     Does CW identify permanency goals                    6      Program Managers
         appropriate to the needs of the child?                      Permanency Caseworkers
                                                                     Permanency Casework
                                                                     Supervisors
                                                                     Permanency Consultants

 62.     Does CW create permanency plans based                6      Program Managers
         on the identified needs of the child?                       Permanency Caseworkers
                                                                     Permanency Casework
                                                                     Supervisors




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                   Focus Group Question                Research        Participant Group
                                                       Question

 63.     Does CW recommend changes in                      6      Program Managers
         placement based on the identified needs                  Permanency Caseworkers
         and permanency plan of the child?
                                                                  Permanency Casework
                                                                  Supervisors

 64.     Does CW collaborate with families and             6      Program Managers
         children to identify and improve barriers                Permanency Caseworkers
         regarding permanency planning?
                                                                  Permanency Casework
                                                                  Supervisors
                                                                  Permanency Consultants

 65.     Does CW collaborate with the courts to            6      Central Office
         identify and eliminate barriers regarding                Program Managers
         permanency planning?
                                                                  Permanency Consultants

 66.     Does CW utilize a case review process to          6      Central Office
         understand and improve barriers and                      Permanency Consultants
         strengths in permanency planning?

 67.     Does CW leadership promote improving              6      Central Office
         permanency planning?                                     Program Managers
                                                                  Permanency Consultants

 68.     Does CW identify necessary services for           7      Central Office
         children based on the assessment(s)?                     Program Managers

 69.     Does CW identify necessary services for           7      Central Office
         parents based on the assessment(s)?                      Program Managers

 70.     Does CW identify necessary services for           7      Central Office
         substitute care providers based on the                   Program Managers
         assessment(s)?
                                                                  Permanency Caseworkers
                                                                  Permanency Casework
                                                                  Supervisors




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                    Focus Group Question               Research        Participant Group
                                                       Question

 71.     Does CW utilize a case review process to          7      Central Office
         inform and improve individualized                        Program Managers
         assessments for children and families?

 72.     Does CW leadership promote                        7      Central Office
         individualized assessments for children                  Program Managers
         and families?

 73.     Does CW maintain a sufficient capacity of         8      Central Office
         substitute care placements to serve                      Permanency Caseworkers
         children living with high needs?

 74.     Does CW provide appropriate services to           8      Central Office
         meet children’s identified needs?                        Program Managers

 75.     Does CW provide appropriate services to           8      Central Office
         meet the identified needs of children who                Program Managers
         identify as LGBTQIA2S+?
                                                                  Caseworkers
                                                                  Casework Supervisors

 76.     Does CW provide services and supports to          8      Permanency Caseworkers
         the family throughout the duration of the                Permanency Casework
         case to prepare for reunification?                       Supervisors

 77.     Does CW address the underlying                    8      Permanency Caseworkers
         conditions for removal before returning                  Permanency Casework
         children to their parents' care?                         Supervisors

 78.     Does CW adequately assess independent             8      Program Managers
         living skills?                                           Permanency Caseworkers
                                                                  Permanency Consultants

 79.     Does CW provide services based on the             8      Permanency Caseworkers
         assessment of a young adult's independent                Permanency Casework
         living skills and needs?                                 Supervisors

 80.     Does CW provide services necessary to             8      Permanency Caseworkers
         parents so they can achieve case goals?



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                   Focus Group Question                  Research        Participant Group
                                                         Question

                                                                    Permanency Casework
                                                                    Supervisors

 81.     Does CW provide services necessary to               8      Permanency Caseworkers
         parents in order to support them meeting                   Permanency Casework
         their conditions for return?                               Supervisors

 82.     In what ways does CW provide safe spaces            8      Central Office
         for young adults who identify as                           Program Managers
         LGBTQIA2S+?
                                                                    Caseworkers
                                                                    Casework Supervisors
                                                                    Safety Consultants
                                                                    Permanency Consultants

 83.     In what ways does CW provide services               8      Central Office
         that address sexuality, gender-based                       Program Managers
         needs, and the process of coming out for
                                                                    Caseworkers
         LGBTQIA2S+ young adults?
                                                                    Casework Supervisors

 84.     Does CW utilize a case review process to            8      Central Office
         inform and improve the barriers and                        Program Managers
         strengths in providing services to meet the
         needs of children and families?

 85.     Does CW ensure that services are provided           9      Program Managers
         as recommended in the case plan?                           Casework Supervisors

 86.     Does CW adequately involve families                 9      Caseworkers
         throughout the case planning process?                      Casework Supervisors

 87.     Does CW adequately involve tribes                   9      Central Office
         throughout the case planning process?                      Program Managers

 88.     Does CW provide training and coaching for           9      Caseworkers
         staff on best practices in case planning?




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                     Focus Group Question                   Research        Participant Group
                                                            Question

 89.     Does CW utilize case review processes for              9      Program Managers
         identifying and improving barriers to case                    Casework Supervisors
         planning?
                                                                       Permanency Consultants

 90.     Does CW leadership promote improving                   9      Central Office
         case planning?                                                Program Managers

 91.     Does CW allow for sufficient and quality              10      Caseworkers
         family interactions between children and                      Casework Supervisors
         parents to preserve family connections?

 92.     Does CW facilitate sufficient family                  10      Permanency Caseworkers
         interaction to prepare parents and children                   Permanency Casework
         for reunification?                                            Supervisors

 93.     Does CW maintain the child’s connections              10      Program Managers
         to their community, faith, extended family,                   Permanency Caseworkers
         tribe, and school?
                                                                       Permanency Casework
                                                                       Supervisors

 94.     Does CW facilitate contact between                    10      Permanency Caseworkers
         children and their siblings in accordance                     Permanency Casework
         with the Family Support Services Case Plan?                   Supervisors
                                                                       Permanency Consultants

 95.     Does CW prioritize placing siblings                   10      Permanency Caseworkers
         together when possible and appropriate?                       Permanency Casework
                                                                       Supervisors

 96.     Does CW provide training and coaching for             10      Permanency Caseworkers
         staff on best practices for maintaining
         connections with children, their families
         (including siblings), and their community,
         faith, extended family, tribe, and school?

 97.     Does CW utilize a case review process that            10      Program Managers
         informs and improves connections with                         Permanency Caseworkers
         children, their families (including siblings),


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                   Focus Group Question                  Research         Participant Group
                                                         Question

         and their community, faith, extended                        Permanency Casework
         family, tribe, and school?                                  Supervisors

 98.     Does CW leadership promote improving                10      Central Office
         connections between children in substitute                  Program Managers
         care and their families?

 99.     Does CW provide support to its workforce            11      Central Office
         to prevent staff turnover?                                  Program Managers
                                                                     Caseworkers
                                                                     Casework Supervisors
                                                                     Safety Consultants
                                                                     Permanency Consultants

 100. Does CW regulate caseloads for                         11      Program Managers
         caseworkers to ensure they can meet the                     Caseworkers
         needs of children and families under their
                                                                     Casework Supervisors
         supervision?

 101. Does CW adequately train caseworkers                   11      Caseworkers
         prior to their direct work with families?

 102. Does CW adequately train caseworkers on                11      Caseworkers
         an ongoing basis?

 103. In what ways does CW provide adequate                  11      Program Managers
         supervision to child welfare caseworkers                    Casework Supervisors
         and middle managers?




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Appendix I: Staffing Information
Stacey Moss: Expert Witness

Stacey Moss is the President and CEO of Public Knowledge® and is serving as the Expert
Witness. Stacey is responsible for providing overall direction and leadership for Public
Knowledge®, with 20 years of experience working within governmental agencies,
educational institutions, and non-profit organizations. She also has extensive experience
in training development and implementation; leadership assessments and coaching;
organizational change management; and organizational development. Stacey received her
Juris Doctorate from the University of Wyoming and is a certified child welfare law specialist
(CWLS) and Project Management Institute (PMI) project management professional (PMP).

Stacey has spent her career in the child welfare industry. Starting as an attorney
representing parents and children in juvenile court proceedings. Then, representing the
child welfare agency in many policy and rule promulgation, general advice, and court
proceedings. Then running a state agency of attorneys ad litem for children and youth in
child welfare proceedings. And finally, the last 10+ years at Public Knowledge® doing
consulting work nationally on child welfare and other related systems work. Stacey was the
Policy and Regulatory Lead on the 2016 PK project to produce the 2016 Child Safety in
Substitute Care Final Report.

Stacey has authored or published seven publications in the ten years preceding the
submission of this report, all of which are listed on her resume in Appendix J. She has not
testified in another case in the four years preceding the submission of this report.

Allison Olson Ward: Project Manager

Since 2022, Allison has been the Learning Practice Director at Public Knowledge® and is the
Project Manager for this effort. Allison is responsible for growing the learning service line
at PK as well as for building client relationships, project management, data analyses,
research, and drafting deliverables. She has 19 years of experience working with state and
local child welfare agencies and juvenile court systems and direct experience working with
youth and families experiencing the child welfare system.

Allison has been pivotal in diverse projects throughout her career, including redesigning
caseworker training, assisting in implementing Comprehensive Child Welfare Information
Systems (CCWIS) and improving Adult Protective Services (APS) systems. Her responsibilities
span project planning, management, curriculum design, stakeholder engagement, and
quality assurance. Allison excels in organizational change management. As a certified
Project Management Professional (PMP), Allison's adept at overseeing intricate projects. Her
experience highlights her ability to lead teams, align objectives, and facilitate change


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management while maintaining effective stakeholder communication. Allison received her
Master’s Degree in Counseling from the University of Wisconsin-Madison, and is a Certified
ToP Facilitator, and a certified Project Management Practitioner.

Statement of Compensation

The Public Knowledge® Project Team includes the following staff with associated hourly
rates.

                                     Table 29. PK Team

                             Team Member                                       Hourly Rate

 Stacey Moss                                                             $280

 Allison Olson Ward                                                      $180

 Susan Smith                                                             $220

 Julie Breedlove                                                         $175




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Appendix J: Stacey Moss CV




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                         Stacey Moss, JD, CWLS, PMP
                                 President and CEO

Professional Summary
                     Stacey is the President and CEO of Public Knowledge® and has
                     over 20 years of experience working within governmental
                     agencies, educational institutions, and nonprofit organizations.
                     Stacey received her Bachelor of Arts from the University of
                     Northern Colorado, and her Juris Doctorate from the University
                     of Wyoming. She holds a Certified Child Welfare Law Specialist
                     (CWLS) certification and a Project Management Professional
                     (PMP) certification. Stacey brings expertise and knowledge to
                     every project, but focuses her consulting in child welfare,
                     Medicaid, and leadership.


Key Qualifications   •    Legal Expertise: Extensive experience as an attorney,
                          including roles as a Deputy Director and Chief Financial
                          Officer of the Wyoming Guardians Ad Litem Program,
                          providing legal advice to Wyoming state agencies, and
                          practicing family law and child welfare law.
                     •    Teaching and Training: Served as an Adjunct Professor of
                          Law, educating students in legal writing and appellate
                          advocacy. Conducted trainings throughout the US on various
                          topics, demonstrating a commitment to knowledge
                          dissemination.
                     •    Research and Publications: Published multiple legal
                          handbooks and articles on child welfare, juvenile court
                          systems, and various legal issues. Contributed significantly
                          to the field through insightful research and informative
                          publications.
                     •    Effective Presenter: Delivered presentations at numerous
                          conferences, workshops, and training events, showcasing
                          excellent communication and public speaking skills. Has
                          created and delivered more than 75 trainings and
                          presentations.




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                             Stacey Moss, JD, CWLS, PMP
                                       President and CEO

                         •    Collaboration and Teamwork: Demonstrated ability to work
                              effectively within diverse teams, promoting joint program
                              planning and fostering effective team dynamics.
                         •    Community Engagement: Active involvement in various
                              community projects and volunteer work, including serving as
                              a Big Brothers Big Sisters Project Manager and participating
                              in Americorps National Civilian Community Corps.
                         •    Child Welfare Law Specialist: Recognized as a Child Welfare
                              Law Specialist by the National Association of Counsel for
                              Children, highlighting specialized expertise in child welfare
                              law.

Work Experience

Public Knowledge, President and CEO                                                1/2013 –
                                                                                     Present
Stacey is the President and CEO of Public Knowledge, LLC. Prior to
serving as the President, she was our CEO, Professional Practice
Officer, Marketing Director, and a Management Consultant. Consulting
practice focuses on the health and child welfare industries, and our
program and people services.

Wyoming Office of the Public Defender, Guardians Ad Litem Program,                 7/2008 –
Deputy Director, Director, Chief Financial Officer                                   2/2013

Stacey served as the Deputy Director of the Office of the State Public
Defender and acting Director and Chief Financial Officer of the
Wyoming Guardians Ad Litem Program. She trained, supervised, and
managed all attorneys throughout Wyoming in child welfare and
juvenile justice case proceedings. Trained Program administrative
staff; gave final approval on all program expenditures and revenue;
and tracked and maintained Program budget.

University of Wyoming College of Law, Adjunct Professor of Law                     1/2008 –
                                                                                     6/2009
Stacey taught legal writing and appellate advocacy as an adjunct
professor of law.




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                              Stacey Moss, JD, CWLS, PMP
                                    President and CEO

Wyoming Attorney General’s Office, Assistant Attorney General to the            4/2007 –
Departments of Family Services, Transportation, and Health                        6/2008

Stacey provided day-to-day legal advice to Wyoming state agencies.
She represented the Department of Family Services (DFS), Wyoming
Department of Transportation, and the Wyoming Department of
Health. Stacey reviewed and made recommendations to DFS for
legislation, rules, and policy; and trained DFS management,
employees, and caseworkers. Stacey completed a mini-CFSR in
preparation for the federal I-VE Review. She also concluded rule
revisions and advice to the Substitute Care and Day Care Licensing
Division and successfully represented the Department of
Transportation in administrative hearings on license suspensions.

Corthell and King, P.C., Associate Attorney                                     6/2006 –
                                                                                  3/2007
Stacey practiced law in a general practice law firm, focused primarily
on family law and child welfare law, including representing parents and
children in juvenile court.

Wyoming Domestic Violence Legal Clinic at the University of Wyoming             5/2005 –
College of Law, Student Director                                                  5/2006

Stacey supervised and trained the student attorneys in the legal clinic
at the law school. The clinic provided holistic legal representation to
victims of domestic violence under the supervision of a faculty
attorney.

University of Wyoming Engineering Department Wyoming Technology                 1/2004 –
Transfer Center, Research Assistant and Trainer                                   5/2006

Stacey worked for the Wyoming Technology Transfer Center
researching the legal establishment of rural roads in Wyoming, from
territorial days until present. She also conducted trainings throughout
Wyoming and wrote a comprehensive reference guide on this issue for
Wyoming road personnel and attorneys.

                                                                                4/2003 –
Jubin & Zerga Law Firm, Investigator
                                                                                  8/2003




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                           Stacey Moss, JD, CWLS, PMP
                                    President and CEO

                                                                                 12/2002 –
Americorps National Civilian Community Corps, Corps Member
                                                                                    4/2003

                                                                                  7/2002 –
Henderson, Taylor, & Rapp Law Firm, Investigator
                                                                                   12/2002

                                                                                  8/2001 –
Colorado State Public Defender, Investigator
                                                                                    6/2002

                                                                                 11/2000 –
Big Brothers Big Sisters of Hastings, Project Manager
                                                                                    5/2001


Education

Juris Doctorate, University of Wyoming College of Law                                 2006

Bachelor of Arts: Sociology, Minor in Legal Studies, University of Northern           2002
Colorado


Certifications and Training

Organizational Mindfulness, Institute for Organizational Science and                  2023
Mindfulness (IOSM)

Leadership Institute, Classic Leadership Institute                                    2019

Hogan and Team Hogan Assessments Certification, Meta Skills Hogan                     2016
Assessment Systems

Project Management Professional (PMP), Project Management Institute (PMI)             2015

Technology of Participation® (ToP) Strategic Planning and Environmental               2014
Scanning Methods, Institute of Cultural Affairs (ICA)

Technology of Participation® (ToP) Group Facilitation Methods, Institute of           2013
Cultural Affairs (ICA)

Child Welfare Law Specialist, National Association of Counsel for Children            2012




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                           Stacey Moss, JD, CWLS, PMP
                                     President and CEO

Employment Law Certification, Mountain States Employment Council                    2010


Publications

Publisher and Advisory Board Member for the Family Integrity and Justice Works
Quarterly (2002, 4 editions), published by Public Knowledge®

Juvenile Court Law Update (2004-2018), published by the Wyoming Supreme Court
Children’s Justice Project, a yearly publication

A Handbook for Educators: Navigating Wyoming's Juvenile Court System (2015),
published by the Wyoming Supreme Court Children’s Justice Project

Skills-Based Handbook for Guardians Ad Litem in Wyoming’s Juvenile Courts (2013),
published by the Wyoming Supreme Court Children’s Justice Project (original publication
2013, updated multiple times)

Minor Consent Laws in Wyoming: Protecting a Minor’s Right to Confidential Medical Care
(2012), published by the Wyoming Lawyer

Wyoming Foster and Relative Caregivers Handbook - published by the Wyoming
Department of Family Services (original publication 2012, multiple updated publications
and revisions since)

How a Child Enters the Juvenile Court System – a Handbook for Foster and Relative
Caregivers (2011), published by the Wyoming Supreme Court Children’s Justice Project
(multiple updated publications and revisions since)

Wyoming’s Hidden Children and the Attorneys that Represent Them (2011), published by
the Wyoming Lawyer

MDT (Multidisciplinary Team) Meetings Handbook (2011), published with the Wyoming
Supreme Court Children’s Justice Project

Your Rights: A Guide to Juvenile Court in Wyoming for Children and Youth (2009),
published by the Wyoming Supreme Court Children’s Justice Project (multiple updated
publications and revisions since)




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                          Stacey Moss, JD, CWLS, PMP
                                   President and CEO

New Rules for Guardian Ad Litem Program (2008), published by the Wyoming Lawyer

Current Termination of Parental Rights Statute: An Incentive to Avoid the Court System
(2008), published by the Wyoming Lawyer

Wyoming Women and the Law Handbook (2007), published by Wyoming Women’s
Council (Co-authored with Dona Playton)

High Times in Wyoming: Reflecting the State’s Values by Eliminating Barriers and
Creating Opportunities for Women in the Equality State, 7 Wyo. L.R. 295 (2007) (Co-
authored with Dona Playton)

Legal Establishment of County Roads in Wyoming (2006), published by the Wyoming
Technology Transfer Center and the Mountain Plains Consortium

Case Note - Punitive Damage Determinations: A Jury’s Factual Inquiry or a Court’s
Mathematical Leash, State Farm Mut. Auto. Ins. Co. v. Campbell, 538 U.S. 408 (2003), 5
Wyo. L.R. 637 (2005)


Presentations

Winning on Purpose, Public Knowledge® SPARK Summit                              04/2023

Faculty, Mississippi Child Welfare Regional Conferences, 4 regions              Q1 2023

Management Consulting, the Market, and Core Management Consulting               10/2022
Skills; Public Knowledge® SPARK Summit

Team Effectiveness and Decision Making, Public Knowledge® SPARK Summit          10/2021

Diversity Orientation, Public Knowledge® SPARK Summit                           04/2021

Faculty, Judicial Academy on Reasonable Efforts, Region 4                          5/2020

Faculty, Judicial Academy on Reasonable Efforts, Regions 9 and 10                  1/2020

Faculty, CQI Workshops on Multiple Topics, Capacity Building Center for             2014 -
Courts, multiple dates and locations                                                  2019




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                          Stacey Moss, JD, CWLS, PMP
                                   President and CEO

5 Behavioral Principles of Highly Effective Teams, Public Knowledge All-Staff   10/2019
Training

Faculty, Judicial Academy on Reasonable Efforts, Region 4                        9/2019

Developing Training for Adult Learners, 42nd National Child Welfare Law          8/2019
Conference, co-presented with Andy Yost and Allison Olson

Procurement for Government Sector, Public Knowledge                              7/2019

Child Welfare and CCWIS Systems Overview, Public Knowledge Training              6/2019

How Qualitative Data and Exploring Stakeholder Perception Can Help Your          8/2018
System Reform Efforts or Stall Them, American Association of Health and
Human Services Attorneys (AAHHSA) Conference, co-presented with Melissa
Davis

Mock Permanency and Shelter Care Hearing Training Videos (online training          2017
videos), Wyoming Supreme Court Children’s Justice Project

Two Sides to Every Technology Project: Bridging the Communication Gap           10/2017
Between IT and Program Staff, National Staff Development and Training
Association (NSDTA) Conference, co-presented with Melissa Davis

A How to Guide for Institutionalizing Joint Program Planning, Children's         8/2017
Bureau CIP Grantee Meeting

Planning and Managing the Change from One “Big-Bang” Vendor to Multiple          8/2017
Modular Vendors, Medicaid Enterprise Services Conference (MESC), co-
presented with Jesse Springer

How Qualitative Data and Exploring Stakeholder Perception Can Help Your          4/2017
System Reform Efforts or Stall Them, 17th ABA National Conference on
Children & the Law: Strengthening Our Advocacy for Results (SOAR), co-
presented with Melissa Davis

Juvenile Court Training Modules (online training modules, recorded with            2017
handouts and video), Wyoming Supreme Court Children’s Justice Project




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                                   President and CEO

5 Behavioral Principles of Highly Effective Teams, Public Knowledge All-Staff     10/2016
Training

Finding the 25th Hour, Public Knowledge® Knowledge Share                          11/2016

Supporting Joint Program Planning & Improvement, Children's Bureau CIP             8/2016
Grantee Meeting

A New Strategy to Acquire an MMIS as Services Not Systems, Medicaid                8/2015
Enterprise Services Conference (MESC), co-presented with Jim Plane and Teri
Green

Power of Persuasion, Public Knowledge Knowledge Share                              4/2015

Google Tips and Tricks for Consultants, Public Knowledge Knowledge Share           1/2015

Multiple Child Welfare Topics, Wyoming Children's Justice Conference               6/2014

Wyoming Juvenile Court 101 Training, multiple locations and dates                   2008-
                                                                                     2014

Balancing Work Life and Family Life Panel, Women's Law Summit                      4/2014

Multidisciplinary Teams, Wyoming Supreme Court Children’s Justice Project,           2013
co-presented with Eydie Trautwein and Debra Dugan-Doty

Multiple Child Welfare Topics, Wyoming Children's Justice Conference               6/2013

Guardians ad Litem in Rural Wyoming                                               10/2012

Multiple Child Welfare Topics, Wyoming Children's Justice Conference               6/2012

Child Abuse and Neglect Laws, Juvenile Courts and the History of the Child         5/2012
in the US, sponsored by the Court Appointed Special Advocates

2012 Session Update, sponsored by the Wyoming Guardians Ad Litem                   3/2012
Program




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Child Abuse and Neglect Laws, Juvenile Courts and the History of the Child           2/2012
in the US, sponsored by the Court Appointed Special Advocates

Wyoming Guardians Ad Litem Program for Law Students, taught class at                 1/2012
Children and the Law course at University of Wyoming College of Law

Federal Law 101 for Foster and Relative Caregivers, sponsored by the                11/2011
Wyoming Supreme Court Children’s Justice Project

The Law, The Courts, and The Child, sponsored by the Court Appointed                10/2011
Special Advocates

Role of a GAL in Wyoming, Juvenile Court Rules and Anatomy of an                    10/2011
Abuse/Neglect Proceeding, sponsored by the University of Wyoming College
of Law Legal Services and DV Legal Assistance Project Clinics

Online Training Drill – Timelines and Reasonable Efforts Training for Foster         9/2011
and Relative Caregivers, sponsored by the Wyoming Supreme Court
Children’s Justice Project (completed September 2011)

Online Training Drill – Juvenile Court Hearings and MDTs for Foster and              8/2011
Relative Caregivers, sponsored by the Wyoming Supreme Court Children’s
Justice Project (completed August 2011)

Online Training Drill – The Role of a GAL in Wyoming, sponsored by the               7/2011
Wyoming Supreme Court Children’s Justice Project (completed July 2011)

Resources for GALs in Wyoming, sponsored by the Wyoming Children’s                   6/2011
Justice Conference

Fostering Connections & Health Reform: What It Means to Children in                  6/2011
Juvenile Court, (co-presented with Meredith Asay, Heather Babbitt and Eydie
Trautwein) sponsored by the Wyoming Children’s Justice Conference

Juvenile Caselaw & Session Update 2011, sponsored by the Wyoming                     6/2011
Children’s Justice Conference




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Termination of Parental Rights Law in Wyoming (co-presented with Sue              1/2011
Chatfield), sponsored by the Wyoming Trial Lawyers Association

An Overview of the Uniform Child Custody Jurisdiction and Enforcement Act         9/2010
and its Relation to Family Law and Guardian Ad Litem Practice (co-prepared
and co-presented with Dona Playton) (prepared materials for training, but
was not able to present with co-presenter), sponsored by the Wyoming State
Bar

Title 14 Actions and Community Based Resources (co-presented with Eydie           8/2010
Trautwein), sponsored by the Wyoming Department of Health Mental Health
and Substance Abuse Division

The Nuts and Bolts of Representing Children in Wyoming Juvenile Court,            6/2010
sponsored by the Wyoming Guardians Ad Litem Program

Engaging Incarcerated Parents in Juvenile Court, sponsored by the Wyoming         6/2010
Children’s Justice Conference

Overview of State Laws in Child Welfare/Permanency, sponsored by the              2/2010
Wyoming Supreme Court Children’s Justice Project

Title 14 Actions and Community Based Resources (co-prepared and co-               2/2010
presented with Eydie Trautwein), sponsored by the Governor’s Roundtable
on Children’s Mental Health and Starfish Awards

Overview of Federal Laws in Child Welfare/Permanency, sponsored by the            2/2010
Wyoming Supreme Court Children’s Justice Project

The Role of a Guardian Ad Litem in Wyoming, sponsored by the Laramie             11/2009
County Bar Association

The Nuts and Bolts of Representing Children in Wyoming Juvenile Court,            9/2009
sponsored by the Wyoming Guardians Ad Litem Program




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The Wyoming Guardians Ad Litem Program – Attorneys Representing                    9/2009
Children in Juvenile Court, sponsored by the University of Wyoming College
of Law for Law Week

Multiple trainings for the Wyoming Court Appointed Special Advocates                2008-
(CASA), topics include, but are not limited to: Federal Child Welfare Law,           2015
State Child Welfare Law, the Court System, Burden and Standard of Proof,
Evidence and Court Practice, Juvenile Court Process, Working with
Incarcerated Parents, Termination of Parental Rights Law, etc.

Multiple Trainings for many audiences around the state, including the law           2008-
school clinics each year, on the Guardians Ad Litem Program and the Role of          2013
a Guardian Ad Litem in Wyoming, sponsored by the Wyoming Guardians Ad
Litem Program

Multiple trainings on legal issues for caseworkers at the Department of             2007-
Family Services, sponsored by the Department of Family Services, including           2008
CORE training, permanency, TPR, foster care placements, etc.

Multiple trainings around the State of Wyoming on the Legal Establishment            2006
of County Roads, sponsored by the Wyoming Technology Transfer Center




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                  National Association of Counsel for Children
            NACC Standards for Child Welfare Law Attorney Specialty Certification
Section 1    General Principles
Section 2    Standards for Certification
             Part 1 Good Standing and Period of Practice
             Part 2 Substantial Involvement
             Part 3 Educational Experience
             Part 4 Peer Review
             Part 5 Examination
             Part 6 Writing Sample
             Part 7 Disclosure of Conduct
Section 3    Recertification Standards
             Part 1 Good Standing and Period of Practice
             Part 2 Substantial Involvement
             Part 3 Educational Experience
             Part 4 Peer Review
             Part 5 Disclosure of Conduct
             Part 6 Examination and Writing Sample
Section 4    Annual Reporting
Section 5    Application Review
Section 6    Denial or Revocation of Certification: Reconsideration and Appeal
___________________________________________________________________________________

Section 1       General Principles

1.1    Certification is individual, voluntary, and open to all who qualify.

1.2    These standards shall not in any way limit the right of the certified child welfare law attorney to
       practice law in all fields.

1.3    These standards shall not be interpreted to require a lawyer to obtain a certificate in child welfare
       law before he or she can practice in the field.

1.4    Certification shall be for five years, after which time the certificate cannot be used unless the
       lawyer is recertified. Certification may be revoked at any time for violations of these Standards.

1.5    Application for certification will be made to the National Association of Counsel for Children
       (NACC), on the forms supplied, and accompanied by the appropriate fee.



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1.6      Applicant must complete all requirements, including the examination, within two years of
         application. If the certification process is not satisfactorily completed within the two-year period,
         the applicant must reapply and re-submit all required fees. An application can be denied at any
         time within the two year application period for failure to successfully meet the requirements for
         certification.

1.7      A certificate will be issued upon a showing by the applicant, and by the NACC Certification
         Committee’s own investigation, that the applicant complies with the Certification Standards.

1.8      All applications and other information submitted to the NACC shall be privileged and
         confidential, except as compelled by law and, except that the NACC Certification Committee
         may reveal the fact of an application for the purpose of verifying information submitted by the
         applicant, and for the purpose of making such inquiries with respect to the character and
         professional reputation of the applicant as may be authorized by the Standards.

1.9      The NACC does not discriminate against any lawyer seeking certification on the basis of race,
         nationality, religion, gender, sexual orientation, disability, or age.

1.10     The NACC is dedicated to the identification of lawyers who possess an enhanced level of skill
         and expertise in child welfare law, and have demonstrated integrity and dedication to the interests
         of their clients.

1.11     Membership in the NACC is not a requirement for certification.

Section 2        Standards for Certification

         Part 1 Good Standing and Period of Practice
2.1      Good Standing. The applicant shall furnish evidence of his or her good standing in the state of
         his or her admission, or if admitted in more than one state, in the state of his or her principal
         practice.

2.1.1    Period of Practice. Immediately preceding application, the applicant must have spent three (3)
         years involved in the practice of child welfare law.

         Part 2 Substantial Involvement
2.2      Substantial Involvement. The applicant must make a satisfactory showing of substantial
         involvement relevant to child welfare law, with at least thirty (30) percent of his or her time
         involved in child welfare law during the three (3) years preceding the filing of the application.

2.2.1    Evidence of Substantial Involvement. Evidence of substantial involvement may be shown by
         the following activity over the three (3) year period preceding application. (The following are
         sample criteria for substantial involvement. Although applicants meeting each of these criteria
         would clearly satisfy this requirement, applicants are not required to meet all of these criteria.
         Additionally, applicants may submit other activities as evidence of substantial involvement.):
             • Participation in 45 child welfare matters during the three years preceding the filing of the
                  application
             • Direct or cross examination of 25 lay witnesses
             • Direct or cross examination of 10 expert witnesses




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              •   Referral of 25 child welfare matters to collateral systems, such as the education system,
                  mental health system, criminal, immigration, or other system, which demonstrates
                  applicant’s knowledge of and appreciation for representing the whole client
              •   Making 25 visits to the community, such as a home visit to a client, foster parent, family
                  resource, the case address, field office, or scene of the crime
              •   Consultation with a non-legal expert on some aspect of child welfare, child development,
                  or medical or related issues in 10 cases
              •   Consultation with a non-legal professional on some aspect related to the representation of
                  the client’s interests in 20 cases
              •   Collection of relevant information from outside sources in 45 child welfare matters
              •   Participation in 10 negotiated settlements
              •   Participation in 5 appellate or writ matters

         Participation in special education advocacy, child benefits, criminal child abuse, domestic
         violence, adoption / guardianship, juvenile delinquency, and divorce and custody matters will be
         considered.

2.2.3    Verification. Applicants are required to verify by sworn statement under penalty of perjury in
         the application process that the evidence of substantial involvement indicated is true and accurate.

2.2.4    Waiver for Judges, Magistrates, Supervisors, Directors, Law Professors, and Policy
         Advocates. The requirements of this section may be waived for any person who has served as a
         dependency court judge, magistrate, supervisor, director, law faculty, or policy representative for
         three years at any time during the last five years. Applicants using this waiver are required to
         provide detailed information about their service.

         Part 3 Educational Experience
2.3      Educational Experience. The applicant must demonstrate substantial participation in continuing
         legal education relevant to child welfare law in the three-year period immediately preceding
         application. Topics deemed relevant to child welfare law include but are not limited to
         substantive and procedural law, trial practice, alternative dispute resolution, child abuse and
         neglect, child development, and family dynamics and relationships:

         a.       By attendance at not less than thirty-six hours in programs of continuing legal education,
                  including in-house staff trainings, acceptable to the NACC Certification Committee. Pre-
                  approval of trainings with the NACC is not required; and / or

         b.       By equivalent participation through, but not limited to, the following means, acceptable
                  to the NACC Certification Committee (Pre-approval is not required):

                  1.      Teaching courses or seminars in child welfare law;
                  2.      Participation as panelist, speaker, or workshop leader, at educational or
                          professional conferences in child welfare law;
                  3.      Authorship of books or of articles published in professional journals in
                          child welfare law.

         Part 4 Peer Review
2.4      Peer Review. The applicant shall submit with application the names of no less than five (4
         attorneys, 1 judge) and no more than eight (6 attorneys, 2 judges) references. These references
         shall be substantially involved in child welfare, and familiar with the applicant's work.



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         References satisfactory to the NACC must be received from at least one judge / magistrate and
         four attorneys who can attest to the applicant’s competence in child welfare law. A reference
         from an individual who has served as opposing counsel is encouraged. References may not be
         provided by persons related to the applicant or by those who are engaged in the legal practice
         with the applicant.

2.4.1    Collection of References by NACC. NACC will solicit confidential statements from all persons
         listed as references and may solicit confidential statements of reference from other persons,
         familiar with the applicant's practice, not specifically named by the applicant. All reference
         statements received will be reviewed by the NACC to assess whether the applicant has
         demonstrated an appropriate level of skill and expertise.

         Part 5 Examination
2.5      Examination. The applicant must pass the NACC Child Welfare Law written competency
         examination. The examination may be taken any time during the application period. Exam
         results have no bearing on the Application Review (Section 5) or Petition of
         Reconsideration/Appeal process (Section 6). An applicant may pass the exam, but denied
         certification if other standards have not been met.

2.5.1    Examination Review. An applicant who fails to pass the examination may, within two (2)
         months after the results have been announced, review his or her examination in such a place as
         the NACC may designate. If an applicant chooses to review his or her examination, he or she
         forfeits his or her right to re-take the examination. An applicant who passes the examination shall
         not be entitled to review his or her examination.

         Part 6 Writing Sample
2.6      Writing Sample. The applicant shall submit a copy of a trial court memorandum, appellate brief,
         article, or a writing sample demonstrating legal analysis in the field of child welfare law. This
         should be a substantial writing sample, stating facts and arguing law, submitted or drafted no
         more than three years before the date of application.

         Part 7 Disclosure of Conduct
2.7      Disclosure of Conduct. In order to assist the evaluation of whether the applicant possesses an
         appropriate level of skill and expertise and has demonstrated integrity and dedication to the
         interests of clients, the applicant shall, to the extent known, disclose to the NACC as soon as
         permitted by law:
         (a)      The filing of any criminal charges against the applicant together with all details;
         (b)      The filing or submission of any allegation of unethical or inappropriate professional
         conduct with any court, grievance committee or disciplinary board or body together with all
         details;
         (c)      The assertion of any claim of professional negligence or professional liability, whether or
         not suit has been filed.

2.7.1    Findings. The National Association of Counsel for Children shall determine, in accordance with
         these Standards, whether action should be deferred pending receipt of additional information.
         The NACC will take into consideration any findings made by other bodies concerning such
         conduct, but is not bound by any such findings and will make its own independent assessment
         concerning how such conduct bears on whether an attorney is qualified to obtain or maintain
         certification.




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2.7.2    Failure to Disclose. The failure of an applicant to disclose such conduct is a material
         misrepresentation and may be cause for rejecting an application, or for suspending a certification.
         The applicant shall have a continuing duty to disclose such maters to the NACC.

Section 3        Recertification Standards

         Part 1 Good Standing and Period of Practice
3.1      Good Standing and Period of Practice. The applicant must satisfy the good standing and
         period of practice requirements of certification set forth in Section 2, Part 1 of these standards.

         Part 2 Substantial Involvement
3.2      Substantial Involvement. The applicant must satisfy the substantial involvement requirements
         of certification set forth in Section 2, Part 2 of these standards.

         Part 3 Educational Experience
3.3      Educational Experience. The applicant must show that he or she participated in and completed
         at least thirty-six hours of educational activity, as set forth in Section 2 Part 3 of these standards,
         during the five years preceding recertification.

         Part 4 Peer Review
3.4      References. The applicant shall submit with application the names of no less than five (4
         attorneys, 1 judge) and no more than eight (6 attorneys, 2 judges) references. These references
         shall be substantially involved in child welfare law, and familiar with the applicant's practice.
         References satisfactory to the NACC must be received from at least one judge who can attest to
         the applicant’s competence in child welfare law. References may not be provided by persons
         related to the applicant or by those who are engaged in the legal practice with the applicant.

3.4.1    Collection of Peer Review Statements. NACC will solicit confidential statements from all
         persons listed as references and may solicit confidential statements of reference from other
         persons, familiar with the applicant's practice, not specifically named by the applicant. All
         reference statements received will be reviewed by the NACC to assess whether the applicant has
         demonstrated an enhanced level of skill and expertise.

         Part 5 Disclosure of Conduct
3.5      Disclosure of Conduct. The applicant shall comply with Section 2 Part 7 of these standards in
         the same manner as an applicant for certification.

         Part 6 Examination and Writing Sample
3.6      Examination and Writing Sample. Applicants for recertification shall NOT be required to take
         a written examination or provide a writing sample.

Section 4        Annual Reporting

4.1      Annual Reporting. Annually, certified attorneys will be required to submit a Disclosure of
         Conduct and annual dues. The certified attorney's annual dues and Disclosure of Conduct must
         be current before an application for recertification will be granted.

Section 5        Application Review

5.1      Application Review. Applications for certification and recertification shall be reviewed by the
         NACC Certification Committee, a majority of the members of which shall be lawyers who have


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         substantial involvement in the area of child welfare law. The NACC Certification Committee
         consists of 10 members, five of whom shall be designated even numbered reviewers and five of
         whom shall be designated odd numbered reviewers. Each Applicant will be assigned a
         registration number and reviewers will rotate applications so that a five member panel reviews
         each application.

Section 6        Denial or Revocation of Certification: Reconsideration and Appeal

6.1      Denial of Certification. An applicant for certification may be denied for failure to comply with
         any of these standards.

6.1.1    Denial of Recertification. An application for recertification may be denied for failure to comply
         with any of these standards.

6.1.2    Revocation. An existing certification may be revoked for failure to demonstrate maintenance of
         an enhanced level of skill and experience and integrity and dedication to the interests of clients as
         required for certification or for failure to maintain compliance with the financial responsibility
         requirements (payment of certification fees).

6.1.3    Reconsideration and Appeal. Decisions of the NACC Certification Committee are subject to
         reconsideration by the NACC Certification Committee, and thereafter, appeal to the NACC Board
         of Directors. An attorney who is refused certification for any reason, or who is refused
         recertification or whose certification is revoked may pursue review under the following
         reconsideration and appeal procedures of the NACC.

6.1.4    Petitions for Reconsideration. After written notice has been sent by the NACC Certification
         Committee that an application for certification or re-certification has been denied, or a certificate
         has been revoked or suspended, the applicant may petition the committee for reconsideration.
         Such petition must be received by the committee within 30 days of the date that the notice was
         sent by the Certification Committee. The petition may be informal, but shall be in writing and
         adequately identify the determination for which reconsideration is requested, the date of mailing
         of such determination, the reasons the determination should be altered, and the relief requested.

6.1.5    Reconsideration by NACC Certification Committee. Petitions for reconsideration shall be
         reviewed by the same 5 member section of the committee which reviewed the original
         application. The reviewers shall decide whether to grant the requested relief after considering the
         applicant's petition and any additional information obtained. The applicant shall be advised of the
         Certification Committee’s decision by written notice mailed within 15 days after the decision has
         been made.

6.1.6    Appeal. Reconsideration decisions of the Certification Committee may be appealed to the
         NACC Board of Directors. The five members of the Certification Committee who reviewed the
         initial application and petition for reconsideration shall not be allowed to sit in review of
         the appeal. The appeal shall be in writing and shall be received by the Board of Directors within
         30 days after written notice of the reconsideration decision. The Board shall decide whether to
         grant the requested relief after considering the applicant's petition and any additional information
         obtained. The applicant shall be advised of the Board's decision by written notice mailed within
         15 days after the decision has been made.




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6.1.7    Appeals Final. Appeal decisions of the NACC Board of Directors are final. Exhaustion of this
         right shall be a condition precedent to judicial review.

6.1.8    Hearings. Although there is no right to a hearing on a petition for reconsideration or appeal, the
         committee or board may, in its discretion, grant the petitioner an in person or telephone hearing.

6.1.9    Reapplication Waiting Period. A lawyer who is refused certification or recertification, or
         whose certification is revoked, may not apply for certification until one year after the date of such
         refusal, denial or revocation.

6.1.10 Suspension of License. Suspension of license to practice law shall operate as an automatic
       revocation of certification.

6.1.11 Premature Publication. A lawyer who publicizes a certification or application for certification
       prior to its being granted or continues to publish certification after it has been revoked or
       suspended, may be barred from certification.
__________________________
                                                 ###




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                                                                                                                                Unions Had Historically High Strikes And
                                                                                                                                Historically Low Participation In 2023

                                                                                                                                Coca Cola Cowboy (A Tip Of The Hat To Free
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                                                                                                                                Capitol North Historic District Officially
                                                                                                                                Expands

                                                                                                                                Norovirus Making The Rounds In Wyoming
                                                                                                                                Again

                                                                                                                                Cheyenne Unites For 7th Annual Valentine’s
                                                                                                                                Day Cookie Drive For Airmen

                                                                                                                                Suspect Arrested Following Domestic
                                                                                                                                Disturbance



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                                                                                                                                Can your Charitable Donations claim Tax Deductions?

                                                                                                                                Unions had Historically High Strikes and Historically Low
Stacey Obrecht is a wife, mother of four, and CEO at Public                                                                     Participation in 2023
Knowledge, LLC.
                                                                                                                                Coca Cola Cowboy (a tip of the hat to free enterprise in
Stacey thrives on challenges! We are sure the word “no” is not in her vocabulary. She finds creative ways to solve problems,    Cheyenne Wyoming)
often by finding connections between seemingly unrelated things. An empathetic extrovert, she thrives on making lasting
relationships with her clients and ensuring their projects are successful. Prior to becoming the Chief Executive Officer,       Capitol North Historic District officially expands
Stacey served as Public Knowledge’s Professional Practice Officer, and she has played a key role in the firm’s growth over
the last seven years. She has 20 years of project management experience and served as the Marketing Director at Public
Knowledge for four years before becoming an Officer. She is also a licensed attorney, certified Child Welfare Law Specialist,   Norovirus Making the Rounds in Wyoming Again
and certified Project Management Professional. She currently serves as a national expert on child welfare and juvenile
courts and has led key planning and procurement projects for the firm.                                                          Cheyenne Unites for 7th Annual Valentine’s Day Cookie
                                                                                                                                Drive for Airmen
                                          “
   I realized that sharing the things that are real about life, that are hard, that                                             Suspect Arrested Following Domestic Disturbance

 aren’t pretty, that are messy, and don’t make us feel great about ourselves, is                                                                                                      

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Stacey’s son, Evan, was diagnosed with Type 1 Diabetes (T1D) at the age of five in November 2015. Stacey is passionate
about reaching parents of newly diagnosed children, finding ways to support anyone connected to T1D, and giving back to
the wonderful organizations and people that help move research forward and care for those with T1D each and every day.

  VISIT STACEY

                                    “
    What Type 1 brought me and brought our family was a very quick, forced
 focus on what’s most important and to really cherish the small things. -Stacey
                                                       Obrecht




                                        Brandi Nash, Stacey Obrecht and Amie Siemens




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inspired by the thought that women can change their lives and change the lives of others by sharing their stories. They
believe that you can turn your struggle into your story. The show is a fun and heart-warming combination of living in the
Rocky Mountain Region and phenomenal women sharing their stories. The show is available on SoundCloud, iTunes, and
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  The GLI® Group Acquires Public Knowledge to
  Expand Government Consulting Services
  Jan 8, 2020


  LAKEWOOD, N.J., Jan. 8, 2020 /PRNewswire/ — The GLI® Group has acquired Public Knowledge,
  LLC, a management consulting firm to government agencies. The acquisition will expand and
  complement GLI’s government consulting services.

  Public Knowledge is a national management consulting firm that helps government agencies solve
  challenging and difficult problems and thrives in complex environments. They do this by providing
  planning, procurement, and implementation services primarily to health and human services agencies.

  Public Knowledge will continue to operate under their brand name, and customers can expect a
  “business-as-usual” approach while also being able to leverage the GLI Group’s reputation for world-
  class customer service and exemplary culture of social responsibility.

      GLI President and CEO James Maida said, “The GLI Group has completed multiple strategic
      acquisitions that strengthen our reach in three key areas: Testing and Certification, IT Security, and
      Government Consulting Services. Recent acquisitions such as SeNet, NMi, and Bulletproof further
      enhanced our global gaming and cybersecurity offerings. Now, the acquisition of Public Knowledge
      complements and provides additional bandwidth to our government consulting business.”


  Public Knowledge CFO Kristin Sparks said, “We are very excited about the infrastructure and
  efficiencies that a large organization like the GLI Group will bring to Public Knowledge.”

  Stacey Obrecht, Public Knowledge Professional Practice Officer, added, “Public Knowledge has seen
  consistent growth over the last six years because our current clients ask for more support. We are
  proud of our long-term client partnerships and look forward to the ability to scale faster to meet our
  clients’ needs with support from the GLI Group.”


         View Original Press Release (https://www.prnewswire.com/news-releases/the-gli-
           group-acquires-public-knowledge-to-expand-government-consulting-services-
                                         300983681.html)




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   Supplemental Assessment of
Services for Youth Aging Out of
                        Foster Care



                              For:
                 Markowitz Herbold


                        March 1, 2024




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           PUBLIC                                                             Executive Summary
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1      Executive Summary
Public Knowledge® (PK) conducted a comprehensive, independent assessment of the
Oregon Department of Human Services (ODHS) Child Welfare Division (CW) in 2023 to
examine improvements that had been made in CW’s policies, procedures, and service
delivery since 2016. The results were published in the Oregon Child Welfare Review
Assessment Findings Report which is referenced and incorporated here. Using the
assessment methodology established in that report, PK found that Oregon CW has made
progress in providing independent living (IL) services to young adults since 2016 and has
done so without external monitoring.

Four research questions guided this assessment of Oregon’s Independent Living Program
(ILP). The research questions and their findings are included in Table 1 below. The support
for and more detail about these findings can be found in the subsequent sections. The
scope of this assessment, including guiding principles and constraints, mirrors that of PK’s
Oregon Child Welfare Review Assessment Findings Report.

                     Table 1. PK Findings on Independent Living Services

    Research Question Topic                                  Finding

 Did Oregon CW enhance            Since 2016, Oregon CW has improved policy language for
 policy language regarding        Supervised Independent Living (SIL) and the rights of
 independent living services?     young adults in foster care.

 Did Oregon CW expand its         Since 2016, CW has expanded its service array by
 service array for                developing the Tiered ILP Model, which provides age-
 independent living services?     appropriate and developmentally appropriate IL services.

 Did Oregon CW improve its        Since 2016, CW has improved its assessment of the needs
 assessment of the                of older youth by continued use of the Transition
 independent living needs of      Readiness Discussion Guide and the Youth Assessment
 young adults transitioning       Summary to assess independent living needs
 out of foster care?              appropriately.

 Did Oregon CW improve its        Since 2016, CW has improved IL service delivery by
 delivery of independent          restructuring the IL program, including surveying young
 living services?                 adults about the efficacy of their IL services, and adding
                                  staff dedicated to the program. CW now also conducts
                                  performance-based contracting with IL providers, a
                                  national best practice.




Aging Out Services Supplemental Assessment                  March 1, 2024                      1
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            PUBLIC                                                                Executive Summary
            KNOWLEDGE.
During this assessment process, PK identified several areas in which Oregon CW is
continuing to improve IL services, including the provision of housing, meeting IL needs for
youth with complex needs, and reducing caseloads for caseworkers serving young adults.

1.1        Responses to Dr. Day’s Conclusions
PK reviewed the report written by Dr. Angelique Day in the lawsuit Wyatt B. et al v. Kotek et
al and found many of Dr. Day’s conclusions are inaccurate, as described in Table 2 below.1

                      Table 2. Responses to Dr. Day’s Report

     Dr. Day Conclusion           Dr. Day                  PK Response                   PK 2023
                                   Report                                                 Report
                                      Page                                                Section

 Oregon needs to build            3           This has occurred. CW has expanded         3.2
 additional infrastructure to                 infrastructure for IL services through
 address the unique needs                     the Tiered ILP Model. The population
 of this growing population                   of young adults in foster care in
 in their state.                              Oregon has decreased.

 DHS has not made                 4           This is inaccurate. Oregon                 3.3
 reasonable efforts to                        demonstrated an increase in initial
 reconnect youth with kin.                    relative placements for children and
                                              young adults. Initial relative
                                              placements have increased
                                              consistently and significantly since
                                              2007.

 60 percent of young adults       4           This is an inaccurate assumption.          3.4
 in Oregon aged out of                        This data point does not account for
 foster care without being                    relational permanency, or
 connected to a permanent                     connections and bonds with a
 family.                                      permanent family. It assumes that
                                              young adults aging out of care do
                                              not have these connections.

 CW has not changed their         11          This is not entirely accurate. Children    3.3
 policy to require a mental                   and young adults in foster care must
                                              be referred for screening using the



1 Dr. Angelique Day Expert Witness Report. December 15, 2023.




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            PUBLIC                                                                  Executive Summary
            KNOWLEDGE.
                      Table 2. Responses to Dr. Day’s Report

     Dr. Day Conclusion            Dr. Day                   PK Response                   PK 2023
                                   Report                                                   Report
                                    Page                                                    Section

 health assessment within                     Child and Adolescent Needs and
 60 days of entering care.                    Strengths (CANS) Tool between the
                                              14th and 21st day in out-of-home
                                              care.

 CW has not created               14          This is inaccurate. CW has shown an          3.3
 individualized case plans in                 increase in timely completions of
 a timely manner and CW is                    case plans since the full
 not reporting whether case                   implementation of the Family Plan.
 plans are being created                      Oregon CW exceeded the goal of
 timely.                                      including children and families in the
                                              case planning process.

 The use of temporary             17          This is inaccurate. Oregon data              3.3
 lodging increased from                       shows that the percentage of young
 2019 to 2023.                                adults in temporary lodging was less
                                              than one percent of the total number
                                              of children and young adults in
                                              foster care.

 There is no evidence of          17          This is inaccurate. The 2023 Annual          3.3
 collaboration across the                     Progress and Services Report
 child-serving system.                        describes many cross-system
                                              collaborative efforts across child-
                                              serving systems currently underway,
                                              including but not limited to the
                                              Public Housing Authority, Oregon
                                              Health Authority, Tribal Affairs,
                                              Oregon Foster Youth Connection, the
                                              education system, and others.2

 Avoiding placing young           17          This data is available. No children or       3.3
 adults out of state would                    young adults have been placed out


2 Oregon Department of Human Services Child Welfare Division. Annual Progress and Services Report

2023. (June 30, 2022). https://www.oregon.gov/dhs/children/Pages/data-publications.aspx


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                     Table 2. Responses to Dr. Day’s Report

     Dr. Day Conclusion          Dr. Day                   PK Response                 PK 2023
                                  Report                                                Report
                                   Page                                                 Section

 be a “major improvement”                    of state since June 2020. The
 if data could be provided to                improvement has been made.
 show this was the case.

 DHS had previously made         18          This is inaccurate. CW hired sixteen      3.4
 minimal effort to locate,                   Resource Family Retention and
 support, or train resource                  Recruitment Champions to recruit
 families.                                   resource parents. Since 2016, CW
                                             has diligently recruited resource
                                             parents and created a position for a
                                             Resource Parent Training Manager.
                                             CW has revised training for resource
                                             parents since 2016 in partnership
                                             with and based on feedback from
                                             Tribes, communities, and resource
                                             families.

 Oregon refers young adults      27          This is inaccurate. In keeping with       3.1
 to independent living                       federal requirements, Oregon begins
 service providers at age 16.                working with young adults at age 14
                                             to create a developmentally
                                             appropriate transition plan.




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            PUBLIC                                                                Methodology
            KNOWLEDGE.

2      Methodology
The methodology for this assessment follows the same inquiry protocol as PK’s Oregon
Child Welfare Review Assessment Findings Report. The research questions and data
reviewed specific to this topic are outlined below.

2.1       Research Questions
The research questions for this assessment focused on young adults transitioning out of
foster care and how the scope of IL services provided to this population has changed since
2016. The research questions that guided this assessment are:

    1. Did Oregon CW enhance policy language regarding independent living services?

    2. Did Oregon CW expand its service array for independent living services?

    3. Did Oregon CW improve its assessment of the independent living needs of young
       adults transitioning out of foster care?

    4. Did Oregon CW improve its delivery of independent living services for young adults
       transitioning out of foster care?

2.2       Data Collection and Analysis
The methodological approach included qualitative and quantitative data collection and
analysis. Qualitative data was collected from Child Welfare leadership. The data analysis
included collecting and visualizing quantitative data and studying qualitative data collected
during interviews. The analysis included data gathered from two interviews, a policy review,
the Annual Progress and Services Review (APSR), a deposition transcript review, and
relevant quantitative data.

2.2.1 Interview Protocol
The PK team interviewed Lacey Andresen, Deputy Director of Child Welfare Program and
Practice, and Kelly Brezinski, the ILP and Youth Transitions Program Manager, to discuss
the improvements in providing independent living services since 2016. The protocol for the
interviews is shared in Appendix A of this report.

2.2.2 Document Review
The PK team reviewed the following documentation as part of this assessment:




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            PUBLIC                                                                        Methodology
            KNOWLEDGE.
   •    The policy outlined in the ODHS Child Welfare Procedure Manual3 regarding
        independent living and transition services and supports for young adults under CW
        supervision.
   •    The Expert Witness Report written by Dr. Angelique Day, dated December 15, 2023.
   •    Transcript of Rosemary Iavenditti Rule 30(b)(6) Deposition on October 2, 2019.
   •    Transcript of Kim Lorz Deposition on September 12, 2023.
   •    Transcript of Dr. Angelique Day Expert Witness Deposition on February 14, 2024.


Appendix D is a comprehensive list of documents considered or provided to PK by counsel
for the Defendants in this case.




3 Oregon Department of Human Services Child Welfare Procedure Manual. Revised 1/9/2024.

https://www.oregon.gov/odhs/rules-policy/Documents/cw-procedure-manual.pdf; Oregon DHS Child
Welfare Procedure Manual, Rev 08/23/2023 (Wyatt_DHS_4663658); Oregon Department of Human
Services Child Welfare Procedure Manual, Rev. 6/1/2020 (Wyatt_DHS_2673813).




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             PUBLIC                                                                            Findings
             KNOWLEDGE.

3        Findings
3.1         Oregon CW improved policy language regarding
            independent living services.
Oregon CW’s policy language and service array for Supervised Independent Living (SIL)
arrangements have expanded since 2016. These arrangements are designed to help young
adults in ODHS custody become self-sufficient adults.4 CW has added the Transitional
Living Program – Basic, and the Transitional Living Program – Plus, both of which are
described in section 4.2, below.

Additionally, as mentioned in PK’s Oregon Child Welfare Review Assessment Findings
Report, Oregon drafted the Foster Children’s Bill of Rights in 2017, which includes the right
to5:

    •    Be provided with age-appropriate educational opportunities and schooling to
         prepare young adults for adult life.
    •    Have the opportunity to participate in activities that interest young adults.
    •    Make choices about classes and schools as allowed by law.
    •    Receive age-appropriate information and assistance when enrolling in college or
         vocational education.

These commitments were codified into Oregon law in 2018, which made Oregon one of
only a few states that had codified such rights into law. This codification demonstrates the
commitment CW has made to preparing young adults to successfully transition into
adulthood, along with CW’s prioritization of sibling connections and placing siblings
together.

Dr. Day stated in her report6 that Oregon’s policy in 2019 was to refer young adults to
independent living service providers at age 16. This is incorrect. In keeping with federal
requirements, Oregon begins working with young adults at age 147 to create a
developmentally appropriate transition plan and provide the necessary services and


4See Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 1/9/2024 (p. 868)
https://www.oregon.gov/odhs/rules-policy/Documents/cw-procedure-manual.pdf; see also Oregon DHS
Child Welfare Procedure Manual, Rev 8/23/2023 (Wyatt_DHS_4663658).
5 Oregon Foster Children’s Bill of Rights:

https://sharedsystems.dhsoha.state.or.us/DHSforms/Served/de9014a.pdf
6 Dr. Angelique Day Expert Witness Report. December 15, 2023 (p. 27).

7 Rosemary Iavenditti Rule 30(b)(6) Deposition Transcript at 57:21-59:12, 107:25-108:5, 152:7-17

(October 2, 2019).


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            PUBLIC                                                                             Findings
            KNOWLEDGE.
supports for them to reach their goals.8 The 2023 APSR also explained that CW provides
services to youth beginning at age 14.9 The 2023 APSR is publicly available and was
produced to plaintiffs on May 22, 2023.10

3.2         Oregon CW expanded its service array for
            independent living services.
As stated in PK’s Oregon Child Welfare Review Assessment Findings Report, CW facilitates
the Independent Living Program (ILP), which provides services to help young adults aged
14 and older transition from foster care into independent adulthood. In her report, Dr. Day
states that “Oregon is in need of building additional infrastructure to address the unique
needs of this growing population in their state.”1 CW has expanded infrastructure for IL
services through the Tiered ILP Model, and the population of young adults in foster care in
Oregon has decreased by 13%, as shown below.

              Figure 1. Population of Transition Age Youth from 2019-202211

     2100

     2000
                    2002
     1900

     1800

                                         1767
     1700                                                                          1742
                                                                 1685
     1600

     1500
                    2019                 2020                    2021              2022

                                             ■   Youth Age 14+


Since 2016, CW has built a tiered approach to the ILP model, allowing trauma-informed,
age-appropriate, and developmentally appropriate services to be delivered to young adults.




8 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 1/9/2024, (p. 964).

9 Oregon Department of Human Services Child Welfare Division. Annual Progress and Services Report 2023

(p.139). (June 30, 2022). https://www.oregon.gov/dhs/children/Pages/data-publications.aspx.
10 2023 APSR, submitted on June 30, 2022, resubmitted 8/12/22 (Wyatt_DHS_3194411); 5/22/23 Letter

from defendants to plaintiffs re document production.
11 Results Oriented Management (ROM) Data Site, Oregon Department of Human Services.




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            KNOWLEDGE.
The tiers are laid out as shown in the graphic below.12 This graphic illustrates the
commitment CW has made to address the unique needs and skills of young adults in care
to support their transition to successful adulthood, while addressing considerations of
normalcy for children and young adults in foster care. ILP services include financial
management, assistance with applications for job and secondary education, and housing
services. According to leadership, CW has open contracts throughout the entire state of
Oregon so that all young adults have access to IL services.

                                 Figure 2. CW Tiered ILP Model

  Tier 1: Independent       Tier 2: Independent      Tier 2A: Independent        Tier 3: Independent
       Living Prep              Living Basic               Living Plus             Living Supports
 •Ages 14-15 (and 16       •Ages 16-20               •Ages 16-20                •Ages 21-23
  if needed to gain a      •Monthly one-on-one       •Face-to-face              •Face-to-face
  basic awareness of        meetings and              individual sessions        individual sessions
  IL skills)                quarterly group           twice monthly for up       at least every two
 •Group setting             sessions                  to two hours               months and
 •Focus is on soft         •Focus is on tangible     •Focus is on building       additional monthly
  skills needed to be       skills needed in          the youth's self-          check-ins in the
  successful in Tier 2      adulthood                 determination skills,      young adult's
 •Values participation     •Transition planning       including goal             preferred method
  and support of the        is a key component        setting, problem          •Focus on supporting
  caregiver and             and guides service        solving, and stress        young adults exiting
  caseworker                provision                 management                 foster care or no
                           •Skill building is         through a training         longer in care to
                            individualized            curriculum that            transition to
                                                      includes                   interdependent
                                                      accommodations for         community living
                                                      special needs             •Similar to but less
                                                                                 formal than Tier 2


In addition to creating this tiered model for IL services, since 2016, CW added two
Supervised Independent Living (SIL) arrangements to supplement housing costs for young
adults in CW custody. Each type of SIL placement is intended to work with the Independent
Living Skill Building Program to support young adults in learning and practicing self-
sufficiency skills while they continue their education or employment.4 The two new
programs, the Transitional Living Program – Basic and the Transitional Living Program –
Plus, both begin at age 18 and last at least 12 months, and have more flexibility than the
two existing SIL arrangements. The productive hours, which are hours dedicated to
completing secondary education or another educational program, vocational education, a
program designed to promote or remove barriers to employment, or part or full-time




12 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 1/9/2024, (pp. 977-978);

See also Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 6/1/2020 (pp. 12,
798-808, 871-928, 1069-1099) (Wyatt_DHS_2673813).




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employment, required for the two Transitional Living Programs are tailored to fit the young
adult’s needs,13 allowing for flexibility and individualized service delivery.

Since 2016, CW has also added a Comprehensive Transition Plan Meeting that may be part
of the Youth Decision Meeting, which was outlined in PK’s Oregon Child Welfare Review
Assessment Findings Report. The Comprehensive Transition Plan (CTP) addresses topics
including personal growth and social development, family support and healthy
relationships, health education and risk prevention, education, employment and career
preparation, money management, transportation, life skills, housing, and home
management. The CTP also outlines what a young adult needs to successfully transition to
adulthood, including transition goals, action steps, services, and supports.14

3.3       Oregon CW continues to assess the independent
          living needs of young adults transitioning out of
          foster care.
PK considered several areas of assessment for young adults in foster care, including the
assessment of their independent living skills and mental and behavioral health needs, case
planning, and placement setting. The following sections include responses to Dr. Day’s
report and our analysis of each topic with support for our finding.

Independent Living Skills Assessment

CW policy requires caseworkers to complete the Transition Readiness Discussion Guide and
the Youth Assessment Summary to evaluate the young adult’s knowledge, skills, and
abilities. These tools allow caseworkers to engage the young adult, observe their mental
health status, and understand trauma factors that impact their engagement in IL services.8
The tools also identify their stage for IL services, whether that be awareness, learning, or
doing, as shown in the table below.15 These stages give caseworkers and young adults the
current status of what the young adult knows about IL services, what IL skills they already
have, and how they are applying those skills.



13 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 1/9/2024, (pp. 869-870);

See also Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 6/1/2020 (pp. 12,
798-808) (Wyatt_DHS_2673813).
14 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 1/9/2024, (pp. 963-964);

See also Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 6/1/2020 (pp. 875-
888) (Wyatt_DHS_2673813).
15 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 1/9/2024, (pp. 964-966);

See also Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 6/1/2020 (pp. 876
877) (Wyatt_DHS_2673813).


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                               Table 3. IL Skill Development Stages15

               Stage I: Awareness                Stage II: Learning                 Stage III: Doing

 First       Young adult has               Young adult has started            Young adult has started
 Circle      minimal information           gaining knowledge and              applying some skills in
             about the topic area.         developing new skills in           real-life settings or
                                           this area.                         activities, with support.

 Second      Young adult has basic         Young adult has basic              Young adult is regularly
 Circle      information about this        knowledge and skills in            applying some skills in
             topic area and some           this area and needs                real-life settings and
             understanding of why          further opportunities to           activities, with limited
             the topic is important.       practice and strengthen            support.
                                           most skills.

 Third       Young adult has solid         Young adult has solid              Young adult is
 Circle      information about this        knowledge and skills in            consistently applying
             topic and understands         this area but has not              many skills in real-life
             why it is important but       started applying these in          settings and activities,
             has not started               real-life settings or              with limited support.
             developing knowledge          activities.                        Young adults may stay
             or skills.                                                       in this stage for as long
                                                                              as the ILP provider
                                                                              monitors their
                                                                              application of skills.

The caseworker updates the Youth Assessment Summary every six months as part of the
young adult’s Comprehensive Transition Plan, and at that review, the young adult may
move up in stages (or circles within stages) based on their progress. This initial staging
and ongoing review of the young adult’s knowledge and skills supports the caseworker and
ILP provider in tailoring the services to the young adult’s specific needs and strengths.

Very little research has been conducted to specify or validate effective models for
improving the transition trajectories of youth exiting care.16 Youth may choose not to
participate in assessments or services based on assessment results for many reasons,



16 Powers, L. E., Fullerton, A., Schmidt, J., Geenen, S., Oberweiser-Kennedy, M., Dohn, J., Nelson, M.,

Iavanditti, R., Blakeslee, J., Research Consortium to Increase the Success of Youth in Foster Care (2018).
Perspectives of Youth in Foster Care on Essential Ingredients for Promoting Self-determination and
Successful Transition to Adult Life: My Life Model. Child Youth Serv Rev., 86, 277–286.
https://doi.org/10.1016/j.childyouth.2018.02.007


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including having interests in after school activities such as sports or clubs, lacking interest
in career development activities like their peers, and not having time to participate due to
school and current job commitments.

Mental and Behavioral Health Assessment

Dr. Day states in her report that CW policy requires a mental health assessment within 60
days of entering care. Dr. Day overlooks that CW’s procedure reflects that children and
young adults in foster care are referred for initial screening using the Child and Adolescent
Needs and Strengths (CANS) Tool between the 14th and 21st day in out-of-home care.17
The CANS screens, in part, for emotional, behavioral, and mental health needs. Dr. Day
states that the percentage of timely mental health assessments within 60 days dropped in
2020. This data was not cited and cannot be verified but decline of these assessments in
2020 is likely due to the COVID-19 pandemic. However, publicly available data18 show that
the percentage of children who received age appropriate mental, physical, and dental
health assessments within 60 days of entering care improved in 2021 (88.1%) and 2022
(88.3%).

Dr. Day also cited the 2022 APSR stating there was no data to assess the effectiveness of
various pilot programs aimed at providing crisis mental health and psychiatric support to
youth in out-of-home care. However, the current 2024 APSR contains this data. It shows
that as of February 2022, 46 individuals, including 29 children, were stabilized in their
placement and the programs CW implemented helped to prevent disruption.19 This report
is publicly available and was produced to plaintiffs on July 20, 2023.20

Dr. Day also relied on old data in concluding that CW made no progress on improving
timely mental health assessments for children.21 More recent data shows that 87.3% of
children receive physical, dental, and mental health assessments within 60 days of
enrollment in coordinated care organizations.22 This data is publicly available and was
produced to plaintiffs on July 20, 2023.23



17 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 1/9/2024, (p. 780); See

also Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 6/1/2020 (pp. 716-
717).
18 Workbook: 2022 CCO Performance Metrics Data (state.or.us)

19 Oregon Department of Human Services Child Welfare Division. Annual Progress and Services Report

2024. (June 30, 2023). https://www.oregon.gov/dhs/children/Pages/data-publications.aspx.
20 2024 APSR, submitted on June 30, 2023 (Wyatt_DHS_4467023); 7/20/23 Letter from defendants to

plaintiffs re document production.
21 Dr. Angelique Day Expert Witness Report. December 15, 2023 (p. 20).

22 See footnote 19, 2024 APSR (p.192).

23 See footnote 20.




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Case Planning

In her report, Dr. Day states that CW has not created individualized case plans in a timely
manner and that CW is not reporting whether case plans are being created timely. This is
inaccurate, relying largely on the 2022 APSR. The 2023 APSR states, however, that CW has
shown an increase in timely completions of case plans since the full implementation of the
Family Report.24 PK’s Oregon Child Welfare Review Assessment Findings Report states that
as of June 2022, 87% of cases have a completed case plan, which is an increase from 60%
in December 2021. Dr. Day also did not consider relevant data from the 2024 APSR that
showed that after implementing the Family Plan (i.e. Family Report), CW saw an increase in
the timely completion of case plans (58.2% in 2022) and that this is a measure that local
offices and Permanency Program Managers monitor in real time to improve performance.25
Again, the 2023 and 2024 APSRs containing this information are publicly available to Dr.
Day and were produced to plaintiffs.26 Further, Oregon CW exceeded the goal of including
children and families in the case planning process, as shown in Figure 15 of PK’s Oregon
Child Welfare Review Assessment Findings Report.

Dr. Day also found that there was a “lack of data” to evaluate the efficacy of interventions
such as the Family Report and Early Transfer Protocol from the 2022 APSR. The 2023 APSR
notes, however, that CW saw notable improvements due to the two initiatives.27 This data
was publicly available and produced to plaintiffs on May 22, 2023.28 Further, CW’s Monthly
Progress reports that are publicly available and produced to plaintiffs also demonstrate
that the Family Report and Early Transfer Protocol are showing improvements.29

CW policy requires caseworkers to review the Child Welfare Case Plan at least every 90 days
and make appropriate updates30, and provides a guide for supervisors on the 90-Day
Review.31




24 See footnote 10, 2023 APSR (pp. 37-38).

25 See footnotes 19-20, 2024 APSR (pp. 45-46).

26 See footnotes 10, 19-20, 2023 and 2024 APSRs.

27 See footnote 10, 2023 APSR (pp. 38-39).

28 See footnote 10.

29 See, e.g., Child Welfare Monthly Progress Reports. These reports were publicly available to Dr. Day

(https://www.oregon.gov/odhs/child-welfare-transformation/pages/progress-reports.aspx) and
produced to plaintiffs: December 2022 (Wyatt_DHS_4564523); January 2023 (Wyatt_DHS_4564543);
February 2023 (Wyatt_DHS_4564563); March 2023 (Wyatt_DHS_4564585); April 2023
(Wyatt_DHS_4564607); May 2023 (Wyatt_DHS_4564629); June 2023 (Wyatt_DHS_4564651); and July 2023
(Wyatt_DHS_4564465).
30 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 1/9/2024, (p. 539).

31 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 1/9/2024, (pp. 712-714).




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Placement Setting

Dr. Day’s report states that the use of temporary lodging increased from 2019 to 2023,
and the data shown in PK’s Oregon Child Welfare Review Assessment Findings Report
shows this is inaccurate. Figure 11, titled “Number of Children or Young Adults with at
Least One Day of Temporary Lodging During the Month”, shows that the percentage of
young adults in temporary lodging was less than one percent of the total number of
children and young adults in foster care. Dr. Day's analyses rely extensively on
percentages, failing to note that the raw number of children placed out of home in Oregon
declined by 25% from 2019 to 2023. While there were nearly ten thousand Oregon children
out of home in 2019 (9,721 children), the numeric count was down to 7,334 in 2023.32
This is true even if a constant percentage of the children in group settings over time would
result in 25% fewer children in these settings. A percentage is two numbers, a numerator
over a denominator. A change in percentage happens when either the numerator or
denominator changes. Dr. Day assumes the difference from 2019 to 2023 is a change in
the numerator (children who experienced temporary lodging), but there has also been a
large decline in the denominator (children in care). Trends in Oregon are more positive
than Dr. Day indicates, because Dr. Day is only looking at percentage change (which
controls for changes in the population of kids out of home) instead of noting the more
dramatic reduction in the raw number. Raw numbers more accurately represent the
experience of children in Oregon’s care. As noted in Figure 8, titled “Number of Children in
Substitute Care 2016-2022” in PK’s Oregon Child Welfare Review Assessment Findings
Report, there was a 30% reduction in the number of children placed out of home from 2018
to 2022.

Dr. Day also references cross-system collaboration regarding residential placements and
temporary lodging and states that she has not seen evidence of this collaboration. This
cross-system collaboration does exist. As shown in the Oregon Child Welfare Review
Assessment Findings Report, of the children and young adults identified as at risk of
needing temporary lodging in the first two quarters of 2022, 74% were diverted due to
cross-system collaboration.33

In her report, Dr. Day noted that not placing young adults out of state would be a “major
improvement” if data could be provided to show this was the case. Figure 19 of the Oregon
Child Welfare Review Assessment Findings Report illustrates that no children or young
adults have been placed out of state since 2020. Further, other publicly available data
confirms CW’s policy change. The July 2022 Oregon CW Division Vision for Transformation



32 ROM reports Oregon. (2024, February 20). https://oregon.rom.socwel.ku.edu/reports/6104

33 ODHS Child Welfare Division Progress Report, July 2022 (p.8). https://www.oregon.gov/odhs/child-

welfare-transformation/progressreports/cw-progress-report-2022-07.pdf.


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Update, which was publicly available when Dr. Day issued her report, shows that since June
2020, no children in CW custody have been placed out of state.34

In that same section of her report, Dr. Day discusses Oregon’s effort to increase the use of
kinship placements. Oregon demonstrated an increase in initial relative placements for
children and young adults, as shown in Figure 16 of the Oregon Child Welfare Review
Assessment Findings Report. This graphic shows that initial relative placements have
increased consistently and significantly since 2007.

Dr. Day’s report also relied on outdated data regarding whether young adults receive
individualized assessments and appropriate placements. As the 2023 APSR explains, CW
uses multiple tools to aid caseworkers, parents, and resource families in identifying a
child’s ongoing needs and ensure they are met. The 2023 APSR further notes that CW
continues to identify children at risk of temporary lodging and utilizes prevention staffings
to collaborate with community partners to identify additional services, supports, and
resources that help prevent temporary lodging. As a result, most children at risk of
entering temporary lodging remain in their placement.35 Further, as noted previously, CW
policy provides that children and young adults in foster care are referred to a CANS
screening between the 14th and 21st day in out-of-home care.36

3.4        Oregon CW improved its delivery of independent
           living services.
In assessing service delivery for young adults in foster care, PK analyzed information
regarding IL services, family connections, resource parent support, recruitment and
retention, and permanency planning. The following sections include responses to Dr. Day’s
report and our analysis of each topic with support for our finding.

Service Delivery

As previously mentioned in this report, since 2016, CW introduced a Tiered ILP Model to
better assess and meet the needs of young adults transitioning out of foster care. Oregon
can now provide a higher percentage of young adults IL services than they could in 2016.




34 Oregon Child Welfare Division Vision for Transformation Update. (July 2022) (p.11).

https://www.oregon.gov/odhs/child-welfare-transformation/Documents/2022-07-30-progress-report-
2021.pdf
35 See footnote 10, 2023 APSR (p.35-36); Temp Lodging Staffing Data, 6/14/2022 (Wyatt_PK0002985).

36 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 1/9/2024, (p. 780); OAR

413-015-0465.


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Oregon’s NYTD data37 show that 1,863 young adults received IL services in 2017, which is
24% of the 7,758 children and young adults in care,38 and 1,469 young adults received IL
services in 2021, which is 27% of the 5,269 children and young adults in care. CW also
hired a new Assistant Program Manager in 2023 to oversee the IL program. This manager
assessed CW’s utilization for IL services and rewrote the state contracts to connect to the
tiered model. The contracts are now performance-based, and as part of that agreement,
CW surveys young adults who are using these programs to evaluate their efficacy. This
survey process provides young adults with a significant voice in their service delivery and
gives them an opportunity to give feedback on how their IL services are structured and
delivered. This reinforces CW’s commitment to youth and family voices. This ongoing
evaluation also connects to the robust CQI and QA process that CW has built and expanded
since 2016, which is described in PK’s Oregon Child Welfare Review Assessment Findings
Report.

Dr. Day’s report also notes that she was unable to determine if the department was
successful in increasing its staffing and support for caseworkers based on a lack of
available data. This information exists and was available for Dr. Day’s consideration after
plaintiffs specifically asked about a staffing surge during depositions. For example, in his
September 12, 2023 deposition, Kim Lorz testified that CW had a hiring “surge” of
caseworkers at least three years before Dr. Day authored her report.39 Also, in 2022 and
2023, the Oregon legislature approved a number of investments in the state’s human
services workforce, including 99 central office staff positions to support the CW program
and 202 CPS caseworkers and support staff to engage with families and assess potential
safety risks.40

Additionally, since 2016, CW has made specific investments in staff dedicated to its
Independent Living Program. For example, CW added four full-time employees and an
Assistant Program Manager to the Independent Living Program. One of the full-time
employees added is a young person with lived experience, who supports CW in tailoring
services to the needs of young adults transitioning out of foster care. Expanding staff
dedicated to ILP helps CW allocate additional resources to IL services and to supporting


37 NYTD Oregon Data Snapshot FY 2017-2021. https://www.oregon.gov/odhs/data/cwdata/cw-ilp-nytd-

snapshot-2017-2021-oregon.pdf
38 Figure 8.   PK Oregon Child Welfare Review Assessment Findings Report.
39 Kim Lorz Day Expert Witness Testimony. February 14, 2024 (100:22-101:3);      see also “Oregon DHS Posts
300+ Jobs ion Child Welfare, Protective Services” (July 28, 2019):
https://www.corvallisadvocate.com/2019/oregon-dhs-posts-300-jobs-in-child-welfare-protective-
services/
40 2022 ODHS Legislative Summary. https://www.oregon.gov/odhs/about/legislativeinformation/2022-

end-of-session-report-final.pdf; 2023 ODHS Legislative Summary.
https://www.oregon.gov/odhs/about/legislativeinformation/2023-end-of-session-report-final.pdf.


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young adults as they transition to adulthood, which addresses a concern shared by
Permanency Consultants during focus groups in 2022 that the IL program wasn’t resourced
well.

Oregon’s NYTD data41 shows an increase in many areas of IL service delivery, including the
Independent Living Needs Assessment, which increased from 33 to 52 percent from 2018-
2022, and career preparation rose from 39 to 53 percent. Financial services such as budget
and financial management increased from 24 to 49 percent. While one service (mentoring)
did decrease over this timeframe, the rest of IL services offered showed increased service
delivery. In addition, ODHS has a dedicated webpage for children transitioning out of foster
care which offers information and resources regarding employment, financial assistance,
health care, and other supports.42

Dr. Day also failed to rely on more recent data when discussing CW tracking of caseworker
training. The 2023 APSR explains that CW is transitioning to Workday Learning to offer new
training opportunities and requirements and consolidate training records.43

Family Connections

Oregon’s Vision for Transformation, which was implemented in 2020, focuses on
connections to family for children and young adults in foster care. Further, as described in
Section 4.10 of PK’s Oregon Child Welfare Review Assessment Findings Report, Oregon has
greatly improved its focus on family connections by increasing services to facilitate Family
Time, prioritizing relative placements, establishing a Foster Child Bill of Rights,
establishing a Sibling Bill of Rights, and increasing community connections. Oregon’s CFSR
data, as shown in Table 13 of PK’s Oregon Child Welfare Review Assessment Findings
Report, shows an increase in placements with siblings, increases in placement with
relatives, and improvement in reunification within 12 months. All indicating a vast
improvement in family connections.

In making her conclusions, Dr. Day did not consider updated and relevant data about CW’s
priority in maintaining family connections. For example, the 2023 APSR specifically
discusses the Oregon Kinship Navigator (OKN) Program, which provides services and
support for children cared for by relatives or close non-related families in Oregon.44 CW
also has a publicly available website dedicated to OKN.45 Further, the CW Oregon


41 NYTD Services Data Snapshot. FY 2018-2022.

https://www.acf.hhs.gov/sites/default/files/documents/cb/nytd-services-or-2022.pdf
42 Resources for Youth Transitioning out of Foster Care. https://www.oregon.gov/odhs/foster-care-

transition/Pages/resources.aspx?wp6942=l:25#g_76dae720_6362_4736_a9c5_573a2367594f .
43 See footnote 10, 2023 APSR (Wyatt_DHS_3194411).

44 See footnote 10.

45 https://oregonkinshipnavigator.org/




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Procedural Manual contains policy language describing in detail transition planning for
older youth.46 This version of the procedure manual is publicly available and was produced
to plaintiffs on November 2, 2023.47 The 2021 and 2022 CW Data Books also describe in
detail ILP services available to youth.48 The annual Data Books are publicly available and the
2021 CW Data Book was produced to plaintiffs on January 18, 2023.49 CW also maintains a
publicly available website describing “Resources for Youth Transitioning out of Foster
Care.”50

Dr. Day also relied on outdated 2016 CSFR data when assessing whether CW adequately
maintained youths’ connections with family members. Oregon began prioritizing kinship
care in 2016 and now has one of the highest rates in the country, as described in Section
4.10.4 of PK’s Oregon Child Welfare Review Assessment Findings Report.

Recruitment and Retention

Dr. Day noted in her report that DHS had previously made minimal effort to locate,
support, or train resource families.51 This is inaccurate. CW hired 16 Resource Family
Retention Champions (“Champions”) to assist with recruitment of resource parents. Since
2021, the Champions team has put out a monthly statewide summary report regarding
efforts to recruit and retain resource families and outlining the education and training
provided to resource families. These monthly reports have been produced to plaintiffs,
including but not limited to the May 2023 report, which was an attachment to the 2024
APSR and was produced on July 20, 2023.52 As described by the 2024 APSR, these
Champions work to recruit and develop a diverse pool of resource families using data and
customer service-focused strategies for a community-wide, family-centered approach to
caring for children and young people in their communities.53




46 Oregon Department of Human Services Child Welfare Procedure Manual, Rev. 8/23/2023,

(Wyatt_DHS_4663658). (p. 1140-1189).
http://www.dhs.state.or.us/caf/safety_model/procedure_manual/Oregon-DHS-Child-Welfare-Procedure-
Manual.pdf
47 11/2/23 Letter from defendants to plaintiffs re document production.

48 2021 Child Welfare Data Book, https://www.oregon.gov/odhs/data/cwdata/cw-data-book-2021.pdf

(p.18-19).
49 2021 Child Welfare Data Book (Wyatt_DHS_2733259); 1/18/2023 Letter from defendants to plaintiffs re

document production.
50 https://www.oregon.gov/odhs/foster-care-transition/Pages/resources.aspx

51 Dr. Angelique Day Expert Witness Report. December 15, 2023.

52 May 2023 Resource Family Retention and Recruitment Statewide Recap Report (Wyatt_DHS_4466776);

7/20/23 Letter from defendants to plaintiffs re document production.
53 See footnotes 19-20, 2024 APSR (pp. 86-87, 99).




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Since 2016, CW has implemented diligent recruitment for resource parents and created a
position for a Resource Parent Training Manager, as stated in Section 4.4.2 of PK’s Oregon
Child Welfare Review Assessment Findings Report. Additionally, CW has revised training for
resource parents since 2016 in partnership with and based on feedback from Tribes,
communities, and resource families, as shown in Section 4.4.4 of the report.

Resource Parent Support

Since 2016, CW has begun providing guidance on independent living to resource parents
caring for young adults. This information serves to support resource parents as they help
these young adults successfully transition to adulthood and reinforces the external services
young adults are receiving. As noted above, CW has also implemented the use of
Champions, who use data-driven strategies to actively support and train resource families.

Dr. Day stated in her testimony on February 14, 2024 that she wasn’t given materials on
post-licensure support services Oregon offers for resource parents.54 CW offers several
post-certification (Oregon uses the terminology certification versus licensure) services to
resource parents, including KEEP®, which is an evidence-based support and skill
enhancement program promoting child well-being and preventing placement
breakdowns.55 Participation provides resource parents up to 24 credit hours of ongoing
training towards certification renewal. Oregon offers Kinship Navigator Program, which is a
statewide resource for grandparents raising grandchildren and other relative caregivers.
The Oregon Kinship Navigator Program has a website
(https://oregonkinshipnavigator.org/) that offers resources, a service finder, information
on legal services, and support groups for kinship resource parents. Other post-certification
support services include the following:

    •    211info

    •    Every Child Oregon

    •    Oregon Foster Parent Association (OFPA)

    •    Oregon Post Adoption Resource Center (ORPARC)

    •    Shoulder to Shoulder Conference

    •    And other national organizations




54 Dr. Angelique Day Expert Witness Testimony. February 14, 2024 (24:19-22).

55 See footnotes 19-20, 2024 APSR (p. 86).




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All information regarding post-certification resources can be found on Oregon’s support
groups and organizations website.56

Dr. Day also failed to include in her report CW’s efforts to improve its ability to track foster
parent and caseworker training.57 The 2024 APSR explains that CW is transitioning to
Workday Learning to improve tracking consistency.58

Dr. Day also said she would need additional information to determine if kinship caregivers
are trained on kinship specific material offered in the National Training and Development
Curriculum (NTDC). However, the 2023 APSR explains that CW has implemented Resource
and Adoptive Family Training (RAFT) modeled after Spaulding’s National Training and
Development Curriculum (NTDC) that has been adapted to meet Oregon’s language,
process, and content needs, and includes said content.59 CW also has a dedicated webpage
for families to access this content.60

Permanency Planning

Dr. Day states in her report that 60 percent of young adults in Oregon aged out of foster
care without being connected to a permanent family. This data point does not account for
relational permanency, or connections and bonds with a permanent family, and assumes
that young adults aging out of care do not have these connections. Permanency data
provides quantitative information and cannot imply qualitative conclusions.

Oregon CW’s focus on and commitment to permanency planning is evident in CW’s Vision
for Transformation, which was introduced in 2020. The Vision for Transformation, as
described in PK’s Oregon Child Welfare Review Assessment Findings Report, is focused on
improving outcomes for children and young adults and maintaining bonds and connections
critical to their well-being.61 The Vision for Transformation also prioritizes permanency
planning, which has been embedded throughout Oregon child welfare practice. One of the
ways CW is operationalizing this focus is by establishing a member of the Executive
Leadership Team who has a history of permanency planning focus, as described in section
4.6.1 of PK’s Oregon Child Welfare Review Assessment Findings Report.




56 Support Groups and Organizations: https://www.oregon.gov/odhs/providers-partners/foster-

care/Pages/groups.aspx
57 Dr. Angelique Day Expert Witness Report. December 15, 2023, (p. 30).

58 See footnotes 19-20, 2024 APSR (p. 110).

59 See footnote 10, 2023 APSR (pp. 93-94).

60 Resource and Adoptive Family Training (RAFT): https://www.oregon.gov/odhs/providers-

partners/foster-care/pages/training-certification.aspx
61 Oregon Department of Human Services. (2020).   Child Welfare Division Vision for Transformation.
https://www.oregon.gov/odhs/child-welfare-transformation/pages/default.aspx


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             KNOWLEDGE.
Continuous Quality Improvement

Dr. Day states in her report that she recommends continued monitoring of CW.62 CW is not
under a consent decree for children aging out of care and is not currently being monitored,
and still has made significant documented improvements as noted in PK’s Oregon Child
Welfare Review Assessment Findings Report. Section 3.1 of PK’s Oregon Child Welfare
Review Assessment Findings Report describes CW’s continuous quality improvement (CQI)
processes. Dr. Day stated in her deposition on February 14, 2024 that she did not know if
quality assurance efforts went beyond evaluating federal requirements.63 In the publicly
available 2023 Annual Progress and Services Report, evaluation efforts are described for
Oregon’s Kinship Navigator Program, KEEP®, other program evaluations, as well as a full
description of the Quality Assurance Program in CW.64

Dr. Day said in her testimony on February 14, 2024 that states should always try to
implement a new program or intervention with an evaluation component.65 CW uses
established CQI and quality assurance processes as well as identifying program goals,
outcomes, and established measures of progress when implementing new interventions.
Dr. Day stated in her testimony on February 14, 2024 that nothing in writing shows that
any of the programs CW is implementing has an evaluation component.66 The 2023 and
2024 APSRs provide several examples of evaluations of programs CW is currently engaged
in, including the Kinship Navigator Program, MyLife, KEEP, Family Support and Connections
grant, the Behavioral Health Treatment Foster Care pilot, Equity, Training and Workforce
Development program, as well as other programs.

If called as a witness, I would offer testimony as to the matters set forth in this report. The
report contains complete statements of my opinions in this case and the basis and reasons
for those opinions. The conclusions are reached with a reasonable degree of professional
certainty.




                                                                                       Stacey Moss

                                                                       President, Public Knowledge®




62 Dr. Angelique Day Expert Witness Report. December 15, 2023.

63 Dr. Angelique Day Expert Witness Testimony. February 14, 2024 (68:1-6).

64 2023 APSR. (June 30,2022). https://www.oregon.gov/dhs/children/Pages/data-publications.aspx

65 Dr. Angelique Day Expert Witness Testimony. February 14, 2024 (166:12-13).

66 Dr. Angelique Day Expert Witness Testimony. February 14, 2024 (169:18-20).




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Appendix A: Interview Protocol
The purpose of individual interviews was to gather perspectives from leadership and
management staff on CW's progress since 2016 regarding independent living services for
young adults transitioning out of foster care.

PK conducted interviews with Lacey Andresen and Kelly Brezinski over videoconference.
The interview questions are listed in the table below.

                                Interview Question                          Research
                                                                            Question

 1.    How has CW’s independent living policy changed since 2016?               1

 2.    How does the independent living program provide normalcy for             1
       children and young adults in foster care?

 3.    Does the independent living program have the resources it                2
       needs?

 4.    Are independent living services provided consistently across             2
       Oregon?

 5     What assessments are conducted to determine the need for                 3
       independent living skills for young adults?

 6.    Does the Oregon CANS include questions regarding independent             3
       living?

 7.    Has CW increased resources or added positions to the                     4
       independent living program since 2016?

 8.    Can you describe the tiered independent living program?                  4

 9.    What independent living services are provided to young adults in         4
       foster care in Oregon?

 10.   What data are collected to track independent living assessment          3,4
       and service provision?

 11.   What does Oregon CW do well in terms of independent living               4
       service provision?




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                               Interview Question                          Research
                                                                           Question

 12.   How could Oregon CW strengthen its independent living service           4
       provision?

 13.   Do you have anything else to add?                                      NA




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Appendix B: Facts and Data
 Date                                Description                             Bates No.

 6/1/20       Oregon Department of Human Services Child Welfare          Wyatt_DHS_2673813
              Procedure Manual (Rev. 6/1/2020)

 2022         2022 CCO Performance Metrics Data                           Publicly available
              Workbook: 2022 CCO Performance Metrics Data
              (state.or.us)

 5/2023       Resource Family Retention and Recruitment Statewide        Wyatt_DHS_4466776
              Recap Report

 1/18/23      Letter from defendants to plaintiffs re defendants’                NA
              53rd supplemental production

 5/22/23      Letter from defendants to plaintiffs re defendants’                NA
              61st supplemental production

 7/20/23      Letter from defendants to plaintiffs re defendants’                NA
              63rd supplemental production

 11/20/23     Letter from defendants to plaintiffs re defendants’                NA
              70th supplemental production

 7/21/23      ILP Policy Transmittal CW-PT-23-010                         Publicly available
              (https://www.oregon.gov/odhs/transmittals/cwtrans
              mittals/pt23010.pdf)

 12/15/23     Documents cited in Dr. Angelique Day’s Expert                   Multiple
              Witness Report, dated December 15, 2023




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                           UNITED STATES DISTRICT COURT

                                               DISTRICT OF OREGON

                                                EUGENE DIVISION

   WYATT B., et al,                                         CASE NO. 6:19-cv-00556-AA

                       Plaintiff,

   v.                                                       CERTIFICATE OF SERVICE

   TINA KOTEK, et al ,

                     Defendants.


           I am employed by the law firm of Rizzo Bosworth Eraut PC in Portland, Oregon. I am over the age of
  eighteen years and not a party to the subject cause. My business address is 1300 SW Sixth Avenue, Suite 330,
  Portland, OR 97201.

          On the date below, I caused to be served on all parties in this action by transmitting a true copy thereof:
  Declaration of Steven Rizzo in Support of Motion to Exclude Stacey L. Moss

VIA ECF

Lauren Blaesing                                            Carla Scott
Harry B. Wilson                                            Sheila H. Potter
Adele Ridenour                                             Elleanor Chin
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Of Attorneys for Defendant Oregon Department of
Human Services

          Dated this 9th day of April, 2024.
                                                               s/ Cheridan Carr
                                                               Cheridan Carr
                                                               Paralegal




  1- Certificate of Service
